 Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 1 of 783 PageID 6422



                               Case No. 3:21-cv-01585-S

                        THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

In re: HIGHLAND CAPITAL MANAGEMENT, L.P.
                             Debtor,

THE CHARITABLE DAF FUND, L.P., and
CLO HOLDCO, LTD.,
                             Appellants,
                  v.
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                             Appellee.

                    On Appeal from the United States Bankruptcy Court
               for the Northern District of Texas, Case No. 19-34054-sgj11
                                Hon. Stacey G. C. Jernigan

       APPENDIX IN SUPPORT OF APPELLEE’S RESPONSE TO
    APPELLANTS’ OPPOSED MOTION TO STAY OR ABATE APPEAL

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DOCS_NY:44176.1 36027/003
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 2 of 783 PageID 6423



 Ex.                          Description                              Appx. #
 1. Appellants’ Opposed Motion to Stay or Abate Appeal, Case No.      1-13
     3:21-CV-01585-S, D.I. 10 (N.D. Tex. Sept. 22, 2021)
 2. Order Approving Settlement with Official Committee of             14-19
     Unsecured Creditors Regarding Governance of the Debtor and
     Procedures for Operations in the Ordinary Course, Case No.
     19-34054-sgj, D.I. 339 (Bankr. N.D. Tex. Jan. 9, 2020)
 3. Order Approving Debtor’s Motion Under Bankruptcy Code             20-32
     Sections 105(a) and 363(b) Authorizing Retention of James P.
     Seery, Jr., as Chief Executive Officer, Chief Restructuring
     Officer, and Foreign Representative Nunc Pro Tunc to March
     15, 2020, Case No. 19-34054-sgj, D.I. 854 (Bankr. N.D. Tex.
     July 16, 2020)
 4. Order (i) Confirming the Fifth Amended Plan of Reorganization     33-194
     of Highland Capital Management, L.P. (as Modified) and (ii)
     Granting Related Relief, Case No. 19-34054-sgj, D.I. 1943
     (Bankr. N.D. Tex. Feb. 22, 2021)
 5. Fifth Amended Plan of Reorganization of Highland Capital          195-261
     Management, L.P. (as Modified), Case No. 19-34054-sgj, D.I.
     1808 (Bankr. N.D. Tex. Jan. 22, 2021)
 6. Notice of Occurrence of Effective Date of Confirmed Fifth         262-266
     Amended Plan of Reorganization of Highland Capital
     Management, L.P., Case No. 19-34054-sgj, D.I. 2700 (Bankr.
     N.D. Tex. Aug. 11, 2021)
 7. Emergency Motion of the Advisors for Stay Pending Appeal of       267-301
     the Confirmation Order, and Brief in Support Thereof, Case No.
     19-34054-sgj, D.I. 1955 (Bankr. N.D. Tex. Feb. 28, 2021)
 8. Motion for Stay Pending Appeal of the Court’s Order               302-322
     Confirming the Debtor’s Fifth Amended Plan, Case No. 19-
     34054-sgj, D.I. 1967 (Bankr. N.D. Tex. Mar. 4, 2021)
 9. Joinder to Motions for Stay Pending Appeal of the Court’s Order   323-368
     Confirming the Debtor’s Fifth Amended Plan, Case No. 19-
     34054-sgj, D.I. 1971 (Bankr. N.D. Tex. Mar. 4, 2021)
 10. Joinder in Motion for Stay Pending Appeal and Additional         369-374
     Grounds for the Issuance of a Stay Pending Appeal, Case No.
     19-34054-sgj, D.I. 1973 (Bankr. N.D. Tex. Mar. 4, 2021)
 11. Appellants’ Motion for Stay Pending Appeal, Case No. 3:21-cv-    375-408
     00538-N, D.I. 2 (N.D. Tex. Apr. 1, 2021)



DOCS_NY:44176.1 36027/003
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 3 of 783 PageID 6424



  12. Motion for Stay Pending Appeal, Case No. 3:21-cv-00550-L,        409-413
      D.I. 5 (N.D. Tex. Apr. 6, 2021)
  13. Appellants’ Motion for Stay Pending Appeal, Case No. 21-10449    414-447
      (5th Cir. May 19, 2021)
  14. Order on Motions for Stay Pending Appeal, Case No. 19-34054-     448-451
      sgj11, D.I. 2084 (Bankr. N.D. Tex. Mar. 22, 2021)
  15. Order, Case No. 3:21-cv-00550-L, D.I. 28 (N.D. Tex. June 23,     452-455
      2021)
  16. Order, Case No. 21-10449 (5th Cir. June 21, 2021)                456-458
  17. Summary of Dondero and Related Entity Litigation                 459-473
  18. Original Complaint, Case No. 3:21-cv-00842-B, D.I. 1 (N.D.       474-500
      Tex. Apr. 12, 2021)
  19. Order of Reference, Case No. 3:21-cv-00842-B, D.I. 64 (N.D.      501-502
      Tex. Sept. 20, 2021)
  20. Plaintiffs’ Motion for Leave to File First Amended Complaint,    503-513
      Case No. 3:21-cv-00842-B, D.I. 6 (N.D. Tex. Apr. 19, 2021)
  21. Debtor’s Motion for an Order Requiring the Violators to Show     514-523
      Cause Why They Should Not Be Held in Civil Contempt for
      Violating Two Court Orders, Case No. 19-34054-sgj11, D.I.
      2247 (Bankr. N.D. Tex. Apr. 27, 2021)
  22. Order Certifying Appeals of the Confirmation Order for Direct    524-526
      Appeal to the United States Court of Appeals for the Fifth
      Circuit, Case No. 19-34054-sgj11, D.I. 2034 (Bankr. N.D. Tex.
      Mar. 16, 2021)
  23. Order, Case No. 21-10449 (5th Cir. May 4, 2021)                  527-531
  24. Order, Case No. 21-10449 (5th Cir. June 2, 2021)                 532-536
  25. Notice of Motion for Modification of Order Authorizing           537-585
      Retention of James P. Seery, Jr. Due to Lack of Subject Matter
      Jurisdiction, Case No. 19-34054-sgj11, D.I. 2248 (Bankr. N.D.
      Tex. Apr. 27, 2021)
  26. Order Denying Motion for Modification of Order Authorizing       586-588
      Retention of James P. Seery, Jr. Filed by Charitable DAF Fund,
      L.P. and CLO Holdco, Ltd., Case No. 19-34054-sgj11, D.I. 2506
      (Bankr. N.D. Tex. June 29, 2021)
  27. Hearing Transcript, June 25, 2021                                589-711
  28. Summary of Dondero and Related Entities Motions to Continue,     712-715
      Stay, or Abate




DOCS_NY:44176.1 36027/003
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21           Page 4 of 783 PageID 6425



  29. Partially Opposed Motion for Extension of Time to File 716-722
      Appellants’ Opening Brief, Case No. 3:21-CV-01585-S, D.I. 13
      (N.D. Tex. Sept. 29, 2021)
  30. Opening Brief of Appellants NexPoint Advisors, L.P. and 723-777
      Highland Capital Management Fund Advisors, L.P., Case No.
      21-10449 (5th Cir. Aug. 2, 2021)

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DOCS_NY:44176.1 36027/003
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 5 of 783 PageID 6426



 Dated: October 1, 2021.         PACHULSKI STANG ZIEHL & JONES LLP

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DOCS_NY:44176.1 36027/003
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21      Page 6 of 783 PageID 6427



                            CERTIFICATE OF SERVICE

        I hereby certify that, on October 1, 2021, a true and correct copy of the

foregoing Appendix was served electronically upon all parties registered to receive

electronic notice in this case via the Court’s CM/ECF system.



                                          /s/ Zachery Z. Annable
                                          Zachery Z. Annable




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 7 of 783 PageID 6428



                            EXHIBIT 1




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 Case
 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                        09/22/21 Page
                                                 Page81of
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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION
                            ____________

                             No. 3:21-CV-01585-S
                                ____________

           IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                            Debtors.

         THE CHARITABLE DAF FUND, L.P. AND CLO HOLDCO, LTD.,
                                                       Appellants,

                                       v.

                   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  Appellee.
                                 ____________

   APPELLANTS’ OPPOSED MOTION TO STAY OR ABATE APPEAL
                       ____________

  APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE
      NORTHERN DISTRICT OF TEXAS, CASE NO. 19-34054-sgj11

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                CORPORATE DISCLOSURE STATEMENT

     Appellants are The Charitable DAF Fund, L.P., a limited company formed

under the laws of the Cayman Islands, and CLO Holdco, Ltd., a limited company

formed under the laws of the Cayman Islands. No public corporation directly or

indirectly owns 10% or more of the membership interests in The Charitable DAF

Fund, L.P. or CLO Holdco, Ltd.




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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                    Filed10/01/21
                                          09/22/21 Page
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                                                         3 of 12
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                                INTRODUCTION

      This case presents both procedural and substantive issues that explore the

boundaries of Fifth Circuit precedent on a bankruptcy court’s jurisdiction, the

finality of certain bankruptcy orders, and whether Debtor-retained professionals

should be entitled to the same protections against suit as bankruptcy trustees. Yet,

some of these issues are currently being briefed in the Fifth Circuit in a separate

appeal from the bankruptcy court’s Plan Confirmation Order, entered in the same

bankruptcy proceeding. The order appointing a Debtor-retained professional at issue

in this appeal and the Plan Confirmation Order contain similar gate-keeping and

injunctive language related to suits against Debtor-retained professionals. Given this

overlap, judicial economy and conservation of resources favor abating or staying

this appeal until the Fifth Circuit gives guidance on the breadth of a bankruptcy

court’s power to protect, exculpate, and adjudicate claims against Debtor-retained

professionals.

                 FACTUAL AND PROCEDURAL BACKGROUND

      This appeal arises out of a long and complicated Chapter 11 bankruptcy

involving Debtor Highland Capital Management, L.P. (“Highland Capital”).

Highland Capital was a global investment adviser registered with the SEC pursuant

to the Investment Advisers Act of 1940 and managed billions of dollars of third-

party assets. See generally ROA.672, 831. As such, Highland Capital owed strict


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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                    Filed10/01/21
                                          09/22/21 Page
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                                                         4 of 12
                                                              783 PageID
                                                                   PageID5870
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fiduciary duties both to the funds it managed and to the investors whose investments

its managed. The Charitable DAF Fund, L.P. (“the DAF”) and CLO Holdco, Ltd.

(“CLO Holdco”) are two of those investors. Id.

      In January 2020, as part of the ongoing Chapter 11 proceedings, the

bankruptcy court entered an order that approved the appointment of three new

independent directors to govern Highland Capital’s general partner, Strand

Advisors, Inc. ROA.505-10. One of those new independent board members was Mr.

Jim Seery. Id. Key to this appeal, in July 2020, the bankruptcy court approved

Highland Capital’s request to appoint Mr. Seery as its new Chief Executive Officer

and Chief Restructuring Officer (the “Appointment Order”). ROA.510-42;

ROA.543-54. The Appointment Order, like the January predecessor, contained gate-

keeper and injunctive provisions that required parties seeking to sue Mr. Seery to

first seek the bankruptcy court’s determination that the suing party had a viable claim

for willful misconduct or gross negligence only. ROA.544-45. And if such a viable

claim were determined to exist, the bankruptcy court would have “sole jurisdiction

to adjudicate any such claim[.]” See id.

      Six months later, Highland Capital filed its proposed plan (as an amendment

of prior versions) on January 22, 2021. ROA.601-66. Over objections of numerous

creditors and parties, the Bankruptcy Court entered its Plan Confirmation Order on

February 22, 2021. ROA.667-865. That order also contains exculpatory and

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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                    Filed10/01/21
                                          09/22/21 Page
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                                                         5 of 12
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injunctive provisions similar to those in the Appointment Order at issue here.

ROA.716-22, 740-44, 810-12. Several parties have challenged the Plan

Confirmation Order, resulting in a direct appeal to the Fifth Circuit that is currently

being briefed on the merits. See NexPoint Advisors, L.P. et al. v. Highland Capital

Management, L.P., No. 21-10449 (5th Cir. 2021) [hereafter “NexPoint Advisors

appeal”].

      Meanwhile, the DAF and CLO Holdco became concerned with Highland

Capital’s management of their investments and decided to sue for breach of

fiduciary duties to the DAF and CLO Holdco mandated under the Investment

Advisors Act of 1940, among other claims. Because of the seemingly broad and void

nature of the gate-keeping, injunctive, and jurisdictional provisions in the

bankruptcy court’s Appointment Order, the DAF and CLO Holdco proceeded with

caution. They first sued Highland Capital in the Northern District of Texas—the

court with supervisory authority over the bankruptcy court and from whom the

bankruptcy court’s jurisdiction derived. ROA.831. The DAF and CLO Holdco then

asked the district court for leave (rather than automatically amend their petition,

which they had the right to do) to add Mr. Seery to the lawsuit. Id.; ROA.866-75.

The motion for leave was denied within twenty-four hours of its filing because not

all parties had yet been served. ROA.831. Despite this no-harm situation, Highland

immediately initiated sanctions proceedings against The DAF and CLO Holdco,

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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                          09/22/21 Page
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                                                         6 of 12
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claiming that the mere act of seeking leave to sue Mr. Seery violated the bankruptcy

court’s Appointment Order. ROA.319-20. The DAF and CLO Holdco defended,

asserting that asking for permission to sue did not violate the order, which was extra-

jurisdictional and void in any event. The bankruptcy court nevertheless found the

DAF and CLO Holdco in contempt, awarding sanctions of $239,655 against them

for a motion that was denied within a day of its filing. See ROA.381.

      While the contempt proceedings were ongoing, The DAF and CLO Holdco

also moved the bankruptcy court to modify its Appointment Order, again arguing

that the order improperly extended gate-keeping and exculpation protections to Mr.

Seery even though he was not a Chapter 11 trustee and expanded the bankruptcy

court’s jurisdiction over claims where it otherwise had none. ROA.828-75. The

bankruptcy court refused to modify its Appointment Order, deeming the order final

and finding the DAF and CLO Holdco had not met Rule 60(b)’s requirements for

relief from a final judgment. ROA.04-05. The DAF and CLO Holdco timely filed

this appeal from the bankruptcy court’s order refusing to modify its Appointment

Order. ROA.01-03.

             ARGUMENT TO STAY OR ABATE THIS APPEAL
      This Court may abate or stay a case as part of its “power . . . to control the

disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see also


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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                          09/22/21 Page
                                                    Page14
                                                         7 of 12
                                                              783 PageID
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United States v. Hernandez-Saenz, 733 F. App’x 144, 146 (5th Cir. 2018) (noting

the court had stayed the case pending a panel decision and then held the appeal in

abeyance to await an en banc decision); Garza v. Potter, No. H-04-1844, 2005 WL

6456897, at *1 (S.D. Tex. Oct. 17, 2005) (noting the court granted a motion to abate

pending the Fifth Circuit’s decision in a separate appeal). Among other things,

federal courts have broad discretion to stay proceedings to conserve judicial

resources and avoid duplicative litigation. See Landis, 299 U.S. at 245-55; Watts v.

Schwartz, No. 08-5095, 2009 WL 1950586, at *4 (E.D. La. July 1, 2009) (“A district

court has the inherent power to stay its proceedings.”). This is precisely the type of

situation that warrants the exercise of this Court’s discretion to stay or abate an

appeal.

      Here, the DAF and CLO Holdco challenge the validity of a bankruptcy court

order appointing a Debtor-retained professional (Mr. Seery) as the Debtor’s Chief

Executive Officer and Chief Restructuring Officer (“Appointment Order”). Mr.

Seery is neither a Trustee nor a professional specifically retained by the Trustee.

That Appointment Order does several things: (1) it requires parties to first obtain the

bankruptcy court’s permission before suing Mr. Seery; (2) it enjoins all claims

against Mr. Seery except for those involving gross negligence or willful misconduct

(thus implicitly exculpating him from all other tortious acts); and (3) it gives the

bankruptcy court sole jurisdiction not only to determine the validity of a party’s

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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                          09/22/21 Page
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                                                         8 of 12
                                                              783 PageID
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proposed claims against Mr. Seery, but also to adjudicate those claims even if they

would otherwise fall outside of the bankruptcy court’s jurisdiction. ROA.531-33.

These gate-keeping, injunctive, and jurisdictional provisions in the Appointment

Order all served as bases for the DAF’s and CLO Holdco’s request to modify, which

the bankruptcy court refused.

      Similar provisions also exist in the Plan Confirmation Order and those

provisions have been challenged and accepted for direct appeal by the Fifth Circuit

in the NexPoint Advisors case. Like the Appointment Order, the Plan Confirmation

Order contains broad and sweeping exculpation and injunction provisions that bar

and limit claims against several parties, including the Debtor and Mr. Seery, and put

the bankruptcy court in a gate-keeping role over any purported claims.1 ROA.739-

44. Appellants in that appeal have already filed their briefs, raising some of the same

arguments that the DAF and CLO Holdco would press in this appeal about the

propriety of such provisions. And Highland Capital’s brief is currently due on

October 6, 2021, around the time when the DAF’s and CLO Holdco’s opening brief

would be due in this matter.



1
 Notably, the Plan Confirmation Order contains caveated language regarding the
bankruptcy court’s adjudicatory jurisdiction over claims against Debtor-retained
professionals—it has such jurisdiction “only to the extent legally permissible.”
ROA.743-44. The Appointment Order contains no such caveat—it says the
bankruptcy court “shall have sole jurisdiction to adjudicate any such claim for which
approval of the Court to commence or pursue has been granted.” ROA.533.
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 Case3:21-cv-01585-S
      3:21-cv-01585-S Document
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                                          09/22/21 Page
                                                    Page16
                                                         9 of 12
                                                              783 PageID
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      The Fifth Circuit’s resolution of the NexPoint Advisors appeal—which

challenges very similar gate-keeping and injunctive clauses from the same

bankruptcy court in the same bankruptcy proceeding—will shed significant light on

the issues that will be raised here. Indeed, the Fifth Circuit’s opinion may ultimately

narrow or even eliminate issues that would otherwise be raised before this Court.2

Staying or abating this case until a decision from the Fifth Circuit in the NexPoint

Advisors appeal will therefore promote judicial economy and conserve resources of

both sides. All sides and this Court would benefit from the Fifth Circuit’s guidance

on the scope of a bankruptcy court’s power to gate-keep, enjoin, and determine the

propriety of claims against Debtor-retained professionals.

      Beyond that, no harm will be done to Highland Capital from an abeyance.

Rather, Highland Capital will conserve resources better devoted elsewhere while

awaiting guidance from the Fifth Circuit.

                                  CONCLUSION
      For the above reasons, the DAF and CLO Holdco request that this Court stay

or abate this appeal of the bankruptcy court’s Appointment Order until resolution of



2
  Aside from the difference in adjudicatory jurisdiction language between the two
orders (see Footnote 1, supra), other issues in this appeal are not presented in the
Fifth Circuit matter, including the procedural question of whether the bankruptcy
court’s Appointment Order was interlocutory. Nevertheless, the Fifth Circuit’s
guidance on the parameters of a bankruptcy court’s power to gate-keep and enjoin
claims against bankruptcy professionals will likely shed light on issues raised here.
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Case3:21-cv-01585-S
     3:21-cv-01585-S Document
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                                       09/22/21 Page
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                                                       of783
                                                          12 PageID
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the NexPoint Advisors appeal in the Fifth Circuit. The DAF and CLO Holdco request

any and all further relief to which they may be entitled.


Dated: September 22, 2021.

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                                      and CLO Holdco, Ltd.




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Case3:21-cv-01585-S
     3:21-cv-01585-S Document
                     Document15
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                                 Filed10/01/21
                                       09/22/21 Page
                                                Page18
                                                     11of
                                                       of783
                                                          12 PageID
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                       CERTIFICATE OF COMPLIANCE

        Pursuant to Federal Rule of Bankruptcy Procedure 8015(h), I hereby certify

that:

        The foregoing motion complies with the word limit of Federal Rules of

Bankruptcy Procedure 8013(f)(3)(A), excluding the parts of the motion exempted

by the Federal Rule of Bankruptcy Procedure 8015(g) and the accompanying

documents exempted by Federal Rule of Bankruptcy Procedure 8013(f)(3), this

document contains 1,679 words.

        This document complies with the typeface requirements of Federal Rules of

Bankruptcy Procedure 8013(f)(2), 8015(a)(5), and 8015(a)(6) because it has been

prepared in a proportionally spaced typeface using Microsoft Word 2016 in 14-point

Times New Roman font.

                                               /s/ Mazin A. Sbaiti
                                               Mazin A. Sbaiti




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                                       09/22/21 Page
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                                                                    6440



                      CERTIFICATE OF CONFERENCE

      I certify that on September 14, 2021, I communicated with counsel for

Appellee Highland Capital Management, L.P., and they indicated that Appellee is

opposed to the relief requested in this motion.

                                                  /s/ Jonathan Bridges
                                                  Jonathan Bridges




                         CERTIFICATE OF SERVICE
      I certify that on September 22, 2021, I caused a copy of the foregoing

document to be served by Electronic Case Filing System for the United States

District Court for the Northern District of Texas.

                                                  /s/ Mazin A. Sbaiti
                                                  Mazin A. Sbaiti




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                                                                         Appx.000013
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 20 of 783 PageID 6441



                             EXHIBIT 2




                                                                   Appx.000014
     Case 19-34054-sgj11 Doc 339 Filed 01/09/20 Entered 01/09/20Docket
                                                                19:01:35 Page   1 of 5
      Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 21 of 783#0339 Date Filed:
                                                                        PageID 644201/09/2020




The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 9, 2020
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                        §
         In re:                                                         § Chapter 11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                        §
                                          Debtor.                       § Related to Docket Nos. 7 & 259

              ORDER APPROVING SETTLEMENT WITH OFFICIAL COMMITTEE OF
             UNSECURED CREDITORS REGARDING GOVERNANCE OF THE DEBTOR
               AND PROCEDURES FOR OPERATIONS IN THE ORDINARY COURSE

                       Upon the Motion of the Debtor to Approve Settlement with Official Committee of

     Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

     Ordinary Course (the “Motion”),2 filed by the above-captioned debtor and debtor in possession



     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 22 of 783 PageID 6443


(the “Debtor”); the Court having reviewed the Motion, and finding that (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334, (b) this is a core proceeding

pursuant to 28 U.S.C. §157(b)(2)(A), and (c) notice of this Motion having been sufficient under

the circumstances and no other or further notice is required; and having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and

having determined that the relief sought in the Motion is in the best interests of the Debtor and its

estate; and after due deliberation and sufficient cause appearing therefore,

                 IT IS HEREBY ORDERED THAT:

                 1.          The Motion is GRANTED on the terms and conditions set forth herein, and

the United States Trustee’s objection to the Motion is OVERRULED.

                 2.          The Term Sheet is approved and the Debtor is authorized to take such steps

as may be necessary to effectuate the settlement contained in the Term Sheet, including, but not

limited to: (i) implementing the Document Production Protocol; and (ii) implementing the

Protocols.

                 3.          The Debtor is authorized (A) to compensate the Independent Directors for

their services by paying each Independent Director a monthly retainer of (i) $60,000 for each of

the first three months, (ii) $50,000 for each of the next three months, and (iii) $30,000 for each of

the following six months, provided that the parties will re-visit the director compensation after the

sixth month and (B) to reimburse each Independent Director for all reasonable travel or other

expenses, including expenses of counsel, incurred by such Independent Director in connection

with its service as an Independent Director in accordance with the Debtor’s expense

reimbursement policy as in effect from time to time.

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Case 19-34054-sgj11 Doc 339 Filed 01/09/20 Entered 01/09/20 19:01:35 Page 3 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 23 of 783 PageID 6444


                 4.          The Debtor is authorized to guarantee Strand’s obligations to indemnify

each Independent Director pursuant to the terms of the Indemnification Agreements entered into

by Strand with each Independent Director on the date hereof.

                 5.          The Debtor is authorized to purchase an insurance policy to cover the

Independent Directors.

                 6.          All of the rights and obligations of the Debtor referred to in paragraphs 3

and 4 hereof shall be afforded administrative expense priority under 11 U.S.C. § 503(b).

                 7.          Subject to the Protocols and the Term Sheet, the Debtor is authorized to

continue operations in the ordinary course of its business.

                 8.          Pursuant to the Term Sheet, Mr. James Dondero will remain as an employee

of the Debtor, including maintaining his title as portfolio manager for all funds and investment

vehicles for which he currently holds that title; provided, however, that Mr. Dondero’s

responsibilities in such capacities shall in all cases be as determined by the Independent Directors

and Mr. Dondero shall receive no compensation for serving in such capacities. Mr. Dondero’s

role as an employee of the Debtor will be subject at all times to the supervision, direction and

authority of the Independent Directors. In the event the Independent Directors determine for any

reason that the Debtor shall no longer retain Mr. Dondero as an employee, Mr. Dondero shall

resign immediately upon such determination.

                 9.          Mr. Dondero shall not cause any Related Entity to terminate any agreements

with the Debtor.

                 10.         No entity may commence or pursue a claim or cause of action of any kind

against any Independent Director, any Independent Director’s agents, or any Independent

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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 24 of 783 PageID 6445


Director’s advisors relating in any way to the Independent Director’s role as an independent

director of Strand without the Court (i) first determining after notice that such claim or cause of

action represents a colorable claim of willful misconduct or gross negligence against Independent

Director, any Independent Director’s agents, or any Independent Director’s advisors and (ii)

specifically authorizing such entity to bring such claim. The Court will have sole jurisdiction to

adjudicate any such claim for which approval of the Court to commence or pursue has been

granted.

                 11.         Nothing in the Protocols, the Term Sheet or this Order shall affect or impair

Jefferies LLC’s rights under its Prime Brokerage Customer Agreements with the Debtor and non-

debtor Highland Select Equity Master Fund, L.P., or any of their affiliates, including, but not

limited to, Jefferies LLC’s rights of termination, liquidation and netting in accordance with the

terms of the Prime Brokerage Customer Agreements or, to the extent applicable, under the

Bankruptcy Code’s “safe harbor” protections, including under sections 555 and 561 of the

Bankruptcy Code. The Debtor shall not conduct any transactions or cause any transactions to be

conducted in or relating to the Jefferies LLC accounts without the express consent and cooperation

of Jefferies LLC or, in the event that Jefferies withholds consent, as otherwise ordered by the

Court. For the avoidance of doubt, Jefferies LLC shall not be deemed to have waived any rights

under the Prime Brokerage Customer Agreements or, to the extent applicable, the Bankruptcy

Code’s “safe harbor” protections, including under sections 555 and 561 of the Bankruptcy Code,

and shall be entitled to take all actions authorized therein without further order of the Court

                 12.         Notwithstanding any stay under applicable Bankruptcy Rules, this Order

shall be effective immediately upon entry.

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Case 19-34054-sgj11 Doc 339 Filed 01/09/20 Entered 01/09/20 19:01:35 Page 5 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 25 of 783 PageID 6446


                 13.         The Court shall retain jurisdiction over all matters arising from or related to

the interpretation and implementation of this Order, including matters related to the Committee’s

approval rights over the appointment and removal of the Independent Directors.

                                           ## END OF ORDER ##




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 26 of 783 PageID 6447



                             EXHIBIT 3




                                                                   Appx.000020
    Case 19-34054-sgj11 Doc 854 Filed 07/16/20 Entered 07/16/20 14:00:44 Page 1 of 12
     Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 27Docket
                                                                 of 783#0854 Date Filed: 07/16/2020
                                                                          PageID  6448




The following constitutes the ruling of the court and has the force and effect therein described.




 Signed July 16, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
                                       §
          In re:                       §
                                       §                                  Case No. 19-34054
          HIGHLAND CAPITAL MANAGEMENT, §                                  Chapter 11
          L.P.,                        §
                                       §                                   Re: Docket No. 774
          Debtor.                      §


                       ORDER APPROVING DEBTOR’S MOTION UNDER
                       BANKRUPTCY CODE SECTIONS 105(a) AND 363(b)
                    AUTHORIZING RETENTION OF JAMES P. SEERY, JR., AS
              CHIEF EXECUTIVE OFFICER, CHIEF RESTRUCTURING OFFICER, AND
               FOREIGN REPRESENTATIVE NUNC PRO TUNC TO MARCH 15, 2020

               Upon the Debtor’s Motion under Bankruptcy Code Sections 105(a) and 363(b) for

     Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring

     Officer and Foreign Representative Nunc Pro Tunc To March 15, 2020 (the “Motion”), 1 and the



     1
         All terms not otherwise defined herein shall be given the meanings ascribed to them in the Motion.


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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 28 of 783 PageID 6449


Court finding that: (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334; (ii) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (iv) due and sufficient notice of the Motion has

been given; (v) entry into the Agreement was an exercise of the Debtor’s sound business

judgment; and (vi) it appearing that the relief requested in the Motion is necessary and in the best

interests of the Debtor’s estate and creditors; and good and sufficient cause appearing therefor, it

is hereby

         ORDERED, ADJUDGED, and DECREED that:

         1.       The Motion is GRANTED.

         2.       Pursuant to sections 363(b) and 105(a) of the Bankruptcy Code, the Agreement

attached hereto as Exhibit 1 and all terms and conditions thereof are approved, nunc pro tunc to

March 15, 2020.

         3.       The Debtor is hereby authorized to enter into and perform under the Agreement.

         4.       The Debtor is authorized to indemnify Mr. Seery pursuant to the terms of the

Agreement. Mr. Seery is also entitled to any indemnification or other similar provisions under

the Debtor’s existing or future insurance policies, including any policy tails obtained (or which

may be obtained in the future), by the Debtor. The Debtor and Strand are authorized to enter into

any agreements necessary to execute or implement the transactions described in this paragraph.

For avoidance of doubt and notwithstanding anything to the contrary in this Order, Mr. Seery

shall be entitled to any state law indemnity protections to which he may be entitled under

applicable law.




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Case 19-34054-sgj11 Doc 854 Filed 07/16/20 Entered 07/16/20 14:00:44 Page 3 of 12
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 29 of 783 PageID 6450


         5.       No entity may commence or pursue a claim or cause of action of any kind against

Mr. Seery relating in any way to his role as the chief executive officer and chief restructuring

officer of the Debtor without the Bankruptcy Court (i) first determining after notice that such

claim or cause of action represents a colorable claim of willful misconduct or gross negligence

against Mr. Seery, and (ii) specifically authorizing such entity to bring such claim. The

Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim for which approval of

the Court to commence or pursue has been granted.

         6.       Notwithstanding anything in the Motion, the Agreement or the Order to the

contrary, the Agreement shall be deemed terminated upon the effective date of a confirmed plan

of reorganization unless such plan provides otherwise.

         7.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

         8.       This Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation and/or implementation of this Order.

         9.       The Foreign Representative Order is hereby amended to substitute James P.

Seery, Jr., as the chief executive officer, in place of Bradley S. Sharp, as the Debtor’s Foreign

Representative, Bermuda Foreign Representative and Cayman Foreign Representative. All other

provisions of the Foreign Representative Order shall remain in full force and effect.

                                       ###END OF ORDER###




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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 30 of 783 PageID 6451



                                   EXHIBIT 1

                              Engagement Agreement




                                                                      Appx.000024
Case 19-34054-sgj11 Doc 854 Filed 07/16/20 Entered 07/16/20 14:00:44 Page 5 of 12
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 31 of 783 PageID 6452




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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 32 of 783 PageID 6453




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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 33 of 783 PageID 6454




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Case 19-34054-sgj11 Doc 854 Filed 07/16/20 Entered 07/16/20 14:00:44 Page 8 of 12
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 34 of 783 PageID 6455




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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 35 of 783 PageID 6456




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Case 19-34054-sgj11 Doc 854 Filed 07/16/20 Entered 07/16/20 14:00:44 Page 10 of 12
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 36 of 783 PageID 6457




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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 37 of 783 PageID 6458




 This Agreement shall be binding upon the parties and their respective successors and assigns,
 and no other person shall acquire or have any right under or by virtue of this Agreement.

 Failure of any party at any time to require performance of any provision of this Agreement shall
 not affect the right to require full performance thereof at any time thereafter, and the waiver by
 any party of a breach of such provisions shall not be taken as or held to be a waiver of any
 subsequent breach or as nullifying the effectiveness of such provision.

 Notices provided for in this Agreement shall be in writing and shall be deemed to have been duly
 given when delivered by hand or overnight courier or three days after it has been mailed by
 United States registered mail, return receipt requested, postage prepaid, addressed to the
 respective address set forth above in this Agreement, or to such other address as either party may
 have furnished to the other in writing in accordance herewith.

 This Agreement and my rights and duties hereunder shall not be assignable or delegable by me.

 The Company may withhold from any amounts payable under this Agreement such Federal, state
 and local taxes as may be required to be withheld pursuant to any applicable law or regulation.

 This Agreement may be executed (including by electronic execution) in any number of
 counterparts, each of which when so executed shall be deemed an original, but all such
 counterparts shall constitute one and the same instrument. Delivery of an executed counterpart
 of this Agreement by electronic mail shall have the same force and effect as the delivery of an
 original executed counterpart of this Agreement.

 Please confirm the foregoing is in accordance with your understanding by signing and returning
 a copy of this Agreement, whereupon it shall become binding and enforceable in accordance
 with its terms.

 Very truly yours,


 James. P. Seery, Jr.

 AGREED AND ACCEPTED

 HIGHLAND CAPITAL MANAGEMENT L.P.

 By: Strand Advisors, Inc., its general partner


 _____________________________________             _____________________________________
 John Dubel                                        Russell Nelms
 Director                                          Director
 Strand Advisors, Inc.                             Strand Advisors, Inc.




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Case 19-34054-sgj11 Doc 854 Filed 07/16/20 Entered 07/16/20 14:00:44 Page 12 of 12
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 38 of 783 PageID 6459




                                                                       Appx.000032
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                             EXHIBIT 4




                                                                   Appx.000033
   Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 1 of 161
     Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 40Docket
                                                                 of 783#1943 Date Filed: 02/22/2021
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 22, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                       )
         In re:                                                        )   Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                       )
                                          Debtor.                      )

                    ORDER (I) CONFIRMING THE FIFTH AMENDED
                  PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
           MANAGEMENT, L.P. (AS MODIFIED) AND (II) GRANTING RELATED RELIEF


                  The Bankruptcy Court 2 having:
                  a.    entered, on November 24, 2020, the Order (A) Approving the Adequacy of the
                        Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                        Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                        Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                        Solicitation Procedures, and (E) Approving Form and Manner of Notice [Docket
                        No. 1476] (the “Disclosure Statement Order”), pursuant to which the Bankruptcy
                        Court approved the adequacy of the Disclosure Statement Relating to the Fifth

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below). The rules of interpretation set forth in Article I of the Plan apply to this Confirmation Order.



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  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 41 of 783 PageID 6462



                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1473] (the “Disclosure Statement”) under section 1125 of the Bankruptcy Code
                    and authorized solicitation of the Disclosure Statement;

           b.       set January 5, 2021, at 5:00 p.m. prevailing Central Time (the “Objection
                    Deadline”), as the deadline for filing objections to confirmation of the Fifth
                    Amended Plan of Reorganization of Highland Capital Management, L.P. (As
                    Modified) [Docket No. 1808] (as amended, supplemented or modified, the “Plan”);

           c.       set January 5, 2021, at 5:00 p.m. prevailing Central Time, as the deadline for voting
                    on the Plan (the “Voting Deadline”) in accordance with the Disclosure Statement
                    Order;

           d.       initially set January 13, 2021, at 9:30 a.m. prevailing Central Time, as the date and
                    time to commence the hearing to consider confirmation of the Plan pursuant to
                    Bankruptcy Rules 3017 and 3018, sections 1126, 1128, and 1129 of the Bankruptcy
                    Code, and the Disclosure Statement Order, which hearing was continued to January
                    26, 2021, at 9:30 a.m. prevailing Central Time and further continued to February 2,
                    2021;

           e.       reviewed: (i) the Plan; (ii) the Disclosure Statement; and (iii) Notice of (I) Entry of
                    Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                    Important Dates (the “Confirmation Hearing Notice”), the form of which is
                    attached as Exhibit 1-B to the Disclosure Statement Order;

           f.       reviewed: (i) the Debtor’s Notice of Filing of Plan Supplement for the Third
                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1389] filed November 13, 2020; (ii) Debtor’s Notice of Filing of Plan
                    Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                    Management, L.P. [Docket No. 1606] filed on December 18, 2020; (iii) the
                    Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1656] filed on
                    January 4, 2021; (iv) Notice of Filing Plan Supplement to the Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. (with Technical
                    Modifications)t dated January 22, 2021 [Docket No. 1811]; and (v) Debtor’s Notice
                    of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                    Highland of Highland Capital Management, L.P. (As Modified) on February 1,
                    2021 [Docket No. 1875]; (collectively, the documents listed in (i) through (v) of
                    this paragraph, the “Plan Supplements”);

           g.       reviewed: (i) the Notice of (I) Executory Contracts and Unexpired Leases to be
                    Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                    Any, and (III) Related Procedures in Connection Therewith filed on December 30,
                    2020 [Docket No. 1648]; (ii) the Second Notice of (I) Executory Contracts and

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  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 42 of 783 PageID 6463



                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                    Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                    Therewith filed on January 11, 2021 [Docket No.1719]; (iii) the Third Notice of
                    (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                    Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                    Procedures in Connection Therewith filed on January 15, 2021 [Docket No. 1749];
                    (iv) the Notice of Withdrawal of Certain Executory Contracts and Unexpired
                    Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                    the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791]; (v) the Fourth
                    Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                    Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                    Released Procedures in Connection Therewith filed on January 27, 2021 [Docket
                    No. 1847]; (vi) the Notice of Hearing on Agreed Motion to (I) Assume
                    Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                    Confirmation of Plan and (II) Extend Assumption Deadline filed on January 28,
                    2021 [Docket No. 1857]; and (vii) the Fifth Notice of (I) Executory Contracts and
                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                    (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                    filed on February 1, 2021 [Docket No. 1873] (collectively, the documents referred
                    to in (i) to (vii) are referred to as “List of Assumed Contracts”);

           h.       reviewed: (i) the Debtor’s Memorandum of Law in Support of Confirmation of the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1814] (the “Confirmation Brief”); (ii) the Debtor’s Omnibus Reply to
                    Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                    Reorganization of Highland Capital Management; [Docket No. 1807]; and (iii) the
                    Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1772] and Supplemental Certification of Patrick M. Leathem With
                    Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1887] filed on February 3, 2021
                    (together, the “Voting Certifications”).

           i.       reviewed: (i) the Notice of Affidavit of Publication dated December 3, 2020 [Docket
                    No. 1505]; (ii) the Certificate of Service dated December 23, 2020 [Docket No.
                    1630]; (iii) the Supplemental Certificate of Service dated December 24, 2020
                    [Docket No. 1637]; (iv) the Second Supplemental Certificate of Service dated
                    December 31, 2020 [Docket No. 1653]; (v) the Certificate of Service dated
                    December 23, 2020 [Docket No. 1627]; (vi) the Certificate of Service dated January
                    6, 2021 [Docket No. 1696]; (vii) the Certificate of Service dated January 7, 2021
                    [Docket No. 1699]; (viii) the Certificate of Service dated January 7, 2021 [Docket
                    No 1700]; (ix) the Certificate of Service dated January 15, 2021 [Docket No. 1761];
                    (x) the Certificate of Service dated January 19, 2021 [Docket No. 1775]; (xi) the


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  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 43 of 783 PageID 6464



                    Certificate of Service dated January 20, 2021 [Docket No. 1787]; (xii) the
                    Certificate of Service dated January 26, 2021[Docket No. 1844]; (xiii) the
                    Certificate of Service dated January 27, 2021 [Docket No. 1854]; (xiv) the
                    Certificate of Service dated February 1, 2021 [Docket No. 1879]; (xv) the
                    Certificates of Service dated February 3, 2021 [Docket No. 1891 and 1893]; and
                    (xvi) the Certificates of Service dated February 5, 2021 [Docket Nos. 1906, 1907,
                    1908 and 1909] (collectively, the “Affidavits of Service and Publication”);

           j.       reviewed all filed 3 pleadings, exhibits, statements, and comments regarding
                    approval of the Disclosure Statement and confirmation of the Plan, including all
                    objections, statements, and reservations of rights;

           k.       conducted a hearing to consider confirmation of the Plan, which commenced on
                    February 2, 2021, at 9:30 a.m. prevailing Central Time and concluded on February
                    3, 2021, and issued its oral ruling on February 8, 2021 (collectively, the
                    “Confirmation Hearing);

           l.       heard the statements and arguments made by counsel in respect of confirmation of
                    the Plan and having considered the record of this Chapter 11 Case and taken judicial
                    notice of all papers and pleadings filed in this Chapter 11 Case; and

           m.       considered all oral representations, testimony, documents, filings, and other
                    evidence regarding confirmation of the Plan, including (a) all of the exhibits
                    admitted into evidence; 4 (b) the sworn testimony of (i) James P. Seery, Jr., the
                    Debtor’s Chief Executive Officer and Chief Restructuring Officer and a member of
                    the Board of Directors of Strand Advisors, Inc. (“Strand”), the Debtor’s general
                    partner; (ii) John S. Dubel, a member of the Board of Strand; (iii) Marc Tauber, a
                    Vice President at Aon Financial Services; and (iv) Robert Jason Post, the Chief
                    Compliance Officer of NexPoint Advisors, LP (collectively, the “Witnesses”); (c)
                    the credibility of the Witnesses; and (d) the Voting Certifications.

           NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

  the Bankruptcy Court hereby makes and issues the following findings of fact and conclusions of

  law:



  3
   Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document filed
  on the docket in this Chapter 11 Case, as applicable.
  4
    The Court admitted the following exhibits into evidence: (a) all of the Debtor’s exhibits lodged at Docket No. 1822
  (except TTTTT, which was withdrawn by the Debtor); (b) all of the Debtor’s exhibits lodged at Docket No. 1866; (c)
  all of the Debtor’s exhibits lodged at Docket No. 1877; (d) all of the Debtor’s exhibits lodged at Docket No. 1895;
  and (e) Exhibits 6-12 and 15-17 offered by Mr. James Dondero and lodged at Docket No. 1874.


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 5 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 44 of 783 PageID 6465




                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

                    1.          Findings of Fact and Conclusions of Law. The findings and conclusions

  set forth herein, together with the findings of fact and conclusions of law set forth in the record

  during the Confirmation Hearing, constitute the Bankruptcy Court’s findings of fact and

  conclusions of law pursuant to Federal Rule of Civil Procedure 52, made applicable to this

  proceeding pursuant to Bankruptcy Rules 7052 and 9014. To the extent any of the following

  findings of fact constitute conclusions of law, they are adopted as such. To the extent that any of

  the following conclusions of law constitute findings of fact, they are adopted as such.

                    2.          Introduction and Summary of the Plan. Prior to addressing the specific

  requirements under the Bankruptcy Code and Bankruptcy Rules with respect to the confirmation

  of the Plan, the Bankruptcy Court believes it would be useful to first provide the following

  background of the Debtor’s Chapter 11 Case, the parties involved therewith, and some of the major

  events that have transpired culminating in the filing and solicitation of the Plan of this very unusual

  case. Before the Bankruptcy Court is the Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.P., filed on November 24, 2020, as modified on January 22,

  2021 and again on February 1, 2021. The parties have repeatedly referred to the Plan as an “asset

  monetization plan” because it involves the orderly wind-down of the Debtor’s estate, including the

  sale of assets and certain of its funds over time, with the Reorganized Debtor continuing to manage

  certain other funds, subject to the oversight of the Claimant Trust Oversight Board. The Plan

  provides for a Claimant Trust to, among other things, manage and monetize the Claimant Trust

  Assets for the benefit of the Debtor’s economic stakeholders. The Claimant Trustee is responsible



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 6 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 45 of 783 PageID 6466




  for this process, among other duties specified in the Plan’s Claimant Trust Agreement. There is

  also anticipated to be a Litigation Sub-trust established for the purpose of pursuing certain

  avoidance or other causes of action for the benefit of the Debtor’s economic constituents.

                    3.          Confirmation Requirements Satisfied. The Plan is supported by the

  Committee and all claimants with Convenience Claims (i.e., general unsecured claims under $1

  million) who voted in Class 7. Claimants with Class 8 General Unsecured Claims, however, voted

  to reject the Plan because, although the Plan was accepted by 99.8% of the amount of Claims in

  that class, only 17 claimants voted to accept the Plan while 27 claimants voted to reject the Plan.

  As a result of such votes, and because Mr. Dondero and the Dondero Related Entities (as defined

  below) objected to the Plan on a variety of grounds primarily relating to the Plan’s release,

  exculpation and injunction provisions, the Bankruptcy Court heard two full days of evidence on

  February 2 and 3, 2021, and considered testimony from five witnesses and thousands of pages of

  documentary evidence in determining whether the Plan satisfies the confirmation standards

  required under the Bankruptcy Code. The Bankruptcy Court finds and concludes that the Plan

  meets all of the relevant requirements of sections 1123, 1124, and 1129, and other applicable

  provisions of the Bankruptcy Code, as more fully set forth below with respect to each of the

  applicable confirmation requirements.

                    4.          Not Your Garden Variety Debtor. The Debtor’s case is not a garden

  variety chapter 11 case. The Debtor is a multibillion-dollar global investment adviser registered

  with the SEC, pursuant to the Investment Advisers Act of 1940. It was founded in 1993 by James

  Dondero and Mark Okada. Mark Okada resigned from his role with Highland prior to the



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 7 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 46 of 783 PageID 6467




  bankruptcy case being filed on October 16, 2019 (the “Petition Date”). Mr. Dondero controlled

  the Debtor as of the Petition Date but agreed to relinquish control of it on or about January 9, 2020,

  pursuant to an agreement reached with the Committee, as described below. Although Mr. Dondero

  remained with the Debtor as an unpaid employee/portfolio manager after January 9, 2020, his

  employment with the Debtor terminated on October 9, 2020. Mr. Dondero continues to work for

  and/or control numerous non-debtor entities in the complex Highland enterprise.

                    5.          The Debtor. The Debtor is headquartered in Dallas, Texas. As of the

  Petition Date, the Debtor employed approximately 76 employees. The Debtor is privately-owned:

  (a) 99.5% by the Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy Investment

  Trust, a trust created to manage the assets of Mr. Dondero and his family; (c) 0.0627% by Mark

  Okada, personally and through family trusts; and (d) 0.25% by Strand, the Debtor’s general

  partner.

                    6.          The Highland Enterprise. Pursuant to various contractual arrangements,

  the Debtor provides money management and advisory services for billions of dollars of assets,

  including collateralized loan obligation vehicles (“CLOs”), and other investments. Some of these

  assets are managed by the Debtor pursuant to shared services agreements with certain affiliated

  entities, including other affiliated registered investment advisors. In fact, there are approximately

  2,000 entities in the byzantine complex of entities under the Highland umbrella. None of these

  affiliated entities filed for chapter 11 protection. Most, but not all, of these entities are not

  subsidiaries (direct or indirect) of the Debtor. Many of the Debtor’s affiliated companies are




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 8 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 47 of 783 PageID 6468




  offshore entities, organized in jurisdictions such as the Cayman Islands and Guernsey. See

  Disclosure Statement, at 17-18.

                    7.          Debtor’s Operational History. The Debtor’s primary means of generating

  revenue has historically been from fees collected for the management and advisory services

  provided to funds that it manages, plus fees generated for services provided to its affiliates. For

  additional liquidity, the Debtor, prior to the Petition Date, would sell liquid securities in the

  ordinary course, primarily through a brokerage account at Jefferies, LLC. The Debtor would also,

  from time to time, sell assets at non-Debtor subsidiaries and cause those proceeds to be distributed

  to the Debtor in the ordinary course of business. The Debtor’s current Chief Executive Officer,

  James P. Seery, Jr., credibly testified at the Confirmation Hearing that the Debtor was “run at a

  deficit for a long time and then would sell assets or defer employee compensation to cover its

  deficits.” The Bankruptcy Court cannot help but wonder if that was necessitated because of

  enormous litigation fees and expenses incurred by the Debtor due to its culture of litigation—as

  further addressed below.

                    8.          Not Your Garden Variety Creditor’s Committee. The Debtor and this

  chapter 11 case are not garden variety for so many reasons. One of the most obvious standouts in

  this case is the creditor constituency. The Debtor did not file for bankruptcy because of any of the

  typical reasons that large companies file chapter 11. For example, the Debtor did not have a large,

  asset-based secured lender with whom it was in default; it only had relatively insignificant secured

  indebtedness owing to Jeffries, with whom it had a brokerage account, and one other entity,

  Frontier State Bank. The Debtor also did not have problems with its trade vendors or landlords.



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 9 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 48 of 783 PageID 6469




  The Debtor also did not suffer any type of catastrophic business calamity. In fact, the Debtor filed

  for Chapter 11 protection six months before the onset of the COVID-19 pandemic. Rather, the

  Debtor filed for Chapter 11 protection due to a myriad of massive, unrelated, business litigation

  claims that it faced—many of which had finally become liquidated (or were about to become

  liquidated) after a decade or more of contentious litigation in multiple forums all over the world.

  The Committee in this case has referred to the Debtor—under its former chief executive, Mr.

  Dondero—as a “serial litigator.” The Bankruptcy Court agrees with that description. By way of

  example, the members of the Committee (and their history of litigation with the Debtor and others

  in the Highland complex) are as follows:

           a.       The Redeemer Committee of the Highland Crusader Fund (the “Redeemer
                    Committee”). This Committee member obtained an arbitration award against the
                    Debtor in the amount of $190,824,557, inclusive of interest, approximately five
                    months before the Petition Date, from a panel of the American Arbitration
                    Association. It was on the verge of having that award confirmed by the Delaware
                    Chancery Court immediately prior to the Petition Date, after years of disputes that
                    started in late 2008 (and included legal proceedings in Bermuda). This creditor’s
                    claim was settled during this Chapter 11 Case in the amount of approximately
                    $137,696,610 (subject to other adjustments and details not relevant for this
                    purpose).

           b.       Acis Capital Management, L.P., and Acis Capital Management GP, LLC
                    (“Acis”). Acis was formerly in the Highland complex of companies, but was not
                    affiliated with Highland as of the Petition Date. This Committee member and its
                    now-owner, Joshua Terry, were involved in litigation with the Debtor dating back
                    to 2016. Acis was forced by Mr. Terry (who was a former Highland portfolio
                    manager) into an involuntary chapter 11 bankruptcy in the Bankruptcy Court for
                    the Northern District of Texas, Dallas Division before the Bankruptcy Court in
                    2018, after Mr. Terry obtained an approximately $8 million arbitration award and
                    judgment against Acis. Mr. Terry ultimately was awarded the equity ownership of
                    Acis by the Bankruptcy Court in the Acis bankruptcy case. Acis subsequently
                    asserted a multi-million dollar claim against Highland in the Bankruptcy Court for
                    Highland’s alleged denuding of Acis to defraud its creditors—primarily Mr. Terry.
                    The litigation involving Acis and Mr. Terry dates back to mid-2016 and has


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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 10 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 49 of 783 PageID 6470



                    continued on with numerous appeals of Bankruptcy Court orders, including one
                    appeal still pending at the Fifth Circuit Court of Appeals. There was also litigation
                    involving Mr. Terry and Acis in the Royal Court of the Island of Guernsey and in
                    a state court in New York. The Acis claim was settled during this Chapter 11 Case,
                    in Bankruptcy Court-ordered mediation, for approximately $23 million (subject to
                    other details not relevant for this purpose), and is the subject of an appeal being
                    pursued by Mr. Dondero.

           c.       UBS Securities LLC and UBS AG London Branch (“UBS”). UBS is a
                    Committee member that filed a proof of claim in the amount of $1,039,957,799.40
                    in this Chapter 11 Case. The UBS Claim was based on a judgment that UBS
                    received from a New York state court in 2020. The underlying decision was issued
                    in November 2019, after a multi-week bench trial (which had occurred many
                    months earlier) on a breach of contract claim against non-Debtor entities in the
                    Highland complex. The UBS litigation related to activities that occurred in 2008
                    and 2009. The litigation involving UBS and Highland and affiliates was pending
                    for more than a decade (there having been numerous interlocutory appeals during
                    its history). The Debtor and UBS recently announced an agreement in principle for
                    a settlement of the UBS claim (which came a few months after Bankruptcy Court-
                    ordered mediation) which will be subject to a 9019 motion to be filed with the
                    Bankruptcy Court on a future date.

           d.       Meta-E Discovery (“Meta-E”). Meta-E is a Committee member that is a vendor
                    who happened to supply litigation and discovery-related services to the Debtor over
                    the years. It had unpaid invoices on the Petition Date of more than $779,000.

  It is fair to say that the members of the Committee in this case all have wills of steel. They fought

  hard before and during this Chapter 11 Case. The members of the Committee, all of whom have

  volunteered to serve on the Claimant Trust Oversight Board post-confirmation, are highly

  sophisticated and have had highly sophisticated professionals representing them. They have

  represented their constituency in this case as fiduciaries extremely well.

                    9.          Other Key Creditor Constituents. In addition to the Committee members

  who were all embroiled in years of litigation with Debtor and its affiliates in various ways, the

  Debtor has been in litigation with Patrick Daugherty, a former limited partner and employee of the

  Debtor, for many years in both Delaware and Texas state courts. Mr. Daugherty filed an amended


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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 11 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 50 of 783 PageID 6471




  proof of claim in this Chapter 11 Case for $40,710,819.42 relating to alleged breaches of

  employment-related agreements and for defamation arising from a 2017 press release posted by

  the Debtor. The Debtor and Mr. Daugherty recently announced a settlement of Mr. Daugherty’s

  claim pursuant to which he will receive $750,000 in cash on the Effective Date of the Plan, an

  $8.25 million general unsecured claim, and a $2.75 million subordinated claim (subject to other

  details not relevant for this purpose). Additionally, entities collectively known as “HarbourVest”

  invested more than $70 million with an entity in the Highland complex and asserted a $300 million

  proof of claim against the Debtor in this case, alleging, among other things, fraud and RICO

  violations. HarbourVest’s claim was settled during the bankruptcy case for a $45 million general

  unsecured claim and a $35 million subordinated claim, and that settlement is also being appealed

  by a Dondero Entity.

                    10.         Other Claims Asserted. Other than the Claims just described, most of the

  other Claims in this Chapter 11 Case are Claims asserted against the Debtor by: (a) entities in the

  Highland complex—most of which entities the Bankruptcy Court finds to be controlled by Mr.

  Dondero; (b) employees who contend that are entitled to large bonuses or other types of deferred

  compensation; and (c) numerous law firms that worked for the Debtor prior to the Petition Date

  and had outstanding amounts due for their prepetition services.

                    11.         Not Your Garden Variety Post-Petition Corporate Governance

  Structure. Yet another reason this is not your garden variety chapter 11 case is its post-petition

  corporate governance structure. Immediately from its appointment, the Committee’s relationship

  with the Debtor was contentious at best. First, the Committee moved for a change of venue from



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 12 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 51 of 783 PageID 6472




  Delaware to Dallas. Second, the Committee (and later, the United States Trustee) expressed its

  then-desire for the appointment of a chapter 11 trustee due to its concerns over and distrust of Mr.

  Dondero, his numerous conflicts of interest, and his history of alleged mismanagement (and

  perhaps worse).

                    12.         Post-Petition Corporate Governance Settlement with Committee. After

  spending many weeks under the threat of the potential appointment of a trustee, the Debtor and

  Committee engaged in substantial and lengthy negotiations resulting in a corporate governance

  settlement approved by the Bankruptcy Court on January 9, 2020. 5 As a result of this settlement,

  among other things, Mr. Dondero relinquished control of the Debtor and resigned his positions as

  an officer or director of the Debtor and its general partner, Strand. As noted above, Mr. Dondero

  agreed to this settlement pursuant a stipulation he executed, 6 and he also agreed not to cause any

  Related Entity (as defined in the Settlement Motion) to terminate any agreements with the Debtor.

  The January 9 Order also (a) required that the Bankruptcy Court serve as “gatekeeper” prior to the

  commencement of any litigation against the three independent board members appointed to

  oversee and lead the Debtor’s restructuring in lieu of Mr. Dondero and (b) provided for the

  exculpation of those board members by limiting claims subject to the “gatekeeper” provision to

  those alleging willful misconduct and gross negligence.



  5
   This order is hereinafter referred to as the “January 9 Order” and was entered by the Court on January 9, 2020
  [Docket No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of Unsecured
  Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course [Docket
  No. 281] (the “Settlement Motion”).
  6
    See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
  [Docket No. 338] (the “Stipulation”).


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 13 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 52 of 783 PageID 6473




                    13.         Appointment of Independent Directors. As part of the Bankruptcy

  Court-approved settlement, three eminently qualified independent directors were chosen to lead

  Highland through its Chapter 11 Case. They are: James P. Seery, Jr., John S. Dubel (each chosen

  by the Committee), and Retired Bankruptcy Judge Russell Nelms. These three individuals are

  each technically independent directors of Strand (Mr. Dondero had previously been the sole

  director of Strand and, thus, the sole person in ultimate control of the Debtor). The three

  independent board members’ resumes are in evidence. The Bankruptcy Court later approved Mr.

  Seery’s appointment as the Debtor’s Chief Executive Officer, Chief Restructuring Officer, and

  Foreign Representative.          Suffice it to say that this settlement and the appointment of the

  independent directors changed the entire trajectory of the case and saved the Debtor from the

  appointment of a trustee. The Bankruptcy Court and the Committee each trusted the independent

  directors. They were the right solution at the right time. Because of the unique character of the

  Debtor’s business, the Bankruptcy Court believed the appointment of three qualified independent

  directors was a far better outcome for creditors than the appointment of a conventional chapter 11

  trustee. Each of the independent directors brought unique qualities to the table. Mr. Seery, in

  particular, knew and had vast experience at prominent firms with high-yield and distressed

  investing similar to the Debtor’s business. Mr. Dubel had 40 years of experience restructuring

  large complex businesses and serving on boards in this context. And Retired Judge Nelms had not

  only vast bankruptcy experience but seemed particularly well-suited to help the Debtor maneuver

  through conflicts and ethical quandaries. By way of comparison, in the chapter 11 case of Acis,

  the former affiliate of Highland that the Bankruptcy Court presided over and which company was



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 14 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 53 of 783 PageID 6474




  much smaller in size and scope than Highland (managing only 5-6 CLOs), the creditors elected a

  chapter 11 trustee who was not on the normal trustee rotation panel in this district but, rather, was

  a nationally known bankruptcy attorney with more than 45 years of large chapter 11 experience.

  While the Acis chapter 11 trustee performed valiantly, he was sued by entities in the Highland

  complex shortly after he was appointed (which the Bankruptcy Court had to address). The Acis

  trustee was also unable to persuade the Debtor and its affiliates to agree to any actions taken in the

  case, and he finally obtained confirmation of Acis’ chapter 11 plan over the objections of the

  Debtor and its affiliates on his fourth attempt (which confirmation was promptly appealed).

                    14.         Conditions Required by Independent Directors. Given the experiences

  in Acis and the Debtor’s culture of constant litigation, it was not as easy to get such highly qualified

  persons to serve as independent board members and, later, as the Debtor’s Chief Executive Officer,

  as it would be in an ordinary chapter 11 case. The independent board members were stepping into

  a morass of problems. Naturally, they were worried about getting sued no matter how defensible

  their efforts—given the litigation culture that enveloped Highland historically. Based on the

  record of this Case and the proceedings in the Acis chapter 11 case, it seemed as though everything

  always ended in litigation at Highland. The Bankruptcy Court heard credible testimony that none

  of the independent directors would have taken on the role of independent director without (1) an

  adequate directors and officers’ (“D&O”) insurance policy protecting them; (2) indemnification

  from Strand that would be guaranteed by the Debtor; (3) exculpation for mere negligence claims;

  and (4) a gatekeeper provision prohibiting the commencement of litigation against the independent

  directors without the Bankruptcy Court’s prior authority. This gatekeeper provision was also



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 15 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 54 of 783 PageID 6475




  included in the Bankruptcy Court’s order authorizing the appointment of Mr. Seery as the Debtor’s

  Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative entered on

  July 16, 2020. 7 The gatekeeper provisions in both the January 9 Order and July 16 Order are

  precisely analogous to what bankruptcy trustees have pursuant to the so-called “Barton Doctrine”

  (first articulated in an old Supreme Court case captioned Barton v. Barbour, 104 U.S. 126 (1881)).

  The Bankruptcy Court approved all of these protections in the January 9 Order and the July 16

  Order, and no one appealed either of those orders. As noted above, Mr. Dondero signed the

  Stipulation that led to the settlement that was approved by the January 9 Order. The Bankruptcy

  Court finds that, like the Committee, the independent board members have been resilient and

  unwavering in their efforts to get the enormous problems in this case solved. They seem to have

  at all times negotiated hard and in good faith, which culminated in the proposal of the Plan

  currently before the Bankruptcy Court. As noted previously, they completely changed the

  trajectory of this case.

                    15.         Not Your Garden Variety Mediators. And still another reason why this

  was not your garden variety case was the mediation effort. In the summer of 2020, roughly nine

  months into the chapter 11 case, the Bankruptcy Court ordered mediation among the Debtor, Acis,

  UBS, the Redeemer Committee, and Mr. Dondero. The Bankruptcy Court selected co-mediators

  because mediation among these parties seemed like such a Herculean task—especially during

  COVID-19 where people could not all be in the same room. Those co-mediators were: Retired



  7
   See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
  Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
  Nunc Pro Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 (the “July 16 Order”)


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 16 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 55 of 783 PageID 6476




  Bankruptcy Judge Alan Gropper from the Southern District of New York, who had a distinguished

  career presiding over complex chapter 11 cases, and Ms. Sylvia Mayer, who likewise has had a

  distinguished career, first as a partner at a preeminent law firm working on complex chapter 11

  cases, and subsequently as a mediator and arbitrator in Houston, Texas. As noted earlier, the

  Redeemer Committee and Acis claims were settled during the mediation—which seemed nothing

  short of a miracle to the Bankruptcy Court—and the UBS claim was settled several months later

  and the Bankruptcy Court believes the ground work for that ultimate settlement was laid, or at

  least helped, through the mediation. And, as earlier noted, other significant claims have been

  settled during this case, including those of HarbourVest (who asserted a $300 million claim) and

  Patrick Daugherty (who asserted a $40 million claim). The Bankruptcy Court cannot stress

  strongly enough that the resolution of these enormous claims—and the acceptance by all of these

  creditors of the Plan that is now before the Bankruptcy Court—seems nothing short of a miracle.

  It was more than a year in the making.

                    16.         Not Your Garden Variety Plan Objectors (That Is, Those That

  Remain). Finally, a word about the current, remaining objectors to the Plan before the Bankruptcy

  Court. Once again, the Bankruptcy Court will use the phrase “not your garden variety”, which

  phrase applies to this case for many reasons. Originally, there were over a dozen objections filed

  to the Plan. The Debtor then made certain amendments or modifications to the Plan to address

  some of these objections, none of which require further solicitation of the Plan for reasons set forth

  in more detail below. The only objectors to the Plan left at the time of the Confirmation Hearing




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 17 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 56 of 783 PageID 6477




  were Mr. Dondero [Docket No. 1661] and entities that the Bankruptcy Court finds are owned

  and/or controlled by him and that filed the following objections:

           a.       Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    (filed by Get Good Trust and The Dugaboy Investment Trust) [Docket No. 1667];

           b.       Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                    L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                    Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                    Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                    Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                    Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                    Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                    Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No.
                    1670];

           c.       A Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                    NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                    Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                    Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                    L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                    L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                    L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                    L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                    foregoing [Docket No. 1677];

           d.       NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) [Docket No. 1673]; and

           e.       NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) [Docket No. 1676]. The entities referred to in (i) through (v) of this
                    paragraph are hereinafter referred to as the “Dondero Related Entities”).

                    17.         Questionability of Good Faith as to Outstanding Confirmation

  Objections. Mr. Dondero and the Dondero Related Entities technically have standing to object to

  the Plan, but the remoteness of their economic interests is noteworthy, and the Bankruptcy Court



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  DOCS_SF:104487.21 36027/002
                                                                                        Appx.000050
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 18 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 57 of 783 PageID 6478




  questions the good faith of Mr. Dondero’s and the Dondero Related Entities’ objections. In fact,

  the Bankruptcy Court has good reason to believe that these parties are not objecting to protect

  economic interests they have in the Debtor but to be disruptors. Mr. Dondero wants his company

  back. This is understandable, but it is not a good faith basis to lob objections to the Plan. As

  detailed below, the Bankruptcy Court has slowed down plan confirmation multiple times and urged

  the parties to talk to Mr. Dondero in an attempt to arrive at what the parties have repeatedly referred

  to as a “grand bargain,” the ultimate goal to resolve the Debtor’s restructuring. The Debtor and

  the Committee represent that they have communicated with Mr. Dondero regarding a grand

  bargain settlement, and the Bankruptcy Court believes that they have.

                    18.         Remote Interest of Outstanding Confirmation Objectors. To be specific

  about the remoteness of Mr. Dondero’s and the Dondero Related Entities’ interests, the Bankruptcy

  Court will address them each separately. First, Mr. Dondero has a pending objection to the Plan.

  Mr. Dondero’s only economic interest with regard to the Debtor is an unliquidated indemnification

  claim (and, based on everything the Bankruptcy Court has heard, his indemnification claims would

  be highly questionable at this juncture). Mr. Dondero owns no equity in the Debtor directly. Mr.

  Dondero owns the Debtor’s general partner, Strand, which in turn owns a quarter percent of the

  total equity in the Debtor. Second, a joint objection has been filed by The Dugaboy Trust

  (“Dugaboy”) and the Get Good Trust (“Get Good”). The Dugaboy Trust was created to manage

  the assets of Mr. Dondero and his family and owns a 0.1866% limited partnership interest in the

  Debtor. See Disclosure Statement at 7, n.3. The Bankruptcy Court is not clear what economic

  interest the Get Good Trust has, but it likewise seems to be related to Mr. Dondero. Get Good



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 19 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 58 of 783 PageID 6479




  filed three proofs of claim relating to a pending federal tax audit of the Debtor’s 2008 return, which

  the Debtor believes arise from Get Good’s equity security interests and are subject to subordination

  as set forth in its Confirmation Brief. Dugaboy filed three claims against the Debtor: (a) an

  administrative claim relating to the Debtor’s alleged postpetition management of Multi-Strat

  Credit Fund, L.P., (b) a prepetition claim against a subsidiary of the Debtor for which it seeks to

  pierce the corporate veil, each of which the Debtor maintains are frivolous in the Confirmation

  Brief, and (c) a claim arising from its equity security interest in the Debtor, which the Debtor

  asserts should be subordinated. Another group of objectors that has joined together in one

  objection is what the Bankruptcy Court will refer to as the “Highland Advisors and Funds.” See

  Docket No. 1863. The Bankruptcy Court understands they assert disputed administrative expense

  claims against the estate that were filed shortly before the Confirmation Hearing on January 23,

  2021 [Docket No. 1826], and during the Confirmation Hearing on February 3, 2021 [Docket No.

  1888]. At the Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and

  Funds that the Funds have independent board members that run the Funds, but the Bankruptcy

  Court was not convinced of their independence from Mr. Dondero because none of the so-called

  independent board members have ever testified before the Bankruptcy Court and all have been

  engaged with the Highland complex for many years. Notably, the Court questions Mr. Post’s

  credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in

  October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request,

  and he is currently employed by Mr. Dondero. Moreover, Dustin Norris, a witness in a prior

  proceeding (whose testimony was made part of the record at the Confirmation Hearing), recently



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 20 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 59 of 783 PageID 6480




  testified on behalf of the Highland Advisors and Funds in another proceeding that Mr. Dondero

  owned and/or controlled these entities. Finally, various NexBank entities objected to the Plan.

  The Bankruptcy Court does not believe they have liquidated claims against the Debtor. Mr.

  Dondero appears to be in control of these entities as well.

                    19.         Background Regarding Dondero Objecting Parties. To be clear, the

  Bankruptcy Court has allowed all these objectors to fully present arguments and evidence in

  opposition to confirmation, even though their economic interests in the Debtor appear to be

  extremely remote and the Bankruptcy Court questions their good faith.              Specifically, the

  Bankruptcy Court considers them all to be marching pursuant to the orders of Mr. Dondero. In

  the recent past, Mr. Dondero has been subject to a temporary restraining order and preliminary

  injunction by the Bankruptcy Court for interfering with Mr. Seery’s management of the Debtor in

  specific ways that were supported by evidence. Around the time that this all came to light and the

  Bankruptcy Court began setting hearings on the alleged interference, Mr. Dondero’s company

  phone, which he had been asked to turn in to Highland, mysteriously went missing. The

  Bankruptcy Court merely mentions this in this context as one of many reasons that the Bankruptcy

  Court has to question the good faith of Mr. Dondero and his affiliates in raising objections to

  confirmation of the Plan.

                    20.         Other Confirmation Objections. Other than the objections filed by Mr.

  Dondero and the Dondero Related Entities, the only other pending objection to the Plan is the

  United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

  Reorganization [Docket No. 1671], which objected to the Plan’s exculpation, injunction, and



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 21 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 60 of 783 PageID 6481




  Debtor release provisions. In juxtaposition, to these pending objections, the Bankruptcy Court

  notes that the Debtor resolved the following objections to the Plan:

           a.       CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation [Docket No. 1675]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    VV of the Confirmation Order;

           b.       Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1662]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    QQ of the Confirmation Order;

           c.       Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) [Docket No. 1669]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraph 82 and paragraphs
                    RR and SS of the Confirmation Order;

           d.       Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1666] and the
                    amended joinder filed by Davis Deadman, Paul Kauffman and Todd Travers
                    [Docket No. 1679]. This Objection and the amended joinder were resolved by
                    agreement of the parties pursuant to modifications to the Plan filed by the Debtor;

           e.       United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization [Docket No. 1668]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraphs TT and UU of the
                    Confirmation Order; and

           f.       Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization [Docket No. 1678]. This objection was resolved by the parties
                    pursuant to the settlement of Mr. Daugherty’s claim announced on the record of the
                    Confirmation Hearing.

                    21.         Capitalized Terms. Capitalized terms used herein, but not defined herein,

  shall have the respective meanings attributed to such terms in the Plan and the Disclosure

  Statement, as applicable.


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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 22 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 61 of 783 PageID 6482




                    22.         Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

  Debtor’s Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

  pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding and this Chapter 11 Case is proper

  in this district and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    23.         Chapter 11 Petition. On the Petition Date, the Debtor commenced a

  voluntary case under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

  for the District of Delaware, which case was transferred to the Bankruptcy Court on December 19,

  2019. The Debtor continues to operate its business and manage its property as debtor in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

  appointed in this Chapter 11 Case. The Office of the United States Trustee appointed the

  Committee on October 29, 2019.

                    24.         Judicial Notice. The Bankruptcy Court takes judicial notice of the docket

  in this Chapter 11 Case maintained by the clerk of the Bankruptcy Court and the court-appointed

  claims agent, Kurtzman Carson Consultants LLC (“KCC”), including, without limitation, all

  pleadings, notices, and other documents filed, all orders entered, and all evidence and arguments

  made, proffered or adduced at the hearings held before the Bankruptcy Court during this Chapter

  11 Case, including, without limitation, the hearing to consider the adequacy of the Disclosure

  Statement and the Confirmation Hearing, as well as all pleadings, notices, and other documents

  filed, all orders entered, and all evidence and arguments made, proffered, or adduced at hearings

  held before the Bankruptcy Court or the District Court for the Northern District of Texas in




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 23 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 62 of 783 PageID 6483




  connection with an adversary proceeding or appellate proceeding, respectively, related to this

  Chapter 11 Case.

                    25.         Plan Supplement Documents. Prior to the Confirmation Hearing, the

  Debtor filed each of the Plan Supplements.           The Plan Supplements contain, among other

  documents, the Retained Causes of Action, the Claimant Trust Agreement, the Litigation Sub-

  Trust Agreement, the Senior Employee Stipulation, the Related Entity List, the Schedule of

  Employees, the Reorganized Limited Partnership Agreement, supplements to the Liquidation

  Analysis/Financial Projections, the Schedule of Contracts and Leases to be Assumed, and the other

  Plan Documents set forth therein (collectively, the “Plan Supplement Documents”).

                    26.         Retained Causes of Action Adequately Preserved. The Bankruptcy

  Court finds that the list of Retained Causes of Action included in the Plan Supplements sufficiently

  describes all potential Retained Causes of Action, provides all persons with adequate notice of any

  Causes of Action regardless of whether any specific claim to be brought in the future is listed

  therein or whether any specific potential defendant or other party is listed therein, and satisfies

  applicable law in all respects to preserve all of the Retained Causes of Action. The definition of

  the Causes of Action and Schedule of Retained Causes of Action, and their inclusion in the Plan,

  specifically and unequivocally preserve the Causes of Action for the benefit of the Reorganized

  Debtor, the Claimant Trust, or the Litigation Sub-Trust, as applicable.

                    27.         Plan Modifications Are Non-Material.        In addition to the Plan

  Supplements, the Debtor made certain non-material modifications to the Plan, which are reflected

  in (i) the Redline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 24 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 63 of 783 PageID 6484




  (as Modified) filed on January 22, 2021 [Docket No. 1809], and (ii) Exhibit B to the Debtor’s

  Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

  Management, L.P. (as Modified) filed on February 1, 2021 [Docket No. 1875] (collectively, the

  “Plan Modifications”). Section 1127(a) of the Bankruptcy Code provides that a plan proponent

  may modify its plan at any time before confirmation so long as such modified plan meets the

  requirements of sections 1122 and 1123 of the Bankruptcy Code. None of the modifications set

  forth in the Plan Supplements or the Plan Modifications require any further solicitation pursuant

  to sections 1125, 1126, or 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, because,

  among other things, they do not materially adversely change the treatment of the claims of any

  creditors or interest holders who have not accepted, in writing, such supplements and

  modifications. Among other things, there were changes to the projections that the Debtor filed

  shortly before the Confirmation Hearing (which included projected distributions to creditors and

  a comparison of projected distributions under the Plan to potential distributions under a

  hypothetical chapter 7 liquidation). The Plan Supplements and Plan Modifications did not mislead

  or prejudice any creditors or interest holders nor do they require that Holders of Claims or Equity

  Interests be afforded an opportunity to change previously cast votes to accept or reject the Plan.

  Specifically, the Amended Liquidation Analysis/Financial Projections filed on February 1, 2021

  [Docket No. 1875] do not constitute any material adverse change to the treatment of any creditors

  or interest holders but, rather, simply update the estimated distributions based on Claims that were

  settled in the interim and provide updated financial data. The filing and notice of the Plan

  Supplements and Plan Modifications were appropriate and complied with the requirements of



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 25 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 64 of 783 PageID 6485




  section 1127(a) of the Bankruptcy Code and the Bankruptcy Rules, and no other solicitation or

  disclosure or further notice is or shall be required. The Plan Supplements and Plan Modifications

  each became part of the Plan pursuant section 1127(a) of the Bankruptcy Code. The Debtor or

  Reorganized Debtor, as applicable, is authorized to modify the Plan or Plan Supplement

  Documents following entry of this Confirmation Order in a manner consistent with section 1127(b)

  of the Bankruptcy Code, the Plan, and, if applicable, the terms of the applicable Plan Supplement

  Document.

                    28.         Notice of Transmittal, Mailing and Publication of Materials. As is

  evidenced by the Voting Certifications and the Affidavits of Service and Publication, the

  transmittal and service of the Plan, the Disclosure Statement, Ballots, and Confirmation Hearing

  Notice were adequate and sufficient under the circumstances, and all parties required to be given

  notice of the Confirmation Hearing (including the deadline for filing and serving objections to the

  confirmation of the Plan) have been given due, proper, timely, and adequate notice in accordance

  with the Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy

  Rules, the Local Rules, and applicable non-bankruptcy law, and such parties have had an

  opportunity to appear and be heard with respect thereto. No other or further notice is required.

  The publication of the Confirmation Hearing Notice, as set forth in the Notice of Affidavit of

  Publication dated December 3, 2020 [Docket No. 1505], complied with the Disclosure Statement

  Order.

                    29.         Voting. The Bankruptcy Court has reviewed and considered the Voting

  Certifications. The procedures by which the Ballots for acceptance or rejection of the Plan were



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 26 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 65 of 783 PageID 6486




  distributed and tabulated, including the tabulation as subsequently amended to reflect the

  settlement of certain Claims to be Allowed in Class 7, were fairly and properly conducted and

  complied with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and

  the Local Rules.

                    30.         Bankruptcy Rule 3016(a). In accordance with Bankruptcy Rule 3016(a),

  the Plan is dated and identifies the Debtor as the proponent of the Plan.

                    31.         Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As

  set forth below, the Plan complies with all of the applicable provisions of the Bankruptcy Code,

  thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                    32.         Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). Section 1122 of

  the Bankruptcy Code provides that a plan may place a claim or interest in a particular class only if

  such claim or interest is substantially similar to the other claims or interest of such class. The

  Claims and Equity Interests placed in each Class are substantially similar to other Claims and

  Equity Interests, as the case may be, in each such Class. Valid business, factual, and legal reasons

  exist for separately classifying the various Classes of Claims and Equity Interests created under

  the Plan, and such Classes do not unfairly discriminate between Holders of Claims and Equity

  Interests.

                    33.         Classification of Secured Claims. Class 1 (Jefferies Secured Claim) and

  Class 2 (Frontier Secured Claim) each constitute separate secured claims held by Jefferies LLC

  and Frontier State Bank, respectively, and it is proper and consistent with section 1122 of the

  Bankruptcy Code to separately classify the claims of these secured creditors. Class 3 (Other



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 27 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 66 of 783 PageID 6487




  Secured Claims) consists of other secured claims (to the extent any exist) against the Debtor, are

  not substantially similar to the Secured Claims in Class 1 or Class 2, and are also properly

  separately classified.

                    34.         Classification of Priority Claims. Class 4 (Priority Non-Tax Claims)

  consists of Claims entitled to priority under section 507(a), other than Priority Tax Claims, and are

  properly separately classified from non-priority unsecured claims. Class 5 (Retained Employee

  Claims) consists of the potential claims of employees who may be retained by the Debtor on the

  Effective Date, which claims will be Reinstated under the Plan, are not substantially similar to

  other Claims against the Debtor, and are properly classified.

                    35.         Classification of Unsecured Claims. Class 6 (PTO Claims) consists solely

  of the claims of the Debtor’s employees for unpaid paid time off in excess of the $13,650 statutory

  cap amount under sections 507(a)(4) and (a)(5) of the Bankruptcy Code and are dissimilar from

  other unsecured claims in Class 7 and Class 8. Class 7 (Convenience Claims) allows holders of

  eligible and liquidated Claims (below a certain threshold dollar amount) to receive a cash payout

  of the lesser of 85% of the Allowed amount of the creditor’s Claim or such holder’s pro rata share

  of the Convenience Claims Cash Pool. Class 7 (Convenience Claims) are provided for

  administrative convenience purposes in order to allow creditors, most of whom are either trade

  creditors or holders of professional claims, to receive treatment provided under Class 7 in lieu of

  the treatment of Class 8 (General Unsecured Claims). The Plan also provides for reciprocal “opt

  out” mechanisms to allow holders of Class 7 Claims to elect to receive the treatment for Class 8

  Claims. Class 8 creditors primarily constitute the litigation claims of the Debtor. Class 8 Creditors



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 28 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 67 of 783 PageID 6488




  will receive Claimant Trust Interests which will be satisfied pursuant to the terms of the Plan.

  Class 8 also contains an “opt out” mechanism to allow holders of liquidated Class 8 Claims at or

  below a $1 million threshold to elect to receive the treatment of Class 7 Convenience Claims. The

  Claims in Class 7 (primarily trade and professional Claims against the Debtor) are not substantially

  similar to the Claims in Class 8 (primarily the litigation Claims against the Debtor), and are

  appropriately separately classified. Valid business reasons also exist to classify creditors in Class

  7 separately from creditors in Class 8. Class 7 creditors largely consist of liquidated trade or

  service providers to the Debtor. In addition, the Claims of Class 7 creditors are small relative to

  the large litigation claims in Class 8. Furthermore, the Class 8 Claims were overwhelmingly

  unliquidated when the Plan was filed. The nature of the Class 7 Claims as being largely liquidated

  created an expectation of expedited payment relative to the largely unliquidated Claims in Class

  8, which consists in large part of parties who have been engaged in years, and in some cases over

  a decade of litigation with the Debtor. Separate classification of Class 7 and Class 8 creditors was

  the subject of substantial arm’s-length negotiations between the Debtor and the Committee to

  appropriately reflect these relative differences.

                    36.         Classification of Equity Interests. The Plan properly separately classifies

  the Equity Interests in Class 10 (Class B/C Limited Partnership Interests) from the Equity Interests

  in Class 11 (Class A Limited Partnership Interests) because they represent different types of equity

  security interests in the Debtor and different payment priorities.

                    37.         Elimination of Vacant Classes. Section III.C of the Plan provides for the

  elimination of Classes that do not have at least one holder of a Claim or Equity Interest that is



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 29 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 68 of 783 PageID 6489




  Allowed in an amount greater than zero for purposes of voting to accept or reject the Plan, and are

  disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the

  Bankruptcy Code with respect to such Class. The purpose of this provision is to provide that a

  Class that does not have voting members shall not be included in the tabulation of whether that

  Class has accepted or rejected the Plan. Pursuant to the Voting Certifications, the only voting

  Class of Claims or Equity Interests that did not have any members is Class 5 (Retained

  Employees). As noted above, Class 5 does not have any voting members because any potential

  Claims in Class 5 would not arise, except on account of any current employees of the Debtor who

  may be employed as of the Effective Date, which is currently unknown. Thus, the elimination of

  vacant Classes provided in Article III.C of the Plan does not violate section 1122 of the Bankruptcy

  Code. Class 5 is properly disregarded for purposes of determining whether or not the Plan has

  been accepted under Bankruptcy Code section 1129(a)(8) because there are no members in that

  Class. However, the Plan properly provides for the treatment of any Claims that may potentially

  become members of Class 5 as of the Effective Date in accordance with the terms of the Plan. The

  Plan therefore satisfies section 1122 of the Bankruptcy Code.

                    38.         Classification of Claims and Designation of Non-Classified Claims (11

  U.S.C. §§ 1122, 1123(a)(1)). Section 1123(a)(1) of the Bankruptcy Code requires that the Plan

  specify the classification of claims and equity security interests pursuant to section 1122 of the

  Bankruptcy Code, other than claims specified in sections 507(a)(2), 507(a)(3), or 507(a)(8) of the

  Bankruptcy Code. In addition to Administrative Claims, Professional Fee Claims, and Priority

  Tax Claims, each of which need not be classified pursuant to section 1123(a)(1) of the Bankruptcy



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 30 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 69 of 783 PageID 6490




  Code, the Plan designates eleven (11) Classes of Claims and Equity Interests. The Plan satisfies

  sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                    39.         Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III

  of the Plan specifies that each of Class 1 (Jefferies Secured Claim), Class 3 (Other Secured

  Claims), Class 4 (Priority Non-Tax Claims), Class 5 (Retained Employee Claims), and Class 6

  (PTO Claims) are Unimpaired under the Plan. Thus, the requirement of section 1123(a)(2) of the

  Bankruptcy Code is satisfied.

                    40.         Specification of Treatment of Impaired Classes (11 U.S.C. §

  1123(a)(3)). Article III of the Plan designates each of Class 2 (Frontier Secured Claim), Class 7

  (Convenience Claims), Class 8 (General Unsecured Claims), Class 9 (Subordinated Claims), Class

  10 (Class B/C Limited Partnership Interests), and Class 11 (Class A Limited Partnership Interests)

  as Impaired and specifies the treatment of Claims and Equity Interests in such Classes. Thus, the

  requirement of section 1123(a)(3) of the Bankruptcy Code is satisfied.

                    41.         No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

  same treatment by the Plan proponent for each Claim or Equity Interest in each respective Class

  unless the Holder of a particular Claim or Equity Interest has agreed to a less favorable treatment

  of such Claim or Equity Interest. The Plan satisfies this requirement because Holders of Allowed

  Claims or Equity Interests in each Class will receive the same rights and treatment as other Holders

  of Allowed Claims or Equity Interests within such holder’s respective class, subject only to the

  voluntary “opt out” options afforded to members of Class 7 and Class 8 in accordance with the

  terms of the Plan. Thus, the requirement of section 1123(a)(4) of the Bankruptcy Code is satisfied.



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 31 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 70 of 783 PageID 6491




                    42.         Implementation of the Plan (11 U.S.C. § 1123(a)(5)). Article IV of the

  Plan sets forth the means for implementation of the Plan which includes, but is not limited to, the

  establishment of: (i) the Claimant Trust; (ii) the Litigation Sub-Trust; (iii) the Reorganized Debtor;

  and (iv) New GP LLC, in the manner set forth in the Plan Documents, the forms of which are

  included in the Plan Supplements.

           a.       The Claimant Trust. The Claimant Trust Agreement provides for the
                    management of the Claimant Trust, as well as the Reorganized Debtor with the
                    Claimant Trust serving as the managing member of New GP LLC (a wholly-owned
                    subsidiary of the Claimant Trust that will manage the Reorganized Debtor as its
                    general partner). The Claimant Trust, the Claimant Trustee, the management and
                    monetization of the Claimant Trust Assets, and the management of the Reorganized
                    Debtor (through the Claimant Trust’s role as managing member of New GP LLC)
                    and the Litigation Sub-Trust will all be managed and overseen by the Claimant
                    Trust Oversight Committee. Additionally, the Plan provides for the transfer to the
                    Claimant Trust of all of the Debtor’s rights, title, and interest in and to all of the
                    Claimant Trust Assets in accordance with section 1141 of the Bankruptcy Code and
                    for the Claimant Trust Assets to automatically vest in the Claimant Trust free and
                    clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
                    Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant
                    Trust Agreement. The Claimant Trust will administer the Claimant Trust Assets as
                    provided under the Plan and the Claimant Trust Agreement contained in the Plan
                    Supplements.

           b.       The Litigation Sub-Trust. The Plan and the Litigation Sub-Trust Agreement
                    provide for the transfer to the Litigation Sub-Trust all of the Claimant Trust’s rights,
                    title, and interest in and to all of the Estate Claims (as transferred to the Claimant
                    Trust by the Debtor) in accordance with section 1141 of the Bankruptcy Code and
                    for the Estate Claims to automatically vest in the Litigation Sub-Trust free and clear
                    of all Claims, Liens, encumbrances, or interests subject only to the Litigation Sub-
                    Trust Interests and the Litigation Sub-Trust Expenses, as provided for in the
                    Litigation Sub-Trust Agreement. The Litigation Trustee is charged with
                    investigating, pursuing, and otherwise resolving any Estate Claims (including those
                    with respect to which the Committee has standing to pursue prior to the Effective
                    Date pursuant to the January 9 Order) pursuant to the terms of the Litigation Sub-
                    Trust Agreement and the Plan, regardless of whether any litigation with respect to
                    any Estate Claim was commenced by the Debtor or the Committee prior to the
                    Effective Date.


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  DOCS_SF:104487.21 36027/002
                                                                                               Appx.000064
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 32 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 71 of 783 PageID 6492



           c.       The Reorganized Debtor. The Reorganized Debtor will administer the
                    Reorganized Debtor Assets, which includes managing the wind down of the
                    Managed Funds.

  The precise terms governing the execution of these restructuring transactions are set forth in greater

  detail in the applicable definitive documents included in the Plan Supplements, including the

  Claimant Trust Agreement, the Litigation Sub-Trust Agreement, and the Schedule of Retained

  Causes of Action. The Plan, together with the documents and forms of agreement included in the

  Plan Supplements, provides a detailed blueprint for the transactions contemplated by the Plan. The

  Plan’s various mechanisms provide for the Debtor’s continued management of its business as it

  seeks to liquidate the Debtor’s assets, wind down its affairs, and pay the Claims of the Debtor’s

  creditors. Upon full payment of Allowed Claims, plus interest as provided in the Plan, any residual

  value would then flow to the holders of Class 10 (Class B/C Limited Partnership Interests), and

  Class 11 (Class A Limited Partnership Interests). Finally, Mr. Seery testified that the Debtor

  engaged in substantial and arm’s length negotiations with the Committee regarding the Debtor’s

  post-Effective Date corporate governance, as reflected in the Plan. Mr. Seery testified that he

  believes the selection of the Claimant Trustee, Litigation Trustee, and members of the Claimant

  Trust Oversight Board are in the best interests of the Debtor’s economic constituents. Thus, the

  requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

                    43.         Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The Debtor is

  not a corporation and the charter documents filed in the Plan Supplements otherwise comply with

  section 1123(a)(6) of the Bankruptcy Code. Therefore, the requirement of section 1123(a)(6) of

  the Bankruptcy Code is satisfied.




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 33 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 72 of 783 PageID 6493




                    44.         Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)). Article IV

  of the Plan provides for the Claimant Trust to be governed and administered by the Claimant

  Trustee. The Claimant Trust, the management of the Reorganized Debtor, and the management

  and monetization of the Claimant Trust Assets and the Litigation Sub-Trust will be managed by

  the Claimant Trust Oversight Board. The Claimant Trust Oversight Board will consist of: (1) Eric

  Felton, as representative of the Redeemer Committee; (2) Joshua Terry, as representative of Acis;

  (3) Elizabeth Kozlowski, as representative of UBS; (4) Paul McVoy, as representative of Meta-E

  Discovery; and (5) David Pauker.             Four of the members of the Claimant Trust Oversight

  Committee are the holders of several of the largest Claims against the Debtor and/or are current

  members of the Committee. Each of these creditors has actively participated in the Debtor’s case,

  both through their fiduciary roles as Committee members and in their individual capacities as

  creditors. They are therefore intimately familiar with the Debtor, its business, and assets. The

  fifth member of the Claimant Trustee Oversight Board, David Pauker, is a disinterested

  restructuring advisor and turnaround manager with more than 25 years of experience advising

  public and private companies and their investors, and he has substantial experience overseeing,

  advising or investigating troubled companies in the financial services industry and has advised or

  managed such companies on behalf of boards or directors, court-appointed trustees, examiners and

  special masters, government agencies, and private investor parties. The members of the Claimant

  Trust Oversight Board will serve without compensation, except for Mr. Pauker, who will receive

  payment of $250,000 for his first year of service, and $150,000 for subsequent years.




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 34 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 73 of 783 PageID 6494




                    45.         Selection of Trustees. The Plan Supplements disclose that Mr. Seery will

  serve as the Claimant Trustee and Marc Kirschner will serve as the Litigation Trustee. As noted

  above, Mr. Seery has served as an Independent Board member since January 2020, and as the

  Chief Executive Officer and Chief Restructuring Officer since July 2020, and he has extensive

  management and restructuring experience, as evidenced from his curriculum vitae which is part of

  the record.      The evidence shows that Mr. Seery is intimately familiar with the Debtor’s

  organizational structure, business, and assets, as well as how Claims will be treated under the Plan.

  Accordingly, it is reasonable and in the Estate’s best interests to continue Mr. Seery’s employment

  post-emergence as the Claimant Trustee. Mr. Seery, upon consultation with the Committee,

  testified that he intends to employ approximately 10 of the Debtor’s employees to enable him to

  manage the Debtor’s business until the Claimant Trust effectively monetizes its remaining assets,

  instead of hiring a sub-servicer to accomplish those tasks. Mr. Seery testified that he believes that

  the Debtor’s post-confirmation business can most efficiently and cost-effectively be supported by

  a sub-set of the Debtor’s current employees, who will be managed internally. Mr. Seery shall

  initially be paid $150,000 per month for services rendered after the Effective Date as Claimant

  Trustee; however, Mr. Seery’s long-term salary as Claimant Trustee and the terms of any bonuses

  and severance are subject to further negotiation by Mr. Seery and the Claimant Trust Oversight

  Board within forty-five (45) days after the Effective Date. The Bankruptcy Court has also

  reviewed Mr. Kirschner’s curriculum vitae. Mr. Kirschner has been practicing law since 1967 and

  has substantial experience in bankruptcy litigation matters, particularly with respect to his prior

  experience as a litigation trustee for several litigation trusts, as set forth on the record of the



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 35 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 74 of 783 PageID 6495




  Confirmation Hearing and in the Confirmation Brief. Mr. Kirschner shall be paid $40,000 per

  month for the first three months and $20,000 per month thereafter, plus a success fee related to

  litigation recoveries. The Committee and the Debtor had arm’s lengths negotiations regarding the

  post-Effective Date corporate governance structure of the Reorganized Debtor and believe that the

  selection of the Claimant Trustee, the Litigation Trustee, and the Claimant Trust Oversight

  Committee are in the best interests of the Debtor’s economic stakeholders. Section 1123(a)(7) of

  the Bankruptcy Code is satisfied.

                    46.         Debtor’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

  Pursuant to section 1129(a)(2) of the Bankruptcy Code, the Debtor has complied with the

  applicable provisions of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, and

  1126 of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement Order

  governing notice, disclosure, and solicitation in connection with the Plan, the Disclosure

  Statement, the Plan Supplements, and all other matters considered by the Bankruptcy Court in

  connection with this Chapter 11 Case.

                    47.         Debtor’s Solicitation Complied with Bankruptcy Code and Disclosure

  Statement Order. Before the Debtor solicited votes on the Plan, the Bankruptcy Court entered

  the Disclosure Statement Order. In accordance with the Disclosure Statement Order and evidenced

  by the Affidavits of Service and Publication, the Debtor appropriately served (i) the Solicitation

  Packages (as defined in the Disclosure Statement Order) on the Holders of Claims in Classes 2, 7,

  8 and 9 and Holders of Equity Interests in Classes 10 and 11 who were entitled to vote on the Plan;

  and (ii) the Notice of Nonvoting Status (as defined in the Disclosure Statement Order) and the



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 36 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 75 of 783 PageID 6496




  Confirmation Hearing Notice to the Holders of Claims in Classes 1, 3, 4, 5 and 6, who were not

  entitled to vote on the Plan pursuant to the Disclosure Statement Order. The Disclosure Statement

  Order approved the contents of the Solicitation Packages provided to Holders of Claims and Equity

  Interests entitled to vote on the Plan, the notices provided to parties not entitled to vote on the Plan,

  and the deadlines for voting on and objecting to the Plan. The Debtor and KCC each complied

  with the content and delivery requirements of the Disclosure Statement Order, thereby satisfying

  sections 1125(a) and (b) of the Bankruptcy Code, as evidenced by the Affidavits of Service and

  Publication. The Debtor also satisfied section 1125(c) of the Bankruptcy Code, which provides

  that the same disclosure statement must be transmitted to each holder of a claim or interest in a

  particular class. The Debtor caused the same Disclosure Statement to be transmitted to all holders

  of Claims and Equity Interests entitled to vote on the Plan. The Debtor has complied in all respects

  with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

  Statement Order. The Bankruptcy Court rejects the arguments of the Mr. Dondero and certain

  Dondero Related Entities that the changes made to certain assumptions and projections from the

  Liquidation Analysis annexed as Exhibit C to the Disclosure Statement (the “Liquidation

  Analysis”) to the Amended Liquidation Analysis/Financial Projections require resolicitation of the

  Plan. The Bankruptcy Court heard credible testimony from Mr. Seery regarding the changes to

  the Liquidation Analysis as reflected in the Amended Liquidation Analysis/Financial Projections.

  Based on the record, including the testimony of Mr. Seery, the Bankruptcy Court finds that the

  changes between the Liquidation Analysis and the Amended Liquidation Analysis/Financial

  Projections do not constitute materially adverse change to the treatment of Claims or Equity



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 37 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 76 of 783 PageID 6497




  Interests. Instead, the changes served to update the projected distributions based on Claims that

  were settled after the approval of the Disclosure Statement and to otherwise incorporate more

  recent financial data.          Such changes were entirely foreseeable given the large amount of

  unliquidated Claims at the time the Disclosure Statement was approved and the nature of the

  Debtor’s assets. The Bankruptcy Court therefore finds that holders of Claims and Equity Interests

  were not misled or prejudiced by the Amended Liquidation Analysis/Financial Projections and the

  Plan does not need to be resolicited.

                    48.         Plan Proposed in Good Faith and Not by Means Forbidden by Law (11

  U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

  forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining

  that the Plan has been proposed in good faith, the Bankruptcy Court has examined the totality of

  the circumstances surrounding the filing of this Chapter 11 Case, the Plan itself, and the extensive,

  unrebutted testimony of Mr. Seery in which he described the process leading to Plan’s formulation.

  Based on the totality of the circumstances and Mr. Seery’s testimony, the Bankruptcy Court finds

  that the Plan is the result of extensive arm’s-length negotiations among the Debtor, the Committee,

  and key stakeholders, and promotes the objectives and purposes of the Bankruptcy Code.

  Specifically, the Debtor’s good faith in proposing the Plan is supported by the following facts

  adduced by Mr. Seery:

           a.       The Independent Board determined that it should consider all potential
                    restructuring alternatives, including pursuit of a traditional restructuring and the
                    continuation of the Debtor’s business, a potential sale of the Debtor’s assets in one
                    or more transactions, an asset monetization plan similar to that described in the
                    Plan, and a so-called “grand bargain” plan that would involve Mr. Dondero’s
                    sponsorship of a plan with a substantial equity infusion.

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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 38 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 77 of 783 PageID 6498



           b.       The Debtor subsequently engaged in arm’s-length, good faith negotiations with the
                    Committee over an asset monetization Plan commencing in June 2020, which
                    negotiations occurred over the next several months.

           c.       Negotiations between the Debtor and the Committee were often contentious over
                    disputes, including, but not limited to, the post-confirmation corporate governance
                    structure and the scope of releases contemplated by the Plan.

           d.       While negotiations with the Committee progressed, the Independent Board engaged
                    in discussions with Mr. Dondero regarding a potential “grand bargain” plan which
                    contemplated a significant equity infusion by Mr. Dondero, and which Mr. Seery
                    personally spent hundreds of hours pursuing over many months.

           e.       On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation
                    [Docket No. 912] pursuant to which the Bankruptcy Court ordered the Debtor, the
                    Committee, UBS, Acis, the Redeemer Committee, and Mr. Dondero into
                    mediation. As a result of this mediation, the Debtor negotiated the settlement of
                    the claims of Acis and Mr. Terry, which the Bankruptcy Court approved on October
                    28, 2020 [Docket No. 1302].

           f.       On August 12, 2020, the Debtor filed its Chapter 11 Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 944] (the “Initial Plan”) and
                    related disclosure statement (the “Initial Disclosure Statement”) which were not
                    supported by either the Committee or Mr. Dondero. The Independent Board filed
                    the Initial Plan and Initial Disclosure Statement in order to act as a catalyst for
                    continued discussions with the Committee while it simultaneously worked with Mr.
                    Dondero on the “grand bargain” plan.

           g.       The Bankruptcy Court conducted a contested hearing on the Initial Disclosure
                    Statement on October 27, 2020. The Committee and other parties objected to
                    approval of the Disclosure Statement at the Initial Disclosure Statement hearing,
                    which was eventually continued to November 23, 2020.

           h.       Following the Initial Disclosure Statement hearing, the Debtor continued to
                    negotiate with the Committee and ultimately resolved the remaining material
                    disputes and led to the Bankruptcy Court’s approval of the Disclosure Statement on
                    November 23, 2020.

           i.       Even after obtaining the Bankruptcy Court’s approval of the Disclosure Statement,
                    the Debtor and the Committee continued to negotiate with Mr. Dondero and the
                    Committee over a potential “pot plan” as an alternative to the Plan on file with the
                    Bankruptcy Court, but such efforts were unsuccessful. This history conclusively
                    demonstrates that the Plan is being proposed in good faith within the meaning of
                    section 1129(a)(3).


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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 39 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 78 of 783 PageID 6499




                    49.         Payments for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

  Article II.B of the Plan provides that Professionals will file all final requests for payment of

  Professional Fee Claims no later than 60 days after the Effective Date, thereby providing an

  adequate period of time for interested parties to review such claims. The procedures set forth in

  the Plan for the Bankruptcy Court’s approval of the fees, costs, and expenses to be paid in

  connection with this chapter 11 Case, or in connection with the Plan and incident to this Chapter

  11 Case, satisfy the objectives of and are in compliance with section 1129(a)(4) of the Bankruptcy

  Code.

                    50.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). Article IV.B

  of the Plan provides for the appointment of the Claimant Trustee, Litigation Trustee, and the

  Claimant Trust Oversight Committee and the members thereto. For the reasons more fully

  explained in paragraphs 44-45 of this Confirmation Order with respect to the requirement of

  section 1123(a)(7) of the Bankruptcy Code, the Debtor has disclosed the nature of compensation

  of any insider to be employed or retained by the Reorganized Debtor, if applicable, and

  compensation for any such insider. The appointment of such individuals is consistent with the

  interests of Claims and Equity Interests and with public policy. Thus, the Plan satisfies section

  1129(a)(5) of the Bankruptcy Code.

                    51.         No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for

  any rate change that requires regulatory approval. Section 1129(a)(6) of the Bankruptcy Code is

  thus not applicable.




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 40 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 79 of 783 PageID 6500




                    52.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The “best interests”

  test is satisfied as to all Impaired Classes under the Plan, as each Holder of a Claim or Equity

  Interest in such Impaired Classes will receive or retain property of a value, as of the Effective Date

  of the Plan, that is not less than the amount that such Holder would so receive or retain if the

  Debtor were liquidated under chapter 7 of the Bankruptcy Code. On October 15, 2020, the Debtor

  filed the Liquidation Analysis [Docket 1173], as prepared by the Debtor with the assistance of its

  advisors and which was attached as Exhibit C to the Disclosure Statement. On January 29, 2021,

  in advance of Mr. Seery’s deposition in connection with confirmation of the Plan, the Debtor

  provided an updated version of the Liquidation Analysis to the then-objectors of the Plan,

  including Mr. Dondero and the Dondero Related Entities. On February 1, 2021, the Debtor filed

  the Amended Liquidation Analysis/Financial Projections.                   The Amended Liquidation

  Analysis/Financial Projections included updates to the Debtor’s projected asset values, revenues,

  and expenses to reflect: (1) the acquisition of an interest in an entity known as “HCLOF” that the

  Debtor will acquire as part of its court-approved settlement with HarbourVest and that was valued

  at $22.5 million; (2) an increase in the value of certain of the Debtor’s assets due to changes in

  market conditions and other factors; (3) expected revenues and expenses arising in connection with

  the Debtor’s continued management of the CLOs pursuant to management agreements that the

  Debtor decided to retain; (4) increases in projected expenses for headcount (in addition to adding

  two or three employees to assist in the management of the CLOs, the Debtor also increased

  modestly the projected headcount as a result of its decision not to engage a Sub-Servicer) and

  professional fees; and (5) an increase in projected recoveries on notes resulting from the



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 41 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 80 of 783 PageID 6501




  acceleration of term notes owed to the Debtor by the following Dondero Related Entities:

  NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.; and HCRE Partners, LLC

  (n/k/a NexPoint Real Estate Partners, LLC). Under the Plan, as of the Confirmation Date, (a) Class

  7 General Unsecured Creditors are projected to receive 85% on account of their claims; and (b)

  Class 8 General Unsecured Creditors are projected to receive at least approximately 71% on

  account of their Claims. Under a hypothetical chapter 7 liquidation, all general unsecured creditors

  are projected to receive approximately 55% on account of their Claims. The Bankruptcy Court

  finds that the distributions that Class 7 and 8 General Unsecured Creditors are projected to receive

  under the Plan substantially exceeds that which they would receive under a chapter 7 liquidation

  based on Mr. Seery’s testimony, including the following credible reasons he posited, among

  others:

            a.      The nature of the Debtor’s assets is complex. Certain assets relate to complicated
                    real estate structures and private equity investments in operating businesses. Mr.
                    Seery’s extensive experience with the Debtor during the thirteen months since his
                    appointment as an Independent Director and later Chief Executive Officer and
                    Chief Restructuring Officer, provides him with a substantial learning curve in
                    connection with the disposition of the Debtor’s assets and are reasonably expected
                    to result in him being able to realize tens of millions of dollars more value than
                    would a chapter 7 trustee.

            b.      Assuming that a hypothetical chapter 7 trustee could even operate the Debtor’s
                    business under chapter 7 of the Bankruptcy Code and hire the necessary personnel
                    with the relevant knowledge and experience to assist him or her in selling the
                    Debtor’s assets, a chapter 7 trustee would likely seek to dispose of the Debtor’s
                    assets in a forced sale liquidation which would generate substantially less value for
                    the Debtor’s creditors than the asset monetization plan contemplated by the Plan.

            c.      A chapter 7 trustee would be unlikely to retain the Debtor’s existing professionals
                    to assist in its efforts to monetize assets, resulting in delays, increased expenses,
                    and reduced asset yields for the chapter 7 estate.



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 42 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 81 of 783 PageID 6502



           d.       The chapter 7 estate would be unlikely to maximize value as compared to the asset
                    monetization process contemplated by the Plan because potential buyers are likely
                    to perceive a chapter 7 trustee as engaging in a quick, forced “fire sale” of assets;
                    and

           e.       The Debtor’s employees, who are vital to its efforts to maximum value and
                    recoveries for stakeholders, may be unwilling to provide services to a chapter 7
                    trustee.

  Finally, there is no evidence to support the objectors’ argument that the Claimant Trust

  Agreement’s disclaimed liability for ordinary negligence by the Claimant Trustee compared to a

  chapter 7 trustee’s liability has any relevance to creditor recoveries in a hypothetical chapter 7

  liquidation. Thus, section 1129(a)(7) of the Bankruptcy Code is satisfied.

                    53.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Classes 1, 3, 4,

  5 and 6 are Unimpaired under the Plan. Class 2 (Frontier Secured Claim), Class 7 (Convenience

  Claims), and Class 9 (Subordinated Claims) have each voted to accept the Plan in accordance with

  the Bankruptcy Code, thereby satisfying section 1129(a)(8) as to those Classes. However, Class

  8 (General Unsecured Claims), Class 10 (Class B/C Limited Partnership Interests), and Class 11

  (Class A Limited Partnership Interests) have not accepted the Plan.              Accordingly, section

  1129(a)(8) of the Bankruptcy Code has not been satisfied. The Plan, however, is still confirmable

  because it satisfies the nonconsensual confirmation provisions of section 1129(b), as set forth

  below.

                    54.         Treatment of Administrative, Priority, Priority Tax Claims, and

  Professional Fee Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims,

  Priority Claims, and Professional Fee Claims pursuant to Article III of the Plan, and as set forth

  below with respect to the resolution of the objections filed by the Internal Revenue Service and



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  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000075
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 43 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 82 of 783 PageID 6503




  certain Texas taxing authorities satisfies the requirements of sections 1129(a)(9) of the Bankruptcy

  Code.

                    55.         Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)).           Class 2

  (Frontier Secured Claims) and Class 7 (Convenience Claims) are each Impaired Classes of Claims

  that voted to accept the Plan, determined without including any acceptance of the Plan by any

  insider. Therefore, the requirement of section 1129(a)(10) of the Bankruptcy Code is satisfied.

                    56.         Feasibility (11 U.S.C. § 1129(a)(11)). Article IV of the Plan provides for

  the implementation of the Plan through the Claimant Trust, the Litigation Sub-Trust, and the

  Reorganized Debtor. The Plan provides that the Claimant Trust, among other things, will monetize

  and distribute the Debtor’s remaining assets. The Disclosure Statement, the Amended Liquidation

  Analysis/Financial Projections, and the other evidence presented at the Confirmation Hearing

  provide a reasonable probability of success that the Debtor will be able to effectuate the provisions

  of the Plan. The Plan contemplates the establishment of the Claimant Trust upon the Effective

  Date, which will monetize the Estate’s assets for the benefit of creditors. Mr. Seery testified that

  the Class 2 Frontier Secured Claim will be paid over time pursuant to the terms of the New Frontier

  Note and the Reorganized Debtor will have sufficient assets to satisfy its obligations under this

  note. The Claims of the Holders of Class 7 Claims (as well as those Class 8 creditors who validly

  opted to receive the treatment of Class 7 Claims) are expected to be satisfied shortly after the

  Effective Date. Holders of Class 8 Claims (including any holders of Class 7 Claims who opted to

  receive the treatment provided to Class 8 Claims) are not guaranteed any recovery and will




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  DOCS_SF:104487.21 36027/002
                                                                                              Appx.000076
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 44 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 83 of 783 PageID 6504




  periodically receive pro rata distributions as assets are monetized pursuant to the Plan and the

  Claimant Trust Agreement. Thus, section 1129(a)(11) of the Bankruptcy Code is satisfied.

                    57.         Payment of Fees (11 U.S.C. § 1129(a)(12)). All fees payable under 28

  U.S.C. § 1930 have been paid or will be paid on or before the Effective Date pursuant to Article

  XII.A of the Plan, thus satisfying the requirement of section 1129(a)(12) of the Bankruptcy Code.

  The Debtor has agreed that the Reorganized Debtor, the Claimant Trust, and the Litigation Sub-

  Trust shall be jointly and severally liable for payment of quarterly fees to the Office of the United

  States Trustee pursuant to 28 U.S.C. § 1930 through the entry of the Final Decree for the Debtor

  or the dismissal or conversion of the Chapter 11 Case.

                    58.         Retiree Benefits. The Plan provides for the assumption of the Pension Plan

  (to the extent such Pension Plan provides “retiree benefits” and is governed by section 1114 of the

  Bankruptcy Code). Thus, the Plan complies with section 1129(a)(13) of the Bankruptcy Code, to

  the extent applicable.

                    59.         Miscellaneous Provisions (11 U.S.C. §§ 1129(a)(14)-(16)).        Sections

  1129(a)(14)-(16) of the Bankruptcy Code are inapplicable as the Debtor (i) has no domestic

  support obligations (section 1129(a)(14)), (ii) is not an individual (section 1129(a)(15)), and (iii)

  is not a nonprofit corporation (section 1129(a)(16)).

                    60.         No Unfair Discrimination; Fair and Equitable Treatment (11 U.S.C. §

  1129(b)). The classification and treatment of Claims and Equity Interests in Classes 8, 10 and 11,

  which have not accepted the Plan, is proper pursuant to section 1122 of the Bankruptcy Code, does




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 45 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 84 of 783 PageID 6505




  not discriminate unfairly, and is fair and equitable pursuant to section 1129(b)(1) of the Bankruptcy

  Code.

            a.      Class 8. The Plan is fair and equitable with respect to Class 8 General Unsecured
                    Claims. While Equity Interests in Class 10 and Class 11 will receive a contingent
                    interest in the Claimant Trust under the Plan (the “Contingent Interests”), the
                    Contingent Interests will not vest unless and until holders of Class 8 General
                    Unsecured Claims and Class 9 Subordinated Claims receive distributions equal to
                    100% of the amount of their Allowed Claims plus interest as provided under the
                    Plan and Claimant Trust Agreement. Accordingly, as the holders of Equity
                    Interests that are junior to the Claims in Class 8 and Class 9 will not receive or
                    retain under the Plan on account of such junior claim interest any property unless
                    and until the Claims in Class 8 and Class 9 are paid in full plus applicable interest,
                    the Plan is fair and equitable with respect to holders of Class 8 General Unsecured
                    Claims pursuant to section 1129(b)(2)(B) of the Bankruptcy Code and the reasoning
                    of In re Introgen Therapuetics 429 B.R 570 (Bankr. W.D. Tex. 2010).

            b.      Class 10 and Class 11. There are no Claims or Equity Interests junior to the Equity
                    Interests in Class 10 and Class 11. Equity Interests in Class 10 and 11 will neither
                    receive nor retain any property under the Plan unless Allowed Claims in Class 8
                    and Class 9 are paid in full plus applicable interest pursuant to the terms of the Plan
                    and Claimant Trust Agreement. Thus, the Plan does not violate the absolute priority
                    rule with respect to Classes 10 and 11 pursuant to Bankruptcy Code section
                    1129(b)(2)(C). The Plan does not discriminate unfairly as to Equity Interests. As
                    noted above, separate classification of the Class B/C Partnership Interests from the
                    Class A Partnerships Interests is appropriate because they constitute different
                    classes of equity security interests in the Debtor, and each are appropriately
                    separately classified and treated.


  Accordingly, the Plan does not violate the absolute priority rule, does not discriminate unfairly,

  and is fair and equitable with respect to each Class that has rejected the Plan. Thus, the Plan

  satisfies the requirements of section 1129(b) of the Bankruptcy Code with respect to Classes 8, 10,

  and 11.




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 46 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 85 of 783 PageID 6506




                    61.         Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only chapter 11 plan

  confirmed in this Chapter 11 Case, and the requirements of section 1129(c) of the Bankruptcy

  Code are therefore satisfied.

                    62.         Principal Purpose (11 U.S.C. § 1129(d)). Mr. Seery testified that the

  principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of the application

  of section 5 of the Securities Act of 1933, and no governmental unit has objected to the

  confirmation of the Plan on any such grounds. Accordingly, section 1129(d) of the Bankruptcy

  Code is inapplicable.

                    63.         Satisfaction of Confirmation Requirements. Based upon the foregoing,

  the Plan satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy

  Code and should be confirmed.

                    64.         Good Faith Solicitation (11 U.S.C. § 1125(e)).         The Debtor, the

  Independent Directors, and the Debtor’s employees, advisors, Professionals, and agents have acted

  in good faith within the meaning of section 1125(e) of the Bankruptcy Code and in compliance

  with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

  all of their respective activities relating to the solicitation of acceptances of the Plan and their

  participation in the activities described in section 1125 of the Bankruptcy Code, and they are

  entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

                    65.         Discharge (11 U.S.C. § 1141(d)(3)). The Debtor is entitled to a discharge

  of debts pursuant to section 1141(d)(3)(B) of the Bankruptcy Code. Under the Plan, the Claimant

  Trust or Reorganized Debtor, as applicable, will continue to manage funds and conduct business



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 47 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 86 of 783 PageID 6507




  in the same manner as the Debtor did prior to Plan confirmation, which includes the management

  of the CLOs, Multi-Strat, Restoration Capital, the Select Fund and the Korea Fund. Although the

  Plan projects that it will take approximately two years to monetize the Debtor’s assets for fair

  value, Mr. Seery testified that while the Reorganized Debtor and Claimant Trust will be

  monetizing their assets, there is no specified time frame by which this process must conclude. Mr.

  Seery’s credible testimony demonstrates that the Debtor will continue to engage in business after

  consummation of the Plan, within the meaning of Section 1141(d)(3)(b) and that the Debtor is

  entitled to a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code.

                    66.         Retention of Jurisdiction. The Bankruptcy Court may properly retain

  jurisdiction over the matters set forth in Article XI of the Plan and/or section 1142 of the

  Bankruptcy Code to the maximum extent under applicable law.

                    67.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions

  are appropriate, in the best interests of the Debtor and its Estate, and consistent with the applicable

  provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                    68.         Executory Contracts and Unexpired Leases (11 U.S.C. § 1123(b)(2)).

  The Debtor has exercised reasonable business judgment with respect to the rejection of the

  Executory Contracts and Unexpired Leases pursuant the terms of the Plan and this Confirmation

  Order, and such rejections are justified and appropriate in this Chapter 11 Case. The Debtor also

  filed the List of Assumed Contracts, which contain notices to the applicable counterparties to the

  contracts set forth on Exhibit “FF” to Plan Supplement filed on February 1, 2021 [Docket No.

  1875] and which exhibit sets forth the list of executory contracts and unexpired leases to be



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 48 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 87 of 783 PageID 6508




  assumed by the Debtor pursuant to the Plan (collectively, the “Assumed Contracts”). With respect

  to the Assumed Contracts, only one party objected to the assumption of any of the Assumed

  Contracts, but that objection was withdrawn. 8 Any modifications, amendments, supplements, and

  restatements to the Assumed Contracts that may have been executed by the Debtor during the

  Chapter 11 Case shall not be deemed to alter the prepetition nature of the Assumed Contracts or

  the validity, priority, or amount of any Claims that may arise in connection therewith. Assumption

  of any Assumed Contract pursuant to the Plan and full payment of any applicable Cure pursuant

  to the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition or other bankruptcy-related defaults, arising under any assumed

  Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.

                    69.         Compromises and Settlements Under and in Connection with the Plan

  (11 U.S.C. § 1123(b)(3)). All of the settlements and compromises pursuant to and in connection

  with the Plan, comply with the requirements of section 1123(b)(3) of the Bankruptcy Code and

  Bankruptcy Rule 9019.

                    70.         Debtor Release, Exculpation and Injunctions (11 U.S.C. § 1123(b)). The

  Debtor Release, Exculpation, and Injunction provisions provided in the Plan (i) are within the

  jurisdiction of the Bankruptcy Court under 28 U.S.C. § 1334; (ii) are integral elements of the

  transactions incorporated into the Plan, and inextricably bound with the other provisions of the

  Plan; (iii) confer material benefit on, and are in the best interests of, the Debtor, its Estate, and its

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    See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
  Amounts Proposed in Connection Therewith [Docket No. 1876]


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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 49 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 88 of 783 PageID 6509




  creditors; (iv) are fair, equitable, and reasonable; (v) are given and made after due notice and

  opportunity for hearing; (vi) satisfy the requirements of Bankruptcy Rule 9019; and (vii) are

  consistent with the Bankruptcy Code and other applicable law, and as set forth below.

                    71.         Debtor Release. Section IX.D of the Plan provides for the Debtor’s release

  of the Debtor’s and Estate’s claims against the Released Parties. Releases by a debtor are

  discretionary and can be provided by a debtor to persons who have provided consideration to the

  Debtor and its estate pursuant to section 1123(b)(3)(A) of the Bankruptcy Code. Contrary to the

  objections raised by Mr. Dondero and certain of the Dondero Related Entities, the Debtor Release

  is appropriately limited to release claims held by the Debtor and does not purport to release the

  claims held by the Claimant Trust, Litigation Sub-Trust, or other third parties. The Plan does not

  purport to release any claims held by third parties and the Bankruptcy Court finds that the Debtor

  Release is not a “disguised” release of any third party claims as asserted by certain objecting

  parties. The limited scope of the Debtor Release in the Plan was extensively negotiated with the

  Committee, particularly with the respect to the Debtor’s conditional release of claims against

  employees, as identified in the Plan, and the Plan’s conditions and terms of such releases. The

  Plan does not release (i) any obligations of any party under the Plan or any document, instrument,

  or agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under

  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 50 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 89 of 783 PageID 6510




  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction. The Debtor Release also contains

  conditions to such releases as set forth in Article X.D of the Plan with respect to employees (the

  “Release Conditions”). Until the an employee satisfies the Release Conditions or the Release

  Conditions otherwise terminate, any claims against such employee will be tolled so that if the

  Release Conditions are not met the Litigation Trustee may pursue claims against an employee at a

  later date. The evidence before the Bankruptcy Court, including, but not limited to Mr. Seery’s

  testimony, demonstrates that the Debtor is not aware of any claims against any of the Released

  Parties, that the Released Parties have been instrumental in assisting the Debtor’s efforts toward

  confirmation of the Plan and that, therefore, the releases are a quid pro quo for the Released

  Parties’ significant contributions to a highly complex and contentious restructuring.           The

  Committee, whose members hold approximately $200 million in claims against the Estate, is

  highly sophisticated and is represented by highly sophisticated professionals, and has actively and

  vigorously negotiated the terms of the Debtor Release, which was the subject of significant

  controversy at the Initial Disclosure Statement hearing held by the Bankruptcy Court on October

  27, 2020.

                    72.         Exculpation. Section IX.C of the Plan provides for the exculpation of

  certain Exculpated Parties to the extent provided therein (the “Exculpation Provision”). As

  explained below, the Exculpation Provision is appropriate under the unique circumstances of this

  litigious Chapter 11 Case and consistent with applicable Fifth Circuit precedent. First, with respect

  to the Independent Directors, their agents, and their advisors, including any employees acting at



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 51 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 90 of 783 PageID 6511




  their direction, the Bankruptcy Court finds and concludes that it has already exculpated these

  parties for acts other than willful misconduct and gross negligence pursuant to the January 9 Order.

  The January 9 Order was specifically agreed to by Mr. Dondero, who was in control of the Debtor

  up until entry of the January 9 Order. The January 9 Order was not appealed. In addition to the

  appointment of the Independent Directors in an already contentious and litigious case, the January

  9 Order set the standard of care for the Independent Directors and specifically exculpated them for

  negligence. Mr. Seery and Mr. Dubel each testified that they had input into the contents of the

  January 9 Order and would not have agreed to their appointment as Independent Directors if the

  January 9 Order did not include the protections set forth in paragraph 10 of the January 9 Order.

  Paragraph 10 of the January 9 Order (1) requires that parties wishing to sue the Independent

  Directors or their agents and advisors must first seek approval from the Bankruptcy Court before

  doing so; (2) sets the standard of care for the Independent Directors during the Chapter 11 Case

  and exculpated the Independent Directors for acts other than willful misconduct or gross

  negligence; (3) only permits suits against the Independent Directors to proceed for colorable claims

  of willful misconduct and gross negligence upon order of the Bankruptcy Court; and (4) does not

  expire by its terms.

                    73.         Existing Exculpation of Independent Directors. The Bankruptcy Court

  also finds and concludes that it has already exculpated Mr. Seery acting in the capacity as Chief

  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order. The Bankruptcy

  Court concludes its previous approval of the exculpation of the Independent Directors, their agents,

  advisors and employees working at their direction pursuant to the January 9 Order, and the Chief



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 52 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 91 of 783 PageID 6512




  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order constitutes the

  law of this case and are res judicata pursuant to In re Republic Supply Co. v. Shoaf, 815 F.2d 1046

  (5th Cir.1987). The January 9 Order and July 16 Order cannot be collaterally attacked based on

  the objectors’ objection to the exculpation of the Independent Directors, their agents, and advisors,

  including any employees acting at their direction, as well as the Chief Executive Officer and Chief

  Restructuring Officer, that the Bankruptcy Court already approved pursuant to the January 9 Order

  and the July 16 Order.

                    74.         The Exculpation Provision Complies with Applicable Law. Separate

  and apart from the res judicata effect of the January 9 Order and the July 16 Order, the Bankruptcy

  Court also finds and concludes that the Exculpation Provision is consistent with applicable law,

  including In re Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), for several reasons:

           a.       First, the statutory basis for Pacific Lumber’s denial of exculpation for certain
                    parties other than a creditors’ committee and its members is that section 524(e) of
                    the Bankruptcy Code “only releases the debtor, not co-liable third parties.” Pacific
                    Lumber, 253 F.3d. at 253. However, Pacific Lumber does not prohibit all
                    exculpations under the Bankruptcy Code and the court in such case specifically
                    approved the exculpations of a creditors’ committee and its members on the
                    grounds that “11 U.S.C. § 1103(c), which lists the creditors’ committee’s powers,
                    implies committee members have qualified immunity for actions within the scope
                    of their duties…. [I]f members of the committee can be sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case, it will be extremely difficult to find members to serve on an official
                    committee.” Pacific Lumber, 253 F.3d at 253 (quoting Lawrence P. King, et al,
                    Collier on Bankruptcy, ¶ 1103.05[4][b] (15th Ed. 2008]). Pacific Lumber’s
                    rationale for permitted exculpation of creditors’ committees and their members
                    (which was clearly policy-based and based on a creditors’ committee qualified
                    immunity flowing from their duties under section 1103(c) of the Bankruptcy Code
                    and their disinterestedness and importance in chapter 11 cases) does not preclude
                    exculpation to other parties in a particular chapter 11 case that perform similar roles
                    to a creditors’ committee and its members. The Independent Directors, and by
                    extension the Chief Executive Officer and Chief Restructuring Officer, were not

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  DOCS_SF:104487.21 36027/002
                                                                                              Appx.000085
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 53 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 92 of 783 PageID 6513



                    part of the Debtor’s enterprise prior to their appointment by the Bankruptcy Court
                    under the January 9 Order. The Bankruptcy Court appointed the Independent
                    Directors in lieu of a chapter 11 trustee to address what the Bankruptcy Court
                    perceived as serious conflicts of interest and fiduciary duty concerns with the then-
                    existing management prior to January 9, 2020, as identified by the Committee. In
                    addition, the Bankruptcy Court finds that the Independent Directors expected to be
                    exculpated from claims of negligence, and would likely have been unwilling to
                    serve in contentious cases absent exculpation. The uncontroverted testimony of
                    Mr. Seery and Mr. Dubel demonstrates that the Independent Directors would not
                    have agreed to accept their roles without the exculpation and gatekeeper provision
                    in the January 9 Order. Mr. Dubel also testified as to the increasing important role
                    that independent directors are playing in complex chapter 11 restructurings and that
                    unless independent directors could be assured of exculpation for simple negligence
                    in contentious bankruptcy cases they would be reluctant to accept appointment in
                    chapter 11 cases which would adversely affect the chapter 11 restructuring process.
                    The Bankruptcy Court concludes that the Independent Directors were appointed
                    under the January 9 Order in order to avoid the appointment of a chapter 11 trustee
                    and are analogous to a creditors’ committee rather than an incumbent board of
                    directors. The Bankruptcy Court also concludes that if independent directors
                    cannot be assured of exculpation for simple negligence in contentious bankruptcy
                    cases, they may not be willing to serve in that capacity. Based upon the foregoing,
                    the Bankruptcy Court concludes that Pacific Lumber’s policy of exculpating
                    creditors’ committees and their members from “being sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case” is applicable to the Independent Directors in this Chapter 11 Case. 9

           b.       Second, the Bankruptcy Court also concludes that Pacific Lumber does not
                    preclude the exculpation of parties if there is a showing that “costs [that] the
                    released parties might incur defending against such suits alleging such negligence
                    are likely to swamp either the Exculpated Parties or the reorganization.” Pacific
                    Lumber, 584 F.3d at 252. If ever there was a risk of that happening in a chapter 11
                    reorganization, it is this one. Mr. Seery credibly testified that Mr. Dondero stated
                    outside the courtroom that if Mr. Dondero’s pot plan does not get approved, that
                    Mr. Dondero will “burn the place down.” The Bankruptcy Court can easily expect
                    that the proposed Exculpated Parties might expect to incur costs that could swamp
                    them and the reorganization based on the prior litigious conduct of Mr. Dondero
                    and his controlled entities that justify their inclusion in the Exculpation Provision.




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    The same reasoning applies to the inclusion of Strand in the Exculpation Provision because Strand is the general
  partner of the Debtor through which each of the Independent Board members act.


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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 54 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 93 of 783 PageID 6514




                    75.         Injunction. Section IX.D of the Plan provides for a Plan inunction to

  implement and enforce the Plan’s release, discharge and release provisions (the “Injunction

  Provision”). The Injunction Provision is necessary to implement the provisions in the Plan. Mr.

  Seery testified that the Claimant Trustee will monetize the Debtor’s assets in order to maximize

  their value. In order to accomplish this goal, the Claimant Trustee needs to be able to pursue this

  objective without the interference and harassment of Mr. Dondero and his related entities,

  including the Dondero Related Entities. Mr. Seery also testified that if the Claimant Trust was

  subject to interference by Mr. Dondero, it would take additional time to monetize the Debtor’s

  assets and those assets could be monetized for less money to the detriment of the Debtor’s

  creditors. The Bankruptcy Court finds and concludes that the Injunction Provision is consistent

  with and permissible under Bankruptcy Code sections 1123(a), 1123(a)(6), 1141(a) and (c), and

  1142. The Bankruptcy Court rejects assertions by certain objecting parties that the Injunction

  Provision constitutes a “third-party release.” The Injunction Provision is appropriate under the

  circumstances of this Chapter 11 Case and complies with applicable bankruptcy law. The

  Bankruptcy Court also concludes that the terms “implementation” and “consummation” are neither

  vague nor ambiguous

                    76.         Gatekeeper Provision. Section IX.F of the Plan contains a provision

  contained in paragraph AA of this Confirmation Order and which the Debtor has referred to as a

  gatekeeper provision (the “Gatekeeper Provision”). The Gatekeeper Provision requires that

  Enjoined Parties first seek approval of the Bankruptcy Court before they may commence an action

  against Protected Parties. Thereafter, if the Bankruptcy Court determines that the action is



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 55 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 94 of 783 PageID 6515




  colorable, the Bankruptcy Court may, if it has jurisdiction, adjudicate the action. The Bankruptcy

  Court finds that the inclusion of the Gatekeeper Provision is critical to the effective and efficient

  administration, implementation, and consummation of the Plan. The Bankruptcy Court also

  concludes that the Bankruptcy Court has the statutory authority as set forth below to approve the

  Gatekeeper Provision.

                    77.         Factual Support for Gatekeeper Provision. The facts supporting the need

  for the Gatekeeper Provision are as follows. As discussed earlier in this Confirmation Order, prior

  to the commencement of the Debtor’s bankruptcy case, and while under the direction of Mr.

  Dondero, the Debtor had been involved in a myriad of litigation, some of which had gone on for

  years and, in some cases, over a decade. Substantially all of the creditors in this case are either

  parties who were engaged in litigation with the Debtor, parties who represented the Debtor in

  connection with such litigation and had not been paid, or trade creditors who provided litigation-

  related services to the Debtor. During the last several months, Mr. Dondero and the Dondero

  Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

  time-consuming litigation for the Debtor. Such litigation includes: (i) entry of a temporary

  restraining order and preliminary injunction against Mr. Dondero [Adv. Proc. No. 20-03190

  Docket No. 10 and 59] because of, among other things, his harassment of Mr. Seery and employees

  and interference with the Debtor’s business operations; (ii) a contempt motion against Mr.

  Dondero for violation of the temporary restraining order, which motion is still pending before the

  Bankruptcy Court [Adv. Proc. No. 20-03190 Docket No. 48]; (iii) a motion by Mr. Dondero’s

  controlled investors in certain CLOs managed by the Debtor that the Bankruptcy Court referred to



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 56 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 95 of 783 PageID 6516




  as frivolous and a waste of the Bankruptcy Court’s time [Docket No. 1528] which was denied by

  the Court [Docket No. 1605]; (iv) multiple plan confirmation objections focused on ensuring the

  Dondero Related Entities be able to continue their litigation against the Debtor and its successors

  post-confirmation [Docket Nos. 1661, 1667, 1670, 1673, 1676, 1677 and 1868]; (v) objections to

  the approval of the Debtor’s settlements with Acis and HarbourVest and subsequent appeals of the

  Bankruptcy Court’s order approving each of those settlements [Docket Nos. 1347 and 1870]; and

  (vi) a complaint and injunction sought against Mr. Dondero’s affiliated entities to prevent them

  from violating the January 9 Order and entry of a restraining order against those entities [Adv Proc.

  No. 21-03000 Docket No 1] (collectively, the “Dondero Post-Petition Litigation”).

                    78.         Findings Regarding Dondero Post-Petition Litigation. The Bankruptcy

  Court finds that the Dondero Post-Petition Litigation was a result of Mr. Dondero failing to obtain

  creditor support for his plan proposal and consistent with his comments, as set forth in Mr. Seery’s

  credible testimony, that if Mr. Dondero’s plan proposal was not accepted, he would “burn down

  the place.” The Bankruptcy Court concludes that without appropriate protections in place, in the

  form of the Gatekeeper Provision, Mr. Dondero and his related entities will likely commence

  litigation against the Protected Parties after the Effective Date and do so in jurisdictions other than

  the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero perceives will be more

  hospitable to his claims. The Bankruptcy Court also finds, based upon Mr. Seery’s testimony, that

  the threat of continued litigation by Mr, Dondero and his related entities after the Effective Date

  will impede efforts by the Claimant Trust to monetize assets for the benefit of creditors and result




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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 57 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 96 of 783 PageID 6517




  in lower distributions to creditors because of costs and distraction such litigation or the threats of

  such litigation would cause.

                    79.         Necessity of Gatekeeper Provision. The Bankruptcy Court further finds

  that unless the Bankruptcy Court approves the Gatekeeper Provision, the Claimant Trustee and the

  Claimant Trust Oversight Board will not be able to obtain D&O insurance, the absence of which

  will present unacceptable risks to parties currently willing to serve in such roles. The Bankruptcy

  Court heard testimony from Mark Tauber, a Vice President with AON Financial Services, the

  Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O insurance. Mr. Tauber

  credibly testified that of all the insurance carriers that AON approached to provide D&O insurance

  coverage after the Effective Date, the only one willing to do so without an exclusion for claims

  asserted by Mr. Dondero and his affiliates otherwise requires that this Order approve the

  Gatekeeper Provision. Based on the foregoing, the Bankruptcy Court finds that the Gatekeeper

  Provision is necessary and appropriate in light of the history of the continued litigiousness of Mr.

  Dondero and his related entities in this Chapter 11 Case and necessary to the effective and efficient

  administration, implementation and consummation of the Plan and is appropriate pursuant to

  Carroll v. Abide (In re Carroll) 850 F.3d 811 (5th Cir. 2017). Approval of the Gatekeeper

  Provision will prevent baseless litigation designed merely to harass the post-confirmation entities

  charged with monetizing the Debtor’s assets for the benefit of its economic constituents, will avoid

  abuse of the court system and preempt the use of judicial time that properly could be used to

  consider the meritorious claims of other litigants. Any suit against a Protected Party would

  effectively be a suit against the Debtor, and the Debtor may be required to indemnify the Protected



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  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 58 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 97 of 783 PageID 6518




  Parties under the Limited Partnership Agreement, which will remain in effect through the Effective

  Date, or those certain Indemnification and Guaranty Agreements, dated January 9, 2020, between

  Strand, the Debtor, and each Independent Director, following the Confirmation Date as each such

  agreement will be assumed pursuant to 11 U.S.C. § 365 pursuant to the Plan.

                    80.         Statutory Authority to Approve Gatekeeper Provision.               The

  Bankruptcy Court finds it has the statutory authority to approve the Gatekeeper Provision under

  sections 1123(a)(5), 1123(b)(6), 1141, 1142(b), and 105(a). The Gatekeeper Provision is also

  within the spirit of the Supreme Court’s “Barton Doctrine.” Barton v. Barbour, 104 U.S. 126

  (1881). The Gatekeeper Provision is also consistent with the notion of a prefiling injunction to

  deter vexatious litigants, that has been approved by the Fifth Circuit in such cases as Baum v. Blue

  Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811 (5th Cir.

  2017).

                    81.         Jurisdiction to Implement Gatekeeper Provision. The Bankruptcy Court

  finds that it will have jurisdiction after the Effective Date to implement the Gatekeeper Provision

  as post-confirmation bankruptcy court jurisdiction has been interpreted by the Fifth Circuit under

  United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d

  296 (5th Cir. 2002) and EOP-Colonnade of Dallas Ltd. P’Ship v. Faulkner (In re Stonebridge

  Techs., Inc.), 430 F.3d 260 (5th Cir. 2005). Based upon the rationale of the Fifth Circuit in Villegas

  v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015), the Bankruptcy Court’s jurisdiction to act as a

  gatekeeper does not violate Stern v. Marshall. The Bankruptcy Court’s determination of whether




                                                      58
  DOCS_SF:104487.21 36027/002
                                                                                           Appx.000091
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 59 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 98 of 783 PageID 6519




  a claim is colorable, which the Bankruptcy Court has jurisdiction to determine, is distinct from

  whether the Bankruptcy Court would have jurisdiction to adjudicate any claim it finds colorable.

                    82.         Resolution of Objections of Scott Ellington and Isaac Leventon. Each

  of Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”) (each, a “Senior

  Employee Claimant”) has asserted certain claims for liquidated but unpaid bonus amounts for the

  following periods: 2016, 2017, and 2018, as set forth in Exhibit A to that certain Senior Employees’

  Limited Objection to Debtor’s Fifth Amended Plan of Reorganization [Docket No. 1669] (the

  “Senior Employees’ Objection”) (for each of Mr. Ellington and Mr. Leventon, the “Liquidated

  Bonus Claims”).

           a.       Mr. Ellington has asserted Liquidated Bonus Claims in the aggregate amount of
                    $1,367,197.00, and Mr. Leventon has asserted Liquidated Bonus Claims in the
                    aggregate amount of $598,198.00. Mr. Ellington received two Ballots 10 – a Ballot
                    for Class 7 of the Plan and a Ballot for Class 8 of the Plan. Mr. Ellington completed
                    and timely returned both of such Ballots, voted to reject the Plan, and elected to
                    have his Class 8 Liquidated Bonus Claims treated under Class 7 of the Plan, subject
                    to the objections and reservations of rights set forth in the Senior Employees’
                    Objection. If Mr. Ellington is permitted to elect Class 7 treatment for his Liquidated
                    Bonus Claims, then the maximum amount of his Liquidated Bonus Claims will be
                    $1,000,000.

           b.       Mr. Leventon received two Ballots—a Ballot for Class 7 of the Plan and a Ballot
                    for Class 8 of the Plan. Mr. Leventon completed and timely returned both of such
                    Ballots and voted each such Ballots to rejected the Plan.

           c.       The Senior Employees’ Objection, among other things, objects to the Plan on the
                    grounds that the Debtor improperly disputes the right of Mr. Ellington to elect Class
                    7 treatment for his Liquidated Bonus Claims and Mr. Leventon’s entitlement to
                    receive Class 7 Convenience Class treatment for his Liquidated Bonus Claims. The
                    Debtor contended that neither Mr. Ellington or Mr. Leventon were entitled to elect
                    to receive Class 7 Convenience Class treatment on account of their Liquidated


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    As defined in the Plan, “Ballot” means the forms(s) distributed to holders of Impaired Claims or Equity Interests
  entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.


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  DOCS_SF:104487.21 36027/002
                                                                                                         Appx.000092
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 60 of 161
   Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 99 of 783 PageID 6520



                    Bonus Claims under the terms of the Plan, the Disclosure Statement Order or
                    applicable law.

           d.       The Debtor and Mr. Ellington and Mr. Leventon negotiated at arms’ length in an
                    effort to resolve all issues raised in the Senior Employee’s Objection, including
                    whether or not Mr. Ellington and Mr. Leventon were entitled to Class 7
                    Convenience Class treatment of their Liquidated Bonus Claims. As a result of such
                    negotiation, the Debtor, Mr. Ellington, and Mr. Leventon have agreed to the
                    settlement described in paragraphs 82(e) through 82(k) below and approved and
                    effectuated pursuant to decretal paragraphs RR through SS (the “Senior Employees'
                    Settlement”).

           e.       Under the terms of the Senior Employees' Settlement, the Debtor has the right to
                    elect one of two treatments of the Liquidated Bonus Claims for a Senior Employee
                    Claimant. Under the first treatment option (“Option A”), the Liquidated Bonus
                    Claims will be entitled to be treated in Class 7 of the Plan, and the Liquidated Bonus
                    Claims will be entitled to receive payment in an amount equal to 70.125% of the
                    Class 7 amount of the Liquidated Bonus Claims, subject to the Liquidated Bonus
                    Claims becoming Allowed Claims under the terms of the Plan. Under this
                    calculation, Mr. Ellington would be entitled to receive $701,250.00 on account of
                    his Class 7 Convenience Class Claim when and as Allowed under the Plan, and Mr.
                    Leventon would be entitled to receive $413,175.10 on account of his Class 7
                    Convenience Class Claim when and as Allowed under the Plan. If, however, any
                    party in interest objects to the allowance of the Senior Employee Claimant's
                    Liquidated Bonus Claims and does not prevail in such objection, then such Senior
                    Employee Claimant will be entitled to a payment in an amount equal to 85% of his
                    Allowed Liquidated Bonus Claims (subject, in the case of Mr. Ellington, to the cap
                    imposed on Class 7 Claims). In addition, under Option A, each of Mr. Ellington
                    and Mr. Leventon would retain their respective rights to assert that the Liquidated
                    Bonus Claims are entitled to be treated as Administrative Expense Claims, as
                    defined in Article I.B.2. of the Plan, in which case the holder of such Liquidated
                    Bonus Claims would be entitled to payment in full of the Allowed Liquidated
                    Bonus Claims. Under Option A, parties in interest would retain the right to object
                    to any motion seeking payment of the Liquidated Bonus Amounts as
                    Administrative Expenses.

           f.       Under the second treatment option (“Option B”), the Debtor would agree that the
                    Senior Employee Claimant has Allowed Liquidated Bonus Claims, no longer
                    subject to objection by any party in interest, in the amounts of the Liquidated Bonus
                    Claims (subject, in the case of Mr. Ellington, to the cap imposed by Class 7). If the
                    Debtor elects Option B as to a Senior Employee Claimant, then such Senior
                    Employee Claimant would be entitled to a payment on account of his Allowed
                    Liquidated Bonus Claims in an amount equal to 60% of the amount of the


                                                     60
  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000093
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 61 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 100 of 783 PageID 6521



                    Liquidated Bonus Claims (which, in Mr. Ellington’s case, would be $600,000 and
                    in Mr. Leventon’s case, would be $358,918.80), and such payment would be the
                    sole recovery on account of such Allowed Liquidated Bonus Claims.

           g.       The Debtor may, with the consent of the Committee, elect Option B with respect to
                    a Senior Employee Claimant at any time prior to the occurrence of the Effective
                    Date. If the Debtor does not make an election, then Option A will apply.

           h.       Under either Option A or Option B, Mr. Ellington and Mr. Leventon will retain all
                    their rights with respect to all Claims other than the Liquidated Bonus Amounts,
                    including, but not limited to, their Class 6 PTO Claims, other claims asserted as
                    Class 8 General Unsecured Claims, the Senior Employees’ claims for
                    indemnification against the Debtor, and any other claims that they may assert
                    constitute Administrative Expense Claims, and any other such Claims are subject
                    to the rights of any party in interest to object to such Claims, and the Debtor reserves
                    any all of its rights and defenses in connection therewith.

           i.       Subject to entry of this Confirmation Order and as set forth and announced on the
                    record at the hearing on confirmation of the Plan and no party objecting thereto,
                    Mr. Ellington and Mr. Leventon agreed to change the votes in their respective
                    Ballots from rejection to acceptance of the Plan and to withdraw the Senior
                    Employees’ Objection.

           j.       The Senior Employees’ Settlement represents a valid exercise of the Debtor’s
                    business judgment and satisfies the requirements for a compromise under
                    Bankruptcy Rule 9019(a).

           k.       For the avoidance of doubt, neither Mr. Leventon nor Mr. Ellington shall be a
                    Released Party under the Plan regardless of how the Senior Employee Claimants’
                    Claims are to be treated hereunder.

           Based upon the foregoing findings, and upon the record made before the Bankruptcy Court

  at the Confirmation Hearing, and good and sufficient cause appearing therefor, it is hereby

  ORDERED, ADJUDGED AND DECREED THAT:

                    A.          Confirmation of the Plan. The Plan is approved in its entirety and

  CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




                                                      61
  DOCS_SF:104487.21 36027/002
                                                                                               Appx.000094
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 62 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 101 of 783 PageID 6522




  Plan Supplements and Plan Modifications, are incorporated by reference into and are an integral

  part of this Confirmation Order. 11

                      B.        Findings of Fact and Conclusions of Law. The findings of fact and the

  conclusions of law set forth in this Confirmation Order and on the record of the Confirmation

  Hearing constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule

  7052, made applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and

  conclusion of law announced by the Bankruptcy Court at the Confirmation Hearing in relation to

  confirmation of the Plan are hereby incorporated into this Confirmation Order. To the extent that

  any of the following constitutes findings of fact or conclusions of law, they are adopted as such.

  To the extent any findings of fact or conclusions of law set forth in this Confirmation Order

  (including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

  Confirmation Hearing and incorporated herein) constitutes an order of the Bankruptcy Court, and

  is adopted as such.

                      C.        Objections. Any resolution or disposition of objections to confirmation of

  the Plan or otherwise ruled upon by the Bankruptcy Court on the record of the Confirmation

  Hearing is hereby incorporated by reference.               All objections and all reservations of rights

  pertaining to confirmation of the Plan that have not been withdrawn, waived or settled are

  overruled on the merits, except as otherwise specifically provided in this Confirmation Order.

                      D.        Plan Supplements and Plan Modifications.             The filing with the

  Bankruptcy Court of the Plan Supplements and the Plan Modifications constitutes due and


  11
       The Plan is attached hereto as Exhibit A.


                                                        62
  DOCS_SF:104487.21 36027/002
                                                                                              Appx.000095
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 63 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 102 of 783 PageID 6523




  sufficient notice thereof. Accordingly, pursuant to section 1127(a) of the Bankruptcy Code and

  Bankruptcy Rule 3019, the Plan Modifications and the Plan Supplements do not require additional

  disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes under section 1126

  of the Bankruptcy Code, nor do they require that Holders of Claims or Equity Interests be afforded

  an opportunity to change previously cast acceptances or rejections of the Plan.         The Plan

  Modifications and the Plan Supplements constitute the Plan pursuant to section 1127(a) of the

  Bankruptcy Code. Accordingly, the Plan, as modified, is properly before the Bankruptcy Court

  and all votes cast with respect to the Plan prior to such modification shall be binding and shall

  apply with respect to the Plan.

                    E.          Deemed Acceptance of Plan. In accordance with section 1127 of the

  Bankruptcy Code and Bankruptcy Rule 3019, all Holders of Claims and Equity Interests who voted

  to accept the Plan (or whom are conclusively presumed to accept the Plan) are deemed to have

  accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be permitted

  to change its vote as a consequence of the Plan Modifications.

                    F.          Vesting of Assets in the Reorganized Debtor.   Except as otherwise

  provided in the Plan or this Confirmation Order, on or after the Effective Date, all Reorganized

  Debtor Assets will vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges or

  other encumbrances pursuant to section 1141(c) of the Bankruptcy Code, except with respect to

  such Liens, Claims, charges, and other encumbrances that are specifically preserved under the Plan

  upon the Effective Date. The Reorganized Debtor shall be the exclusive trustee of the Reorganized

  Debtor Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the



                                                     63
  DOCS_SF:104487.21 36027/002
                                                                                        Appx.000096
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 64 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 103 of 783 PageID 6524




  representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code

  with respect to the Reorganized Debtor Assets.

                    G.          Effectiveness of All Actions.   All actions contemplated by the Plan,

  including all actions in connection with the Claimant Trust Agreement, the Senior Employee

  Stipulation, the New GP LLC Documents, the New Frontier Note, the Reorganized Limited

  Partnership Agreement, the Litigation Sub-Trust Agreement, and the other Plan Documents, are

  authorized to be taken on, prior to, or after the Effective Date, as applicable, under this

  Confirmation Order, without further application to or order of the Bankruptcy Court, or further

  action by the directors, managers, officers or partners of the Debtor or the Reorganized Debtor and

  with the effect that such actions had been taken by unanimous action of such parties.

                    H.          Restructuring Transactions.     The Debtor or Reorganized Debtor, as

  applicable, are authorized to enter into and effectuate the Restructuring provided under the Plan,

  including, without limitation, the entry into and consummation of the transactions contemplated

  by the Claimant Trust Agreement, the Senior Employee Stipulation, the New GP LLC Documents,

  the New Frontier Note, the Reorganized Limited Partnership Agreement, the Litigation Sub-Trust

  Agreement, and the other Plan Documents, and may take any actions as may be necessary or

  appropriate to effect a corporate restructuring of its business or a corporate restructuring of the

  overall corporate structure of the Reorganized Debtor, as and to the extent provided in the Plan.

  Any transfers of assets or equity interests effected or any obligations incurred through the

  Restructuring pursuant to the Plan are hereby approved and shall not constitute fraudulent

  conveyances or fraudulent transfers or otherwise be subject to avoidance.



                                                      64
  DOCS_SF:104487.21 36027/002
                                                                                          Appx.000097
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 65 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 104 of 783 PageID 6525




                    I.          Preservation of Causes of Action. Unless a Cause of Action against a

  Holder of a Claim or an Equity Interest or other Entity is expressly waived, relinquished, released,

  compromised or settled in the Plan or any Final Order (including, without limitation, this

  Confirmation Order), such Cause of Action is expressly reserved for later adjudication by the

  Reorganized Debtor, the Litigation Sub-Trust, or the Claimant Trust, as applicable (including,

  without limitation, Causes of Action not specifically identified or of which the Debtor may

  presently be unaware or that may arise or exist by reason of additional facts or circumstances

  unknown to the Debtor at this time or facts or circumstances that may change or be different from

  those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without

  limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

  waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as

  a consequence of the confirmation, effectiveness, or consummation of the Plan based on the

  Disclosure Statement, the Plan, or this Confirmation Order, except where such Causes of Action

  have been expressly released in the Plan or any other Final Order (including, without limitation,

  this Confirmation Order). In addition, the right of the Reorganized Debtor, the Claimant Trust, or

  the Litigation Sub-Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor

  is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the

  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

                    J.          Independent Board of Directors of Strand. The terms of the current

  Independent Directors shall expire on the Effective Date without the need for any further or other

  action by any of the Independent Directors. For avoidance of doubt, the Assumed Contracts



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  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000098
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 66 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 105 of 783 PageID 6526




  include the Indemnification and Guaranty Agreement between Highland Capital Management,

  Strand Advisors, Inc. and James Seery; the Indemnification and Guaranty Agreement between

  Highland Capital Management, Strand Advisors, Inc. and John Dubel and Indemnification and

  Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

  Nelms and shall each remain in full force and effect notwithstanding the expiration of the terms of

  any Independent Directors.

                    K.          Cancellation of Equity Interests and Issuance of New Partnership

  Interests. On the Effective Date, all Class A Limited Partnership Interests, including the Class A

  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited

  Partnerships in the Debtor will be deemed cancelled, and all obligations or debts owed by, or

  Claims against, the Debtor on account of, or based upon, such Class A Limited Partnership

  Interests and Class B/C Limited Partnership Interests shall be deemed as cancelled, released, and

  discharged, including all obligations or duties by the Debtor relating to the Equity Interests in any

  of the Debtor’s formation documents, including the Limited Partnership Agreement. As of the

  Effective Date and pursuant to the Plan, new Class A Limited Partnership Interests in the

  Reorganized Debtor will be issued to the Claimant Trust and New GP LLC. The Claimant Trust,

  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized

  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized

  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as

  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited

  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current Limited



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  DOCS_SF:104487.21 36027/002
                                                                                          Appx.000099
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 67 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 106 of 783 PageID 6527




  Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be managed

  consistent with the terms of the Reorganized Limited Partnership Agreement by New GP LLC.

  The sole managing member of New GP LLC will be the Claimant Trust, and the Claimant Trustee

  will be the sole officer of New GP LLC on the Effective Date.

                    L.          Transfer of Assets to Claimant Trust. On or prior to the Effective Date,

  the Debtor shall irrevocably transfer and shall be deemed to have irrevocably transferred to the

  Claimant Trust all of its rights, title, and interest in and to all of the Claimant Trust Assets, and in

  accordance with section 1141 of the Bankruptcy Code, the Claimant Trust Assets shall

  automatically vest in the Claimant Trust free and clear of all Claims, Liens, encumbrances, or

  interests subject only to the Claimant Trust Interests and the Claimant Trust Expenses, as provided

  for in the Claimant Trust Agreement, and such transfer shall be exempt from any stamp, real estate

  transfer, mortgage from any stamp, transfer, reporting, sales, use, or other similar tax. Following

  the Effective Date, the Claimant Trust will administer the Claimant Trust Assets pursuant to the

  Plan and the Claimant Trust Agreement.

                    M.          Transfer of Estate Claims to Litigation Sub-Trust. On or prior to the

  Effective Date, the Claimant Trust shall irrevocably transfer and shall be deemed to have

  irrevocably transferred to the Litigation Sub-Trust all of the Claimant Trust’s rights, title, and

  interest in and to all of the Estate Claims as successor in interest to the Debtor, and in accordance

  with section 1141 of the Bankruptcy Code, the Estate Claims shall automatically vest in the

  Litigation Sub-Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to

  the Litigation Sub-Trust Interests and Litigation Sub-Trust Expenses. The Litigation Trustee will



                                                        67
  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000100
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 68 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 107 of 783 PageID 6528




  be authorized to investigate, pursue, and otherwise resolve the Estate Claims pursuant to the terms

  of the Litigation Sub-Trust Agreement and the Plan, including as successor in interest to the Debtor

  or Committee, as applicable, in any litigation commenced prior to the Effective Date in which

  Estate Claims are asserted.

                    N.          Compromise of Controversies. In consideration for the distributions and

  other benefits, including releases, provided under the Plan, the provisions of the Plan constitute a

  good faith compromise and settlement of all Claims, Equity Interests, and controversies resolved

  under the Plan and the entry of this Confirmation Order constitutes approval of such compromise

  and settlement under Bankruptcy Rule 9019.

                    O.          Objections to Claims. The Claims Objection Deadline shall be the date

  that is 180 days after the Effective Date, provided, however, that the Claims Objection Deadline

  may be extended by the Bankruptcy Court upon a motion by the Claimant Trustee and as otherwise

  provided under the Plan.

                    P.          Assumption of Contracts and Leases. Effective as of the date of this

  Confirmation Order, each of the Assumed Contacts shall be assumed by the Debtor without the

  need for any further notice to or action, order, or approval of the Bankruptcy Court, under section

  365 of the Bankruptcy Code and the payment of Cures, if any, shall be paid in accordance with the

  Plan.    Each Assumed Contract shall include all modifications, amendments, supplements,

  restatements, or other agreements related thereto, and all rights related thereto, if any, including

  all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

  any other interests. Modifications, amendments, supplements, and restatements to any of the



                                                       68
  DOCS_SF:104487.21 36027/002
                                                                                            Appx.000101
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 69 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 108 of 783 PageID 6529




  Assumed Contracts that have been executed by the Debtor during the Chapter 11 Case shall not

  be deemed to alter the prepetition nature of such Assumed Contracts or the validity, priority, or

  amount of any Claims that may arise in connection therewith. Assumption of the Assumed

  Contracts pursuant to Article V.A of the Plan and full payment of any applicable Cure pursuant to

  the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition, or other bankruptcy-related defaults, arising under any Assumed

  Contracts.

                    Q.          Rejection of Contracts and Leases. Unless previously assumed during the

  pendency of the Chapter 11 Case or pursuant to the Plan, all other Executory Contracts and

  Unexpired Leases are rejected as of the date of the entry of this Confirmation Order and pursuant

  to the terms of the Plan. To the extent that any party asserts any damages resulting from the

  rejection of any Executory Contract or Unexpired Lease, such claim must be filed within thirty

  (30) days following entry of this Confirmation Order, or such claim will be forever barred and

  disallowed against the Reorganized Debtor.

                    R.          Assumption of Issuer Executory Contracts. On the Confirmation Date,

  the Debtor will assume the agreements set forth on Exhibit B hereto (collectively, the “Issuer

  Executory Contracts”) pursuant to section 365 of the Bankruptcy Code and Article V of the Plan.

  In full and complete satisfaction of its obligation to cure outstanding defaults under section

  365(b)(1) of the Bankruptcy Code, the Debtor or, as applicable, any successor manager under the




                                                       69
  DOCS_SF:104487.21 36027/002
                                                                                           Appx.000102
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 70 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 109 of 783 PageID 6530




  Issuer Executory Contracts (collectively, the “Portfolio Manager”) will pay to the Issuers 12 a

  cumulative amount of $525,000 (the “Cure Amount”) as follows:

           a.       $200,000 in cash on the date that is five business days from the Effective Date, with
                    such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the amount of
                    $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95, and Maples
                    Group (“Maples” and collectively with SRZ and JW, the “Issuers’ Counsel”) in the
                    amount of $41,904.76 as reimbursement for the attorney’s fees and other legal
                    expenses incurred by the Issuers in connection with the Debtor’s bankruptcy case;
                    and

           b.       $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                    which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the amount
                    of $29,404.76, and Maples in the amount of $17,023.81 as additional
                    reimbursement for the attorney’s fees and other legal expenses incurred by the
                    Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                    fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                    (the “Management Fees”), and (ii) on the date(s) Management Fees are required to
                    be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                    obligation shall be considered an irrevocable direction from the Debtor and the
                    Bankruptcy Court to the relevant CLO Trustee to pay, on each Payment Date, the
                    Payment to Issuers’ Counsel, allocated in the proportion set forth in such
                    agreement; provided, however, that (x) if the Management Fees are insufficient to
                    make any Payment in full on a Payment Date, such shortfall, in addition to any
                    other amounts due hereunder, shall be paid out of the Management Fees owed on
                    the following Payment Date, and (y) nothing herein shall limit either Debtor’s
                    liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                    Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

                    S.          Release of Issuer Claims. Effective as of the Confirmation Date, and to

  the maximum extent permitted by law, each Issuer on behalf of itself and each of its current and

  former advisors, trustees, directors, officers, managers, members, partners, employees,

  beneficiaries, shareholders, agents, participants, subsidiaries, parents, successors, designees, and

  12
    The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
  Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
  LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
  Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
  Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.


                                                       70
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 71 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 110 of 783 PageID 6531




  assigns hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,

  remises, and exonerates, and covenants never to sue, (i) the Debtor and (ii) the Professionals

  retained by the Debtor and the Committee in the Chapter 11 Case, the Independent Directors, the

  CEO/CRO, and with respect to the Persons listed in this subsection (ii), such Person’s Related

  Persons (collectively, the “Debtor Released Parties”), for and from any and all claims, debts,

  liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs and expenses

  (including, without limitation, attorney’s fees and related costs), damages, injuries, suits, actions,

  and causes of action of whatever kind or nature, whether known or unknown, suspected or

  unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in

  equity, statutory or otherwise, including, without limitation, any claims, defenses, and affirmative

  defenses, whether known or unknown, including, without limitation, those which were or could

  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively, the

  “Issuer Released Claims”).

                    T.          Release of Debtor Claims against Issuer Released Parties. Upon entry

  of this Order, and to the maximum extent permitted by law, the Debtor hereby forever, finally,

  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and

  covenants never to sue [(i) each Issuer and (ii) Wendy Ebanks, (iii) Yun Zheng, (iv) Laura

  Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren (viii) Scott Dakers, (ix) Samit

  Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean, (xiii) Betsy Mortel, (xiv) David

  Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii) Otelia Scott, (xviii) Martin Couch,

  (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii) Christina McLean, (xxiii) Karen Ellerbe,



                                                      71
  DOCS_SF:104487.21 36027/002
                                                                                           Appx.000104
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 72 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 111 of 783 PageID 6532




  (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef, (xxvii) Evan Charles Burtton (collectively,

  the “Issuer Released Parties”),] for and from any and all claims, debts, liabilities, demands,

  obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without

  limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of action

  of whatever kind or nature, whether known or unknown, suspected or unsuspected, matured or

  unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity, statutory or

  otherwise, including, without limitation, any claims, defenses, and affirmative defenses, whether

  known or unknown, which were or could have been asserted in, in connection with, or with respect

  to the Bankruptcy Case (collectively, the “Debtor Released Claims”); provided, however, that

  notwithstanding anything herein to the contrary, the release contained herein will apply to the

  Issuer Released Parties set forth in subsection (ii) above only with respect to Debtor Released

  Claims arising from or relating to the Issuer Executory Contracts. Notwithstanding anything in

  this Order to the contrary, the releases set forth in paragraphs S and T hereof will not apply with

  respect to the duties, rights, or obligations of the Debtor or any Issuer hereunder.

                    U.          Authorization to Consummate. The Debtor is authorized to consummate

  the Plan after the entry of this Confirmation Order subject to satisfaction or waiver of the

  conditions precedent to the Effective Date of the Plan set forth in Article VIII.A of the Plan. The

  Plan shall not become effective unless and until the conditions set forth in Article VIII.A of the

  Plan have been satisfied, or otherwise waived pursuant to Article VIII.B of the Plan.

                    V.          Professional Compensation. All requests for payment of Professional Fee

  Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date



                                                       72
  DOCS_SF:104487.21 36027/002
                                                                                            Appx.000105
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 73 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 112 of 783 PageID 6533




  must be filed no later than sixty (60) days after the Effective Date. The Bankruptcy Court shall

  determine the Allowed amounts of such Professional Fee Claims after notice and an opportunity

  for hearing in accordance with the procedures established by the Bankruptcy Code and the

  Bankruptcy Court. The Debtor shall fund the Professional Fee Reserve as provided under the Plan.

  The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amounts the Bankruptcy

  Court allows. The Debtor is authorized to pay the pre-Effective Date fees and expenses of all

  ordinary course professionals in the ordinary course of business without the need for further

  Bankruptcy Court order or approval. From and after the Effective Date, any requirement that

  Professionals comply with sections 327 through 331 and 1103 (if applicable) of the Bankruptcy

  Code in seeking retention or compensation for services rendered after such date shall terminate,

  and the Reorganized Debtor or Claimant Trustee, as applicable, may employ and pay any

  Professional or Entity employed in the ordinary course of the Debtor’s business without any further

  notice to or action, order, or approval of the Bankruptcy Court.

                    W.          Release, Exculpation, Discharge, and Injunction Provisions.        The

  following release, exculpation, discharge, and injunction provisions set forth in the Plan are

  approved and authorized in their entirety, and such provisions are effective and binding on

  all parties and Entities to the extent provided therein.

                    X.          Discharge of Claims and Termination of Interests. To the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code,

  except as otherwise expressly provided by the Plan or this Confirmation Order, all consideration

  distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,



                                                       73
  DOCS_SF:104487.21 36027/002
                                                                                           Appx.000106
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 74 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 113 of 783 PageID 6534




  discharge, and release of, all Claims and Equity Interests of any kind or nature whatsoever against

  the Debtor or any of its Assets or properties, and regardless of whether any property will have been

  distributed or retained pursuant to the Plan on account of such Claims or Equity Interests. Except

  as otherwise expressly provided by the Plan or this Confirmation Order, upon the Effective Date,

  the Debtor and its Estate will be deemed discharged and released under and to the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code

  from any and all Claims and Equity Interests of any kind or nature whatsoever, including, but not

  limited to, demands and liabilities that arose before the Confirmation Date, and all debts of the

  kind specified in section 502(g), 502(h), or 502(i) of the Bankruptcy Code.

                    Y.          Exculpation. Subject in all respects to Article XII.D of the Plan, to the

  maximum extent permitted by applicable law, no Exculpated Party will have or incur, and each

  Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment, damage,

  demand, debt, right, Cause of Action, remedy, loss, and liability for conduct occurring on or after

  the Petition Date in connection with or arising out of (i) the filing and administration of the Chapter

  11 Case; (ii) the negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation

  of votes for, or confirmation of, the Plan; (iii) the funding or consummation of the Plan (including

  the Plan Supplement) or any related agreements, instruments, or other documents, the solicitation

  of votes on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be

  issued pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan

  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any

  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);



                                                        74
  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000107
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 75 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 114 of 783 PageID 6535




  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated Party

  arising out of or related to acts or omissions that constitute bad faith, fraud, gross negligence,

  criminal misconduct, or willful misconduct or (b) Strand or any Employee other than with respect

  to actions taken by such Entities from the date of appointment of the Independent Directors through

  the Effective Date. The Plan’s exculpation shall be in addition to, and not in limitation of, all other

  releases, indemnities, exculpations, any other applicable law or rules, or any other provisions of

  the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated Parties from liability.

                    Z.          Releases by the Debtor. On and after the Effective Date, each Released

  Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

  released and discharged by the Debtor and the Estate, in each case on behalf of themselves and

  their respective successors, assigns, and representatives, including, but not limited to, the Claimant

  Trust and the Litigation Sub-Trust from any and all Causes of Action, including any derivative

  claims, asserted on behalf of the Debtor, whether known or unknown, foreseen or unforeseen,

  matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise, that

  the Debtor or the Estate would have been legally entitled to assert in their own right (whether

  individually or collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor

  or other Person. Notwithstanding anything contained herein to the contrary, the foregoing release

  does not release: (i) any obligations of any party under the Plan or any document, instrument, or

  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under



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  DOCS_SF:104487.21 36027/002
                                                                                            Appx.000108
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 76 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 115 of 783 PageID 6536




  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual

  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction.

                    AA.         Injunction.   Upon entry of this Confirmation Order, all Enjoined

  Parties are and shall be permanently enjoined, on and after the Effective Date, from taking

  any actions to interfere with the implementation or consummation of the Plan. Except as

  expressly provided in the Plan, this Confirmation Order, or a separate order of the

  Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and after

  the Effective Date, with respect to any Claims and Equity Interests, from directly or

  indirectly (i) commencing, conducting, or continuing in any manner, any suit, action, or

  other proceeding of any kind (including any proceeding in a judicial, arbitral, administrative

  or other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,

  levying, attaching (including any prejudgment attachment), collecting, or otherwise

  recovering, enforcing, or attempting to recover or enforce, by any manner or means, any

  judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)

  creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or

  encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any

  right of setoff, directly or indirectly, against any obligation due to the Debtor or against

  property or interests in property of the Debtor, except to the limited extent permitted under

  Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,



                                                      76
  DOCS_SF:104487.21 36027/002
                                                                                       Appx.000109
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 77 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 116 of 783 PageID 6537




  in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

  The injunctions set forth in the Plan and this Confirmation Order shall extend to, and apply

  to any act of the type set forth in any of clauses (i)-(v) of the immediately preceding

  paragraph against any successors of the Debtor, including, but not limited to, the

  Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective

  property and interests in property. Subject in all respects to Article XII.D of the Plan, no

  Enjoined Party may commence or pursue a claim or cause of action of any kind against any

  Protected Party that arose or arises from or is related to the Chapter 11 Case, the negotiation

  of the Plan, the administration of the Plan or property to be distributed under the Plan, the

  wind down of the business of the Debtor or Reorganized Debtor, the administration of the

  Claimant Trust or the Litigation Sub-Trust, or the transactions in furtherance of the

  foregoing without the Bankruptcy Court (i) first determining, after notice and a hearing,

  that such claim or cause of action represents a colorable claim of any kind, including, but

  not limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross

  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party to

  bring such claim or cause of action against any such Protected Party; provided, however, the

  foregoing will not apply to a claim or cause of action against Strand or against any Employee

  other than with respect to actions taken, respectively, by Strand or by such Employee from

  the date of appointment of the Independent Directors through the Effective Date. The

  Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a claim or

  cause of action is colorable and, only to the extent legally permissible and as provided for in



                                                77
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 78 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 117 of 783 PageID 6538




  Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable claim or

  cause of action.

                    BB.         Duration of Injunction and Stays. Unless otherwise provided in the

  Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, (i) all

  injunctions and stays entered during the Chapter 11 Case and in existence on the

  Confirmation Date, shall remain in full force and effect in accordance with their terms; and

  (ii) the automatic stay arising under section 362 of the Bankruptcy Code shall remain in full

  force and effect subject to Section 362(c) of the Bankruptcy Code, and to the extent necessary

  if the Debtor does not receive a discharge, the Bankruptcy Court will enter an equivalent

  order under Section 105.

                    CC.         Continuance of January 9 Order and July 16 Order. Unless otherwise

  provided in the Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, each

  of the Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

  Bankruptcy Court on January 9, 2020 [Docket No. 339] and Order Approving the Debtor’s Motion

  Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

  as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

  Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 shall remain in full force and

  effect from the Confirmation Date and following the Effective Date.

                    DD.         No Governmental Releases. Nothing in this Confirmation Order or the

  Plan shall effect a release of any claim by the United States Government or any of its agencies or



                                                      78
  DOCS_SF:104487.21 36027/002
                                                                                         Appx.000111
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 79 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 118 of 783 PageID 6539




  any state and local authority whatsoever, including without limitation any claim arising under the

  Internal Revenue Code, the environmental laws or any criminal laws of the United States or any

  state and local authority against any party or person, nor shall anything in this Confirmation Order

  or the Plan enjoin the United States or any state or local authority from bringing any claim, suit,

  action, or other proceedings against any party or person for any liability of such persons whatever,

  including without limitation any claim, suit, or action arising under the Internal Revenue Code,

  the environmental laws or any criminal laws of the United States or any state and local authority

  against such persons, nor shall anything in this Confirmation Order or the Plan exculpate any party

  or person from any liability to the United States Government or any of its agencies or any state

  and local authority whatsoever, including any liabilities arising under the Internal Revenue Code,

  the environmental laws, or any criminal laws of the United States or any state and local authority

  against any party or person.

                    EE.         Exemption from Transfer Taxes. Pursuant to section 1146(a) of the

  Bankruptcy Code, any transfers (whether from the Debtor to the Reorganized Debtor or to any

  other Person) of property under the Plan or pursuant to: (a) the issuance, distribution, transfer, or

  exchange of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor;

  (b) the Restructuring transactions pursuant to the Plan; (c) the creation, modification,

  consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

  security interest, or the securing of additional indebtedness by such or other means; (d) the making,

  assignment, or recording of any lease or sublease; or (e) the making, delivery, or recording of any

  deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,



                                                     79
  DOCS_SF:104487.21 36027/002
                                                                                          Appx.000112
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 80 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 119 of 783 PageID 6540




  including any deeds, bills of sale, assignments, or other instrument of transfer executed in

  connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

  shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

  similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial

  Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental

  assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy Code, and upon

  entry of this Confirmation Order, the appropriate state or local governmental officials or agents

  shall forego the collection of any such tax or governmental assessment and accept for filing and

  recordation of any of the foregoing instruments or other documents without the payment of any

  such tax, recordation fee, or governmental assessment.

                    FF.         Cancellation of Notes, Certificates and Instruments. Except for the

  purpose of evidencing a right to a distribution under the Plan and except as otherwise set forth in

  the Plan or as otherwise provided in this Confirmation Order, on the Effective Date, all agreements,

  instruments, Securities and other documents evidencing any prepetition Claim or Equity Interest

  and any rights of any Holder in respect thereof shall be deemed cancelled, discharged, and of no

  force or effect. The holders of or parties to such cancelled instruments, Securities, and other

  documentation will have no rights arising from or related to such instruments, Securities, or other

  documentation or the cancellation thereof, except the rights provided for pursuant to the Plan, and

  the obligations of the Debtor thereunder or in any way related thereto will be fully released,

  terminated, extinguished and discharged, in each case without further notice to or order of the




                                                      80
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 81 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 120 of 783 PageID 6541




  Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement

  of further action, vote or other approval or authorization by any Person.

                    GG.         Documents, Mortgages, and Instruments.            Each federal, state,

  commonwealth, local, foreign, or other governmental agency is authorized to accept any and all

  documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or

  consummate the Plan, including the Restructuring transactions contemplated under the Plan, and

  this Confirmation Order.

                    HH.         Post-Confirmation Modifications.     Subject section 1127(b) of the

  Bankruptcy Code and the Plan, the Debtor and the Reorganized Debtor expressly reserve their

  rights to revoke or withdraw, or to alter, amend, or modify materially the Plan, one or more times

  after Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

  to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

  inconsistencies in the Plan or this Confirmation Order, in such manner as may be necessary to

  carry out the purposes and intent of the Plan. Any such modification or supplement shall be

  considered a modification of the Plan and shall be made in accordance with Article XII.B of the

  Plan.

                    II.         Applicable Nonbankruptcy Law. The provisions of this Confirmation

  Order, the Plan and related documents, or any amendments or modifications thereto, shall apply

  and be enforceable notwithstanding any otherwise applicable nonbankruptcy law.

                    JJ.         Governmental Approvals Not Required. This Confirmation Order shall

  constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,



                                                      81
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 82 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 121 of 783 PageID 6542




  federal, or other governmental authority with respect to the dissemination, implementation, or

  consummation of the Plan and the Disclosure Statement, any certifications, documents,

  instruments or agreements, and any amendments or modifications thereto, and any other acts

  referred to in, or contemplated by, the Plan and the Disclosure Statement.

                    KK.         Notice of Effective Date. As soon as reasonably practicable after the

  Effective Date, the Reorganized Debtor shall file notice of the Effective Date and shall serve a

  copy of the same on all Holders of Claims and Equity Interests, and all parties who have filed with

  the Bankruptcy Court requests to receive notices in accordance with Bankruptcy Rules 2002 and

  3020(c). Notwithstanding the above, no notice of Confirmation or Consummation or service of

  any kind shall be required to be mailed or made upon any Entity to whom the Debtor mailed notice

  of the Confirmation Hearing, but received such notice returned marked “undeliverable as

  addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

  unless the Debtor has been informed in writing by such Entity, or is otherwise aware, of that

  Entity’s new address. The above-referenced notices are adequate under the particular

  circumstances of this Chapter 11 Case and no other or further notice is necessary.

                    LL.         Substantial Consummation. On the Effective Date, the Plan shall be

  deemed to be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

                    MM. Waiver of Stay. For good cause shown, the stay of this Confirmation Order

  provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

  enforceable immediately upon its entry by the Bankruptcy Court.




                                                       82
  DOCS_SF:104487.21 36027/002
                                                                                          Appx.000115
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 83 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 122 of 783 PageID 6543




                    NN.         References to and Omissions of Plan Provisions. References to articles,

  sections, and provisions of the Plan are inserted for convenience of reference only and are not

  intended to be a part of or to affect the interpretation of the Plan. The failure to specifically include

  or to refer to any particular article, section, or provision of the Plan in this Confirmation Order

  shall not diminish or impair the effectiveness of such article, section, or provision, it being the

  intent of the Bankruptcy Court that the Plan be confirmed in its entirety, except as expressly

  modified herein, and incorporated herein by this reference.

                    OO.         Headings. Headings utilized herein are for convenience and reference only,

  and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                    PP.         Effect of Conflict. This Confirmation Order supersedes any Bankruptcy

  Court order issued prior to the Confirmation Date that may be inconsistent with this Confirmation

  Order.    If there is any inconsistency between the terms of the Plan and the terms of this

  Confirmation Order, the terms of this Confirmation Order govern and control. If there is any

  inconsistency between the terms of this Confirmation Order and the terms of a final, executed Plan

  Supplement Document, the terms of the final, executed Plan Supplement Document will govern

  and control.

                    QQ.         Resolution of Objection of Texas Taxing Authorities. Dallas County,

  Kaufman County, City of Allen, Allen ISD and City of Richardson (collectively, the “Tax

  Authorities”) assert that they are the holders of prepetition and administrative expense claims for

  2019, 2020 and 2021 ad valorem real and business personal property taxes. The ad valorem

  property taxes for tax year 2020 shall be paid in accordance with and to the extent required under



                                                        83
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 84 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 123 of 783 PageID 6544




  applicable nonbankruptcy law. In the event the 2020 taxes are paid after February 1, 2021, the

  Tax Authorities may assert any rights and amounts they claim are owed with respect to penalties

  and interest that have accrued through the date of payment and the Debtor and Reorganized Debtor

  reserve any all rights and defenses in connection therewith.

           a.       The Debtor/Reorganized Debtor shall pay all amounts owed to the Tax Authorities
                    for tax year 2021 in accordance with and to the extent required under applicable
                    nonbankruptcy law. The Tax Authorities shall not be required to file and serve an
                    administrative expense claim and request for payment as a condition of allowance
                    of their administrative expense claims pursuant to 11 U.S.C. Section 503(b)(1)(D).
                    With regard to year 2019 ad valorem property taxes, the Tax Authorities will
                    receive payment of their prepetition claims within 30 days of the Effective Date of
                    the Plan. The payment will include interest from the Petition Date through the
                    Effective Date and from the Effective Date through payment in full at the state
                    statutory rate pursuant to 11 U.S.C. Sections 506(b), 511, and 1129, if applicable,
                    subject to all of the Debtor’s and Reorganized Debtor’s rights and defenses in
                    connection therewith. Notwithstanding any other provision in the Plan, the Tax
                    Authorities shall (i) retain the liens that secure all prepetition and postpetition
                    amounts ultimately owed to them, if any, as well as (ii) the state law priority of
                    those liens until the claims are paid in full.

           b.       The Tax Authorities’ prepetition claims and their administrative expense claims
                    shall not be discharged until such time as the amounts owed are paid in full. In the
                    event of a default asserted by the Taxing Authorities, the Tax Authorities shall
                    provide notice Debtor or Reorganized Debtor, as applicable, and may demand cure
                    of any such asserted default. Subject to all of its rights and defenses, the Debtor or
                    Reorganized Debtor shall have fifteen (15) days from the date of the notice to cure
                    the default. If the alleged default is not cured, the Tax Authorities may exercise
                    any of their respective rights under applicable law and pursue collection of all
                    amounts owed pursuant to state law outside of the Bankruptcy Court, subject in all
                    respects to the Debtor’s and Reorganized Debtor’s applicable rights and defenses.
                    The Debtor/Reorganized Debtor shall be entitled to any notices of default required
                    under applicable nonbankruptcy law and each of the Taxing Authorities, the Debtor
                    and the Reorganized Debtor reserve any and all of their respective rights and
                    defenses in connection therewith. The Debtor’s and Reorganized Debtor’s rights
                    and defenses under Texas Law and the Bankruptcy Code with respect to this
                    provision of the Confirmation Order, including their right to dispute or object to the
                    Tax Authorities’ Claims and liens, are fully preserved.



                                                     84
  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000117
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 85 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 124 of 783 PageID 6545




                    RR.         Resolution of Objections of Scott Ellington and Isaac Leventon.

  Pursuant to Bankruptcy Rule 9019(a), the Senior Employees’ Settlement is approved in all

  respects. The Debtor may, only with the consent of the Committee, elect Option B for a Senior

  Employee Claimant by written notice to such Senior Employee Claimant on or before the

  occurrence of the Effective Date. If the Debtor does not elect Option B, then Option A will govern

  the treatment of the Liquidated Bonus Claims.

           a.       Notwithstanding any language in the Plan, the Disclosure Statement, or this
                    Confirmation Order to the contrary, if Option A applies to the Liquidated Bonus
                    Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims of such
                    Senior Employee Claimant will receive the treatment described in paragraph 82(e)
                    hereof, and if the Debtor timely elects Option B with respect to the Liquidated
                    Bonus Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims
                    of such Senior Employee will receive the treatment described in paragraph 82(f)
                    hereof.

           b.       The Senior Employees’ Settlement is hereby approved, without prejudice to the
                    respective rights of Mr. Ellington and Mr. Leventon to assert all their remaining
                    Claims against the Debtor’s estate, including, but not limited to, their Class 6 PTO
                    Claims, their remaining Class 8 General Unsecured Claims, any indemnification
                    claims, and any Administrative Expense Claims that they may assert and is without
                    prejudice to the rights of any party in interest to object to any such Claims.

           c.       Pursuant to Bankruptcy Rule 3018(a), Mr. Ellington and Mr. Leventon were
                    permitted to change their votes on the Plan. Accordingly, Mr. Ellington’s votes on
                    his Ballots in Class 7 and Class 8 of the Plan were changed from a rejection of the
                    Plan to acceptance of the Plan, and Mr. Leventon’s votes on his Ballots in Class 7
                    and Class 8 of the Plan were, changed from rejections of the Plan to acceptances of
                    the Plan.

           d.       The Senior Employees’ Objection is deemed withdrawn.

                    SS.         No Release of Claims Against Senior Employee Claimants. For the

  avoidance of doubt, the Senior Employees’ Settlement, as approved herein, shall not, and shall not

  be deemed to, release any Claims or Causes of Action held by the Debtor against either Senior


                                                     85
  DOCS_SF:104487.21 36027/002
                                                                                            Appx.000118
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 86 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 125 of 783 PageID 6546




  Employee Claimant nor shall either Senior Employee Claimant be, or be deemed to be, a “Released

  Party” under the Plan.

                    TT.         Resolution of Objection of Internal Revenue Service. Notwithstanding

  any other provision or term of the Plan or Confirmation Order, the following Default Provision

  shall control as to the United States of America, Internal Revenue Service (“IRS”) and all of its

  claims, including any administrative claim (the “IRS Claim”):

           (a) Notwithstanding any other provision in the Plan, if the Debtor, the Reorganized Debtor,
           or any successor in interest fails to pay when due any payment required to be made on
           federal taxes, the IRS Claim, or other payment required to be made to the IRS under the
           terms and provisions of this Plan, the Confirmation Order, or the Internal Revenue Code
           (26 U.S.C.), or fails to timely file any required federal tax return, or if any other event of
           default as set forth in the Plan occurs, the IRS shall be entitled to give the Debtor, the
           Reorganized Debtor and/or any successor in interest and their counsel of record, by United
           States Certified Mail, written notice of the failure and/or default with demand that it be
           cured, and if the failure and/or default is not cured within 14 days of the date of said notice
           and demand, then the following shall apply to the IRS:

                        (1) The administrative collection powers and the rights of the IRS shall
                    be reinstated as they existed prior to the filing of the bankruptcy petition,
                    including, but not limited to, the assessment of taxes, the filing of a notice
                    of Federal tax lien and the powers of levy, seizure, and collection as
                    provided under the Internal Revenue Code;

                        (2) The automatic stay of 11 U.S.C. § 362 and any injunction of the
                    Plan or in the Confirmation Order shall, with regard to the IRS only, lift or
                    terminate without further notice or hearing by the Bankruptcy Court, and
                    the entire prepetition liability owed to the IRS, together with any unpaid
                    postpetition tax liabilities, may become due and payable immediately; and

                        (3) The IRS shall have the right to proceed to collect from the Debtor,
                    the Reorganized Debtor or any successor in interest any of the prepetition
                    tax liabilities and related penalties and interest through administrative or
                    judicial collection procedures available under the United States Code as if
                    no bankruptcy petition had been filed and as if no plan had been confirmed.

           (b) If the IRS declares the Debtor, the Reorganized Debtor, or any successor-in-interest to
           be in default of the Debtor’s, the Reorganized Debtor’s and/ or any successor- in-interest’s
           obligations under the Plan, then entire prepetition liability of an IRS’ Allowed Claim,
           together with any unpaid postpetition tax liabilities shall become due and payable

                                                      86
  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000119
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 87 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 126 of 783 PageID 6547



           immediately upon written demand to the Debtor, Reorganized Debtor and/or any
           successor-in-interest. Failure of the IRS to declare a failure and/or default does not
           constitute a waiver by the United States or its agency the IRS of the right to declare that
           the Debtor, Reorganized Debtor, and/or any successor in interest is in default.

           (c) The IRS shall only be required to send two notices of failure and/or default, and upon
           the third event of a failure and/or default, the IRS shall be entitled to proceed as set out in
           paragraphs (1), (2), and/or (3) herein above without further notice to the Debtor, the
           Reorganized Debtor, or any successor in interest, or its counsel. The collection statute
           expiration date for all unpaid federal tax liabilities shall be extended pursuant to non-
           bankruptcy law.

           (d) The Internal Revenue Service shall not be bound by any release provisions in the Plan
           that would release any liability of the responsible persons of the Debtor, the Reorganized
           Debtor, and/or any successor in interest to the IRS. The Internal Revenue Service may
           take such actions as it deems necessary to assess any liability that may be due and owing
           by the responsible persons of the Debtor, the Reorganized Debtor and/or any successor in
           interest to the Internal Revenue Service.

           (e) Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
           or relinquishment of any rights, claims, causes of action, rights of setoff or recoupment,
           rights to appeal tax assessments, or other legal or equitable defenses that the Debtor or
           Reorganized Debtor have under non-bankruptcy law in connection with any claim, liability
           or cause of action of the United States and its agency the Internal Revenue Service.

           (f) The term “any payment required to be made on federal taxes,” as used herein above, is
           defined as: any payment or deposit required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full. The term “any required tax return,” as used herein above, is
           defined as: any tax return or report required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full.

                    UU.         IRS Proof of Claim. Notwithstanding anything in the Plan or in this

  Confirmation Order, until all required tax returns are filed with and processed by the IRS, the IRS’s

  proof of claim will not be deemed fixed for purposes of Section 502 of the Bankruptcy Code and

  may be amended in order to reflect the IRS’ assessment of the Debtor’s unpaid priority and general

  unsecured taxes, penalties and interest.




                                                      87
  DOCS_SF:104487.21 36027/002
                                                                                             Appx.000120
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 88 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 127 of 783 PageID 6548




                    VV.         CLO Holdco, Ltd. Settlement        Notwithstanding anything contained

  herein to the contrary, nothing in this Order is or is intended to supersede the rights and obligations

  of either the Debtor or CLO Holdco contained in that certain Settlement Agreement between CLO

  Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021 [Docket No. 1838-

  1] (the “CLOH Settlement Agreement”). In the event of any conflict between the terms of this

  Order and the terms of the CLOH Settlement Agreement, the terms of the CLOH Settlement

  Agreement will govern.

                    WW. Retention of Jurisdiction. The Bankruptcy Court may properly, and upon

  the Effective Date shall, to the maximum extent permitted under applicable law, retain jurisdiction

  over all matters arising out of, and related to, this Chapter 11 Case, including the matters set forth

  in Article XI of the Plan and section 1142 of the Bankruptcy Code.

                    XX.         Payment of Statutory Fees; Filing of Quarterly Reports.         All fees

  payable pursuant to 28 U.S.C. § 1930 shall be paid on or before the Effective Date. The

  Reorganized Debtor, the Claimant Trust, and the Litigation Sub-Trust shall be jointly and severally

  liable for payment of quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C.

  § 1930 through the entry of the Final Decree for the Debtor or the dismissal or conversion of the

  Chapter 11 Case. Notwithstanding anything to the contrary in the Plan, the U.S. Trustee shall not

  be required to file any proofs of claim with respect to quarterly fees payable pursuant to 28 U.S.C.

  § 1930.

                    YY.         Dissolution of the Committee. On the Effective Date, the Committee will

  dissolve, and the members of the Committee and the Committee’s Professionals will cease to have



                                                       88
  DOCS_SF:104487.21 36027/002
                                                                                            Appx.000121
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 89 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 128 of 783 PageID 6549




  any role arising from or relating to the Chapter 11 Case, except in connection with final fee

  applications of Professionals for services rendered prior to the Effective Date (including the right

  to object thereto). Notwithstanding the foregoing, any Committee member or Professional may

  serve following the Effective Date with respect to the Claimant Trust Oversight Board or Litigation

  Sub-Trust. The Professionals retained by the Committee and the members thereof will not be

  entitled to assert any fee claims for any services rendered to the Committee or expenses incurred

  in the service of the Committee after the Effective Date, except for reasonable fees for services

  rendered, and actual and necessary costs incurred, in connection with any applications for

  allowance of Professional Fees pending on the Effective Date or filed and served after the Effective

  Date pursuant to the Plan. Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or

  Committee’s Professionals to represent either of the Trustees or to be compensated or reimbursed

  per the Plan, the Claimant Trust Agreement, and/or Litigation Sub-Trust in connection with such

  representation.

                    ZZ.         Miscellaneous.   After the Effective Date, the Debtor or Reorganized

  Debtor, as applicable, shall have no obligation to file with the Bankruptcy Court or serve on any

  parties reports that the Debtor or Reorganized Debtor, as applicable, were obligated to file under

  the Bankruptcy Code or a court order, including monthly operating reports (even for those periods

  for which a monthly operating report was not filed before the Effective Date), ordinary course

  professional reports, reports to any parties otherwise required under the “first” and “second” day

  orders entered in this Chapter 11 Case (including any cash collateral financing orders entered in

  this Chapter 11 Case) and monthly or quarterly reports for Professionals; provided, however, that



                                                       89
  DOCS_SF:104487.21 36027/002
                                                                                          Appx.000122
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 90 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 129 of 783 PageID 6550




  the Debtor or Reorganized Debtor, as applicable, will comply with the U.S. Trustee’s post

  confirmation reporting requirements.

                                   ###END OF ORDER###




                                             90
  DOCS_SF:104487.21 36027/002
                                                                                Appx.000123
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 91 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 130 of 783 PageID 6551



                                           Exhibit A

                                Fifth Amended Plan (as Modified)




  DOCS_SF:104487.21 36027/002
                                                                        Appx.000124
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 92 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 131 of 783 PageID 6552



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                     )
                                       Debtor.                       )
                                                                     )

               FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                      CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

  PACHULSKI STANG ZIEHL & JONES LLP                              HAYWARD & ASSOCIATES PLLC
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  Ira D. Kharasch (CA Bar No. 109084)                            Zachery Z. Annable (TX Bar No. 24053075)
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  10100 Santa Monica Boulevard, 13th Floor                       Dallas, TX 75231
  Los Angeles, CA 90067                                          Telephone: (972) 755-7100
  Telephone: (310) 277-6910                                      Facsimile: (972) 755-7110
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  Email: jpomerantz@pszjlaw.com                                          ZAnnable@HaywardFirm.com:
          ikharasch@pszjlaw.com
          gdemo@pszjlaw.com

                               Counsel for the Debtor and Debtor-in-Possession




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 93 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 132 of 783 PageID 6553



  ARTICLE I. RULES OF INTERPRETATION, COMPUTATION OF TIME,
                GOVERNING LAW AND DEFINED TERMS .............................................. 1

          A.       Rules of Interpretation, Computation of Time and Governing Law ..................... 1

          B.       Defined Terms ...................................................................................................... 2

  ARTICLE II. ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS................. 16

          A.       Administrative Expense Claims.......................................................................... 16

          B.       Professional Fee Claims ...................................................................................... 17

          C.       Priority Tax Claims ............................................................................................. 17

  ARTICLE III. CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS
                 AND EQUITY INTERESTS ......................................................................... 18

          A.       Summary ............................................................................................................. 18

          B.       Summary of Classification and Treatment of Classified Claims and
                   Equity Interests ................................................................................................... 18

          C.       Elimination of Vacant Classes ............................................................................ 19

          D.       Impaired/Voting Classes ..................................................................................... 19

          E.       Unimpaired/Non-Voting Classes ........................................................................ 19

          F.       Impaired/Non-Voting Classes ............................................................................. 19

          G.       Cramdown ........................................................................................................... 19

          H.       Classification and Treatment of Claims and Equity Interests ............................. 19

          I.       Special Provision Governing Unimpaired Claims .............................................. 24

          J.       Subordinated Claims ........................................................................................... 24

  ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ..................................... 24

          A.       Summary ............................................................................................................. 24

          B.       The Claimant Trust ............................................................................................. 25

                   1.         Creation and Governance of the Claimant Trust and Litigation
                              Sub-Trust................................................................................................. 25

                   2.         Claimant Trust Oversight Committee ..................................................... 26



                                                                -i-                                                         Appx.000126
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 94 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 133 of 783 PageID 6554


                                                                                                                                   Page

              3.        Purpose of the Claimant Trust. ............................................................... 27

              4.        Purpose of the Litigation Sub-Trust. ....................................................... 27

              5.        Claimant Trust Agreement and Litigation Sub-Trust Agreement. ......... 27

              6.        Compensation and Duties of Trustees. ................................................... 29

              7.        Cooperation of Debtor and Reorganized Debtor. ................................... 29

              8.        United States Federal Income Tax Treatment of the Claimant
                        Trust. ....................................................................................................... 29

              9.        Tax Reporting. ........................................................................................ 30

              10.       Claimant Trust Assets. ............................................................................ 30

              11.       Claimant Trust Expenses. ....................................................................... 31

              12.       Trust Distributions to Claimant Trust Beneficiaries. .............................. 31

              13.       Cash Investments. ................................................................................... 31

              14.       Dissolution of the Claimant Trust and Litigation Sub-Trust. ................. 31

        C.    The Reorganized Debtor ..................................................................................... 32

              1.        Corporate Existence ................................................................................ 32

              2.        Cancellation of Equity Interests and Release.......................................... 32

              3.        Issuance of New Partnership Interests .................................................... 32

              4.        Management of the Reorganized Debtor ................................................ 33

              5.        Vesting of Assets in the Reorganized Debtor ......................................... 33

              6.        Purpose of the Reorganized Debtor ........................................................ 33

              7.        Distribution of Proceeds from the Reorganized Debtor Assets;
                        Transfer of Reorganized Debtor Assets .................................................. 33

        D.    Company Action ................................................................................................. 34

        E.    Release of Liens, Claims and Equity Interests.................................................... 35

        F.    Cancellation of Notes, Certificates and Instruments........................................... 35



                                                           - ii -                                                        Appx.000127
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 95 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 134 of 783 PageID 6555


                                                                                                                                            Page

            G.        Cancellation of Existing Instruments Governing Security Interests ................... 35

            H.        Control Provisions .............................................................................................. 35

            I.        Treatment of Vacant Classes .............................................................................. 36

            J.        Plan Documents .................................................................................................. 36

            K.        Highland Capital Management, L.P. Retirement Plan and Trust ....................... 36

  ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES ......................................................................................................... 37

            A.        Assumption, Assignment, or Rejection of Executory Contracts and
                      Unexpired Leases ................................................................................................ 37

            B.        Claims Based on Rejection of Executory Contracts or Unexpired
                      Leases .................................................................................................................. 38

            C.        Cure of Defaults for Assumed or Assigned Executory Contracts and
                      Unexpired Leases ................................................................................................ 38

  ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS ............................................. 39

            A.        Dates of Distributions ......................................................................................... 39

            B.        Distribution Agent .............................................................................................. 39

            C.        Cash Distributions............................................................................................... 40

            D.        Disputed Claims Reserve .................................................................................... 40

            E.        Distributions from the Disputed Claims Reserve ............................................... 40

            F.        Rounding of Payments ........................................................................................ 40

            G.        De Minimis Distribution ..................................................................................... 41

            H.        Distributions on Account of Allowed Claims ..................................................... 41

            I.        General Distribution Procedures ......................................................................... 41

            J.        Address for Delivery of Distributions................................................................. 41

            K.        Undeliverable Distributions and Unclaimed Property ........................................ 41

            L.        Withholding Taxes .............................................................................................. 42



                                                                    - iii -                                                       Appx.000128
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 96 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 135 of 783 PageID 6556


                                                                                                                                        Page

          M.      Setoffs ................................................................................................................. 42

          N.      Surrender of Cancelled Instruments or Securities .............................................. 42

          O.      Lost, Stolen, Mutilated or Destroyed Securities ................................................. 43

  ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT,
                UNLIQUIDATED AND DISPUTED CLAIMS ............................................ 43

          A.      Filing of Proofs of Claim .................................................................................... 43

          B.      Disputed Claims .................................................................................................. 43

          C.      Procedures Regarding Disputed Claims or Disputed Equity Interests ............... 43

          D.      Allowance of Claims and Equity Interests.......................................................... 44

                  1.         Allowance of Claims............................................................................... 44

                  2.         Estimation ............................................................................................... 44

                  3.         Disallowance of Claims .......................................................................... 44

  ARTICLE VIII. EFFECTIVENESS OF THIS PLAN ............................................................... 45

          A.      Conditions Precedent to the Effective Date ........................................................ 45

          B.      Waiver of Conditions .......................................................................................... 46

          C.      Dissolution of the Committee ............................................................................. 46

  ARTICLE IX. EXCULPATION, INJUNCTION AND RELATED PROVISIONS ................. 47

          A.      General ................................................................................................................ 47

          B.      Discharge of Claims ............................................................................................ 47

          C.      Exculpation ......................................................................................................... 47

          D.      Releases by the Debtor........................................................................................ 48

          E.      Preservation of Rights of Action......................................................................... 49

                  1.         Maintenance of Causes of Action ........................................................... 49

                  2.         Preservation of All Causes of Action Not Expressly Settled or
                             Released .................................................................................................. 49



                                                                - iv -                                                        Appx.000129
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 97 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 136 of 783 PageID 6557


                                                                                                                                       Page

          F.       Injunction ............................................................................................................ 50

          G.       Duration of Injunctions and Stays....................................................................... 51

          H.       Continuance of January 9 Order ......................................................................... 51

  ARTICLE X. BINDING NATURE OF PLAN .......................................................................... 51

  ARTICLE XI. RETENTION OF JURISDICTION .................................................................... 52

  ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................. 54

          A.       Payment of Statutory Fees and Filing of Reports ............................................... 54

          B.       Modification of Plan ........................................................................................... 54

          C.       Revocation of Plan .............................................................................................. 54

          D.       Obligations Not Changed .................................................................................... 55

          E.       Entire Agreement ................................................................................................ 55

          F.       Closing of Chapter 11 Case ................................................................................ 55

          G.       Successors and Assigns....................................................................................... 55

          H.       Reservation of Rights .......................................................................................... 55

          I.       Further Assurances.............................................................................................. 56

          J.       Severability ......................................................................................................... 56

          K.       Service of Documents ......................................................................................... 56

          L.       Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of
                   the Bankruptcy Code........................................................................................... 57

          M.       Governing Law ................................................................................................... 58

          N.       Tax Reporting and Compliance .......................................................................... 58

          O.       Exhibits and Schedules ....................................................................................... 58

          P.       Controlling Document ........................................................................................ 58




                                                                 -v-                                                         Appx.000130
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 98 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 137 of 783 PageID 6558



                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
  above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
  “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
  Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
  meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
  meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
  of operations, historical financial information, projections and assets, and for a summary and
  analysis of this Plan and the treatment provided for herein. There also are other agreements and
  documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
  Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
  incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
  provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
  Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
  revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

  A.     Rules of Interpretation, Computation of Time and Governing Law

           For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
  (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
  document being in a particular form or on particular terms and conditions means that the referenced
  document, as previously amended, modified or supplemented, if applicable, shall be substantially
  in that form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
  otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
  Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
  (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
  Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
  or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 99 of 161
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 138 of 783 PageID 6559



  forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
  herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
  Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
  Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
  States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
  period of time prescribed or allowed herein.

  B.     Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2.      “Administrative Expense Claim” means any Claim for costs and expenses
  of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
  against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
  States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
  Professional Fee Claim.

                 3.      “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4.      “Administrative Expense Claims Objection Deadline” means, with respect
  to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                   5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
  either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
  “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
  through one or more intermediaries, controls, is controlled by, or is under common control with,
  such Person. For the purposes of this definition, the term “control” (including, without limitation,
  the terms “controlled by” and “under common control with”) means the possession, directly or
  indirectly, of the power to direct or cause the direction in any respect of the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                  6.     “Allowed” means, with respect to any Claim, except as otherwise provided
  in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 100 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 139 of 783 PageID 6560



 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 101 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 140 of 783 PageID 6561



                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




                                                    4                                       Appx.000134
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 102 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 141 of 783 PageID 6562



               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

              25.      “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



                                                   5                                       Appx.000135
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 103 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 142 of 783 PageID 6563



 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

               31.      “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




                                                 6                                      Appx.000136
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 104 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 143 of 783 PageID 6564



                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


                                                  7                                      Appx.000137
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 105 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 144 of 783 PageID 6565



 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                 56.     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




                                                  8                                      Appx.000138
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 106 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 145 of 783 PageID 6566



                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




                                                    9                                       Appx.000139
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 107 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 146 of 783 PageID 6567



                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                 77.    “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




                                                10                                     Appx.000140
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 108 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 147 of 783 PageID 6568



                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

              82.     “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,


                                                11                                    Appx.000141
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 109 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 148 of 783 PageID 6569



 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.



                                                 12                                      Appx.000142
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 110 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 149 of 783 PageID 6570



                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



                                                  13                                      Appx.000143
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 111 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 150 of 783 PageID 6571



 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


                                                  14                                     Appx.000144
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 112 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 151 of 783 PageID 6572



                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



                                                   15                                      Appx.000145
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 113 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 152 of 783 PageID 6573



                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on


                                                  16                                      Appx.000146
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 114 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 153 of 783 PageID 6574



 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.     Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 115 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 154 of 783 PageID 6575



 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




                                                  18                                      Appx.000148
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 116 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 155 of 783 PageID 6576



 C.     Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



                                                 19                                        Appx.000149
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 117 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 156 of 783 PageID 6577



                    full and final payment of such Allowed Class 1 Claim is made as provided
                    herein.

             •      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       2.    Class 2 – Frontier Secured Claim

             •      Classification: Class 2 consists of the Frontier Secured Claim.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Allowed
                    Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                    interest on the Frontier Claim through and including the Effective Date and
                    (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                    retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                    until full and final payment of such Allowed Class 2 Claim is made as
                    provided herein.

             •      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

             •      Classification: Class 3 consists of the Other Secured Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                    Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                    following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                    as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                    collateral securing its Allowed Other Secured Claim, plus postpetition
                    interest to the extent required under Bankruptcy Code Section 506(b), or
                    (iii) such other treatment rendering such Claim Unimpaired.

             •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.



                                              20                                      Appx.000150
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 118 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 157 of 783 PageID 6578



       4.    Class 4 – Priority Non-Tax Claims

             •      Classification: Class 4 consists of the Priority Non-Tax Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                    Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                    Allowed Class 4 Claim.

             •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

             •      Classification: Class 5 consists of the Retained Employee Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    Effective Date, each Allowed Class 5 Claim will be Reinstated.

             •      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

             •      Classification: Class 6 consists of the PTO Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                    Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                    Allowed Class 6 Claim.

             •      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




                                              21                                     Appx.000151
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 119 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 158 of 783 PageID 6579



                   Claims are not entitled to vote to accept or reject this Plan and will not be
                   solicited.

       7.    Class 7 – Convenience Claims

             •     Classification: Class 7 consists of the Convenience Claims.

             •     Allowance and Treatment: On or as soon as reasonably practicable after the
                   later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                   the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                   Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                   receive in full satisfaction, settlement, discharge and release of, and in
                   exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                   Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                   Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                   the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                   or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

             •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                   Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

             •     Classification: Class 8 consists of the General Unsecured Claims.

             •     Treatment: On or as soon as reasonably practicable after the Effective Date,
                   each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                   discharge and release of, and in exchange for, such Claim shall receive (i)
                   its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                   favorable treatment as to which such Holder and the Claimant Trustee shall
                   have agreed upon in writing, or (iii) the treatment provided to Allowed
                   Holders of Class 7 Convenience Claims if the Holder of such Class 8
                   General Unsecured Claim is eligible and makes a valid Convenience Class
                   Election.

                   Notwithstanding anything to the contrary herein, after the Effective Date
                   and subject to the other provisions of this Plan, the Debtor, the Reorganized
                   Debtor, and the Claimant Trust, as applicable, will have and will retain any
                   and all rights and defenses under bankruptcy or nonbankruptcy law that the
                   Debtor had with respect to any General Unsecured Claim, except with
                   respect to any General Unsecured Claim Allowed by Final Order of the
                   Bankruptcy Court.

             •     Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                   Claims are entitled to vote to accept or reject this Plan.




                                            22                                      Appx.000152
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 120 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 159 of 783 PageID 6580



       9.    Class 9 – Subordinated Claims

             •      Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On the Effective Date, Holders of Subordinated Claims shall
                    receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                    Interests or, (ii) such other less favorable treatment as to which such Holder
                    and the Claimant Trustee may agree upon in writing.


                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Subordinated Claim, except with respect to
                    any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

             •      Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                    other less favorable treatment as to which such Holder and the Claimant
                    Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Class B/C Limited Partnership Interest
                    Claim, except with respect to any Class B/C Limited Partnership Interest
                    Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.

       11.   Class 11 – Class A Limited Partnership Interests

             •      Classification:   Class 11 consists of the Class A Limited Partnership
                    Interests.



                                             23                                      Appx.000153
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 121 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 160 of 783 PageID 6581



                •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


                                                 24                                     Appx.000154
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 122 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 161 of 783 PageID 6582



 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust 2

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


 2
  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



                                                         25                                           Appx.000155
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 123 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 162 of 783 PageID 6583



 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.      Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




                                                  26                                      Appx.000156
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 124 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 163 of 783 PageID 6584



         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.      Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.      Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

        5.      Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:


                                                 27                                      Appx.000157
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 125 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 164 of 783 PageID 6585



            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




                                                 28                                     Appx.000158
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 126 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 165 of 783 PageID 6586



            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

        6.      Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.      Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

        8.      United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer


                                                  29                                      Appx.000159
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 127 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 166 of 783 PageID 6587



 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

        9.      Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.     Claimant Trust Assets.

         The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




                                                 30                                      Appx.000160
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 128 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 167 of 783 PageID 6588



        11.     Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.     Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

        13.     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

        14.     Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



                                                   31                                      Appx.000161
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 129 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 168 of 783 PageID 6589



 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.      Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.      Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

        3.      Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


                                                  32                                      Appx.000162
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 130 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 169 of 783 PageID 6590



        4.      Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

        5.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

        6.      Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,


                                                  33                                     Appx.000163
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 131 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 170 of 783 PageID 6591



 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.      Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




                                                    34                                       Appx.000164
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 132 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 171 of 783 PageID 6592



 E.     Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 133 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 172 of 783 PageID 6593



 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



                                                 36                                     Appx.000166
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 134 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 173 of 783 PageID 6594



                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



                                                  37                                      Appx.000167
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 135 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 174 of 783 PageID 6595



 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



                                                 38                                      Appx.000168
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 136 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 175 of 783 PageID 6596



                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




                                                   39                                      Appx.000169
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 137 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 176 of 783 PageID 6597



        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 138 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 177 of 783 PageID 6598



 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.



                                                  41                                      Appx.000171
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 139 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 178 of 783 PageID 6599



         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




                                                  42                                      Appx.000172
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 140 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 179 of 783 PageID 6600



 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



                                                  43                                      Appx.000173
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 141 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 180 of 783 PageID 6601



 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


                                                   44                                      Appx.000174
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 142 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 181 of 783 PageID 6602



 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                     ARTICLE VIII.
                                EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

        •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
            Reorganized Limited Partnership Agreement, and all schedules, documents,
            supplements and exhibits to this Plan shall have been Filed in form and substance
            reasonably acceptable to the Debtor and the Committee.

        •   The Confirmation Order shall have become a Final Order and shall be in form and
            substance reasonably acceptable to the Debtor and the Committee. The Confirmation
            Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
            the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
            necessary or appropriate to effectuate and consummate this Plan, including, without
            limitation, (a) entering into, implementing, effectuating, and consummating the
            contracts, instruments, releases, and other agreements or documents created in
            connection with or described in this Plan, (b) assuming the Executory Contracts and
            Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
            issuances as required under this Plan; and (d) entering into any transactions as set forth
            in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
            nonseverable and mutually dependent; (iii) the implementation of this Plan in
            accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
            Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
            or in connection with this Plan, including any deeds, bills of sale, or assignments
            executed in connection with any disposition or transfer of Assets contemplated under
            this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
            Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
            Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
            claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
            of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
            encumbrances that are specifically preserved under this Plan upon the Effective Date.

        •   All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



                                                 45                                      Appx.000175
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 143 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 182 of 783 PageID 6603



            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
            all Entities party thereto and shall be in full force and effect. All conditions precedent
            to such documents and agreements shall have been satisfied or waived pursuant to the
            terms of such documents or agreements.

        •   All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this Plan,
            including, without limitation, the Reorganized Limited Partnership Agreement, the
            Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

        •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
            that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
            Committee, the Claimant Trustee and the Litigation Trustee.

        •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



                                                  46                                     Appx.000176
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 144 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 183 of 783 PageID 6604



 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



                                                  47                                      Appx.000177
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 145 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 184 of 783 PageID 6605



 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

        •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




                                                 48                                      Appx.000178
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 146 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 185 of 783 PageID 6606



             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

        •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

        •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
             in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
             monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
             or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
             the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


                                                  49                                     Appx.000179
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 147 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 186 of 783 PageID 6607



 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.     Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



                                                 50                                      Appx.000180
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 148 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 187 of 783 PageID 6608



 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.     Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.     Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 149 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 188 of 783 PageID 6609



                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

        •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or priority
            of any Claim or Equity Interest;

        •   grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
            for any work performed after the Effective Date subject to the terms of this Plan and
            the Confirmation Order, and such payment shall not be subject to the approval of the
            Bankruptcy Court;

        •   resolve any matters related to the assumption, assignment or rejection of any Executory
            Contract or Unexpired Lease to which the Debtor is party or with respect to which the
            Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
            necessary, liquidate, any Claims arising therefrom, including, without limitation, any
            dispute regarding whether a contract or lease is or was executory or expired;

        •   make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

        •   resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
            of the foregoing;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
            Assets or Claimant Trust Assets, including any break-up compensation or expense
            reimbursement that may be requested by a purchaser thereof; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
            authority or approval from the Bankruptcy Court unless otherwise specifically required
            by this Plan or the Confirmation Order;




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 150 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 189 of 783 PageID 6610



       •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
           authority or approval from the Bankruptcy Court unless otherwise specifically required
           by this Plan or the Confirmation Order;

       •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

       •   decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

       •   enter such orders as may be necessary or appropriate to implement, effectuate, or
           consummate the provisions of this Plan, the Plan Documents, and all other contracts,
           instruments, releases, and other agreements or documents adopted in connection with
           this Plan, the Plan Documents, or the Disclosure Statement;

       •   resolve any cases, controversies, suits or disputes that may arise in connection with the
           implementation, effectiveness, consummation, interpretation, or enforcement of this
           Plan or any Entity’s obligations incurred in connection with this Plan;

       •   issue injunctions and enforce them, enter and implement other orders or take such other
           actions as may be necessary or appropriate to restrain interference by any Entity with
           implementation, effectiveness, consummation, or enforcement of this Plan, except as
           otherwise provided in this Plan;

       •   enforce the terms and conditions of this Plan and the Confirmation Order;

       •   resolve any cases, controversies, suits or disputes with respect to the release,
           exculpation, indemnification, and other provisions contained herein and enter such
           orders or take such others actions as may be necessary or appropriate to implement or
           enforce all such releases, injunctions and other provisions;

       •   enter and implement such orders or take such others actions as may be necessary or
           appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
           vacated;



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 151 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 190 of 783 PageID 6611



        •   resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

        •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 152 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 191 of 783 PageID 6612



 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.     Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 153 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 192 of 783 PageID 6613



 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 154 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 193 of 783 PageID 6614



                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 155 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 194 of 783 PageID 6615



 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 156 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 195 of 783 PageID 6616




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 157 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 196 of 783 PageID 6617



                                     Exhibit B
     Schedule of CLO Management Agreements and Related Contracts to Be Assumed




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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 158 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 197 of 783 PageID 6618



           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 159 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 198 of 783 PageID 6619



 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



                                               2
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 160 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 199 of 783 PageID 6620



 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


                                               3
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 161 of
 Case 3:21-cv-01585-S Document 15 Filed 16110/01/21 Page 200 of 783 PageID 6621



 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
         Capital Management, L.P. and Brentwood CLO, Ltd.; Investors Bank & Trust Company




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                                                                                   Appx.000194
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 201 of 783 PageID 6622



                             EXHIBIT 5




                                                                   Appx.000195
Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 1 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 202Docket    #1808 Date Filed: 01/22/2021
                                                              of 783  PageID 6623



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )
                                                              )

           FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                  CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

 PACHULSKI STANG ZIEHL & JONES LLP                         HAYWARD & ASSOCIATES PLLC
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         ikharasch@pszjlaw.com
         gdemo@pszjlaw.com

                            Counsel for the Debtor and Debtor-in-Possession




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 2 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 203 of 783 PageID 6624



 ARTICLE I. RULES OF INTERPRETATION, COMPUTATION OF TIME,
               GOVERNING LAW AND DEFINED TERMS .............................................. 1

         A.       Rules of Interpretation, Computation of Time and Governing Law ..................... 1

         B.       Defined Terms ...................................................................................................... 2

 ARTICLE II. ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS................. 16

         A.       Administrative Expense Claims.......................................................................... 16

         B.       Professional Fee Claims ...................................................................................... 17

         C.       Priority Tax Claims ............................................................................................. 18

 ARTICLE III. CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS
                AND EQUITY INTERESTS ......................................................................... 18

         A.       Summary ............................................................................................................. 18

         B.       Summary of Classification and Treatment of Classified Claims and
                  Equity Interests ................................................................................................... 19

         C.       Elimination of Vacant Classes ............................................................................ 19

         D.       Impaired/Voting Classes ..................................................................................... 19

         E.       Unimpaired/Non-Voting Classes ........................................................................ 19

         F.       Impaired/Non-Voting Classes ............................................................................. 19

         G.       Cramdown ........................................................................................................... 19

         H.       Classification and Treatment of Claims and Equity Interests ............................. 20

         I.       Special Provision Governing Unimpaired Claims .............................................. 24

         J.       Subordinated Claims ........................................................................................... 25

 ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ..................................... 25

         A.       Summary ............................................................................................................. 25

         B.       The Claimant Trust ............................................................................................. 26

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-
                  Trust. ................................................................................................................... 26

         2.       Claimant Trust Oversight Committee ................................................................. 27



                                                               - ii -                                                          Appx.000197
Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 3 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 204 of 783 PageID 6625


                                                                                                                             Page

       3.    Purpose of the Claimant Trust. ........................................................................... 27

       4.    Purpose of the Litigation Sub-Trust.................................................................... 28

       5.    Claimant Trust Agreement and Litigation Sub-Trust Agreement. ...................... 28

       6.    Compensation and Duties of Trustees. ............................................................... 29

       7.    Cooperation of Debtor and Reorganized Debtor. .............................................. 30

       8.    United States Federal Income Tax Treatment of the Claimant Trust. ................ 30

       9.    Tax Reporting...................................................................................................... 30

       10.   Claimant Trust Assets. ........................................................................................ 31

       11.   Claimant Trust Expenses. ................................................................................... 31

       12.   Trust Distributions to Claimant Trust Beneficiaries. ......................................... 31

       13.   Cash Investments. ............................................................................................... 31

       14.   Dissolution of the Claimant Trust and Litigation Sub-Trust. ............................. 32

       C.    The Reorganized Debtor ..................................................................................... 32

       1.    Corporate Existence............................................................................................ 32

       2.    Cancellation of Equity Interests and Release ..................................................... 33

       3.    Issuance of New Partnership Interests ............................................................... 33

       4.    Management of the Reorganized Debtor ............................................................ 33

       5.    Vesting of Assets in the Reorganized Debtor ...................................................... 34

       6.    Purpose of the Reorganized Debtor .................................................................... 34

       7.    Distribution of Proceeds from the Reorganized Debtor Assets; Transfer
             of Reorganized Debtor Assets ............................................................................. 34

       D.    Company Action ................................................................................................. 34

       E.    Release of Liens, Claims and Equity Interests.................................................... 35

       F.    Cancellation of Notes, Certificates and Instruments........................................... 36

       G.    Cancellation of Existing Instruments Governing Security Interests ................... 36


                                                       - iii -                                                      Appx.000198
Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 4 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 205 of 783 PageID 6626


                                                                                                                                           Page

           H.        Control Provisions .............................................................................................. 36

           I.        Treatment of Vacant Classes .............................................................................. 36

           J.        Plan Documents .................................................................................................. 36

           K.        Highland Capital Management, L.P. Retirement Plan and Trust ....................... 37

 ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
              LEASES ......................................................................................................... 37

           A.        Assumption, Assignment, or Rejection of Executory Contracts and
                     Unexpired Leases ................................................................................................ 37

           B.        Claims Based on Rejection of Executory Contracts or Unexpired
                     Leases .................................................................................................................. 38

           C.        Cure of Defaults for Assumed or Assigned Executory Contracts and
                     Unexpired Leases ................................................................................................ 39

 ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS ............................................. 39

           A.        Dates of Distributions ......................................................................................... 39

           B.        Distribution Agent .............................................................................................. 40

           C.        Cash Distributions............................................................................................... 41

           D.        Disputed Claims Reserve .................................................................................... 41

           E.        Distributions from the Disputed Claims Reserve ............................................... 41

           F.        Rounding of Payments ........................................................................................ 41

           G.        De Minimis Distribution ..................................................................................... 41

           H.        Distributions on Account of Allowed Claims ..................................................... 42

           I.        General Distribution Procedures ......................................................................... 42

           J.        Address for Delivery of Distributions................................................................. 42

           K.        Undeliverable Distributions and Unclaimed Property ........................................ 42

           L.        Withholding Taxes .............................................................................................. 43

           M.        Setoffs ................................................................................................................. 43



                                                                 - iv -                                                          Appx.000199
Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 5 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 206 of 783 PageID 6627


                                                                                                                                      Page

         N.      Surrender of Cancelled Instruments or Securities .............................................. 43

         O.      Lost, Stolen, Mutilated or Destroyed Securities ................................................. 43

 ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT,
               UNLIQUIDATED AND DISPUTED CLAIMS ............................................ 44

         A.      Filing of Proofs of Claim .................................................................................... 44

         B.      Disputed Claims .................................................................................................. 44

         C.      Procedures Regarding Disputed Claims or Disputed Equity Interests ............... 44

         D.      Allowance of Claims and Equity Interests.......................................................... 44

         1.      Allowance of Claims ........................................................................................... 45

         2.      Estimation ........................................................................................................... 45

         3.      Disallowance of Claims ...................................................................................... 45

 ARTICLE VIII. EFFECTIVENESS OF THIS PLAN ............................................................... 46

         A.      Conditions Precedent to the Effective Date ........................................................ 46

         B.      Waiver of Conditions .......................................................................................... 47

         C.      Effect of Non-Occurrence of Conditions to EffectivenessError! Bookmark not defined.

         D.      Dissolution of the Committee ............................................................................. 47

 ARTICLE IX. EXCULPATION, INJUNCTION AND RELATED PROVISIONS ................. 48

         A.      General ................................................................................................................ 48

         B.      Discharge of Claims ............................................................................................ 48

         C.      Exculpation ......................................................................................................... 48

         D.      Releases by the Debtor........................................................................................ 49

         E.      Preservation of Rights of Action......................................................................... 50

         1.      Maintenance of Causes of Action ....................................................................... 50

         2.      Preservation of All Causes of Action Not Expressly Settled or Released ........... 50

         F.      Injunction ............................................................................................................ 51


                                                             -v-                                                            Appx.000200
Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 6 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 207 of 783 PageID 6628


                                                                                                                                     Page

         G.       Term of Injunctions or Stays............................................................................... 52

         H.       Continuance of January 9 Order ......................................................................... 52

 ARTICLE X. BINDING NATURE OF PLAN .......................................................................... 52

 ARTICLE XI. RETENTION OF JURISDICTION .................................................................... 53

 ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................. 55

         A.       Payment of Statutory Fees and Filing of Reports ............................................... 55

         B.       Modification of Plan ........................................................................................... 55

         C.       Revocation of Plan .............................................................................................. 55

         D.       Obligations Not Changed .................................................................................... 56

         E.       Entire Agreement ................................................................................................ 56

         F.       Closing of Chapter 11 Case ................................................................................ 56

         G.       Successors and Assigns....................................................................................... 56

         H.       Reservation of Rights .......................................................................................... 56

         I.       Further Assurances.............................................................................................. 57

         J.       Severability ......................................................................................................... 57

         K.       Service of Documents ......................................................................................... 57

         L.       Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of
                  the Bankruptcy Code........................................................................................... 58

         M.       Governing Law ................................................................................................... 59

         N.       Tax Reporting and Compliance .......................................................................... 59

         O.       Exhibits and Schedules ....................................................................................... 59

         P.       Controlling Document ........................................................................................ 59




                                                             - vi -                                                         Appx.000201
Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 7 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 208 of 783 PageID 6629



                 DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


         HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
 the above-captioned case (the “Debtor”), proposes the following chapter 11 plan of
 reorganization (the “Plan”) for, among other things, the resolution of the outstanding Claims
 against, and Equity Interests in, the Debtor. Unless otherwise noted, capitalized terms used in
 this Plan have the meanings set forth in Article I of this Plan. The Debtor is the proponent of this
 Plan within the meaning of section 1129 of the Bankruptcy Code.

         Reference is made to the Disclosure Statement (as such term is defined herein and
 distributed contemporaneously herewith) for a discussion of the Debtor’s history, business,
 results of operations, historical financial information, projections and assets, and for a summary
 and analysis of this Plan and the treatment provided for herein. There also are other agreements
 and documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or
 the Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan
 Documents are incorporated into and are a part of this Plan as if set forth in full herein. Subject
 to the other provisions of this Plan, and in accordance with the requirements set forth in
 section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to
 alter, amend, modify, revoke, or withdraw this Plan prior to the Effective Date.

         If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
 this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

 A.     Rules of Interpretation, Computation of Time and Governing Law

         For purposes hereof: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
 gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
 agreement or document being in a particular form or on particular terms and conditions means
 that the referenced document, as previously amended, modified or supplemented, if applicable,
 shall be substantially in that form or substantially on those terms and conditions; (c) any
 reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
 that document or exhibit, as it may thereafter be amended, modified or supplemented in
 accordance with its terms; (d) unless otherwise specified, all references herein to “Articles,”
 “Sections,” “Exhibits” and “Plan Documents” are references to Articles, Sections, Exhibits and
 Plan Documents hereof or hereto; (e) unless otherwise stated, the words “herein,” “hereof,”
 “hereunder” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this
 Plan; (f) captions and headings to Articles and Sections are inserted for convenience of reference
 only and are not intended to be a part of or to affect the interpretation hereof; (g) any reference to
 an Entity as a Holder of a Claim or Equity Interest includes such Entity’s successors and assigns;



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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 8 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 209 of 783 PageID 6630



 (h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (i) any
 term used in capitalized form herein that is not otherwise defined but that is used in the
 Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
 Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (j) “$” or “dollars” means
 Dollars in lawful currency of the United States of America. The provisions of Bankruptcy
 Rule 9006(a) shall apply in computing any period of time prescribed or allowed herein.

 B.     Defined Terms

       Unless the context otherwise requires, the following terms shall have the following
 meanings when used in capitalized form herein:

             1. “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
 Management GP, LLP.

                2. “Administrative Expense Claim” means any Claim for costs and expenses of
 administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
 507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
 necessary costs and expenses incurred after the Petition Date and through the Effective Date of
 preserving the Estate and operating the business of the Debtor; and (b) all fees and charges
 assessed against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of
 the United States Code, and that have not already been paid by the Debtor during the Chapter 11
 Case and a Professional Fee Claim.

                3. “Administrative Expense Claims Bar Date” means, with respect to any
 Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
 the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
 the Effective Date.

               4. “Administrative Expense Claims Objection Deadline” means, with respect to
 any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
 (b) sixty (60) days after the timely Filing of the applicable request for payment of such
 Administrative Expense Claim; provided, however, that the Administrative Expense Claims
 Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
 Trustee.

                 5. “Affiliate” of any Person means any Entity that, with respect to such Person,
 either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
 “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
 through one or more intermediaries, controls, is controlled by, or is under common control with,
 such Person. For the purposes of this definition, the term “control” (including, without
 limitation, the terms “controlled by” and “under common control with”) means the possession,
 directly or indirectly, of the power to direct or cause the direction in any respect of the
 management or policies of a Person, whether through the ownership of voting securities, by
 contract, or otherwise.

                6. “Allowed” means, with respect to any Claim, except as otherwise provided in
 the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
                                                2

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 9 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 210 of 783 PageID 6631



 Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy
 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not
 unliquidated, and not disputed and for which no Proof of Claim has been timely filed; (c) a
 Claim Allowed pursuant to the Plan or an order of the Bankruptcy Court that is not stayed
 pending appeal; or (d) a Claim that is not Disputed (including for which a Proof of Claim has
 been timely filed in a liquidated and noncontingent amount that has not been objected to by the
 Claims Objection Deadline or as to which any such objection has been overruled by Final
 Order); provided, however, that with respect to a Claim described in clauses (a) and (b) above,
 such Claim shall be considered Allowed only if and to the extent that, with respect to such
 Claim, no objection to the allowance thereof has been interposed within the applicable period of
 time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or
 such an objection is so interposed and the Claim shall have been Allowed as set forth above.

                7. “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of the
 type that has been Allowed.

                 8. “Assets” means all of the rights, titles, and interest of the Debtor, Reorganized
 Debtor, or Claimant Trust, in and to property of whatever type or nature, including, without
 limitation, real, personal, mixed, intellectual, tangible, and intangible property, the Debtor’s
 books and records, and the Causes of Action.

                 9. “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the
 sole discretion of the Claimant Trustee.

                10. “Avoidance Actions” means any and all avoidance, recovery, subordination or
 other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or
 under similar state or federal statutes and common law, including fraudulent transfer laws

                11. “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13. “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the
 Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 10 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 211 of 783 PageID 6632



                 15. “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
  the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which
  deadlines may be or have been extended for certain Claimants by order of the Bankruptcy Court.

                16. “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
  Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                 17. “Business Day” means any day, other than a Saturday, Sunday or “legal
  holiday” (as defined in Bankruptcy Rule 9006(a)).

                 18. “Cash” means the legal tender of the United States of America or the
  equivalent thereof.

                  19. “Causes of Action” means any action, claim, cross-claim, third-party claim,
  cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
  obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
  license and franchise of any kind or character whatsoever, in each case whether known,
  unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
  liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect,
  choate or inchoate, secured or unsecured, assertable directly or derivatively (including, without
  limitation, under alter ego theories), whether arising before, on, or after the Petition Date, in
  contract or in tort, in law or in equity or pursuant to any other theory of law. For the avoidance
  of doubt, Cause of Action includes, without limitation,: (a) any right of setoff, counterclaim or
  recoupment and any claim for breach of contract or for breach of duties imposed by law or in
  equity; (b) the right to object to Claims or Equity Interests; (c) any claim pursuant to section 362
  or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress
  and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; (e) any claims
  under any state or foreign law, including, without limitation, any fraudulent transfer or similar
  claims; (f) the Avoidance Actions, and (g) the Estate Claims. The Causes of Action include,
  without limitation, the Causes of Action belonging to the Debtor’s Estate listed on the schedule
  of Causes of Action to be filed with the Plan Supplement.

                  20. “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
  and chief restructuring officer.

                  21. “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
  Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
  transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
  Management, L.P., Case No. 19-34054-sgj-11.

                22. “Claim” means any “claim” against the Debtor as defined in section 101(5) of
  the Bankruptcy Code.

               23. “Claims Objection Deadline” means the date that is 180 days after the
  Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
  Bankruptcy Court upon a motion by the Claimant Trustee.


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 11 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 212 of 783 PageID 6633



                24. “Claimant Trust” means the trust established for the benefit of the Claimant
  Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
  Claimant Trust Agreement.

                25. “Claimant Trust Agreement” means the agreement Filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                  26. “Claimant Trust Assets” means (i) other than the Reorganized Debtor Assets
  (which are expressly excluded from this definition), all other Assets of the Estate, including, but
  not limited to, all Causes of Action, Available Cash, any proceeds realized or received from such
  Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
  from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
  or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
  (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
  that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
  Reorganized Debtor Assets.

                  27. “Claimant Trust Beneficiaries” means the Holders of Allowed General
  Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
  Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
  following the Effective Date, and, only upon certification by the Claimant Trustee that the
  Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
  unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest
  from the Petition Date at the Federal Judgment Rate in accordance with the terms and conditions
  set forth in the Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have
  been resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
  Allowed Class A Limited Partnership Interests.

                 28. “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
  officer and chief restructuring officer, or such other Person identified in the Plan Supplement
  who will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation
  Order, and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance
  with) the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among
  other things, monetizing the Estate’s investment assets, resolving Claims (other than those
  Claims assigned to the Litigation Sub-Trust for resolution), and, as the sole officer of New GP
  LLC, winding down the Reorganized Debtor’s business operations.

                 29. “Claimant Trust Expenses” means all reasonable legal and other reasonable
  professional fees, costs, and expenses incurred by the Trustees on account of administration of
  the Claimant Trust, including any reasonable administrative fees and expenses, reasonable
  attorneys’ fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and
  other expenses.

                 30. “Claimant Trust Interests” means the non-transferable interests in the
  Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan;
  provided, however, Holders of Class A Limited Partnership Interests, Class B Limited
  Partnership Interests, and Class C Limited Partnership Interests will not be deemed to hold

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 12 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 213 of 783 PageID 6634



  Claimant Trust Interests unless and until the Contingent Claimant Trust Interests distributed to
  such Holders vest in accordance with the terms of this Plan and the Claimant Trust Agreement.

                 31. “Claimant Trust Oversight Committee” means the committee of five Persons
  established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s performance
  of its duties and otherwise serve the functions described in this Plan and the Claimant Trust
  Agreement.

               32. “Class” means a category of Holders of Claims or Equity Interests as set forth
  in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                 33. “Class A Limited Partnership Interest” means the Class A Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by The Dugaboy Investment
  Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela Okada –
  Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                  34. “Class B Limited Partnership Interest” means the Class B Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                35. “Class B/C Limited Partnership Interests” means, collectively, the Class B
  Limited Partnership and Class C Limited Partnership Interests.

                  36. “Class C Limited Partnership Interest” means the Class C Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                 37. “Committee” means the Official Committee of Unsecured Creditors
  appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
  consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
  (iii) UBS, and (iv) Acis.

                 38. “Confirmation Date” means the date on which the clerk of the Bankruptcy
  Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                 39. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
  pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
  hearing may be adjourned or continued from time to time.

                 40. “Confirmation Order” means the order of the Bankruptcy Court confirming
  this Plan pursuant to section 1129 of the Bankruptcy Code.

                41. “Convenience Claim” means any prepetition, liquidated, and unsecured
  Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
  any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
  doubt, the Reduced Employee Claims will be Convenience Claims.


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 13 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 214 of 783 PageID 6635



                 42. “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
  available upon the Effective Date for distribution to Holders of Convenience Claims under the
  Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all
  distributions on account of Convenience Claims have been made will be transferred to the
  Claimant Trust and administered as a Claimant Trust Asset.

                  43. “Convenience Class Election” means the option provided to each Holder of a
  General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
  to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
  Claims.

                  44. “Contingent Claimant Trust Interests” means the contingent Claimant Trust
  Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
  Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in
  accordance with this Plan, the rights of which shall not vest, and consequently convert to
  Claimant Trust Interests, unless and until the Claimant Trustee Files a certification that all
  holders of Allowed General Unsecured Claims have been paid indefeasibly in full, plus, to the
  extent all Allowed unsecured Claims, excluding Subordinated Claims, have been paid in full, all
  accrued and unpaid post-petition interest from the Petition Date at the Federal Judgment Rate
  and all Disputed Claims in Class 8 and Class 9 have been resolved. As set forth in the Claimant
  Trust Agreement, the Contingent Claimant Trust Interests distributed to the Holders of Class A
  Limited Partnership Interests will be subordinated to the Contingent Claimant Trust Interests
  distributed to the Holders of Class B/C Limited Partnership Interests.

                 45. “Debtor” means Highland Capital Management, L.P. in its capacity as debtor
  and debtor in possession in the Chapter 11 Case.

                  46. “Delaware Bankruptcy Court” means the United States Bankruptcy Court for
  the District of Delaware.

                 47. “Disclosure Statement” means that certain Disclosure Statement for Debtor’s
  Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or modified from
  time to time, which describes this Plan, including all exhibits and schedules thereto and
  references therein that relate to this Plan.

                 48. “Disputed” means with respect to any Claim or Equity Interest, any Claim or
  Equity Interest that is not yet Allowed.

                 49. “Disputed Claims Reserve” means the appropriate reserve(s) or account(s) to
  be established on the Initial Distribution Date and maintained by the Claimant Trustee for
  distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

                50. “Disputed Claims Reserve Amount” means, for purposes of determining the
  Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
  Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
  The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
  be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
  the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 14 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 215 of 783 PageID 6636



  Reorganized Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters
  an order disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the
  Bankruptcy Court, including an order estimating the Disputed Claim.

                51. “Distribution Agent” means the Claimant Trustee, or any party designated by
  the Claimant Trustee to serve as distribution agent under this Plan.

                  52. “Distribution Date” means the date or dates determined by the Reorganized
  Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon
  which the Distribution Agent shall make distributions to holders of Allowed Claims and Interests
  entitled to receive distributions under the Plan.

                 53. “Distribution Record Date” means the date for determining which Holders of
  Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
  the Effective Date or such later date determined by the Bankruptcy Court.

                54. “Effective Date” means the Business Day that this Plan becomes effective as
  provided in ARTICLE VIII hereof.

                 55. “Employees” means the employees of the Debtor set forth in the Plan
  Supplement.

                  56. “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
  Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
  Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
  voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
  James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion,
  objection, or other pleading in this Chapter 11 Case regardless of the capacity in which such
  Entity appeared and any other party in interest, (iv) any Related Entity, and (v) the Related
  Persons of each of the foregoing.

                57. “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
  Code and also includes any Person or any other entity.

                   58. “Equity Interest” means any Equity Security in the Debtor, including, without
  limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of stock or
  limited company interests, the Class A Limited Partnership Interests, the Class B Limited
  Partnership Interests, and the Class C Limited Partnership Interests.

                59. “Equity Security” means an “equity security” as defined in section 101(16) of
  the Bankruptcy Code.

                 60. “Estate” means the bankruptcy estate of the Debtor created by virtue of
  section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

                61. “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [D.I. 354].

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 15 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 216 of 783 PageID 6637



                   62. “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
  assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi) the members of
  the Committee (in their official capacities), (vii) the Professionals retained by the Debtor and the
  Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related Persons of each of
  the parties listed in (iv) through (viii); provided, however, that, for the avoidance of doubt, none
  of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and
  managed entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
  including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
  subsidiaries, members, and managed entities), Highland Capital Management Fund Advisors,
  L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
  subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
  Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
  term “Exculpated Party.”

                 63. “Executory Contract” means a contract to which the Debtor is a party that is
  subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                 64. “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement (as
  such exhibits are amended, modified or otherwise supplemented from time to time), which are
  incorporated by reference herein.

                65. “Federal Judgment Rate” means the post-judgment interest rate set forth in 28
  U.S.C. § 1961 as of the Effective Date.

                  66. “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
  Court or its authorized designee in the Chapter 11 Case.

                  67. “Final Order” means an order or judgment of the Bankruptcy Court, which is
  in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
  new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
  or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
  any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
  waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or
  the Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
  reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
  been determined by the highest court to which such order was appealed, or certiorari, new trial,
  reargument or rehearing shall have been denied and the time to take any further appeal, petition
  for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
  however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
  or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
  not preclude such order from being a Final Order.

                68. “Frontier Secured Claim” means the loan from Frontier State Bank to the
  Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended
  and Restated Loan Agreement, dated March 29, 2018.


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 16 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 217 of 783 PageID 6638



                 69. “General Partner Interest” means the Class A Limited Partnership Interest
  held by Strand, as the Debtor’s general partner.

                 70. “General Unsecured Claim” means any prepetition Claim against the Debtor
  that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
  Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

                71. “Governmental Unit” means a “governmental unit” as defined in
  section 101(27) of the Bankruptcy Code.

                 72. “GUC Election” means the option provided to each Holder of a Convenience
  Claim on their Ballot to elect to receive the treatment provided to General Unsecured Claims.

                73. “Holder” means an Entity holding a Claim against, or Equity Interest in, the
  Debtor.

                74. “Impaired” means, when used in reference to a Claim or Equity Interest, a
  Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
  Code.

                 75. “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
  Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
  additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
  Effective Date.

                 76. “Initial Distribution Date” means, subject to the “Treatment” sections in
  ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
  Date, when distributions under this Plan shall commence to Holders of Allowed Claims and
  Equity Interests.

                  77. “Insurance Policies” means all insurance policies maintained by the Debtor as
  of the Petition Date.

                78. “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC, arising
  under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between the
  Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
  brokerage account created by such Prime Brokerage Customer Agreement.

                  79. “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
  and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
  security interest or other encumbrance of any kind, or any other type of preferential arrangement
  that has the practical effect of creating a security interest, in respect of such asset.

               80. “Limited Partnership Agreement” means that certain Fourth Amended and
  Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
  December 24, 2015, as amended.


                                                 10

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 17 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 218 of 783 PageID 6639



                 81. “Litigation Sub-Trust” means the sub-trust established within the Claimant
  Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
  in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
  Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
  Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

               82. “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                  83. “Litigation Trustee” means the trustee appointed by the Committee and
  reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
  settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
  conditions set forth in the Litigation Sub-Trust Agreement.

                84. “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
  Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
  Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

                85. “New Frontier Note” means that promissory note to be provided to the
  Allowed Holders of Class 2 Claims under this Plan and any other documents or security
  agreements securing the obligations thereunder.

               86. “New GP LLC” means a limited liability company incorporated in the State of
  Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
  Reorganized Debtor on the Effective Date.

                87. “New GP LLC Documents” means the charter, operating agreement, and other
  formational documents of New GP LLC.

                88. “Ordinary Course Professionals Order” means that certain Order Pursuant to
  Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
  Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
  [D.I. 176].

               89. “Other Unsecured Claim” means any Secured Claim other than the Jefferies
  Secured Claim and the Frontier Secured Claim.

                  90. “Person” means a “person” as defined in section 101(41) of the Bankruptcy
  Code and also includes any natural person, individual, corporation, company, general or limited
  partnership, limited liability company, unincorporated organization firm, trust, estate, business
  trust, association, joint stock company, joint venture, government, governmental agency,
  Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
  whether acting in an individual, fiduciary or other capacity.

                91. “Petition Date” means October 16, 2019.

                92. “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
  Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,
                                                 11

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 18 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 219 of 783 PageID 6640



  and schedules thereto, either in its present form or as the same may be altered, amended,
  modified or otherwise supplemented from time to time.

                93. “Plan Distribution” means the payment or distribution of consideration to
  Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                 94. “Plan Documents” means any of the documents, other than this Plan, but
  including, without limitation, the documents to be filed with the Plan Supplement, to be
  executed, delivered, assumed, or performed in connection with the occurrence of the Effective
  Date, and as may be modified consistent with the terms hereof with the consent of the
  Committee.

                  95. “Plan Supplement” means the ancillary documents necessary for the
  implementation and effectuation of the Plan, including, without limitation, (i) the form of
  Claimant Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of
  Reorganized Limited Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable),
  (v) the identity of the initial members of the Claimant Trust Oversight Committee, (vi) the form
  of Litigation Sub-Trust Agreement; (vii) the schedule of retained Causes of Action; (viii) the
  New Frontier Note, (ix) the schedule of Employees; (x) the form of Senior Employee
  Stipulation,; and (xi) the schedule of Executory Contracts and Unexpired Leases to be assumed
  pursuant to this Plan, which, in each case, will be in form and substance reasonably acceptable to
  the Debtor and the Committee.

                 96. “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
  section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to
  priority under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
  Administrative Claim.

                 97. “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
  Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
  Equity Interests in such Class.

                 98. “Professional” means (a) any Entity employed in the Chapter 11 Case
  pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
  seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
  pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy
  Code.

                  99. “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
  363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
  compensation for services rendered or reimbursement of costs, expenses or other charges
  incurred after the Petition Date and prior to and including the Effective Date.

                100. “Professional Fee Claims Bar Date” means with respect to Professional
  Fee Claims, the Business Day which is sixty (60) days after the Effective Date or such other date
  as approved by order of the Bankruptcy Court.


                                                 12

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 19 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 220 of 783 PageID 6641



                101. “Professional Fee Claims Objection Deadline” means, with respect to any
  Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
  payment of such Professional Fee Claim.

               102. “Professional Fee Reserve” means the reserve established and funded by
  the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid
  Allowed Professional Fee Claims.

                 103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
  against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the
  kind specified in section 507(a)(8) of the Bankruptcy Code.

                  105. “Protected Parties” means, collectively, (i) the Debtor and its successors
  and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
  Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
  Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
  members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
  LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
  (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through
  (xv); provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
  NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
  Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
  entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
  entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
  Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain
  Investment Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any
  trustee acting for the trust), or Grant Scott is included in the term “Protected Party.”

                 106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
  employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
  507(a)(4) of the Bankruptcy Code.

                 107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                   108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
  leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
  of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
  notwithstanding any contractual provision or applicable law that entitles the Holder of such
  Claim or Equity Interest to demand or receive accelerated payment of such Claim or Equity
  Interest after the occurrence of a default: (i) curing any such default that occurred before or after
  the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
  Code or of a kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be
  cured; (ii) reinstating the maturity of such Claim or Equity Interest as such maturity existed
  before such default; (iii) compensating the Holder of such Claim or Equity Interest for any

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 20 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 221 of 783 PageID 6642



  damages incurred as a result of any reasonable reliance by such Holder on such contractual
  provision or such applicable law; (iv) if such Claim or Equity Interest arises from any failure to
  perform a nonmonetary obligation, other than a default arising from failure to operate a non-
  residential real property lease subject to section 365(b)(1)(A) of the Bankruptcy Code,
  compensating the Holder of such Claim or Equity Interest (other than any Debtor or an insider of
  any Debtor) for any actual pecuniary loss incurred by such Holder as a result of such failure; and
  (v) not otherwise altering the legal, equitable, or contractual rights to which such Claim entitles
  the Holder of such Claim.

                  109. “Rejection Claim” means any Claim for monetary damages as a result of
  the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                   110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
  (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
  was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
  Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
  insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
  Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including,
  without limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust
  and any of its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of
  its direct or indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on
  the Related Entity List.

                 111.    “Related Entity List” means that list of Entities filed with the Plan
  Supplement.

                 112. “Related Persons” means, with respect to any Person, such Person’s
  predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
  respective present, future, or former officers, directors, employees, managers, managing
  members, members, financial advisors, attorneys, accountants, investment bankers, consultants,
  professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
  companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
  Strand (solely from the date of the appointment of the Independent Directors through the
  Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in
  their official capacities), (vi) the Professionals retained by the Debtor and the Committee in the
  Chapter 11 Case; and (vii) the Employees.

                 114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
  Plan on and after the Effective Date.

                  115. “Reorganized Debtor Assets” means any limited and general partnership
  interests held by the Debtor, the management of the Managed Funds and those Causes of Action
  (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
  capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized


                                                   14

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 21 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 222 of 783 PageID 6643



  Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
  but does not include the underlying portfolio assets held by the Managed Funds.

                 116. “Reorganized Limited Partnership Agreement” means that certain Fifth
  Amended and Restated Agreement of Limited Partnership of Highland Capital Management,
  L.P., by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner,
  Filed with the Plan Supplement.

                 117. “Restructuring” means the restructuring of the Debtor, the principal terms
  of which are set forth in this Plan and the Disclosure Statement.

                 118. “Retained Employee Claim” means any Claim filed by a current employee
  of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                 119. “Schedules” means the schedules of Assets and liabilities, statements of
  financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
  supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
  property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
  enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is
  subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the
  creditor’s interest in the interest of the Debtor’s Estate in such property or to the extent of the
  amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
  Bankruptcy Code or (b) Allowed pursuant to the Plan as a Secured Claim.

                121. “Security” or “security” means any security as such term is defined in
  section 101(49) of the Bankruptcy Code.

               122.      “Senior Employees” means the senior employees of the Debtor Filed in the
  Plan Supplement.

               123. “Senior Employee Stipulation” means the agreements filed in the Plan
  Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
  property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
  transaction privilege tax (including, without limitation, such taxes on prime contracting and
  owner-builder sales), privilege taxes (including, without limitation, privilege taxes on
  construction contracting with regard to speculative builders and owner builders), and other
  similar taxes imposed or assessed by any Governmental Unit.

                 125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                 126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                 127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
  service or sub-service the Reorganized Debtor Assets.
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 22 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 223 of 783 PageID 6644



                 128. “Sub-Servicer Agreement” means the agreement that may be entered into
  providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                 129. “Subordinated Claim” means any Claim that is subordinated to the
  Convenience Claims and General Unsecured Claims pursuant to 11 U.S.C. § 510 or order
  entered by the Bankruptcy Court.

                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust
  Interests to be distributed to Holders of Allowed Subordinated Claims under the Plan, which
  such interests shall be subordinated in right and priority to the Claimant Trust Interests
  distributed to Holders of Allowed General Unsecured Claims as provided in the Claimant Trust
  Agreement.

                131. “Trust Distribution” means the transfer of Cash or other property by the
  Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
  Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
  Branch.

                 134. “Unexpired Lease” means a lease to which the Debtor is a party that is
  subject to assumption or rejection under section 365 of the Bankruptcy Code.

                  135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
  that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                 136. “Voting Deadline” means the date and time by which all Ballots to accept
  or reject the Plan must be received in order to be counted under the under the Order of the
  Bankruptcy Court approving the Disclosure Statement as containing adequate information
  pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
  acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

  A.     Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
  becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
  thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
  Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
  exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
  Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
  (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 23 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 224 of 783 PageID 6645



  Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
  incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
  business in the discretion of the Debtor in accordance with such applicable terms and conditions
  relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
  payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

         If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
  the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
  on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
  Reorganized Debtor, as applicable, and such other Entities who are designated by the
  Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
  application for allowance and payment of such Administrative Expense Claim.

          Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
  must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
  asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
  Deadline.

  B.     Professional Fee Claims

           Professionals or other Entities asserting a Professional Fee Claim for services rendered
  through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
  503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
  granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
  full to the extent provided in such order.

          Professionals or other Entities asserting a Professional Fee Claim for services rendered on
  or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
  serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
  designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
  order of the Bankruptcy Court, an application for final allowance of such Professional Fee
  Claim.

          Objections to any Professional Fee Claim must be Filed and served on the Debtor or
  Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
  Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
  will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
  Days of entry of the order approving such Allowed Professional Fee Claim.

          On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
  The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
  Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
  Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
  determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
  total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
  payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 24 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 225 of 783 PageID 6646



  Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
  Plan and the Claimant Trust Agreement.

  C.     Priority Tax Claims

          On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
  such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
  on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
  Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
  and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
  an amount equal to the amount of such Allowed Priority Tax Claim, (b) payment of such
  Allowed Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code;
  or (c) such other less favorable treatment as agreed to in writing by the Debtor and such Holder.
  Payment of statutory fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate
  times until the entry of a final decree; provided, however, that the Debtor may prepay any or all
  such Claims at any time, without premium or penalty.

                                      ARTICLE III.
                           CLASSIFICATION AND TREATMENT OF
                         CLASSIFIED CLAIMS AND EQUITY INTERESTS

  A.     Summary

          All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
  Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
  the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
  classified.

          The categories of Claims and Equity Interests listed below classify Claims and Equity
  Interests for all purposes including, without limitation, confirmation and distribution pursuant to
  the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
  a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
  or Equity Interest qualifies within the description of that Class and will be deemed classified in a
  different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
  the description of such different Class. A Claim or Equity Interest is in a particular Class only to
  the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
  released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
  Effective Date.




                                                    18

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 25 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 226 of 783 PageID 6647



  B.      Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class    Claim                                              Status          Voting Rights
  1        Jefferies Secured Claim                            Unimpaired      Deemed to Accept
  2        Frontier Secured Claim                             Impaired        Entitled to Vote
  3        Other Secured Claims                               Unimpaired      Deemed to Accept
  4        Priority Non-Tax Claim                             Unimpaired      Deemed to Accept
  5        Retained Employee Claim                            Unimpaired      Deemed to Accept
  6        PTO Claims                                         Unimpaired      Deemed to Accept
  7        Convenience Claims                                 Impaired        Entitled to Vote
  8        General Unsecured Claims                           Impaired        Entitled to Vote
  9        Subordinated Claims                                Impaired        Entitled to Vote
  10       Class B/C Limited Partnership Interests            Impaired        Entitled to Vote
  11       Class A Limited Partnership Interests              Impaired        Entitled to Vote

  C.      Elimination of Vacant Classes

          Any Class that, as of the commencement of the Confirmation Hearing, does not have at
  least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
  voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
  voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
  satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

  D.      Impaired/Voting Classes

         Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
  Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
  accept or reject the Plan.

  E.      Unimpaired/Non-Voting Classes

         Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
  Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

  F.      Impaired/Non-Voting Classes

         There are no Classes under the Plan that will not receive or retain any property and no
  Classes are deemed to reject the Plan.

  G.      Cramdown

          If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
  accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
  Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 26 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 227 of 783 PageID 6648



  Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
  class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
  hearing, determine such controversy on or before the Confirmation Date.

  H.     Classification and Treatment of Claims and Equity Interests

         1.     Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 1 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                        to the amount of such Allowed Class 1 Claim; (B) such other less
                        favorable treatment as to which the Debtor and the Holder of such
                        Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                        treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                        Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 1
                        Claim is made as provided herein.

                •       Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                        Class 1 Claims are conclusively deemed to have accepted this Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                        Holders of Class 1 Claims are not entitled to vote to accept or reject this
                        Plan and will not be solicited.

         2.     Class 2 – Frontier Secured Claim

                •       Classification: Class 2 consists of the Frontier Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 2 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                        but unpaid interest on the Frontier Claim through and including the
                        Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                        Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 2
                        Claim is made as provided herein.

                •       Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                        Claims are entitled to vote to accept or reject this Plan.




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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 27 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 228 of 783 PageID 6649



        3.    Class 3 – Other Secured Claims

              •      Classification: Class 3 consists of the Other Secured Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 3 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 3
                     Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                     Class 3 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                     of the Debtor, or following the Effective Date, the Reorganized Debtor or
                     Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                     Secured Claim, (ii) the collateral securing its Allowed Other Secured
                     Claim, plus postpetition interest to the extent required under Bankruptcy
                     Code Section 506(b), or (iii) such other treatment rendering such Claim
                     Unimpaired.

              •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                     3 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        4.    Class 4 – Priority Non-Tax Claims

              •      Classification: Class 4 consists of the Priority Non-Tax Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 4 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 4
                     Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                     Class 4 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                     the amount of such Allowed Class 4 Claim.

              •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                     4 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        5.    Class 5 – Retained Employee Claims

              •      Classification: Class 5 consists of the Retained Employee Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the Effective Date, each Allowed Class 5 Claim will be Reinstated.

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 28 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 229 of 783 PageID 6650



              •     Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                    5 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

        6.    Class 6 – PTO Claims

              •     Classification: Class 6 consists of the PTO Claims.

              •     Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 6 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 6
                    Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                    Class 6 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                    the amount of such Allowed Class 6 Claim.

              •     Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                    6 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

        7.    Class 7 – Convenience Claims

              •     Classification: Class 7 consists of the Convenience Claims.

              •     Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 7 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 7
                    Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                    Class 7 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Class 7 Claim (1) the
                    treatment provided to Allowed Holders of Class 8 General Unsecured
                    Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                    an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                    of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                    Convenience Claims Cash Pool.

              •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

        8.    Class 8 – General Unsecured Claims

              •     Classification: Class 8 consists of the General Unsecured Claims.


                                             22

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 29 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 230 of 783 PageID 6651



              •      Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                     less favorable treatment as to which such Holder and the Claimant Trustee
                     shall have agreed upon in writing, or (iii) the treatment provided to
                     Allowed Holders of Class 7 Convenience Claims if the Holder of such
                     Class 8 General Unsecured Claim is eligible and makes a valid
                     Convenience Class Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any General
                     Unsecured Claim, except with respect to any General Unsecured Claim
                     Allowed by Final Order of the Bankruptcy Court.

              •      Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject this Plan.

        9.    Class 9 – Subordinated Claims

              •      Classification: Class 9 consists of the Subordinated Claims.

                     Treatment: On the Effective Date, Holders of Subordinated Claims shall
                     receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                     Interests or, (ii) such other less favorable treatment as to which such
                     Holder and the Claimant Trustee may agree upon in writing.


                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Subordinated
                     Claim, except with respect to any Subordinated Claim Allowed by Final
                     Order of the Bankruptcy Court.

              •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                     Claims are entitled to vote to accept or reject this Plan.

        10.   Class 10 – Class B/C Limited Partnership Interests

              •      Classification: Class 10 consists of the Class B/C Limited Partnership
                     Interests.


                                               23

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 30 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 231 of 783 PageID 6652



                 •      Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class B/C
                        Limited Partnership Interest Claim, except with respect to any Class B/C
                        Limited Partnership Interest Claim Allowed by Final Order of the
                        Bankruptcy Court.

                 •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                        Claims are entitled to vote to accept or reject this Plan.

         11.     Class 11 – Class A Limited Partnership Interests

                 •      Classification:   Class 11 consists of the Class A Limited Partnership
                        Interests.

                 •      Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class A
                        Limited Partnership Interest, except with respect to any Class A Limited
                        Partnership Interest Allowed by Final Order of the Bankruptcy Court.

                 •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                        Claims are entitled to vote to accept or reject this Plan.

  I.     Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
  rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
  legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 31 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 232 of 783 PageID 6653



  J.     Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
  account and conform to the contractual, legal, and equitable subordination rights relating thereto,
  whether arising under general principles of equitable subordination, section 510(b) of the
  Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice
  and hearing, the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to
  seek entry of an order by the Bankruptcy Court to re-classify or to subordinate any Claim in
  accordance with any contractual, legal, or equitable subordination relating thereto, and the
  treatment afforded any Claim under the Plan that becomes a subordinated Claim at any time shall
  be modified to reflect such subordination.

                                    ARTICLE IV.
                        MEANS FOR IMPLEMENTATION OF THIS PLAN

  A.     Summary

        As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
  Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

          On the Effective Date, all Class A Limited Partnership Interests, including the Class A
  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
  Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
  the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
  chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
  Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
  managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
  GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
  Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

         Following the Effective Date, the Claimant Trust will administer the Claimant Trust
  Assets pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will
  pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
  Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
  Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
  among other things, managing the wind down of the Managed Funds.

          Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
  is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
  or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
  which the Debtor provides shared services and sub-advisory services to those Related Entities.
  The Debtor believes that the continued provision of the services under such contracts will not be

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 32 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 233 of 783 PageID 6654



  cost effective.

          The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
  Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
  with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
  of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
  set forth in this Plan and the Claimant Trust Agreement.

  B.      The Claimant Trust 2

          1.               Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

           On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
  Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
  the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
  Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
  transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
  rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
  1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
  Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
  Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
  Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
  from any stamp, transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
  excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
  to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
  6012(b)(3), as well as the representative of the Estate appointed pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
  Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
  Class 11, under the supervision of the Claimant Trust Oversight Committee.

          On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
  Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
  Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
  transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
  governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
  powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant
  Trust Agreement and shall include the authority and responsibility to, among other things, take
  the actions set forth in this ARTICLE IV, subject to any required reporting to the Claimant Trust
  Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant Trust
  shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
  Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
  provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
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    In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
  the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
  Agreement, as applicable, shall control.
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 33 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 234 of 783 PageID 6655



  Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
  rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
  forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
  Reorganized Debtor shall have any interest in the Claimant Trust Assets.

          The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
  administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
  Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
  and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
  to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
  Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
  accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
  distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
  of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

         2.              Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
  Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
  Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
  overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
  Agreement and the Litigation Sub-Trust Agreement, as applicable.

          The Claimant Trust Oversight Committee will initially consist of five members. Four of
  the five members will be representatives of the members of the Committee: (i) the Redeemer
  Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
  fifth member will be an independent, natural Person chosen by the Committee and reasonably
  acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
  replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
  Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

          As set forth in the Claimant Trust Agreement, in no event will any member of the
  Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
  or otherwise be involved in any matters related to such member’s Claim.

          The independent member(s) of the Claimant Trust Oversight Committee may be entitled
  to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
  the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
  set forth in the Claimant Trust Agreement.

         3.              Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
  the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
  oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
  holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
  member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
  capacity as the sole member and manager of New GP LLC, overseeing the management and
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 34 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 235 of 783 PageID 6656



  monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
  Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
  Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
  and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
  Partnership Interests, and Class A Limited Partnership Interests, as provided for in this Plan and
  the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
  in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
  engage in the conduct of a trade or business.

         The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

         4.             Purpose of the Litigation Sub-Trust.

          The Litigation Sub-Trust shall be established for the purpose of investigating,
  prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
  distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
  Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

         5.             Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         The Claimant Trust Agreement generally will provide for, among other things:

              (i)    the payment of the Claimant Trust Expenses;

              (ii)   the payment of other reasonable expenses of the Claimant Trust;

             (iii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation;

             (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
  including those specified in the Plan;

              (v)    the orderly monetization of the Claimant Trust Assets;

             (vi)    litigation of any Causes of Action, which may include the prosecution,
  settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
  oversight by the Claimant Trust Oversight Committee;

              (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
  subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be
  made therefrom; and

             (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
  Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

                                                 28

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 35 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 236 of 783 PageID 6657



         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
  be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
  Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
  Expense (including, without limitation, any reserve for potential indemnification claims as
  authorized and provided under the Claimant Trust Agreement), and shall periodically replenish
  such reserve, as necessary.

          In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
  Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
  Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
  Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
  to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
  (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
  objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
  without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
  Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
  the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
  resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
  of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
  other things:

              (i)    the payment of other reasonable expenses of the Litigation Sub-Trust;

             (ii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation; and

             (iii) the investigation and prosecution of Estate Claims, which may include the
  prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
  reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
  may each employ, without further order of the Bankruptcy Court, employees and other
  professionals (including those previously retained by the Debtor and the Committee) to assist in
  carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
  expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
  Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

          The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
  reasonable and customary provisions that allow for indemnification by the Claimant Trust in
  favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
  Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
  solely from the Claimant Trust Assets.

         6.             Compensation and Duties of Trustees.

        The salient terms of each Trustee’s employment, including such Trustee’s duties and
  compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 36 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 237 of 783 PageID 6658



  Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
  amount consistent with that of similar functionaries in similar types of bankruptcy cases.

         7.             Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
  of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
  Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
  and Reorganized Debtor’s documents, information, and work product relating to the Claimant
  Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
  reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
  prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
  with copies of documents and information in the Debtor’s possession, custody, or control on the
  Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
  Action.

         The Debtor and Reorganized Debtor shall preserve all records, documents or work
  product (including all electronic records, documents, or work product) related to the Claims and
  Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
  Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.

         8.             United States Federal Income Tax Treatment of the Claimant Trust.

          Unless the IRS requires otherwise, for all United States federal income tax purposes, the
  parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
  transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
  Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
  applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
  Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
  Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
  United States federal income tax purposes as the grantors and owners of their respective share of
  the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
  applicable law, for state and local income tax purposes.

         9.             Tax Reporting.

          (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the
  Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The
  Claimant Trustee may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the
  Disputed Claims Reserve as a disputed ownership fund, in which case the Claimant Trustee will
  file federal income tax returns and pay taxes for the Disputed Claims Reserve as a separate
  taxable entity.

          (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
  Assets, of any taxes imposed on the Claimant Trust or its assets.



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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 37 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 238 of 783 PageID 6659



          (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust
  Assets as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such
  valuation, and such valuation shall be used consistently for all federal income tax purposes.

         (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
  Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

         10.             Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
  any further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive
  right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
  Assets, except as otherwise provided in this Plan or in the Claimant Trust Agreement, without
  any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
  Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
  settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
  Trust Assets without any further order of the Bankruptcy Court.

          From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
  and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
  representative of the Estate with respect to any and all Claimant Trust Assets, including the
  Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
  commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
  in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
  Assets.

         11.             Claimant Trust Expenses.

         From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
  business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
  professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
  professionals retained by such parties and entities from the Claimant Trust Assets, except as
  otherwise provided in the Claimant Trust Agreement.

         12.             Trust Distributions to Claimant Trust Beneficiaries.

          The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
  Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
  provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
  the Claimant Trust Agreement, and applicable law.

         13.             Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
  invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
  the terms of the Claimant Trust Agreement; provided, however, that such investments are
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 38 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 239 of 783 PageID 6660



  investments permitted to be made by a “liquidating trust” within the meaning of Treasury
  Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
  rulings or other controlling authorities.

         14.             Dissolution of the Claimant Trust and Litigation Sub-Trust.

          The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
  dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
  pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
  pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
  Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
  further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
  sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
  further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
  Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
  Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
  under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
  three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
  six-month period before such third anniversary (and, in the event of further extension, by order
  of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
  extension), determines that a fixed period extension (not to exceed two years, together with any
  prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
  opinion of counsel that any further extension would not adversely affect the status of the
  Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
  complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
  each extension must be approved, upon a finding that the extension is necessary to facilitate or
  complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
  within 6 months of the beginning of the extended term and no extension, together with any prior
  extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
  Service or an opinion of counsel that any further extension would not adversely affect the status
  of the Claimant Trust as a liquidating trust for federal income tax purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
  any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
  will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
  Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

  C.     The Reorganized Debtor

         1.              Corporate Existence

         The Debtor will continue to exist after the Effective Date, with all of the powers of
  partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
  Limited Partnership Agreement.




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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 39 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 240 of 783 PageID 6661



         2.             Cancellation of Equity Interests and Release

          On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
  Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
  canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
  or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
  obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
  formation documents, including the Limited Partnership Agreement.

         3.             Issuance of New Partnership Interests

          On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
  and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
  Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
  of the Reorganized Limited Partnership Agreement.

          The Reorganized Limited Partnership Agreement does not provide for, and specifically
  disclaims, the indemnification obligations under the Limited Partnership Agreement, including
  any such indemnification obligations that accrued or arose or could have been brought prior to
  the Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
  accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
  Claims resolution process provided that a Claim is properly filed in accordance with the
  Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
  the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
  indemnification Claims.

         4.             Management of the Reorganized Debtor

           Subject to and consistent with the terms of the Reorganized Limited Partnership
  Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
  initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
  Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
  or in lieu of the retention of officers and employees.

           As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
  receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
  liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
  GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
  on a standalone basis, which may reduce the return to Claimants.




                                                 33

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 40 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 241 of 783 PageID 6662



         5.              Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in this Plan or the Confirmation Order, on or after the
  Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
  of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
  Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
  that are specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
  for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
  the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
  the Reorganized Debtor Assets.

         6.              Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
  Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
  include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
  and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
  Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
  Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
  Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

          Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
  after the Effective Date for Professionals’ fees, disbursements, expenses or related support
  services (including reasonable fees relating to the preparation of Professional fee applications) in
  the ordinary course of business and without application or notice to, or order of, the Bankruptcy
  Court.

         7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                 Reorganized Debtor Assets

          Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
  Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
  Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
  Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
  Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
  down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust
  will be (i) deemed transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant
  Trust Assets, and (iii) administered as Claimant Trust Assets.

  D.     Company Action

          Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
  any and all actions to execute, deliver, File or record such contracts, instruments, releases and
  other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate and implement the provisions of this Plan, the Claimant Trust Agreement, the
  Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 41 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 242 of 783 PageID 6663



  the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
  and in each case without further notice to or order of the Bankruptcy Court, act or action under
  applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, officers, or directors of the Debtor or the
  Reorganized Debtor, as applicable, or by any other Person.

          Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
  to this Plan that would otherwise require approval of the stockholders, partners, directors,
  managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
  the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
  after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
  of further action by the stockholders, partners, directors, managers or members of such Persons,
  or the need for any approvals, authorizations, actions or consents of any Person.

          All matters provided for in this Plan involving the legal or corporate structure of the
  Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
  action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
  connection with this Plan, will be deemed to have occurred and will be in full force and effect in
  all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, partners, directors, managers, or members of
  the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
  On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
  applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
  transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
  consents, securities, certificates, resolutions and instruments contemplated by or described in this
  Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
  Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
  Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
  actions.

  E.     Release of Liens, Claims and Equity Interests

          Except as otherwise provided in the Plan or in any contract, instrument, release or other
  agreement or document entered into or delivered in connection with the Plan, from and after the
  Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
  Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
  property of the Estate will be fully released, terminated, extinguished and discharged, in each
  case without further notice to or order of the Bankruptcy Court, act or action under applicable
  law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
  Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
  pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
  the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
  release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
  the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 42 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 243 of 783 PageID 6664



  doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE
  IV.C.2.

  F.     Cancellation of Notes, Certificates and Instruments

          Except for the purpose of evidencing a right to a distribution under this Plan and except
  as otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities
  and other documents evidencing any prepetition Claim or Equity Interest and any rights of any
  Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
  holders of or parties to such cancelled instruments, Securities, and other documentation will have
  no rights arising from or related to such instruments, Securities, or other documentation or the
  cancellation thereof, except the rights provided for pursuant to this Plan, and the obligations of
  the Debtor thereunder or in any way related thereto will be fully released, terminated,
  extinguished and discharged, in each case without further notice to or order of the Bankruptcy
  Court, act or action under applicable law, regulation, order, or rule or any requirement of further
  action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
  section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

  G.     Cancellation of Existing Instruments Governing Security Interests

          Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
  promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
  to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
  other property of the Debtor held by such Holder, together with any termination statements,
  instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
  or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
  statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
  documents.

  H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the
  Claimant Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized
  Limited Partnership Agreement, this Plan shall control.

  I.     Treatment of Vacant Classes

         Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
  Plan shall receive no Plan Distributions.

  J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any
  documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
  other modifications to such documents, and any consents, waivers, or other deviations under or
  from any such documents, shall be incorporated herein by this reference (including to the
  applicable definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 43 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 244 of 783 PageID 6665



         The Debtor and the Committee are currently working to finalize the forms of certain of
  the Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
  Committee cannot agree as to the form and content of such Plan Documents, they intend to
  submit the issue to non-binding mediation pursuant to the Order Directing Mediation entered on
  August 3, 2020 [D.I. 912].

  K.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
  the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
  members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
  1301(a)(13), (14) with respect to the Pension Plan.

           Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
  Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
  or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
  Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
  responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
  regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
  enforcing such liability or responsibility against any person or entity as a result of any of the
  provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
  the right to contest any such liability or responsibility.

                              ARTICLE V.
          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
         Leases

          Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
  rejected by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously
  expired or terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the
  subject of a motion to assume filed by the Debtor on or before the Confirmation Date; (iv)
  contains a change of control or similar provision that would be triggered by the Chapter 11 Case
  (unless such provision has been irrevocably waived); or (v) is specifically designated as a

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 44 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 245 of 783 PageID 6666



  contract or lease to be assumed in the Plan or the Plan Supplement, on the Confirmation Date,
  each Executory Contract and Unexpired Lease shall be deemed rejected pursuant to section 365
  of the Bankruptcy Code, without the need for any further notice to or action, order, or approval
  of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease is listed in the Plan
  Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
  Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
  or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
  determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
  applicable.

          The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
  provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
  Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto.
  Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
  and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
  not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
  validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
  applicable, no change of control (or similar provision) will be deemed to occur under any such
  Executory Contract or Unexpired Lease.

           If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
  Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
  such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
  pursuant to the Plan are severable agreements that are not integrated with those Executory
  Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
  to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
  file a timely objection to the Plan on the grounds that their agreements are integrated and not
  severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
  Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).

          Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
  certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
  headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
  accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
  as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
  Unexpired Nonresidential Real Property Lease [Docket No. 1122].

  B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
  Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
  asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
  Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 45 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 246 of 783 PageID 6667



  and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
  objection to any Rejection Claim.

         Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
  accordance with ARTICLE III of this Plan.

  C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
         Leases

          Any monetary amounts by which any Executory Contract or Unexpired Lease to be
  assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
  Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
  default amount in Cash as and when due in the ordinary course or on such other terms as the
  parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
  Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
  reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
  Contract or Unexpired Lease in connection with this Plan and setting forth the proposed cure
  amount (if any).

         If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
  the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
  performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
  Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
  assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
  Code will be made following the entry of a Final Order or orders resolving the dispute and
  approving the assumption or assignment.

          Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
  Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE
  V.C shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
  whether monetary or nonmonetary, including defaults of provisions restricting the change in
  control or ownership interest composition or other bankruptcy-related defaults, arising under any
  assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
  date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts
  or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
  pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
  pursuant to this ARTICLE V.C, shall be deemed disallowed and expunged as of the
  Confirmation Date without the need for any objection thereto or any further notice to or action,
  order, or approval of the Bankruptcy Court.

                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

  A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
  practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
  Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 46 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 247 of 783 PageID 6668



  Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
  Equity Interest against the Debtor shall receive the full amount of the distributions that this Plan
  provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
  manner provided herein. If any payment or act under this Plan is required to be made or
  performed on a date that is not on a Business Day, then the making of such payment or the
  performance of such act may be completed on the next succeeding Business Day, but shall be
  deemed to have been completed as of the required date. If and to the extent there are Disputed
  Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
  Interests shall be made pursuant to the provisions provided in this Plan. Except as otherwise
  provided in this Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
  dividends or accruals on the distributions provided for therein, regardless of whether
  distributions are delivered on or at any time after the Effective Date.

          Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
  deemed fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor,
  or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
  set forth in this Plan and in the Confirmation Order. All payments and all distributions made by
  the Distribution Agent under this Plan shall be in full and final satisfaction, settlement and
  release of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

          At the close of business on the Distribution Record Date, the transfer ledgers for the
  Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
  be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
  Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
  agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
  against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
  and shall be entitled instead to recognize and deal for all purposes hereunder with only those
  record holders stated on the transfer ledgers as of the close of business on the Distribution
  Record Date irrespective of the number of distributions to be made under this Plan to such
  Persons or the date of such distributions.

  B.     Distribution Agent

         Except as provided herein, all distributions under this Plan shall be made by the Claimant
  Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
  Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
  Distribution Agent with respect to Claims in Class 1 through Class 7.

         The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
  Distribution Agent, shall not be required to give any bond or surety or other security for the
  performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
  Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
  agreements, instruments, and other documents necessary to perform its duties under this Plan;
  (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
  respect to its responsibilities; and (d) exercise such other powers as may be vested in the

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 47 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 248 of 783 PageID 6669



  Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
  Distribution Agent to be necessary and proper to implement the provisions hereof.

          The Distribution Agent shall not have any obligation to make a particular distribution to a
  specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

  C.     Cash Distributions

         Distributions of Cash may be made by wire transfer from a domestic bank, except that
  Cash payments made to foreign creditors may be made in such funds and by such means as the
  Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

  D.     Disputed Claims Reserve

         On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
  maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
  on account of any Disputed Claims.

  E.     Distributions from the Disputed Claims Reserve

          The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
  Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
  pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
  becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall
  distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
  Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
  Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
  becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
  If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
  such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

  F.     Rounding of Payments

          Whenever this Plan would otherwise call for, with respect to a particular Person, payment
  of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
  fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
  extent that Cash to be distributed under this Plan remains undistributed as a result of the
  aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under this
  Plan.

  G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
  the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
  Distributions with a value of less than $100, unless a written request therefor is received by the
  Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
  within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
  Allowed Claim. De minimis distributions for which no such request is timely received shall
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 48 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 249 of 783 PageID 6670



  revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
  on account of missed distributions) shall be automatically deemed satisfied, discharged and
  forever barred, notwithstanding any federal or state escheat laws to the contrary.

  H.     Distributions on Account of Allowed Claims

         Except as otherwise agreed by the Holder of a particular Claim or as provided in this
  Plan, all distributions shall be made pursuant to the terms of this Plan and the Confirmation
  Order. Except as otherwise provided in this Plan, distributions to any Holder of an Allowed
  Claim shall, to the extent applicable, be allocated first to the principal amount of any such
  Allowed Claim, as determined for U.S. federal income tax purposes and then, to the extent the
  consideration exceeds such amount, to the remainder of such Claim comprising accrued but
  unpaid interest, if any (but solely to the extent that interest is an allowable portion of such
  Allowed Claim).

  I.     General Distribution Procedures

          The Distribution Agent shall make all distributions of Cash or other property required
  under this Plan, unless this Plan specifically provides otherwise. All Cash and other property
  held by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
  distribution under this Plan shall not be subject to any claim by any Person.

  J.     Address for Delivery of Distributions

          Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
  shall be made (1) at the addresses set forth in any written notices of address change delivered to
  the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
  by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
  at the addresses in the Debtor’s books and records.

          If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
  the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
  the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

  K.     Undeliverable Distributions and Unclaimed Property

          If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
  Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
  Holder, and Distribution Agent shall not have any obligation to make any further distribution to
  the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
  current address.

          Any Entity that fails to claim any Cash within six months from the date upon which a
  distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
  and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
  purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
  whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
  any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 49 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 250 of 783 PageID 6671



  L.     Withholding Taxes

          In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
  with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
  and all distributions made pursuant to this Plan shall be subject to such withholding and
  reporting requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state
  or local withholding taxes from any Cash payments made with respect to Allowed Claims, as
  appropriate. As a condition to receiving any distribution under this Plan, the Distribution Agent
  may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to
  this Plan provide such Holder’s taxpayer identification number and such other information and
  certification as may be deemed necessary for the Distribution Agent to comply with applicable
  tax reporting and withholding laws. If a Holder fails to comply with such a request within one
  year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
  pursuant hereto shall be deemed to have been distributed to and received by the applicable
  recipient for all purposes of this Plan.

  M.     Setoffs

          The Distribution Agent may, to the extent permitted under applicable law, set off against
  any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
  Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
  Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
  Claim that are not otherwise waived, released or compromised in accordance with this Plan;
  provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
  constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
  any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
  Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to
  such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
  court with jurisdiction with respect to such challenge.

  N.     Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to this Plan on account of
  an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
  ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
  instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
  negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
  have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

  O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
  Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
  mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
  by this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
  Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
  indemnity as may be required by the Distribution Agent to hold such party harmless from any

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 50 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 251 of 783 PageID 6672



  damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
  Claim or Equity Interest. Upon compliance with ARTICLE VI.O of this Plan as determined by
  the Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will,
  for all purposes under this Plan, be deemed to have surrendered such security or note to the
  Distribution Agent.

                                  ARTICLE VII.
                       PROCEDURES FOR RESOLVING CONTINGENT,
                         UNLIQUIDATED AND DISPUTED CLAIMS

  A.     Filing of Proofs of Claim

         Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
  unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
  required to file a Proof of Claim on or prior to the Bar Date.

  B.     Disputed Claims

          Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
  applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
  Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
  Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to
  the foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor
  or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further
  order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
  Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw
  any objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
  without further notice to creditors (other than the Entity holding such Disputed Claim or
  Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or
  Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount
  compromised for purposes of this Plan.

  C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

          No payment or other distribution or treatment shall be made on account of a Disputed
  Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
  Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
  or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
  stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
  the Claim or Equity Interest.

  D.     Allowance of Claims and Equity Interests

          Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
  Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
  distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 51 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 252 of 783 PageID 6673



         1.      Allowance of Claims

          After the Effective Date and subject to the other provisions of this Plan, the Reorganized
  Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
  defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
  Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
  the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
  Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
  Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
  entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
  allowing such Claim or Equity Interest.

         2.      Estimation

           Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and
  the Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at
  any time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
  Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
  unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
  the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
  and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
  unliquidated Claim, including during the litigation concerning any objection to any Claim or
  Equity Interest or during the pendency of any appeal relating to any such objection. All of the
  aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
  of one another. Claims or Equity Interests may be estimated and subsequently compromised,
  settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
  and objections of all parties are reserved in connection with any such estimation proceeding.

         3.      Disallowance of Claims

          Any Claims or Equity Interests held by Entities from which property is recoverable under
  sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
  avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
  Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
  holders of such Claims or Interests may not receive any distributions on account of such Claims
  or Interests until such time as such Causes of Action against that Entity have been settled or a
  Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
  Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
  paid to the Reorganized Debtor or the Claimant Trust, as applicable.

       EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
  DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
  ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
  DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
  WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
  THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
  RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 52 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 253 of 783 PageID 6674



  LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
  ORDER.

                                      ARTICLE VIII.
                                 EFFECTIVENESS OF THIS PLAN

  A.     Conditions Precedent to the Effective Date

         The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
  ARTICLE VIII.B of this Plan of the following:

         •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
             Reorganized Limited Partnership Agreement, and all schedules, documents,
             supplements and exhibits to this Plan shall have been Filed in form and substance
             reasonably acceptable to the Debtor and the Committee.

         •   The Confirmation Order shall have become a Final Order and shall be in form and
             substance reasonably acceptable to the Debtor and the Committee. The Confirmation
             Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
             the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
             necessary or appropriate to effectuate and consummate this Plan, including, without
             limitation, (a) entering into, implementing, effectuating, and consummating the
             contracts, instruments, releases, and other agreements or documents created in
             connection with or described in this Plan, (b) assuming the Executory Contracts and
             Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
             issuances as required under this Plan; and (d) entering into any transactions as set
             forth in the Plan Documents; (ii) the provisions of the Confirmation Order and this
             Plan are nonseverable and mutually dependent; (iii) the implementation of this Plan in
             accordance with its terms is authorized; (iv) pursuant to section 1146 of the
             Bankruptcy Code, the delivery of any deed or other instrument or transfer order, in
             furtherance of, or in connection with this Plan, including any deeds, bills of sale, or
             assignments executed in connection with any disposition or transfer of Assets
             contemplated under this Plan, shall not be subject to any Stamp or Similar Tax; and
             (v) the vesting of the Claimant Trust Assets in the Claimant Trust and the
             Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
             Effective Date free and clear of liens and claims to the fullest extent permissible
             under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
             respect to such Liens, Claims, charges and other encumbrances that are specifically
             preserved under this Plan upon the Effective Date.

         •   All documents and agreements necessary to implement this Plan, including without
             limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
             Agreement, and the New GP LLC Documents, in each case in form and substance
             reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
             for delivery, and (b) been effected by, executed by, or otherwise deemed binding
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 53 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 254 of 783 PageID 6675



             upon, all Entities party thereto and shall be in full force and effect. All conditions
             precedent to such documents and agreements shall have been satisfied or waived
             pursuant to the terms of such documents or agreements.

         •   All authorizations, consents, actions, documents, approvals (including any
             governmental approvals), certificates and agreements necessary to implement this
             Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
             the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
             obtained, effected or executed and delivered to the required parties and, to the extent
             required, filed with the applicable governmental units in accordance with applicable
             laws and any applicable waiting periods shall have expired without any action being
             taken or threatened by any competent authority that would restrain or prevent
             effectiveness or consummation of the Restructuring.

         •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
             that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
             Committee, the Claimant Trustee and the Litigation Trustee.

         •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
             determined by the Debtor in good faith.

  B.     Waiver of Conditions

          The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than
  that the Confirmation Order shall have been entered) may be waived in whole or in part by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee) and any applicable parties in Section VII.A of this Plan, without notice, leave or
  order of the Bankruptcy Court or any formal action other than proceeding to confirm or
  effectuate this Plan. The failure to satisfy or waive a condition to the Effective Date may be
  asserted by the Debtor regardless of the circumstances giving rise to the failure of such condition
  to be satisfied. The failure of the Debtor to exercise any of the foregoing rights will not be
  deemed a waiver of any other rights, and each right will be deemed an ongoing right that may be
  asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable.

  C.     Dissolution of the Committee

          On the Effective Date, the Committee will dissolve, and the members of the Committee
  and the Committee’s Professionals will cease to have any role arising from or relating to the
  Chapter 11 Case, except in connection with final fee applications of Professionals for services
  rendered prior to the Effective Date (including the right to object thereto). The Professionals
  retained by the Committee and the members thereof will not be entitled to assert any fee claims
  for any services rendered to the Committee or expenses incurred in the service of the Committee
  after the Effective Date, except for reasonable fees for services rendered, and actual and
  necessary costs incurred, in connection with any applications for allowance of Professional Fees
  pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
  Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 54 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 255 of 783 PageID 6676



  Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
  and the Claimant Trust Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

  A.     General

          Notwithstanding anything contained in the Plan to the contrary, the allowance,
  classification and treatment of all Allowed Claims and Equity Interests and their respective
  distributions and treatments under the Plan shall take into account the relative priority and rights
  of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
  equitable subordination rights relating thereto whether arising under general principles of
  equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

  B.     Discharge of Claims

          To the fullest extent provided under section 1141(d)(1)(A) and other applicable
  provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the
  Confirmation Order, all consideration distributed under this Plan will be in exchange for, and in
  complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
  any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
  regardless of whether any property will have been distributed or retained pursuant to this Plan on
  account of such Claims or Equity Interests. Except as otherwise expressly provided by this Plan
  or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
  discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
  other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
  of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
  before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
  502(i) of the Bankruptcy Code.

  C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
  by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
  exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
  Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
  connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
  negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
  confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
  Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
  on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
  pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(iv);
  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
  Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 55 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 256 of 783 PageID 6677



  negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
  with respect to actions taken by such Entities from the date of appointment of the Independent
  Directors through the Effective Date. This exculpation shall be in addition to, and not in
  limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
  any other provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
  Parties from liability.

  D.     Releases by the Debtor

          On and after the Effective Date, each Released Party is deemed to be, hereby
  conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
  the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
  assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
  Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
  of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
  existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
  Estate would have been legally entitled to assert in their own right (whether individually or
  collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
  Person.

          Notwithstanding anything contained herein to the contrary, the foregoing release does not
  release: (i) any obligations of any party under the Plan or any document, instrument, or
  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
  to any confidentiality provisions or covenants restricting competition in favor of the Debtor
  under any employment agreement with a current or former employee of the Debtor, (iv) any
  Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal
  misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
  Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
  ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
  Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
  (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
  Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
  Employee, including a Senior Employee, shall be deemed null and void and of no force and
  effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
  not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
  Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
  one Independent Member, the Independent Member after discussion with the Claimant Trustee,
  determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
  such Employee (regardless of whether the Employee is then currently employed by the Debtor,
  the Reorganized Debtor, or the Claimant Trustee):

         •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
             attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation


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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 56 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 257 of 783 PageID 6678



              Sub-Trust, or any of their respective employees or agents, or any Released Party on or
              in connection with any claim or cause of action arising prior to the Effective Date,

         •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
              the Reorganized Debtor Assets, or

         •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable
              assistance in good faith to the Claimant Trustee or the Reorganized Debtor with
              respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
              Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
              impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
              any of the foregoing.

  Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
  Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
  release has not been deemed null and void and of no force and effect on or prior to the date that
  is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

          By executing the Senior Employee Stipulation embodying this release, each Senior
  Employee acknowledges and agrees, without limitation, to the terms of this release and the
  tolling agreement contained in the Senior Employee Stipulation.

         The provisions of this release and the execution of a Senior Employee Stipulation will not
  in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
  Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
  against the Employee by a third party, or (iii) assisting other persons in defending themselves
  from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims
  brought by the Litigation Trustee and not collection or other actions brought by the Claimant
  Trustee).

  E.     Preservation of Rights of Action

         1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized
  Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
  appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
  Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
  court or other tribunal including, without limitation, in an adversary proceeding Filed in the
  Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
  have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
  do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
  Bankruptcy Court.

         2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
  is expressly waived, relinquished, released, compromised or settled in this Plan or any Final
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 57 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 258 of 783 PageID 6679



  Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
  reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
  (including, without limitation, Causes of Action not specifically identified or of which the
  Debtor may presently be unaware or that may arise or exist by reason of additional facts or
  circumstances unknown to the Debtor at this time or facts or circumstances that may change or
  be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
  including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
  claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
  Causes of Action as a consequence of the confirmation, effectiveness, or consummation of this
  Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where such
  Causes of Action have been expressly released in this Plan or any other Final Order (including,
  without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
  the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
  plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

  F.     Injunction

         Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
  permanently enjoined, on and after the Effective Date, from taking any actions to interfere
  with the implementation or consummation of the Plan.

          Except as expressly provided in the Plan, the Confirmation Order, or a separate
  order of the Bankruptcy Court, all Enjoined Parties are and shall be permanently
  enjoined, on and after the Effective Date, with respect to any Claims and Equity Interests,
  from directly or indirectly (i) commencing, conducting, or continuing in any manner any
  suit, action, or other proceeding of any kind (including any proceeding in a judicial,
  arbitral, administrative or other forum) against or affecting the Debtor or the property of
  the Debtor, (ii) enforcing, levying, attaching (including any prejudgment attachment),
  collecting, or otherwise recovering, enforcing, or attempting to recover or enforce, by any
  manner or means, any judgment, award, decree, or order against the Debtor or the
  property of the Debtor, (iii) creating, perfecting, or otherwise enforcing in any manner, any
  security interest, lien or encumbrance of any kind against the Debtor or the property of the
  Debtor, (iv) asserting any right of setoff, directly or indirectly, against any obligation due to
  the Debtor or against property or interests in property of the Debtor, except to the limited
  extent permitted under Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or
  proceeding in any manner, in any place whatsoever, that does not conform to or comply
  with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
  forth in any of clauses (i)-(v) of the immediately preceding paragraph against any
  successors of the Debtor, including, but not limited to, the Reorganized Debtor, the
  Litigation Sub-Trust, and the Claimant Trust and their respective property and interests in
  property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
  pursue a claim or cause of action of any kind against any Protected Party that arose or
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 58 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 259 of 783 PageID 6680



  arises from or is related to the Chapter 11 Case, the negotiation of the Plan, the
  administration of the Plan or property to be distributed under the Plan, the wind down of
  the business of the Debtor or Reorganized Debtor, the administration of the Claimant
  Trust or the Litigation Sub-Trust, or the transactions in furtherance of the foregoing
  without the Bankruptcy Court (i) first determining, after notice and a hearing, that such
  claim or cause of action represents a colorable claim of any kind, including, but not limited
  to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross
  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party
  to bring such claim or cause of action against any such Protected Party; provided, however,
  the foregoing will not apply to a claim or cause of action against Strand or against any
  Employee other than with respect to actions taken, respectively, by Strand or by such
  Employee from the date of appointment of the Independent Directors through the Effective
  Date. The Bankruptcy Court will have sole and exclusive jurisdiction to determine
  whether a claim or cause of action is colorable and, only to the extent legally permissible
  and as provided for in ARTICLE XI, shall have jurisdiction to adjudicate the underlying
  colorable claim or cause of action.

  G.     Duration of Injunctions and Stays

          ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
  in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
  Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
  effect in accordance with their terms; and (ii) the automatic stay arising under section 362
  of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
  Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge,
  the Court will enter an equivalent order under Section 105.

  H.     Continuance of January 9 Order

         Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
  the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
  Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
  January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                         ARTICLE X.
                                    BINDING NATURE OF PLAN

          On the Effective Date, and effective as of the Effective Date, the Plan, including, without
  limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all
  Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
  successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
  whether or not such Holder will receive or retain any property or interest in property under the
  Plan. All Claims and Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also
  bind any taxing authority, recorder of deeds, or similar official for any county, state,

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 59 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 260 of 783 PageID 6681



  Governmental Unit or parish in which any instrument related to the Plan or related to any
  transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
  in Bankruptcy Code section 1146(a).

                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

          Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
  of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
  after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
  respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
  and this Plan to the maximum extent legally permissible, including, without limitation,
  jurisdiction to:

         •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
             secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
             without limitation, the resolution of any request for payment of any Administrative
             Expense Claim and the resolution of any and all objections to the allowance or
             priority of any Claim or Equity Interest;

         •   grant or deny any applications for allowance of compensation or reimbursement of
             expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
             on or before the Effective Date; provided, however, that, from and after the Effective
             Date, the Reorganized Debtor shall pay Professionals in the ordinary course of
             business for any work performed after the Effective Date subject to the terms of this
             Plan and the Confirmation Order, and such payment shall not be subject to the
             approval of the Bankruptcy Court;

         •   resolve any matters related to the assumption, assignment or rejection of any
             Executory Contract or Unexpired Lease to which the Debtor is party or with respect
             to which the Debtor, Reorganized Debtor, or Claimant Trust may be liable and to
             adjudicate and, if necessary, liquidate, any Claims arising therefrom, including,
             without limitation, any dispute regarding whether a contract or lease is or was
             executory or expired;

         •   make any determination with respect to a claim or cause of action against a Protected
             Party as set forth in ARTICLE IX;

         •   resolve any claim or cause of action against an Exculpated Party or Protected Party
             arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
             administration of the Plan or property to be distributed under the Plan, the wind down
             of the business of the Debtor or Reorganized Debtor, or the transactions in
             furtherance of the foregoing;

         •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
             and allow any sale, disposition, assignment or other transfer of the Reorganized
             Debtor Assets or Claimant Trust Assets, including any break-up compensation or
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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 60 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 261 of 783 PageID 6682



            expense reimbursement that may be requested by a purchaser thereof; provided,
            however, that neither the Reorganized Debtor nor the Claimant Trustee shall be
            required to seek such authority or approval from the Bankruptcy Court unless
            otherwise specifically required by this Plan or the Confirmation Order;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any borrowing or the incurrence of indebtedness, whether secured or
            unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek
            such authority or approval from the Bankruptcy Court unless otherwise specifically
            required by this Plan or the Confirmation Order;

        •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

        •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
            are accomplished pursuant to the provisions of this Plan;

        •   decide or resolve any motions, adversary proceedings, contested or litigated matters
            and any other Causes of Action (including Estate Claims) that are pending as of the
            Effective Date or that may be commenced in the future, including approval of any
            settlements, compromises, or other resolutions as may be requested by the Debtor, the
            Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
            Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
            Debtor that may be pending on the Effective Date or instituted by the Reorganized
            Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
            that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
            reserve the right to commence actions in all appropriate forums and jurisdictions;

        •   enter such orders as may be necessary or appropriate to implement, effectuate, or
            consummate the provisions of this Plan, the Plan Documents, and all other contracts,
            instruments, releases, and other agreements or documents adopted in connection with
            this Plan, the Plan Documents, or the Disclosure Statement;

        •   resolve any cases, controversies, suits or disputes that may arise in connection with
            the implementation, effectiveness, consummation, interpretation, or enforcement of
            this Plan or any Entity’s obligations incurred in connection with this Plan;

        •   issue injunctions and enforce them, enter and implement other orders or take such
            other actions as may be necessary or appropriate to restrain interference by any Entity
            with implementation, effectiveness, consummation, or enforcement of this Plan,
            except as otherwise provided in this Plan;

        •   enforce the terms and conditions of this Plan and the Confirmation Order;

        •   resolve any cases, controversies, suits or disputes with respect to the release,
            exculpation, indemnification, and other provisions contained herein and enter such


                                                54

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 61 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 262 of 783 PageID 6683



             orders or take such others actions as may be necessary or appropriate to implement or
             enforce all such releases, injunctions and other provisions;

         •   enter and implement such orders or take such others actions as may be necessary or
             appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
             vacated;

         •   resolve any other matters that may arise in connection with or relate to this Plan, the
             Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
             instrument, release, indenture or other agreement or document adopted in connection
             with this Plan or the Disclosure Statement; and

         •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                       ARTICLE XII.
                                  MISCELLANEOUS PROVISIONS

  A.     Payment of Statutory Fees and Filing of Reports

          All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
  and all such fees that become due and payable, after the Effective Date shall be paid by the
  Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
  closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
  the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
  After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
  reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
  Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S.
  Trustee until the earliest of the Debtor’s case being closed, dismissed, or converted to a case
  under chapter 7 of the Bankruptcy Code.

  B.     Modification of Plan

          Effective as of the date hereof and subject to the limitations and rights contained in this
  Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
  Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order
  with the consent of the Committee, such consent not to be unreasonably withheld; and (b) after
  the entry of the Confirmation Order, the Debtor may, after notice and hearing and entry of an
  order of the Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of
  the Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this
  Plan in such manner as may be necessary to carry out the purpose and intent of this Plan.

  C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
  Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
  revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null
  and void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
  Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
                                                    55

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 62 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 263 of 783 PageID 6684



  executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
  order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall:
  (a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the
  Debtor or any other Entity; (b) prejudice in any manner the rights of the Debtor or any other
  Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
  Debtor or any other Entity.

  D.     Obligations Not Changed

          Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
  otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
  obligations, including any contractual and indemnification obligations, to the Debtor, the
  Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

  E.     Entire Agreement

         Except as otherwise described herein, this Plan supersedes all previous and
  contemporaneous negotiations, promises, covenants, agreements, understandings, and
  representations on such subjects, all of which have become merged and integrated into this Plan.

  F.     Closing of Chapter 11 Case

         The Claimant Trustee shall, after the Effective Date and promptly after the full
  administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
  Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
  Case.

  G.     Successors and Assigns

          This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
  and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee.
  The rights, benefits, and obligations of any Person or Entity named or referred to in this Plan
  shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor,
  or assign of such Person or Entity.

  H.     Reservation of Rights

           Except as expressly set forth herein, this Plan shall have no force or effect unless and
  until the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither
  the filing of this Plan, any statement or provision contained herein, nor the taking of any action
  by the Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to
  this Plan shall be or shall be deemed to be an admission or waiver of any rights of: (1) the
  Debtor, the Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims
  or Equity Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other
  Entity prior to the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
  schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this
                                                   56

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 63 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 264 of 783 PageID 6685



  Plan, will constitute an admission by the Debtor that any such contract or lease is or is not an
  executory contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or
  their respective Affiliates has any liability thereunder.

         Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
  diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
  Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
  contract.

         Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
  responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
  applicable, under any executory or non-executory contract or lease.

           If there is a dispute regarding whether a contract or lease is or was executory at the time
  of its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee,
  as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
  to alter their treatment of such contract.

  I.     Further Assurances

          The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders
  of Claims and Equity Interests receiving distributions hereunder, and all other Entities shall,
  from time to time, prepare, execute and deliver any agreements or documents and take any other
  actions as may be necessary or advisable to effectuate the provisions and intent of this Plan or
  the Confirmation Order. On or before the Effective Date, the Debtor shall File with the
  Bankruptcy Court all agreements and other documents that may be necessary or appropriate to
  effectuate and further evidence the terms and conditions hereof.

  J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
  Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
  power to alter and interpret such term or provision to make it valid or enforceable to the
  maximum extent practicable, consistent with the original purpose of the term or provision held to
  be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
  or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
  the terms and provisions of this Plan will remain in full force and effect and will in no way be
  affected, impaired, or invalidated by such holding, alteration, or interpretation.             The
  Confirmation Order will constitute a judicial determination and will provide that each term and
  provision of this Plan, as it may have been altered or interpreted in accordance with the
  foregoing, is valid and enforceable pursuant to its terms.

  K.     Service of Documents

          All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
  Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
  herein, shall be deemed to have been duly given or made when actually delivered addressed as
  follows:
                                                 57

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 64 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 265 of 783 PageID 6686



                 If to the Claimant Trust:

                 Highland Claimant Trust
                 c/o Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 If to the Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Telephone: (310) 277-6910
                 Facsimile: (310) 201-0760
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

                 If to the Reorganized Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.
                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

  L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
         Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
  Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
  or governmental assessment in the United States, and the Confirmation Order shall direct the
  appropriate federal, state or local governmental officials or agents or taxing authority to forego
                                                 58

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 65 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 266 of 783 PageID 6687



  the collection of any such Stamp or Similar Tax or governmental assessment and to accept for
  filing and recordation instruments or other documents pursuant to such transfers of property
  without the payment of any such Stamp or Similar Tax or governmental assessment. Such
  exemption specifically applies, without limitation, to (i) all actions, agreements and documents
  necessary to evidence and implement the provisions of and the distributions to be made under
  this Plan; (ii) the maintenance or creation of security or any Lien as contemplated by this Plan;
  and (iii) assignments, sales, or transfers executed in connection with any transaction occurring
  under this Plan.

  M.     Governing Law

           Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
   law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise,
   the rights and obligations arising under this Plan shall be governed by, and construed and
   enforced in accordance with, the laws of Texas, without giving effect to the principles of
   conflicts of law of such jurisdiction; provided, however, that corporate governance matters
   relating to the Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as
   applicable, shall be governed by the laws of the state of organization of the Debtor, the
   Reorganized Debtor, New GP LLC, or the Claimant Trustee, as applicable.

  N.     Tax Reporting and Compliance

          The Debtor is hereby authorized to request an expedited determination under
  section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
  ending after the Petition Date through, and including, the Effective Date.

  O.     Exhibits and Schedules

       All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
  Documents, are incorporated and are a part of this Plan as if set forth in full herein.

  P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
  created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
  Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan
  Document, on the one hand, and of the Confirmation Order, on the other hand, shall be construed
  in a manner consistent with each other so as to effectuate the purposes of each; provided,
  however, that if there is determined to be any inconsistency between any provision of this Plan,
  the Disclosure Statement, and any Plan Document, on the one hand, and any provision of the
  Confirmation Order, on the other hand, that cannot be so reconciled, then, solely to the extent of
  such inconsistency, the provisions of the Confirmation Order shall govern, and any such
  provisions of the Confirmation Order shall be deemed a modification of this Plan, the Disclosure
  Statement, and the Plan Documents, as applicable.

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Case 19-34054-sgj11 Doc 1808 Filed 01/22/21 Entered 01/22/21 18:59:39 Page 66 of 66
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 267 of 783 PageID 6688




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 268 of 783 PageID 6689



                             EXHIBIT 6




                                                                   Appx.000262
Case 19-34054-sgj11 Doc 2700 Filed 08/11/21 Entered 08/11/21 14:07:35 Page 1 of 4
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 269Docket   #2700 Date Filed: 08/11/2021
                                                             of 783  PageID 6690



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Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110
Counsel for the Debtor

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                          )
    In re:                                                                )    Chapter 11
                                                                          )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                  )    Case No. 19-34054-sgj11
                                                                          )
                                              Debtor.                     )
                                                                          )

                     NOTICE OF OCCURRENCE OF EFFECTIVE DATE OF
                  CONFIRMED FIFTH AMENDED PLAN OF REORGANIZATION
                        OF HIGHLAND CAPITAL MANAGEMENT, L.P.

              PLEASE TAKE NOTICE that on February 22, 2021, the United States
Bankruptcy Court for the Northern District of Texas (the “Bankruptcy Court”) entered the Order
Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
[Docket No. 1943] (the “Confirmation Order”) confirming the Fifth Amended Plan of
Reorganization of Highland Capital Management, L.P. (as Modified) [Docket No. 1808] (as

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 270 of 783 PageID 6691



amended, supplemented, or modified, the “Plan”). Unless otherwise defined in this notice,
capitalized terms used in this notice shall have the meanings ascribed to them in the Plan and the
Confirmation Order, as applicable.

              PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan
occurred on August 11, 2021.

              PLEASE TAKE FURTHER NOTICE that, except with respect to Administrative
Expense Claims that are Professional Fee Claims or as otherwise set forth in the Plan, requests for
payment of an Administrative Expense Claim must be Filed with the Bankruptcy Court no later
than forty-five (45) days after the Effective Date (the “Administrative Expense Claims Bar
Date”). HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS THAT ARE REQUIRED
TO FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE
EXPENSE CLAIMS BY THE ADMINISTRATIVE EXPENSE CLAIMS BAR DATE
THAT DO NOT FILE AND SERVE SUCH A REQUEST BY THE ADMINISTRATIVE
EXPENSE CLAIMS BAR DATE SHALL BE FOREVER BARRED, ESTOPPED, AND
ENJOINED FROM ASSERTING SUCH ADMINISTRATIVE EXPENSE CLAIMS
AGAINST THE DEBTOR OR THE REORGANIZED DEBTOR.

               PLEASE TAKE FURTHER NOTICE that, unless otherwise ordered by the
Bankruptcy Court, all final requests for payment of Professional Fee Claims must be Filed no later
than sixty (60) days after the Effective Date.

                PLEASE TAKE FURTHER NOTICE that the terms of the Plan shall be
immediately effective and enforceable and deemed binding upon the Debtor or the Reorganized
Debtor, as applicable, and any and all Holders of Claims or Interests (regardless of whether such
Claims or Interests are deemed to have accepted or rejected the Plan), all Entities that are parties
to or are subject to the settlements, compromises, releases, and injunctions described in the Plan
and Confirmation Order, including, without limitation: the injunction with respect to the
commencement of claims and causes of action against Protected Parties set forth in Section IX.F
of the Plan and Sections AA and BB of the Confirmation Order, the duration of injunction and
stays set forth in Section IX.G of the Plan and Section AA of the Confirmation Order, and the
continuance of the January 9 Order and July 16 Order set forth in Section IX.H of the Plan and
Section CC of the Confirmation Order.

                PLEASE TAKE FURTHER NOTICE that on the Effective Date, all Class A
Limited Partnership Interests, including the Class A Limited Partnership Interests held by Strand,
as general partner, and Class B/C Limited Partnerships in the Debtor will be deemed cancelled,
and all obligations or debts owed by, or Claims against, the Debtor on account of, or based upon,
such Class A Limited Partnership Interests and Class B/C Limited Partnership Interests shall be
deemed as cancelled, released, and discharged, including all obligations or duties by the Debtor
relating to the Equity Interests in any of the Debtor’s formation documents, including the Limited
Partnership Agreement.

                PLEASE TAKE FURTHER NOTICE that the Confirmation Order and the Plan


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Case 19-34054-sgj11 Doc 2700 Filed 08/11/21 Entered 08/11/21 14:07:35 Page 3 of 4
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 271 of 783 PageID 6692



are available for inspection. If you would like to obtain copies you may: (a) access the Debtor’s
restructuring website at http://www.kccllc.net/hcmlp; (b) call toll free: (877) 573-3984 or
international: (310) 751-1829; or (c) email HighlandInfo@kccllc.com and reference “Highland”
in the subject line. You may also obtain copies of any pleadings filed in this case for a fee via
PACER at: pacer.uscourts.gov.

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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 272 of 783 PageID 6693



 Dated: August 11, 2021.            PACHULSKI STANG ZIEHL & JONES LLP

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                                    Ira D. Kharasch (CA Bar No. 109084)
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                                            gdemo@pszjlaw.com

                                    -and-

                                    HAYWARD PLLC

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                                    Counsel for the Debtor




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 273 of 783 PageID 6694



                             EXHIBIT 7




                                                                   Appx.000267
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 1 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 274Docket    #1955 Date Filed: 02/28/2021
                                                              of 783  PageID 6695


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 Facsimile: (214) 978-4375

 Counsel for Highland Capital Management Fund
 Advisors, L.P. and NexPoint Advisors, L.P.

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                       )
 In re:                                                )       Chapter 11
                                                       )
 HIGHLAND CAPITAL MANAGEMENT, L.P.                     )       Case No. 19-34054 (SGJ11)
                                                       )
          Debtor.                                      )
                                                       )
                                                       )

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF
     THE CONFIRMATION ORDER, AND BRIEF IN SUPPORT THEREOF

 TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COME NOW Highland Capital Management Fund Advisors, L.P. and NexPoint

 Advisors, L.P. (the “Movants”), creditors and parties-in-interest in the above styled and

 numbered bankruptcy case (the “Bankruptcy Case”) of Highland Capital Management, L.P.

 (the “Debtor”), and file this their Emergency Motion for Stay Pending Appeal of the

 Confirmatio Order, and Brief In Support Thereof (the “Motion”), respectfully stating as

 follows:

                                        I.      SUMMARY

          1.     The Movants respectfully request a stay of the Confirmation Order pending

 appeal in order to protect their appellate rights and ensure that, if they are successful on their


 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 1
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 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 275 of 783 PageID 6696



 appeal of the Confirmation Order, their rights will not be mooted by that time. Not only is

 there the threat of equitable mootness, but there is also a more immediate threat that, if the

 Movants cannot exercise their legitimate rights and fulfil their fiduciary obligations to the

 funds due to the Plan’s gatekeeper injunction, those rights will effectively be vitiated by the

 time of any final resolution of the appeal. A stay pending appeal would not harm the Debtor

 or the creditors because the Plan does not give the Debtor any tools or ability to manage its

 assets any more or better than it has at present; the Debtor will continue doing what it is doing

 today, albeit through a different corporate form, but will not receive any new money, exit

 financing, or other assets under the Plan. Thus, while the absence of a stay pending appeal

 may well irreparably harm the legitimate interests of the Movants, no legitimate interest of the

 Debtor will be implicated or harmed.

        2.      The Movants submit that they have a likelihood of success on the merits of

 their appeal. The issues being appealed with respect to: (i) the Absolute Priority Rule; (ii)

 satisfaction of section 1129(a)(2) of the Bankruptcy Code; and (iii) the confirmed plan’s

 exculpation and injunction provisions are all legal issues reviewed de novo. While the Court

 has overruled the Movants’ objections to the Plan on these bases, an objective analysis of

 these issues demonstrates that they are subject to material dispute and that the Movants have a

 reasonable likelihood of success on the merits. The public interest supports a stay because the

 Advisors, those whose money the Debtor manages, and the public at large all have a strong

 interest in ensuring that the Debtor complies with its contractual, fiduciary, and statutory

 obligations to its investors. And, because the Plan does not afford the Debtor any tools to

 manage its business and monetize its assets, any bond for the stay pending appeal should not

 be punitive but should instead compensate for the time value of money at the federal

 postjudgment interest rate.

 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 2                            Appx.000269
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 3 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 276 of 783 PageID 6697



                                      II.   BACKGROUND

        3.     On February 22, 2021, the Court entered its Order (i) Confirming the Fifth

 Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and

 (ii) Granting Related Relief [docket no. 1943] (the “Confirmation Order”).

        4.     By the Confirmation Order, and over the Movants’ objections, the Court

 confirmed the Debtor’s Fifth Amended Plan of Reorganization of Highland Capital

 Management, L.P. (as Modified) [docket no. 1808], as further modified (the “Plan”).

        5.     The Movants, although controlled by James Dondero, advise and manage

 various funds and investment vehicles including, of relevance to this Bankruptcy Case,

 various publicly traded retail funds. The Movants are registered as investment advisors under

 the Investment Advisors Act of 1940. The Movants have fiduciary duties to the funds and

 other investment vehicles they advise and manage.

        6.     Three of these retail funds managed by the Advisors are Highland Income

 Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. In turn, these funds

 have invested approximately $140 million in various collateralized loan obligations (“CLOs”)

 managed by the Debtor pursuant to portfolio management agreements (the “Portfolio

 Management Agreements”). Under most of the Portfolio Management Agreements, defined

 “cause” is required to remove the Debtor as manager of the CLOs, but in a handful such

 removal is possible without cause.

        7.       Under at least three of the Portfolio Management Agreements, these funds

 have the right to remove the Debtor as the manager of the CLOs, because these funds hold the

 requisite percentage of shares under the agreements to remove the CLO manager. There are

 various other CLOs where the funds do not hold the requisite percentage of shares to remove

 the Debtor as manager unilaterally, but are able to vote their shares to remove the Debtor as

 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 3                            Appx.000270
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 4 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 277 of 783 PageID 6698



 manager if other preference shareholders join in such removal and, collectively, the

 contractual threshold of voting preference shares for removal is met.

        8.      As the Advisors have informed the Court (and as the funds have also informed

 the Court), they do not believe that the Debtor is properly managing more than $1 billion

 invested in the CLOs because the Debtor, in contravention of the Advisors’ and funds’ stated

 objectives otherwise, has been liquidating the CLOs even though they do not need liquidity,

 and will liquidate the CLOs in approximately 18 to 24 months. The Advisors recognize that

 the Court did not agree with these concerns. Nevertheless, the Advisors submit that these are

 legitimate concerns motivated by business interests and not by any desire to harm the Debtor.

        9.      The Plan contains various exculpation, release, and injunction provisions that

 are of particular concern to the Advisors. Article IX of the Plan contains the following

 exculpation provision (the “Exculpation Provision”):

        C.      Exculpation

                 Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
        extent permitted by applicable law, no Exculpated Party will have or incur, and
        each Exculpated Party is hereby exculpated from, any claim, obligation, suit,
        judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and
        liability for conduct occurring on or after the Petition Date in connection with
        or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
        negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation
        of votes for, or confirmation of, the Plan; (iii) the funding or consummation of
        the Plan (including the Plan Supplement) or any related agreements,
        instruments, or other documents, the solicitation of votes on the Plan, the offer,
        issuance, and Plan Distribution of any securities issued or to be issued pursuant
        to the Plan, including the Claimant Trust Interests, whether or not such Plan
        Distributions occur following the Effective Date; (iv) the implementation of
        the Plan; and (v) any negotiations, transactions, and documentation in
        connection with the foregoing clauses (i)-(iv); provided, however, the
        foregoing will not apply to (a) any acts or omissions of an Exculpated Party
        arising out of or related to acts or omissions that constitute bad faith, fraud,
        gross negligence, criminal misconduct, or willful misconduct or (b) Strand or
        any Employee other than with respect to actions taken by such Entities from
        the date of appointment of the Independent Directors through the Effective
        Date. This exculpation shall be in addition to, and not in limitation of, all other

 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 4                            Appx.000271
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 5 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 278 of 783 PageID 6699



        releases, indemnities, exculpations, any other applicable law or rules, or any
        other provisions of this Plan, including ARTICLE IV.C.2, protecting such
        Exculpated Parties from liability.

 Plan at 54-55. “Exculpated Parties,” in turn, means, collectively:

        (i) the Debtor and its successors and assigns, direct and indirect majority-
        owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii) Strand,
        (iv) the Independent Directors, (v) the Committee, (vi) the members of the
        Committee (in their official capacities), (vii) the Professionals retained by the
        Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and
        (ix) the Related Persons of each of the parties listed in (iv) through (viii);
        provided, however, that, for the avoidance of doubt, none of James Dondero,
        Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and managed
        entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
        including CLO Holdco, Ltd., and managed entities), Highland CLO Funding,
        Ltd. (and any of its subsidiaries, members, and managed entities), Highland
        Capital Management Fund Advisors, L.P. (and any of its subsidiaries and
        managed entities), NexBank, SSB (and any of its subsidiaries), the Hunter
        Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy
        Investment Trust (or any trustee acting for the trust), or Grant Scott is included
        in the term “Exculpated Party.”

 Plan at 15.

        10.     Article IX of the Plan also contains an injunction provision (the “Injunction”),

 which provides, in pertinent part, as follows:

        F.      Injunction

                Upon entry of the Confirmation Order, all Enjoined Parties are and
        shall be permanently enjoined, on and after the Effective Date, from taking any
        actions to interfere with the implementation or consummation of the Plan.

                ....

                Subject in all respects to ARTICLE XII.D, no Enjoined Party may
        commence or pursue a claim or cause of action of any kind against any
        Protected Party that arose or arises from or is related to the Chapter 11 Case,
        the negotiation of the Plan, the administration of the Plan or property to be
        distributed under the Plan, the wind down of the business of the Debtor or
        Reorganized Debtor, the administration of the Claimant Trust or the Litigation
        Sub-Trust, or the transactions in furtherance of the foregoing without the
        Bankruptcy Court (i) first determining, after notice and a hearing, that such
        claim or cause of action represents a colorable claim of any kind, including, but
        not limited to, negligence, bad faith, criminal misconduct, willful misconduct,

 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 5                            Appx.000272
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 6 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 279 of 783 PageID 6700



        fraud, or gross negligence against a Protected Party and (ii) specifically
        authorizing such Enjoined Party to bring such claim or cause of action against
        any such Protected Party; provided, however, the foregoing will not apply to a
        claim or cause of action against Strand or against any Employee other than
        with respect to actions taken, respectively, by Strand or by such Employee
        from the date of appointment of the Independent Directors through the
        Effective Date. The Bankruptcy Court will have sole and exclusive jurisdiction
        to determine whether a claim or cause of action is colorable and, only to the
        extent legally permissible and as provided for in ARTICLE XI, shall have
        jurisdiction to adjudicate the underlying colorable claim or cause of action.

 Plan at 57-58. “Enjoined Parties,” in turn, is defined to mean:

        (i) all Entities who have held, hold, or may hold Claims against or Equity
        Interests in the Debtor (whether or not proof of such Claims or Equity Interests
        has been filed and whether or not such Entities vote in favor of, against or
        abstain from voting on the Plan or are presumed to have accepted or deemed to
        have rejected the Plan), (ii) James Dondero (“Dondero”), (iii) any Entity that
        has appeared and/or filed any motion, objection, or other pleading in this
        Chapter 11 Case regardless of the capacity in which such Entity appeared and
        any other party in interest, (iv) any Related Entity, and (v) the Related Persons
        of each of the foregoing.

 Plan at 14. “Protected Parties” means, collectively:

        (i) the Debtor and its successors and assigns, direct and indirect majority-
        owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii) Strand,
        (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
        Committee, (vii) the members of the Committee (in their official capacities),
        (viii) the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-
        Trust, (xi) the Litigation Trustee, (xii) the members of the Claimant Trust
        Oversight Committee (in their official capacities), (xiii) New GP LLC, (xiv)
        the Professionals retained by the Debtor and the Committee in the Chapter 11
        Case, (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties
        listed in (iv) through (xv); provided, however, that, for the avoidance of doubt,
        none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
        subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P.
        (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
        entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members,
        and managed entities), NexBank, SSB (and any of its subsidiaries), Highland
        Capital Management Fund Advisors, L.P. (and any of its subsidiaries and
        managed entities), the Hunter Mountain Investment Trust (or any trustee acting
        for the trust), the Dugaboy Investment Trust (or any trustee acting for the
        trust), or Grant Scott is included in the term “Protected Party.”

 Plan at 19.


 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 6                            Appx.000273
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 7 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 280 of 783 PageID 6701



        11.     The Advisors are subject to the Injunction.        The Injunction prohibits the

 Advisors from taking any action to “interfere with the implementation or consummation of the

 Plan.” As the evidence at the confirmation hearing made clear, the Debtor considers this

 injunction to prohibit the Advisors from advising the funds or others to cause the removal of

 the Debtor as the manager of the CLOs. As also made clear at the confirmation hearing, the

 Injunction applies to the Debtor’s postconfirmation operations, including its management of

 the CLOs. Thus, the Plan prohibits the Advisors from fully exercising their fiduciary duties to

 the funds.

                        III.    ARGUMENTS AND AUTHORITIES

 A.     STANDARD FOR A STAY PENDING APPEAL

        12.     Bankruptcy Rule 8007 allows a bankruptcy court, in the first instance, to stay a

 judgment in order to maintain the status quo pending appeal.               FED. R. BANKR. P.

 8007(a)(1)(A). In determining whether to grant a discretionary stay pending appeal under

 Bankruptcy Rule 8007, courts consider the following criteria:

        (1) the likelihood that the movant will prevail on the merits of the appeal;

        (2) whether the movant will suffer irreparable injury if the stay is denied;

        (3) whether other parties would suffer substantial harmed if the stay is granted; and

        (4) whether the public interest will be served by granting the stay.

 In re First S. Sav. Ass’n, 820 F.2d 700, 709 (5th Cir. 1987); In re Texas Equip. Co., 283 B.R.

 222, 226-27 (Bankr. N.D. Tex. 2002). The first two elements are the most critical. Saldana v.

 Saldana, 2015 WL 502145, at *2 (N.D. Tex. Aug. 25, 2015).

        13.     The fundamental purpose of a stay pending appeal, especially with respect to

 an order of an Article I court, is aptly summarized as follows:



 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 7                            Appx.000274
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 8 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 281 of 783 PageID 6702



        The application for a stay of an order confirming a chapter 11 reorganization
        plan in a highly litigated and complex bankruptcy proceeding presents a classic
        clash of competing interests, all of which have merit. Without a stay, it is
        extremely unlikely that Appellants will ever be able to have meaningful
        appellate review of the rulings of the Bankruptcy Court, a non-Article III court,
        and in any event, a lower court. The ability to review decisions of the lower
        courts is the guarantee of accountability in our judicial system. In other words,
        no single judge or court can violate the Constitution and laws of the United
        States, or the rules that govern court proceedings, with impunity, because
        nearly all decisions are subject to appellate review. At the end of the appellate
        process, all parties and the public accept the decision of the courts because we,
        as a nation, are governed by the rule of law. Thus, the ability to appeal a lower
        court ruling is a substantial and important right.

 In re Adelphia Commc’ns. Corp., 361 B.R. 337, 342 (S.D.N.Y. 2007).

 B.     THERE IS A LIKELIHOOD OF SUCCESS ON THE MERITS

        i.      Legal Standard.

        14.     With respect to the first factor, the likelihood of success on the merits of the

 appeal, this Court has summarized as follows:

        With respect to the first element, the Fifth Circuit has explained that the
        movant need not always show a ‘probability’ of success on the merits; instead,
        the movant need only present a substantial case on the merits when a serious
        legal question is involved and show that the balance of the equities weighs
        heavily in favor of granting the stay. When the issue appealed is mostly a
        factual question over which the bankruptcy court has broad discretion, such
        discretion is unlikely to be overturned on appeal. Thus, with respect to
        questions of fact, the movant usually fails to satisfy the first element. With
        respect to questions of law, however, especially questions involving the
        application of law, or when the law has not been definitively addressed by a
        higher court, the movant more easily satisfies the first element.

 In re Tex. Equip. Co., 283 B.R. at 227 (internal citations and quotations omitted); accord In re

 First S. Sav. Assoc., 820 F.2d at 704 (“the movant need only present a substantial case on the

 merits when a serious legal question is involved”).

        15.     When considering the confirmation of a chapter 11 plan on appeal, the Court’s

 findings of fact are reviewed for clear error, while its conclusions of law are reviewed de

 novo. See In re Tex. Grand Prairie Hotel Realty LLC, 710 F.3d 324, 326 n. 1 (5th Cir. 2013).

 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 8                            Appx.000275
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 9 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 282 of 783 PageID 6703



 Here, the Movants challenge the Court’s ruling on issues of law: the Absolute Priority Rule,

 section 1129(a)(2) of the Bankruptcy Code, and the Plan’s exculpation and injunction

 provisions. As these are issues of law, the standard of review will be de novo, and as such,

 “the movant more easily satisfies the first element.” In re Tex. Equip. Co., 283 B.R. at 227.

         ii.      Absolute Priority Rule.

         16.      Class 8, a class of unsecured creditors, rejected the plan.1 That means that the

 Plan could have only been confirmed under the cramdown provisions of section 1129(b) of

 the Bankruptcy Code. See 11 U.S.C. §§ 1129(b)(1); 1129(a)(8). This means that, in order to

 be confirmed, the Plan must “not discriminate unfairly” and that it must be “fair and

 equitable” with respect to Class 8. Because Class 8 consists of unsecured creditors, in order

 to be “fair and equitable”:

         (i) the plan provides that each holder of a claim of such class receive or retain
         on account of such claim property of a value, as of the effective date of the
         plan, equal to the allowed amount of such claim; or

         (ii) the holder of any claim or interest that is junior to the claims of such class
         will not receive or retain under the plan on account of such junior claim or
         interest any property.

 11 U.S.C. § 1129(b)(2)(B).

         17.      The Plan estimates a recovery to Class 8 creditors of 71% over time. See

 Confirmation Order at p. 41. While the Debtor testified that there may be a higher return

 based on causes of action, the Debtor did not value those causes of action or offer any

 evidence that Class 8 would be paid in full. As such, subsection (i) above does not apply

 because Class 8 will not be paid in full. That means that the only way the Plan could be

 confirmed is under subsection (ii), also known as the Absolutely Priority Rule. This Rule is


         1
                  The Movants do not hold Class 8 claims. Nevertheless, as the Plan alters their legal rights,
 they have standing to object to any portion of the Plan that may prevent the Plan from being confirmed.

 EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
 ORDER, AND BRIEF IN SUPPORT THEREOF—Page 9                            Appx.000276
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 10 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 283 of 783 PageID 6704



  simple: if the Class rejects the Plan and is not paid in full under the Plan, then the holder of

  any junior interest; i.e. equity interest, cannot “receive or retain . . . any property” on account

  of its junior interest.

          18.      Here, the Plan violates the Absolute Priority Rule as a matter of law, and the

  Movants respectfully submit that Court erred as a matter of law in concluding otherwise. This

  is because the Plan gives the holders of limited partnership interests in the Debtor contingent

  interests in the Claimant Trust. See Plan at p. 45. There can be no question that the

  contingent trust interests the Plan gives to holders of equity interests is “property” within the

  meaning of the Absolute Priority Rule. The Debtor admitted this during closing arguments:

  “These are contingent interests.       They are property.       No doubt they are property.”

  Confirmation Hearing Transcript at 242:19-20. The Debtor’s Chief Executive Officer and

  Chief Restructuring Officer, who prepared and authorized the Plan for the Debtor, testified

  that the contingent interests are, in his belief, inchoate property interests. See id. at 177:10-

  178:21. Moreover, that witness confirmed that these contingent interests may have some

  value in the future. See id. at 178:22-25. As a matter of law, an interest in a trust, even if a

  contingent one subject to a contingency that may never happen, is “property.” See In re

  Edmonds, 273 B.R. 527, 529 (Bankr. E.D. Mich. 2000) (“[t]he question should not be whether

  a future interest is vested or contingent. Clearly a contingent future interest is a legally

  cognizable interest, and thus property of the estate”).

          19.      That is the beginning and end of the inquiry: the Absolute Priority Rule

  prohibits equity from receiving or retaining any “property” under the Plan, and that is

  precisely what they are receiving under the Plan. It does not matter that that property is

  subject to a contingency that is only triggered if and when unsecured creditors are paid in full,



  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 10                           Appx.000277
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 11 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 284 of 783 PageID 6705



  or that the property has little to no value, or that the contingency may never occur: “property”

  is being received under the Plan.

           20.    The Debtor argued, and the Court agreed, that these contingent interests may

  have no value and would only vest and be paid if unsecured creditors are paid in full, thus

  preserving the priority scheme of the Bankruptcy Code. As for the argument regarding value,

  the United States Supreme Court has squarely rejected any such argument:

           Respondents further argue that the absolute priority rule has no application in
           this case, where the property which the junior interest holders wish to retain
           has no value to the senior unsecured creditors. In such a case, respondents
           argue, the creditors are deprived of nothing if such a so-called interest
           continues in the possession of the reorganized debtor. Here, respondents
           contend, because the farm has no ‘going concern’ value (apart from their own
           labor on it), any equity interest they retain in a reorganization of the farm is
           worthless and therefore is not ‘property’ under 11 U. S. C. § 1129(b)(2)(B)(ii).

           We join with the overwhelming consensus of authority which has rejected this
           ‘no value’ theory. . . Whether the value is present or prospective, for dividends
           or only for purposes of control a retained equity interest is a property interest. .
           . And while the Code itself does not define what ‘property’ means as the term
           is used in § 1129(b), the relevant legislative history suggests that Congress’
           meaning was quite broad. Property includes both tangible and intangible
           property.

  Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 207-08 (1988) (internal quotations and

  citations omitted). Thus, it does not matter that the “property” may be prospective, or that it

  may be intangible, or that it may have no value. All that matters is that “property,” which is

  intended to be read broadly, is retained or received under the Plan. There can be no question

  that it is.

           21.    The Debtor and the Court also relied on In re Introgen Therapeutics, 429 B.R.

  570 (Bankr. W.D. Tex. 2010) for the proposition that, so long as the contingent interests are

  not paid unless and until all unsecured claims are paid in full, the Absolute Priority Rule is not

  violated and is, in fact, preserved. As is the case here, the plan in Introgen provided that


  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 11                           Appx.000278
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 12 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 285 of 783 PageID 6706



  equity interests, which were retained, would only be paid if and when unsecured creditors

  were paid in full:

         The right to receive something imaginary is not property. The only way Class
         4 will receive anything is if Class 3 in fact gets paid in full, in satisfaction of §
         1129(b)(2)(B)(i), meaning the absolute priority rule would not be an issue. If
         Class 3 is not paid in full, Class 4’s ‘property interest’ is not just valueless, as
         Creditors argue, it simply does not exist.

  Id.

         22.     This opinion is wrongly decided. First, it directly contradicts the language of

  the Bankruptcy Code, which implicates the Absolute Priority if any “property” is being

  retained or received. Second, this opinion looked to the present value of what was being

  retained, something directly foreclosed by the Supreme Court’s opinion in Norwest Bank

  Worthington v. Ahlers quoted above. It cannot be doubted that a contingent, non-vested

  interest in a trust is “property.” It may have no present value or other benefits, and it may

  never have a value or any other benefits, but there is a condition precedent which, if triggered,

  converts it to something of value, benefit, and present interest.         Whatever it is that is

  converted into the “property” is itself “property.”

         23.     Third, this opinion fails to take into account the Supreme Court’s opinion in

  Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. Lasalle P’ship, 526 U.S. 434 (1999). That

  well know opinion considered whether the Absolute Priority Rule was triggered under a plan

  where equity was retained. While it may be obvious that equity is “property” and that the

  retention of equity therefore violated the Rule, the Supreme Court’s reasoning was different.

  Rather, the Supreme Court equated the exclusive opportunity to bid on new equity under a

  plan as itself “property” that was being granted or retained in violation of the Rule: “[t]his

  opportunity should, first of all, be treated as an item of property in its own right.” Id. at 455.

  The Supreme Court reasoned as follows:

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 12                           Appx.000279
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 13 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 286 of 783 PageID 6707



         While it may be argued that the opportunity has no market value, being
         significant only to old equity holders owing to their potential tax liability, such
         an argument avails the Debtor nothing, for several reasons. It is to avoid just
         such arguments that the law is settled that any otherwise cognizable property
         interest must be treated as sufficiently valuable to be recognized under the
         Bankruptcy Code. Even aside from that rule, the assumption that no one but
         the Debtor’s partners might pay for such an opportunity would obviously
         support no inference that it is valueless, let alone that it should not be treated as
         property. And, finally, the source in the tax law of the opportunity’s value to
         the partners implies in no way that it lacks value to others.

  Id. at 455. If an exclusive “opportunity” is “property” for purposes of the Absolute Priority

  Rule, then the “opportunity” to perhaps share in a future recovery, however remote, is also

  “property.” Even a contingent, non-vested interest is “otherwise cognizable property,” since

  the law recognizes such interests and even brings them into an estate as property of the estate.

         24.     For similar reasons, the Plan also violates the Absolute Priority Rule because

  the Debtor retains control of its property and its business after confirmation. See Norwest

  Bank Worthington v. Ahlers, 485 U.S. 197, 207-08 (holding that retention of control is

  “property” under the Absolute Priority Rule). In this respect, it must be understood that the

  Plan, while creating a trust for creditors and funding that trust with certain assets, also

  reorganizes the Debtor and vests the Debtor’s business assets in the reorganized Debtor, while

  the creditor trust will own the reorganized debtor. Before the Plan, the Debtor controlled its

  property and its business. Under the Plan, the Debtor will continue to do so, through the same

  CEO/CRO, even though the Debtor will be indirectly owned by its creditors. But it is the

  retention of control that matters, not the ownership of the new equity.

         25.     As summarized by one court in denying confirmation, “the power to control a

  corporation, through its board of directors, that a majority shareholder has, is a separate

  property interest, distinct from the value of the shares themselves.” In re 4 C Solutions Inc.,

  302 B.R. 592, 597 (Bankr. C.D. Ill. 2003) (emphasis added). Likewise, the U.S. Court of


  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 13                           Appx.000280
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 14 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 287 of 783 PageID 6708



  Appeals for the Tenth Circuit has concluded that the retention of control is “property” within

  the meaning of the Absolute Priority Rule. See Unruh v. Rushville State Bank, 987 F.2d 1506,

  1509 (10th Cir. 1993). Stated differently, “[i]t is the control of the reorganized entity which is

  a valuable asset, and that asset should not be passed on to the junior class.” In re Pecht, 53

  B.R. 768, 772 (Bankr. E.D. Va. 1985). This conclusion also applies where there is a change

  in ownership but control is retained. In In re Perdido Motel Group Inc., 101 B.R. 289, 291-92

  (Bankr. N.D. Ala. 1989), the debtor principals proposed to transfer ownership of the debtor to

  someone else (their parents) but with them retaining control after confirmation. Setting aside

  the potential of a sham transaction, the court denied confirmation because, while current

  equity would lose its equity, it would retain control: “by indirection, a retention of control of

  the debtor’s property.” Id. at 292. Indeed, the Absolute Priority Rule would lose all meaning

  if a debtor could create a trust, have that trust own the reorganized debtor, yet retain control of

  the reorganized debtor.

         26.     Therefore, under the Plan, current holders of equity interests retain “property”

  in the form of contingent trust interests, and the Debtor retains controls on account of its

  current equity interests, both in violation of the Absolute Priority Rule because Class 8 has

  rejected the Plan and Class 8 is not paid in full under the Plan. The Movants therefore submit

  that they have presented “a substantial case on the merits when a serious legal question is

  involved.” In re Tex. Equip. Co., 283 B.R. at 227. Moreover, with respect to the conclusion

  that the Absolute Priority Rule is not violated because equity would not be paid anything

  unless and until all unsecured creditors are paid in full, and the holding of In re Introgen

  Therapeutics supporting that conclusion, neither the Supreme Court nor the Fifth Circuit has

  addressed this argument. Thus, because this issue has not been “definitively addressed by a

  higher court,” the Movants have “more easily” satisfied this element. See id.

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 14                           Appx.000281
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 15 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 288 of 783 PageID 6709



         iii.    Exculpation and Injunction Provisions.

         27.     The Movants recognize that the Court, through its oral and written findings and

  conclusions, carefully considered the Plan’s exculpation and injunction provisions and

  carefully considered all objections to the same in detail, prior to approving these provisions.

  Respectfully, the Movants believe that the Court’s findings and conclusions on these points do

  not comport with established Fifth Circuit precedent because, among other things: (i) these

  provisions apply to business decisions as well as to case administration, and exculpating and

  providing injunctions for business decisions appears unprecedented; (ii) these provisions

  apply to non-debtor entities, i.e. the Debtor’s general partner and its management; and (iii)

  these provisions apply to postconfirmation matters.

         28.     The Fifth Circuit has held that exculpation provisions designed to absolve

  parties other than the debtor and the creditors’ committee of any negligent conduct that

  occurred during the course of the bankruptcy are unenforceable. In re Pacific Lumber Co.,

  584 F.3d 229, 253 (5th Cir. 2009).       To the contrary, Fifth Circuit authorities broadly

  “foreclose non-consensual non-debtor releases and permanent injunctions.” Id. at 252 (citing

  authorities); see also In re Thru, Inc., Civil Action No. 3:17-CV-1958-G, 2018 WL 5113124,

  at *22-23 (N.D. Tex. Oct. 19, 2018). Whereas exculpation of the debtor is justified by section

  524 of the Bankruptcy Code, and exculpation of creditors’ committees has been deemed

  justified by section 1103 of the Bankruptcy Code, there is no authority justifying an extension

  of exculpation protections to other parties, even if the parties sought to be exculpated

  participated significantly in formulating the confirmed plan. In re Pacific Lumber, 584 F.3d

  at 253 (noting that the creditors’ committee and its members were “the only disinterested

  volunteers among the parties sought to be released”).

         29.     However, the Plan extends the Exculpation Provision to not only the Debtor,

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 15                           Appx.000282
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 16 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 289 of 783 PageID 6710



  the creditors’ committee, and their professionals, but also impermissibly to the Debtor’s

  majority-owned subsidiaries, Strand, the Independent Directors, the CEO/CRO, and other

  Related Persons, in contravention of established precedent. Such parties are not “disinterested

  volunteers” akin to the creditors’ committee, and even if they were, Fifth Circuit precedent

  does not support their exculpation from liability. Furthermore, there is no clear end date with

  respect to the Exculpation Provision. The Exculpation Provision has the practical effect of

  allowing the Exculpated Parties to escape liability for post-confirmation conduct that goes

  beyond activity relating to the bankruptcy case or the administration of the estate, and allows

  the Exculpated Parties to escape liability that may arise in ordinary course, post-petition

  relationships of the parties, such as liability for an ordinary breach of contract.

          30.    Indeed, the District Court, in In re Thru, Inc., struck down a virtually identical

  exculpation clause as the one in the Plan. 2018 WL 5113124, at *22-23. The exculpation

  clause in that case provided as follows:

          Neither the Debtor nor any of its present officers, directors, employees, agents,
          advisors, or affiliates, nor any of its Professionals (collectively, the
          “Exculpated Persons”), shall have or incur any liability to any Entity for any
          act taken or omission made in good faith in connection with or related to
          formulating, negotiating, implementing, confirming or consummating the Plan,
          the Disclosure Statement or any Plan Document. The Exculpated Persons shall
          have no liability to the Debtor, any Creditor, Interest holder, any other party in
          interest in the Chapter 11 Case or any other Entity for actions taken or not
          taken under the Plan, in connection herewith or with respect thereto, or arising
          out of their administration of the Plan or the property to be distributed under
          the Plan, in good faith, including failure to obtain Confirmation or to satisfy
          any condition or conditions, or refusal to waive any condition or conditions, to
          the occurrence of the Effective Date, and in all respects such Exculpated
          Persons shall be entitled to rely upon the advice of counsel with respect to their
          duties and responsibilities under the Plan.

  Id. at *22.

          31.    Because the District Court has already concluded that confirmation of a plan

  containing a virtually identical exculpation provision constituted an error as a matter of law,

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 16                           Appx.000283
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 17 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 290 of 783 PageID 6711



  the Movants have demonstrated a likelihood of success on the merits of their appeal. Here,

  however, the exculpation provision is even broader, protecting non-debtor entities and their

  directors, not being limited to bankruptcy administration matters but also affecting business

  decisions, and not being limited in time to the pre-confirmation period.

         32.      Furthermore, the sweeping Injunction preventing parties from pursuing causes

  of action against the non-debtor Protected Parties effectively discharges non-debtors and

  contravenes established Fifth Circuit precedent. The Injunction is significantly broader than

  injunctions that have been struck down by courts in the Fifth Circuit. In the recent case of In

  re Thru, Inc., the District Court struck down an injunction that purported to enjoin causes of

  action held against the debtor or the estate and that arose prior to the effective date of the plan

  from being brought against certain non-debtor protected parties. 2018 WL 5113124, at *21-

  22. The District Court found that it was clearly erroneous for the bankruptcy court to approve

  the injunction under section 105 of the Bankruptcy Code. Id. The injunction at issue in In re

  Thru was narrower than the Injunction in the Plan in several important respects, as the Plan

  Injunction is not limited to claims that arose prior to the Effective Date, and is not limited to

  claims that the Enjoined Parties hold against the Debtor. Rather, the Injunction appears to

  have no end date, so long as a claim or cause of action arises out of some future

  administration or implementation of the Plan. Moreover, and significantly, the Injunction

  precludes Enjoined Parties from bringing claims held against the Protected Parties -- not just

  claims held against the Debtor or the estate.

         33.     The propriety of the Injunction is not saved by the ability of an Enjoined Party

  to bring such claim if the Court so allows. In fact, the channeling nature of the Injunction is

  impermissible as well. As drafted, the Injunction is broad enough to cover claims and causes

  of action that arise out of postconfirmation, ordinary course transactions between the

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 17                           Appx.000284
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 18 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 291 of 783 PageID 6712



  reorganized debtor and parties in interest and which do not have any actual relationship to the

  Plan or its implementation. With result to any such disputes that arise, the Court lacks subject

  matter jurisdiction. See In re CJ Holding Co., 597 B.R. 597, 604 (S.D. Tex. 2019) (“After

  confirmation, ‘the debtor’s estate, and thus bankruptcy jurisdiction, ceases to exist, other than

  for matters pertaining to the implementation or execution of the plan.’”) (quoting In re Galaz,

  841 F.3d 316, 322 (5th Cir. 2016)). Therefore, the channeling Injunction is impermissible

  because the Court appears to lack jurisdiction to even consider whether an enjoined action is

  colorable. Parties cannot create indefinite subject matter jurisdiction where none otherwise

  exists.

            34.   The Injunction of particular concern to the Movants. Under the Injunction, the

  Movants are prohibited from advising or causing their clients to exercising their contractual

  rights against the postconfirmation Debtor pursuant to contracts that the Debtor has assumed

  under the Plan. The law is clear that, upon assumption, the Debtor must comply with and be

  subject to all provisions of the assumed contracts. See In re Nat’l Gypsum Co., 208 F.3d 498,

  505-06 (5th Cir. 2000); In re Texas Baseball Partners, 521 B.R. 134, 179-80 (Bankr. N.D.

  Tex. 2014). Here, the Plan’s exculpation and injunction provisions alter this clear law by

  imposing a new requirement that permission from the Court must first be obtained before

  proceeding against the Debtor, and that, as part of that permission, any party seeking to

  enforce rights must demonstrate a “colorable claim.” This means that this Court will of

  necessity be determining some aspect of the underlying dispute, even if the dispute relates

  solely to postconfirmation mattes over which the Court will have no jurisdiction. Moreover,

  if the Court finds that the action is not colorable, then an Article I court with no post-

  confirmation jurisdiction will have effectively decided the matter on the merits. In addition to

  the Court lacking jurisdiction, the Injunction also violates 28 U.S.C. § 959, the first portion of

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 18                           Appx.000285
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 19 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 292 of 783 PageID 6713



  which expressly provides that no leave from court is required in order to sue a debtor-in-

  possession based on its management of property—which would be the direct issue involved in

  any post-confirmation action.

         35.     The Confirmation Order, by approving the Exculpation Provision and the

  Injunction, therefore presents a serious legal question. At a minimum, the Movants have

  shown a substantial case on the merits and the balance of equities weigh heavily in favor of a

  stay. See In re First S. Savings, 820 F.2d at 704; In re Dernick, 2019 WL 236999, at *3; In re

  Texas Equipment Co., 283 B.R. at 227. “A serious legal question exists when legal issues

  have far-reaching effects, involve significant public concerns, or have a broad impact on

  federal/state relations.” In re Dernick, 2019 WL 236999, at *3; see In re Westwood Plaza

  Apartments, Ltd., 150 B.R. 163, 168 (Bankr. E.D. Tex. 1993).              Here, the Exculpation

  Provision and the Injunction violate established Fifth Circuit precedent and the Confirmation

  Order’s approval of such provisions is erroneous as a matter of law. Precedent involves

  significant public concerns, and the allowance of the provisions will cause lasting effects on

  parties in interest. Indeed, the Injunction is so broad that it will prevent parties from enforcing

  their rights with respect to postconfirmation transactions unrelated to the bankruptcy case

  unless they first seek authority to do so from the Court. Not only does this prevent a serious

  hurdle to the enforcement of rights, but it presents a serious due process concern.

         iv.     Section 1129(a)(2) of the Bankruptcy Code.

         36.     In order to confirm the Plan, the Bankruptcy Code requires that the “proponent

  of the plan complies with the applicable provisions of this title [the Bankruptcy Code].” 11

  U.S.C. § 1129(a)(2). The proponent of the Plan was the Debtor. The Debtor failed to satisfy

  section 1129(a)(2) of the Bankruptcy Code, and the Court erred as a matter of law in



  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 19                           Appx.000286
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 20 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 293 of 783 PageID 6714



  concluding that it had, because the Debtor completely failed to comply with Bankruptcy Rule

  2015.3—on at least three occasions.

         37.     Section 1129(a)(2) is a mandatory provision and if it is not satisfied, a plan

  cannot be confirmed as a matter of law. 11 U.S.C. § 1129(a) (“[t]he court shall confirm a plan

  only if all of the following requirements are met”). Section 1129(a)(2) is not limited to

  whether a debtor complies with section 1129 itself; that is the point of the opening clause of

  section 1129(a). Rather, as the House Judiciary Report confirms, this section “requires that

  the proponent of the plan comply with the applicable provisions of chapter 11, such as section

  1125 regarding disclosure.” H. Rept. No. 95-595 to accompany H.R. 8200, 95th Cong., 1st

  Sess. (1977) pp. 412–418.

         38.     The Debtor, as a debtor-in-possession, has the duties and obligations of a

  trustee under section 1106(a) of the Bankruptcy Code (except with respect to certain such

  duties not relevant here). 11 U.S.C. § 1107(a). One of those duties is to comply with

  subsection 8 of section 704(a) of the Bankruptcy Code.” 11 U.S.C. § 1106(a)(1). That

  subsection provides that that trustee (here, the debtor-in-possession) shall:

         if the business of the debtor is authorized to be operated, file with the court,
         with the United States trustee, and with any governmental unit charged with
         responsibility for collection or determination of any tax arising out of such
         operation, periodic reports and summaries of the operation of such business,
         including a statement of receipts and disbursements, and such other
         information as the United States trustee or the court requires.

  11 U.S.C. § 704(a)(8).

         39.     As there is no question that the business of the Debtor was authorized to be

  operated, this section requires the Debtor to file periodic reports of business operations and

  such other information as the “United States trustee or the court requires.” Id. Bankruptcy

  Rule 2015.3 provides that:


  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 20                           Appx.000287
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 21 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 294 of 783 PageID 6715



         In a chapter 11 case, the trustee or debtor in possession shall file periodic
         financial reports of the value, operations, and profitability of each entity that is
         not a publicly traded corporation or a debtor in a case under title 11, and in
         which the estate holds a substantial or controlling interest. The reports shall be
         prepared as prescribed by the appropriate Official Form, and shall be based
         upon the most recent information reasonably available to the trustee or debtor
         in possession.

  Bankruptcy Rule 2015.3(a).

         40.     There is a presumption of “substantial or controlling interest” where the debtor

  owns or controls at least 20 percent of such entity.” Bankruptcy Rule 2015.3(c). The first

  Rule 2015.3 report is due seven days before the meeting of creditors, and a subsequent report

  is due every six months thereafter. Bankruptcy Rule 2015.3(b).

         41.     The Debtor violated this Rule several times. The Debtor admitted that it held

  interests in at least eight other companies, with respect to which the Debtor admitted that it

  held at least 20% of such interests in three of such companies (and did not remember the

  percentage of interest in the other companies. Confirmation Hearing Transcript (February 3,

  2021) at 46:15-48:8. The Debtor admitted that these were not publicly traded entities and

  were not themselves debtors in bankruptcy. See id. at 46:2-14. The reason given for the

  Debtor for its failure to file its initial Rule 2015.3 report and each subsequent one was that,

  with all that was going on early in the case, “it fell through the cracks.” See id. at 49:17-21.

  Yet, the Debtor never sought nor received any leave from the Bankruptcy Court to file its

  Rule 2015.3 reports late. See id. at 50:1-8.

         42.     There is no question, therefore, that the Debtor failed to comply with

  Bankruptcy Rule 2015.3—indeed the Debtor admitted that fact. The Debtor therefore failed

  to comply with its duties to file such reports as required by the United States Trustee and

  Bankruptcy Court under section 704(a)(8) of the Bankruptcy Code, as made applicable to a

  debtor-in-possession under sections 1106 and 1107 of the Bankruptcy Code. The Debtor

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 21                           Appx.000288
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 22 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 295 of 783 PageID 6716



  therefore failed to comply with all applicable provisions of the Bankruptcy Code; i.e. Chapter

  11.

         43.     That section is broad, requiring the Debtor to “compl[y] with the applicable

  provisions of this title.” There is no exception for minor things, reports that need to be filed,

  or anything else. Indeed, courts have correctly construed this section broadly, as it is an

  important safety mechanism to ensure that a plan proponent cannot simply ignore its

  obligations under the Bankruptcy Code yet confirm a plan just because its plan otherwise

  satisfies confirmation requirements, thereby sweeping all prior failures and defaults under the

  rug. The District Court held that this section prohibited confirmation where the debtor had

  retained and paid professionals without proper bankruptcy court authority, even though the

  bankruptcy court later granted this relief nunc pro tunc. See In re Briscoe Enters. Ltd., 138

  B.R. 795, 808-09 (N.D. Tex. 1992) (“[i]f that were all that was required, there would be no

  need for § 1129(a)(2)”), rev’d 994 F.2d 1160, 1170 (5th Cir.). While this conclusion was

  reversed on appeal, because the bankruptcy court subsequently permitted the retention and

  payment nunc pro tunc, the Debtor here never made a request for leave to file its Bankruptcy

  Rule 2015.3 reports late, and it has never sought any nunc pro tunc relief regarding the same.

  And, as the Supreme Court has made clear, a court cannot use its nunc pro tunc authority to

  “make the record what it is not.” Roman Catholic Archdiocese of San Juan v. Feliciano, 140

  S. Ct. 696, 701 (2020) (internal quotation omitted).

         44.     A different district court affirmed a denial of a plan based on section

  1129(a)(2) because the plan proponent had spent proceeds from a sale in violation of section

  363(c) of the Bankruptcy Code. See Cothran v. United States, 45 B.R. 836, 838 (S.D. Ga.

  1984) (“[t]o the extent that the administrative provisions of Chapter 3 apply to cases under

  Chapter 11, a debtor must also abide by Chapter 3 or risk non-confirmation”).               One

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 22                           Appx.000289
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 23 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 296 of 783 PageID 6717



  bankruptcy court denied confirmation under section 1129(a)(2) because the debtor refused to

  pay court-ordered administrative expense claims. See In re Midwestern Cos., 55 B.R. 856,

  863-64 (Bankr. D. Mont. 1985). A different bankruptcy court denied confirmation on the

  basis of section 1129(a)(2) because the debtor had failed to comply with the deadline to

  propose a small business plan. See In re Win Trucking Inc., 236 B.R. 774, 778-79 (Bankr. D.

  Utah 1999).

         45.     What these opinions demonstrate is that section 1129(a)(2) means what it says,

  and what it says is broad: if the plan proponent has not complied with chapter 11 (the

  “applicable provisions”) then its plan cannot be confirmed. Period. And, as these opinions

  further confirm, the provisions of chapter 11 that must be complied with are all of them, as

  opposed to merely those governing the plan itself.       Indeed, that is the point of section

  1129(a)(1) of the Bankruptcy Code and there would be no need for a separate provision if all

  that was applicable was the statute governing confirmation itself. See 11 U.S.C. § 1129(a)(1).

         46.     Notwithstanding the broad language of section 1129(a)(2) of the Bankruptcy

  Code, one bankruptcy court has concluded that section 1129(a)(2) “does not provide creditors

  with a ‘silver bullet’ to defeat confirmation based on each and every minor infraction of Title

  11 that a debtor may commit.” In re Cypresswood Land Partners I, 409 B.R. 396, 423-24

  (Bankr. S.D. Tex. 2009). This opinion is wrong, however, and it should not be followed, for

  the simple reason that it reads into the statute an exception that is simply not there.

  Connecticut Nat’l Bank v Germain, 503 U.S. 249, 254 (1992) (Congress “says in a statute

  what it means and means in a statute what it says there”). Nor is a violation of the Bankruptcy

  Code a “silver bullet” that creditors have. A debtor obtains immense relief and benefits from

  Chapter 11 and requiring it to comply with its own obligations, and imposing upon it

  consequences if it fails to do so, should not be a controversial proposition. It is not the

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 23                           Appx.000290
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 24 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 297 of 783 PageID 6718



  creditor’s “silver bullet”; it is the consequence, perhaps even penalty, for failure to comply

  with the law.

         47.      But even if this opinion has some persuasiveness, compliance with Bankruptcy

  Rule 2015.3 is not a “minor infraction.”        This is an important rule that provides all

  participants with transparency and some level of control over a debtor’s ownership interest in

  other entities—here, interests worth hundreds of millions of dollars. See, e.g., In re Sillerman,

  605 B.R. 631, 644 (Bankr. S.D.N.Y. 2019) (discussing importance of Rule 2015.3 reports:

  “[t]hese reports would supply the Court and creditors with relevant and material information

  regarding the Debtor’s interest in his dozens of entities, thereby enhancing transparency and

  potentially laying bare any improper transfers or self-dealing”). What if a debtor is selling its

  interests and not accounting for the proceeds? What if a debtor is using its control of those

  entities to cause them to dispose of their assets improperly, so as to remove them from

  creditor reach? What if a debtor is channeling business or other estate resources into or

  through those entities? As those entities are not debtors themselves, the bankruptcy court and

  creditors would have no other way of knowing what is going on with those assets except

  through compliance with Bankruptcy Rule 2015.3. See, e.g., In re Hoyle, 2013 Bankr. LEXIS

  420 at *12-*14 (Bankr. D. Idaho 2013) (detailing improper use and accounting of non-debtor

  entities owned by debtor).

         48.      Bankruptcy Rule 2015.3 is not trivial or minor; it is very important. Failure to

  comply with the Rule has led to conversion of the bankruptcy case:

         Winterhalter’s failure deprived creditors of critical information regarding the
         Debtor’s partnership interests, and Debtor’s receipt and use of the partnership
         distributions created suspicion among the creditors, contributed to the multiple
         litigation between the Debtor and his creditors at almost every juncture of his
         Chapter 11 case, and ultimately contributed to the conversion of the Debtor’s
         case from Chapter 11 to Chapter 7.


  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 24                           Appx.000291
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 25 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 298 of 783 PageID 6719



  In re Grasso, 586 B.R. 110, 150 (Bankr. E.D. Pa. 2018). Likewise, a failure to file the reports

  is cause to appoint a chapter 11 trustee or to dismiss the bankruptcy case. See, e.g., In re

  Sillerman, 605 B.R. 631, 644 (Bankr. S.D.N.Y. 2019). Thus, if the failure to timely file these

  reports is sufficient cause to convert or dismiss the case, or to appoint a chapter 11 trustee,

  then such failure cannot be described as trivial or a “minor infraction” even if there were a

  “minor infraction” exception to section 1129(a)(1).

  C.        MOVANTS WILL SUFFER IRREPARABLE INJURY WITHOUT A STAY

            49.   The focus of the second element is whether, absent a stay pending appeal, the

  Movants may suffer irreparable injury in the form of effectively being denied appellate review

  due to mootness or similar considerations. See In re Tex. Equip. Co., 283 B.R. 222, 228

  (Bankr. N.D. Tex. 2002). This element puts the Movants in an awkward situation. On the

  one hand, they are not admitting that their appeal will be moot. On the other hand, they have

  to address the reality that mootness is a significant concern any time that a chapter 11 plan is

  on appeal.

            50.   This is because consummation of a plan may render any challenges to

  confirmation thereof moot. In re Westwood Plaza Apartments, 150 B.R. at 169 (factor tilted

  in favor of granting stay); Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), Case No. 3:17-CV-

  1958-G, 2018 WL 5113124, at *12 (N.D. Tex. Oct. 19, 2018) (equitable mootness more likely

  if no stay has been obtained and plan has been substantially consummated); see also In re Best

  Products Co., 177 B.R. 791 (S.D.N.Y. 1995) (dismissing appeal of confirmation order as

  moot where appellant failed to seek stay of confirmation order and plan had been

  consummated). Indeed, the Fifth Circuit in In re Pacific Lumber Co., 584 F.3d 229 (5th Cir.

  2009), recognized the potential issues with denying a stay of a confirmation order pending

  appeal:

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 25                           Appx.000292
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 26 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 299 of 783 PageID 6720



           Although the exigencies of the case appeared to demand prompt action, simply
           denying a stay seems to have been, and often will be, too simplistic a response.
           A plan may be designed to take effect, as it was here, after a lapse of sufficient
           time to initiate appellate review. A supersedeas bond may be tailored to the
           scope of the appeal. An appeal may be expedited. As with all facets of
           bankruptcy practice, myriad possibilities exist. Thus, substantial legal issues
           can and ought to be preserved for review.

  584 F.3d at 243.

           51.      The unprecedented breadth of the Exculpation Provision and the Injunction has

  the potential to cause immediate and irreparable harm to the Movants and other parties in

  interest. These provisions have the cumulative effect of preventing the Movants, among other

  parties, from exercising their legal rights to pursue any claims or causes of action against non-

  debtor parties.2 Indeed, the provisions are so broad that they essentially prevent the Movants

  from exercising their rights and remedies that arise post-confirmation in the ordinary course of

  business, despite the same being completely distinct from the bankruptcy case, and

  notwithstanding the basis or nature of the claim. In practical effect, the Movants will, at the

  very least, have to seek leave of the Court in order to seek any relief for any present or future

  actionable wrongs, whether contractual or under applicable non-bankruptcy law.

  Furthermore, if the stay is denied, the Movants could suffer harm for which they have no legal

  redress and which becomes moot - equitably or otherwise - before the District Court has an

  opportunity to rule.

           52.      The impermissibility of the Exculpation Provision and Injunction is apparent,

  and absent a stay, will immediately deprive Movants of their due process rights and ability to

  seek legal redress for wrongs that may be suffered. The possibility of irreparable injury can


           2
                    As the Court is aware, in light of the Debtor’s termination of its shared services agreements
  with the Advisors, the Advisors and the Debtor are in the process of transferring to the Advisors their data held
  by the Debtor. It is too soon to determine whether this process will be satisfactorily concluded but, if it is not,
  the Movants may have additional claims and causes of action against the Debtor which would be subject to the
  Plan’s exculpation and injunction provisions.

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 26                           Appx.000293
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 27 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 300 of 783 PageID 6721



  only be remedied by a stay of the Confirmation Order.

         53.     Additionally, the Plan has the practical effect of enjoining the Movants from

  advising or causing the funds to remove the Debtor as manager of the CLOs or to join with

  other, non-enjoined funds, from removing the Debtor as manager. Should the Debtor engage

  in conduct after confirmation that justifies the removal of the Debtor as manager, the Movants

  will be prevented from being able to advise their clients accordingly or to take action on their

  behalf. This would cause Movants irreparable injury.

         54.     The Debtor will argue that there is no irreparable harm because the gatekeeper

  Injunction will permit the Movants to seek relief from the Court in order to exercise their

  rights. But, as argued above, this Court will not have post-confirmation jurisdiction over post-

  confirmation and post-assumption transactions and disputes. This is especially the case if the

  Bankruptcy Case is closed soon after confirmation, as may be likely given that most sizable

  claims have been adjudicated or compromised. Simply put, the Court, without jurisdiction,

  may nevertheless decide that a proposed action is not “colorable” as is required by the

  gatekeeper Injunction, meaning that the Movants will be prevented from acting without a

  court of proper jurisdiction reviewing the matter. At a minimum, the time it would take

  Movants to comply with the gatekeeping Injunction, during which time the Movants would be

  prevented from exercising their legitimate, contractual and statutory rights, imposes a

  substantial burden.

         55.     As a subset of the above, mootness will also arise because the Debtor has

  stated that it intends to liquidate and wind down the CLOs in approximately two years. Thus,

  by the time that the appeal of the Plan is ultimately concluded, the liquidation of the CLOs

  will have occurred in full or in large part, and even if the Movants prevail on appeal the

  damage will already have been done.

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 27                           Appx.000294
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 28 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 301 of 783 PageID 6722



  D.     NO SUBSTANTIAL HARM TO DEBTOR OR OTHER PARTIES

         56.     A stay pending appeal is also justified under the third prong because neither the

  Debtor, nor any of the Debtor’s creditors, will be substantially harmed by a stay of the

  Confirmation Order pending appeal. Moreover, the Court can fashion the stay to prevent

  harm to the Debtor and other parties. See In re Westwood Plaza Apartments, 150 B.R. at 169

  (conditioning stay of plan on, among other things, debtor’s ability to pay administrative, tax

  and secured claims as provided for under the plan); In re Thru, 2018 WL 5113124, at *20

  (recognizing availability of partial relief on appeal of plan with respect to exculpation

  provisions).

         57.     Courts have found substantial harm to other parties if the stay would cause a

  significant delay in the administration of the estate or a delay in the distribution to creditors

  under the plan. In re Dernick, 2019 WL 236999, at *4. Here, a stay will not lead to any

  harm, much less substantial harm, to the Debtor or other creditors. This is because the Debtor

  can continue doing exactly what it would do under the Plan: (i) the CEO/CRO is still in

  charge and the members of the creditors committee will be on the trust oversight board, with

  the addition of one additional member; (ii) the CEO/CRO can continue administering the

  estate the same as he is doing now; (iii) the CEO/CRO can continue managing affirmative

  litigation the same as he is doing now; (iv) the CEO/CRO can continue managing the CLOs

  and funds that the Debtor manages the same as he is doing now; (v) there is no exit financing

  under the Plan; (vi) there are no asset sales or compromises under the Plan that cannot be

  effectuated without the Plan; and (vii) there is no new money or new value being contributed

  under the Plan. 185:3-188:5.

         58.     As the Debtor’s CEO/CRO confirmed, “post-confirmation, you are basically

  going to continue managing the CLOs and funds and trying to monetize assets for creditors

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 28                           Appx.000295
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 29 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 302 of 783 PageID 6723



  the same as you are today.” Confirmation Hearing Transcript (February 2, 2021) at 188:2-5.

  And, as the CEO/CRO confirmed, he does not “need anything in the plan that [he] does [not]

  have today to keep managing” the “Funds and the CLOs.” Id. 188:23-189:2. Instead, as the

  CEO/CRO confirmed, the only difference is that he would not be willing to serve as the post-

  confirmation trustee without the Plan’s channeling Injunction, and that the reorganized debtor

  would be unable to obtain directors and officers insurance. Id. 168:6-18. But that is precisely

  the point: a Plan should not have as its principal purpose the entry of an injunction limiting the

  ability of parties to exercise their rights for matters arising after confirmation and assumption.

         59.     The Court should also take into account that 27 Class 8 creditors rejected the

  Plan, while only 17 accepted the Plan. It is the unsecured creditors who would be the only

  ones potentially prejudiced if the Plan is stayed, as that may delay their recoveries. But Class

  8 overwhelmingly rejected the Plan. While 16 Class 7 convenience class creditors accepted

  the Plan, the total cost to pay those creditors is approximately $10 million. The Debtor has

  more than sufficient cash on hand to pay these creditors with an interim distribution if it so

  wished. The five subordinated creditors accepting the Plan do not matter, since they are not

  projected to receive anything under the Plan, and if they do receive anything, it will be years

  into the future after extensive litigation. As for the Class 2 Frontier Secured Claim, the

  Debtor has many options to treat this secured claim with adequate protection and other

  payments that it can do without need for the Plan.

         60.     Finally, a stay pending appeal will actually protect the Debtor and its

  professionals. As demonstrated above, the District Court has already rejected an exculpation

  clause that is similar to the one in the Plan as a matter of law. Yet, as the Court heard at the

  confirmation hearing, the CEO/CRO would not be willing to serve as the post-confirmation

  trustee or manager of the Debtor without the Plan’s Exculpation Provision and Injunction, and

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 29                           Appx.000296
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 30 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 303 of 783 PageID 6724



  the reorganized debtor would not be able to obtain directors and officers insurance. Should

  something arise after confirmation, with these provisions of the Plan reversed by an appellate

  court, the CEO/CRO, the reorganized debtor, and potentially others may face potential

  liability without coverage. All parties, and especially the CEO/CRO and the Debtor, should

  have a strong interest in ensuring that nothing of that sort happens—something best done by a

  stay pending appeal.

  E.     THE PUBLIC INTEREST IS SERVED BY A STAY PENDING APPEAL

         61.     Because the Exculpation Provision and the Injunction impermissibly infringe

  upon the contractual, legal and due process rights of parties in interest in the bankruptcy case,

  a stay pending appeal of such provisions will serve the public interest. A stay will ensure that

  non-debtor parties are held accountable for their post-petition and post-confirmation conduct,

  while preserving the rights and remedies of parties in interest under applicable non-

  bankruptcy law. Likewise, a stay will serve the public interest of respecting and upholding

  judicial precedent. The interests of many innocent, third party investors must also be taken

  into account, and their interests are not served by the Exculpation Provision and Injunction

  that may effectively and permanently prevent them from exercising legitimate contract and

  statutory rights. Finally, the public has a strong interest in ensuring that securities laws are

  complied with, including the Investment Advisers Act of 1940. The Plan’s Exculpation

  Provision and Injunction threaten to substantially vitiate these laws and effectively relieve the

  Debtor from its obligations and duties (and potential liabilities) thereunder.

  F.     SECURITY FOR STAY PENDING APPEAL

         62.     The Court may, but need not, condition a stay pending appeal on a bond or

  other security being posted. As this Court has summarized:



  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 30                           Appx.000297
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 31 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 304 of 783 PageID 6725



         The purpose of a supersedeas bond is to preserve the status quo while
         protecting the non-appealing party’s rights pending appeal. The bond secures
         the prevailing party against any loss sustained as a result of being forced to
         forgo execution on a judgment during the course of an ineffectual appeal. In
         deciding how best to secure the non-appealing party from loss, the court
         applies general equitable principles.

  In re Tex. Equip. Co., 283 B.R. at 229.

         63.     Normally, the amount of any bond should be the amount of the judgment being

  stayed. The Movants are aware of one bankruptcy court concluding that, when the order

  being stayed is a confirmation order, the amount of the bond should be the entire amount of

  debt subject to the plan. See In re Scotia Dev. LLC, 2008 Bankr. LEXIS 5127 *32-*33

  (Bankr. S.D. Tex. 2008). Here, however, the Plan does not propose to pay any claims any

  time soon, except for administrative claims and Class 7 convenience claims, both of which

  can be satisfied by the amount of cash the Debtor is presently holding. Thus, an analogy to

  Scotia Dev. LLC is not warranted, and applying its reasoning here would lead to a punitive

  result that would actually better the returns to creditors, meaning that it would do far more

  than preserve the status quo and protect against harm resulting from the stay pending appeal

  itself. Moreover, the risk in Scotia Dev. LLC was that the debtor’s business would collapse

  from a lack of funding that the confirmed plan provided for. See id. at *25 (“the continued

  viability and operation of the debtors must be protected.       All parties agree that some

  extraordinary program is required to allow these debtors to survive more than even ten days.

  Without additional cash, both Scopac and Palco would have to shut down immediately”). No

  such considerations are present here.

         64.     Instead, the Movants respectfully submit that any such conclusion would be

  punitive and would not be warranted by the facts. See, e.g., In re Gleasman, 111 B.R. 595,

  604 (Bankr. W.D. Tex. 1990) (“The purpose of a bond, after all, is to protect Franklin against


  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 31                           Appx.000298
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 32 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 305 of 783 PageID 6726



  any loss, not to confer a windfall. The property itself is not going anywhere”). As discussed

  above, the Plan does not give the Debtor anything it does not have now. No new funds are

  coming in, no exit financing is involved, and no asset sale is provided for in the Plan. Rather,

  the Debtor will simply continue doing under the Plan what it is doing now: it will manage its

  assets, funds, and the CLOs, and will continue monetizing its assets and managing litigation

  the same as now. Whatever the value of the assets being administered is today will be the

  same under the Plan and without the Plan. No new funds and no exit financing is involved.

  Nothing in the Plan gives the Debtor tools to administer its estate that it lacks at present, and

  nothing in the Plan will increase the value of assets available for creditors. Thus, there will be

  no harm to the Debtor or to the estate.

         65.     The only conceivable harm is from a delay in certain payments to certain

  creditors. If the Plan is affirmed, then those creditors would not have the use of those funds

  for a period of time. Here, the Debtor believes that it will distribute approximately $60

  million to Class 7 and Class 8 creditors within one year of the Plan being confirmed. As

  unsecured creditors, these creditors would be entitled to interest at the federal rate of post-

  judgment interest. See In re Thru Inc., 2017 Bankr. LEXIS 1902 at *28-29. That rate is at

  present less than 1% and is unlikely to rise past that amount during the period of any stay.

  Thus, the interest that any creditor may be able to claim for any delay in payment is less than

  1%, or less than $600,000.00.

         66.     The Movants therefore submit that a bond or security of $1 million is sufficient

  to protect the Debtor and its estate from any harm resulting from the delay in the effectiveness

  of the Plan.

                                      IV.     CONCLUSION

         67.     Based on the foregoing, a stay of the Confirmation Order is justified under

  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 32                           Appx.000299
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 33 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 306 of 783 PageID 6727



  each of the applicable factors for a stay pending appeal. Accordingly, the Court should grant

  a stay of the Confirmation Order.

         WHEREFORE, the Movants request that the Court enter an Order:

         1.     Staying the effectiveness of the Confirmation Order pending appeal; and

         2.     Granting such other relief as is just and proper.

  Dated: February 28, 2021                     MUNSCH HARDT KOPF & HARR, P.C.

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                                               AND NEXPOINT ADVISORS, L.P.




  EMERGENCY MOTION OF THE ADVISORS FOR STAY PENDING APPEAL OF THE CONFIRMATION
  ORDER, AND BRIEF IN SUPPORT THEREOF—Page 33                           Appx.000300
Case 19-34054-sgj11 Doc 1955 Filed 02/28/21 Entered 02/28/21 09:49:28 Page 34 of 34
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 307 of 783 PageID 6728



                                      CERTIFICATE OF SERVICE

             The undersigned hereby certifies that, on this the 28th day of February, 2021, true
     and correct copies of this document were electronically served on parties entitled to
     notice thereof, including on counsel for the Debtor.

     Dated: February 28, 2021
                                                          /s/ Davor Rukavina
                                                          Davor Rukavina




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 308 of 783 PageID 6729



                             EXHIBIT 8




                                                                   Appx.000302
Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 1 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 309Docket    #1967 Date Filed: 03/03/2021
                                                              of 783  PageID 6730


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  Strategic Opportunities Fund, Highland Global
  Allocation Fund, and NexPoint Capital, Inc.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                      )
 In re:                                               )     Chapter 11
                                                      )
 HIGHLAND CAPITAL MANAGEMENT, L.P.                    )     Case No. 19-34054 (SGJ11)
                                                      )
          Debtor.                                     )
                                                      )
                                                      )


            MOTION FOR STAY PENDING APPEAL OF THE COURT’S ORDER
                CONFIRMING THE DEBTOR’S FIFTH AMENDED PLAN

          Highland Income Fund, NexPoint Strategic Opportunities Fund, Highland Global

 Allocation Fund, and NexPoint Capital, Inc. (each, a “Fund,” and collectively, the “Funds” or

 “Movants”), by and through their undersigned counsel, and pursuant to Rule 8007 of the Federal

 Rules of Bankruptcy Procedure, respectfully move (the “Motion”) this Court to stay its Order (I)

 Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as

 Modified) and (II) Granting Related Relief [Dkt. No. 1943] (the “Confirmation Order”) pending

 appeal. In support of the Motion, the Movants respectfully show the Court as follows:

                                 I.       PRELIMINARY STATEMENT

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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 2 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 310 of 783 PageID 6731



        1.      On February 22, 2021, this Court entered its Confirmation Order in the above-

 captioned chapter 11 case of Highland Capital Management, L.P. (the “Debtor”). On March 3,

 2021, Movants timely filed a notice of appeal pursuant to Bankruptcy Rule 8002. Movants

 maintain that the Confirmation Order contravenes established law in the Fifth Circuit by

 confirming a plan that contains non-consensual non-debtor exculpation and injunction provisions

 that are overly broad. Further, the Confirmation Order approves a channeling injunction that

 impermissibly attempts to confer jurisdiction in the Court over post-confirmation matters with

 respect to which it would otherwise lack subject matter jurisdiction.        The aforementioned

 provisions, which are now part of a confirmed plan, are sweeping and unprecedented.

        2.      Accordingly, Movants respectfully request a stay pending appeal of the

 Confirmation Order. If a stay is not granted, Movants’ rights would be severely prejudiced

 pending the ruling on appeal, even if the ruling on appeal ultimately results in Movants’ favor.

 There is a present threat that the exculpation and injunction provisions preclude Movants from

 being able to exercise their contractual rights under certain management contracts with

 collateralized loan obligations (the “CLOs”) that are assumed under the confirmed plan.

 Moreover, Movants’ rights could be mooted by the time of any final resolution on appeal because

 by that time, the Debtor may have already completed its liquidation and wind down of the CLOs’

 assets. A stay pending appeal does not present any serious risk of harm to the Debtor or its

 creditors. Furthermore, the public interest supports a stay pending appeal by ensuring that the

 Debtor and non-debtor parties are held responsible for their performance and compliance under

 contracts the Debtor has assumed, including the CLO management contracts. Accordingly, and as

 required by Bankruptcy Rule 8007, Movants, with all due respect, move this Court for a stay of its

 own Confirmation Order.



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 3 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 311 of 783 PageID 6732



                                      II.    BACKGROUND

        A.      General Background on the Funds

        3.      Each of the Funds is a publicly registered investment company or business

 development company under the Investment Company Act of 1940, as amended, 15 U.S.C. § 80a-

 1, et. seq. (the “1940 Act”). Each of the Funds is regulated by the U.S. Securities and Exchange

 Commission (the “SEC”) and by a comprehensive set of securities laws, including the Securities

 Act of 1933, the Securities Exchange Act of 1934, and the 1940 Act, in addition to various state

 law provisions (collectively, the “Securities Laws”). Collectively, the Funds have thousands of

 shareholders, ranging from large institutional investors to small individual shareholders, and have

 more than $1 billion in assets under management.

        4.      Each Fund is advised by either Highland Capital Management Fund Advisors, L.P.,

 or NexPoint Advisors, L.P. (each, an “Advisor,” and collectively, the “Advisors”). The Advisors

 are investment advisers registered with the SEC as investment advisers under the Investment

 Advisers Act of 1940, as amended, 15 U.S.C. § 80b-1, et seq. (the “Advisers Act”).

        5.      As public registered investment companies and a business development company,

 each Fund is regulated under the 1940 Act and is governed by a Board of Trustees (a “Board”).

 Each Board owes fiduciary duties to its Funds and to the Funds’ shareholders. The Boards also

 have obligations under the Securities Laws to exercise independent business judgment and act in

 the best interests of the Funds and their shareholders.

        6.      The Boards have regular quarterly meetings, and frequently meet in between the

 quarterly meetings regarding a variety of Fund operational issues. The SEC routinely describes

 and emphasizes the oversight duties of investment company boards in its rulemaking efforts. The

 Boards’ members include a number of sophisticated investment professionals, all but one of whom



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 4 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 312 of 783 PageID 6733



 is independent from the Advisors and who are advised by their own legal counsel.

        7.      Additionally, the Funds do not have employees. Rather, the Boards retain the

 Advisors to advise the Funds, subject to the Boards’ oversight.

        8.      The Funds also own the preference shares in certain CLOs for which the Debtor

 serves as portfolio manager, and own the majority of preference shares in at least three of such

 CLOs. The CLOs are securitization vehicles that were formed to acquire and hold pools of debt

 obligations. They also issued various tranches of notes and preference shares, which are intended

 to be repaid from proceeds of the subject CLO’s pool of debt obligations. The notes issued by the

 CLOs are paid according to a contractual priority of payments, with the value remaining in the

 CLOs after the notes are fully paid flowing to the holders of the preference shares.

        9.      The CLO management agreements generally allow the holders of preference shares,

 i.e., the Funds, to remove the portfolio manager for cause, and some allow removal without cause.

        B.      The Confirmation Order

        10.     On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

 under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), commencing the

 above-captioned bankruptcy case.

        11.     On November 24, 2020, the Debtor filed its Fifth Amended Plan of Reorganization

 of Highland Capital Management, L.P. [Dkt. No. 1472] (the “Fifth Amended Plan”).

        12.     Movants, among other parties in interest, filed an objection to the Fifth Amended

 Plan. See, e.g., Dkt. No. 1670.

        13.     On January 22, 2021, the Debtor filed its Fifth Amended Plan of Reorganization of

 Highland Capital Management, L.P. (as Modified) [Dkt. No. 1808] (the “Plan”).

        14.     Article IX of the Plan contains the following exculpation provision (the



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 5 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 313 of 783 PageID 6734



 “Exculpation Provision”): 1

         C.       Exculpation

                  Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
         extent permitted by applicable law, no Exculpated Party will have or incur, and
         each Exculpated Party is hereby exculpated from, any claim, obligation, suit,
         judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and liability
         for conduct occurring on or after the Petition Date in connection with or arising out
         of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation and
         pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
         confirmation of, the Plan; (iii) the funding or consummation of the Plan (including
         the Plan Supplement) or any related agreements, instruments, or other documents,
         the solicitation of votes on the Plan, the offer, issuance, and Plan Distribution of
         any securities issued or to be issued pursuant to the Plan, including the Claimant
         Trust Interests, whether or not such Plan Distributions occur following the Effective
         Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions,
         and documentation in connection with the foregoing clauses (i)-(iv); provided,
         however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
         Party arising out of or related to acts or omissions that constitute bad faith, fraud,
         gross negligence, criminal misconduct, or willful misconduct or (b) Strand or any
         Employee other than with respect to actions taken by such Entities from the date of
         appointment of the Independent Directors through the Effective Date. This
         exculpation shall be in addition to, and not in limitation of, all other releases,
         indemnities, exculpations, any other applicable law or rules, or any other provisions
         of this Plan, including ARTICLE IV.C.2, protecting such Exculpated Parties from
         liability.

 Dkt. No. 1808 at 54-55. “Exculpated Parties,” in turn, means, collectively:

         (i) the Debtor and its successors and assigns, direct and indirect majority-owned
         subsidiaries, and the Managed Funds, 2 (ii) the Employees, (iii) Strand, (iv) the
         Independent Directors, (v) the Committee, (vi) the members of the Committee (in
         their official capacities), (vii) the Professionals retained by the Debtor and the
         Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
         Persons of each of the parties listed in (iv) through (viii); provided, however, that,
         for the avoidance of doubt, none of James Dondero, Mark Okada, NexPoint
         Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable
         Donor Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd.,
         and managed entities), Highland CLO Funding, Ltd. (and any of its subsidiaries,
         members, and managed entities), Highland Capital Management Fund Advisors,
         L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of

 1
  Capitalized terms used, but not otherwise defined, shall have the meanings ascribed to such terms in the Plan.
 2
  To avoid any confusion, Movants note that the Plan defines the Managed Funds as “Highland Multi-Strategy Credit
 Fund, L.P., Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the Debtor
 pursuant to an Executory Contract assumed pursuant to this Plan.” Dkt. No. 1808 at 17.

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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 6 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 314 of 783 PageID 6735



        its subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for
        the trust), the Dugaboy Investment Trust (or any trustee acting for the trust), or
        Grant Scott is included in the term “Exculpated Party.”

 Dkt. No. 1808 at 15.

        15.     Article IX of the Plan also contains an injunction provision (the “Injunction”),

 which provides, in pertinent part, as follows:

        F.      Injunction

                Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
        permanently enjoined, on and after the Effective Date, from taking any actions to
        interfere with the implementation or consummation of the Plan.

                ....

                Subject in all respects to ARTICLE XII.D, no Enjoined Party may
        commence or pursue a claim or cause of action of any kind against any Protected
        Party that arose or arises from or is related to the Chapter 11 Case, the negotiation
        of the Plan, the administration of the Plan or property to be distributed under the
        Plan, the wind down of the business of the Debtor or Reorganized Debtor, the
        administration of the Claimant Trust or the Litigation Sub-Trust, or the transactions
        in furtherance of the foregoing without the Bankruptcy Court (i) first determining,
        after notice and a hearing, that such claim or cause of action represents a colorable
        claim of any kind, including, but not limited to, negligence, bad faith, criminal
        misconduct, willful misconduct, fraud, or gross negligence against a Protected
        Party and (ii) specifically authorizing such Enjoined Party to bring such claim or
        cause of action against any such Protected Party; provided, however, the foregoing
        will not apply to a claim or cause of action against Strand or against any Employee
        other than with respect to actions taken, respectively, by Strand or by such
        Employee from the date of appointment of the Independent Directors through the
        Effective Date. The Bankruptcy Court will have sole and exclusive jurisdiction to
        determine whether a claim or cause of action is colorable and, only to the extent
        legally permissible and as provided for in ARTICLE XI, shall have jurisdiction to
        adjudicate the underlying colorable claim or cause of action.

 Dkt. No. 1808 at 57-58. “Enjoined Parties,” in turn, is defined to mean:

        (i) all Entities who have held, hold, or may hold Claims against or Equity Interests
        in the Debtor (whether or not proof of such Claims or Equity Interests has been
        filed and whether or not such Entities vote in favor of, against or abstain from voting
        on the Plan or are presumed to have accepted or deemed to have rejected the Plan),
        (ii) James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any
        motion, objection, or other pleading in this Chapter 11 Case regardless of the

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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 7 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 315 of 783 PageID 6736



        capacity in which such Entity appeared and any other party in interest, (iv) any
        Related Entity, and (v) the Related Persons of each of the foregoing.

 Dkt. No. 1808 at 14. “Protected Parties” means, collectively:

        (i) the Debtor and its successors and assigns, direct and indirect majority-owned
        subsidiaries, and the Managed Funds, (ii) the Employees, (iii) Strand, (iv) the
        Reorganized Debtor, (v) the Independent Directors, (vi) the Committee, (vii) the
        members of the Committee (in their official capacities), (viii) the Claimant Trust,
        (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee,
        (xii) the members of the Claimant Trust Oversight Committee (in their official
        capacities), (xiii) New GP LLC, (xiv) the Professionals retained by the Debtor and
        the Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
        Persons of each of the parties listed in (iv) through (xv); provided, however, that,
        for the avoidance of doubt, none of James Dondero, Mark Okada, NexPoint
        Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable
        Donor Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd.,
        and managed entities), Highland CLO Funding, Ltd. (and any of its subsidiaries,
        members, and managed entities), NexBank, SSB (and any of its subsidiaries),
        Highland Capital Management Fund Advisors, L.P. (and any of its subsidiaries and
        managed entities), the Hunter Mountain Investment Trust (or any trustee acting for
        the trust), the Dugaboy Investment Trust (or any trustee acting for the trust), or
        Grant Scott is included in the term “Protected Party.”

 Dkt. No. 1808 at 19.

        16.    On February 2 and 3, 2021, the Court conducted a hearing on confirmation of the

 Plan, and on February 22, 2021, entered the Confirmation Order.

        17.    Movants timely appealed the Confirmation Order by filing a Notice of Appeal on

 March 3, 2021 [Dkt. No. 1966].

                         III.     ARGUMENTS AND AUTHORITIES

        A.     Standard for a Stay Pending Appeal

        18.    By the Motion, Movants request a stay of the Confirmation Order pending appeal

 pursuant to Bankruptcy Rule 8007.

        19.    Bankruptcy Rule 8007 allows a bankruptcy court to stay a judgment in order to

 maintain the status quo pending appeal. Fed. R. Bankr. P. 8007(a)(1)(A).



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 8 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 316 of 783 PageID 6737



          20.    The decision of whether to grant a stay pending appeal under Bankruptcy Rule 8007

 is a matter within the court’s discretion. In re Dye, Case No. 06-71024, 2007 Bankr. LEXIS 2972,

 at *3 (Bankr. N.D. Ga. July 24, 2007) (discussing former Bankruptcy Rule 8005). “That discretion

 is by design a flexible tool which permits the bankruptcy court to tailor relief to the circumstances

 of the particular case.” Id. (citing Gleasman v. Jones, Day, Reavis & Pogue, 111 B.R. 595 (Bankr.

 W.D. Tex. 1990)).

          21.    In determining whether to grant a discretionary stay pending appeal under

 Bankruptcy Rule 8007, courts consider the following criteria:

          (1) the likelihood that the movant will prevail on the merits of the appeal;

          (2) whether the movant will suffer irreparable injury if the stay is denied;

          (3) whether other parties would suffer substantial harmed if the stay is granted; and

          (4) whether the public interest will be served by granting the stay.

 In re First S. Sav. Ass’n, 820 F.2d 700, 709 (5th Cir. 1987); In re Tex. Equip. Co., 283 B.R. 222,

 226-27 (Bankr. N.D. Tex. 2002). In the Fifth Circuit, each of the foregoing criteria must be

 satisfied by the party requesting the stay. In re Tex. Equip. Co., 283 B.R. at 227; see also In re

 Dernick, Case No. 18-32417, 2019 WL 236999, at *2 (Bankr. S.D. Tex. Jan. 16, 2019) (movants

 must prove entitlement to relief by a preponderance of the evidence). However, the first two

 elements are the most critical. Saldana v. Saldana, 2015 WL 502145, at *2 (N.D. Tex. Aug. 25,

 2015).

          22.    The nature of an order confirming a plan of reorganization makes a stay pending

 appeal uniquely important. Without a stay of such an order, “it is extremely unlikely that

 Appellants will ever be able to have meaningful appellate review of the rulings of the Bankruptcy

 Court, a non-Article III court, and in any event, a lower court. The ability to review decisions of


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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 9 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 317 of 783 PageID 6738



 the lower courts is the guarantee of accountability in our judicial system. . . . Thus, the ability to

 appeal a lower court ruling is a substantial and important right.” In re Adelphia Commc’ns Corp.,

 361 B.R. 337, 342 (S.D.N.Y. 2007).

           23.   As discussed herein, a stay of the Confirmation Order is justified.

           B.    There is a Likelihood of Success on the Merits

           24.   With respect to the first factor, the U.S. Court of Appeals for the Fifth Circuit has

 recognized that a movant must either present a prima facie case, but need not show that it is certain

 to win, or, if a serious legal question is involved, must present a substantial case on the merits and

 show that the balance of equities weighs heavily in favor of granting the stay. In re First S. Sav.,

 820 F.2d at 704; In re Dernick, 2019 WL 236999, at *2; In re Tex. Equip. Co., 283 B.R. at 227.

 The standards provided by substantive law guide the court in determining whether a movant has

 shown a likelihood of success on the merits. In re Dernick, 2019 WL 236999, at *2.

           25.   Where an appeal involves questions of law, “the movant more easily satisfies the

 first element.” In re Tex. Equip. Co., 283 B.R. at 227. With respect to confirmation of a chapter

 11 plan, the bankruptcy court’s conclusions of law are reviewed de novo. See In re Tex. Grand

 Prairie Hotel Realty LLC, 710 F.3d 324, 326 n.1 (5th Cir. 2013). The Movants’ appeal relates to

 the Exculpation Provision and the Injunction, which are legal issues that will be subject to de novo

 review.

           26.   The Movants have shown a likelihood of success on the merits. The Exculpation

 Provision and Injunction provided for in the Plan contravene established law. The Fifth Circuit

 has held that exculpation provisions designed to absolve parties other than the debtor and the

 creditors’ committee of any negligent conduct that occurred during the course of the bankruptcy

 are unenforceable. In re Pac. Lumber Co., 584 F.3d 229, 253 (5th Cir. 2009). To the contrary,



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 10 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 318 of 783 PageID 6739



  Fifth Circuit authorities broadly “foreclose non-consensual non-debtor releases and permanent

  injunctions.” Id. at 252 (citing authorities); see also Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.),

  Civil Action No. 3:17-CV-1958-G, 2018 WL 5113124, at *22-23 (N.D. Tex. Oct. 19, 2018).

  Whereas exculpation of the debtor is justified by section 524 of the Bankruptcy Code, and

  exculpation of creditors’ committees has been deemed justified by section 1103 of the Bankruptcy

  Code, there is no authority justifying an extension of exculpation protections to other parties, even

  if the parties sought to be exculpated participated significantly in formulating the confirmed plan.

  In re Pac. Lumber, 584 F.3d at 253 (noting that the creditors’ committee and its members were

  “the only disinterested volunteers among the parties sought to be released”); see also In re

  Pilgrim’s Pride Corp., Case No. 08-45664, 2010 WL 200000, at *5 (Bankr. N.D. Tex. Jan. 14,

  2010) (“Because Pacific Lumber is binding precedent, the court may not, over objection, approve

  through confirmation of the Plan third-party protections, other than those provided to the

  Committees, members of the Committees, and the Committees’ Professionals.”).

         27.     However, the Plan extends the Exculpation Provision to not only the Debtor, the

  creditors’ committee, and their professionals, but also, impermissibly, to the Debtor’s majority-

  owned subsidiaries, the Managed Funds, Employees, Strand, the Independent Directors, the

  CEO/CRO, and other Related Persons, in contravention of established precedent. Such parties are

  not “disinterested volunteers” akin to the creditors’ committee, and even if they were, Fifth Circuit

  precedent does not support their exculpation from liability.

         28.     Furthermore, there is no clear end date with respect to the Exculpation Provision.

  The Exculpation Provision has the practical effect of allowing the Exculpated Parties to escape

  liability for post-confirmation conduct that goes beyond activity relating to the bankruptcy case,

  formulation of the Plan, or the administration of the estate, and allows the Exculpated Parties to



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 11 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 319 of 783 PageID 6740



  escape liability that may arise in ordinary course, post-petition relationships of the parties, such as

  liability for an ordinary breach of contract.

          29.    Indeed, the district court, in In re Thru, Inc., struck down a virtually identical

  exculpation clause as the one in the Plan. 2018 WL 5113124, at *22-23. The exculpation clause

  in that case provided as follows:

          Neither the Debtor nor any of its present officers, directors, employees, agents,
          advisors, or affiliates, nor any of its Professionals (collectively, the “Exculpated
          Persons”), shall have or incur any liability to any Entity for any act taken or
          omission made in good faith in connection with or related to formulating,
          negotiating, implementing, confirming or consummating the Plan, the Disclosure
          Statement or any Plan Document. The Exculpated Persons shall have no liability
          to the Debtor, any Creditor, Interest holder, any other party in interest in the Chapter
          11 Case or any other Entity for actions taken or not taken under the Plan, in
          connection herewith or with respect thereto, or arising out of their administration
          of the Plan or the property to be distributed under the Plan, in good faith, including
          failure to obtain Confirmation or to satisfy any condition or conditions, or refusal
          to waive any condition or conditions, to the occurrence of the Effective Date, and
          in all respects such Exculpated Persons shall be entitled to rely upon the advice of
          counsel with respect to their duties and responsibilities under the Plan.

  Id. at *22.

          30.    Because the district court has already concluded that confirmation of a plan

  containing a virtually identical exculpation provision constituted clear error, the Movants have

  demonstrated a likelihood of success on the merits of their appeal. Here, the Exculpation Provision

  is even broader than the one at issue in In re Thru, as it protects non-debtor entities and their

  directors, is not limited to bankruptcy administration matters, and is not limited in time to the pre-

  Effective Date period.

          31.    Moreover, the Court’s stated reasons for allowing the Exculpation Provision, as

  expressed in the Confirmation Order, on their face do not apply to many of the Exculpated Parties.

  The Court found that dicta in Pacific Lumber that “costs the released parties might incur defending

  against suits alleging such negligence are unlikely to swamp either these parties or the

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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 12 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 320 of 783 PageID 6741



  consummated reorganization” hinted that the equities and/or economics of a case might justify a

  non-debtor exculpation provision. While Movants concede it is possible that litigation against

  some of the Exculpated Parties, such as the Debtor, the Independent Directors, the CEO/CRO, and

  even the Employees, could hamper reorganization efforts, there is no foreseeable or expressed

  concern that litigation against other Exculpated Parties, such as the Debtor’s owned subsidiaries

  and Managed Funds, or the Related Persons, would have any impact on reorganization efforts.

  The Court also found that the Independent Directors, and by extension the CEO/CRO, fell within

  a policy-based exclusion as being akin to a creditors’ committee or its members, but the

  Independent Directors and the CEO/CRO are only one subset of the Exculpated Parties. The Court

  made no finding that exculpation of any of the other Exculpated Parties could be justified under

  this rationale. Finally, again only with respect to the Independent Directors, the Court found that

  they were already exculpated by virtue of its January 9, 2020 order at Docket No. 339.

  Accordingly, even if there is a basis in law for extending exculpation protections to certain of the

  Exculpated Parties, namely the Independent Directors and the CEO/CRO, there is no stated or

  implied basis for allowing the Exculpation Provision with respect to any of the other Exculpated

  Parties. 3

           32.      Furthermore, the sweeping Injunction preventing parties from pursuing causes of

  action against the non-debtor Protected Parties effectively discharges non-debtors and contravenes



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    It is also worth noting that the breadth of the Exculpation Provision does serve to discharge non-debtors in
  contravention of section 524 of the Bankruptcy Code. Under section 1141(d) of the Bankruptcy Code, confirmation
  of a plan discharges the debtor from any debt “that arose before the date of such confirmation.” 11 U.S.C. §
  1141(d)(1). Section 524 simply provides the effect of a discharge granted under another chapter of the Bankruptcy
  Code. Thus, to the extent that the Exculpation Provision exculpates non-debtor parties from claims arising prior to
  the date of confirmation, it has the effect of granting a discharge to such parties. With this understanding in mind, the
  Fifth Circuit’s bar on exculpation provisions with respect to non-debtor third parties that are not co-liable with the
  debtor avoids conflict between sections 524(e) and 1141(d)(1) of the Bankruptcy Code. Movants submit that the
  decision of the U.S. Court of Appeals for the Ninth Circuit, cited favorably by the Court in its oral ruling, misses this
  point.

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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 13 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 321 of 783 PageID 6742



  established Fifth Circuit precedent. The Injunction is significantly broader than injunctions that

  have been struck down by courts in the Fifth Circuit. In the recent case of In re Thru, Inc., the

  district court struck down an injunction that purported to enjoin causes of action held against the

  debtor or the estate and that arose prior to the effective date of the plan from being brought against

  certain non-debtor protected parties. 2018 WL 5113124, at *21-22. The district court found that

  it was clearly erroneous for the bankruptcy court to approve the injunction, which the bankruptcy

  court approved under section 105 of the Bankruptcy Code, because it effectively discharged non-

  debtors. Id. The Injunction in the Plan is broader than the injunction at issue in In re Thru in

  several important respects, as the Plan Injunction is not limited to claims that arose prior to the

  Effective Date, and is not limited to claims that the Enjoined Parties hold against the Debtor.

  Rather, the Injunction appears to have no end date, so long as a claim or cause of action arises out

  of some future administration or implementation of the Plan. Moreover, and significantly, the

  Injunction precludes Enjoined Parties from bringing claims held against the Protected Parties --

  not just claims held against the Debtor or the estate. See also In re Pilgrim’s Pride, 2010 WL

  200000, at *5 n.14 (Pacific Lumber prohibits exculpatory language that would bar outright actions

  against the debtor’s management and professionals for their actions taken during a chapter 11

  case).

           33.   The propriety of the Injunction is not saved by the ability of an Enjoined Party to

  bring such claim if the Court so allows. In fact, the channeling nature of the Injunction is

  impermissible as well. As drafted, the Injunction is broad enough to cover claims and causes of

  action that arise out of post-confirmation, ordinary course transactions between the Reorganized

  Debtor and/or non-debtor parties and other parties in interest and which do not have any actual

  relationship to the Plan or its implementation. The Court lacks subject matter jurisdiction over the



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 14 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 322 of 783 PageID 6743



  breadth of actions covered by the Injunction. See In re CJ Holding Co., 597 B.R. 597, 604 (S.D.

  Tex. 2019) (“After confirmation, ‘the debtor’s estate, and thus bankruptcy jurisdiction, ceases to

  exist, other than for matters pertaining to the implementation or execution of the plan.’”) (quoting

  In re Galaz, 841 F.3d 316, 322 (5th Cir. 2016)); see also In re Pilgrim’s Pride, 2010 WL 200000,

  at *5, n.14 (bankruptcy court could retain limited jurisdiction to channel claims against the debtors’

  management and professionals stemming from their conduct during the chapter 11 cases, but

  Pacific Lumber prohibits exculpatory language that would bar such claims outright). Therefore,

  the channeling Injunction is impermissible because the Court appears to lack jurisdiction to even

  consider whether an enjoined action is colorable. The channeling Injunction goes far beyond what

  the Court has jurisdiction to channel to itself. Parties cannot create indefinite subject matter

  jurisdiction where none otherwise exists.

         34.     Furthermore, the Court’s justification of the gatekeeping Injunction is based

  primarily on the litigiousness of Dondero and his controlled entities. However, this justification

  does not extend to the Funds, which are controlled by independent boards, as discussed above, and

  are wholly independent of Dondero. This reality reflects why the gatekeeping Injunction is overly

  broad, as it serves to prevent innocent third parties from exercising their legal rights.

         35.     Accordingly, to the extent that the Confirmation Order authorizes the Exculpation

  Provision and the Injunction, it does so based upon an erroneous interpretation of the law and is

  an abuse of discretion. In re Tex. Equip. Co., 283 B.R. at 227.

         36.     Second, this element is also satisfied because the Confirmation Order, to the extent

  it approves the Exculpation Provision and the Injunction, presents a serious legal question. At a

  minimum, Movants have shown a substantial case on the merits and the balance of equities weigh

  heavily in favor of a stay. See In re First S. Sav., 820 F.2d at 704; In re Dernick, 2019 WL 236999,



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 15 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 323 of 783 PageID 6744



  at *3; In re Tex. Equip. Co., 283 B.R. at 227. “A serious legal question exists when legal issues

  have far-reaching effects, involve significant public concerns, or have a broad impact on

  federal/state relations.” In re Dernick, 2019 WL 236999, at *3; see In re Westwood Plaza

  Apartments, Ltd., 150 B.R. 163, 168 (Bankr. E.D. Tex. 1993) (serious legal question existed with

  respect to the appropriate standard for determining the market rate of interest in a cramdown plan,

  even though no likelihood of success on the merits). Here, the Exculpation Provision and the

  Injunction violate established Fifth Circuit precedent, and the Confirmation Order’s approval of

  such provisions is clearly erroneous. Upholding judicial precedent is a significant public interest,

  and the allowance of these provisions will cause lasting effects on parties in interest. Indeed, the

  Injunction is so broad that it will prevent parties, such as the Movants, from enforcing their rights

  with respect to post-confirmation transactions unrelated to the bankruptcy case unless they first

  seek authority to do so from the Court. Not only does this prevent a significant hurdle to the

  enforcement of rights, but it presents a serious due process concern.

         37.        Accordingly, it is likely that the Confirmation Order will be reversed to the extent

  it allows the Exculpation Provision and the Injunction. At the very least, the validity of the

  Exculpation Provision and the Injunction presents serious legal issues, Movants have presented a

  substantial case on the merits, and as discussed herein, the balance of equities weigh in favor of

  issuing a stay.

         C.         Movants will Suffer Irreparable Injury without a Stay

         38.        The second factor concerns whether the moving party will suffer irreparable injury

  if the stay is denied because it will effectively be denied appellate review due to mootness or

  similar considerations. In re Tex. Equip. Co., 283 B.R. at 228. This factor also warrants a stay of

  the Confirmation Order.



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 16 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 324 of 783 PageID 6745



         39.     Consummation of a plan may render any challenges to confirmation thereof moot.

  In re Westwood Plaza Apartments, 150 B.R. at 169 (factor tilted in favor of granting stay); In re

  Thru, Inc., 2018 WL 5113124, at *12 (equitable mootness more likely if no stay has been obtained

  and plan has been substantially consummated); see also In re Best Products Co., 177 B.R. 791

  (S.D.N.Y. 1995) (dismissing appeal of confirmation order as moot where appellant failed to seek

  stay of confirmation order and plan had been consummated). Indeed, the Fifth Circuit in In re

  Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), recognized the potential issues with denying a

  stay of a confirmation order pending appeal:

         Although the exigencies of the case appeared to demand prompt action, simply
         denying a stay seems to have been, and often will be, too simplistic a response. A
         plan may be designed to take effect, as it was here, after a lapse of sufficient time
         to initiate appellate review. A supersedeas bond may be tailored to the scope of the
         appeal. An appeal may be expedited. As with all facets of bankruptcy practice,
         myriad possibilities exist. Thus, substantial legal issues can and ought to be
         preserved for review.

  584 F.3d at 243.

         40.     The unprecedented breadth of the Exculpation Provision and the Injunction has the

  potential to cause immediate and irreparable harm to the Movants and other parties in interest.

  These provisions have the cumulative effect of preventing Movants, among other parties, from

  exercising their legal rights to pursue any claims or causes of action, however distantly related to

  the bankruptcy case. Indeed, the provisions are so broad that they would prevent Movants from

  exercising their contractual rights and remedies that arise post-confirmation in the ordinary course

  of business under the CLO management agreements, and insulate the Debtor as well as non-debtor

  parties from any corresponding liability, despite the same being completely distinct from the

  bankruptcy case, and notwithstanding the basis or nature of the claim. In effect, even if the Debtor

  were to engage in conduct post-confirmation that presented a basis for the Movants to remove the



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 17 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 325 of 783 PageID 6746



  Debtor as manager under the CLO management agreements, they would be prevented from doing

  so. The Exculpation Provision and the Injunction impermissibly shields the Debtor and non-debtor

  parties from liability for post-petition and post-confirmation breaches of contract.

            41.   In practical effect, Movants will, at the very least, have to seek leave of the Court

  in order to seek any relief for any present or future actionable wrongs, whether contractual or under

  applicable non-bankruptcy law. However, the Court will not have jurisdiction with respect to

  disputes that arise post-confirmation. It is thus foreseeable that the Court, without jurisdiction,

  could decide that a proposed claim is not colorable, preventing Movants from pursuing their

  contractual rights and remedies without review by a court of proper jurisdiction. At a minimum,

  the time it would take Movants to comply with the gatekeeping Injunction, during which time the

  Movants would be prevented from exercising their legitimate contractual rights, imposes a

  substantial burden.

            42.   Clearly, if the stay is denied, Movants could suffer harm for which they have no

  legal redress and which becomes moot - equitably or otherwise - before a decision is rendered on

  appeal.

            43.   The impermissibility of the Exculpation Provision and Injunction is apparent, and

  absent a stay, will immediately deprive Movants of their rights and ability to seek legal redress for

  wrongs that may be suffered. The possibility of irreparable injury can only be remedied by a stay

  of the Confirmation Order.

            D.    No Substantial Harm to the Debtor or Other Parties

            44.   A stay pending appeal is also justified under the third prong because neither the

  Debtor, nor any of the Debtor’s creditors, will be substantially harmed by a stay of the

  Confirmation Order pending appeal. Moreover, the Court can fashion the stay to prevent harm to



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 18 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 326 of 783 PageID 6747



  the Debtor and other parties. See In re Westwood Plaza Apartments, 150 B.R. at 169 (conditioning

  stay of plan on, among other things, debtor’s ability to pay administrative, tax and secured claims

  as provided for under the plan); In re Thru, 2018 WL 5113124, at *20 (recognizing availability of

  partial relief on appeal of plan with respect to exculpation provisions).

         45.     Courts have found substantial harm to other parties if the stay would cause a

  significant delay in the administration of the estate or a delay in the distribution to creditors under

  the plan. In re Dernick, 2019 WL 236999, at *4. However, a stay of the Confirmation Order does

  not prevent the Debtor from continuing to operate as it has been doing during the bankruptcy case.

  Indeed, the Plan largely contemplates a continuation of the pre-confirmation business. The Debtor

  can thus continue administering the estate, as well as the CLOs and other managed funds. There

  are no asset sales or compromises under the Plan that depend upon it becoming effective, nor is

  there any contingent exit financing. Accordingly, staying the Confirmation Order will not hamper

  the reorganization.

         46.     To the contrary, if the Confirmation Order is not stayed, parties in interest in the

  case would be significantly injured by the serious deprivation of their rights.

         47.     A stay pending appeal is critical to preserve the status quo, which, in this instance

  involves preservation of the Movants’ legal rights and remedies, while important legal issues are

  determined by the appellate court. In re Tolco Props., Inc., 6 B.R. 490, 491 (Bankr. E.D. Va.

  1980) (“The Court is of the opinion that the purpose of a stay pending appeal is to maintain the

  status quo and to prevent harm to the moving party between the time the original order was entered

  and the decision to appeal.”).

         E.      The Public Interest is Served by a Stay

         48.     Because the Exculpation Provision and the Injunction impermissibly infringe upon



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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 19 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 327 of 783 PageID 6748



  the contractual, legal and due process rights of parties in interest in the bankruptcy case, a stay

  pending appeal of the Confirmation Order will serve the public interest. A stay will ensure that

  the Debtor as well as non-debtor parties are held accountable for their post-petition and post-

  confirmation conduct, while preserving the rights and remedies of parties in interest under

  applicable non-bankruptcy law. Likewise, a stay will serve the public interest of respecting and

  upholding judicial precedent.

         49.       Moreover, a stay will protect the interests of the Movants and other innocent third

  party investors that have collectively invested more than $1 billion in the CLOs that the Debtor

  manages.       The Exculpation Provision and Injunction, if not stayed, may effectively and

  permanently prevent these parties from exercising legitimate contractual rights.

         50.       The public interest will further be served by preserving the status quo among the

  parties while the propriety of the Exculpation and Injunction provisions is resolved by the appellate

  court. “The case law signals a preference in favor of maintaining the status quo.” Skinner v. SBA

  (In re Skinner), 202 B.R. 867, 869 (W.D. Va. 1996) (citing Feller v. Brock, 802 F.2d 722, 727 (4th

  Cir. 1986)).

                                         IV.     CONCLUSION

         51.       Based on the foregoing, a stay of the Confirmation Order is justified under each of

  the applicable factors for a stay pending appeal. Accordingly, the Court should grant a stay of the

  Confirmation Order with respect to such provisions pending appeal.

         WHEREFORE, Movants request that the Court enter an Order:

         1.        Staying the Confirmation Order pending appeal; and

         2.        Granting such other relief as is just and proper.




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Case 19-34054-sgj11 Doc 1967 Filed 03/03/21 Entered 03/03/21 14:43:05 Page 20 of 20
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 328 of 783 PageID 6749



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                                               NexPoint Capital, Inc.




                                  CERTIFICATE OF SERVICE

           I hereby certify that on March 3, 2021, I caused the foregoing document to be served via
  first class United States mail, postage prepaid and/or electronic email through the Court’s CM/ECF
  system to the parties that consented to such service.

  Dated: March 3, 2021
                                                      /s/ A. Lee Hogewood, III
                                                      A. Lee Hogewood, III




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 329 of 783 PageID 6750



                              EXHIBIT 9




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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 1 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 330Docket    #1971 Date Filed: 03/04/2021
                                                              of 783  PageID 6751



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                      UNITED STATES BANKRUPTCY COURT FOR THE
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                                  DALLAS DIVISION

 IN RE:                                                 *               Chapter 11
                                                        *
                                                        *               Case No. 19-34054sgj11
 HIGHLAND CAPITAL MANAGEMENT, L.P.                      *
                                                        *
                Debtor                                  *


                  JOINDER TO MOTIONS FOR STAY PENDING APPEAL
                     OF THE COURT’S ORDER CONFIRMING THE
                         DEBTOR’S FIFTH AMENDED PLAN

          Now into Court, through undersigned counsel, come The Dugaboy Investment Trust and

 Get Good Trust (“Movers”) who hereby submit this Joinder to Motions for Stay Pending Appeal of

 the Court’s Order Confirming the Debtor’s Fifth Amended Plan (“Joinder”), and respectfully represent as

 follows:

                                          Notice of Joinder

          1.    The Dugaboy Investment Trust and Get Good Trust hereby join and adopt all

 assertions as stated in the following:

                a.       Emergency Motion of the Advisors for Stay Pending Appeal of the

          Confirmation Order, and Brief in Support thereof filed on February 28, 2021 (Dkt.

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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 331 of 783 PageID 6752



          #1955) filed by Highland Capital Management Fund Advisors, L.P. and NexPoint

          Advisors, L.P.; and

                   b.      Motion for Stay Pending Appeal of the Court’s Order Confirming the

          Debtor’s Fifth Amended Plan filed on March 3, 2021 (Dkt. #1967) filed by Highland

          Income Fund, NexPoint Strategic Opportunities Fund, Highland Global Allocation Fund,

          and NexPoint Capital, Inc.

 (collectively, “Motions for Stay”).

          2.       Further, to the extent any other parties seek the relief requested in the Motions for

 Stay subsequent to filing this Joinder, The Dugaboy Investment Trust and Get Good Trust shall

 support the relief requested in the subsequent filing.

          3.       In addition to the reasons set forth in the Motions for Stay, Movers believe that a

 stay is warranted based upon the following:

                a. Success on the Merits -

                        i. The Court, in confirming the Debtor’s Plan, distinguished 5th Circuit case

                           law (In Re Pacific Lumber, 584 F.3d 229 (5th Cir 2009) regarding the

                           release and exculpation provisions set forth in the Plan. Movers believe

                           the 5th Circuit’s decision in Securities and Exchange Commission v.

                           Stanford International Bank, Ltd., No. 17-10663 (5th Cir. 2019) (copy

                           attached) is the latest expression by the 5th Circuit that such release and

                           exculpation provisions are not permissible as a matter of law. Judge Jones

                           in Stanford stated:

                           “The prohibition on enjoining unrelated, third party claims without the
                           third parties’ consent does not depend on the Bankruptcy Code, but it is a
                           maxim of law not abrogated by the district court’s equitable power to
                           fashion ancillary relief measures.”

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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 3 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 332 of 783 PageID 6753




                   The Stanford decision rendered some ten (10) years after In re Pacific Lumber

          reaffirms the 5th Circuit’s bright line prohibition concerning release and exculpation

          provisions and that, notwithstanding the equitable powers of District and Bankruptcy

          Courts, such provisions are not permissible as a matter of law.

                b. Public Policy -

                   The other issue raised by Movers is the issue relative to the unfair discrimination

          contained in the Plan. As a policy matter, absent a clear directive by the 5th Circuit that

          the language in 11 U.S.C. § 1129(b) means something other than prohibiting unfair

          discrimination, this Court should suspend the effect of the Plan that discriminates against

          the Class 8 creditors.

          WHEREFORE, based upon the foregoing Joinder to Motions for Stay Pending Appeal

 of the Court’s Order Confirming the Debtor’s Fifth Amended Plan, The Dugaboy Investment

 Trust and Get Good Trust assert a stay of the Confirmation Order is justified under each of the

 applicable factors for a stay pending appeal. Therefore, The Dugaboy Investment Trust and Get

 Good Trust pray that this Court grant a stay of the Confirmation Order with respect to such

 provisions pending appeal and for all other relief that is just and equitable.

 March 4, 2021

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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 4 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 333 of 783 PageID 6754



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                                 CERTIFICATE OF SERVICE

        I, Douglas S. Draper, certify that on March 4, 2021, a copy of the above and foregoing
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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 5 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 334 of 783 PageID 6755



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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 335 of 783 PageID 6756



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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 7 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 336 of 783 PageID 6757



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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 8 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 337 of 783 PageID 6758



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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 9 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 338 of 783 PageID 6759




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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 10 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 339 of 783 PageID 6760



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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 11 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 340 of 783 PageID 6761



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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 12 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 341 of 783 PageID 6762



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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 13 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 342 of 783 PageID 6763




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Case 19-34054-sgj11 Doc 1971 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 14 of 14
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 343 of 783 PageID 6764



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      Case: 17-10663    Document: 00514998485 Page: 1 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 1 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 344 of 783 PageID 6765



          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                                                                United States Court of Appeals
                                                                         Fifth Circuit

                                   No. 17-10663                        FILED
                                                                   June 17, 2019
                                                                  Lyle W. Cayce
  SECURITIES AND EXCHANGE COMMISSION                                   Clerk

              Plaintiff

  v.

  STANFORD INTERNATIONAL BANK, LIMITED

              Defendant

  v.

  JOSEPH BECKER; TERENCE BEVEN; WANDA BEVIS;
  THOMAS EDDIE BOWDEN; TROY L. LILLIE, JR., et al

              Movants - Appellants

  DOUG MCDANIEL; SCOTT NOTOWICH;
  EDDIE ROLLINS; CORDELL HAYMON; et al,

              Objecting Parties - Appellants

  v.

  CERTAIN UNDERWRITERS AT LLOYD’S OF LONDON;
  ARCH SPECIALTY INSURANCE COMPANY;
  LEXINGTON INSURANCE COMPANY,

              Interested Parties - Appellees

  RALPH S. JANVEY,

             Appellee
  ***********************
  CERTAIN UNDERWRITERS AT LLOYD’S OF LONDON;

                                                                               Appx.000338
      Case: 17-10663    Document: 00514998485 Page: 2 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 2 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 345 of 783 PageID 6766

                                       No. 17-10663
  ARCH SPECIALTY INSURANCE COMPANY,

              Plaintiffs - Appellees

  v.

  RALPH S. JANVEY, In his Capacity as Court Appointed Receiver for
  Stanford International Bank Limited, Stanford Group Company, Stanford
  Capital Managment L.L.C., Stanford Financial Group, and Stanford
  Financial Group Bldg,

              Defendant - Appellee

  v.

  CORDELL HAYMON,

             Intervenor - Appellant
  *************************************
  CERTAIN UNDERWRITERS AT LLOYD’S OF LONDON;
  ARCH SPECIALTY INSURANCE COMPANY;
  LEXINGTON INSURANCE COMPANY,

              Plaintiffs - Appellees
  v.

  CORDELL HAYMON,

              Objecting Party - Appellant
  v.

  RALPH S. JANVEY,

             Intervenor - Appellee
  ***************************************
  CERTAIN UNDERWRITERS AT LLOYD’S OF LONDON;
  ARCH SPECIALTY INSURANCE COMPANY;
  LEXINGTON INSURANCE COMPANY,

              Plaintiffs - Appellees
  v.

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                                                                        Appx.000339
      Case: 17-10663    Document: 00514998485 Page: 3 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 3 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 346 of 783 PageID 6767

                                      No. 17-10663


  RALPH S. JANVEY,

              Intervenor Defendant - Appellee
  v.

  CORDELL HAYMON,

             Objecting Party - Appellant
  *********************************************

  CORDELL HAYMON,

              Third Party Plaintiff - Appellant
  v.

  CERTAIN UNDERWRITERS OF LLOYD’S OF LONDON, Claims asserted
  by Claude F. Reynaud, Jr.

              Third Party Defendant - Appellee
  v.

  RALPH S. JANVEY,

              Appellee


                  Appeals from the United States District Court
                       for the Northern District of Texas


  Before JONES, CLEMENT, and SOUTHWICK, Circuit Judges.
  EDITH H. JONES, Circuit Judge:
        These appeals challenge the district court’s approval of a global
  settlement between Ralph Janvey, the Receiver for Stanford International
  Bank and related entities, and various insurance company Underwriters, who
  issued policies providing coverage for fidelity breaches, professional indemnity,
  directors and officers protection, and excess losses. The settlement yielded $65

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      Case: 17-10663    Document: 00514998485 Page: 4 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 4 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 347 of 783 PageID 6768

                                      No. 17-10663
  million for the Receiver’s claims against the insurance policy proceeds, but it
  wipes out, through “bar orders,” claims by coinsureds to the policy proceeds
  and their extracontractual claims against the Underwriters even if such claims
  would not reduce or affect the policies’ coverage limits. Among the parties
  whose claims were barred are Appellants comprising (a) two groups of former
  Stanford managers and employees; (b) Cordell Haymon, a Stanford entity
  director who settled with the Receiver for $2 million; and (c) a group of
  Louisiana retiree-investors.
        A constellation of issues surrounding the global settlement is
  encapsulated in the question whether the district court abused its discretion
  in approving the settlement and bar orders. Based on the nature of in rem
  jurisdiction and the limitations on the court’s and Receiver’s equitable power,
  we conclude the district court lacked authority to approve the Receiver’s
  settlement to the extent it (a) nullified the coinsureds’ claims to the policy
  proceeds without an alternative compensation scheme; (b) released claims the
  Estate did not possess; and (c) barred suits that could not result in judgments
  against proceeds of the Underwriters’ policies or other receivership assets.
  Accordingly, we VACATE the district court’s order approving the settlement
  and bar orders and REMAND for further proceedings consistent with this
  opinion.
                                 BACKGROUND
        The massive Stanford Financial Ponzi scheme defrauded more than
  18,000 investors who collectively lost over $5 billion. As part of a securities
  fraud lawsuit brought by the SEC, the district court appointed the Receiver “to
  immediately take and have complete and exclusive control” of the receivership
  estate and “any assets traceable” to it. The court granted the Receiver “the full
  power of an equity receiver under common law,” including the right to assert
  claims against third parties and “persons or entities who received assets or
                                         4
                                                                         Appx.000341
      Case: 17-10663    Document: 00514998485 Page: 5 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 5 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 348 of 783 PageID 6769

                                        No. 17-10663
  records traceable to the Receivership Estate.” SEC v. Stanford Int’l Bank, Ltd.,
  776 F. Supp. 2d 323, 326 (N.D. Tex. 2011). The district court also held that the
  court possessed exclusive jurisdiction over a group of insurance policies and
  their proceeds, at issue in this case, and ruled that, other than a lawsuit
  involving the Stanford criminal defendants, “[n]o persons or entities may bring
  further claims related to the [Proceeds] in any forum other than” the district
  court. Neither of these latter two orders was timely appealed.
         The policies issued to the Stanford entities covered, in different
  arrangements, losses and defense costs for the entities and their officers,
  directors and certain employees.       At issue are the following policies: a
  Directors’ and Officers’ Liability and Company Indemnity Policy (“D&O”); a
  Financial Institutions Crime and Professional Indemnity Policy, including
  (a) first-party fidelity coverage for employee theft (“Fidelity Bond”) and “[l]oss
  resulting directly from dishonest, malicious or fraudulent acts committed by
  an Employee,” and (b) third-party coverage for professional indemnity (“PI
  Policy”); and an Excess Blended “Wrap” Policy (“Excess Policy”). The policy
  limits are as follows:


                  Stanford Bank Entities Stanford Brokerage Entities
   D&O Policy $5 million                       $5 million
   PI Policy      $5 million per Claim         $5 million per Claim
                  $10 million aggregate        $10 million aggregate
   Fidelity       $5 million per Loss          $5 million per Loss
   Bond           $10 million aggregate        $10 million aggregate
   Excess         $45 million each Claim or Loss/$90 million aggregate
   Policy




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      Case: 17-10663    Document: 00514998485 Page: 6 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 6 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 349 of 783 PageID 6770

                                            No. 17-10663
         The maximum amount of remaining coverage is disputed. According to
  the district court, the Underwriters have paid some $30 million in claims under
  the policies for insureds’ defense costs. Underwriters contend that only $46
  million remains available because the losses resulted from a single event – the
  Ponzi scheme. The Receiver argues that the conduct implicates the aggregate
  loss limits up to $101 million of remaining coverage. The questions of coverage
  ultimately depend on the identity of the insureds under each policy and the
  nature of the claims, and these issues are hotly contested.                 The Stanford
  corporate entities are insured under all of the policies, but Stanford directors,
  officers, and employees are coinsureds only under the D&O, PI, and Excess
  policies. 1 Each policy is subject to multiple definitions and exclusions. After
  the Receiver made numerous claims for coverage under the policies (the “Direct
  Claims”) that were met with Underwriters’ denial based on policy exclusions,
  several lawsuits ensued.
         The Receiver also pursued the policy proceeds indirectly by filing
  lawsuits (the “Indirect Claims”) against hundreds of former Stanford directors,
  officers, and employees, alleging fraudulent transfers and unjust enrichment
  and/or breach of fiduciary duty. The Receiver obtained a $2 billion judgment
  against one former Stanford International Bank director and a $57 million
  judgment against a former Bank treasurer, both of whom were potentially
  covered under the policies. The Receiver continues to litigate similar claims
  against the coinsured Appellants who were Stanford managers and employees.
  See, e.g., Stanford International Bank, Ltd., et al., v. James R. Alguire, et al.,
  No. 3:09-CV-0724-N (N.D. Tex., filed Dec. 18, 2019).




         1 There is no dispute that the Appellants here are coinsured under the noted policies,
  but not coinsured under the Fidelity bond. The chief dispute is about the effect of certain
  limitations and exclusions within the policies.
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                                                                                   Appx.000343
      Case: 17-10663    Document: 00514998485 Page: 7 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 7 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 350 of 783 PageID 6771

                                           No. 17-10663
         After eight years of sparring, the Receiver and Underwriters, together
  with the court-appointed Examiner on behalf of Stanford investors, mediated
  their disputes for several months in 2015. Mediation initially resulted in a
  Settlement Proposal under which the Underwriters agreed to pay the Receiver
  $65 million, and in return the Receiver would “fully release any and all
  insureds under the relevant policies.” The purpose of the complete release was
  to shield the Underwriters from any policy obligations to defend or indemnify
  former Stanford personnel, including the employee Appellants, in the
  Receiver’s Indirect Claim lawsuits. The parties almost immediately disagreed
  about the content of the settlement, however, and the Underwriters filed an
  Expedited Motion to Enforce the Settlement Agreement. The district court
  denied the motion and instructed the parties to continue negotiating. On
  June 27, 2016, the Receiver and Underwriters notified the court that they had
  entered into a new settlement agreement, which the Examiner supported.
         Under this new settlement, the Underwriters again agreed to pay $65
  million into the receivership estate, but the settlement required orders barring
  all actions against Underwriters relating to the policies or the Stanford
  Entities.     Paragraph 35 of the settlement provides Underwriters the
  unqualified right to withdraw from the settlement if the court refuses to issue
  the bar orders. The bar orders were necessary because, unlike the terms of the
  first proposed settlement, the Receiver is required to release only the Estate’s
  claims against 16 directors and officers (rather than all insureds), as well as
  the judgments already obtained against certain directors and officers. 2 All
  other former Stanford employees, officers and directors, including Appellants,



         2 Oddly, the settlement releases claims only against those directors and officers who
  were among the most culpable for the Ponzi scheme. And it releases Underwriters from any
  obligation in connection with the aforementioned judgments for $2 billion and $57 million.
  This oddity should have been considered when assessing the fairness of the settlement.
                                               7
                                                                                  Appx.000344
      Case: 17-10663    Document: 00514998485 Page: 8 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 8 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 351 of 783 PageID 6772

                                       No. 17-10663
  remain subject to ongoing or potential litigation by the Receiver once the
  litigation stay against them is lifted.     Some Appellants assert that their
  individual costs of defending the Receiver’s ongoing actions already exceed
  $10,000. But the bar orders prevent them from suing the Underwriters for
  their costs of defense and indemnity under the insurance policies, even though
  they are coinsured, or for extra-contractual or statutory claims.
        The Receiver moved for approval of the settlement and entry of the bar
  orders. The district court directed notice to all interested parties, and received
  objections from several third parties, including Appellants. The court heard
  arguments of counsel regarding the settlement, but it refused to allow parties
  to offer evidence or live testimony or engage in cross-examination. After the
  hearing, parties were permitted to file additional declarations or affidavits.
        The district court approved the settlement and bar orders, denied all
  objections, and approved the payment of $14 million of attorney fees to
  Receiver’s counsel. Separate Final Judgments and Bar Orders were entered
  in each action pending before it relating to the Stanford Entities and in
  Appellant Haymon’s and Appellant Alvarado’s separate lawsuits against the
  Underwriters. The district court rejected all post-trial motions.
        A more complete discussion of the court’s findings will follow, but in
  general, the court found that the settlement resulted from “vigorous, good
  faith, arm’s-length, mediated negotiations” and concluded that the settlement
  was “in all respects, fair, reasonable, and adequate, and in the best interests
  of all Persons claiming an interest in, having authority over, or asserting a
  claim against Underwriters, Underwriters’ Insureds, the Stanford Entities,
  the Receiver, or the Receivership Estate.” The court further found that the
  settlement and bar orders were “fair, just, and equitable,” and it rejected the
  Appellants’ due process claims based on their exclusion from settlement talks
  and the lack of an evidentiary hearing. While the court recognized that the
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                                                                          Appx.000345
      Case: 17-10663    Document: 00514998485 Page: 9 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 9 of 31
  Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 352 of 783 PageID 6773

                                          No. 17-10663
  bar orders discriminate between a few Stanford officers and the Appellants, it
  reasoned that “on balance the unfairness alleged by the Objectors is either
  mitigated by other circumstances or simply outweighed by the benefit of the
  settlement in terms of fairness, equity, reasonableness, and the best interests
  of the receivership.”
        The Appellants fall into three categories. The McDaniel Appellants and
  “Alvarado” 3 Appellants are former Stanford managers or employees from
  offices around the country (“Employees”) who seek contractual coverage under
  the insurance policies and press extra-contractual claims against the
  Underwriters, including for bad faith and statutory violations of the Texas
  Insurance Code. Appellant Cordell Haymon (“Haymon”) was a member of
  Stanford Trust Company’s Board of Directors who settled the Receiver’s claims
  against him for $2 million before the instant global settlement was reached,
  and in return received the express right to pursue Underwriters for policy
  coverage and extra-contractual claims. Finally, the Louisiana Retirees/Becker
  Appellants (“Retirees”) are former Stanford investors who sued Stanford
  brokers covered by the insurance policies and seek to recover from the
  Underwriters directly pursuant to the Louisiana Direct Action Statute, La.
  Rev. Stat. 22:1269.
        Each group of Appellants raises different challenges to the court’s
  approval of the settlement and bar orders. They appeal from the district court’s
  order denying their objections to the proposed settlement, the Final Bar Order,




        3 While Alvarado was originally a party to this appeal, he withdrew his individual
  appeal on April 19, 2018. The other employees to that action remain as appellants and will
  be denominated, for the sake of convenience, Alvarado Appellants.

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                                                                                 Appx.000346
     Case: 17-10663    Document: 00514998485 Page: 10 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 10 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 353 of 783 PageID 6774

                                           No. 17-10663
 and the Order Approving Attorneys’ Fees 4 for the Receiver’s counsel. The
 Stanford Employees additionally appeal the Order denying their new trial
 motion, and Haymon appeals from the Order denying his motion for
 reconsideration.      After explaining the principles that govern the court’s
 management of the Receivership, we will analyze each set of Appellants’
 objections.
                              STANDARD OF REVIEW
        A district court’s entry of a bar order, like other actions in supervising
 an equity receivership, is reviewed for abuse of discretion. SEC v. Safety Fin.
 Serv., Inc., 674 F.2d 368, 373 (5th Cir. 1982); Newby v. Enron Corp., 542 F.3d
 463, 468 (5th Cir. 2008). A district court’s determination of the fairness of a
 settlement in an equity receivership proceeding is reviewed for an abuse of
 discretion.     Sterling v. Stewart, 158 F.3d 1199, 1202 (11th Cir. 1998)
 (“Determining the fairness of the settlement [in an equity receivership] is left
 to the sound discretion of the trial court and we will not overturn the court’s
 decision absent a clear showing of abuse of that discretion.”). There is no abuse
 of discretion where factual findings are not clearly erroneous and rulings are
 without legal error. Marlin v. Moody Nat. Bank, N.A., 533 F.3d 374, 377 (5th
 Cir. 2008). A district court’s denial of a Rule 59 motion for a new trial or to
 alter or amend a judgment also is reviewed for an abuse of discretion. St. Paul
 Mercury Ins. Co. v. Fair Grounds Corp., 123 F.3d 336, 339 (5th Cir. 1997). This
 Court reviews de novo a district court’s application of exceptions to the Anti–
 Injunction Act as a question of law. Moore v. State Farm Fire & Cas. Co.,
 556 F.3d 264, 269 (5th Cir. 2009).




        4The amount and propriety of the Receiver’s very high fee request is not substantively
 briefed by any party and is therefore waived, except to the extent that on remand the fee
 ought to be reconsidered in light of this opinion.
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     Case: 17-10663    Document: 00514998485 Page: 11 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 11 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 354 of 783 PageID 6775

                                      No. 17-10663
                                  DISCUSSION
  I.   General Receivership Principles
       A district court has broad authority to place assets into receivership “to
 preserve and protect the property pending its final disposition.” Gordon v.
 Washington, 295 U.S. 30, 37, 55 S. Ct. 584 (1935); see also Gilchrist v. Gen.
 Elec. Capital Corp., 262 F.3d 295, 302 (4th Cir. 2001) (“the district court has
 within its equity power the authority to appoint receivers and to administer
 receiverships”) (citing Fed. R. Civ. P. 66). The primary purpose of the equitable
 receivership is the marshaling of the estate’s assets for the benefit of aggrieved
 investors and other creditors of the receivership entities. See SEC v. Hardy,
 803 F.2d 1034, 1038 (9th Cir. 1986). Receivers appointed by a federal court are
 directed to “manage and operate” the receivership estate “according to the
 requirements of the valid laws of the State in which such property is situated,
 in the same manner that the owner or possessor thereof would be bound to do
 if in possession thereof.” 28 U.S.C. § 959(b).
       In general, the Receiver has wide powers to acquire, organize and
 distribute the property of the receivership. A properly appointed receiver is
 “vested with complete jurisdiction and control of all [receivership] property
 with the right to take possession thereof.” 28 U.S.C. § 754. The Receiver is
 obliged to allocate receivership assets among the competing claimants
 according to their respective rights and, in this case, under the laws of Texas,
 where the Stanford Financial Group was headquartered. The district court
 ruled, in a 2009 order that was not appealed, that the insurance policies and
 proceeds are property of the estate subject to the court’s exclusive in rem
 jurisdiction.
       Once assets have been placed in receivership, “[i]t is a recognized
 principle of law that the district court has broad powers and wide discretion to
 determine the appropriate relief in an equity receivership.”         Safety Fin.,
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                                                                         Appx.000348
     Case: 17-10663    Document: 00514998485 Page: 12 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 12 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 355 of 783 PageID 6776

                                       No. 17-10663
 674 F.2d at 372–73 (citing SEC v. Lincoln Thrift Assoc., 577 F.2d 600, 606 (9th
 Cir. 1978)). This discretion derives not only from the statutory grant of power,
 but also the court’s equitable power to fashion appropriate remedies as
 “ancillary relief” measures. See SEC v. Wencke, 622 F.2d 1363, 1369 (9th Cir.
 1980). Courts have accordingly exercised their discretion to issue bar orders
 to prevent parties from initiating or continuing lawsuits that would dissipate
 receivership assets or otherwise interfere with the collection and distribution
 of the assets. See SEC v. Stanford Int’l Bank Ltd., 424 F. App’x 338, 340 (5th
 Cir. 2011) (“It is axiomatic that a district court has broad authority to issue
 blanket stays of litigation to preserve the property placed in receivership
 pursuant to SEC actions.”). Receivership courts, like bankruptcy courts, may
 also exercise discretion to approve settlements of disputed claims to
 receivership assets, provided that the settlements are “fair and equitable and
 in the best interests of the estate.” Ritchie Capital Mgmt., L.L.C. v. Kelley,
 785 F.3d 273, 278 (8th Cir. 2015) (citing Tri–State Fin., LLC v. Lovald,
 525 F.3d 649, 654 (8th Cir. 2008)).
       Neither a receiver’s nor a receivership court’s power is unlimited,
 however. See Whitcomb v. Chavis, 403 U.S. 124, 161, 91 S. Ct. 1858, 1878
 (1971) (“The remedial powers of an equity court must be adequate to the task,
 but they are not unlimited.”). Courts often look to the related context of
 bankruptcy when deciding cases involving receivership estates. The district
 court here acknowledged that the purpose of bankruptcy receiverships and
 equity receiverships is “essentially the same—to marshal assets, preserve
 value, equally distribute to creditors, and, either reorganize, if possible, or
 orderly liquidate.” Janvey v. Alquire, No. 3:09-cv-0724, 2014 WL 12654910, at
 *17 (N.D. Tex. July 30, 2014); see also SEC v. Wealth Mgmt. LLC, 628 F.3d
 323, 334 (7th Cir. 2010) (“The goal in both securities-fraud receiverships and
 liquidation bankruptcy is identical—the fair distribution of the liquidated
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                                                                       Appx.000349
     Case: 17-10663    Document: 00514998485 Page: 13 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 13 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 356 of 783 PageID 6777

                                      No. 17-10663
 assets”). That their purpose is the same “makes sense” and reflects their
 shared legal heritage, since “federal equity receiverships were the predecessor
 to Chapter 7 liquidations and Chapter 11 reorganizations.” Alquire, 2014 WL
 12654910, at *17 (citing Duparquet Huot & Moneuse Co. v. Evans, 297 U.S.
 216, 221, 56 S. Ct. 412, 414 (1936)). The district court also recognized that “[i]n
 this particular case, the purpose and objectives of the receivership, as
 delineated in the Receivership Order, closely reflect the general purpose
 shared by the Bankruptcy Code and federal equity receiverships,” and it
 concluded that “[u]ltimately, this particular receivership is the essential
 equivalent of a Chapter 7 bankruptcy.” Id. at *18.
       Unfortunately, two interrelated limitations on the Stanford receivership
 were downplayed by the district court in its approval of the settlement and bar
 orders. Both derive from the broader principle that the receiver collects and
 distributes only assets of the entity in receivership. The first applies to the
 Receiver’s standing: “[l]ike a trustee in bankruptcy or for that matter the
 plaintiff in a derivative suit, an equity receiver may sue only to redress injuries
 to the entity in receivership, corresponding to the debtor in bankruptcy and the
 corporation of which the plaintiffs are shareholders in the derivative suit.”
 Scholes v. Lehmann, 56 F.3d 750, 753 (7th Cir. 1995) (emphasis added) (citing,
 inter alia, Caplin v. Marine Midland Grace Trust Co., 406 U.S. 416, 92 S. Ct.
 1678 (1972)). The Scholes case involved an SEC receivership, but Caplin, on
 which it relied, was a Supreme Court decision in a Chapter X reorganization
 case. This court endorsed the Scholes limitation as applied to this receivership
 in Janvey v. Democratic Senatorial Campaign Comm., Inc. (“DSCC”), 712 F.3d
 185, 190–93 (5th Cir. 2013). And following Caplin, a sister circuit held, “a
 trustee, who lacks standing to assert the claims of creditors, equally lacks
 standing to settle them.” DSQ Prop. Co., Ltd. v. DeLorean, 891 F.2d 128, 131
 (6th Cir. 1989); see also Wuliger v. Mfr’s. Life Ins. Co., 567 F.3d 787, 794 (6th
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                                                                          Appx.000350
     Case: 17-10663    Document: 00514998485 Page: 14 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 14 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 357 of 783 PageID 6778

                                         No. 17-10663
 Cir. 2009) (“Because the receivership entities all would have lacked standing,
 and because of the rule that receivers’ rights are limited to those of the
 receivership entities, the Receiver also lacked standing [to sue for
 misrepresentations by brokers to defrauded investors].”).
       The second limitation, arising from the district court’s in rem
 jurisdiction, is that the court may not exercise unbridled authority over assets
 belonging to third parties to which the receivership estate has no claim. Put
 another way, in the course of administering this receivership, this district court
 previously rejected a broad reading of 28 U.S.C. § 754 that suggested the
 court’s in rem jurisdiction over the property would necessarily reach every
 claim relating to that property. See Rishmague v. Winter, No. 3:11-cv-2024-N,
 2014 WL 11633690, at *2 (N.D. Tex. Sept. 9, 2014).
       Thus, this court and others have held that a bankruptcy court may not
 authorize a debtor to enter into a settlement with liability insurers that enjoins
 independent third-party claims against the insurers. See, e.g., Matter of Zale
 Corp., 62 F.3d 746 (5th Cir. 1995) (refusing to countenance a bankruptcy
 court’s authority to enforce a settlement prohibiting third-party bad faith
 insurance claims because the claims were not property of the bankruptcy
 estate). Similarly, “if [the coinsureds’] portion of the [insurance] Proceeds is
 truly not property of the Estate, then the bankruptcy court has no authority to
 enjoin suits against the [coinsureds].” In re Vitek, 51 F.3d 530, 536 (5th Cir.
 1995); see also In re SportStuff, Inc., 430 B.R. 170, 175 (B.A.P. 8th Cir. 2010)
 (bankruptcy court lacked jurisdiction or authority to impair or extinguish
 independent contractual rights of vendors that were additional insureds under
 the debtor’s policies).   As these cases illustrate, bankruptcy courts lack
 “jurisdiction” to enjoin such claims.
       The prohibition on enjoining unrelated, third-party claims without the
 third parties’ consent does not depend on the Bankruptcy Code, but is a maxim
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                                                                         Appx.000351
     Case: 17-10663    Document: 00514998485 Page: 15 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 15 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 358 of 783 PageID 6779

                                            No. 17-10663
 of law not abrogated by the district court’s equitable power to fashion ancillary
 relief measures.       Contrary to the Receiver’s assertion, the fact that the
 bankruptcy statute, 28 U.S.C. § 1334(b), limits jurisdiction to proceedings
 “arising in or related to” bankruptcy cases does not diminish the application of
 Zale or Vitek to equity receiverships.              As noted, bankruptcy and equity
 receiverships share common legal roots. 5 See In re Davis, 730 F.2d 176, 183–
 84 (5th Cir. 1984) (the Bankruptcy Code arms bankruptcy courts with broad
 powers analogous to a court in equity). Moreover, to justify its decision denying
 bankruptcy court jurisdiction over third-party claims, the court in Zale quoted
 the Supreme Court in a civil rights class action case: “[o]f course, parties who
 choose to resolve litigation through settlement may not dispose of the claims
 of a third party, and a fortiori may not impose duties or obligations on a third
 party, without that party’s agreement. A court’s approval of a consent decree
 between some of the parties therefore cannot dispose of the valid claims of
 nonconsenting intervenors . . . .” Zale, 62 F.3d at 757 n.26 (citing Local No. 93
 v. City of Cleveland, 478 U.S. 501, 529, 106 S. Ct. 3063, 3079, (1986)). 6 All of



        5  Modern bankruptcy reorganization law originated with Section 77B of the
 Bankruptcy Act of 1934, the purpose of which was to codify best practices in what had
 formerly been known as equity receiverships. See Duparquet Huot & Moneuse Co. v. Evans,
 297 U.S. 216, 222–24, 56 S. Ct. 412, 415–17 (1936). Section 77B(a), in turn, stated that the
 bankruptcy court’s powers are those “which a Federal court would have had it appointed a
 receiver in equity of the property of the debtor . . . .” Id. at 221, 56 S. Ct. at 415.

        6  Local No. 93 is merely one example of the Supreme Court’s rejection of the use of
 consent decrees to extinguish the claims of non-consenting third-parties, for “[a] voluntary
 settlement in the form of a consent decree between one [party] and [another party] cannot
 possibly ‘settle,’ voluntarily or otherwise, the conflicting claims of another group of [parties]
 who do not join in the agreement. This is true even if the second group of [parties] is a party
 to the litigation.” Martin v. Wilks, 490 U.S. 755, 755–68, 109 S. Ct. 2180, 2181–88 (1989).
 Indeed, “[a]ll agree” that “[i]t is a principle of general application in Anglo-American
 jurisprudence that one is not bound by a judgment in personam in a litigation in which he is
 not designated as a party or to which he has not been made a party by service of process.” Id.
 (citing Hansberry v. Lee, 311 U.S. 32, 40, 61 S. Ct. 115, 117 (1940)).

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     Case: 17-10663    Document: 00514998485 Page: 16 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 16 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 359 of 783 PageID 6780

                                      No. 17-10663
 this makes clear that it is not the subject matter or statutory limitations
 driving this limitation, and federal district courts have no greater authority in
 equity receiverships to ignore these bedrock propositions, because a “court in
 equity may not do that which the law forbids.” United States v. Coastal Ref. &
 Mktg., Inc., 911 F.2d 1036, 1043 (5th Cir. 1990).
       Rather than reckon with the limits on the Receiver’s standing and the
 court’s equitable power, the district court here cited an unpublished Fifth
 Circuit case, SEC v. Kaleta, No. 4:09-cv-3674, 2012 WL 401069, at *4 (S.D. Tex.
 Feb. 7, 2012), aff’d., 530 F. App’x. 360 (5th Cir. 2013), to support both the
 settlement and bar orders.      Importantly, Kaleta is an unpublished, non-
 precedential decision of this court. Not only that, but reading it as the district
 court and Appellees here advocate would mean investing the Receiver with
 unbridled discretion to terminate the third-party claims against a settling
 party that are unconnected to the res establishing jurisdiction.         That is
 unprecedented.     But Kaleta is in any event distinguishable and not
 inconsistent with the above-stated principles.       In Kaleta, the bar order
 prevented defrauded investors from suing parties closely affiliated with the
 entity in receivership after the parties had agreed to make good on their
 guarantees to the receiver. Moreover, the settling parties would have been
 codefendants with receivership entities, leading to the possibility of their
 asserting indemnity or contribution from the estate. The court was forestalling
 a race to judgment that would have diminished the recovery of all creditors
 against receivership assets.     That bar order protected the assets of the
 receivership estate, whereas the bar orders before us extend beyond
 receivership assets.
       The Receiver also contends that the district court may permanently
 enjoin the claims of non-consenting third parties based on general statements
 about ancillary powers found in SEC cases such as Wencke and Safety
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                                                                         Appx.000353
     Case: 17-10663    Document: 00514998485 Page: 17 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 17 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 360 of 783 PageID 6781

                                            No. 17-10663
 Financial Services. We disagree. These cases stand only for the proposition
 that, in some circumstances, federal courts may use injunctive measures, such
 as stays, “where necessary to protect the federal receivership.” See Wencke,
 622 F.2d at 1370; Safety Fin. Serv., 674 F.2d at 372 n.5 (distinguishing Wencke,
 which “involved the much broader question of a federal court’s power to enjoin
 nonparty state actions against receivership assets.”) (emphasis added). In fact,
 the court in Wencke recognized that its holding was limited to the propriety of
 staying third-party “proceedings against a court-imposed receivership.”
 Wencke, 622 F.2d at 1371 (emphasis added).                  Correctly read, these cases
 explain that in rem jurisdiction over the receivership estate imbues the district
 court with broad discretion to shape equitable remedies necessary to protect
 the estate. 7 They do not support that a district court’s in rem jurisdiction over
 the estate may serve as a basis to permanently bar and extinguish
 independent, non-derivative third-party claims that do not affect the res of the
 receivership estate.
        The Appellees emphasize the recent decision SEC v. DeYoung, 850 F.3d
 1172 (10th Cir. 2017), as supporting their argument that an equity court’s
 permanent bar order against third parties is appropriate when tied to a
 settlement that secures receivership assets. Like many of their arguments,
 however, this assertion proves too much. DeYoung is a narrow and deliberately
 fact-specific opinion. See DeYoung, 850 F.3d at 1182–83. The court approved
 a bar order preventing three defrauded IRA Account holders (out of over 5,500
 victims) from pursuing claims against the depository bank in which the
 accounts had been illegally commingled.                  Notably, however, the court
 demonstrated that (1) the claims of the barred investors precisely mirrored


        7 See also SEC v. Stanford Int’l Bank, Ltd., 424 F. App’x. 338, 340 (5th Cir. 2011) (“It
 is axiomatic that a district court has broad authority to issue blanket stays of litigation to
 preserve the property placed in receivership pursuant to SEC actions.”) (emphasis added).
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                                                                                    Appx.000354
     Case: 17-10663    Document: 00514998485 Page: 18 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 18 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 361 of 783 PageID 6782

                                     No. 17-10663
 claims that had been asserted and settled by the receiver; (2) averted a
 duplicative lawsuit whereby the bank could have asserted its contract right to
 indemnity from the receivership assets; and (3) provided the account holders
 with a claim against the receivership estate. The court simply channeled
 redundant claims into the receivership while preventing diminution of
 receivership assets.
        Returning to the broad issue in this case, whether the district court
 abused its discretion in approving the settlement and bar orders, there are two
 subparts to the question. The first is whether the district court’s equitable
 power to fashion ancillary relief could be used to bar claims by insureds to
 proceeds of the Underwriters’ policies, which are property within the
 receivership estate. The second is whether the court’s equitable power may be
 used to bar third-party claims, like tort or statutory claims, against the
 Underwriters but unconnected to the property of the Receivership.             The
 answers to these questions vary according to the Appellants’ claims. Texas
 law, unless otherwise noted, applies by virtue of 28 U.S.C. § 959(b).
  II.   Party Contentions
            a. Appellants Alvarado and McDaniel
        The McDaniel and Alvarado Appellants are all former Stanford
 managers or employees who are being sued by the Receiver for clawbacks of
 their compensation via the Receiver’s Indirect Claims on the Underwriters’
 policies. Appellants seek coverage under the insurance policies, which
 Underwriters have denied, to defend against these lawsuits and indemnify
 their losses. Appellants object to the settlement and bar orders on numerous
 grounds.     From a practical standpoint, the settlement will exhaust the
 Underwriters’ policy proceeds, leaving these Appellants wholly uninsured
 against the Receiver’s lawsuits. The bar orders, moreover, prevent them from
 pursuing against the Underwriters not only breach of contract claims for
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                                                                         Appx.000355
     Case: 17-10663    Document: 00514998485 Page: 19 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 19 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 362 of 783 PageID 6783

                                             No. 17-10663
 violating the duties to defend and indemnify, but also statutory and tort claims
 that, if successful, would not be paid from policy proceeds and would not reduce
 Receivership assets.
        The district court’s rejection of Appellants’ objections rested generally on
 its conclusion that the settlement and bar orders are fair, equitable, reasonable
 and in the best interests of the receivership estate. As has been noted, the
 court cited only the Kaleta case, affirmed by a non-precedential decision of this
 court, in support of its conclusions.               The court’s reasoning invoked the
 perceived necessity of a settlement, together with the bar orders, to resolve
 fairly and efficiently the competing claims of the Receiver and Underwriters
 about policy coverage and assure the maximum recovery for Stanford’s
 defrauded investors. Without the bar orders, the court stated, Underwriters
 would not settle.        The court pointedly refused to decide whether policy
 exclusions apply to the Appellants’ coverage claims. Even if such exclusions
 barred coverage, the court added, then the Receiver might also be barred by
 the same exclusions and all potential benefit of the settlement would be lost.
 In sum, the Appellants would lose out no matter what: their claims could be
 barred by exclusions, held uninsurable, or the Receiver, having the right to
 settle, would exhaust the proceeds first. 8              The balance of benefits to the
 receivership estate against Appellants’ admitted losses weighed in favor of the
 court’s approving the settlement and bar orders.



        8 Implicit in the district court’s reference to the Receiver’s right to settle and exhaust
 all the policy proceeds is apparently its reliance on Texas law, which allows an insurer to
 settle with fewer than all of its co-insureds when the policy proceeds are insufficient to satisfy
 all of the claims. See G.A. Stowers Furniture Co. v. Am. Indem. Co., 15 S.W.2d 544 (Tex.
 1929); Pride Transp. v. Cont’l Cas. Co., 511 F. App’x 347, 351 (5th Cir. 2013); Travelers
 Indem. Co. v. Citgo Petroleum Corp., 166 F.3d 761, 765–68 (5th Cir. 1999); see also Tex.
 Farmers Ins. Co. v. Soriano, 881 S.W.2d 312, 315 (Tex. 1994). The court, however, never
 referenced these cases.

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                                                                                       Appx.000356
     Case: 17-10663    Document: 00514998485 Page: 20 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 20 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 363 of 783 PageID 6784

                                         No. 17-10663
       In the course of explaining its decision, however, the court made some
 errors. First, its broad statement that the settlement would fail without the
 bar orders did not account for the fact that the parties had mediated a prior
 settlement that required no bar orders against these Appellants because the
 Receiver had agreed to release all of its claims against them. “Global peace”
 there was achieved not by bar orders, but by the Receiver’s agreeing to drop
 the Indirect Claim suits. The final settlement required the broad bar orders
 only because the Receiver, for whatever reason, insisted that it must continue
 to pursue hundreds of clawback actions. 9 The court’s broad statement also
 neglected to note that, despite the Receiver’s overall insistence to the contrary,
 the Receiver nonetheless released its claims against sixteen former Stanford
 officers and employees in the final settlement.
       Second, the court, perhaps inadvertently, did not address the fact that
 Appellants were foreclosed from sharing in the assets recovered by the
 Receiver by filing claims against the estate.
       Third, the court failed to distinguish between the Appellants’ two
 separate types of claims – contractual claims for defense and indemnity
 payable (if successful) from policy proceeds in competition with investors’
 claims to the Receivership assets; and independent, non-derivative, third-
 party claims for tort and statutory violations, which would be satisfied (if
 successful) out of Underwriters’ assets. In this connection, the court also
 undervalued the Appellants’ claims for indemnity by disregarding Pendergest-
 Holt. In that case, this court held that the D&O policies should provide up-
 front reimbursement of defense costs in Stanford insureds’ criminal cases



       9 Indeed, when the Underwriters moved the district court to enforce the terms of the
 mediated settlement, their motion queried the benefits to be reaped, other than in the
 Receiver’s legal fees, from these time-consuming suits against relatively poor former
 employees targeted by the Receiver.
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                                                                                Appx.000357
     Case: 17-10663    Document: 00514998485 Page: 21 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 21 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 364 of 783 PageID 6785

                                       No. 17-10663
 pending a separate judicial proceeding to resolve the coverage question.
 Pendergest-Holt v. Certain Und. at Lloyd’s of London, 600 F.3d 562, 572–74
 (5th Cir. 2010). Although carefully hedged, this decision offered Appellants
 the prospect of possible, temporary relief for their mounting defense costs and
 was not “wholly inapplicable” to the decision concerning the settlement and
 bar orders. But in any event, the court did not analyze the ramifications of
 Appellants’ distinct claims against Receivership assets and claims wholly
 independent of receivership assets.
               i. Contractual Claims for Defense and Indemnity
       Reviewing first the settlement and bar of Appellants’ contractual claims
 against the policy proceeds that are property of the receivership estate, we find
 that the court abused its discretion by extinguishing Appellants’ claims to the
 policy proceeds, while making no provision for them to access the proceeds
 through the Receiver’s claims process. This undermines the fairness of the
 settlement.
       As the district court observed, some settlement with the Underwriters
 was prudent because of the sheer magnitude of claims far beyond the policies’
 coverage, and because the scope of coverage, dependent on multiple, insured-
 specific factual and legal questions, is unclear. What is clear in Texas law, as
 conceded by Appellants, is that an insurer may settle with fewer than all of its
 co-insureds when the policy proceeds are insufficient to satisfy all of the claims.
 See G.A. Stowers Furniture Co. v. American Indem. Co., 15 S.W.2d 544 (Tex.
 1929); Pride Transp. v. Continental Cas. Co., 511 F. App’x 347, 351 (5th Circuit
 2013); Travelers Indem. Co. v. Citgo Petroleum Corp., 166 F.3d 761, 765–68
 (5th Cir. 1999); see also Farmers Insurance Co. v. Soriano, 881 S.W.2d 312, 315




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                                                                          Appx.000358
     Case: 17-10663    Document: 00514998485 Page: 22 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 22 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 365 of 783 PageID 6786

                                         No. 17-10663
 (Tex. 1994). 10 Although the district court did not cite these cases, its ruling
 squares with them and supports its cost/benefit calculation for the
 Receiver/Underwriters’ settlement to the detriment of Appellants’ contractual
 claims.
       But not only did the settlement expressly foreclose the Appellants from
 sharing in the insurance policy proceeds of which they are coinsureds, the
 Appellants are not even allowed to file claims against the Receivership estate.
 Unlike the Stanford investors and the Receiver’s attorneys, who can pursue
 restitution through the Receiver’s claims process, Appellants have no access to
 the claims process. The Settlement Agreement specifically restricts payment
 of the Proceeds to the Receivers’ attorneys and the Stanford investors and
 specifically excludes Stanford employees and management, including
 Appellants. For these Appellants, should the Receiver continue to pursue
 them, their claims against the Underwriters offer the only avenue of recovery.
 This alone serves to distinguish this case from Kaleta, which approved the
 settlement because, inter alia, the settlement agreement “expressly permits”
 those affected by the bar order “to pursue their claims by ‘participat[ing] in the
 claims process for the Receiver's ultimate plan of distribution for the
 Receivership Estate.’”      See Kaleta, 530 F. App’x at 362–63 (alteration in
 original).   Barring Appellants’ claims to coverage under their insurance
 policies by claiming the proceeds of these policies as property of the
 Receivership, and then barring Appellants’ from accessing even a portion of
 these proceeds through the Receivership claim process, undermines the
 fairness of the settlement.



       10 Soriano may not squarely apply to the extent that the settlement does not, on its
 face, exhaust the policy limits. But this uncertainty in the law meant that settlement
 between the Receiver and the Underwriters was fair game.

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     Case: 17-10663    Document: 00514998485 Page: 23 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 23 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 366 of 783 PageID 6787

                                            No. 17-10663
        The district court and Receiver lacked authority to dispossess claimants
 of their legal rights to share in receivership assets “for the sake of the greater
 good.” The court’s duty, as previously described, is to assure that all claimants
 against the Receivership have a reasonable opportunity to share in the estate’s
 assets. Given the numerous exclusions to policy coverage, 11 the Appellants’
 entitlement to proceeds may appear weak, but the court disclaimed deciding
 coverage issues, and the Appellants have identified several reasons, in addition
 to Pendergest-Holt, why their contractual claims might prevail on final
 adjudication. 12
        Rather than extinguish the Appellants’ contractual claims, the court
 could have authorized them to be filed against the Receivership in tandem with
 the Stanford investors’ claims. Such “channeling orders” are often employed
 to afford alternative satisfaction to competing claimants to receivership assets
 while limiting their rights of legal recourse against the assets.                  See, e.g.,
 DeYoung, 850 F.3d at 1182; see also Kaleta, 530 F. App’x at 360 (approving
 claims filing in receivership for barred litigants). In any event, the court may
 have intended to channel the Appellants’ claims here but simply overlooked
 their omission from the extant procedures. 13



         The myriad of contested policy exclusions include the insured versus insured, money
        11

 laundering, fraud, intentional corporate or business policy, and prior knowledge exclusions.

        12  Appellants explain that a significant number of their group have no personal
 liability, and, inferentially, should not be subject to policy exclusions, because they did not
 sell Stanford CDs to investors. Further, because the Receiver’s claims against the Appellants
 are not derivative, any recovery from the proceeds would not at all reduce or offset the
 Appellants’ liability for fraudulent transfers. Finally, Appellants assert viable defenses to
 the clawback actions based, in part, on Texas law in this Receivership. See Janvey v. Golf
 Channel, Inc., 487 S.W.3d 581, 582 (Tex. 2016) (recognizing defense to fraudulent transfer of
 reasonably equivalent value received).

        13The Receiver and Underwriters contend that in lieu of other modes of compensation
 through the receivership, these Appellants have received “benefits,” however small, from the
 settlement because the insurance proceeds that have gone into the receivership estate offset
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                                                                                    Appx.000360
     Case: 17-10663    Document: 00514998485 Page: 24 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 24 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 367 of 783 PageID 6788

                                             No. 17-10663
                ii. Extracontractual Claims for Tort and Statutory Violations
        By ignoring the distinction between Appellants’ contractual and
 extracontractual claims against Underwriters, the district court erred legally
 and abused its discretion in approving the bar orders. 14                      These claims,
 including common law bad faith breach of duty and claims under the Texas
 Insurance Code, lie directly against the Underwriters and do not involve
 proceeds from the insurance policies or other receivership assets. 15 These
 damage claims against the Underwriters exist independently; they do not arise
 from derivative liability nor do they seek contribution or indemnity from the
 estate. 16 As the preceding discussion explains in detail, receivership courts
 have no authority to dismiss claims that are unrelated to the receivership
 estate.     That the district court was “looking only to the fairness of the
 settlement as between the debtor and the settling claimant [and ignoring third-
 party rights] contravenes a basic notion of fairness.” Zale, 62 F.3d at 754



 their potential liability in the Receiver’s and other suits. The district court made no such
 finding, and we see no basis in the record for it.

        14 The Receiver and Underwriters would pretermit any such distinction by contending
 that unless the Appellants had valid contractual claims for insurance from the Underwriters’
 policies, they could not bring extracontractual claims. This may well be accurate. The
 district court, however, refused to rule on the viability of Appellants’ contractual claims, and
 we need not undertake that task here. The basis of settlement for all concerned is to avoid
 tedious litigation of insurance coverage claims.

        15This principle has been described above in the related context of bankruptcy. See
 Matter of Zale Corp., 62 F.3d 746, 756–57 (5th Cir. 1995); Matter of Vitek, Inc., 51 F.3d 530,
 538 (5th Cir. 1995); In re Sportstuff, Inc., 430 B.R. 170, 178–79 (B.A.P. 8th Cir. 2010); see also
 Matter of Buccaneer Res., LLC, 912 F.3d 291, 293–97 (5th Cir. 2019) (explicating the
 difference between derivative and non-derivative injuries and holding that a tortious
 interference claim by a former company president against the outside lenders is non-
 derivative and separate from the bankruptcy estate).

        16 See SEC v. DeYoung, 850 F.3d 1172; In re Heritage Bond Litig., 546 F.3d 667, 680
 (9th Cir. 2008) (discussing settlement of a securities class action and distinguishing between
 claims for codefendant contribution and independent claims against settling defendants;
 former could be dismissed by bar order, but latter claims could not be).
                                                24
                                                                                       Appx.000361
     Case: 17-10663    Document: 00514998485 Page: 25 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 25 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 368 of 783 PageID 6789

                                          No. 17-10663
 (alteration in original) (citing United States v. AWECO, Inc., 725 F.2d 293, 298
 (5th Cir.)).
        As discussed above, the Receiver lacked standing to settle independent,
 non-derivative, non-contractual claims of these Appellants against the
 Underwriters. See DSCC, 712 F.3d at 190, 193 (receiver “has standing to
 assert only the claims of the entities in receivership, not the claims of the
 entities’ investor-creditors [coinsureds] . . .”).      Of course, the Receiver and
 Underwriters were, as Appellants’ counsel colorfully described, all too happy
 to compromise at the expense of Appellants’ rights. The court purported to
 justify this result by claiming that “the bar orders are not settling claims, they
 are enjoining them.” No matter the euphemism, a permanent bar order is a
 death knell intended to extinguish the claims, which are a property interest,
 however valued, of the Appellants.
        Moreover, in approving the settlement and bar orders against these
 Appellants, the district court overlooked problems inherent in the settling
 parties’ positions.     The Underwriters’ position was in conflict with the
 Appellants: by means of the bar orders, the Underwriters limited their
 exposure to further costly and time-consuming litigation over Appellants’ non-
 derivative extracontractual claims against them. The Receiver was enabled by
 the settlement and bar orders to place Appellants in a vise: preserving his
 ability to sue Appellants for clawbacks even as the agreement stripped
 Appellants’ access to any recompense from the Underwriters. 17                      These




       17 The mediated settlement, in contrast, averted these conflicts of interest with the
 Receiver’s release of claims against Appellants offsetting the Underwriters’ potential
 extracontractual liability.

                                             25
                                                                                 Appx.000362
     Case: 17-10663    Document: 00514998485 Page: 26 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 26 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 369 of 783 PageID 6790

                                          No. 17-10663
 problems cast grave doubt on the fairness and equity of the settlement and bar
 orders reached without Appellants’ participation. 18
         In sum, although we sympathize with the impetus to settle difficult and
 atomized issues of insurance coverage rather than dissipate receivership
 assets in litigation, the settlement and bar orders violated fundamental limits
 on the authority of the court and Receiver. The court and Receiver could not
 abrogate contractual claims of these Appellants to proceeds of Underwriters’
 policies without affording them an alternative compensation scheme similar,
 if not identical, to the claims process for Stanford investors. The court could
 not authorize the Receiver and Underwriters to compromise their differences
 while        extinguishing   the   Appellants’    extracontractual      claims     against
 Underwriters. Equity must follow the law, which here constrains the court’s
 and Receiver’s authority to protecting the assets of the receivership and claims
 directly affecting those assets. 19
         b.       Appellant Cordell Haymon
         Like the Alvarado and McDaniel Appellants, Appellant Cordell Haymon,
 a member of Stanford Trust Company’s board of Directors, was targeted by the



          When compared with DeYoung, 850 F.3d at 1182–83, the unsustainability of the
         18

 settlement and bar orders here is manifest. Unlike that case, the extracontractual claims of
 these Appellants do not parallel those of the Receiver, Underwriters possess no
 contribution/indemnity claim against the receivership estate, and Appellants have been
 provided no channel to assert claims in the receivership.

         19We reject Appellants’ due process claims against the settlement and bar orders.
 They contend that because they “had an interest in” the outcome of the settlement, and the
 Bar Order “fully and finally adjudicates Appellants’ independent state law contract and tort
 claims,” due process required at least the ability to introduce evidence at the hearing.
 McDaniel presses other constitutional claims. But Appellants were provided notice of the
 settlement hearing, were able to fully brief their position and provide affidavits, and they
 have offered nothing more on appeal. Although excluded from the settlement negotiations,
 they have shown no legal requirement that they be allowed to participate in a settlement
 resolving claims for reimbursement against the limited policy proceeds. The applicable Texas
 law allows insurers to settle with fewer than all of the insureds in such circumstances.
 Appellants’ due process arguments fail, and McDaniel’s other claims are meritless.
                                             26
                                                                                  Appx.000363
     Case: 17-10663    Document: 00514998485 Page: 27 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 27 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 370 of 783 PageID 6791

                                           No. 17-10663
 Receiver and sought coverage of his defense costs under the insurance policies.
 After the Underwriters denied his claim for coverage, he settled the Receiver’s
 fiduciary duty breach suit for $2 million. Haymon asserts that he relied on the
 language of his settlement agreement, which specifically authorized the
 continuation of his suit against the Underwriters. Only a few months later,
 however, the final proposed settlement undid his expectations of recovery from
 the Underwriters. Haymon requested to intervene in the initial coverage
 dispute between Underwriters and the Receiver, and he filed objections to the
 proposed settlement. He argues now that the district court erred in barring all
 of his contractual and extracontractual tort and statutory claims against the
 Underwriters.
        To the extent that Haymon’s claims mirror those of Alvarado and
 McDaniel, the same results follow. The district court acted within its authority
 to bar Haymon’s claim for contractual defense and indemnity under the
 insurance policies, but some alternate compensation mode from the
 receivership estate is required, and the court could not bar his extracontractual
 claims against the Underwriters.             However, the ultimate evaluation of
 Haymon’s claims may differ from that of the other Appellants for two reasons,
 which the district court should assess on remand. First, because his insurance
 coverage claim was liquidated before the final settlement ($2 million potential
 indemnity and $1.5 million defense costs) it was ripe for judicial determination
 under Pendergest-Holt. 20        Second, Haymon received a bar order, perhaps
 valuable to him, against any further litigation concerning his involvement with
 Stanford entities.



        20 Finally, as noted in regard to the other Appellants, Haymon was afforded the
 opportunity, and availed himself of the ability to press his constitutional objections to the
 settlement and bar orders. There was no failure of due process and his other vaguely
 identified constitutional objections are meritless.
                                              27
                                                                                  Appx.000364
     Case: 17-10663    Document: 00514998485 Page: 28 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 28 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 371 of 783 PageID 6792

                                     No. 17-10663
       c.     Appellant Louisiana Retirees
       Unlike the foregoing Appellants, the Louisiana Retirees are not
 coinsureds under the insurance policies, and they are not being pursued in
 Indirect Claim actions by the Receiver. Retirees have assiduously pursued
 securities law claims against certain Stanford brokers and the Underwriters,
 as insurers for those brokers, under the Louisiana Direct Action Statute, La.
 R.S. 22:1269.
       First, the parties dispute the meaning of the bar order and the extent to
 which it bars the Retirees’ claims. The Receiver argues that the bar order
 applies only to claims against the Underwriters and the Underwriters’
 Released Parties, defined as the officers, agents, etc. of Underwriters, and
 expressly excluding the officers, directors, or employees of Stanford Entities.
 Retirees argue that it enjoins them from pursuing the Stanford Claims, defined
 as “any action, lawsuit or claims brought by any Stanford Investor against
 Underwriters [or] . . . Underwriter’s Insureds.”       In turn, Underwriters’
 Insureds are defined as “any person that shall be an officer and director of any
 Stanford Entities . . . [or] any employee of any Stanford Entities.” On remand,
 it would be appropriate for the district court to determine and clarify the
 meaning of the bar order as to the Retirees, keeping in mind that the district
 court may not enjoin any claims by Retirees against the brokers that do not
 implicate the policy proceeds.
       Second, the Retirees’ claims under the Louisiana direct action statute
 unequivocally implicate the policy proceeds and therefore assets of the
 receivership. The statute specifies that an action can be brought “within the
 terms and limits of the policy by the injured person.” La. Rev. Stat. 22:1269(A),
 (C), (D).   It “does not create an independent cause of action against the
 insurer[;] it merely grants a procedural right of action against an insurer where
 the plaintiff has a substantive cause of action against the insured.” Soileau v.
                                        28
                                                                        Appx.000365
     Case: 17-10663    Document: 00514998485 Page: 29 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 29 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 372 of 783 PageID 6793

                                     No. 17-10663
 Smith True Value & Rental, 144 So. 3d 771, 780 (La. 2013). As such, the
 Receiver could settle with the Underwriters notwithstanding the direct action
 claim just as he could settle regardless of the Employee Appellants’ contractual
 claims to policy proceeds. Further, as former investors in the Stanford entities,
 the Retirees were afforded a means of filing claims apart from the direct action
 suit, and many have availed themselves of that opportunity. Consequently,
 the Retirees’ direct action suit against the Underwriters amounts to a
 redundant claim on receivership assets.
       Nevertheless, the Retirees assert several arguments that have no
 bearing on the permissibility of the settlement and bar order as to them. They
 contend first that the settlement and bar order conflict with the Supreme
 Court’s decision in Chadbourne & Parke LLP v. Troice, 134 S. Ct. 1058 (2014),
 which they characterize as “acknowledg[ing] the Louisiana Retirees’ rights to
 bring their state law securities claims in Louisiana state court.” But Troice
 held only that the Securities Litigation Uniform Standards Act did not preempt
 the Louisiana Appellants’ state court claims. The Court’s ruling did not bear
 on the merits of or procedure for the Retirees’ state law case.
       Second, they contend that DSCC, 712 F.3d at 185, forbids giving the
 receiver the right to “control the settlement of a claim it does not own.” That
 is certainly correct according to our previous discussion, but here, the Receiver
 had standing to pursue its own claims as coinsured under the Underwriters’
 policies, such claims perfected the Receiver’s interest in a valuable asset, and
 Texas law provided the right to settle them even at the expense of the Retirees’
 direct action claims.
       The Retirees argue that the district court should have first determined
 the disputed legal questions about the magnitude of, and legal rights to, the
 policy proceeds before approving the settlement and bar orders under In re
 Louisiana World Exposition, Inc., 832 F.2d 1391 (5th Cir. 1987).            This
                                        29
                                                                        Appx.000366
     Case: 17-10663    Document: 00514998485 Page: 30 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 30 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 373 of 783 PageID 6794

                                        No. 17-10663
 argument simply misreads that case. The court in Louisiana World explicitly
 distinguished the facts before it from cases involving coinsureds with equal
 claims to the policy proceeds. Moreover, at least one disputed policy – the
 Fidelity Bond – covers only the Receivership entities. 21 It was not an abuse of
 discretion for the district court to hold that equity favored avoiding costly
 litigation and dissipation of receivership assets by allowing the Receiver, a
 coinsured with equal claim to the policy proceeds, to settle with the
 Underwriters. Avoiding protracted legal examination of the policy exclusions,
 which could just as easily bar Retirees and others from the policy proceeds,
 was precisely the point of the settlement.
       Fourth, Retirees assert that the Anti-Injunction Act, 28 U.S.C. § 2283
 (“AIA”), prevented the court from issuing its bar orders. This argument has no
 merit.     Under the AIA, “any injunction against state court proceedings
 otherwise proper under general equitable principles must be based on one of
 the specific statutory exceptions to [the Anti-Injunction Act] if it is to be
 upheld.” Atl. Coast Line R.R. Co. v. Bhd. of Locomotive Eng’rs, 398 U.S. 281,
 287, 90 S. Ct. 1739, 1743 (1970).           The specific exceptions are express
 authorization by an Act of Congress, where necessary in aid of the court’s
 jurisdiction, or to protect or effectuate the court’s judgments.           Id. at 288,
 90 S. Ct. at 1743–44. The AIA does not prohibit the settlement and bar order
 because, pertinent to the Retirees, they cover only those claims implicating the
 insurance policy proceeds and so were necessary in aid of the district court’s
 jurisdiction over those proceeds.       The district court has exclusive in rem
 jurisdiction over the policy proceeds and permanent bar orders have been
 approved as parts of settlements to secure receivership assets. See, e.g., SEC


       21  As with the other policies, the Underwriters and Receiver dispute the scope of
 coverage and exclusions of the Fidelity Bond, and whether the Receiver may access the
 proceeds, but there is no argument that the Retirees may access these proceeds.
                                           30
                                                                              Appx.000367
     Case: 17-10663    Document: 00514998485 Page: 31 Date Filed: 06/17/2019
Case 19-34054-sgj11 Doc 1971-1 Filed 03/04/21 Entered 03/04/21 17:04:18 Page 31 of
 Case 3:21-cv-01585-S Document 15 Filed  3110/01/21 Page 374 of 783 PageID 6795

                                        No. 17-10663
 v. Parish, No. 2:07-CV-00919-DCN, 2010 WL 8347143 (D.S.C. Feb. 10, 2010)
 (“[T]he bar order is necessary to preserve and aid this court’s jurisdiction over
 the receivership estate, such that the Anti-Injunction Act would not prohibit
 the bar order even if there were pending state court actions, which there are
 not.”).
           For these reasons, the settlement and bar orders did not interfere with
 or improperly extinguish the Retirees’ rights.
                                   CONCLUSION
           For the foregoing reasons, we VACATE the district court’s orders
 approving the settlement and bar orders and REMAND for further
 proceedings consistent with this opinion. 22




          Vacatur and remand will probably necessitate the court’s reconsideration of the
           22

 attorneys’ fee award to the Receiver’s counsel.
                                           31
                                                                              Appx.000368
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 375 of 783 PageID 6796



                              EXHIBIT 10




                                                                   Appx.000369
Case 19-34054-sgj11 Doc 1973 Filed 03/04/21 Entered 03/04/21 17:34:17 Page 1 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 376Docket   #1973 Date Filed: 03/04/2021
                                                             of 783  PageID 6797


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COUNSEL FOR JAMES DONDERO

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

In re:                                                         §                   Case No. 19-34054-SGJ-11
                                                               §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                             §
                                                               §                            Chapter 11
                                                               §
           Debtor.                                             §

         JOINDER IN MOTION FOR STAY PENDING APPEAL AND ADDITIONAL
             GROUNDS FOR THE ISSUANCE OF A STAY PENDING APPEAL

           James Dondero (“Dondero”) herby files his Joinder to Highland Capital Management Fund

Advisors, L.P. and NexPoint Advisors, L.P.’s Motion for Stay Pending Appeal of the Confirmation

Order, and Brief In Support Thereof (the “Advisor Motion”), and also submits his Additional

Grounds for the Issuance of a Stay Pending Appeal. 1

                                                      Joinder

           1.       First, Dondero joins and incorporates by reference each of the points, facts, legal

analysis and standards made by the Movants in the Advisor Motion.




1
    Defined terms not defined herein have the same terms ascribed to them in the Advisor Motion.

JOINDER IN MOTION FOR STAY PENDING APPEAL                                                            PAGE 1OF 5
                                                                            ¨1¤}HV5#$      Appx.000370
                                                                                                       'd«
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Case 19-34054-sgj11 Doc 1973 Filed 03/04/21 Entered 03/04/21 17:34:17 Page 2 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 377 of 783 PageID 6798



                            Additional Facts Relevant to this Joinder

        2.      During the course of this bankruptcy case, and after Dondero was removed from

his role at the Debtor, the Debtor or its subsidiaries, under the direction of the Debtor’s CEO

James Seery, sold three substantial assets. Those three assets sales were generically referred to

as the Life Settlements sale, the Omnimax sale and the Trussway or SSP sale (collectively the

“Sales”).

        3.      In each of the Sales, the sale of the assets that occurred was not actually carried

on the balance sheet of the Debtor itself, but instead on the balance sheet of a subsidiary or a

subsidiary of a subsidiary. Each Sale was significant and in excess of $2,000,000.

        4.      The Debtor did not provide notice of the Sales to creditors or parties-in-interest.

        5.      The Debtor further maintains that notice of the Sales was not required. For the

reasons stated below, the Debtor is mistaken.

                  Additional Support for Issuance of a Stay Pending Appeal

        6.      As additional grounds and argument as why a stay should issue, as stated in

Dondero’s Objection to the Plan and as argued at the confirmation hearing on the same, the Debtor

failed to meet its burden proving that the best interests of the creditors test had been met by

showing that creditors and other parties in the waterfall (such as equity) would receive as much as

they would have in a hypothetical chapter 7 case. This objection was, in part, based on the

Debtor’s repeated refusal, even while in bankruptcy, to afford creditors and parties-in-interest,

such as Dondero, notice and opportunity to participate in sales of the Debtor’s assets. One of the

numerous reasons for the requirements under the Bankruptcy Code and Rules that notice of such

sales be provided is so that any creditor, or any other interested party, could participate in the sales

process and thereby ensure that the estate (and other stakeholders) can reasonably anticipate that



JOINDER IN MOTION FOR STAY PENDING APPEAL                                                    PAGE 2OF 5

                                                                                           Appx.000371
Case 19-34054-sgj11 Doc 1973 Filed 03/04/21 Entered 03/04/21 17:34:17 Page 3 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 378 of 783 PageID 6799



the highest and best sales price(s) for any asset(s) being sold was indeed reached for the sale of

that asset. Absent a stay pending appeal, Dondero and other parties-in-interest would lose the

protections offered by the notice procedures for the sale of assets provided for under 11 U.S.C.

Section 363 and Federal Rule of Bankruptcy Procedure 2002.

       7.      The Debtor maintains that while it did not give notice to Dondero of prior sales in

bankruptcy, that it did not have to. Dondero reasonably assumes that the Debtor may continue

such practice even if a stay was granted. As a result, the imposition of the stay is not material to

the Debtor and does no harm to it.

       8.      Alternatively, if the Debtor now acknowledges that under the Bankruptcy Code and

Rules notice should have been provided and that any subsequent similar sale would need to be

noticed out in accordance with Section 363 and Rule 2002, then the additional burden to do so is

not material to the Debtor, better insures that creditors and parties-in-interest are both informed

and their interests are protected, and informs both this Court and the court hearing the appeal of

this matter additional evidence of why this underlying appeal should be granted.

       9.      First, the argument used to justify the prior lack of compliance with the Code and

the Rules of “the assets that were being sold were assets of a subsidiary entity and therefore not

assets of the estate,” and therefore not implicating the notice provisions of Section 363 and Rule

2002, is specious and self-serving. At times in this case, the Debtor has maintained that the

subsidiaries are subject to ultimate control of and by this Court and proceeding, but at other times

it chooses to assert their independence from the obligations that come commensurate with that

assertion.

       10.     All the Sales done in this bankruptcy were significant sales, not conducted within

the ordinary course of business of the Debtor, and necessarily positively or negatively impacted



JOINDER IN MOTION FOR STAY PENDING APPEAL                                                 PAGE 3OF 5

                                                                                        Appx.000372
Case 19-34054-sgj11 Doc 1973 Filed 03/04/21 Entered 03/04/21 17:34:17 Page 4 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 379 of 783 PageID 6800



the recoveries that creditors and parties-in-interest will ultimately realize in this case. In short, the

Debtor knew exactly what it was doing, violated the Code and the Rules, but proceeded with the

Sales despite these infirmities.

        11.     Moreover, the argument misses the point. If a stay were granted, and if the Debtor

continued to operate in such a manner avoiding what Dondero maintains are fundamental and

applicable protections of both bankruptcy statute and rule, and the appeal was subsequently

granted in whole or in part on such grounds, and also on the third-party releases and exculpation

grounds, then the parties responsible for such violations of the Bankruptcy Code and Rules could

be held responsible for such acts and the creditors and parties-in-interest could seek recompense.

Absent a stay pending appeal, the public interests are harmed by allowing the Debtor to continue

to skirt its duties about providing due notice of sales of the Debtor’s assets under a plan that may

be subsequently overturned if the appeal is granted. The imposition of a stay would not alter the

Debtor’s ability to actually sell assets, but would at least make it either provide notice of such

sales, or, if it chooses not to, make the Debtor responsible for the consequences of its actions if

that decision is an erroneous one. This is precisely why a stay should be grated to keep irreparable

harm from being done to creditors and parties-in-interest such as Dondero.

        12.     Therefore, the issuance of stay pending appeal affords: (i) at least some marginal

protections to the creditors and parties-in-interest that the Bankruptcy Code provisions should be

adhered to regarding sales of assets; and (ii) if it is ultimately found that such lack of notice is and

was indeed proper, then the issuance of a stay does no practical harm to the Debtor who can

continue its practices of not providing such notice.




JOINDER IN MOTION FOR STAY PENDING APPEAL                                                     PAGE 4OF 5

                                                                                            Appx.000373
Case 19-34054-sgj11 Doc 1973 Filed 03/04/21 Entered 03/04/21 17:34:17 Page 5 of 5
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 380 of 783 PageID 6801



                                        Request for Relief

       Dondero requests that the Court enter an Order:

       (i)     Staying the effectiveness of the Confirmation Order pending appeal; and

       (ii)    granting such other relief as is just and proper.

               Signed: March 4, 2021.

                                              BONDS ELLIS EPPICH SCHAFER JONES LLP

                                              By:     /s/ Clay M. Taylor____________
                                                      D. Michael Lynn – State Bar ID 12736500
                                                      John Y. Bonds, III – State Bar ID 02589100
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                                              ATTORNEYS FOR JAMES DONDERO

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this on March 4, 2021, true and correct copies
of this document were electronically served by the Court’s ECF system on parties entitled to
notice thereof, including on counsel for the Appellee.

                                              By:     /s/ Clay M. Taylor____________
                                                      Clay M. Taylor




JOINDER IN MOTION FOR STAY PENDING APPEAL                                                PAGE 5OF 5

                                                                                       Appx.000374
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 381 of 783 PageID 6802



                             EXHIBIT 11




                                                                   Appx.000375
  Case: 21-10449    Document: 00515869234 Page: 1 Date Filed: 05/19/2021
                                                                   Date Filed: 5/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 382 of 783 PageID  6803



                                      Case No. 21-10449


                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT


In re: Highland Capital Management, L.P.

        Debtor.
------------------------------------------------

NexPoint Advisors, L.P., and Highland Capital Management Fund Advisors, L.P.,

       Appellants,

v.

Highland Capital Management, L.P.,

       Appellee.

           APPELLANTS’ MOTION FOR STAY PENDING APPEAL


               Direct Appeal from the United States Bankruptcy Court
         for the Northern District of Texas, Honorable Stacey G.C. Jernigan

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                    ATTORNEYS FOR APPELLANTS/MOVANTS




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  Case: 21-10449    Document: 00515869234 Page: 2 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 383 of 783 PageID 6804



                                      Case No. 21-10449


                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT


In re: Highland Capital Management, L.P.

        Debtor.
------------------------------------------------

NexPoint Advisors, L.P., and Highland Capital Management Fund Advisors, L.P.,

       Appellants,

v.

Highland Capital Management, L.P.,

       Appellee.

                   CERTIFICATE OF INTERESTED PERSONS

       The undersigned counsel of record certifies that the following listed persons
and entities, as described in the fourth sentence of Rule 28.2.1, have an interest in
the outcome of this case. These representations are made in order that the judges
of this Court may evaluate possible disqualification or recusal:

       1.      APPELLANTS/MOVANT:

               NexPoint Advisors, L.P.
                    Owned by:
                         The Dugaboy Investment Trust
                         NexPoint Advisors GP, LLC
                               Owned by:
                                       James Dondero




                                                   i
                                                                           Appx.000377
  Case: 21-10449    Document: 00515869234 Page: 3 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 384 of 783 PageID 6805



           Highland Capital Management Fund Advisors, L.P.
                Owned by:
                     Highland Capital Management Services, Inc.
                     Strand Advisors XVI, Inc.
                     Okada Family Revocable Trust

           Represented by:
                Davor Rukavina, Esq.
                Julian P. Vasek, Esq.
                MUNSCH HARDT KOPF & HARR, P.C.

     2.    RETAIL FUNDS MANAGED BY APPELLANTS:

           NexPoint Capital, Inc.

           Highland Income Fund

           NexPoint Global Strategic Opportunities, Fund

     3.    APPELLEE/RESPONDENT:

           Highland Capital Management, L.P.
                Owned by:
                     Hunter Mountain Investment Trust
                     The Dugaboy Investment Trust
                     Mark and Pamela Okada Family Trust – Exempt Trust 2
                     Mark and Pamela Okada – Exempt Descendants’ Trust
                     Mark Kiyoshi Okada
                     Strand Advisors, Inc.

           Represented by:
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                                    ii
                                                                  Appx.000378
  Case: 21-10449    Document: 00515869234 Page: 4 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 385 of 783 PageID 6806



     4.    OTHER PARTIES INDIRECTLY AFFECTED BY APPEAL:

           Official Committee of Unsecured Creditors
                 Members:
                       Redeemer Committee of Highland Crusader Fund
                       Meta-e Discovery
                       UBS Securities LLC
                       UBS AG London Branch
                       Acis Capital Management, L.P.
                       Acis Capital Management GP, LLC
                       Josh Terry

           All creditors in Highland Capital Management, L.P. bankruptcy


                                          /s/ Davor Rukavina
                                          Davor Rukavina, Esq.
                                          Counsel for the Appellants




                                    iii
                                                                       Appx.000379
  Case: 21-10449    Document: 00515869234 Page: 5 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 386 of 783 PageID 6807



                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................................... v

I.      SUMMARY ..................................................................................................... 1

II.     BACKGROUND ............................................................................................. 3

        A.       THE DEBTOR AND THE CLOS ................................................................. 3

        B.       THE CONFIRMATION ORDER AND PLAN.................................................. 4

        C.       MOTION FOR STAY PENDING APPEAL PROCEEDINGS BELOW ................. 6

III.    ARGUMENTS AND AUTHORITIES............................................................ 7

        A.       STANDARD FOR A STAY PENDING APPEAL ............................................. 7

        B.       THERE IS A LIKELIHOOD OF SUCCESS ON THE MERITS ............................ 8

                 i.       Legal Standard ............................................................................ 8

                 ii.      The Plan Violates Pacific Lumber .............................................. 8

                 iii.     The Plan Violates the Absolute Priority Rule........................... 16

                 iv.      Conclusion ................................................................................ 18

        C.       MOVANTS WILL SUFFER IRREPARABLE INJURY WITHOUT
                 A STAY ................................................................................................. 19

        D.       DEBTOR AND CREDITORS WILL NOT BE UNDULY
                 PREJUDICED BY A STAY ........................................................................ 21

        E.       THE PUBLIC INTEREST IS SERVED BY A STAY PENDING APPEAL........... 22

        F.       SECURITY FOR STAY PENDING APPEAL ................................................ 23

IV.     CONCLUSION.............................................................................................. 24




                                                           iv
                                                                                                            Appx.000380
  Case: 21-10449    Document: 00515869234 Page: 6 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 387 of 783 PageID 6808



                                      TABLE OF AUTHORITIES

Cases

Arnold v. Garlock, 278 F.3d 426 (5th Cir. 2001) ...................................................... 8

Associated Press v. Otter, 682 F.3d 821 (9th Cir. 2012) ......................................... 20

Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. Lasalle P’ship,
  526 U.S. 434 (1999) ............................................................................................ 18

Bank of. La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores
  of Tex., Inc.), 266 F.3d 388 (5th Cir. 2001) ..................................................11, 14

Bank of New York Trust Co., N.A. v. Official Unsecured
  Creditors’ Comm. (In re Pacific Lumber Co.),
  584 F.3d 229 (5th Cir. 2009) .......................................................................passim

Cooper v. U.S. Postal. Serv., 246 F.R.D. 415 (D. Conn. 2007) .............................. 20

Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), 782 Fed. Appx. 339
  (5th Cir. 2019)..................................................................................................... 23

In re Blast Energy Services, Inc., 593 F.3d 418 (5th Cir. 2010) ............................. 19

Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995) .......................... 9

In re Edmonds, 273 B.R. 527 (Bankr. E.D. Mich. 2000) ........................................ 17

In re First S. Sav. Ass’n, 820 F.2d 700 (5th Cir. 1987) ............................................. 8

In re Introgen Therapeutics, 429 B.R. 570 (Bankr. W.D. Tex. 2010) .................... 17

In re Nat’l Gypsum Co., 208 F.3d 498 (5th Cir. 2000)........................................5, 12

In re W. Real Fund, 922 F.2d 592 (10th Cir. 1990) .................................................. 9

Norwest Bank Worthington v. Ahlers, 485 U.S. 197 (1988).................................... 17

Scott v. Schedler, 826 F.3d 207 (5th Cir. 2016)....................................................... 13

Tex. Democratic Party v. Abbott, 961 F.2d 389 (5th Cir. 2020) .........................8, 18

Weingarten Realty Investors v. Miller, 661 F.3d 904 (5th Cir. 2011) .................8, 19


                                                           v
                                                                                                          Appx.000381
  Case: 21-10449    Document: 00515869234 Page: 7 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 388 of 783 PageID 6809




Statutes and Rules

11 U.S.C. § 1126 ...................................................................................................... 16

11 U.S.C. § 1129 ...................................................................................................... 16

FED. R. BANKR. P. 8007 .......................................................................................7, 22




                                                           vi
                                                                                                           Appx.000382
  Case: 21-10449    Document: 00515869234 Page: 8 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 389 of 783 PageID 6810



      Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors,

L.P. (the “Movants”), the appellants in this direct bankruptcy appeal, file this their

Motion for Stay Pending Appeal (the “Motion”), respectfully stating as follows:

                                  I.     SUMMARY1

      The Movants respectfully request a stay of the Bankruptcy Court’s

Confirmation Order, by which it confirmed the Chapter 11 Plan of Highland

Capital Management, L.P. (the “Debtor”).

      A stay is necessary to prevent irreparable harm by ensuring that this Appeal

does not become equitably moot through the implementation of the Plan. A stay is

also necessary because the Plan’s injunctions prevent the Movants from exercising

their contractual and statutory rights, post-confirmation, and from potentially

asserting claims against various non-debtor parties, which claims the Plan releases,

exculpates, and enjoins. If a stay is not entered, then the Debtor is likely to

liquidate all of its holdings with judicial immunity by the time that the merits of

this appeal are heard.

      A stay is appropriate because the Plan violates this Court’s precedent and the

Bankruptcy Code.         First, the Plan contains sweeping injunction, release, and

exculpation provisions expressly forbidden by this Court in Pacific Lumber, which

provisions permanently enjoin the Movants from exercising their lawful rights and


1
      Capitalized terms used in this Summary are defined below.


                                             1
                                                                           Appx.000383
  Case: 21-10449    Document: 00515869234 Page: 9 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 390 of 783 PageID 6811



which impermissibly release claims that the Movants have against various non-

debtors. The Bankruptcy Court recognized as much, predicting that this Court

would “extend the holding” of Pacific Lumber—something that this Court has yet

to do, however. Second, the Plan could not have been confirmed at all under the

“cramdown” provisions of the Bankruptcy Code because equity interest holders

retain certain interests even though unsecured creditors rejected the Plan and are

not paid in full under the Plan.

      A stay will not prejudice the Debtor or other creditors. The Plan does not

provide for a sale, nor for exit financing, nor for the issuance or new securities or

investments in the Debtor. Rather, the Plan simply provides for the Debtor to

liquidate its assets over time, something that the Debtor is presently doing and can

continue doing without a need for the Plan.

      A stay will serve the public interests. Thousands of innocent investors,

whose investments (more than $1 billion) the Debtor manages, are enjoined from

exercising their solemn rights for post-bankruptcy claims. Potential claims they

hold against the Debtor’s management and non-debtors are simultaneously

extinguished through the Plan’s exculpation provisions. The public interest cannot

be served by permitting a Plan that clearly violates this Court’s precedent to

become effective, and the public interest cannot be served when these innocent

investors are enjoined from exercising their contractual and statutory rights.



                                          2
                                                                           Appx.000384
  Case: 21-10449    Document: 00515869234 Page: 10 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 391 of 783 PageID 6812



                                  I.   BACKGROUND2

A.    THE DEBTOR AND THE CLOS

      The Debtor is a multibillion-dollar global investment adviser registered with

the SEC, pursuant to the Investment Advisers Act of 1940.3 Under that Act, the

Debtor owes strict fiduciary duties to the funds that it manages and to the investors

whose investments it manages.4 Among other things, the Debtor manages more

than $1 billion in investments in various collateralized loan obligations (“CLOs”)

pursuant to portfolio management agreements (the “PMAs”) in exchange for

various fees paid by the CLOs.5

      The Movants are also registered investment advisors who manage and

advise various publicly traded funds, including three such funds (the “Funds”)6

which collectively have invested approximately $140 million in the CLOs the

Debtor manages.7 The Movants are also unsecured and administrative creditors




2
      Contemporaneously with the filing of this Motion, the Movants are filing their Appendix
      of Appellants. Citations to the appendix shall be notated as follows: Appx. #.
3
      Appx. 6.
4
      Appx. 340 (Tr. 179:8-15).
5
      Appx. 350-51 (Tr. 189:3-190:12).
6
      NexPoint Capital Inc., Highland Income Fund, and NexPoint Strategic Opportunities,
      Fund. Appx. 508 (Tr. 52:20-25).
7
      Appx. 509-11 (Tr. 53:1-55:5).


                                             3
                                                                                 Appx.000385
  Case: 21-10449    Document: 00515869234 Page: 11 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 392 of 783 PageID 6813



against the Debtor.8 The Movants have standing to appeal the Confirmation Order

and to seek a stay pending appeal, as confirmed by the Bankruptcy Court.9

      Under at least three PMAs, the Funds may remove the Debtor as CLO

manager because the Funds hold the requisite percentage of shares. There are

various other CLOs where the Funds do not hold enough shares but are still able to

vote their shares along with other shareholders.            Thus, should the Debtor, as

manager, act inappropriately, the Funds, and the Movants acting on their behalf,

have the ability to protect themselves and their investors, absent the Plan.

B.    THE CONFIRMATION ORDER AND PLAN

      The Debtor filed a voluntary petition for relief under Chapter 11 of the

Bankruptcy Code on October 16, 2019.10 On February 22, 2021, the United States

Bankruptcy Court for the Northern District of Texas, Dallas Division (the

“Bankruptcy Court”) entered an order (the “Confirmation Order”)11 confirming the

Debtor’s Chapter 11 plan (the “Plan”) over the objections of the Movants and

various others.12




8
      Appx. 777-95.
9
      Appx. 733 (Tr. 20:15-18); Appx. 863 (Tr. 68:13-15).
10
      Appx. 7.
11
      Appx. 1.
12
      Appx. 92.


                                             4
                                                                               Appx.000386
  Case: 21-10449    Document: 00515869234 Page: 12 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 393 of 783 PageID 6814



      Because Class 8, the class of unsecured creditors, rejected the Plan and is not

paid in full under the Plan,13 the Bankruptcy Court confirmed the Plan under the

cramdown provisions of the Bankruptcy Code, see 11 U.S.C. § 1129(b)(2)(B),

including the critical “Absolute Priority Rule.” This Rule is discussed in detail in

section III.B.iii below.

      The Plan contains various other provisions directly applicable to this appeal.

First, the Plan assumes the PSAs.14 The effect of assumption is that “the debtor

must continue to perform . . . the debtor accepts both the obligations and the

benefits of the executory contract.” In re Nat’l Gypsum Co., 208 F.3d 498, 505-06

(5th Cir. 2000). Second, the Plan releases and exculpates claims that the Movants

and others have against numerous non-debtors, as discussed in detail in section

III.B.ii below. Third, the Plan enjoins the Movants and others from exercising

their rights and claims against the Debtor and numerous non-debtors, some of

which claims are subject to a “gatekeeper” injunction where the Bankruptcy Court

must first determine that a claim against a non-debtor is “colorable,” as discussed

in detail in section III.B.ii below.

      The Movants timely filed their notice of appeal of the Confirmation Order.15

On March 31, 2021, and after certification by the Bankruptcy Court,16 the Movants

13
      Appx. 6, ¶ 3 (Class 8 rejected Plan); Appx. 41 (Class 8 projected to receive 71%).
14
      Appx. 69, 157-61.
15
      Appx. 772.


                                              5
                                                                                    Appx.000387
  Case: 21-10449    Document: 00515869234 Page: 13 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 394 of 783 PageID 6815



filed their petition for leave to file a direct appeal of the Confirmation Order,

asserting five (5) issues on appeal (only the first four (4) of which are relevant to

this Motion).17 On May 4, 2021, this Court granted the Movants’ petition for a

direct appeal of the Confirmation Order.18

C.    MOTION FOR STAY PENDING APPEAL PROCEEDINGS BELOW

      While the Confirmation Order has been entered, that does not mean that the

Plan is effective or operative. Rather, as is common, the Plan contains various

conditions precedent that must be met before the Plan can be declared

“effective.”19

      On February 28, 2021, the Movants sought a stay of the Confirmation Order

before the Bankruptcy Court.20 On March 19, 2021, the Bankruptcy Court orally

denied said motion.21 The Bankruptcy Court followed its oral denial with two

written orders.22

      On April 1, 2021, the Movants sought a stay of the Confirmation Order

before the United States District Court for the Northern District of Texas, Dallas


16
      Appx. 775.
17
      Appx. 885, 897-99.
18
      Appx. 945.
19
      Appx. 142.
20
      Appx. 947-80.
21
      Appx. 861-76 (Tr. 66:13 – 81:13).
22
      Appx. 878-84.


                                          6
                                                                          Appx.000388
  Case: 21-10449    Document: 00515869234 Page: 14 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 395 of 783 PageID 6816



Division (the “District Court”), as that is where the appeal was then pending.23 On

April 12, 2021, the District Court entered an order granting expedited

consideration of said motion and ordering expedited briefing.24 As of the filing of

this Motion, the District Court has yet to adjudicate the motion for stay pending

appeal.

      Because this Court now has jurisdiction over this appeal, the Movants now

file this Motion and seek a stay of the Confirmation Order from this Court.

      The Debtor has agreed to stay the effectiveness of the Plan through June 25,

2021. Thus, the Plan has yet to become effective or be implemented.

                   II.    ARGUMENTS AND AUTHORITIES

A.    STANDARD FOR A STAY PENDING APPEAL

      Because this Court has granted a direct appeal of the Confirmation Order,

this Court is the appropriate court to consider a stay of the Confirmation Order

pending appeal. See FED. R. BANKR. P. 8007(b)(1). The Movants have satisfied

the requirement of first seeking a stay from the Bankruptcy Court, which denied

said relief. See id. at 8007(b)(2)(B).

      In determining whether to grant a discretionary stay pending appeal, the

Court considers the following criteria: (1) the likelihood that the movant will


23
      Appx. 912-44.
24
      Appx. 907-11.


                                         7
                                                                         Appx.000389
  Case: 21-10449    Document: 00515869234 Page: 15 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 396 of 783 PageID 6817



prevail on the merits of the appeal; (2) whether the movant will suffer irreparable

injury if the stay is denied; (3) whether other parties would suffer substantial harm

if the stay is granted; and (4) whether the public interest will be served by granting

the stay. See In re First S. Sav. Ass’n, 820 F.2d 700, 709 (5th Cir. 1987). “The

first two factors are the most critical.” Tex. Democratic Party v. Abbott, 961 F.2d

389, 397 (5th Cir. 2020). However, the four-element test does not apply “where

there is a serious legal question involved and the balance of equities heavily favors

a stay; in those situations, the movant only needs to present a substantial case on

the merits.” Weingarten Realty Investors v. Miller, 661 F.3d 904, 910 (5th Cir.

2011).

B.    THERE IS A LIKELIHOOD OF SUCCESS ON THE MERITS

      i.     Legal Standard.

      “[T]he appellant need not always show a ‘probability’ of success on the

merits; instead, the movant need only present a substantial case on the merits when

a serious legal question is involved and show that the balance of the equities

weighs heavily in favor of granting the stay.” Arnold v. Garlock, 278 F.3d 426,

439 (5th Cir. 2001) (quotations omitted).

      ii.    The Plan Violates Pacific Lumber

      In Bank of New York Trust Co., N.A. v. Official Unsecured Creditors’

Comm. (In re Pacific Lumber Co.), 584 F.3d 229, 253 (5th Cir. 2009), this Court



                                            8
                                                                           Appx.000390
  Case: 21-10449    Document: 00515869234 Page: 16 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 397 of 783 PageID 6818



broadly foreclosed nonconsensual releases or exculpations of third party claims;

i.e. a claim held by a non-debtor against a non-debtor. The Pacific Lumber plan

proposed to exculpate the debtor’s management and professionals for actions (or

omissions) they may have taken during the Chapter 11 case. See id. at 251. The

Court found this impermissible:

         this court has held Section 524(e) only releases the debtor, not co-
         liable third parties. These cases seem broadly to foreclose non-
         consensual non-debtor releases and permanent injunctions. . . the
         essential function of the exculpation clause proposed here is to
         absolve the released parties from any negligent conduct that occurred
         during the course of the bankruptcy. The fresh start § 524(e) provides
         to debtors is not intended to serve this purpose.

Id. at 252 (internal citations omitted).

         Nor can a release of third party claims be effectuated through an injunction:

“[s]ection 524 prohibits the discharge of debts of nondebtors. Accordingly, we

must overturn a § 105 injunction if it effectively discharges a nondebtor.” Feld v.

Zale Corp. (In re Zale Corp.), 62 F.3d 746, 760 (5th Cir. 1995). The Court

concluded that no such injunction could be imposed under a plan on a permanent

basis:

         the stay may not be extended post-confirmation in the form of a
         permanent injunction that effectively relieves the nondebtor from its
         own liability to the creditor. Not only does such a permanent
         injunction improperly insulate nondebtors in violation of section
         524(e), it does so without any countervailing justification of debtor
         protection.

Id. at 760 (quoting In re W. Real Fund, 922 F.2d 592, 601-02 (10th Cir. 1990)).

                                           9
                                                                            Appx.000391
  Case: 21-10449    Document: 00515869234 Page: 17 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 398 of 783 PageID 6819



      Here, the Plan violates these dictates in three substantial ways: (i) it

exculpates claims for negligence that may be held by the Movants and others

against numerous non-debtor parties;25 (ii) it enjoins the Movants and others from

exercising their contractual rights after confirmation under contracts that are

assumed;26 and (iii) it subjects any claim that the Movants and others may have

against the foregoing for anything other than negligence to a “gatekeeper

injunction” where the Bankruptcy Court, reserving “exclusive jurisdiction,” must

first determine that a “colorable claim” exists.27

      With respect to the Plan’s exculpation provisions, “Exculpated Parties” non-

debtor managed funds, employees, the Debtor’s general partner, the Debtor’s

management and professionals, and the affiliates of the foregoing.28 Subject to

various limitations, the Plan provides that:

      no Exculpated Party will have or incur, and each Exculpated Party is
      hereby exculpated from, any claim, obligation, suit, judgment,
      damage, demand, debt, right, Cause of Action, remedy, loss, and
      liability for conduct occurring on or after the Petition Date in
      connection with or arising out of . . .29

      On its face, these provisions directly and clearly violate Pacific Lumber.

But these provisions are even more serious because they also apply to, and
25
      Appx. 144 (C. Exculpation).
26
      Appx. 147 (F. Injunction)
27
      Id.
28
      Appx. 106.
29
      Appx. 144 (C. Exculpation).


                                          10
                                                                        Appx.000392
  Case: 21-10449    Document: 00515869234 Page: 18 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 399 of 783 PageID 6820



exculpate, potential prospective liability incurred after the confirmation of the

Plan, because these provisions also apply to “the implementation of the Plan.”30

The “implementation of the Plan” will take between two to three years and

involves the Debtor’s management of more than $1 billion of other peoples’

investments.31         This is unprecedented, that a federal court would immunize

fiduciaries against future claims. This also violates the fundamental premise of

what it means to exit bankruptcy:

      Once the bankruptcy court confirms a plan of reorganization, the
      debtor may go about its business without further supervision or
      approval. The firm also is without the protection of the bankruptcy
      court. It may not come running to the bankruptcy judge every time
      something unpleasant happens.

Bank of. La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.), 266

F.3d 388, 390 (5th Cir. 2001).

      It is the equivalent of General Motors releasing the post-confirmation entity

from liability for manufacturing defects for cars it sells after bankruptcy. Nor is

this concern an academic one. As the Debtor’s CEO testified at the confirmation

hearing, the Debtor lost approximately $200 million in value during its bankruptcy

case, at least $100 million of which the CEO blamed on the Debtor’s prior (yet

post-bankruptcy) manager.32

30
      Id. (sub. iv).
31
      Appx. 350 (Tr. 189:3-9).
32
      Appx. 256-59 (Tr. 95:17-98:6); Appx. 361 (Tr. 200:16-19).


                                            11
                                                                           Appx.000393
  Case: 21-10449    Document: 00515869234 Page: 19 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 400 of 783 PageID 6821



      Next, the Plan contains a sweeping, permanent injunction: “all Enjoined

Parties33 are and shall be permanently enjoined, on and after the Effective Date,

from taking any actions to interfere with the implementation or consummation of

the Plan.”34 Of immediate relevance and effect on the Movants, this means that the

Movants are enjoined from advising or causing their clients, including the Funds,

to remove the Debtor as the manager of the CLOs, even though the Debtor

assumed the PMAs and even if the Debtor mismanages the CLOs.35

      As with exculpations, Pacific Lumber broadly foreclosed non-consensual

“permanent injunctions.” In re Pacific Lumber Co., 584 F.3d at 252-53. More

technically, the assumption of the PMAs means that the Debtor is obligated to

perform under them and all rights of the counterparty are preserved and may be

enforced: “[w]here the debtor assumes an executory contract, it must assume the

entire contract, cum onere – the debtor accepts both the obligations and the

benefits of the executory contract.” In re Nat’l Gypsum Co., 208 F.3d at 505-06.

The Debtor here found a clever way around this fundamental rule by simply

obtaining an injunction that permanently enjoins and alters contract rights and

obligations, in direct violation of the Bankruptcy Code.



33
      The Movants are “Enjoined Parties.” Appx. 105.
34
      Appx. 147.
35
      Appx. 359 (Tr. 198:12-25).


                                           12
                                                                        Appx.000394
  Case: 21-10449    Document: 00515869234 Page: 20 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 401 of 783 PageID 6822



      This    injunction,   prohibiting    “any    actions    to   interfere   with   the

implementation or consummation of the Plan,” is also both overbroad and vague.

See Scott v. Schedler, 826 F.3d 207, 211-12 (5th Cir. 2016) (“an injunction is

overly vague if it fails to satisfy the specificity requirements . . . and it is overbroad

if it is not narrowly tailored to remedy the specific action”). The Movants should

not be subjected to potential contempt actions when the Plan fails to define with

any reasonable specificity what it means to “interfere” with the “implementation or

consummation” of the Plan.

      With respect to the “gatekeeper injunction,” the Movants are included within

the “Enjoined Parties” subject to that injunction, which injunction prohibits the

Movants from taking various actions, including to sue any of the “Protected

Parties.”36 The “Protected Parties” include the same entities that are exculpated as

discussed above.37 Like the exculpation provision, this injunction effectuates a

non-consensual, non-debtor release prohibited by Pacific Lumber because the

Movants are enjoined from suing the Protected Parties even for claims based on

“bad faith, criminal misconduct, willful misconduct, fraud, or gross negligence.”38

See In re Pacific Lumber Co., 584 F.3d at 252-53.


36
      Appx. 105 (“Enjoined Parties”); Appx. 110 (“Protected Parties”); Appx. 147 (F.
      Injunction).
37
      Appx. 110.
38
      Appx. 147-48.


                                           13
                                                                               Appx.000395
  Case: 21-10449    Document: 00515869234 Page: 21 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 402 of 783 PageID 6823



      This injunction is not saved by the fact that the Bankruptcy Court may grant

relief from the injunction if it first determines that an Enjoined Party has a

“colorable claim” against a “Protected Party.” Nothing in the Bankruptcy Code

possibly permits the Bankruptcy Court to require a non-debtor to come to it and

prove that it has a viable claim against another non-debtor before it can assert that

claim, or else be in contempt of court. And this, too, applies prospectively to

actions the Debtor will take in the next two to three years during the “wind down

of the business of the Debtor or Reorganized Debtor” and the “the administration

of the Claimant Trust.”39 This is unprecedented, it violates due process, it is a

taking, and it is prohibited by Pacific Lumber.

      The Bankruptcy Court also impermissibly reserved to itself the “sole and

exclusive jurisdiction to determine whether a claim or cause of action is

colorable.”40   It is black-letter law that the Bankruptcy Court has no such

jurisdiction between non-debtors today, and will certainly have no such jurisdiction

in the future as the Plan is implemented. See In re Craig’s Stores of Tex. Inc., 266

F.3d at 390 (“After a debtor’s reorganization plan has been confirmed, the debtor’s

estate, and thus bankruptcy jurisdiction, ceases to exist, other than for matters

pertaining to the implementation or execution of the plan.”). And it is certainly


39
      Id.
40
      Id.


                                         14
                                                                          Appx.000396
  Case: 21-10449    Document: 00515869234 Page: 22 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 403 of 783 PageID 6824



black-letter law that the Bankruptcy Court cannot confer onto itself jurisdiction

that it does not have.

      The end result is that the Movants, and many others, are enjoined

permanently from exercising their legal and contractual rights; that potential

present and prospective claims they have against non-debtors are released and

exculpated; and that they are required to prove a “colorable” claim for any present

or prospective claim they may have against non-debtors before they may assert that

claim, while the Debtor and its management, officers, and others are free to

manage billions of dollars of innocent investors’ funds, taking very large fees for

themselves, effectively free from the fiduciary duties imposed on them by the

federal securities laws. This is precisely what Pacific Lumber prohibits, and the

wisdom of Pacific Lumber’s prohibition is aptly proven by this case.

      The Bankruptcy Court attempted to distinguish Pacific Lumber.41 In fact,

the Bankruptcy Court stated its belief that this Court would “extend the holding of

Pacific Lumber” with respect to the proper scope of an exculpation provision.42

But if the holdings and limitations of Pacific Lumber must be extended in order for

the Plan’s exculpation provision to be permissible, then the Movants have

demonstrated a likelihood of success on the merits of this issue per se.


41
      Appx. 744-56.
42
      Appx. 865 (Tr. 70:10-24).


                                         15
                                                                           Appx.000397
  Case: 21-10449    Document: 00515869234 Page: 23 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 404 of 783 PageID 6825



      iii.   The Plan Violates the Absolute Priority Rule.

      Creditors vote by class under a Chapter 11 plan. See 11 U.S.C. § 1126(c).

Class 8—unsecured creditors—rejected the plan.43 As the Plan does not pay Class

8 in full44 and Class 8 rejected the Plan, the Plan could only be confirmed if the

Debtor satisfied the “Absolute Priority Rule.” Under the Absolute Priority Rule,

the holder of any junior interest—e.g., an equity interest—cannot “receive or retain

… any property” on account of its junior interest. 11 U.S.C. § 1129(b)(2)(B)(ii).

      Here, the Plan violates the Absolute Priority Rule as a matter of law because

the Plan gives the Debtor’s limited partners—i.e., junior interest holders—

contingent interests in the “Claimant Trust” created under the Plan to pay creditors

and, after they are paid in full, to pay equity holders.45 There is no question that

those contingent trust interests are “property” as admitted by the Debtor at trial:

“These are contingent interests. They are property. No doubt they are property.”46

The Debtor’s CEO also testified that the contingent interests are, in his belief,

inchoate property interests which may have some value in the future.47 As a matter

of law, an interest in a trust, even one subject to a contingency that may never


43
      Appx. 6. One of the Movants, NexPoint Advisors, L.P., is a partial assignee of four Class
      8 Claims. Appx. 777-87.
44
      Appx. 41.
45
      Appx. 120.
46
      Appx. 698 (242:19-20).
47
      Appx. 339 (178:22-25).


                                             16
                                                                                   Appx.000398
  Case: 21-10449    Document: 00515869234 Page: 24 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 405 of 783 PageID 6826



happen, is “property.” See In re Edmonds, 273 B.R. 527, 529 (Bankr. E.D. Mich.

2000). The Plan therefore violates the Absolute Priority Rule because equity

holders retain or receive “property” under the Plan.

      The Debtor argued that these contingent interests may have no value and

would only vest and be paid if unsecured creditors are paid in full, thus satisfying

the Absolute Priority Rule.48 But the United States Supreme Court has squarely

rejected this argument:

      Respondents further argue that the absolute priority rule has no
      application in this case, where the property which the junior interest
      holders wish to retain has no value to the senior unsecured creditors. .
      . We join with the overwhelming consensus of authority which has
      rejected this ‘no value’ theory. . . Whether the value is present or
      prospective, for dividends or only for purposes of control a retained
      equity interest is a property interest. . . And while the Code itself does
      not define what ‘property’ means as the term is used in § 1129(b), the
      relevant legislative history suggests that Congress’ meaning was quite
      broad. Property includes both tangible and intangible property.

Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 207-08 (1988) (internal

quotations and citations omitted). Thus, it does not matter that the property may be

prospective, intangible, or valueless.

      The Bankruptcy Court relied on In re Introgen Therapeutics, 429 B.R. 570

(Bankr. W.D. Tex. 2010), for the proposition that, so long as the contingent

interests are not paid unless and until all unsecured claims are paid in full, the



48
      Appx. 45.


                                         17
                                                                            Appx.000399
  Case: 21-10449    Document: 00515869234 Page: 25 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 406 of 783 PageID 6827



Absolute Priority Rule is satisfied. This opinion was wrongly decided and has

never been adopted by this Court or any appellate court.

      First, it directly contradicts the language of the Bankruptcy Code, which

implicates the Absolute Priority Rule if any “property” is being retained or

received. Second, the opinion looked to the present value of what was being

retained, something directly foreclosed by the Supreme Court’s opinion in Norwest

Bank Worthington quoted above. Third, the opinion fails to take into account the

Supreme Court’s opinion in Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N.

Lasalle P’ship, 526 U.S. 434 (1999).       There the Supreme Court equated the

exclusive opportunity to bid on new equity under a plan as itself “property” that

was being granted or retained in violation of the Rule: “[t]his opportunity should,

first of all, be treated as an item of property in its own right.” Id. at 455. If an

exclusive opportunity is “property” for purposes of the Absolute Priority Rule,

then so is an “opportunity” to share in a future recovery, however remote.

      (iv)   Conclusion.

      At a minimum, the Movants have shown that a “serious legal question is

involved and [that] the balance of the equities weighs heavily in favor of granting

the stay.” Tex. Democratic Party v. Abbott, 961 F.3d at 397. Permanent federal

injunctions; a court exculpating someone of potential liability; a court requiring

someone to come before it and prove that a claim is “colorable” before he may



                                        18
                                                                         Appx.000400
  Case: 21-10449    Document: 00515869234 Page: 26 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 407 of 783 PageID 6828



have access to the courts; violating the Absolute Priority Rule—all of these are

“serious legal questions.”    And, given that the Bankruptcy Court ignored the

dictates of Pacific Lumber, and that billions of dollars of investments from

thousands of innocent investors are at stake, whose claims are released and who

are enjoined from exercising their legal rights and remedies after bankruptcy, “the

equities weighs heavily in favor of granting the stay.”

      Simply put, debtors and bankruptcy courts must not be permitted to use

expediency to trample on legal rights, in the belief that appeals will become moot

rendering appellate review unlikely. The Confirmation Order represents such clear

errors of law and such a “substantial case on the merits” that the Court need not

even consider the remaining factors governing a discretionary stay pending appeal

under the authority of Weingarten Realty Investors, 661 F.3d at 910. Nevertheless,

the Movants address such other factors below.

C.    MOVANTS WILL SUFFER IRREPARABLE INJURY WITHOUT A STAY

      First, there is the threat of equitable mootness, which this Court applies to

Chapter 11 confirmation orders to dismiss appeals because it may be effectively

too late to “unscramble the eggs.” See, e.g., In re Blast Energy Services, Inc., 593

F.3d 418, 424 (5th Cir. 2010). Indeed, this Court has recognized potential issues

with denying a stay pending appeal:

      Although the exigencies of the case appeared to demand prompt
      action, simply denying a stay seems to have been, and often will be,

                                         19
                                                                         Appx.000401
  Case: 21-10449    Document: 00515869234 Page: 27 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 408 of 783 PageID 6829



      too simplistic a response. A plan may be designed to take effect, as it
      was here, after a lapse of sufficient time to initiate appellate review. A
      supersedeas bond may be tailored to the scope of the appeal. An
      appeal may be expedited. As with all facets of bankruptcy practice,
      myriad possibilities exist. Thus, substantial legal issues can and ought
      to be preserved for review.

Bank of New York Trust Co., N.A. v. Official Unsecured Creditors’ Comm. (In re

Pacific Lumber Co.), 584 F.3d 229, 243 (5th Cir. 2009). This is all the more

important here where the order of the Article I bankruptcy court should be

reviewed on its merits by an Article III court.

      Second, the various release, exculpation, and injunction provisions of the

Plan detailed above will lead to irreparable injury if the Movants are unable to

exercise their contractual rights or take other action to protect their interests and

those of the investments they manage. Being enjoined from doing what one

otherwise has the lawful right to do is irreparable injury as a matter of law. C.f.

Associated Press v. Otter, 682 F.3d 821, 826 (9th Cir. 2012); Cooper v. U.S.

Postal. Serv., 246 F.R.D. 415, 418 (D. Conn. 2007).

      The Debtor has testified that it intends to liquidate and wind down the CLOs

in approximately two years.49 During that time, if the Movants dispute how the

Debtor is doing so, or believe they have claims against the Debtor for its conduct,

or wish to advise or cause their clients to take action against the Debtor on account

of the same, the Plan will prohibit them from doing so, and the Debtor and its
49
      Appx. 273 (line 5); Appx. 343 (line 5).


                                                20
                                                                            Appx.000402
  Case: 21-10449    Document: 00515869234 Page: 28 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 409 of 783 PageID 6830



management will be exculpated. Absent a stay pending appeal, by the time that the

Movants may ultimately prevail on their appeal, various rights will effectively

have been lost for good.

D.    DEBTOR AND CREDITORS WILL NOT BE UNDULY PREJUDICED BY A STAY

      The Plan does not involve exit financing, a sale of the business, new

investments, new money coming in, nor anything else that the Debtor does not

already have to monetize its assets for the benefit of its creditors.50     As the

Debtor’s CEO confirmed at trial, “post-confirmation, you are basically going to

continue managing the CLOs and funds and trying to monetize assets for creditors

the same as you are today.”51 He does not “need anything in the plan that [he] does

[not] have today to keep managing” the “Funds and the CLOs.”52

      Thus, because the Plan does not give the Debtor anything that it lacks at

present to continue monetizing its assets, managing the CLOs, and doing

everything else it would under the Plan, the Debtor and its other creditors will not

suffer any prejudice if a stay pending appeal is granted. In this respect, the Court

should take into account that 27 Class 8 creditors rejected the Plan, while only 17

accepted the Plan.53 It is the unsecured creditors who would be the only ones


50
      Appx. 346 (185:3-188:5).
51
      Appx. 349 (188:2-5).
52
      Id. (188:23-189:2).
53
      Appx. 6.


                                        21
                                                                         Appx.000403
  Case: 21-10449    Document: 00515869234 Page: 29 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 410 of 783 PageID 6831



potentially prejudiced if the Plan is stayed, as that may delay their recoveries, but

Class 8 overwhelmingly rejected the Plan.

E.    THE PUBLIC INTEREST IS SERVED BY A STAY PENDING APPEAL

      Because the Plan’s exculpation and injunction provisions impermissibly

infringe upon the contractual, legal, and due-process rights of parties in interest in

the bankruptcy case, a stay pending appeal will serve the public interest.

Thousands of innocent investors have invested in the CLOs or funds that the

Debtor manages, totaling well over $1 billion, including $140 million for just the

Funds that the Movants manage. A stay will ensure that non-debtor parties can be

held accountable for their post-petition and post-confirmation conduct. The public

has a strong interest, for example, in ensuring that the Debtor complies with federal

securities laws. But the Plan’s exculpation provision and injunction threaten to

substantially vitiate these laws and effectively relieve the Debtor from its

obligations and duties (and potential liabilities) thereunder.

      The public interest is also best served by requiring respect for judicial

precedent, here Pacific Lumber. While the Bankruptcy Court believed that this

Court will revisit its Pacific Lumber holdings and will expand Pacific Lumber, at

present Pacific Lumber is the law, and the Bankruptcy Court was bound by it. This

Court should not permit a Plan that clearly and directly violates Pacific Lumber to

become effective before addressing the merits of this appeal.



                                          22
                                                                           Appx.000404
  Case: 21-10449    Document: 00515869234 Page: 30 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 411 of 783 PageID 6832



F.    SECURITY FOR STAY PENDING APPEAL

      The Court may, but need not, condition a stay pending appeal on a bond or

other security being posted. See FED. R. BANKR. P. 8007(c). Because: (i) the Plan

so clearly violates Pacific Lumber; (ii) the Plan so clearly violates the Absolute

Priority Rule; (iii) there is the threat of equitable mootness; and (iv) the Debtor and

creditors would not be harmed by a stay pending appeal, the Movants should not

be required to post a bond as a condition to obtaining a stay. Indeed, the Debtor

argued below for a multi-hundred-million dollar bond, clearly designed not to

protect other parties but to effectively prevent a stay pending appeal as no

legitimate appellant should be required to post the entire amount of debt in a

bankruptcy case as a condition of obtaining meaningful appellate relief.

      The only conceivable harm pending appeal is from a delay in payments to

certain creditors and minor added administrative expenses for having to file reports

and pleadings with the Bankruptcy Court. If the Plan is affirmed, then those

creditors would not have use of those funds for a period of time. Here, the Debtor

believes that it will distribute approximately $60 million to Class 7 and Class 8

creditors within one year of the Plan going effective, which so far it has not.54 As

unsecured creditors, these creditors would be entitled to interest at the federal rate

of post-judgment interest. See Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), 782


54
      Appx. 766.


                                          23
                                                                            Appx.000405
  Case: 21-10449    Document: 00515869234 Page: 31 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 412 of 783 PageID 6833



Fed. Appx. 339, 341 (5th Cir. 2019). That rate is presently less than 1% and is

unlikely to rise past that amount during the period of any stay. Thus, the interest

that any creditor may be able to claim for any delay in payment is less than 1%, or

less than $600,000.00. With respect to increased administrative costs for having to

file reports and pleadings with the Bankruptcy Court, the Movants estimate that it

cannot reasonably cost the Debtor more than $150,000.00 per month to have to

continue filing reports and pleadings with the Bankruptcy Court that it would no

longer have to do under its Plan.

      Assuming this Court resolves this appeal within twelve months, the Movants

therefore submit that a bond or security of no more than $2.4 million is sufficient

to protect the Debtor and its estate from any harm resulting from the delay in the

effectiveness of the Plan.

                               IV.    CONCLUSION

      WHEREFORE, premises considered, the Movants request that the Court

enter an Order: (i) staying the effectiveness of the Confirmation Order pending

appeal; and (ii) granting such other relief as is just and proper.




                                           24
                                                                         Appx.000406
  Case: 21-10449    Document: 00515869234 Page: 32 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 413 of 783 PageID 6834



     RESPECTFULLY SUBMITTED this the 19th day of May, 2021.

                                  MUNSCH HARDT KOPF & HARR, P.C.

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                                  COUNSEL FOR HIGHLAND CAPITAL
                                  MANAGEMENT FUND ADVISORS,
                                  L.P., AND NEXPOINT ADVISORS, L.P.




                                    25
                                                                    Appx.000407
  Case: 21-10449    Document: 00515869234 Page: 33 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 414 of 783 PageID 6835



                      CERTIFICATE OF CONFERENCE

      The undersigned hereby certifies that he discussed the relief requested herein
with Jeff Pomerantz, Esq., counsel of record for the Debtor, who informed the
undersigned that the Debtor opposes said relief.

                                             /s/ Davor Rukavina
                                             Davor Rukavina



                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that this Petition complies with Rule
27(d)(2) because it contains 5,176 words, excepting those portions that may be
excepted under Rule 32(f).

                                             /s/ Davor Rukavina
                                             Davor Rukavina



                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 19th day of May, 2021,
true and correct copies of this document, with any exhibits attached thereto, were
served on the recipients listed below via email.

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                                             /s/ Davor Rukavina
                                             Davor Rukavina




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                                                                         Appx.000408
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 415 of 783 PageID 6836



                             EXHIBIT 12




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   Case
     3:21-cv-01585-S
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                                            04/06/21 Page
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                               §
In re:
                                               §
                                               §
HIGHLAND CAPITAL MANAGEMENT,
                                               §        Bankruptcy Case No. 19-34054
L.P.,
                                               §
                                               §
         Debtor.
                                               §
                                               §
                                               §
THE DUGABOY INVESTMENT TRUST
                                               §
AND GET GOOD TRUST
                                               §
     Appellants,
                                               §
                                               §
v.
                                               §         Civ. Act. No. 3:21-cv-00550-L
                                               §
HIGHLAND CAPITAL MANAGEMENT,
                                               §
L.P.,
                                               §
                                               §
         Appellee.
                                               §
                                               §

                          MOTION FOR STAY PENDING APPEAL

TO THE HONORABLE JUDGE SAM A. LINDSAY, U.S. DISTRICT JUDGE:

         NOW COMES the Appellants, The Dugaboy Investment Trust and Get Good Trust (the

“Movants”), in the above styled and numbered appeal from the bankruptcy case (the

“Bankruptcy Case”) captioned, In re: Highland Capital Management, L.P., case number 19-

34054, as filed by Highland Capital Management, L.P. (the “Debtor”), and hereby file this

Motion for Stay Pending Appeal (the “Motion”).        In support of the Motion, the Movants,

respectfully aver as follows:

         Pursuant to this Motion and Fed. R. Bankr. P. 8007, the Movants request that the Court

issue a stay of that certain Order (i) Confirming the Fifth Amended Plan of Reorganization of

Highland Capital Management, L.P. (as Modified) and (ii) Granting Related Relief [Bankr. Dkt.



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No. 1943] (the “Confirmation Order”1), pending the outcome of this appeal through the Fifth

Circuit. Contemporaneously herewith, the Movants are filing their Brief in Support of Motion

for Stay Pending Appeal (the “Brief”).         Such a stay is justified for the reasons set forth in the

Brief, all of which is incorporated herein by reference.

          Notices of Appeal from the Confirmation Order have been filed by the Movants (DKT

1972 and 2014), Highland Capital Management Fund Advisors L.P. and NexPoint Advisors L.P

(“Advisors”) (DKT 1957), Highland Income Fund, NexPoint Strategic Opportunities Fund

Highland Global Fund and NexPoint Capital, Inc (“Funds”) (DKT 1966) and James Dondero

(DKT 1970). The appeal of the Confirmation Order filed by Funds and Advisors has been

allotted to Judge David C. Godbey2. The appeal of the Confirmation Order filed by Movants and

Dondero have been allotted to this Court3.

          Motions for Stay of the Confirmation Order have been filed by Funds and Advisors

(DKTS 1967 and 1955) Movants and Dondero filed joinders to the Motions to Stay the

Confirmation Order (DKTS 1971 and 1973).

          The Bankruptcy Court conducted a hearing on March 19, 2021; and the Bankruptcy

Court denied the Motions for Stay Pending Appeal by order entered on March 23, 2021 (DKT

2084 and 2095).

          A Motion for Stay Pending Appeal has been filed by Advisors in this Court. (See USDC-

NDTX Case No. 3:21-cv-00538-N).


1
 Appx. 1.
2
 Highland Capital Management Fund Advisors L.P. and NexPoint Advisors L.P (“Advisors”) – USDC NDTX Case
No. 3:21-cv-00538-N

Highland Income Fund, NexPoint Strategic Opportunities Fund Highland Global Fund and NexPoint Capital, Inc
(“Funds”) – USDC NDTX Case No. 3:21-cv-00539-N.
3
    James Dondero USDC NDTX Case No. 3:21-cv-00546-L.



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         The Debtor, Funds Advisors, Movants and Dondero request for a direct appeal to the 5th

Circuit of the Confirmation Order was granted by Order Certifying Appeals of the Confirmation

Order for Direct Appeal to the United States Court of Appeals for the Fifth Circuit (DKT 2034).

For the reasons set forth in the Brief filed by the Movant in Support of this Motion, Movant

requests that this Court issue a Stay Pending Appeal of the Confirmation Order.

         WHEREFORE, PREMISES CONSIDERED, the Movants request that the Court enter an

Order:

         1.     Staying the effectiveness of the Confirmation Order pending the conclusion of the

appeal thereof through the Fifth Circuit; and

         2.     Granting such other relief as is just and proper.

         RESPECTFULLY SUBMITTED this the 6th day of April 2021.



                                                /s/ Douglas S. Draper
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this the 6th day of April, 2021, true and correct
copies of this document, with any exhibits attached thereto, were served on the recipients listed
below via email, and correct copies of this document, with any exhibits attached thereto, were
served on the recipients listed below via first class U.S. mail, postage prepaid:

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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 420 of 783 PageID 6841



                             EXHIBIT 13




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  Case: 21-10449    Document: 00515869234 Page: 1 Date Filed: 05/19/2021
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Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 421 of 783 PageID  6842



                                      Case No. 21-10449


                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT


In re: Highland Capital Management, L.P.

        Debtor.
------------------------------------------------

NexPoint Advisors, L.P., and Highland Capital Management Fund Advisors, L.P.,

       Appellants,

v.

Highland Capital Management, L.P.,

       Appellee.

           APPELLANTS’ MOTION FOR STAY PENDING APPEAL


               Direct Appeal from the United States Bankruptcy Court
         for the Northern District of Texas, Honorable Stacey G.C. Jernigan

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                    ATTORNEYS FOR APPELLANTS/MOVANTS




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 422 of 783 PageID 6843



                                      Case No. 21-10449


                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT


In re: Highland Capital Management, L.P.

        Debtor.
------------------------------------------------

NexPoint Advisors, L.P., and Highland Capital Management Fund Advisors, L.P.,

       Appellants,

v.

Highland Capital Management, L.P.,

       Appellee.

                   CERTIFICATE OF INTERESTED PERSONS

       The undersigned counsel of record certifies that the following listed persons
and entities, as described in the fourth sentence of Rule 28.2.1, have an interest in
the outcome of this case. These representations are made in order that the judges
of this Court may evaluate possible disqualification or recusal:

       1.      APPELLANTS/MOVANT:

               NexPoint Advisors, L.P.
                    Owned by:
                         The Dugaboy Investment Trust
                         NexPoint Advisors GP, LLC
                               Owned by:
                                       James Dondero




                                                   i
                                                                           Appx.000416
  Case: 21-10449    Document: 00515869234 Page: 3 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 423 of 783 PageID 6844



           Highland Capital Management Fund Advisors, L.P.
                Owned by:
                     Highland Capital Management Services, Inc.
                     Strand Advisors XVI, Inc.
                     Okada Family Revocable Trust

           Represented by:
                Davor Rukavina, Esq.
                Julian P. Vasek, Esq.
                MUNSCH HARDT KOPF & HARR, P.C.

     2.    RETAIL FUNDS MANAGED BY APPELLANTS:

           NexPoint Capital, Inc.

           Highland Income Fund

           NexPoint Global Strategic Opportunities, Fund

     3.    APPELLEE/RESPONDENT:

           Highland Capital Management, L.P.
                Owned by:
                     Hunter Mountain Investment Trust
                     The Dugaboy Investment Trust
                     Mark and Pamela Okada Family Trust – Exempt Trust 2
                     Mark and Pamela Okada – Exempt Descendants’ Trust
                     Mark Kiyoshi Okada
                     Strand Advisors, Inc.

           Represented by:
                PACHULSKI STANG ZIEHL & JONES LLP
                Jeffrey N. Pomerantz, Esq.
                John Morris, Esq.
                HAYWARD PLLC
                Melissa S. Hayward, Esq.
                Zachery Annable, Esq.




                                    ii
                                                                  Appx.000417
  Case: 21-10449    Document: 00515869234 Page: 4 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 424 of 783 PageID 6845



     4.    OTHER PARTIES INDIRECTLY AFFECTED BY APPEAL:

           Official Committee of Unsecured Creditors
                 Members:
                       Redeemer Committee of Highland Crusader Fund
                       Meta-e Discovery
                       UBS Securities LLC
                       UBS AG London Branch
                       Acis Capital Management, L.P.
                       Acis Capital Management GP, LLC
                       Josh Terry

           All creditors in Highland Capital Management, L.P. bankruptcy


                                          /s/ Davor Rukavina
                                          Davor Rukavina, Esq.
                                          Counsel for the Appellants




                                    iii
                                                                       Appx.000418
  Case: 21-10449    Document: 00515869234 Page: 5 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 425 of 783 PageID 6846



                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................................... v

I.      SUMMARY ..................................................................................................... 1

II.     BACKGROUND ............................................................................................. 3

        A.       THE DEBTOR AND THE CLOS ................................................................. 3

        B.       THE CONFIRMATION ORDER AND PLAN.................................................. 4

        C.       MOTION FOR STAY PENDING APPEAL PROCEEDINGS BELOW ................. 6

III.    ARGUMENTS AND AUTHORITIES............................................................ 7

        A.       STANDARD FOR A STAY PENDING APPEAL ............................................. 7

        B.       THERE IS A LIKELIHOOD OF SUCCESS ON THE MERITS ............................ 8

                 i.       Legal Standard ............................................................................ 8

                 ii.      The Plan Violates Pacific Lumber .............................................. 8

                 iii.     The Plan Violates the Absolute Priority Rule........................... 16

                 iv.      Conclusion ................................................................................ 18

        C.       MOVANTS WILL SUFFER IRREPARABLE INJURY WITHOUT
                 A STAY ................................................................................................. 19

        D.       DEBTOR AND CREDITORS WILL NOT BE UNDULY
                 PREJUDICED BY A STAY ........................................................................ 21

        E.       THE PUBLIC INTEREST IS SERVED BY A STAY PENDING APPEAL........... 22

        F.       SECURITY FOR STAY PENDING APPEAL ................................................ 23

IV.     CONCLUSION.............................................................................................. 24




                                                           iv
                                                                                                            Appx.000419
  Case: 21-10449    Document: 00515869234 Page: 6 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 426 of 783 PageID 6847



                                      TABLE OF AUTHORITIES

Cases

Arnold v. Garlock, 278 F.3d 426 (5th Cir. 2001) ...................................................... 8

Associated Press v. Otter, 682 F.3d 821 (9th Cir. 2012) ......................................... 20

Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. Lasalle P’ship,
  526 U.S. 434 (1999) ............................................................................................ 18

Bank of. La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores
  of Tex., Inc.), 266 F.3d 388 (5th Cir. 2001) ..................................................11, 14

Bank of New York Trust Co., N.A. v. Official Unsecured
  Creditors’ Comm. (In re Pacific Lumber Co.),
  584 F.3d 229 (5th Cir. 2009) .......................................................................passim

Cooper v. U.S. Postal. Serv., 246 F.R.D. 415 (D. Conn. 2007) .............................. 20

Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), 782 Fed. Appx. 339
  (5th Cir. 2019)..................................................................................................... 23

In re Blast Energy Services, Inc., 593 F.3d 418 (5th Cir. 2010) ............................. 19

Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995) .......................... 9

In re Edmonds, 273 B.R. 527 (Bankr. E.D. Mich. 2000) ........................................ 17

In re First S. Sav. Ass’n, 820 F.2d 700 (5th Cir. 1987) ............................................. 8

In re Introgen Therapeutics, 429 B.R. 570 (Bankr. W.D. Tex. 2010) .................... 17

In re Nat’l Gypsum Co., 208 F.3d 498 (5th Cir. 2000)........................................5, 12

In re W. Real Fund, 922 F.2d 592 (10th Cir. 1990) .................................................. 9

Norwest Bank Worthington v. Ahlers, 485 U.S. 197 (1988).................................... 17

Scott v. Schedler, 826 F.3d 207 (5th Cir. 2016)....................................................... 13

Tex. Democratic Party v. Abbott, 961 F.2d 389 (5th Cir. 2020) .........................8, 18

Weingarten Realty Investors v. Miller, 661 F.3d 904 (5th Cir. 2011) .................8, 19


                                                           v
                                                                                                          Appx.000420
  Case: 21-10449    Document: 00515869234 Page: 7 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 427 of 783 PageID 6848




Statutes and Rules

11 U.S.C. § 1126 ...................................................................................................... 16

11 U.S.C. § 1129 ...................................................................................................... 16

FED. R. BANKR. P. 8007 .......................................................................................7, 22




                                                           vi
                                                                                                           Appx.000421
  Case: 21-10449    Document: 00515869234 Page: 8 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 428 of 783 PageID 6849



      Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors,

L.P. (the “Movants”), the appellants in this direct bankruptcy appeal, file this their

Motion for Stay Pending Appeal (the “Motion”), respectfully stating as follows:

                                  I.     SUMMARY1

      The Movants respectfully request a stay of the Bankruptcy Court’s

Confirmation Order, by which it confirmed the Chapter 11 Plan of Highland

Capital Management, L.P. (the “Debtor”).

      A stay is necessary to prevent irreparable harm by ensuring that this Appeal

does not become equitably moot through the implementation of the Plan. A stay is

also necessary because the Plan’s injunctions prevent the Movants from exercising

their contractual and statutory rights, post-confirmation, and from potentially

asserting claims against various non-debtor parties, which claims the Plan releases,

exculpates, and enjoins. If a stay is not entered, then the Debtor is likely to

liquidate all of its holdings with judicial immunity by the time that the merits of

this appeal are heard.

      A stay is appropriate because the Plan violates this Court’s precedent and the

Bankruptcy Code.         First, the Plan contains sweeping injunction, release, and

exculpation provisions expressly forbidden by this Court in Pacific Lumber, which

provisions permanently enjoin the Movants from exercising their lawful rights and


1
      Capitalized terms used in this Summary are defined below.


                                             1
                                                                           Appx.000422
  Case: 21-10449    Document: 00515869234 Page: 9 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 429 of 783 PageID 6850



which impermissibly release claims that the Movants have against various non-

debtors. The Bankruptcy Court recognized as much, predicting that this Court

would “extend the holding” of Pacific Lumber—something that this Court has yet

to do, however. Second, the Plan could not have been confirmed at all under the

“cramdown” provisions of the Bankruptcy Code because equity interest holders

retain certain interests even though unsecured creditors rejected the Plan and are

not paid in full under the Plan.

      A stay will not prejudice the Debtor or other creditors. The Plan does not

provide for a sale, nor for exit financing, nor for the issuance or new securities or

investments in the Debtor. Rather, the Plan simply provides for the Debtor to

liquidate its assets over time, something that the Debtor is presently doing and can

continue doing without a need for the Plan.

      A stay will serve the public interests. Thousands of innocent investors,

whose investments (more than $1 billion) the Debtor manages, are enjoined from

exercising their solemn rights for post-bankruptcy claims. Potential claims they

hold against the Debtor’s management and non-debtors are simultaneously

extinguished through the Plan’s exculpation provisions. The public interest cannot

be served by permitting a Plan that clearly violates this Court’s precedent to

become effective, and the public interest cannot be served when these innocent

investors are enjoined from exercising their contractual and statutory rights.



                                          2
                                                                           Appx.000423
  Case: 21-10449    Document: 00515869234 Page: 10 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 430 of 783 PageID 6851



                                  I.   BACKGROUND2

A.    THE DEBTOR AND THE CLOS

      The Debtor is a multibillion-dollar global investment adviser registered with

the SEC, pursuant to the Investment Advisers Act of 1940.3 Under that Act, the

Debtor owes strict fiduciary duties to the funds that it manages and to the investors

whose investments it manages.4 Among other things, the Debtor manages more

than $1 billion in investments in various collateralized loan obligations (“CLOs”)

pursuant to portfolio management agreements (the “PMAs”) in exchange for

various fees paid by the CLOs.5

      The Movants are also registered investment advisors who manage and

advise various publicly traded funds, including three such funds (the “Funds”)6

which collectively have invested approximately $140 million in the CLOs the

Debtor manages.7 The Movants are also unsecured and administrative creditors




2
      Contemporaneously with the filing of this Motion, the Movants are filing their Appendix
      of Appellants. Citations to the appendix shall be notated as follows: Appx. #.
3
      Appx. 6.
4
      Appx. 340 (Tr. 179:8-15).
5
      Appx. 350-51 (Tr. 189:3-190:12).
6
      NexPoint Capital Inc., Highland Income Fund, and NexPoint Strategic Opportunities,
      Fund. Appx. 508 (Tr. 52:20-25).
7
      Appx. 509-11 (Tr. 53:1-55:5).


                                             3
                                                                                 Appx.000424
  Case: 21-10449    Document: 00515869234 Page: 11 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 431 of 783 PageID 6852



against the Debtor.8 The Movants have standing to appeal the Confirmation Order

and to seek a stay pending appeal, as confirmed by the Bankruptcy Court.9

      Under at least three PMAs, the Funds may remove the Debtor as CLO

manager because the Funds hold the requisite percentage of shares. There are

various other CLOs where the Funds do not hold enough shares but are still able to

vote their shares along with other shareholders.            Thus, should the Debtor, as

manager, act inappropriately, the Funds, and the Movants acting on their behalf,

have the ability to protect themselves and their investors, absent the Plan.

B.    THE CONFIRMATION ORDER AND PLAN

      The Debtor filed a voluntary petition for relief under Chapter 11 of the

Bankruptcy Code on October 16, 2019.10 On February 22, 2021, the United States

Bankruptcy Court for the Northern District of Texas, Dallas Division (the

“Bankruptcy Court”) entered an order (the “Confirmation Order”)11 confirming the

Debtor’s Chapter 11 plan (the “Plan”) over the objections of the Movants and

various others.12




8
      Appx. 777-95.
9
      Appx. 733 (Tr. 20:15-18); Appx. 863 (Tr. 68:13-15).
10
      Appx. 7.
11
      Appx. 1.
12
      Appx. 92.


                                             4
                                                                               Appx.000425
  Case: 21-10449    Document: 00515869234 Page: 12 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 432 of 783 PageID 6853



      Because Class 8, the class of unsecured creditors, rejected the Plan and is not

paid in full under the Plan,13 the Bankruptcy Court confirmed the Plan under the

cramdown provisions of the Bankruptcy Code, see 11 U.S.C. § 1129(b)(2)(B),

including the critical “Absolute Priority Rule.” This Rule is discussed in detail in

section III.B.iii below.

      The Plan contains various other provisions directly applicable to this appeal.

First, the Plan assumes the PSAs.14 The effect of assumption is that “the debtor

must continue to perform . . . the debtor accepts both the obligations and the

benefits of the executory contract.” In re Nat’l Gypsum Co., 208 F.3d 498, 505-06

(5th Cir. 2000). Second, the Plan releases and exculpates claims that the Movants

and others have against numerous non-debtors, as discussed in detail in section

III.B.ii below. Third, the Plan enjoins the Movants and others from exercising

their rights and claims against the Debtor and numerous non-debtors, some of

which claims are subject to a “gatekeeper” injunction where the Bankruptcy Court

must first determine that a claim against a non-debtor is “colorable,” as discussed

in detail in section III.B.ii below.

      The Movants timely filed their notice of appeal of the Confirmation Order.15

On March 31, 2021, and after certification by the Bankruptcy Court,16 the Movants

13
      Appx. 6, ¶ 3 (Class 8 rejected Plan); Appx. 41 (Class 8 projected to receive 71%).
14
      Appx. 69, 157-61.
15
      Appx. 772.


                                              5
                                                                                    Appx.000426
  Case: 21-10449    Document: 00515869234 Page: 13 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 433 of 783 PageID 6854



filed their petition for leave to file a direct appeal of the Confirmation Order,

asserting five (5) issues on appeal (only the first four (4) of which are relevant to

this Motion).17 On May 4, 2021, this Court granted the Movants’ petition for a

direct appeal of the Confirmation Order.18

C.    MOTION FOR STAY PENDING APPEAL PROCEEDINGS BELOW

      While the Confirmation Order has been entered, that does not mean that the

Plan is effective or operative. Rather, as is common, the Plan contains various

conditions precedent that must be met before the Plan can be declared

“effective.”19

      On February 28, 2021, the Movants sought a stay of the Confirmation Order

before the Bankruptcy Court.20 On March 19, 2021, the Bankruptcy Court orally

denied said motion.21 The Bankruptcy Court followed its oral denial with two

written orders.22

      On April 1, 2021, the Movants sought a stay of the Confirmation Order

before the United States District Court for the Northern District of Texas, Dallas


16
      Appx. 775.
17
      Appx. 885, 897-99.
18
      Appx. 945.
19
      Appx. 142.
20
      Appx. 947-80.
21
      Appx. 861-76 (Tr. 66:13 – 81:13).
22
      Appx. 878-84.


                                          6
                                                                          Appx.000427
  Case: 21-10449    Document: 00515869234 Page: 14 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 434 of 783 PageID 6855



Division (the “District Court”), as that is where the appeal was then pending.23 On

April 12, 2021, the District Court entered an order granting expedited

consideration of said motion and ordering expedited briefing.24 As of the filing of

this Motion, the District Court has yet to adjudicate the motion for stay pending

appeal.

      Because this Court now has jurisdiction over this appeal, the Movants now

file this Motion and seek a stay of the Confirmation Order from this Court.

      The Debtor has agreed to stay the effectiveness of the Plan through June 25,

2021. Thus, the Plan has yet to become effective or be implemented.

                   II.    ARGUMENTS AND AUTHORITIES

A.    STANDARD FOR A STAY PENDING APPEAL

      Because this Court has granted a direct appeal of the Confirmation Order,

this Court is the appropriate court to consider a stay of the Confirmation Order

pending appeal. See FED. R. BANKR. P. 8007(b)(1). The Movants have satisfied

the requirement of first seeking a stay from the Bankruptcy Court, which denied

said relief. See id. at 8007(b)(2)(B).

      In determining whether to grant a discretionary stay pending appeal, the

Court considers the following criteria: (1) the likelihood that the movant will


23
      Appx. 912-44.
24
      Appx. 907-11.


                                         7
                                                                         Appx.000428
  Case: 21-10449    Document: 00515869234 Page: 15 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 435 of 783 PageID 6856



prevail on the merits of the appeal; (2) whether the movant will suffer irreparable

injury if the stay is denied; (3) whether other parties would suffer substantial harm

if the stay is granted; and (4) whether the public interest will be served by granting

the stay. See In re First S. Sav. Ass’n, 820 F.2d 700, 709 (5th Cir. 1987). “The

first two factors are the most critical.” Tex. Democratic Party v. Abbott, 961 F.2d

389, 397 (5th Cir. 2020). However, the four-element test does not apply “where

there is a serious legal question involved and the balance of equities heavily favors

a stay; in those situations, the movant only needs to present a substantial case on

the merits.” Weingarten Realty Investors v. Miller, 661 F.3d 904, 910 (5th Cir.

2011).

B.    THERE IS A LIKELIHOOD OF SUCCESS ON THE MERITS

      i.     Legal Standard.

      “[T]he appellant need not always show a ‘probability’ of success on the

merits; instead, the movant need only present a substantial case on the merits when

a serious legal question is involved and show that the balance of the equities

weighs heavily in favor of granting the stay.” Arnold v. Garlock, 278 F.3d 426,

439 (5th Cir. 2001) (quotations omitted).

      ii.    The Plan Violates Pacific Lumber

      In Bank of New York Trust Co., N.A. v. Official Unsecured Creditors’

Comm. (In re Pacific Lumber Co.), 584 F.3d 229, 253 (5th Cir. 2009), this Court



                                            8
                                                                           Appx.000429
  Case: 21-10449    Document: 00515869234 Page: 16 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 436 of 783 PageID 6857



broadly foreclosed nonconsensual releases or exculpations of third party claims;

i.e. a claim held by a non-debtor against a non-debtor. The Pacific Lumber plan

proposed to exculpate the debtor’s management and professionals for actions (or

omissions) they may have taken during the Chapter 11 case. See id. at 251. The

Court found this impermissible:

         this court has held Section 524(e) only releases the debtor, not co-
         liable third parties. These cases seem broadly to foreclose non-
         consensual non-debtor releases and permanent injunctions. . . the
         essential function of the exculpation clause proposed here is to
         absolve the released parties from any negligent conduct that occurred
         during the course of the bankruptcy. The fresh start § 524(e) provides
         to debtors is not intended to serve this purpose.

Id. at 252 (internal citations omitted).

         Nor can a release of third party claims be effectuated through an injunction:

“[s]ection 524 prohibits the discharge of debts of nondebtors. Accordingly, we

must overturn a § 105 injunction if it effectively discharges a nondebtor.” Feld v.

Zale Corp. (In re Zale Corp.), 62 F.3d 746, 760 (5th Cir. 1995). The Court

concluded that no such injunction could be imposed under a plan on a permanent

basis:

         the stay may not be extended post-confirmation in the form of a
         permanent injunction that effectively relieves the nondebtor from its
         own liability to the creditor. Not only does such a permanent
         injunction improperly insulate nondebtors in violation of section
         524(e), it does so without any countervailing justification of debtor
         protection.

Id. at 760 (quoting In re W. Real Fund, 922 F.2d 592, 601-02 (10th Cir. 1990)).

                                           9
                                                                            Appx.000430
  Case: 21-10449    Document: 00515869234 Page: 17 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 437 of 783 PageID 6858



      Here, the Plan violates these dictates in three substantial ways: (i) it

exculpates claims for negligence that may be held by the Movants and others

against numerous non-debtor parties;25 (ii) it enjoins the Movants and others from

exercising their contractual rights after confirmation under contracts that are

assumed;26 and (iii) it subjects any claim that the Movants and others may have

against the foregoing for anything other than negligence to a “gatekeeper

injunction” where the Bankruptcy Court, reserving “exclusive jurisdiction,” must

first determine that a “colorable claim” exists.27

      With respect to the Plan’s exculpation provisions, “Exculpated Parties” non-

debtor managed funds, employees, the Debtor’s general partner, the Debtor’s

management and professionals, and the affiliates of the foregoing.28 Subject to

various limitations, the Plan provides that:

      no Exculpated Party will have or incur, and each Exculpated Party is
      hereby exculpated from, any claim, obligation, suit, judgment,
      damage, demand, debt, right, Cause of Action, remedy, loss, and
      liability for conduct occurring on or after the Petition Date in
      connection with or arising out of . . .29

      On its face, these provisions directly and clearly violate Pacific Lumber.

But these provisions are even more serious because they also apply to, and
25
      Appx. 144 (C. Exculpation).
26
      Appx. 147 (F. Injunction)
27
      Id.
28
      Appx. 106.
29
      Appx. 144 (C. Exculpation).


                                          10
                                                                        Appx.000431
  Case: 21-10449    Document: 00515869234 Page: 18 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 438 of 783 PageID 6859



exculpate, potential prospective liability incurred after the confirmation of the

Plan, because these provisions also apply to “the implementation of the Plan.”30

The “implementation of the Plan” will take between two to three years and

involves the Debtor’s management of more than $1 billion of other peoples’

investments.31         This is unprecedented, that a federal court would immunize

fiduciaries against future claims. This also violates the fundamental premise of

what it means to exit bankruptcy:

      Once the bankruptcy court confirms a plan of reorganization, the
      debtor may go about its business without further supervision or
      approval. The firm also is without the protection of the bankruptcy
      court. It may not come running to the bankruptcy judge every time
      something unpleasant happens.

Bank of. La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.), 266

F.3d 388, 390 (5th Cir. 2001).

      It is the equivalent of General Motors releasing the post-confirmation entity

from liability for manufacturing defects for cars it sells after bankruptcy. Nor is

this concern an academic one. As the Debtor’s CEO testified at the confirmation

hearing, the Debtor lost approximately $200 million in value during its bankruptcy

case, at least $100 million of which the CEO blamed on the Debtor’s prior (yet

post-bankruptcy) manager.32

30
      Id. (sub. iv).
31
      Appx. 350 (Tr. 189:3-9).
32
      Appx. 256-59 (Tr. 95:17-98:6); Appx. 361 (Tr. 200:16-19).


                                            11
                                                                           Appx.000432
  Case: 21-10449    Document: 00515869234 Page: 19 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 439 of 783 PageID 6860



      Next, the Plan contains a sweeping, permanent injunction: “all Enjoined

Parties33 are and shall be permanently enjoined, on and after the Effective Date,

from taking any actions to interfere with the implementation or consummation of

the Plan.”34 Of immediate relevance and effect on the Movants, this means that the

Movants are enjoined from advising or causing their clients, including the Funds,

to remove the Debtor as the manager of the CLOs, even though the Debtor

assumed the PMAs and even if the Debtor mismanages the CLOs.35

      As with exculpations, Pacific Lumber broadly foreclosed non-consensual

“permanent injunctions.” In re Pacific Lumber Co., 584 F.3d at 252-53. More

technically, the assumption of the PMAs means that the Debtor is obligated to

perform under them and all rights of the counterparty are preserved and may be

enforced: “[w]here the debtor assumes an executory contract, it must assume the

entire contract, cum onere – the debtor accepts both the obligations and the

benefits of the executory contract.” In re Nat’l Gypsum Co., 208 F.3d at 505-06.

The Debtor here found a clever way around this fundamental rule by simply

obtaining an injunction that permanently enjoins and alters contract rights and

obligations, in direct violation of the Bankruptcy Code.



33
      The Movants are “Enjoined Parties.” Appx. 105.
34
      Appx. 147.
35
      Appx. 359 (Tr. 198:12-25).


                                           12
                                                                        Appx.000433
  Case: 21-10449    Document: 00515869234 Page: 20 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 440 of 783 PageID 6861



      This    injunction,   prohibiting    “any    actions    to   interfere   with   the

implementation or consummation of the Plan,” is also both overbroad and vague.

See Scott v. Schedler, 826 F.3d 207, 211-12 (5th Cir. 2016) (“an injunction is

overly vague if it fails to satisfy the specificity requirements . . . and it is overbroad

if it is not narrowly tailored to remedy the specific action”). The Movants should

not be subjected to potential contempt actions when the Plan fails to define with

any reasonable specificity what it means to “interfere” with the “implementation or

consummation” of the Plan.

      With respect to the “gatekeeper injunction,” the Movants are included within

the “Enjoined Parties” subject to that injunction, which injunction prohibits the

Movants from taking various actions, including to sue any of the “Protected

Parties.”36 The “Protected Parties” include the same entities that are exculpated as

discussed above.37 Like the exculpation provision, this injunction effectuates a

non-consensual, non-debtor release prohibited by Pacific Lumber because the

Movants are enjoined from suing the Protected Parties even for claims based on

“bad faith, criminal misconduct, willful misconduct, fraud, or gross negligence.”38

See In re Pacific Lumber Co., 584 F.3d at 252-53.


36
      Appx. 105 (“Enjoined Parties”); Appx. 110 (“Protected Parties”); Appx. 147 (F.
      Injunction).
37
      Appx. 110.
38
      Appx. 147-48.


                                           13
                                                                               Appx.000434
  Case: 21-10449    Document: 00515869234 Page: 21 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 441 of 783 PageID 6862



      This injunction is not saved by the fact that the Bankruptcy Court may grant

relief from the injunction if it first determines that an Enjoined Party has a

“colorable claim” against a “Protected Party.” Nothing in the Bankruptcy Code

possibly permits the Bankruptcy Court to require a non-debtor to come to it and

prove that it has a viable claim against another non-debtor before it can assert that

claim, or else be in contempt of court. And this, too, applies prospectively to

actions the Debtor will take in the next two to three years during the “wind down

of the business of the Debtor or Reorganized Debtor” and the “the administration

of the Claimant Trust.”39 This is unprecedented, it violates due process, it is a

taking, and it is prohibited by Pacific Lumber.

      The Bankruptcy Court also impermissibly reserved to itself the “sole and

exclusive jurisdiction to determine whether a claim or cause of action is

colorable.”40   It is black-letter law that the Bankruptcy Court has no such

jurisdiction between non-debtors today, and will certainly have no such jurisdiction

in the future as the Plan is implemented. See In re Craig’s Stores of Tex. Inc., 266

F.3d at 390 (“After a debtor’s reorganization plan has been confirmed, the debtor’s

estate, and thus bankruptcy jurisdiction, ceases to exist, other than for matters

pertaining to the implementation or execution of the plan.”). And it is certainly


39
      Id.
40
      Id.


                                         14
                                                                          Appx.000435
  Case: 21-10449    Document: 00515869234 Page: 22 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 442 of 783 PageID 6863



black-letter law that the Bankruptcy Court cannot confer onto itself jurisdiction

that it does not have.

      The end result is that the Movants, and many others, are enjoined

permanently from exercising their legal and contractual rights; that potential

present and prospective claims they have against non-debtors are released and

exculpated; and that they are required to prove a “colorable” claim for any present

or prospective claim they may have against non-debtors before they may assert that

claim, while the Debtor and its management, officers, and others are free to

manage billions of dollars of innocent investors’ funds, taking very large fees for

themselves, effectively free from the fiduciary duties imposed on them by the

federal securities laws. This is precisely what Pacific Lumber prohibits, and the

wisdom of Pacific Lumber’s prohibition is aptly proven by this case.

      The Bankruptcy Court attempted to distinguish Pacific Lumber.41 In fact,

the Bankruptcy Court stated its belief that this Court would “extend the holding of

Pacific Lumber” with respect to the proper scope of an exculpation provision.42

But if the holdings and limitations of Pacific Lumber must be extended in order for

the Plan’s exculpation provision to be permissible, then the Movants have

demonstrated a likelihood of success on the merits of this issue per se.


41
      Appx. 744-56.
42
      Appx. 865 (Tr. 70:10-24).


                                         15
                                                                           Appx.000436
  Case: 21-10449    Document: 00515869234 Page: 23 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 443 of 783 PageID 6864



      iii.   The Plan Violates the Absolute Priority Rule.

      Creditors vote by class under a Chapter 11 plan. See 11 U.S.C. § 1126(c).

Class 8—unsecured creditors—rejected the plan.43 As the Plan does not pay Class

8 in full44 and Class 8 rejected the Plan, the Plan could only be confirmed if the

Debtor satisfied the “Absolute Priority Rule.” Under the Absolute Priority Rule,

the holder of any junior interest—e.g., an equity interest—cannot “receive or retain

… any property” on account of its junior interest. 11 U.S.C. § 1129(b)(2)(B)(ii).

      Here, the Plan violates the Absolute Priority Rule as a matter of law because

the Plan gives the Debtor’s limited partners—i.e., junior interest holders—

contingent interests in the “Claimant Trust” created under the Plan to pay creditors

and, after they are paid in full, to pay equity holders.45 There is no question that

those contingent trust interests are “property” as admitted by the Debtor at trial:

“These are contingent interests. They are property. No doubt they are property.”46

The Debtor’s CEO also testified that the contingent interests are, in his belief,

inchoate property interests which may have some value in the future.47 As a matter

of law, an interest in a trust, even one subject to a contingency that may never


43
      Appx. 6. One of the Movants, NexPoint Advisors, L.P., is a partial assignee of four Class
      8 Claims. Appx. 777-87.
44
      Appx. 41.
45
      Appx. 120.
46
      Appx. 698 (242:19-20).
47
      Appx. 339 (178:22-25).


                                             16
                                                                                   Appx.000437
  Case: 21-10449    Document: 00515869234 Page: 24 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 444 of 783 PageID 6865



happen, is “property.” See In re Edmonds, 273 B.R. 527, 529 (Bankr. E.D. Mich.

2000). The Plan therefore violates the Absolute Priority Rule because equity

holders retain or receive “property” under the Plan.

      The Debtor argued that these contingent interests may have no value and

would only vest and be paid if unsecured creditors are paid in full, thus satisfying

the Absolute Priority Rule.48 But the United States Supreme Court has squarely

rejected this argument:

      Respondents further argue that the absolute priority rule has no
      application in this case, where the property which the junior interest
      holders wish to retain has no value to the senior unsecured creditors. .
      . We join with the overwhelming consensus of authority which has
      rejected this ‘no value’ theory. . . Whether the value is present or
      prospective, for dividends or only for purposes of control a retained
      equity interest is a property interest. . . And while the Code itself does
      not define what ‘property’ means as the term is used in § 1129(b), the
      relevant legislative history suggests that Congress’ meaning was quite
      broad. Property includes both tangible and intangible property.

Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 207-08 (1988) (internal

quotations and citations omitted). Thus, it does not matter that the property may be

prospective, intangible, or valueless.

      The Bankruptcy Court relied on In re Introgen Therapeutics, 429 B.R. 570

(Bankr. W.D. Tex. 2010), for the proposition that, so long as the contingent

interests are not paid unless and until all unsecured claims are paid in full, the



48
      Appx. 45.


                                         17
                                                                            Appx.000438
  Case: 21-10449    Document: 00515869234 Page: 25 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 445 of 783 PageID 6866



Absolute Priority Rule is satisfied. This opinion was wrongly decided and has

never been adopted by this Court or any appellate court.

      First, it directly contradicts the language of the Bankruptcy Code, which

implicates the Absolute Priority Rule if any “property” is being retained or

received. Second, the opinion looked to the present value of what was being

retained, something directly foreclosed by the Supreme Court’s opinion in Norwest

Bank Worthington quoted above. Third, the opinion fails to take into account the

Supreme Court’s opinion in Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N.

Lasalle P’ship, 526 U.S. 434 (1999).       There the Supreme Court equated the

exclusive opportunity to bid on new equity under a plan as itself “property” that

was being granted or retained in violation of the Rule: “[t]his opportunity should,

first of all, be treated as an item of property in its own right.” Id. at 455. If an

exclusive opportunity is “property” for purposes of the Absolute Priority Rule,

then so is an “opportunity” to share in a future recovery, however remote.

      (iv)   Conclusion.

      At a minimum, the Movants have shown that a “serious legal question is

involved and [that] the balance of the equities weighs heavily in favor of granting

the stay.” Tex. Democratic Party v. Abbott, 961 F.3d at 397. Permanent federal

injunctions; a court exculpating someone of potential liability; a court requiring

someone to come before it and prove that a claim is “colorable” before he may



                                        18
                                                                         Appx.000439
  Case: 21-10449    Document: 00515869234 Page: 26 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 446 of 783 PageID 6867



have access to the courts; violating the Absolute Priority Rule—all of these are

“serious legal questions.”    And, given that the Bankruptcy Court ignored the

dictates of Pacific Lumber, and that billions of dollars of investments from

thousands of innocent investors are at stake, whose claims are released and who

are enjoined from exercising their legal rights and remedies after bankruptcy, “the

equities weighs heavily in favor of granting the stay.”

      Simply put, debtors and bankruptcy courts must not be permitted to use

expediency to trample on legal rights, in the belief that appeals will become moot

rendering appellate review unlikely. The Confirmation Order represents such clear

errors of law and such a “substantial case on the merits” that the Court need not

even consider the remaining factors governing a discretionary stay pending appeal

under the authority of Weingarten Realty Investors, 661 F.3d at 910. Nevertheless,

the Movants address such other factors below.

C.    MOVANTS WILL SUFFER IRREPARABLE INJURY WITHOUT A STAY

      First, there is the threat of equitable mootness, which this Court applies to

Chapter 11 confirmation orders to dismiss appeals because it may be effectively

too late to “unscramble the eggs.” See, e.g., In re Blast Energy Services, Inc., 593

F.3d 418, 424 (5th Cir. 2010). Indeed, this Court has recognized potential issues

with denying a stay pending appeal:

      Although the exigencies of the case appeared to demand prompt
      action, simply denying a stay seems to have been, and often will be,

                                         19
                                                                         Appx.000440
  Case: 21-10449    Document: 00515869234 Page: 27 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 447 of 783 PageID 6868



      too simplistic a response. A plan may be designed to take effect, as it
      was here, after a lapse of sufficient time to initiate appellate review. A
      supersedeas bond may be tailored to the scope of the appeal. An
      appeal may be expedited. As with all facets of bankruptcy practice,
      myriad possibilities exist. Thus, substantial legal issues can and ought
      to be preserved for review.

Bank of New York Trust Co., N.A. v. Official Unsecured Creditors’ Comm. (In re

Pacific Lumber Co.), 584 F.3d 229, 243 (5th Cir. 2009). This is all the more

important here where the order of the Article I bankruptcy court should be

reviewed on its merits by an Article III court.

      Second, the various release, exculpation, and injunction provisions of the

Plan detailed above will lead to irreparable injury if the Movants are unable to

exercise their contractual rights or take other action to protect their interests and

those of the investments they manage. Being enjoined from doing what one

otherwise has the lawful right to do is irreparable injury as a matter of law. C.f.

Associated Press v. Otter, 682 F.3d 821, 826 (9th Cir. 2012); Cooper v. U.S.

Postal. Serv., 246 F.R.D. 415, 418 (D. Conn. 2007).

      The Debtor has testified that it intends to liquidate and wind down the CLOs

in approximately two years.49 During that time, if the Movants dispute how the

Debtor is doing so, or believe they have claims against the Debtor for its conduct,

or wish to advise or cause their clients to take action against the Debtor on account

of the same, the Plan will prohibit them from doing so, and the Debtor and its
49
      Appx. 273 (line 5); Appx. 343 (line 5).


                                                20
                                                                            Appx.000441
  Case: 21-10449    Document: 00515869234 Page: 28 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 448 of 783 PageID 6869



management will be exculpated. Absent a stay pending appeal, by the time that the

Movants may ultimately prevail on their appeal, various rights will effectively

have been lost for good.

D.    DEBTOR AND CREDITORS WILL NOT BE UNDULY PREJUDICED BY A STAY

      The Plan does not involve exit financing, a sale of the business, new

investments, new money coming in, nor anything else that the Debtor does not

already have to monetize its assets for the benefit of its creditors.50     As the

Debtor’s CEO confirmed at trial, “post-confirmation, you are basically going to

continue managing the CLOs and funds and trying to monetize assets for creditors

the same as you are today.”51 He does not “need anything in the plan that [he] does

[not] have today to keep managing” the “Funds and the CLOs.”52

      Thus, because the Plan does not give the Debtor anything that it lacks at

present to continue monetizing its assets, managing the CLOs, and doing

everything else it would under the Plan, the Debtor and its other creditors will not

suffer any prejudice if a stay pending appeal is granted. In this respect, the Court

should take into account that 27 Class 8 creditors rejected the Plan, while only 17

accepted the Plan.53 It is the unsecured creditors who would be the only ones


50
      Appx. 346 (185:3-188:5).
51
      Appx. 349 (188:2-5).
52
      Id. (188:23-189:2).
53
      Appx. 6.


                                        21
                                                                         Appx.000442
  Case: 21-10449    Document: 00515869234 Page: 29 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 449 of 783 PageID 6870



potentially prejudiced if the Plan is stayed, as that may delay their recoveries, but

Class 8 overwhelmingly rejected the Plan.

E.    THE PUBLIC INTEREST IS SERVED BY A STAY PENDING APPEAL

      Because the Plan’s exculpation and injunction provisions impermissibly

infringe upon the contractual, legal, and due-process rights of parties in interest in

the bankruptcy case, a stay pending appeal will serve the public interest.

Thousands of innocent investors have invested in the CLOs or funds that the

Debtor manages, totaling well over $1 billion, including $140 million for just the

Funds that the Movants manage. A stay will ensure that non-debtor parties can be

held accountable for their post-petition and post-confirmation conduct. The public

has a strong interest, for example, in ensuring that the Debtor complies with federal

securities laws. But the Plan’s exculpation provision and injunction threaten to

substantially vitiate these laws and effectively relieve the Debtor from its

obligations and duties (and potential liabilities) thereunder.

      The public interest is also best served by requiring respect for judicial

precedent, here Pacific Lumber. While the Bankruptcy Court believed that this

Court will revisit its Pacific Lumber holdings and will expand Pacific Lumber, at

present Pacific Lumber is the law, and the Bankruptcy Court was bound by it. This

Court should not permit a Plan that clearly and directly violates Pacific Lumber to

become effective before addressing the merits of this appeal.



                                          22
                                                                           Appx.000443
  Case: 21-10449    Document: 00515869234 Page: 30 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 450 of 783 PageID 6871



F.    SECURITY FOR STAY PENDING APPEAL

      The Court may, but need not, condition a stay pending appeal on a bond or

other security being posted. See FED. R. BANKR. P. 8007(c). Because: (i) the Plan

so clearly violates Pacific Lumber; (ii) the Plan so clearly violates the Absolute

Priority Rule; (iii) there is the threat of equitable mootness; and (iv) the Debtor and

creditors would not be harmed by a stay pending appeal, the Movants should not

be required to post a bond as a condition to obtaining a stay. Indeed, the Debtor

argued below for a multi-hundred-million dollar bond, clearly designed not to

protect other parties but to effectively prevent a stay pending appeal as no

legitimate appellant should be required to post the entire amount of debt in a

bankruptcy case as a condition of obtaining meaningful appellate relief.

      The only conceivable harm pending appeal is from a delay in payments to

certain creditors and minor added administrative expenses for having to file reports

and pleadings with the Bankruptcy Court. If the Plan is affirmed, then those

creditors would not have use of those funds for a period of time. Here, the Debtor

believes that it will distribute approximately $60 million to Class 7 and Class 8

creditors within one year of the Plan going effective, which so far it has not.54 As

unsecured creditors, these creditors would be entitled to interest at the federal rate

of post-judgment interest. See Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), 782


54
      Appx. 766.


                                          23
                                                                            Appx.000444
  Case: 21-10449    Document: 00515869234 Page: 31 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 451 of 783 PageID 6872



Fed. Appx. 339, 341 (5th Cir. 2019). That rate is presently less than 1% and is

unlikely to rise past that amount during the period of any stay. Thus, the interest

that any creditor may be able to claim for any delay in payment is less than 1%, or

less than $600,000.00. With respect to increased administrative costs for having to

file reports and pleadings with the Bankruptcy Court, the Movants estimate that it

cannot reasonably cost the Debtor more than $150,000.00 per month to have to

continue filing reports and pleadings with the Bankruptcy Court that it would no

longer have to do under its Plan.

      Assuming this Court resolves this appeal within twelve months, the Movants

therefore submit that a bond or security of no more than $2.4 million is sufficient

to protect the Debtor and its estate from any harm resulting from the delay in the

effectiveness of the Plan.

                               IV.    CONCLUSION

      WHEREFORE, premises considered, the Movants request that the Court

enter an Order: (i) staying the effectiveness of the Confirmation Order pending

appeal; and (ii) granting such other relief as is just and proper.




                                           24
                                                                         Appx.000445
  Case: 21-10449    Document: 00515869234 Page: 32 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 452 of 783 PageID 6873



     RESPECTFULLY SUBMITTED this the 19th day of May, 2021.

                                  MUNSCH HARDT KOPF & HARR, P.C.

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                                  MANAGEMENT FUND ADVISORS,
                                  L.P., AND NEXPOINT ADVISORS, L.P.




                                    25
                                                                    Appx.000446
  Case: 21-10449    Document: 00515869234 Page: 33 Date Filed: 05/19/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 453 of 783 PageID 6874



                      CERTIFICATE OF CONFERENCE

      The undersigned hereby certifies that he discussed the relief requested herein
with Jeff Pomerantz, Esq., counsel of record for the Debtor, who informed the
undersigned that the Debtor opposes said relief.

                                             /s/ Davor Rukavina
                                             Davor Rukavina



                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that this Petition complies with Rule
27(d)(2) because it contains 5,176 words, excepting those portions that may be
excepted under Rule 32(f).

                                             /s/ Davor Rukavina
                                             Davor Rukavina



                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 19th day of May, 2021,
true and correct copies of this document, with any exhibits attached thereto, were
served on the recipients listed below via email.

Jeffrey N Pomerantz                          John A Morris
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                                             /s/ Davor Rukavina
                                             Davor Rukavina




                                        26
                                                                         Appx.000447
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 454 of 783 PageID 6875



                             EXHIBIT 14




                                                                   Appx.000448
    Case 19-34054-sgj11 Doc 2084 Filed 03/23/21 Entered 03/23/21 12:20:28 Page 1 of 3
     Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 455Docket   #2084 Date Filed: 03/23/2021
                                                                 of 783  PageID 6876




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 22, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

         In re:                                                  §
                                                                 §
         HIGHLAND CAPITAL MANAGEMENT,                            §            Case No. 19-34054-SGJ-11
         L.P., 1                                                 §
                                                                 §
         Debtor.                                                 §
                                                                 §

                           ORDER ON MOTIONS FOR STAY PENDING APPEAL

                  This matter having come before the Court on the Emergency Motion of the Advisors for Stay

     Pending Appeal of the Confirmation Order, and Brief in Support Thereof [Docket No. 1955] (the

     “Advisors Motion”); Motion for Stay Pending Appeal of the Court’s Order Confirming the Debtor’s

     Fifth Amended Plan [Docket No. 1967] (the “Funds Motion”); Joinder to Motions for Stay Pending

     Appeal of the Court’s Order Confirming the Debtor’s Fifth Amended Plan [Docket No. 1971] (the

     “Trusts Motion”); and Joinder in Motion for Stay Pending Appeal and Additional Grounds for the



     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 456 of 783 PageID 6877



Issuance of a Stay Pending Appeal [Docket No. 1973] (the “Dondero Motion,” and together with

the Advisors Motion, the Funds Motion, and the Trusts Motion, the (“Motions”), and this Court

having considered (i) the Motions; (ii) Debtor’s Omnibus Response to Motions for Stay Pending

Appeal of the Confirmation Order [Docket No. 2022] (the “Debtor’s Response”); 2 (iii) Omnibus

Objection of the Official Committee of Unsecured Creditors’ Objection to Motions for Stay Pending

Appeal of the Confirmation Order and Joinder in Debtor’s Omnibus Objection to Motions for Stay

[Docket No. 2023] (the “UCC Response,” and together with the Motions and the Debtor’s

Response, the “Briefs”); (iv) the evidence admitted into evidence during the hearing held on March

19, 2021 (the “Hearing”); and (v) the arguments made during the Hearing; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the notice of the Motions and opportunity for a hearing

on the Motions were appropriate and that no other notice need be provided; and upon all of the

proceedings had before this Court, the legal and factual bases set forth in the Briefs, and the

evidence submitted at the Hearing; and after due deliberation and sufficient cause appearing

therefor, and for the reasons set forth in the record on the Motions, it is hereby ORDERED that:

        1.      The Motions are DENIED.

        2.      The Court will hold a hearing on March 24, 2021, at 9:30 a.m. Central Time (the

“Bond Hearing”) on whether the Appellants are entitled to a stay pending appeal of the

Confirmation Order, as a matter of right, under applicable law upon the posting of an adequate

monetary bond. If the Court determines that applicable law provides Appellants with a stay


2
 Capitalized terms used but not herein defined shall have the meanings ascribed to such terms in the Debtor’s
Response.

                                                     2
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Case 19-34054-sgj11 Doc 2084 Filed 03/23/21 Entered 03/23/21 12:20:28 Page 3 of 3
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 457 of 783 PageID 6878



pending appeal of the Confirmation Order as a matter of right upon the posting of an adequate

monetary bond, then this Court will hear evidence at the Bond Hearing regarding the appropriate

amount of such bond.

       3.      Parties may submit briefs on the question of whether Appellants are entitled to a

stay pending appeal of the Confirmation Order as a matter of right upon the posting of an adequate

monetary bond, and if so, the appropriate amount of such bond, by no later than 3:00 p.m. Central

Time on March 23, 2021.

       4.      The Effective Date of the Plan will not occur prior to March 31, 2021.

       5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

                                   ### END OF ORDER ###




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 458 of 783 PageID 6879



                             EXHIBIT 15




                                                                   Appx.000452
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     3:21-cv-01585-S
       3:21-cv-00550-NDocument
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                                         10/01/21
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                                                      Page
                                                         459
                                                           1 of 783
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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

In re:                           §
                                 §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                            §            Bankruptcy Case No. 19-34054
                                 §
      Debtor.                    §
                                 §
HIGHLAND CAPITAL MANAGEMENT §
FUND ADVISORS, L.P. and NEXPOINT §
ADVISORS, L.P.,                  §
                                 §
      Appellants,                §
                                 §
v.                               §            Civil Action No. 3:21-cv-538-N
                                 §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                            §
                                 §
      Appellee.                  §
                                 §
HIGHLAND GLOBAL ALLOCATION §
FUND, HIGHLAND INCOME FUND,      §
NEXPOINT CAPITAL, INC., and      §
NEXPOINT STRATEGY                §
OPPORTUNITIES FUND               §
                                 §
      Appellants,                §
                                 §
v.                               §            Civil Action No. 3:21-cv-539-N
                                 §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                            §
                                 §
      Appellee.                  §
                                 §
JAMES DONDERO,                   §
                                 §
      Appellant,                 §
                                 §

ORDER – PAGE 1

                                                                      Appx.000453
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     3:21-cv-01585-S
       3:21-cv-00550-NDocument
                        Document
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                                            06/23/21Page
                                                      Page
                                                         460
                                                           2 of 783
                                                                3 PageID
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v.                           §                       Civil Action No. 3:21-cv-546-N
                             §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                        §
                             §
      Appellee.              §
                             §
THE DUGABOY INVESTMENT TRUST §
AND GET GOOD TRUST           §
                             §
      Appellants,            §
                             §
v.                           §                       Civil Action No. 3:21-cv-550-N
                             §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                        §
                             §
      Appellee.              §

                                         ORDER

       This Order addresses Highland Capital Management Fund Advisors, L.P., NexPoint

Advisors, L.P. (collectively, the “Advisors”), The Dugaboy Investment Trust, and Get

Good Trust’s motion for stay pending appeal. The Court denies the motion.

       This is a bankruptcy case concerning Highland Capital Management, L.P. On

February 22, 2021, the Bankruptcy Court entered the Order Confirming the Fifth Amended

Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and (ii)

Granting Related Relief (the “Confirmation Order”). Appellants filed motions for stay in

the Bankruptcy Court and initiated four separate appeals of the Confirmation Order to this

Court. The Bankruptcy Court denied the motions for stay and certified a direct appeal to

the Fifth Circuit. The Advisors then filed this motion for stay pending the outcome of their




ORDER – PAGE 2

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     3:21-cv-01585-S
       3:21-cv-00550-NDocument
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                                            06/23/21Page
                                                      Page
                                                         461
                                                           3 of 783
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appeal to the Fifth Circuit. The Dugaboy Investment Trust and the Get Good Trust then

filed a motion adopting the Advisors’ motion.

      Shortly after this motion became ripe, the Advisors filed a similar motion to the

Fifth Circuit. The Fifth Circuit ultimately denied that motion. See Order, NexPoint v.

Highland Capital Mgmt., No. 21-10449 (5th Cir. June 21, 2021). Because the Fifth Circuit

has already reviewed and denied a motion with identical arguments, the Court denies this

motion for stay pending appeal.



      Signed June 23, 2021.


                                                      ___________________________
                                                             David C. Godbey
                                                        United States District Judge




ORDER – PAGE 3

                                                                             Appx.000455
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 462 of 783 PageID 6883



                             EXHIBIT 16




                                                                   Appx.000456
  Case: 21-10449    Document: 00515906886 Page: 1 Date Filed: 06/21/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 463 of 783 PageID 6884



                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
 LYLE W. CAYCE                                               TEL. 504-310-7700
 CLERK                                                    600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                              June 21, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
       No. 21-10449    NexPoint v. Highland Capital Mgmt
                       USDC No. 19-34054
                       USDC No. 3:21-CV-538

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Lisa E. Ferrara, Deputy Clerk
                                  504-310-7675
Mr.   Zachery Z. Annable
Mr.   Robert P. Colwell
Mr.   Douglas Scott Draper
Mr.   David R. Fine
Ms.   Melissa Sue Hayward
Mr.   Jeffrey N. Pomerantz
Mr.   Davor Rukavina
Mr.   Clay Marshall Taylor
Mr.   Julian Preston Vasek




                                                                     Appx.000457
  Case: 21-10449    Document: 00515906887 Page: 1 Date Filed: 06/21/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 464 of 783 PageID 6885




             United States Court of Appeals
                  for the Fifth Circuit
                                 ___________

                                  No. 21-10449
                                 ___________

     NexPoint Advisors, L.P.; Highland Capital Management
     Fund Advisors, L.P.,

                                                                   Appellants,

                                      versus

     Highland Capital Management, L.P.,

                                                                     Appellee.
                    ______________________________

                 Appeal from the United States Bankruptcy Court
                        for the Northern District of Texas
                               USDC No. 19-34054
                  ______________________________

     Before Dennis, Southwick, and Engelhardt, Circuit Judges.
     Per Curiam:
           IT IS ORDERED that appellants Highland Capital Management
     Fund Advisors, L.P. and Nexpoint Advisors, L.P.’s motion for stay pending
     appeal is DENIED.




                                                                          Appx.000458
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 465 of 783 PageID 6886



                             EXHIBIT 17




                                                                   Appx.000459
                      Case 3:21-cv-01585-S Document 15 Filed 10/01/21                         Page 466 of 783 PageID 6887
                             SUMMARY OF DONDERO AND RELATED ENTITY LITIGATION*

 In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)
 9/23/20      Debtor’s Motion for Entry of an Order Approving Settlement with (a) Acis Capital Management, L.P. and Acis Capital Management GP LLC
              (Claim No. 23), (b) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (c) Acis Capital Management, L.P. (Claim No. 159) and
              Authorizing Actions Consistent Therewith [D.I. 1087]
              Objectors:    Dondero         Acis filed a claim for at least $75 million. Acis claim The Acis Settlement Motion Dondero            appealed
                            [D.I. 1121]     was the result of an involuntary bankruptcy initiated was approved and Dondero’s [D.I. 1347].              The
                                            when the Debtor refused to pay an arbitration award and objection was overruled [D.I. appeal has been
                                            instead transferred assets to become judgment proof. 1302].                              briefed     and    the
                                            Debtor settled claim for an allowed Class 8 claim of $23                                 decision is pending.
                                            million and approximately $1 million in cash payments.
                                            Dondero objected to the settlement alleging that it was
                                            unreasonable and constituted vote buying.
 11/18/20     Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements [D.I. 1424]
              Objectors:    Dondero         The Debtor filed a motion seeking to retain a sub- Dondero               withdrew    his N/A
                            [D.I. 1447]     servicer to assist in its reorganization consistent with the objection [D.I. 1460] after
                                            proposed plan. Dondero alleged that the sub-servicer forcing the Debtor to incur costs
                                            was not needed; was too expensive; and would not be responding [D.I. 1459]
                                            subject to Bankruptcy Court jurisdiction [D.I. 1447].
 11/19/20     James Dondero’s Motion for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions Occurring Outside of the
              Ordinary Course [D.I. 1439]
              Movant:       Dondero         Dondero alleged the Debtor sold significant assets in Dondero withdrew this motion N/A
                                            violation of 11 U.S.C. § 363 and without providing [D.I. 1622] after the Debtor and
                                            Dondero a chance to bid. Dondero requested an the Committee were forced to
                                            emergency hearing on this motion [D.I. 1443]. Dondero incur costs responding and
                                            filed this motion despite having agreed to the Protocols preparing for trial [D.I. 1546,
                                            governing such sales.                                        1551].
 12/8/20      Motion for Order Imposing Temporary Restrictions on Debtor’s Ability, as Portfolio Manager, to Initiate Sales by Non-Debtor
              CLO Vehicles [D.I. 1522]
              Movants:      Advisors        Movants argued that the Debtor should be precluded The motion was denied [D.I. N/A
                            Funds           from causing the CLOs to sell assets without Movants’ 1605] and was characterized as
                                            consent. Movants provided no support for this position “frivolous.”
                                            which directly contradicted the terms of the CLO
                                            Agreements; and was filed notwithstanding the
                                            Protocols which governed such sales. Movants
                                            requested an emergency hearing on this motion [D.I.
                                            1523].


* The following is by way of summary only and does not include discovery disputes or similar matters. Nothing herein shall be deemed or considered a
waiver of any rights or an admission of fact. The Debtor reserves all rights that it may have whether in law or in equity.

DOCS_NY:42718.13 36027/002
                                                                                                                                              Appx.000460
                  Case 3:21-cv-01585-S Document 15 Filed 10/01/21                        Page 467 of 783 PageID 6888


12/23/20   Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 150, 153, 154) and Authorizing Actions
           Consistent Therewith [D.I. 1625]
           Objectors:    Dondero         The HarbourVest Entities asserted claims in excess of CLOH withdrew its objection at The Trusts appealed
                         [D.I. 1697]     $300 million in connection with an investment in a fund the hearing. The settlement was [D.I. 1870], and the
                         Trusts          indirectly managed by the Debtor for, among other approved and the remaining appeal has been
                         [D.I. 1706]     things, fraud and fraudulent inducement, concealment, objections were overruled [D.I. briefed.         CLOH
                                         and misrepresentation. Debtor settled for an allowed 1788].                              recently   filed   a
                         CLOH [D.I.
                                         Class 8 claim of $45 million and an allowed Class 9                                      complaint alleging,
                         1707]
                                         claim of $35 million. Dondero and the Trusts alleged                                     among other things,
                                         that the settlement was unreasonable; was a windfall to                                  that the settlement
                                         the HarbourVest Entities; and constituted vote buying.                                   was a breach of
                                         CLOH argued that the settlement could not be                                             fiduciary duty and a
                                         effectuated under the operative documents.                                               RICO violation.
1/14/21    Motion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c) [D.I. 1752]
           Movants:      Trusts          Movants sought the appointment of an examiner 14 The motion was denied [D.I. N/A
                         Dondero         months after the Petition Date and commencement of 1960].
                         [D.I. 1756]     Plan solicitation to assess the legitimacy of the claims
                                         against the various Dondero Entities and to avoid
                                         litigation. Movants requested an emergency hearing on
                                         this motion [D.I. 1748].
1/20/21    James Dondero’s Objection to Debtor’s Proposed Assumption of Executory Contracts and Cure Amounts Proposed in
           Connection Therewith [D.I. 1784]
           Objector:     Dondero         Dondero objected to the Debtor’s proposed assumption Dondero          withdrew       his N/A
                                         of the limited partnership agreement governing the objection [D.I. 1876] after
                                         Debtor and MSCF [D.I. 1719].                             forcing the Debtor to incur the
                                                                                                  expense of responding (which
                                                                                                  included a statement that the
                                                                                                  Debtor limited partnership
                                                                                                  agreement was not being
                                                                                                  assumed).




                                                                         2
                                                                                                                                          Appx.000461
                      Case 3:21-cv-01585-S Document 15 Filed 10/01/21                           Page 468 of 783 PageID 6889


    1/22/20   Objections to Fifth Amended Plan of Reorganization [D.I. 1472]
              Objectors:1                   All objections to the Plan were consensually resolved      All objections were overruled      Dondero, the Trusts,
              Dondero        Trusts         prior to the confirmation hearing except for the           and the Confirmation Order         the Advisors, and the
              [D.I. 1661]    [D.I. 1667]    objections of the Dondero Entities and the U.S. Trustee.   was entered. The Confirmation      Funds appealed [D.I.
                                            The U.S. Trustee did not press its objection at            Order specifically found that      1957, 1966, 1970,
              Advisors & Senior
                                            confirmation.                                              Mr. Dondero would “burn the        1972]. The appeal is
              Funds2 [D.I. Employees
                                                                                                       place down” if his case            being briefed.
              1670]          [D.I. 1669]
                                                                                                       resolution plan was not
              HCRE [D.I. CLOH                                                                          accepted.
              1673]          [D.I. 1675]
              NexBank
              Entities
              [D.I. 1676]
    1/24/21   Application for Allowance of Administrative Expense Claim [D.I. 1826]
              Movants:       Advisors       The Advisors seek an administrative expense claim for      This matter is currently being     N/A
                                            approximately $14 million they allege they overpaid to     litigated.
                                            the Debtor during the bankruptcy case under the Shared
                                            Services Agreement. Notably, the Advisors have not
                                            paid $14 million to the Debtor during the bankruptcy.
    2/3/21    NexBank’s Application for Allowance of Administrative Expense Claim [D.I. 1888]
              Movant:        NexBank        NexBank seeks an administrative expense claim for          This matter is currently being     N/A
                                            reimbursement of $2.5 million paid to the Debtor under     litigated.
                                            its Shared Services Agreement and investment advisory
                                            agreement. NexBank alleges that it did not receive the
                                            services.




1
  In addition to the Dondero Entities’ objections, the following objections were filed: State Taxing Authorities [D.I. 1662]; Former Employees [D.I. 1666]; IRS
[D.I. 1668]; US Trustee [D.I. 1671]; Daugherty [D.I. 1678]. These objections were either resolved prior to confirmation or not pressed at confirmation.
2
  In addition to the Funds, this objection was joined by: Highland Fixed Income Fund, Highland Funds I and its series, Highland Funds II and its series, Highland
Healthcare Opportunities Fund, Highland Merger Arbitrate Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially
Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Real Estate Strategies Fund, NexPoint Real Estate Finance
Inc., NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
L.P., and NexPoint Real Estate Advisors VIII, L.P. [D.I. 1677].


                                                                               3
                                                                                                                                                   Appx.000462
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                          Page 469 of 783 PageID 6890


2/8/21    James Dondero Motion for Status Conference [D.I. 1914]
          Movant:       Dondero       Dondero requested a chambers conference to convince         The request was denied [D.I.     N/A.
                                      the Court to delay confirmation of the Plan to allow for    1929] after the Debtor and
                                      continued negotiation of the “pot plan.”                    Committee informally objected.
2/28/21   Motions for Stay Pending Appeal
          Movants:                    The only parties requesting a stay pending appeal were      Relief was denied [D.I. 2084,    Movants sought a
          Dondero       Advisors      the Dondero Entities. They alleged a number of              2095] and a number of the        stay pending appeal
          [D.I. 1973]   [D.I. 1955]   potential harms to the Dondero Entities if a stay was not   Movants’ arguments were          from this Court.
                                      granted and offered to post a $1 million bond.              found to be frivolous.
          Funds         Trusts
          [D.I. 1967]   [D.I. 1971]

3/18/21   James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy Investment Trust, The Get Good
          Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners, LLC, a Delaware Limited Liability Company’s Motion to Recuse
          Pursuant to 28 U.S.C. § 455 [D.I. 2060]
          Movants:      Dondero         Dondero argued that Judge Jernigan should recuse Judge Jernigan denied the The Movants
                        Advisors        herself as her rulings against him and his related entities motion without briefing from appealed [D.I. 2149].
                                        were evidence of her bias.                                  any other party on March 23, The opening brief
                        Trusts
                                                                                                    2021 [D.I. 2083].            and the Debtor’s
                        HCRE                                                                                                     response have been
                                                                                                                                 filed.
4/15/21   Debtor’s Motion for Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London Branch and Authorizing Actions
          Consistent Therewith [D.I. 2199]
          Movants:      Debtor          UBS Securities LLC and UBS AG London Branch The only parties to object were The objectors
                                        (collectively, “UBS”) asserted claims against the Debtor Dondero [D.I. 2295] and appealed the
                                        in excess of $1 billion arising from two Debtor-managed Dugaboy [D.I. 2268, 2293]. settlement.
                                        funds’ breach of contract in 2008. The settlement The Debtor filed an omnibus
                                        resolved ten plus years of litigation but had to be reply on May 14, 2021 [D.I.
                                        renegotiated when the Debtor discovered that the 2308]. UBS also filed a reply
                                        Dondero-controlled Debtor had caused the funds to [D.I. 2310].                The UBS
                                        transfer cash and securities with a face amount of over settlement was approved on
                                        $300 million to a Cayman-based Dondero controlled May 24, 2021 [D.I. 2389].
                                        entity in 2017, presumably to thwart UBS’s ability to
                                        collect on its judgment.




                                                                         4
                                                                                                                                          Appx.000463
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                            Page 470 of 783 PageID 6891


4/23/21   Debtor’s Motion for an Order Requiring the Violators to Show Cause Why They               Should Not Be Held in Civil Contempt for Violating
          Two Court Orders [D.I. 2247]
          Movants:     Debtor          Debtor filed a motion seeking an order to show cause as    Dondero, CLOH, the DAF, Dondero has
                                       to why Dondero, CLOH, DAF, and their counsel should        Mark Patrick (allegedly the appealed [D.I. 2712]
                                       not be held in contempt of court for willingly violating   person in control of the DAF),
                                       two final Bankruptcy Court orders. The Bankruptcy          and      their   counsel filed
                                       Court entered an order to show cause on April 29, 2021     responses to the order to show
                                       [D.I. 2255] and set an in-person hearing for June 8, 2021. cause on May 14, 2021 [D.I.
                                                                                                  2309, 2312, 2313]. The Debtor
                                                                                                  filed its reply on May 21, 2021
                                                                                                  [D.I. 2350]. On August 4,
                                                                                                  2021, the Court found each of
                                                                                                  Dondero, CLOH, the DAF,
                                                                                                  Patrick, and Sbaiti & Co. in
                                                                                                  contempt of court [D.I. 2660]
4/23/21   Motion for Modification of Order Authorizing Appointment of James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction [D.I. 2242]
          Movants:      Debtor          DAF and CLOH filed a motion asking the Bankruptcy On May 14, 2021, the Debtor DAF and CLOH
                                        Court to modify the July 16, 2020, order appointing filed a response [D.I. 2311] have appealed. [D.I.
                                        Seery as the Debtor’s CEO/CRO alleging the stating that DAF and CLOH’s 2513] but are
                                        Bankruptcy Court lacked subject matter jurisdiction.      motion was a collateral attack seeking to stay the
                                                                                                  and barred by res judicata, appeal and the filing
                                                                                                  among other things.         The of their opening
                                                                                                  Committee joined in the brief.
                                                                                                  Debtor’s response [D.I. 2315].
                                                                                                  DAF and CLOH filed their
                                                                                                  reply on May 21, 2021 [D.I.
                                                                                                  2347]. The Motion was denied
                                                                                                  on June 25, 2021 [D.I. 2506]
4/20/21   Debtor’s Motion for Entry of an Order (i) Authorizing the Debtor to (a) Enter into Exit Financing Agreement in Aid of Confirmed Chapter
          11 Plan and (b) Incur and Pay Related Fees and Expenses and (ii) Granting Related Relief [D.I. 2229]
          Movants:      Debtor          The Debtor filed a motion seeking authority to enter into The motion was granted on N/A
                                        an exit financing facility. The facility was required, in June 30 [D.I. 2503]
                                        part, to fund the increased costs to the estate from
                                        Dondero’s litigiousness. Dugaboy filed two objections
                                        to the motion alleging, among other things, that there
                                        was no basis for the financing [D.I. 2403; 2467]




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                                                                                                                                           Appx.000464
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                          Page 471 of 783 PageID 6892


4/29/21   Motion to Compel Compliance with Bankruptcy Rule 2015.3 [D.I. 2256]
          Movants:      Trusts          The Trusts filed a motion on negative notice seeking to A hearing was held on June 10, The Trusts appealed
                                        compel the Debtor to file certain reports under Rule 2021 [D.I. 2442] and the motion [D.I. 2840]
                                        2015.3 [D.I. 2256]. The Debtor opposed that motion on was adjourned. The motion was
                                        May 20, 2021 [D.I. 2341], which was joined by the denied as moot on September 7,
                                        Committee [D.I. 2343]. The Trusts filed their reply on 2021 [D.I. 2812]
                                        June 8, 2021 [D.I. 2424]
6/25/21   Debtor’s Motion for Entry of an Order (i) Authorizing the (a) Creation of an Indemnity Subtrust and (b) entry into an Indemnity Trust
          Agreement and (ii) Granting Related Relief [D.I. 2491]
          Movants:      Debtor          The Debtor filed a motion seeking authority to create an A hearing was held and the Dondero, HCMFA,
                                        indemnity trust to secure the Reorganized Debtor, Debtor’s motion was granted NPA, and Dugaboy
                                        Claimant Trust, and Litigation Trust’s indemnification [D.I. 2599].                       appealed [D.I. 2673]
                                        obligations [D.I. 2491]. Dondero, HCMFA, NPA, and
                                        Dugaboy objected [D.I. 2563] arguing that it constituted
                                        an improper plan modification. The Debtor and the
                                        Committee filed replies in support [D.I. 2576, 2577]
8/3/21    James Dondero’s First Amended Motion for Entry of an Order (i) Compelling Mediation and (ii) Granting Related Relief [D.I. 2657]
          Movants:      Dondero         Dondero filed a motion to compel mediation nearly six Dondero withdrew his motion N/A
                                        months after confirmation of the Debtor’s plan [D.I. to compel mediation after
                                        2657]. The Debtor filed a response setting forth certain reviewing       the     Debtor’s
                                        conditions for the appointment of a mediator [D.I. 2756]. conditions [D.I. 2763]
Highland Capital Management, L.P. v. James D. Dondero, Adv. Proc. No. 20-03190-sgj (Bankr. N.D. Tex.)
12/7/20   Plaintiff Highland Capital Management, L.P.’s Emergency Motion for a Temporary        Restraining Order and Preliminary Injunction against
          Mr. James Dondero [D.I. 2]
          Movant:        Debtor        The Debtor commenced an adversary proceeding             A TRO was entered on              Dondero appealed to
                                       seeking an injunction against Dondero. Dondero           December 10 [D.I. 10], which      the District Court,
                                       actively interfered with the management of the estate.   prohibited Dondero from,          which declined to
                                       Seery had instructed Debtor employees to sell certain    among other things, interfering   hear the interlocutory
                                       securities on behalf of the CLOs. Dondero disagreed      with the Debtor’s estate and      appeal. Dondero is
                                       with Seery’s direction and intervened to prevent these   communicating with Debtor         seeking a writ of
                                       sales from being executed. Dondero also threatened       employees unless it related to    mandamus from the
                                       Seery via text message and sent threatening emails to    the       Shared      Services    Fifth Circuit. The
                                       other Debtor employees.                                  Agreements. A preliminary         writ of mandamus
                                                                                                injunction was entered on         was withdrawn as
                                                                                                January 12 after an exhaustive    part of the settlement.
                                                                                                evidentiary hearing [D.I. 59].
                                                                                                This matter was resolved
                                                                                                consensually by order entered



                                                                         6
                                                                                                                                           Appx.000465
                         Case 3:21-cv-01585-S Document 15 Filed 10/01/21                            Page 472 of 783 PageID 6893


                                                                                                       May 18, 2021 [D.I. 182], which
                                                                                                       enjoined Dondero from certain
                                                                                                       conduct until the close of the
                                                                                                       Bankruptcy Case.
    1/7/21       Plaintiff’s Motion for an Order Requiring Mr. James Dondero to Show Cause Why He Should Not Be Held in Civil Contempt for
                 Violating the TRO [D.I. 48]
                 Movant:        Debtor       In late December, the Debtor discovered that Dondero The Court entered an order Mr. Dondero has
                                             had violated the TRO in multiple ways, including by finding Mr. Dondero in appealed [D.I. 212]
                                             destroying his cell phone, his text messages, and contempt of court on June 7,
                                             conspiring with the Debtor’s then general counsel and 2021 [D.I. 190]
                                             assistant general counsel3 to coordinate offensive
                                             litigation against the Debtor. The hearing on this matter
                                             was delayed and there was litigation on evidentiary
                                             issues, among other things. An extensive evidentiary
                                             hearing was held on March 22.




3
    As a result of this conduct, among other things, the Debtor terminated its general counsel and assistant general counsel for cause on January 5, 2021.


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                                                                                                                                                       Appx.000466
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                       Page 473 of 783 PageID 6894



Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic Opportunities Fund, NexPoint Capital, Inc., and CLO Holdco, Ltd., Adv. Proc. No.
21-03000-sgj (Bankr. N.D. Tex.)
1/6/21    Plaintiff’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction Against Certain Entities Owned
          and/or Controlled by Mr. James Dondero [D.I. 2]
          Movant:       Debtor        In late December, the Debtor received a number of The parties agreed to the entry N/A
                                      threatening letters from the Funds, the Advisors, and of a temporary restraining order
                                      CLOH regarding the Debtor’s management of the on January 13 [D.I. 20]. A
                                      CLOs. These letters reiterated the arguments made by hearing on a preliminary
                                      these parties in their motion filed on December 8, which injunction began on January 26
                                      the Court concluded were “frivolous.” The relief and was continued to May 7.
                                      requested by the Debtor was necessary to prevent the The TRO was further extended
                                      Funds, Advisors, and CLOH’s improper interference in with the parties’ consent [D.I.
                                      the Debtor’s management of its estate.                   64]. The Debtor reached an
                                                                                               agreement with CLOH and
                                                                                               dismissed CLOH from the
                                                                                               adversary proceeding. The
                                                                                               Debtor     has   reached     an
                                                                                               agreement in principle with the
                                                                                               Funds and Advisors that settled
                                                                                               this matter, and filed its 9019
                                                                                               motion.
Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P., Adv.
Proc. No. 21-03010-sgj (Bankr. N.D. Tex.)
2/17/21   Debtor’s Emergency Motion for a Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of Services
          by February 28, 2021 [D.I. 2]
          Movant:      Debtor           The Debtor’s Plan called for a substantial reduction in At a daylong hearing, the N/A
                                        its work force. As part of this process, the Debtor Advisors testified that they had
                                        terminated the Shared Services Agreements and began a transition plan in place. An
                                        negotiating a transition plan with the Advisors that order was entered on February
                                        would enable them to continue providing services to the 24 [D.I. 25] making factual
                                        retail funds they managed without interruption. The findings and ruling that the
                                        Debtor was led to believe that without the Debtor’s injunction was moot.             The
                                        assistance the Advisors would not be able to provide parties recently entered into a
                                        services to their retail funds, and, although the Debtor stipulation regarding discovery
                                        had proceed appropriately, the Debtor was concerned it for the remaining breach of
                                        would be brought into any action brought by the SEC contract claim. This action was
                                        against the Advisors if they could not service the funds. consolidated with the Advisors’



                                                                       8
                                                                                                                                      Appx.000467
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                           Page 474 of 783 PageID 6895


                                        The Debtor brought this action to force the Advisors to    admin claim since both matters
                                        formulate a transition plan and to avoid exposure to the   arise from Shared Services
                                        SEC, among others.                                         Agreements.


Highland Capital Management, L.P. v. James Dondero, Adv. Proc. No. 21-03003-sgj (Bankr. N.D. Tex.)
1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]

          Movant:       Debtor       Dondero borrowed $8.825 million from Debtor The parties are currently                          N/A
                                     pursuant to a demand note. Dondero did not pay when conducting discovery and
                                     the note was called and the Debtor was forced to file an engaging in motion practice.
                                     adversary. Dondero subsequently amended his answer The parties entered into a global
                                     to add a series of affirmative defenses, including that revised scheduling agreement
                                     the notes had been forgiven because of an for all five notes litigations.
                                     undocumented oral agreement with Dondero’s sister.
4/15/21   James Dondero’s Motion and Memorandum of Law in Support to Withdraw the Reference [D.I. 21]
          Movant:     Dondero        Three months after the complaint was filed Dondero A hearing was held on May 25,               N/A
                                     filed a motion to withdraw the bankruptcy reference and 2021, and a stay was granted
                                     a motion to stay the adversary pending resolution of his until mid-July 2021. The Court
                                     motion [D.I. 22].                                        transmitted a report and
                                                                                              recommendation on July 7 [D.I.
                                                                                              69]. Dondero filed a limited
                                                                                              objection to the R&R.
Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., Adv. Proc. No. 21-03004-sgj (Bankr.
N.D. Tex.)
1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
          Movant:      Debtor           HCMFA borrowed $7.4 million from Debtor pursuant The parties are currently                  N/A
                                        to a demand note. Dondero did not pay when the note conducting discovery and
                                        was called and the Debtor was forced to file an engaging in motion practice.
                                        adversary. HCMFA subsequently amended its answer The parties entered into a global
                                        to add a series of affirmative defenses, including that revised scheduling agreement
                                        the notes had been forgiven because of an for all five notes litigations.
                                        undocumented oral agreement between Dondero and
                                        his sister.




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                                                                                                                                          Appx.000468
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                           Page 475 of 783 PageID 6896


4/13/21   Defendants Motion to Withdraw the Reference [D.I. 20]
          Movant:     HCMFA           Three months after the complaint was filed HCMFA           A hearing was held on May 25,      N/A
                                      filed a motion to withdraw the bankruptcy reference.       2021. The Court transmitted a
                                                                                                 R&R on July 9 [D.I. 52].
                                                                                                 HCMFA filed a limited
                                                                                                 objection to the R&R.
Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Proc. No. 21-03005-sgj (Bankr. N.D. Tex.)
1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
          Movant:      Debtor           NPA borrowed approximately $30.75 million under an The parties are currently                N/A
                                        installment note. NPA did not pay the note when and conducting discovery and
                                        the Debtor was forced to file an adversary. NPA engaging in motion practice.
                                        subsequently amended its answer to add a series of The parties entered into a global
                                        affirmative defenses, including that the notes had been revised scheduling agreement
                                        forgiven because of an undocumented oral agreement for all five notes litigations.
                                        between Dondero and his sister.
4/13/21   Defendants Motion to Withdraw the Reference [D.I. 19]
          Movant:      NPA              Three months after the complaint was filed HCMFA A hearing was held on May 25,              N/A
                                        filed a motion to withdraw the bankruptcy reference.     2021. The Court transmitted a
                                                                                                 R&R on July 9 [D.I. 42]. NPA
                                                                                                 filed a limited objection to the
                                                                                                 R&R.       The District Court
                                                                                                 adopted the R&R. [D. Ct. D.I.
                                                                                                 10].




                                                                         10
                                                                                                                                          Appx.000469
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                          Page 476 of 783 PageID 6897



Highland Capital Management, L.P. v. Highland Capital Management Services, Inc., Adv. Proc. No. 21-03006-sgj (Bankr. N.D.
Tex.)
1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
          Movant:      Debtor           Highland Capital Management Services, Inc. The parties are currently                       N/A
                                        (“HCMS”), borrowed $900,000 in demand notes and conducting discovery and
                                        approximately $20.5 million in installment notes. engaging in motion practice.
                                        HCMS did not pay the notes when due and the Debtor The parties entered into a global
                                        was forced to file an adversary. HCMS subsequently revised scheduling agreement
                                        amended its answer to add a series of affirmative for all five notes litigations.
                                        defenses, including that the notes had been forgiven
                                        because of an undocumented oral agreement between
                                        Dondero and his sister.
6/3/21    Defendants Motion to Withdraw the Reference [D.I. 19]
          Movant       HCMS             Five months after the complaint was filed HCMS filed A hearing was held on July 8,
                                        a motion to withdraw the reference.                      2021. The Court issued its
                                                                                                 R&R on July 15, 2021 [D. I.
                                                                                                 52]. HCMS filed a limited
                                                                                                 objection to the R&R. the
                                                                                                 District Court adopted the
                                                                                                 R&R. [D. Ct. Docket No. 5].
                                                                                                 HCMS filed a Motion for
                                                                                                 Reconsideration of the District
                                                                                                 Court’s Order adopting R&R
                                                                                                 [D. Ct. Docket No. 8].
Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC), Adv. Proc. No. 21-
03007-sgj (Bankr. N.D. Tex.)
1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
          Movant:      Debtor           HCRE borrowed $4.25 million in demand notes and The parties are currently                  N/A
                                        approximately $6.05 million in installment notes. conducting discovery and
                                        HCRE did not pay the notes when due and the Debtor engaging in motion practice.
                                        was forced to file an adversary. HCRE subsequently The parties entered into a global
                                        amended its answer to add a series of affirmative revised scheduling agreement
                                        defenses, including that the notes had been forgiven for all five notes litigations.
                                        because of an undocumented oral agreement between
                                        Dondero and his sister.

6/3/21    Defendants Motion to Withdraw the Reference [D.I. 20]



                                                                        11
                                                                                                                                         Appx.000470
                 Case 3:21-cv-01585-S Document 15 Filed 10/01/21                            Page 477 of 783 PageID 6898


          Movant        HCMS            Five months after the complaint was filed HCMS filed        A hearing was held on July 8,
                                        a motion to withdraw the reference.                         2021. The Court issued its
                                                                                                    R&R on July 15, 2021 [D.I.
                                                                                                    47]. HCRE filed a limited
                                                                                                    objection to the R&R [D. Ct.
                                                                                                    Docket No. 5].
Charitable DAF Fund, L.P., and CLO Holdco, Ltd., v. Highland Capital Management, L.P., Highland HCF Advisor, Ltd., and
Highland CLO Funding, Ltd., Case No. 21-cv-00842-B (N.D. Tex. April 12, 2021)
4/12/21   Original Complaint

          Movants:      DAF             Movants allege that the Debtor and Seery violated SEC       On May 19, the Debtor filed a      the Court entered an
                        CLOH            rules, breached fiduciary duties, engaged in self-          motion to enforce the order of     order enforcing the
                                        dealing, and violated RICO in connection with its           reference seeking to have the      reference         on
                                        settlement with the HarbourVest Entities. The Movants       case referred to the Bankruptcy    September 20, 2021
                                        brought this complaint despite CLOH having objected         Court [D.I. 22]. On May 27,        [D.I. 64],a and this
                                        to the HarbourVest settlement; never raised this issue;     2019, the Debtor filed a motion    matter is proceeding
                                        and withdrawn its objection. The Debtor believes the        to dismiss the complaint [D.I.     in the Bankruptcy
                                        complaint is frivolous and represents a collateral attack   26]. Briefing was completed        Court.
                                        on the order approving the HarbourVest settlement. The      for both motions. After briefing
                                        Debtor will take all appropriate actions.                   was completed, CLOH and the
                                                                                                    DAF filed a motion seeking to
                                                                                                    stay the proceeding pending
                                                                                                    resolution of the appeal of the
                                                                                                    confirmation order [D.I. 55]
                                                                                                    and the Debtor filed a
                                                                                                    responsive brief.
4/19/21   Plaintiff’s Motion for Leave to File First Amended Complaint in the District Court

          Movants:      DAF             Movants filed a motion seeking leave from this Court to     This Court denied the motion       N/A
                                        add Seery as a defendant and to seek, in this Court, a      but with leave to refile.
                        CLOH            reconsideration of two final Bankruptcy Court orders.




                                                                          12
                                                                                                                                               Appx.000471
                Case 3:21-cv-01585-S Document 15 Filed 10/01/21                          Page 478 of 783 PageID 6899



PCMG Trading Partners XXIII, L.P. v. Highland Capital Management, L.P., Case No. 21-cv-01169-N (N.D. Tex. May 21, 2021)
4/12/21   Original Complaint

          Movants:     PCMG          Movants allege that the Debtor violated SEC rules and       The Complaint was recently         N/A
                       Trading       breached fiduciary duties by causing one of its managed     filed and the Debtor has not yet
                       Partners      investment vehicles to sell certain assets. The Movant is   been served. Although the
                       XXIII, L.P.   an entity owned and controlled by Dondero, which had        Complaint was not served, the
                                     less than a 0.05% interest in the investment vehicle at     movant filed a motion to stay on
                                     issue and is no longer an investor. The Debtor believes     August 26, 2021 pending the
                                     the complaint is frivolous. The Debtor will take all        appeal of the confirmation
                                     appropriate actions.                                        order [D.I. 6].
The Dugaboy Investment Trust v. Highland Capital Management, L.P., Case No. 21-cv-01479-S (N.D. Tex. June 23, 2021)
6/23/21   Original Complaint

          Movants:     Dugaboy       Dugaboy alleges that the Debtor violated SEC rules and      The Complaint was withdrawn        N/A
                                     breached fiduciary duties by causing one of its managed     after the Debtor informed the
                                     investment vehicles to sell certain assets. Dugaboy is      Bankruptcy Court of the filing.
                                     Dondero’s family trust with less than a 2% interest in
                                     the vehicle. Dugaboy’s allegations in the complaint are
                                     duplicative of allegations it made in proofs of claim
                                     filed in the Bankruptcy Court.
The Charitable DAF Fund, LP v. Highland Capital Management, L.P., Case No. 21-cv-01710-N (N.D. Tex. July 22, 2021)
7/22/21   Original Complaint

          Movants:     Dugaboy       DAF alleges that the Debtor violated SEC rules and          The Complaint was recently         N/A
                                     breached fiduciary duties by causing one of its managed     filed and the Debtor has not yet
                                     investment vehicles to sell certain assets. DAF’s           been served. Although the
                                     allegations in the complaint are duplicative of             Complaint was not served, the
                                     allegations Dugaboy made in proofs of claim filed in the    movant filed a motion to stay on
                                     Bankruptcy Court and in its complaint filed in the          August 26, 2021 pending the
                                     Northern District of Texas.                                 appeal of the confirmation
                                                                                                 order [D.I. 6].




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                                                                                                                                          Appx.000472
                Case 3:21-cv-01585-S Document 15 Filed 10/01/21                     Page 479 of 783 PageID 6900



In re James Dondero, Petitioner, Cause No. DC-21-09534 (Tex. July 22, 2021)
7/22/21   Original Complaint

          Movants:     Dondero    Dondero seeks pre-suit discovery from Farallon Capital,   Farallon and the Crusader Fund   This       matter     is
                                  a purchaser of certain claims in this case, and the       removed this action to the       currently         being
                                  Crusader Fund. Dondero alleges that Farallon breached     Bankruptcy Court [D.I. 1].       litigated.
                                  certain U.S. Trustee requirements when it purchased       Dondero moved to remand
                                  those claims. Dondero also alleges that Farallon          [D.I. 4], which is being
                                  purchased those claims because of its relationship to     opposed.
                                  Mr. Seery and that Mr. Seery was leveraging his
                                  relationship with Farallon to ensure that he remains in
                                  control of the Debtor.




                                                                  14
                                                                                                                                       Appx.000473
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 480 of 783 PageID 6901



                             EXHIBIT 18




                                                                   Appx.000474
CaseCase
     3:21-cv-01585-S
         3:21-cv-00842-B
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4811of
                                                            of783
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS

    CHARITABLE DAF FUND, L.P.          §
    and CLO HOLDCO, LTD.,              §
    directly and derivatively,         §
                                       §
                  Plaintiffs,          §
                                       §
                      v.               §                   Cause No. __________________________
                                       §
    HIGHLAND CAPITAL MANAGEMENT, §
    L.P. , HIGHLAND HCF ADVISOR, LTD., §
    and HIGHLAND CLO FUNDING, LTD., §
    nominally,                         §
                                       §
                 Defendants.           §



                                         ORIGINAL COMPLAINT


                                                      I.
                                              INTRODUCTION
           This action arises out of the acts and omissions of Defendant Highland Capital

Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

(“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

(HCM and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions which

have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

among others, which have caused and/or likely will cause Plaintiffs damages.




1
    https://adviserinfo.sec.gov/firm/summary/110126



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     3:21-cv-01585-S
         3:21-cv-00842-B
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4822of
                                                            of783
                                                               26 PageID
                                                                  PageID26903



        At all relevant times, HCM was headed by CEO and potential party James P. Seery

(“Seery”). Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98%

of HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests

in HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon

a sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

information and belief, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed

to Harbourvest nor to Plaintiffs.

        Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

which HCM and Seery had access to superior non-public information. Upon information and

belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

compliance rules preventing it, or the compliance protocols themselves were disabled or amended

to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

created an unacceptable perpetuation of exposure to liability.

        Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious

interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

current NAV, and (b) diverting the Harbourvest opportunity to themselves.



  2
   “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.

Original Complaint                                                                                Page 2
                                                                                           Appx.000476
CaseCase
     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
                         Document
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4833of
                                                            of783
                                                               26 PageID
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        For these reasons, judgment should be issued in Plaintiffs’ favor.

                                                  II.
                                              PARTIES
        1.      Plaintiff CLO Holdco, Ltd. is a limited company incorporated under the laws of

the Cayman Islands.

        2.      Plaintiff Charitable DAF Fund, L.P., (“DAF”) is a limited partnership formed under

the laws of the Cayman Islands.

        3.      Defendant Highland Capital Management, L.P. is a limited partnership with its

principal place of business at 300 Crescent Court, Suite 700, Dallas, Texas 75201. It may be served

at its principal place of business or through its principal officer, James P. Seery, Jr., or through the

Texas Secretary of State, or through any other means authorized by federal or state law.

        4.      Defendant Highland HCF Advisor, Ltd. is a limited company incorporated under

the laws of the Cayman Islands. Its principal place of business is 300 Crescent Court, Suite 700,

Dallas, Texas 75201. It is a registered investment adviser (“RIA”) subject to the laws and

regulations of the Investment Advisers Act of 1940 (the “Adviser’s Act”). It is a wholly-owned

subsidiary of Highland Capital Management, L.P.

        5.      Nominal Defendant Highland CLO Funding, Ltd. is a limited company

incorporated under the laws of the Island of Guernsey. Its registered office is at First Floor, Dorey

Court, Admiral Park, St. Peter Port, Guernsey GY1 6HJ, Channel Islands. Its principal place of

business is 300 Crescent Court, Suite 700, Dallas, Texas 75201.

        6.      Potential party James P. Seery, Jr. (“Seery”) is an officer and/or director and/or

control person of Defendants Highland Capital Management, L.P., Highland CLO Funding, Ltd.,

and Highland HCF Advisor, Ltd., and is a citizen of and domiciled in Floral Park, New York.




Original Complaint                                                                                Page 3
                                                                                           Appx.000477
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     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
                         Document
                               15 Filed
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4844of
                                                            of783
                                                               26 PageID
                                                                  PageID46905



                                                   III.
                                  JURISDICTION AND VENUE
        7.      This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1331

as one or more rights and/or causes of action arise under the laws of the United States. This Court

has supplemental subject matter jurisdiction over all other claims under 28 U.S.C. § 1367.

        8.      Personal jurisdiction is proper over the Defendants because they reside and/or have

continual contacts with the state of Texas, having regularly submitted to jurisdiction here.

Jurisdiction is also proper under 18 U.S.C. § 1965(d).

        9.      Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because one or

more Defendants reside in this district and/or a substantial part of the events or omissions giving

rise to the claim occurred or a substantial part of property that is the subject of the action is situated

in this district. Venue in this district is further provided under 18 U.S.C. § 1965(d).

                                                   IV.
                                   RELEVANT BACKGROUND
                                        HCLOF IS FORMED
        10.     Plaintiff DAF is a charitable fund that helps several causes throughout the country,

including providing funding for humanitarian issues (such as veteran’s welfare associations and

women’s shelters), public works (such as museums, parks and zoos), and education (such as

specialty schools in underserved communities). Its mission is critical.

        11.     Since 2012, DAF was advised by its registered investment adviser, Highland

Capital Management, L.P., and its various subsidiaries, about where to invest. This relationship

was governed by an Investment advisory Agreement.




Original Complaint                                                                                 Page 4
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CaseCase
     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4855of
                                                            of783
                                                               26 PageID
                                                                  PageID56906



        12.     At one point in 2017, HCM advised DAF to acquire 143,454,001 shares of HCLOF,

with HCFA (a subsidiary of HCM) serving as the portfolio manager. DAF did so via a holding

entity, Plaintiff CLO Holdco, Ltd.

        13.     On November 15, 2017, through a Subscription and Transfer Agreement, the DAF

entered into an agreement with others to sell and transfer shares in HCLOF, wherein the DAF

retained 49.02% in CLO Holdco.

        14.     Pursuant to that agreement, Harbourvest acquired the following interests in the

following entities:

        Harbourvest Dover Street IX Investment, L.P., acquired 35.49%;

        Harbourvest 2017 Global AIF, L.P., acquired 2.42%;

        Harbourvest 2017 lobal Fund, L.P., acquired 4.85%;

        HV International VIII Secondary, L.P., acquired 6.5%; and

        Harbourvest Skew Base AIF, L.P., acquired 0.72%;

for a total of 49.98% (altogether, the “Harbourvest interests”).

        15.     On or about October 16, 2019, Highland Capital Management filed for Chapter 11

bankruptcy in Delaware Bankruptcy Court, which was later transferred to the Northern District of

Texas Bankruptcy Court, in the case styled In Re: Highland Capital Management, L.P., Debtor,

Cause No. 19-34054, (the “HCM Bankruptcy” and the Court is the “Bankruptcy Court”).

                              The Harbourvest Settlement with
                        Highland Capital Management in Bankruptcy

        16.     On April 8, 2020, Harbourvest submitted its proofs of claim in the HCM bankruptcy

proceeding. Annexed to its proofs of claims was an explanation of the Proof of Claim and the basis

therefor setting out various pre-petition allegations of wrongdoing by HCM. See, e.g., Case No.

19-bk-34054, Doc. 1631-5.


Original Complaint                                                                          Page 5
                                                                                      Appx.000479
CaseCase
     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
                         Document
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4866of
                                                            of783
                                                               26 PageID
                                                                  PageID66907



        17.     The debtor, HCM, made an omnibus response to the proofs of claims, stating they

were duplicative of each other, overstated, late, and otherwise meritless.

        18.     Harbourvest responded to the omnibus objections on September 11, 2020. See

Cause No. 19-bk-34054, Doc. 1057.

        19.     Harbourvest represented that it had invested in HCLOF, purchasing 49.98% of

HCLOF’s outstanding shares.

        20.     Plaintiff CLO Holdco was and is also a 49.02% holder of HCLOF’s member

interests.

        21.     In its Omnibus Response, Harbourvest explained that its claims included

unliquidated legal claims for fraud, fraud in the inducement, RICO violations under 18 U.S.C.

1964, among others (the “Harbourvest Claims”). See Cause No. 19-bk-34054, Doc. 1057.

        22.     The Harbourvest Claims centered on allegations that when Harbourvest was

intending to invest in a pool of Collateralized Loan Obligations, or CLOs, that were then-managed

by Acis Capital Management (“Acis”), a subsidiary of HCM, HCM failed to disclose key facts

about ongoing litigation with a former employee, Josh Terry.

        23.     Harbourvest contended that HCM never sufficiently disclosed the underlying facts

about the litigation with Terry, and HCM’s then-intended strategy to fight Terry caused HCLOF

to incur around $15 million in legal fees and costs. It contended that had it known the nature of the

lawsuit and how it would eventually turn out, Harbourvest never would have invested in HCLOF.

See Cause No. 19-bk-34054, Doc. 1057.

        24.     HCLOF’s portfolio manager is HCFA. HCM is the parent of HCFA and is managed

by its General Partner, Strand Management, who employs Seery and acts on behalf of HCM.




Original Complaint                                                                             Page 6
                                                                                        Appx.000480
CaseCase
     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
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                               15 Filed
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4877of
                                                            of783
                                                               26 PageID
                                                                  PageID76908



        25.      Before acceding to the Harbourvest interests, HCM was a 0.6% holder of HCLOF

interests.

        26.      While even assuming Harbourvest’s underlying claims were valid as far as the lost

$15 million went, the true damage of the legal fees to Harbourvest would have been 49.98% of the

HCLOF losses (i.e., less than $7.5 million). Harbourvest claimed that it had lost over $100 million

in the HCLOF transaction due to fraud, which, after trebling under the racketeering statute, it

claimed it was entitled to over $300 million in damages.

        27.      In truth, as of September 2020, Harbourvest had indeed lost some $52 million due

to the alleged diminishing value of the HCLOF assets (largely due to the underperformance of the

Acis entities3)—and the values were starting to recover.

        28.      HCM denied the allegations in the Bankruptcy Court. Other than the claim for

waste of corporate assets of $15 million, HCM at all times viewed the Harbourvest legal claims as

being worth near zero and having no merit.

        29.      On December 23, 2020, HCM moved the Court to approve a settlement between

itself and Harbourvest. No discovery had taken place between the parties, and Plaintiff did not

have any notice of the settlement terms or other factors prior to the motion’s filing (or even during

its pendency) in order to investigate its rights.

        30.      HCM set the hearing right after the Christmas and New Year’s holidays, almost

ensuring that no party would have the time to scrutinize the underpinnings of the deal.

        31.      On January 14, 2021, the Bankruptcy Court held an evidentiary hearing and

approved the settlement in a bench ruling, overruling the objections to the settlement.




3
  Acis was being managed by Joshua Terry. JP Morgan had listed the four ACIS entities under his management as
the four worst performers of the 1200 CLOs it evaluated.

Original Complaint                                                                                       Page 7
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     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
                         Document
                               15 Filed
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4888of
                                                            of783
                                                               26 PageID
                                                                  PageID86909



        32.     An integral part of the settlement was allowing $45 million in unsecured claims

that, at the time of the agreement, were expected to net Harbourvest around 70 cents on the dollar.

In other words, Harbourvest was expected to recover around $31,500,000 from the allowed claims.

        33.     As part of the consideration for the $45 million in allowed claims, Harbourvest

agreed to transfer all of its interests in HCLOF to HCM or its designee.

        34.     HCM and Seery rationalized the settlement value by allocating $22.5 million of the

net value of the $45 million in unsecured claims as consideration to purchase Harbourvest’s

interests in HCLOF, meaning, if 70% of the unsecured claims—i.e., $31.5 million—was realized,

because $22.5 million of that would be allocated to the purchase price of the Harbourvest interests

in HCLOF, the true “settlement” for Harbourvest’s legal claims was closer to $9 million.

        35.     Plaintiffs here are taking no position at this time about the propriety of settling the

Harbourvest legal claims for $9 million. That is for another day.

        36.     At the core of this lawsuit is the fact that HCM purchased the Harbourvest interests

in HCLOF for $22.5 million knowing that they were worth far more than that.

        37.     It has recently come to light that, upon information and belief, the Harbourvest

interests, as of December 31, 2020, were worth in excess of $41,750,000, and they have continued

to go up in value.

        38.     On November 30, 2020, which was less than a month prior to the filing of the

Motion to Approve the Settlement, the net asset value of those interests was over $34.5 million.

Plaintiffs were never made aware of that.

        39.     The change is due to how the net asset value, or NAV, was calculated. The means

and methods for calculating the “net asset value” of the assets of HCLOF are subject to and




Original Complaint                                                                               Page 8
                                                                                          Appx.000482
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     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
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                                        10/01/21
                                           04/12/21Page
                                                     Page
                                                        4899of
                                                            of783
                                                               26 PageID
                                                                  PageID96910



governed by the regulations passed by the SEC pursuant to the Adviser’s Act, and by HCM’s

internal policies and procedures.

          40.     Typically, the value of the securities reflected by a market price quote.

          41.     However, the underlying securities in HCLOF are not liquid and had not been

traded in a long while.

          42.     There not having been any contemporaneous market quotations that could be used

in good faith to set the marks4 meant that other prescribed methods of assessing the value of the

interests, such as the NAV, would have been the proper substitutes.

          43.     Seery testified that the fair market value of the Harbourvest HCLOF interests was

$22.5 million. Even allowing some leeway there, it was off the mark by a mile.

          44.     Given the artifice described herein, Seery and the entity Defendants had to know

that the representation of the fair market value was false. But it does not appear that they disclosed

it to Harbourvest to whom they owed fiduciary duties as the RIA in charge of HCLOF, and they

certainly did not disclose the truth to the Plaintiff.

          45.     It is either the case that (i) Defendants conducted the proper analysis to obtain a

current value of the assets but decided to use a far lower valuation in order to whitewash the

settlement or enrich the bankruptcy estate; or (ii) Defendants never conducted the proper current

valuation, and therefore baselessly represented what the current value of the assets was, despite

knowingly having no reasonable basis for making such a claim.

          46.     For years HCM had such internal procedures and compliance protocols. HCM was

not allowed by its own compliance officers to trade with an investor where HCM had superior

knowledge about the value of the assets, for example. While Plaintiff has no reason to believe that



  4
      The term “mark” is shorthand for an estimated or calculated value for a non-publicly traded instrument.

Original Complaint                                                                                    Page 9
                                                                                                Appx.000483
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     3:21-cv-01585-S
        3:21-cv-00842-B
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                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page490
                                                           10of
                                                              of783
                                                                 26 PageID
                                                                    PageID10
                                                                           6911



those procedures were scrapped in recent months, it can only assume that they were either

overridden improperly or circumvented wholesale.

        47.     Upon finalizing the Harbourvest Settlement Agreement and making representations

to the Bankruptcy Court to the Plaintiffs about the value of the Harbourvest Interests, Seery and

HCM had a duty to use current values and not rely on old valuations of the assets or the HCLOF

interests.

        48.     Given Defendants’ actual or constructive knowledge that they were purchasing

Harbourvest’s Interests in HCLOF for a less than 50% of what those interests were worth—

Defendants owed Plaintiff a fiduciary duty not to purchase them for themselves.

        49.     Defendants should have either had HCLOF repurchase the interests with cash, or

offer those interests to Plaintiff and the other members pro rata, before HCM agreed to purchase

them all lock, stock and barrel, for no up-front cash.

        50.     Indeed, had Plaintiff been offered those interests, it would have happily purchased

them and therefore would have infused over $20 million in cash into the estate for the purpose of

executing the Harbourvest Settlement.

        51.     That Defendants (and to perhaps a lesser extent, the Unsecured Creditors

Committee (the “UCC”)) agreed to pay $22.5 million for the HCLOF assets, where they had

previously not consented to any such expenditure by the estate on behalf of HCLOF, strongly

indicates their awareness that they were purchasing assets for far below market value.

        52.     The above is the most reasonable and plausible explanation for why Defendants

and the UCC forwent raising as much as $22.5 million in cash now in favor of hanging on to the

HCLOF assets.




Original Complaint                                                                           Page 10
                                                                                         Appx.000484
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
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                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page491
                                                           11of
                                                              of783
                                                                 26 PageID
                                                                    PageID11
                                                                           6912



        53.      Indeed, in January 2021 Seery threatened Ethen Powell that “[Judge Jernigan] is

laughing at you” and “we are coming after you” in response to the latter’s attempt to exercise his

right as beneficial holder of the CLO, and pointing out a conflict of interest in Seery’s plan to

liquidate the funds.

        54.      HCM’s threat, made by Seery, is tantamount to not only a declaration that he

intends to liquidate the funds regardless of whether the investors want to do so, and whether it is

in their best interests, but also that HCM intends to leverage what it views as the Bankruptcy

Court’s sympathy to evade accountability.

                                                      V.

                                         CAUSES OF ACTION

                                        FIRST CAUSE OF ACTION
                                       Breaches of Fiduciary Duty

        55.      Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein and further alleges the following:

        56.      HCM is a registered investment advisor and acts on behalf of HCFA. Both are

fiduciaries to Plaintiffs.

        57.      The Advisers Act establishes an unwaivable federal fiduciary duty for investment

advisers.5




5
  See e.g, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)).

Original Complaint                                                                                     Page 11
                                                                                                 Appx.000485
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
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                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page492
                                                           12of
                                                              of783
                                                                 26 PageID
                                                                    PageID12
                                                                           6913



        58.     HCM and the DAF entered into an Amended and Restated Investment Advisory

Agreement, executed between them on July 1, 2014 (the “RIA Agreement”). It renews annually

and continued until the end of January 2021.

        59.     In addition to being the RIA to the DAF, HCM was appointed the DAF’s attorney-

in-fact for certain actions, such as “to purchase or otherwise trade in Financial Instruments that

have been approved by the General Partner.” RIA Agreement ¶ 4.

        60.     The RIA Agreement further commits HCM to value financial assets “in accordance

with the then current valuation policy of the Investment Advisor [HCM], a copy of which will

provided to the General Partner upon request.” RIA Agreement ¶ 5.

        61.     While HCM contracted for the recognition that it would be acting on behalf of

others and could be in conflict with advice given the DAF, (RIA Agreement ¶ 12), nowhere did it

purport to waive the fiduciary duties owed to the DAF not to trade as a principal in a manner that

harmed the DAF.

        62.     HCFA owed a fiduciary duty to Holdco as an investor in HCLOF and to which

HCFA was the portfolio manager. HCM owed a fiduciary duty to the DAF (and to Holdco as its

subsidiary) pursuant to a written Advisory Agreement HCM and the DAF had where HCM agreed

to provide sound investment advice and management functions.

        63.     As a registered investment adviser, HCM’s fiduciary duty is broad and applies to

the entire advisor-client relationship.

        64.     The core of the fiduciary duty is to act in the best interest of their investors—the

advisor must put the ends of the client before its own ends or the ends of a third party.




Original Complaint                                                                           Page 12
                                                                                        Appx.000486
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  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
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                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page493
                                                           13of
                                                              of783
                                                                 26 PageID
                                                                    PageID13
                                                                           6914



        65.     This is manifested in a duty of loyalty and a duty of utmost care. It also means that

the RIA has to follow the terms of the company agreements and the regulations that apply to the

investment vehicle.

        66.     The fiduciary duty that HCM and Seery owed to Plaintiff is predicated on trust and

confidence. Section 204A of the Advisers Act requires investment advisors (whether SEC-

registered or not) to establish, maintain, and enforce written policies and procedures reasonably

designed to prevent the RIA from trading on material, non-public information. See 17 C.F.R. §

275.206(4)-7. That means that Plaintiff should be able to take Defendants at their word and not

have to second guess or dig behind representations made by them.

        67.     The simple thesis of this claim is that Defendants HCFA and HCM breached their

fiduciary duties by (i) insider trading with Harbourvest and concealing the rising NAV of the

underlying assets—i.e., trading with Harbourvest on superior, non-public information that was

neither revealed to Harbourvest nor to Plaintiff; (ii) concealing the value of the Harbourvest

Interests; and (iii) diverting the investment opportunity in the Harbourvest entities to HCM (or its

designee) without offering it to or making it available to Plaintiff or the DAF.

        68.     HCM, as part of its contractual advisory function with Plaintiffs, had expressly

recommended the HCLOF investment to the DAF. Thus, diverting the opportunity for returns on

its investment was an additional breach of fiduciary duty.

        69.     This violated a multitude of regulations under 27 C.F.R. part 275, in addition to

Rules 10b-5 and 10b5-1. 17 CFR 240.10b5-1 (“Rule 10b5-1”) explains that one who trades while

possessing non-public information is liable for insider trading, and they do not necessarily have to

have used the specific inside information.

        70.     It also violated HCM’s own internal policies and procedures.



Original Complaint                                                                            Page 13
                                                                                         Appx.000487
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page494
                                                           14of
                                                              of783
                                                                 26 PageID
                                                                    PageID14
                                                                           6915



        71.      Also, the regulations impose obligations on Defendants to calculate a current

valuation when communicating with an investor, such as what may or may not be taken into

account, and what cannot pass muster as a current valuation. Upon information and belief, these

regulations were not followed by the Defendants.

        72.      HCM’s internal policies and procedures, which it promised to abide by both in the

RIA Agreement and in its Form ADV SEC filing, provided for the means of properly calculating

the value of the assets.

        73.      HCM either did not follow these policies, changed them to be out of compliance

both with the Adviser Act regulations and its Form ADV representations, and/or simply

misrepresented or concealed their results.

        74.      In so doing, because the fiduciary duty owed to Plaintiff is a broad one, and because

Defendants’ malfeasance directly implicates its relationship with Plaintiff, Defendants have

breached the Advisers Act’s fiduciary duties owed to Plaintiff as part of their fiduciary

relationship.6

        75.      At no time between agreeing with Harbourvest to the purchase of its interests and

the court approval did Defendants disclose to either Harbourvest or to Plaintiff (and the

Bankruptcy Court for that matter) that the purchase was at below 50% the current net asset value

as well, and when they failed to offer Plaintiff (and the other members of HCLOF) their right to

purchase the interests pro rata at such advantageous valuations. Plaintiff’s lost opportunity to



6
  See Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“[O]nce an investment
Advisory relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary
relationship by defrauding his client in any investment transaction connected to the Advisory
relationship.”); see also SEC v. Lauer, No. 03-80612-CIV, 2008 U.S. Dist. LEXIS 73026, at 90 (S.D. Fla.
Sept. 24, 2008) (“Unlike the antifraud provisions of the Securities Act and the Exchange Act, Section 206
of the Advisers Act does not require that the activity be ‘in the offer or sale of any’ security or ‘in connection
with the purchase or sale of any security.’”).

Original Complaint                                                                                        Page 14
                                                                                                    Appx.000488
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  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
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                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page495
                                                           15of
                                                              of783
                                                                 26 PageID
                                                                    PageID15
                                                                           6916



purchase has harmed Plaintiff. Plaintiff had been led to believe by the Defendants that the value

of what was being purchased in the Harbourvest settlement by HCM (or its designee) was at fair

market value. This representation, repeated again in the Bankruptcy Court during the Harbourvest

confirmation, implicitly suggested that a proper current valuation had been performed.

        76.     Defendant’s principal, Seery, testified in January 2021 that the then-current fair

market value of Habourvests’s 49.98% interest in HCLOF was worth around $22.5 million. But

by then, it was worth almost double that amount and has continued to appreciate. Seery knew or

should have known that fact because the value of some of the HCLOF assets had increased, and

he had a duty to know the current value. His lack of actual knowledge, while potentially not overtly

fraudulent, would nonetheless amount to a breach of fiduciary duty for acting without proper

diligence and information that was plainly available.

        77.     Furthermore, HCLOF holds equity in MGM Studios and debt in CCS Medical via

various CLO positions. But Seery, in his role as CEO of HCM, was made aware during an advisors

meeting in December 2020 that Highland would have to restrict its trading in MGM because of its

insider status due to activities that were likely to apply upward pressure on MGM’s share price.

        78.     Furthermore, Seery controlled the Board of CCS Medical. And in or around

October 2020, Seery was advocating an equatization that would have increased the value of the

CCS securities by 25%, which was not reflected in the HCM report of the NAV of HCLOF’s

holdings.

        79.     Seery’s knowledge is imputed to HCM.

        80.     Moreover, it is a breach of fiduciary duty to commit corporate waste, which is

effectively what disposing of the HCLOF assets would constitute in a rising market, where there




Original Complaint                                                                           Page 15
                                                                                        Appx.000489
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  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
                                     Filed
                                         10/01/21
                                           04/12/21 Page
                                                     Page496
                                                           16of
                                                              of783
                                                                 26 PageID
                                                                    PageID16
                                                                           6917



is no demand for disposition by the investors (save for HCM, whose proper 0.6% interest could

easily be sold to the DAF at fair value).

        81.     As holder of 0.6% of the HCLOF interests, and now assignee of the 49.98%

Harbourvest Interests), HCM has essentially committed self-dealing by threatening to liquidate

HCLOF now that it may be compelled to do so under its proposed liquidation plan, which perhaps

inures to the short term goals of HCM but to the pecuniary detriment of the other holders of

HCLOF whose upside will be prematurely truncated.

        82.     Seery and HCM should not be allowed to benefit from the breach of their fiduciary

duties because doing so would also cause Plaintiffs irreparable harm. The means and methods of

disposal would likely render the full scope of damages to the DAF not susceptible to specific

calculation—particularly as they would relate to calculating the lost opportunity cost. Seery and

HCM likely do not have the assets to pay a judgment to Plaintiffs that would be rendered, simply

taking the lost appreciation of the HCLOF assets.

        83.     Defendants are thus liable for diverting a corporate opportunity or asset that would

or should have been offered to Plaintiff and the other investors. Because federal law makes the

duties invoked herein unwaivable, it is preposterous that HCM, as a 0.6% holder of HCLOF,

deemed itself entitled to the all of the value and optionality of the below-market Harbourvest

purchase.

        84.     Defendants cannot rely on any contractual provision that purports to waive this

violation. Nothing in any agreement purports to permit, authorize or otherwise sanitize

Defendants’ self-dealing. All such provisions are void.

        85.     In the fourth quarter of 2020, Seery and HCM notified staff that they would be

terminated on December 31, 2020. That termination was postponed to February 28, 2021.



Original Complaint                                                                           Page 16
                                                                                        Appx.000490
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page497
                                                           17of
                                                              of783
                                                                 26 PageID
                                                                    PageID17
                                                                           6918



Purchasing the Harbourvest assets without staffing necessary to be a functioning Registered

Investment Advisor was a strategic reversal from prior filings that outlined canceling the CLO

management contracts and allowing investors to replace Highland as manager.

        86.     Seery’s compensation agreement with the UCC incentivizes him to expedite

recoveries and to prevent transparency regarding the Harbourvest settlement.

        87.     What is more, Seery had previously testified that the management contracts for the

funds—HCLOF included—were unprofitable, and that he intended to transfer them. But he later

rejected offers to purchase those management contracts for fair value and instead decided to

continue to manage the funds—which is what apparently gave rise to the Harbourvest Settlement,

among others. He simultaneously rejected an offer for the Harbourvest assets of $24 million,

stating that they were worth much more than that.

        88.     Because of Defendants’ malfeasance, Plaintiffs have lost over $25 million in

damages—a number that continues to rise—and the Defendants should not be able to obtain a

windfall.

        89.     For the same reason, Defendants’ malfeasance has also exposed HCLOF to a

massive liability from Harbourvest since the assignment of those interests is now one that is likely

unenforceable under the Advisers Act, Section 47(b), if there was unequal information.

        90.     HCM and HCFA are liable as principals for breach of fiduciary duty, as are the

principals and compliance staff of each entity.

        91.     Plaintiffs seek disgorgement, damages, exemplary damages, attorneys’ fees and

costs. To the extent the Court determines that this claim had to have been brought derivatively on

behalf of HCLOF, then Plaintiffs represent that any pre-suit demand would have been futile since

asking HCM to bring suit against its principal, Seery, would have been futile.



Original Complaint                                                                           Page 17
                                                                                        Appx.000491
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  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
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                                           04/12/21 Page
                                                     Page498
                                                           18of
                                                              of783
                                                                 26 PageID
                                                                    PageID18
                                                                           6919



                                  SECOND CAUSE OF ACTION
                             Breach of HCLOF Company Agreement
                         (By Holdco against HCLOF, HCM and HCFA)

           92.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

 forth herein and further alleges the following:

           93.   On November 15, 2017, the members of HCLOF, along with HCLOF and HCFA,

executed the Members Agreement Relating to the Company (the “Company Agreement”).

           94.   The Company Agreement governs the rights and duties of the members of HCLOF.

           95.   Section 6.2 of HCLOF Company Agreement provides that when a member “other

than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

third party (i.e., not to an affiliate of the selling member), then the other members have the first

right of refusal to purchase those interests pro rata for the same price that the member has agreed

to sell.

           96.   Here, despite the fact that Harbourvest agreed to sell its interests in HCLOF for

$22.5 million when they were worth more than double that, Defendants did not offer Plaintiff the

chance to buy its pro rata share of those interests at the same agreed price of $22.5 million (adjusted

pro rata).

           97.   The transfer and sale of the interests to HCM were accomplished as part of the

Harbourvest Settlement which was approved by the Bankruptcy Court.

           98.   Plaintiff was not informed of the fact that Harbourvest had offered its shares to

Defendant HCM for $22.5 million—which was under 50% of their true value.

           99.   Plaintiff was not offered the right to purchase its pro rata share of the Harbourvest

interests prior to the agreement being struck or prior to court approval being sought.




Original Complaint                                                                              Page 18
                                                                                          Appx.000492
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page499
                                                           19of
                                                              of783
                                                                 26 PageID
                                                                    PageID19
                                                                           6920



        100.    Had Plaintiff been allowed to do so, it would have obtained the interests with a net

equity value over their purchase price worth in excess of $20 million.

        101.    No discovery or opportunity to investigate was afforded Plaintiff prior to lodging

an objection in the Bankruptcy Court.

        102.    Plaintiff is entitled to specific performance or, alternatively, disgorgement,

constructive trust, damages, attorneys’ fees and costs.

                                   THIRD CAUSE OF ACTION
                                         Negligence
                     (By the DAF and CLO Holdco against HCM and HCFA)

        103.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein, and further alleges the following:

        104.    Plaintiffs incorporate the foregoing causes of action and note that all the foregoing

violations were breaches of the common law duty of care imposed by law on each of Seery, HCFA

and HCM.

        105.    Each of these Defendants should have known that their actions were violations of

the Advisers Act, HCM’s internal policies and procedures, the Company Agreement, or all three.

        106.    Seery and HCM owed duties of care to Plaintiffs to follow HCM’s internal policies

and procedures regarding both the propriety and means of trading with a customer [Harbourvest],

the propriety and means of trading as a principal in an account but in a manner adverse to another

customer [the DAF and Holdco], and the proper means of valuing the CLOs and other assets held

by HCLOF.

        107.    It would be foreseeable that failing to disclose the current value of the assets in the

HCLOF would impact Plaintiffs negatively in a variety of ways.




Original Complaint                                                                             Page 19
                                                                                          Appx.000493
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page500
                                                           20of
                                                              of783
                                                                 26 PageID
                                                                    PageID20
                                                                           6921



        108.    It would be reasonably foreseeable that failing to correctly and accurately calculate

the current net asset value of the market value of the interests would cause Plaintiffs to value the

Harbourvest Interests differently.

        109.    It would be reasonably foreseeable that referring to old and antiquated market

quotations and/or valuations of the HCLOF assets or interests would result in a mis-valuation of

HCLOF and, therefore, a mis-valuation of the Harbourvest Interests.

        110.    Likewise, it would have been foreseeable that Plaintiff’s failure to give Plaintiff the

opportunity to purchase the Harbourvest shares at a $22.5 million valuation would cause Plaintiff

damages. Defendants knew that the value of those assets was rising. They further knew or should

have known that whereas those assets were sold to HCM for an allowance of claims to be funded

in the future, selling them to Plaintiff would have provided the estate with cash funds.

        111.    Defendants’ negligence foreseeably and directly caused Plaintiff harm.

        112.    Plaintiff is thus entitled to damages.

                                     FOURTH CAUSE OF ACTION
                      Racketeering Influenced Corrupt Organizations Act
                              (CLO Holdco and DAF against HCM)

        113.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein, and further alleges the following:

        114.    Defendants are liable for violations of the Racketeer Influenced and Corrupt

Organizations (“RICO”) Act, 18 U.S.C. § 1961 et seq., for the conduct of an enterprise through a

pattern of racketeering activity.

        115.    HCLOF constitutes an enterprise under the RICO Act. Additionally, or in the

alternative, HCM, HCLA, and HCLOF constituted an association-in-fact enterprise. The purpose

of the association-in-fact was the perpetuation of Seery’s position at HCM and using the



Original Complaint                                                                              Page 20
                                                                                           Appx.000494
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                           04/12/21 Page
                                                     Page501
                                                           21of
                                                              of783
                                                                 26 PageID
                                                                    PageID21
                                                                           6922



Harbourvest settlement as a vehicle to enrich persons other than the HCLOF investors, including

Holdco and the DAF, and the perpetuation of HCM’s holdings in collateralized loan obligations

owned by HCLOF, while attempting to deny Plaintiffs the benefit of its rights of ownership.

        116.    The association-in-fact was bound by informal and formal connections for years

prior to the elicit purpose, and then changed when HCM joined it in order to achieve the

association’s illicit purpose. For example, HCM is the parent and control person over HCFA,

which is the portfolio manager of HCLOF pursuant to a contractual agreement—both are

registered investment advisors and provide advisory and management services to HCLOF.

        117.    Defendants injured Plaintiffs through their continuous course of conduct of the

HCM-HCLA-HCLOF association-in-fact enterprise. HCM’s actions (performed through Seery

and others) constitute violations of the federal wire fraud, mail fraud, fraud in connection with a

case under Title 11, and/or securities fraud laws, pursuant to 18 U.S.C. § 1961(1)(B) and (D).

        118.    HCM operated in such a way as to violate insider trading rules and regulations when

it traded with Harbourvest while it had material, non-public information that it had not supplied to

Harbourvest or to Plaintiffs.

        119.    In or about November 2020, HCM and Harbourvest entered into discussions about

settling the Harbourvest Claims. Seery’s conduct of HCLOF and HCLA on behalf of HCM through

the interstate mails and/or wires caused HCM to agree to the purchase of Harbourvest’s interests

in HCLOF.

        120.    On or about each of September 30, 2020, through December 31, 2020, Seery,

through his conduct of the enterprise, utilized the interstate wires and/or mails to obtain or arrive

at valuations of the HCLOF interests. Seery’s conduct of the enterprise caused them to cease




Original Complaint                                                                            Page 21
                                                                                        Appx.000495
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page502
                                                           22of
                                                              of783
                                                                 26 PageID
                                                                    PageID22
                                                                           6923



sending the valuation reports to Plaintiffs, which eventually allowed Plaintiffs to be misled into

believing that Seery had properly valued the interests.

        121.    On or about September 30, 2020, Seery transmitted or caused to be transmitted

though the interstate wires information to HCLOF investors from HCM (via HCFA), including

Harbourvest, regarding the value of HCLOF interests and underlying assets.

        122.    Additionally, Seery operated HCM in such a way that he concealed the true value

of the HCLOF interests by utilizing the interstate wires and mails to transmit communications to

the court in the form of written representations on or about December 23, 2020, and then further

transmitted verbal representations of the current market value (the vastly understated one) on

January 14, 2021, during live testimony.

        123.    However, Harbourvest was denied the full picture and the true value of the

underlying portfolio. At the end of October and November of 2020, HCM had updated the net

asset values of the HCLOF portfolio. According to sources at HCM at the time, the HCLOF assets

were worth north of $72,969,492 as of November 30, 2020. Harbourvest’s share of that would

have been $36,484,746.

        124.    The HCLOF net asset value had reached $86,440,024 as of December 31, 2021,

which means that by the time Seery was testifying in the Bankruptcy Court on January 14, 2021,

the fair market value of the Harbourvest Assets was $22.5 million, when it was actually closer to

$43,202,724. Seery, speaking on behalf of HCM, knew of the distinction in value.

        125.    On January 14, 2021, Seery also testified that he (implying HCM, HCLA and

HCLOF) had valued the Harbourvest Assets at their current valuation and at fair market value.

This was not true because the valuation that was used and testified to was ancient. The ostensible

purpose of this concealment was to induce Plaintiff and other interest holdings to take no action.



Original Complaint                                                                          Page 22
                                                                                       Appx.000496
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
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                                         10/01/21
                                           04/12/21 Page
                                                     Page503
                                                           23of
                                                              of783
                                                                 26 PageID
                                                                    PageID23
                                                                           6924



        126.    In supporting HCM’s motion to the Bankruptcy Court to approve the Harbourvest

Settlement, Seery omitted the fact that HCM was purchasing the interests at a massive discount,

which would violate the letter and spirit of the Adviser’s Act.

        127.    Seery was informed in late December 2020 at an in-person meeting in Dallas to

which Seery had to fly that HCLOF and HCM had to suspend trading in MGM Studios’ securities

because Seery had learned from James Dondero, who was on the Board of MGM, of a potential

purchase of the company. The news of the MGM purchase should have caused Seery to revalue

the HCLOF investment in MGM.

        128.    In or around October 2020, Seery (who controls the Board of CSS Medical) was

pursuing “equatization” of CSS Medical’s debt, which would have increased the value of certain

securities by 25%. In several communications through the U.S. interstate wires and/or mails, and

with Plaintiffs, and the several communications with Harbourvest during the negotiations of the

settlement, Seery failed to disclose these changes which were responsible in part for the ever-

growing value of the HCLOF CLO portfolio.

        129.    Seery was at all relevant times operating as an agent of HCM.

        130.    This series of related violations of the wire fraud, mail fraud, and securities fraud

laws, in connection with the HCM bankruptcy, constitute a continuing pattern and practice of

racketeering for the purpose of winning a windfall for HCM and himself--a nearly $30,000,000

payday under the confirmation agreement.

        131.    The federal RICO statute makes it actionable for one’s conduct of an enterprise to

include “fraud in connection with a [bankruptcy case]”. The Advisers’ Act antifraud provisions

require full transparency and accountability to an advisers’ investors and clients and does not

require a showing of reliance or materiality. The wire fraud provision likewise is violated when,



Original Complaint                                                                            Page 23
                                                                                         Appx.000497
Case
  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
                               15 1Filed
                                     Filed
                                         10/01/21
                                           04/12/21 Page
                                                     Page504
                                                           24of
                                                              of783
                                                                 26 PageID
                                                                    PageID24
                                                                           6925



as here, the interstate wires are used as part of a “scheme or artifice … for obtaining money or

property by means of false … pretenses, [or] representations[.]”

        132.    Accordingly, because Defendants’ conduct violated the wire fraud and mail fraud

laws, and the Advisers’ Act antifraud provisions, and their acts and omissions were in connection

with the HCM Bankruptcy proceedings under Title 11, they are sufficient to bring such conduct

within the purview of the RICO civil action provisions, 18 U.S.C. § 1964.

        133.    Plaintiffs are thus entitled to damages, treble damages, attorneys’ fees and costs of

suit, in addition to all other injunctive or equitable relief to which they are justly entitled.

                                      FIFTH CAUSE OF ACTION
                                        Tortious Interference
                                    (CLO Holdco against HCM)

        134.    Plaintiff respectfully incorporates the foregoing factual averments as if fully set

forth herein and further alleges the following:

        135.    At all relevant times, HCM owned a 0.6% interest in HCLOF.

        136.    At all relevant times, Seery and HCM knew that Plaintiff had specific rights in

HCLOF under the Company Agreement, § 6.2.

        137.    Section 6.2 of HCLOF Company agreement provides that when a member “other

than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

third party (i.e., not an affiliate of the member), then the other members have the first right of

refusal to purchase those interests pro rata for the same price that the member has agreed to sell.

        138.    HCM, through Seery, tortiously interfered with Plaintiff’s contractual rights with

HCLOF by, among other things, diverting the Harbourvest Interests in HCLOF to HCM without

giving HCLOF or Plaintiff the option to purchase those assets at the same favorable price that

HCM obtained them.



Original Complaint                                                                                 Page 24
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  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
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                                         10/01/21
                                           04/12/21 Page
                                                     Page505
                                                           25of
                                                              of783
                                                                 26 PageID
                                                                    PageID25
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        139.     HCM and Seery tortiously interfered with Plaintiff’s contractual rights with

HCLOF by, among other things, misrepresenting the fair market value as $22.5 million and

concealing the current value of those interests.

        140.    But for HCM and Seery’s tortious interference, Plaintiff would have been able to

acquire the Harbourvest Interests at a highly favorable price. HCM and Seery’s knowledge of the

rights and intentional interference with these rights has caused damage to Plaintiff CLO Holdco.

        141.    Plaintiff is therefore entitled to damages from HCM and Seery, as well as

exemplary damages.

                                                   VI.

                                          JURY DEMAND

        142.    Plaintiff demands trial by jury on all claims so triable.

                                                   VII.

                                     PRAYER FOR RELIEF

        143.    Wherefore, for the foregoing reasons, Plaintiffs respectfully pray that the Court

enter judgment in its favor and against Defendants, jointly and severally, for:

            a. Actual damages;

            b. Disgorgement;

            c. Treble damages;

            d. Exemplary and punitive damages;

            e. Attorneys’ fees and costs as allowed by common law, statute or contract;

            f. A constructive trust to avoid dissipation of assets;

            g. All such other relief to which Plaintiff is justly entitled.




Original Complaint                                                                        Page 25
                                                                                     Appx.000499
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  Case
     3:21-cv-01585-S
        3:21-cv-00842-B
                      Document
                        Document
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                                           04/12/21 Page
                                                     Page506
                                                           26of
                                                              of783
                                                                 26 PageID
                                                                    PageID26
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Dated: April 12, 2021                     Respectfully submitted,

                                          SBAITI & COMPANY PLLC

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                                          Counsel for Plaintiffs




Original Complaint                                                         Page 26
                                                                      Appx.000500
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 507 of 783 PageID 6928



                              EXHIBIT 19




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Case 3:21-cv-01585-S
  Case  3:21-cv-00842-BDocument 1564Filed
                         Document         10/01/21
                                       Filed 09/20/21Page 508
                                                       Page 1 of 783 PageID
                                                                 1 PageID   6929
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 CHARITABLE DAF FUND, L.P., and                 §
 CLO HOLDCO, LTD.,                              §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §   CIVIL ACTION NO. 3:21-CV-0842-B
                                                §
 HIGHLAND CAPITAL                               §
 MANAGEMENT, L.P., HIGHLAND                     §
 HCF ADVISOR, LTD., and                         §
 HIGHLAND CLO FUNDING, LTD.,                    §
                                                §
      Defendants.                               §

                                    ORDER OF REFERENCE

         Pursuant to 28 U.S.C. § 157 and this District’s Miscellaneous Order No. 33, this case is

hereby REFERRED to Judge Stacey G. C. Jernigan of the United States Bankruptcy Court for the

Northern District of Texas, Dallas Division, to be adjudicated as a matter related to the consolidated

Chapter 11 Bankruptcy of Highland Capital Management, L.P., Chapter 11 Case No. 19-34054. The

Clerk of this Court and the Clerk of the Bankruptcy Court to which this case is hereby referred are

directed to take such actions as are necessary and appropriate to cause this matter to be docketed

as an Adversary Proceeding associated with the consolidated Chapter 11 Bankruptcy of Highland

Capital Management, L.P., Case No. 19-34054.

         SO ORDERED.

         SIGNED: September 20, 2021.

                                               ______________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE


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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 509 of 783 PageID 6930



                             EXHIBIT 20




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Case
   Case
     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
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                                            04/19/21Page
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                                                         510
                                                           1 of 783
                                                                10 PageID
                                                                    PageID42
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS

 CHARITABLE DAF FUND, L.P.                              §
 and CLO HOLDCO, LTD.,                                  §
 directly and derivatively,                             §
                                                        §
                  Plaintiffs,                           §
                                                        §
                     v.                                 §   CAUSE NO. 3:21-cv-00842-B
                                                        §
 HIGHLAND CAPITAL MANAGEMENT,                           §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                      §
 and HIGHLAND CLO FUNDING, LTD.,                        §
 nominally,                                             §
                                                        §
                 Defendants.                            §


   PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                                 I.
                                   NECESSITY OF MOTION
       Plaintiffs submit this Motion under Rule 15 of the Federal Rules of Civil Procedure for one

purpose: to name as defendant one James P. Seery, Jr., the CEO of Defendant Highland Capital

Management, L.P. (“HCM”), and the chief perpetrator of the wrongdoing that forms the basis of

Plaintiffs’ causes of action.

       Seery is not named in the Original Complaint. But this is only out of an abundance of

caution due to the bankruptcy court, in HCM’s pending Chapter 11 proceeding, having issued an

order prohibiting the filing of any causes of action against Seery in any way related to his role at

HCM, subject to certain prerequisites. In that order, the bankruptcy court also asserts “sole

jurisdiction” over all such causes of action.

       Plaintiffs respectfully submit that, to the extent the bankruptcy court order prohibits the

filing of an action in this Court, whose jurisdiction the bankruptcy court’s jurisdiction is wholly


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Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 1

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   Case
     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
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                                         10/01/21
                                            04/19/21Page
                                                      Page
                                                         511
                                                           2 of 783
                                                                10 PageID
                                                                    PageID43
                                                                           6932



derivative of, that order exceeds the bankruptcy court’s powers and is unenforceable.

Alternatively, Plaintiffs submit that filing this Motion satisfies the prerequisites provided in the

bankruptcy court’s order. Either of these reasons provides sufficient grounds to grant this Motion.

       The proposed First Amended Complaint is attached as Exhibit 1.

                                                II.
                                        BACKGROUND
       On June 23, 2020, counsel for HCM filed a motion in HC’s bankruptcy proceedings asking

the bankruptcy court to defer to the “business judgment” of the board’s compensation committee

and approve the terms of its appointment of Seery as chief executive officer and chief restructuring

officer at HCM, retroactive to March.1 Counsel also asked the bankruptcy court to declare that it

had exclusive jurisdiction over any claims asserted against Seery in this role.

       On July 16, 2020, the bankruptcy court granted that motion and stated as follows:

           No entity may commence or pursue a claim or cause of action of any kind
           against Mr. Seery relating in any way to his role as the chief executive
           officer and chief restructuring officer of the Debtor without the Bankruptcy
           Court (i) first determining after notice that such claim or cause of action
           represents a colorable claim of willful misconduct or gross negligence
           against Mr. Seery, and (ii) specifically authorizing such entity to bring such
           claim. The Bankruptcy Court shall have sole jurisdiction to adjudicate
           any such claim for which approval of the Court to commence or pursue
           has been granted.2



 1
   Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign
Representative Nunc Pro Tunc to March 15, 2020 [Doc. 774]. This motion is attached as Exhibit
2.
 2
   Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b)
Authorizing Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
Officer, and Foreign Representative Nunc Pro Tunc to March 15, 2020 [Doc 854]. A related order
dated January 9, 2020, contains a similar provision with regard to Seery’s role as an “Independent
Director.” Order Approving Settlement with Official Committee of Unsecured Creditors
Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course [Doc
339]. These orders are attached, respectively, as Exhibits 3 and 4.
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Plaintiffs’ Motion for Leave to File First Amended Complaint                                Page 2

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   Case
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         3:21-cv-00842-B
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                                            04/19/21Page
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                                                         512
                                                           3 of 783
                                                                10 PageID
                                                                    PageID44
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        On March 22, 2021, the bankruptcy court entered an order confirming HCM’s

reorganization plan.3 That order purports to extend the prohibitions on suits against Seery, and it

also prohibits certain actions against HCM and its affiliates. By its own terms, however, that order

is not effective due to a pending appeal.

        On April 12, 2021, Plaintiffs filed their Original Complaint in this action, alleging that

HCM and related entities are liable as a result of insider trading and other violations of the antifraud

provisions of the Investment Company Act of 1940, among other causes of action. The Original

Complaint does not name Seery as a defendant. But the action is based on Seery’s

misrepresentations, omissions, and other breaches of duty committed in his role as HCM’s CEO,

which are sufficient to demonstrate his willful misconduct or gross negligence, though Plaintiffs

submit that mere negligence and breach of fiduciary duty also form sufficient bases for his personal

liability.

                                                  III.

                                            ARGUMENT

        This Court should grant leave to amend because the liberal policies behind Rule 15 require

it and because leave is not prohibited by the bankruptcy court’s order.

A. Rule 15(a) Allows Plaintiffs’ Amendment As a Matter of Course

        Rule 15(a) instructs the Court to “freely give leave [to amend] when justice so requires.”

FED. R. CIV. P. 15(a). The Fifth Circuit, in Martin’s Herend Imports, Inc. v. Diamond & Gem

Trading United States Co., 195 F.3d 765 (5th Cir. 1999), interpreted the rule as “evinc[ing] a bias

in favor of granting leave to amend.” Id. at 770. Thus the Court must possess a “substantial reason”



 3
  Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
(As Modified) And (II) Granting Related Relief [Doc. 1943].
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Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 3

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     3:21-cv-01585-S
         3:21-cv-00842-B
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                                                         513
                                                           4 of 783
                                                                10 PageID
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to deny a request for leave to amend. Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282,

286 (5th Cir. 2002); Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985); cf. Foman v. Davis,

371 U.S. 178, 182 (1962) (explaining that leave should be granted “[i]n the absence of any apparent

or declared reason—such as undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

opposing party by virtue of allowance of the amendment, futility of amendment, etc.”).

       Moreover, one amendment, filed within 21 days of service of the pleading it seeks to amend

or before a responsive pleading is filed, is allowed “as a matter of course.” Fed. R. Civ. P. 15(a)(1);

Zaidi v. Ehrlich, 732 F.2d 1218, 1220 (5th Cir. 1984) (“When, as in this case, a plaintiff who has

a right to amend nevertheless petitions the court for leave to amend, the court should grant the

petition.”); Galustian v. Peter, 591 F.3d 724, 729-30 (4th Cir. 2010) (holding that district court

abused its discretion in denying timely motion to amend adding defendant because “[t]he

plaintiff’s right to amend once is absolute”); Rogers v. Girard Tr. Co., 159 F.2d 239, 241 (6th Cir.

1947) (holding that complaint may be amended as matter of course where defendant has filed no

responsive pleading, and leave of district court is not necessary, but it is error to deny leave when

asked); Bancoult v. McNamara, 214 F.R.D. 5, 7-8 (D.D.C. 2003) (holding that plaintiff’s filing of

a motion for leave to amend does not nullify plaintiff’s absolute right to amend once before

responsive pleadings, even if the amendment would be futile).

       Here, Plaintiffs did not name Seery as a defendant in the Original Complaint out of an

abundance of caution in light of the bankruptcy court’s order of July 16, 2020 [Doc. 854]. Instead,

Plaintiffs are seeking leave in this Motion to do so. Because the proposed amendment is their first,

and because it comes within 21 days of service of the Original Complaint, as well as before any




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Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 4

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     3:21-cv-01585-S
         3:21-cv-00842-B
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                                            04/19/21Page
                                                      Page
                                                         514
                                                           5 of 783
                                                                10 PageID
                                                                    PageID46
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responsive pleadings, Plaintiffs respectfully submit that they are entitled to leave and their

proposed First Amended Complaint should be allowed.

B. The Bankruptcy Court’s Order Should Not Prohibit Plaintiffs’ Amendment

        Plaintiffs submit that the bankruptcy court order of July 16, 2020, does not prohibit the

proposed amendment for two independent reasons.

        1. The Bankruptcy Court’s Order Exceeds Its Jurisdiction

                a. The Bankruptcy Court Cannot Strip This Court of Jurisdiction

        Because the bankruptcy court’s jurisdiction derives from and is dependent upon the

jurisdiction of this Court, its order declaring that it has “sole jurisdiction” is overreaching.

        Congress provided for and limited the jurisdiction of bankruptcy courts in 28 U.S.C. § 1334

and 28 U.S.C. § 157. As a result, bankruptcy court jurisdiction derives from and is limited by

statute. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995) (“The jurisdiction of the bankruptcy

courts, like that of other federal courts, is grounded in, and limited by, statute.”); Williams v.

SeaBreeze Fin., LLC (In re 7303 Holdings, Inc.), Nos. 08-36698, 10-03079, 2010 Bankr. LEXIS

2938 at *7 (Bankr. S.D. Tex. Aug. 26, 2010) (“A bankruptcy court’s jurisdiction is derivative of

the district court’s jurisdiction. The bankruptcy court does not have jurisdiction unless the district

court could exercise authority over the matter . . . .”). The plain provisions of § 1334 grant to the

district courts “original jurisdiction” over all bankruptcy cases and related civil proceedings. 28

U.S.C. § 1334(a)-(b). What Congress giveth, the bankruptcy courts cannot taketh away.

                b. The Barton Doctrine Does Not Apply

        The bankruptcy court’s overreach seems to stem from a misapplication of the Barton

doctrine. That doctrine protects receivers and trustees who are appointed by the bankruptcy court.

Randazzo v. Babin, No. 15-4943, 2016 U.S. Dist. LEXIS 110465, at *3 (E.D. La. Aug. 18, 2016)


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Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 5

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   Case
     3:21-cv-01585-S
         3:21-cv-00842-B
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                                            04/19/21Page
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                                                         515
                                                           6 of 783
                                                                10 PageID
                                                                    PageID47
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(“While the Barton case involved a receiver in state court, the United States Court of Appeals for

the Fifth Circuit has extended this principle, now known as the Barton doctrine, to lawsuits against

bankruptcy trustees for acts committed in their official capacities.”). The doctrine does not apply

to executives of a debtor, like Seery, who are not receivers or trustees, and who are stretching the

truth to claim that they were “appointed” by the bankruptcy court after asking it merely to approve

their appointment in deference to their discretion under the business judgment rule.4

                c. The Order Exceeds the Constitutional Limits of the Bankruptcy Court’s
                   Jurisdiction

        Plainly the bankruptcy court does not have “sole jurisdiction” over all causes of action that

might be brought against Seery related to his role as HCM’s CEO. But more to the point, the

bankruptcy court does not even have concurrent jurisdiction over all such claims. The separation

of powers doctrine does not allow that. See Stern v. Marshall, 564 U.S. 462, 499 (2011) (holding

that Congress cannot bypass Article III and create jurisdiction in bankruptcy courts “simply

because a proceeding may have some bearing on a bankruptcy case”); id. at 488 (quoting Murray’s

Lessee v. Hoboken Land & Improvement Co., 59 U.S. 272, 284 (1856), for the proposition that

“Congress cannot ‘withdraw from judicial [read Article III] cognizance any matter which, from its

nature, is the subject of a suit at the common law, or in equity, or admiralty’” with the limited

exception of matters involving certain public rights); id. at 494 (quoting the dissent’s quote of

Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 584 (1985), for the proposition

that “Congress may not vest in a non-Article III court the power to adjudicate, render final

judgment, and issue binding orders in a traditional contract action arising under state law,” and


 4
   Exhibit 2 at 14-15 (arguing that the bankruptcy court should not “interfere” with their “corporate
decisions . . . as long as they are attributable to any rational business purpose”) (internal quotes omitted);
id. at 5-7 (detailing the compensation committee’s “appointment” of Seery as CEO as well as chief
restructuring officer).
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Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 6

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     3:21-cv-01585-S
         3:21-cv-00842-B
                      Document
                         Document
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                                            04/19/21Page
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                                                         516
                                                           7 of 783
                                                                10 PageID
                                                                    PageID48
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then adding “tort” to the rule for purposes of the matter before it); cf. In re Prescription Home

Health Care, 316 F.3d 542, 548 (5th Cir. 2002) (holding that trustee’s tax liability was not within

the bankruptcy court’s related-to jurisdiction and rejecting “the theory that a bankruptcy court has

jurisdiction to enjoin any activity that threatens the debtor’s reorganization prospects [because

that] would permit the bankruptcy court to intervene in a wide variety of third-party disputes [such

as] any action (however personal) against key corporate employees, if they were willing to state

that their morale, concentration, or personal credit would be adversely affected by that action”).

The bankruptcy court’s order asserting “sole jurisdiction” here is hardly even relevant since that

court lacks the power to expand its jurisdiction or manufacture jurisdiction where none exists.

       The proposed First Amended Complaint asserts common law and equitable contract and

tort claims. For the reasons explained by the Supreme Court in Stern, such claims should not be

deemed within the bankruptcy court’s jurisdiction.

               d. The Order Exceeds the Bankruptcy Court’s Statutory Authorization

       Not only are there constitutional issues with the scope of the bankruptcy court’s order,

there is also the limitation of 28 U.S.C. § 157(d). See TMT Procurement Corp. v. Vantage Drilling

Co. (In re TMT Procurement Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy

court’s “more limited jurisdiction” as a result of its “limited power” under 28 U.S.C. § 157). In §

157(d), Congress prohibited the bankruptcy court, absent the parties’ consent, from presiding over

cases or proceedings that require consideration of both Title 11 and other federal law regulating

organizations or activities affecting interstate commerce.

       The First Amended Complaint’s allegations against Seery—accusing him of insider

trading, violations of the RICO statute (18 U.S.C. § 1961 et seq.), and violations of the antifraud

provisions of the Investment Advisers Act of 1940—require precisely that. Even determining the


______________________________________________________________________________
Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 7

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     3:21-cv-01585-S
         3:21-cv-00842-B
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                                            04/19/21Page
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                                                         517
                                                           8 of 783
                                                                10 PageID
                                                                    PageID49
                                                                           6938



“colorability” of such claims will require a close examination of both the proceedings that took

place in the bankruptcy court under Title 11 and the Investment Advisers Act as well as the RICO

statute. The bankruptcy court lacks the authority to make such determinations. This Court has that

power.

         Thus, at least as it applies to the proposed First Amended Complaint, the bankruptcy

court’s order exceeds its authority under 28 U.S.C. § 157(d), and any determination of

“colorability” should take place in this Court, which Rule 12(b)(6) of the Federal Rules of Civil

Procedure already provides for. To hold otherwise would create unnecessary tension with the

congressional aims of 28 U.S.C. § 959 (“Trustees, receivers or managers of any property, including

debtors in possession, may be sued, without leave of the court appointing them, with respect to

any of their acts or transactions in carrying on business connected with such property.”).

         2. The Prerequisites in the Bankruptcy Court’s Order Are Satisfied by This Motion
            and the Detailed Allegations in the Proposed First Amended Complaint

         Alternatively, or in addition, should this Court read the bankruptcy court’s order as

prohibiting the filing of actions against Seery even in this Court, Plaintiffs submit that this Motion

seeking leave provides the mechanisms required by that order and therefore satisfies it.

         The bankruptcy court’s order requires only that any contemplated action must first be

submitted to that court for a preliminary determination of colorability. Because that court only has

derivative jurisdiction as a result of this Court’s jurisdiction—and only over matters referred to it

by this Court—Plaintiffs submit that filing a motion for leave here is the correct procedure for

complying with that order. This Court may refer this Motion to the bankruptcy court under

Miscellaneous Order No. 33, as authorized by § 104 of the Bankruptcy Amendments and Federal

Judgeship Act of 1984, codified at 28 U.S.C. § 157(a). Or it may instead decline to refer the Motion

or withdraw the reference under 28 U.S.C. § 157(d), as Plaintiffs submit is appropriate for the
______________________________________________________________________________
Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 8

                                                                                         Appx.000511
Case
   Case
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         3:21-cv-00842-B
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                                                           9 of 783
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reasons addressed above. Regardless, this Motion presents the issue in a manner that allows the

bankruptcy court to address it, should this Court decide that the bankruptcy court is authorized to

do so. Cf. Confirmation Order [Doc. 1943] at 77, ¶ AA (“The Bankruptcy Court will have sole and

exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only to the

extent legally permissible and as provided for in Article XI of the Plan, shall have jurisdiction to

adjudicate the underlying colorable claim or cause of action.”) (emphasis added).

       Plaintiffs therefore submit that, by filing this Motion in this Court, they have complied with

the bankruptcy court’s order.

                                                IV.

                                         CONCLUSION

       Plaintiffs are entitled to amend as a matter of course. The bankruptcy court lacks

jurisdiction to prohibit the proposed amendment. In these circumstances, Plaintiffs respectfully

submit that the interests of justice support the granting of leave to amend, and Rule 15(a) requires

that this Motion be granted.

Dated: April 19, 2021                                 Respectfully submitted,

                                                      SBAITI & COMPANY PLLC

                                                      /s/ Jonathan Bridges
                                                      Mazin A. Sbaiti
                                                      Texas Bar No. 24058096
                                                      Jonathan Bridges
                                                      Texas Bar No. 24028835
                                                      JPMorgan Chase Tower
                                                      2200 Ross Avenue – Suite 4900W
                                                      Dallas, TX 75201
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                                                          jeb@sbaitilaw.com

                                                      Counsel for Plaintiffs
______________________________________________________________________________
Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 9

                                                                                        Appx.000512
Case
  Case
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that, on April 19, 2021, I conferred with Defendant HCM’s counsel in the
HCM bankruptcy proceedings regarding this Motion. I have not conferred with counsel for the
other Defendants because they have not been served and I do not know who will represent them.
HCM’s counsel indicated that they are opposed to the relief sought in this Motion.



                                                   /s/ Jonathan Bridges
                                                   Jonathan Bridges




______________________________________________________________________________
Plaintiffs’ Motion for Leave to File First Amended Complaint            Page 10

                                                                                    Appx.000513
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 520 of 783 PageID 6941



                             EXHIBIT 21




                                                                   Appx.000514
Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 1 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 521Docket   #2247 Date Filed: 04/27/2021
                                                             of 783  PageID 6942



PACHULSKI STANG ZIEHL & JONES LLP
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Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 266326) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
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Counsel for Highland Capital Management, L.P.


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
                                                                  §
    In re:
                                                                  § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §

    DEBTOR’S MOTION FOR AN ORDER REQUIRING THE VIOLATORS TO SHOW
       CAUSE WHY THEY SHOULD NOT BE HELD IN CIVIL CONTEMPT FOR
                     VIOLATING TWO COURT ORDERS

             Highland Capital Management, L.P., the debtor and debtor-in-possession (the “Debtor” or

“Highland”) in the above-captioned chapter 11 case (“Bankruptcy Case”), by and through its



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 522 of 783 PageID 6943



undersigned counsel, files this motion (the “Motion”) seeking entry of an order requiring The

Charitable DAF Fund, L.P. (“The DAF”), CLO Holdco, Ltd. (“CLO Holdco”), the persons who

authorized The DAF and CLO Holdco, respectively (together, the “Authorizing Persons”) to file

the Seery Motion (as defined below) in the DAF Action (as defined below), and Sbaiti & Company

PLLC (“Sbaiti & Co.” and together with The DAF, CLO Holdco, and the Authorizing Persons,

the “Violators”), counsel to The DAF and CLO Holdco in the DAF Action, to show cause why

each of them should not be held in civil contempt for violating the Court’s: (a) Order Approving

Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor

and Procedures for Operations in the Ordinary Course [Docket No. 339], and (b) Order

Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing

Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and

Foreign Representative Nunc Pro Tunc to March 15, 2020 [Docket No. 854] (together, the

“Orders”). In support of its Motion, the Debtor states as follows:

                                      JURISDICTION AND VENUE

        1.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334(b). The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

        2.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.

        3.       The predicates for the relief requested in the Motion are sections 105(a) and

362(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 7065 and 7001 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                          RELIEF REQUESTED




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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 523 of 783 PageID 6944



        4.       The Debtor requests that this Court issue the proposed form of order attached as

Exhibit A (the “Proposed Order”), pursuant to sections 105(a) and 362(a) of the Bankruptcy Code

and Rules 7001 and 7065 of the Bankruptcy Rules.

        5.       For the reasons set forth more fully in the Debtor’s Memorandum of Law in Support

of Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be Held in

Civil Contempt for Violating Two Court Orders (the “Memorandum of Law”), filed

contemporaneously with this Motion, the Debtor requests that the Court: (a) find and hold each of

the Violators in contempt of court; (b) direct the Violators, jointly and severally, to pay the

Debtor’s estate an amount of money equal to two (2) times the Debtor’s actual expenses incurred

in bringing this Motion, payable within three (3) calendar days of presentment of an itemized list

of expenses; (c) impose a penalty of three (3) times the Debtor’s actual expenses incurred in

connection with any future violation of any order of this Court (including filing any motion in the

District Court to name Mr. Seery as a defendant without seeking and obtaining this Court’s prior

approval, as required under the Orders), and (d) grant the Debtor such other and further relief as

the Court deems just and proper under the circumstances.

        6.       In accordance with Rule 7007-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (the “Local Rules”), contemporaneously

herewith and in support of this Motion, the Debtor is filing: (a) its Memorandum of Law, and (b)

the Declaration of John A. Morris in Support of the Debtor’s Motion for an Order Requiring the

Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court

Orders (the “Morris Declaration”) together with the exhibits annexed thereto.




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Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 4 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 524 of 783 PageID 6945



        7.       Based on the exhibits annexed to the Morris Declaration, and the arguments

contained in the Memorandum of Law, the Debtor is entitled to the relief requested herein as set

forth in the Proposed Order.

        8.       Notice of this Motion has been provided to all parties. The Debtor submits that no

other or further notice need be provided.

        WHEREFORE, the Debtor respectfully requests that the Court (i) enter the Proposed Order

substantially in the formed annexed hereto as Exhibit A granting the relief requested herein, and

(ii) grant the Debtor such other and further relief as the Court may deem proper.




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Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 5 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 525 of 783 PageID 6946


 Dated: April 23, 2021.             PACHULSKI STANG ZIEHL & JONES LLP
                                    Jeffrey N. Pomerantz (CA Bar No. 143717)
                                    Ira D. Kharasch (CA Bar No. 109084)
                                    John A. Morris (NY Bar No. 266326)
                                    Gregory V. Demo (NY Bar No. 5371992)
                                    Hayley R. Winograd (NY Bar No. 5612569)
                                    10100 Santa Monica Blvd., 13th Floor
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                                            jmorris@pszjlaw.com
                                            gdemo@pszjlaw.com
                                            hwinograd@pszjlaw.com

                                    -and-
                                    HAYWARD PLLC
                                    /s/ Zachery Z. Annable
                                    Melissa S. Hayward
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                                    MHayward@HaywardFirm.com
                                    Zachery Z. Annable
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                                    Fax: (972) 755-7110
                                    Counsel for Highland Capital Management, L.P.




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Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 6 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 526 of 783 PageID 6947



                                   EXHIBIT A




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                                                                      Appx.000520
Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 7 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 527 of 783 PageID 6948




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
                                                                  §
    In re:
                                                                  § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 2
                                                                  § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §

       ORDER GRANTING DEBTOR’S MOTION FOR AN ORDER REQUIRING THE
      VIOLATORS TO SHOW CAUSE WHY THEY SHOULD NOT BE HELD IN CIVIL
               CONTEMPT FOR VIOLATING TWO COURT ORDERS

             Having considered (a) the Debtor’s Motion for an Order Requiring the Violators to Show

Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court Orders [Docket

No. __] (the “Motion”), 3 (b) the Debtor’s Memorandum of Law in Support of Motion for an Order

Requiring the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for



2
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
3
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Memorandum
of Law.


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                                                                                                       Appx.000521
Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 8 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 528 of 783 PageID 6949



Violating Two Court [Docket No. __] (the “Memorandum of Law”), (c) the exhibits annexed to

the Declaration of John A. Morris in Support of the Debtor’s Motion for an Order Requiring the

Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court

Orders [Docket No. __] (the “Morris Declaration”), and (d) all prior proceedings relating to this

matter, including the proceedings that led to the entry of each of the Orders and the Approval

Order; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

this Court having found that venue of this proceeding and the Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that sanctions is warranted

under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest; and

this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and that no other notice need be provided;

and this Court having determined that the legal and factual bases set forth in the Motion establish

good cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor and for the reasons set forth in the

record on this Motion, it is HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The DAF, CLO Holdco, and Sbaiti & Co. shall show cause before this Court on [

], May [ ], 2021 at 9:30 a.m. (Central Time) why an order should not be granted: (a) finding and

holding each of the Violators in contempt of court; (b) directing the Violators, jointly and severally,

to pay the Debtor’s estate an amount of money equal to two (2) times the Debtor’s actual expenses

incurred in bringing this Motion, payable within three (3) calendar days of presentment of an



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                                                                                            Appx.000522
Case 19-34054-sgj11 Doc 2247 Filed 04/27/21 Entered 04/27/21 10:41:21 Page 9 of 9
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 529 of 783 PageID 6950



itemized list of expenses; (c) imposing a penalty of three (3) times the Debtor’s actual expenses

incurred in connection with any future violation of any order of this Court (including filing any

motion in the District Court to name Mr. Seery as a defendant without seeking and obtaining this

Court’s prior approval, as required under the Orders), and (d) granting the Debtor such other and

further relief as the Court deems just and proper under the circumstances.

       3.      The Court shall retain exclusive jurisdiction with respect to all matters arising from

or relating to the implementation, interpretation, and enforcement of this Order.


                                   ### END OF ORDER ###




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                                                                                        Appx.000523
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 530 of 783 PageID 6951



                             EXHIBIT 22




                                                                   Appx.000524
    Case 19-34054-sgj11 Doc 2034 Filed 03/16/21 Entered 03/16/21 11:44:38 Page 1 of 2
     Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 531Docket   #2034 Date Filed: 03/16/2021
                                                                 of 783  PageID 6952




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 16, 2021
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                          )
     In re:                                               )      Chapter 11
                                                          )
     HIGHLAND CAPITAL MANAGEMENT, L.P.                    )      Case No. 19-34054 (SGJ11)
                                                          )
              Debtor.                                     )
                                                          )
                                                          )

               ORDER CERTIFYING APPEALS OF THE CONFIRMATION ORDER
              FOR DIRECT APPEAL TO THE UNITED STATES COURT OF APPEALS
                               FOR THE FIFTH CIRCUIT

              CAME ON FOR CONSIDERATION the Joint Motion for Certification of Appeals of

     Confirmation Order for Direct Appeal to the Fifth Circuit (the “Motion”), filed jointly by Highland

     Capital Management, L.P., Highland Capital Management Fund Advisors, L.P., NexPoint

     Advisors, L.P., Highland Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc.,

     NexPoint Strategic Opportunities Fund, James Dondero, Get Good Trust, and The Dugaboy

     Investment Trust (collectively, the “Parties”).




                                                                     ¨1¤}HV5#0                             "~«
     ORDER CERTIFYING APPEALS OF THE CONFIRMATION ORDER FOR DIRECT APPEAL TO THE
     UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT—Page 1
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Case 19-34054-sgj11 Doc 2034 Filed 03/16/21 Entered 03/16/21 11:44:38 Page 2 of 2
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 532 of 783 PageID 6953



       By the Motion, the Parties jointly request a certification for a direct appeal to the Fifth

Circuit of the following appeals (collectively, the “Appeals”) of the Court’s Order (i) Confirming

the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified)

and (ii) Granting Related Relief [docket no. 1943] (the “Confirmation Order”):

       (i)     the notice of appeal filed by Highland Capital Management Fund Advisors, L.P.

               and NexPoint Advisors, L.P. on March 1, 2021 at docket no. 1957;

       (ii)    the notice of appeal filed by Highland Global Allocation Fund, Highland Income

               Fund, NexPoint Capital, Inc., and NexPoint Strategic Opportunities Fund on March

               3, 2021 at docket no. 1966;

       (iii)   the notice of appeal filed by James Dondero on March 4, 2021 at docket no. 1970;

               and

       (iv)    the notice of appeal filed by Get Good Trust and The Dugaboy Investment Trust on

               March 4, 2021 at docket no. 1972.

       Having considered the Motion, concluding that the Court has core jurisdiction over the

Motion, finding that no further notice or hearing on the Motion is required as all parties affected

thereby are the Parties to the Motion, and, based on the Parties joint certification and request as

provided for in 28 U.S.C. § 158(d)(2)(B), and based also on the Court’s agreement with the factual

predicates underlying the Parties’ certification and request, it is hereby:

       ORDERED that the Appeals of the Confirmation Order are certified for direct appeal to

the Fifth Circuit because a direct appeal may materially advance the progress of the case or

proceeding in which the appeal is taken, within the meaning and operation of 28 U.S.C. §

158(d)(2)(A)(iii).

                                  # # # END OF ORDER # # #



ORDER CERTIFYING APPEALS OF THE CONFIRMATION ORDER FOR DIRECT APPEAL TO THE
UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT—Page 2
4828-7733-3728v.1 019717.00001                                         Appx.000526
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 533 of 783 PageID 6954



                             EXHIBIT 23




                                                                   Appx.000527
  Case: 21-10449    Document: 00515847251 Page: 1 Date Filed: 05/04/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 534 of 783 PageID 6955




            United States Court of Appeals
                 for the Fifth Circuit                   United States Court of Appeals
                                                                  Fifth Circuit
                              ___________
                                                                FILED
                                                             May 4, 2021
                               No. 21-90011
                              ___________                  Lyle W. Cayce
                                                                Clerk
     In re: Highland Capital Management, L.P.,

                                                                   Debtor,

     NexPoint Advisors, L.P.; Highland Capital Management
     Fund Advisors, L.P.; Highland Income Fund; NexPoint
     Strategic Opportunities Fund; Highland Global
     Allocation Fund; NexPoint Capital, Incorporated;
     James Dondero; The Dugaboy Investment Trust; Get
     Good Trust,

                                                              Petitioners,

                                   versus

     Highland Capital Management, L.P.,

                                                             Respondent.
                  ______________________________

                         Motion for Leave to Appeal
                      Pursuant to 28 U.S.C. § 158(d)
                  _______________________________

     Before Dennis, Southwick, and Engelhardt, Circuit Judges.
     Per Curiam:




                                                                         Appx.000528
  Case: 21-10449    Document: 00515847251 Page: 2 Date Filed: 05/04/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 535 of 783 PageID 6956


                                    No. 21-90011


           IT IS ORDERED that the motion of NexPoint Advisors, L.P. and
     Highland Capital Management Fund Advisors, L.P. for leave to appeal under
     28 U.S.C. § 158(d) is GRANTED.




                                         2

                                                                          Appx.000529
  Case: 21-10449    Document: 00515847295 Page: 1 Date Filed: 05/04/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 536 of 783 PageID 6957



                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
 LYLE W. CAYCE                                               TEL. 504-310-7700
 CLERK                                                    600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                              May 04, 2021


Mr. Jed Weintraub
U.S. Bankruptcy Court, Northern District of Texas
1100 Commerce Street
Earle Cabell Federal Building
Room 1254
Dallas, TX 75242-1496

       Misc No. 21-90011    NexPoint v. Highland Capital Mgmt
                            USDC No. 19-34054

Enclosed is a copy of the court’s order granting the motion(s) for
leave to appeal. The case is transferred to the court’s general
docket. All future inquiries should refer to docket No. 21-10449.
If there is a concurrent appeal at the district court, it is the
appellant’s   responsibility  to   advise  this  court   of  any
developments which may affect this appeal.
The appellant(s) should immediately pay the appropriate fees to
the bankruptcy court clerk ($207.00) and notify us of the payment
within 14 days from the date of this letter. If you do not, we
will dismiss the appeal, see 5th Cir. R. 42.3.
By copy of this letter, I am requesting the bankruptcy court to
send the certified record immediately.
Counsel desiring to appear in this case must electronically file
a "Form for Appearance of Counsel", naming each party you
represent, within 14 days from the date of this letter. The form
is    available     from    the    Fifth    Circuit’s     website,
www.ca5.uscourts.gov. If you fail to electronically file the form,
we will remove your name from the docket. Pro se parties do not
need to file an appearance form. Please note that appearance forms
filed in 21-90011 will be entered in the instant case. It is not
necessary to file another appearance form.




                                                                     Appx.000530
  Case: 21-10449    Document: 00515847295 Page: 2 Date Filed: 05/04/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 537 of 783 PageID 6958


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Charles B. Whitney, Deputy Clerk
                                 504-310-7679
Enclosure(s)
cc:
      Mr. Jeffrey N. Pomerantz
      Mr. Davor Rukavina




                                                                  Appx.000531
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 538 of 783 PageID 6959



                             EXHIBIT 24




                                                                   Appx.000532
  Case: 21-10449    Document: 00515884861 Page: 1 Date Filed: 06/02/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 539 of 783 PageID 6960




            United States Court of Appeals
                 for the Fifth Circuit                   United States Court of Appeals
                                                                  Fifth Circuit
                              ___________
                                                                FILED
                                                             June 2, 2021
                               No. 21-90011
                              ___________                  Lyle W. Cayce
                                                                Clerk
     In re: Highland Capital Management, L.P.,

                                                                    Debtor,

     NexPoint Advisors, L.P.; Highland Capital Management
     Fund Advisors, L.P.; Highland Income Fund; NexPoint
     Strategic Opportunities Fund; Highland Global
     Allocation Fund; NexPoint Capital, Incorporated;
     James Dondero; The Dugaboy Investment Trust; Get
     Good Trust,

                                                               Petitioners,

                                   versus

     Highland Capital Management, L.P.,

                                                              Respondent.
                  ______________________________

                         Motion for Leave to Appeal
                      Pursuant to 28 U.S.C. § 158(d)
                  _______________________________

     Before Dennis, Southwick, and Engelhardt, Circuit Judges.
     Per Curiam:
           IT IS ORDERED that the motion of Highland Global Allocation
     Fund, Highland Income Fund, NexPoint Capital, Incorporated, and




                                                                          Appx.000533
  Case: 21-10449    Document: 00515884861 Page: 2 Date Filed: 06/02/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 540 of 783 PageID 6961


                                    No. 21-90011


     NexPoint Strategic Opportunities Fund for leave to appeal under 28 U.S.C.
     § 158(d) is GRANTED.
           IT IS FURTHER ORDERED that the motion of James Dondero for
     leave to appeal under 28 U.S.C. § 158(d) is GRANTED.
           IT IS FURTHER ORDERED that the motion of Get Good Trust and
     The Dugaboy Investment Trust for leave to appeal under 28 U.S.C. § 158(d)
     is GRANTED.




                                         2

                                                                          Appx.000534
  Case: 21-10449    Document: 00515884873 Page: 1 Date Filed: 06/02/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 541 of 783 PageID 6962



                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
 LYLE W. CAYCE                                               TEL. 504-310-7700
 CLERK                                                    600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                              June 02, 2021


Mr. Robert P. Colwell
U.S. Bankruptcy Court, Northern District of Texas
1100 Commerce Street
Earle Cabell Federal Building
Room 1254
Dallas, TX 75242-1496

       Misc No. 21-90011    NexPoint v. Highland Capital Mgmt
                            USDC No. 19-34054

Enclosed is a copy of the court’s order granting the motion(s) for
leave to appeal. The case is transferred to the court’s general
docket. All future inquiries should refer to docket No. 21-10449.
If there is a concurrent appeal at the district court, it is the
appellant’s   responsibility  to   advise  this  court   of  any
developments which may affect this appeal.
The appellant(s) should immediately pay the appropriate fees
($207.00 for each notice of appeal filed) to the bankruptcy court
clerk and notify us of the payment within 14 days from the date of
this letter. If you do not, we will dismiss the appeal, see 5th
Cir. R. 42.3.
By copy of this letter, I am requesting the bankruptcy court to
send the certified record immediately.
Counsel desiring to appear in this case must electronically file
a "Form for Appearance of Counsel", naming each party you
represent, within 14 days from the date of this letter. The form
is    available    from    the     Fifth    Circuit’s     website,
www.ca5.uscourts.gov. If you fail to electronically file the form,
we will remove your name from the docket. Pro se parties do not
need to file an appearance form.




                                                                     Appx.000535
  Case: 21-10449    Document: 00515884873 Page: 2 Date Filed: 06/02/2021
Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 542 of 783 PageID 6963


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk


                                   By: _________________________
                                   Charles B. Whitney, Deputy Clerk
                                   504-310-7679
Enclosure(s)
cc:
      Mr.   Zachery Z. Annable
      Mr.   Douglas Scott Draper
      Mr.   David R. Fine
      Ms.   Melissa Sue Hayward
      Mr.   Jeffrey N. Pomerantz
      Mr.   Davor Rukavina
      Mr.   Clay Marshall Taylor
      Mr.   Julian Preston Vasek




                                                                  Appx.000536
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 543 of 783 PageID 6964



                             EXHIBIT 25




                                                                   Appx.000537
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 1 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 544Docket    #2248 Date Filed: 04/27/2021
                                                              of 783  PageID 6965



 SBAITI & COMPANY PLLC
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 Counsel for The Charitable DAF Fund, L.P.
 and CLO Holdco, Ltd.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


                                                                  §
  In re:                                                          § Chapter 11
                                                                  §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                              § Case No. 19-34054-sgj11
                                                                  §
                                    Debtor.                       §


                NOTICE OF MOTION FOR MODIFICATION OF ORDER
              AUTHORIZING RETENTION OF JAMES P. SEERY, JR. DUE TO
                   LACK OF SUBJECT MATTER JURISDICTION



           The Charitable DAF Fund, L.P. and CLO Holdco, Ltd. respectfully bring this contested

 motion seeking modification of a prior order of this Court and respectfully submit that the order,

 as applied to them in current circumstances, exceeds this Court’s subject matter jurisdiction for

 the reasons that follow.




 ______________________________________________________________________________

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 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction
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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 2 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 545 of 783 PageID 6966



                                                     I.
                                     NECESSITY OF MOTION 1
         As applied to their action currently before the Northern District of Texas, Movants would
 show that this Court’s Order of July 16, 2020 (“Order”)2 appears to overstate this Court’s

 jurisdiction. Despite the request from the Debtor, this Court should not attempt to assert exclusive

 jurisdiction over any and all claims that might be asserted against James P. Seery, Jr. (“Seery”),

 relating in any way to his role as an officer of the Debtor, as the Order asserts that it can.

         In 28 U.S.C. § 1334, Congress has vested the federal district courts with original

 jurisdiction over claims arising under, arising in, or related to title 11. Article III of the Constitution

 also grants such “judicial power” to the district courts. This Court’s subject matter jurisdiction is

 derivative of the district courts’ jurisdiction, and it lacks the power to strip that jurisdiction from

 the district courts. To the extent that the Debtor’s counsel asserts that this Court does have that

 power, they should identify the specific source of that authority. But Movants respectfully submit

 that there appears to be no authority providing that this Court can undo what Article III and § 1334

 have done.

         This Court should modify the Order to clarify or correct the apparent jurisdictional

 overreach. Plainly, Movants’ claims against Seery are within the jurisdiction of the district court—

 jurisdiction which cannot be divested.



   1Notably, as undersigned counsel was finalizing this Motion, Highland Capital and James P.
 Seery, Jr.’s counsel filed a Motion to Show Cause, arguing that the act of merely asking the District
 Court to entertain the addition of James Seery somehow amounts to a Rule 11 violation or
 contempt of this Court’s orders. The Movants intend to respond to that motion in a robust and
 timely fashion. Movants respectfully suggest that that Motion and this one be considered at the
 same time.
   2 Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b)
 Authorizing Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
 Officer, and Foreign Representative Nunc Pro Tunc to March 15, 2020 [Doc 854].
 ______________________________________________________________________________
 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                     Page 2
                                                                                               Appx.000539
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 3 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 546 of 783 PageID 6967



                                                    II.
                                           BACKGROUND
         On June 23, 2020, counsel for the Debtor filed a motion asking this Court to defer to the

 “business judgment” of the Strand board’s compensation committee and approve the terms of its

 appointment of Seery as chief executive officer and chief restructuring officer at the Debtor,

 retroactive to March.3 Counsel also asked the Bankruptcy Court to declare that it had exclusive

 jurisdiction over any claims asserted against Seery in this role.

         On July 16, 2020, this Court granted that motion and entered the Order, stating as follows:

             No entity may commence or pursue a claim or cause of action of any kind
             against Mr. Seery relating in any way to his role as the chief executive officer
             and chief restructuring officer of the Debtor without the Bankruptcy Court (i)
             first determining after notice that such claim or cause of action represents a
             colorable claim of willful misconduct or gross negligence against Mr. Seery,
             and (ii) specifically authorizing such entity to bring such claim. The
             Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim
             for which approval of the Court to commence or pursue has been granted.4

 On March 22, 2021, this Court entered an order confirming the Debtor’s reorganization plan.5 The

 confirmation order purports to extend the prohibitions on suits against Seery, and it also prohibits

 certain actions against the Debtor and its affiliates. By its own terms, however, the confirmation

 order is not yet effective due to a pending appeal. And this Court explicitly limited the scope of




     3Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
 Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
 Representative Nunc Pro Tunc to March 15, 2020 [Doc. 774] (“Debtors Motion”).
     4 A related order dated January 9, 2020, contains a similar provision with regard to Seery’s
 role as an “Independent Director.” Order Approving Settlement with Official Committee of
 Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the
 Ordinary Course, ¶ 5 [Doc. 339].
     5
     Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
 Management, L.P. (As Modified) And (II) Granting Related Relief [Doc. 1943].
 ______________________________________________________________________________
 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                 Page 3
                                                                                         Appx.000540
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 4 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 547 of 783 PageID 6968



 the “sole and exclusive jurisdiction” it asserted therein, noting that such jurisdiction would extend

 “only to the extent legally permissible.”6

           On April 12, 2021, Movants here filed their Original Complaint in federal district court in

 the Northern District of Texas, alleging that the Debtor and related entities are liable as a result of

 insider trading and other violations of the antifraud provisions of the Investment Company Act of

 1940, among other causes of action.7

           The Original Complaint does not name Seery as a defendant. But the action is based on

 Seery’s misrepresentations, omissions, and other breaches of duty committed in his role as the

 Debtor’s CEO, acts which are sufficient to demonstrate his willful misconduct or gross negligence,

 though Movants would submit that mere negligence and breach of fiduciary duty also form

 sufficient bases for his personal liability.

           Although Seery is not named as a defendant in that action, this is only out of an abundance

 of caution due to the prohibitions in the Order. Movants filed a motion for leave to amend in the

 district court, citing to and briefing the Order as well as this Court’s jurisdictional limitations. 8

 Movants expected that motion would likely be referred to this Court. But that motion was promptly

 denied without prejudice due to the foreign defendants not yet having been served.9

           In the meantime, and in the interests of a speedier resolution, Movants here ask this Court

 to modify the Order to the extent it states that amending to add Seery to Movants’ action in district


      Id. at 77, ¶ AA (“The Bankruptcy Court will have sole and exclusive jurisdiction to determine
       6

 whether a claim or cause of action is colorable and, only to the extent legally permissible and as
 provided for in Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable
 claim or cause of action.”) (emphasis added).
       7
       See generally, Original Complaint, Cause No. 3:21-cv-00842-B, Docket No. 1 (attached
 hereto as Exhibit 1).
   8   See Cause No. 3:21-cv-00842-B, Doc. 6 (attached hereto as Exhibit 2).
   9See Cause No. 3:21-cv-00842-B, Doc. 8.
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 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                  Page 4
                                                                                           Appx.000541
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 5 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 548 of 783 PageID 6969



 court is prohibited. Prohibiting that amendment in current circumstances, Movants submit, would

 be beyond this Court’s jurisdiction.

                                                    III.

                                             ARGUMENT

         Movants submit that the Order should not prohibit amending their action in the district

 court to assert claims against Seery. To the extent the Order does so, Movants respectfully submit

 that the prohibition should be modified to avoid exceeding this Court’s powers.

 A. THIS COURT LACKS THE AUTHORITY TO STRIP THE DISTRICT COURT OF JURISDICTION

         Movants respectfully submit that, because this Court’s jurisdiction derives from and is

 dependent upon the jurisdiction of the district court, the Order’s declaration that this Court has

 “sole jurisdiction” to the exclusion of the district court is an overreach.

         Congress provided for and limited the jurisdiction of bankruptcy courts in 28 U.S.C. § 1334

 and 28 U.S.C. § 157. As a result, bankruptcy court jurisdiction derives from and is limited by

 statute. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995) (“The jurisdiction of the bankruptcy

 courts, like that of other federal courts, is grounded in, and limited by, statute.”); Williams v.

 SeaBreeze Fin., LLC (In re 7303 Holdings, Inc.), Nos. 08-36698, 10-03079, 2010 Bankr. LEXIS

 2938 at *7 (Bankr. S.D. Tex. Aug. 26, 2010) (“A bankruptcy court’s jurisdiction is derivative of

 the district court’s jurisdiction. The bankruptcy court does not have jurisdiction unless the district

 court could exercise authority over the matter . . . .”). The plain provisions of § 1334 grant to the

 district courts “original jurisdiction” over all bankruptcy cases and related civil proceedings. 28

 U.S.C. § 1334(a)-(b). Thus, when it comes to subject matter jurisdiction, what Congress giveth,

 this Court cannot take away and reserve for itself.




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 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                 Page 5
                                                                                          Appx.000542
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 6 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 549 of 783 PageID 6970



                 a. The Barton Doctrine Does Not Apply

          Movants suspect this Court’s jurisdictional overreach is the result Debtor’s counsel’s

 overly aggressive interpretation of the Barton doctrine. That doctrine protects receivers and

 trustees who are appointed by the bankruptcy court. Randazzo v. Babin, No. 15-4943, 2016 U.S.

 Dist. LEXIS 110465, at *3 (E.D. La. Aug. 18, 2016) (“While the Barton case involved a receiver

 in state court, the United States Court of Appeals for the Fifth Circuit has extended this principle,

 now known as the Barton doctrine, to lawsuits against bankruptcy trustees for acts committed in

 their official capacities.”). The doctrine does not apply to executives of a debtor, like Seery, who

 are not receivers or trustees, and who must stretch the truth to claim that they were “appointed” by

 this Court, having asked it merely to approve their appointment in deference to their discretion

 under the business judgment rule.10

 B. THE ORDER EXCEEDS THE CONSTITUTIONAL LIMITS OF THE BANKRUPTCY C OURT’S
    JURISDICTION                                              ____________

          Not only does this Court lack “sole jurisdiction” over all causes of action that might be

 brought against Seery related to his role as HCM’s CEO, according to the plain language of 28

 U.S.C. § 1334, this Court does not even have concurrent jurisdiction over all such claims.

          The separation of powers doctrine simply does not allow that. See Stern v. Marshall, 564

 U.S. 462, 499 (2011) (holding that Congress cannot bypass Article III and create jurisdiction in

 bankruptcy courts “simply because a proceeding may have some bearing on a bankruptcy case”);


     10 See Debtors Motion at 14-15 (arguing that the bankruptcy court should not “interfere” with
 their “corporate decisions . . . as long as they are attributable to any rational business purpose”)
 (internal quotes omitted); id. at 5-7 (detailing the compensation committee’s “appointment” of
 Seery as CEO as well as chief restructuring officer). Moreover, Fifth Circuit law prohibits non-
 debtor exculpation with regard to third-party claims, with exceptions that are inapplicable here.
 See, e.g., Bank of N.Y. Tr. Co., NA v. Official Unsecured Creditor’ Comm. (In re Pac. Lumber
 Co.), 584 F.3d 229, 251-52 (5th Cir. 2009) (prohibiting “non-consensual non-debtor releases and
 permanent injunctions”)
 ______________________________________________________________________________
 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                Page 6
                                                                                         Appx.000543
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 7 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 550 of 783 PageID 6971



 id. at 499 (emphasis in original) (quoting at *488 Murray’s Lessee v. Hoboken Land &

 Improvement Co., 59 U.S. 272, 284 (1856), for the proposition that “Congress cannot ‘withdraw

 from judicial [read Article III] cognizance any matter which, from its nature, is the subject of a

 suit at the common law, or in equity, or admiralty’” with the limited exception of matters involving

 certain public rights); id. at 494 (quoting the dissent’s quote of Thomas v. Union Carbide Agric.

 Prods. Co., 473 U.S. 568, 584 (1985), for the proposition that “Congress may not vest in a non-

 Article III court the power to adjudicate, render final judgment, and issue binding orders in a

 traditional contract action arising under state law,” and then adding “tort” to the rule for purposes

 of the matter before it); N. Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 71 (1982)

 (plurality opinion) (holding that bankruptcy court could not hear debtor’s suit against third party

 for breach of contract, misrepresentation, coercion, and duress because “the restructuring of

 debtor-creditor relations, which is at the core of the federal bankruptcy power, must be

 distinguished from the adjudication of state-created private rights, such as the right to recover

 contract damages that is at issue in this case.”); cf. In re Prescription Home Health Care, 316

 F.3d 542, 548 (5th Cir. 2002) (holding that trustee’s tax liability was not within the bankruptcy

 court’s related-to jurisdiction and rejecting “the theory that a bankruptcy court has jurisdiction to

 enjoin any activity that threatens the debtor’s reorganization prospects [because that] would permit

 the bankruptcy court to intervene in a wide variety of third-party disputes [such as] any action

 (however personal) against key corporate employees, if they were willing to state that their morale,

 concentration, or personal credit would be adversely affected by that action”).

         Simply put, this Court lacks the power to expand its jurisdiction or manufacture it where

 none exists. And doing so here, when Movants seek to bring in the district court “a suit at common

 law,” Stern, 564 U.S. at 488, “a traditional contract action [and tort action] arising under state law,”

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 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                   Page 7
                                                                                            Appx.000544
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 8 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 551 of 783 PageID 6972



 id. at 494, and an “action . . . against key corporate employees,” Prescription Home Health Care,

 316 F.3d at 548, exceeds even Congress’s power. The causes of action in Movants’ district court

 case are beyond this Court’s constitutional reach.

 C. THE ORDER EXCEEDS THE BANKRUPTCY COURT’S STATUTORY AUTHORIZATION

         Not only are there constitutional issues with the scope of the Order, there is also the plainly

 worded “full stop” of 28 U.S.C. § 157(d). See TMT Procurement Corp. v. Vantage Drilling Co.

 (In re TMT Procurement Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy

 court’s “more limited” jurisdiction as a result of its “limited power” under 28 U.S.C. § 157). In

 Section 157(d), Congress prohibited the bankruptcy court, absent the parties’ consent, from

 presiding over cases or proceedings that require consideration of both Title 11 and other federal

 law regulating organizations or activities affecting interstate commerce.

         The allegations concerning Seery in Movants’ district court case—accusing him of insider

 trading, violations of the RICO statute (18 U.S.C. § 1961 et seq.), and violations of the antifraud

 provisions of the Investment Advisers Act of 1940—require precisely that. Even determining the

 “colorability” of those claims will require a close examination of both the proceedings that took

 place in this Court under Title 11 and the Investment Advisers Act, as well as the RICO statute.

 Under § 157(d), this Court lacks the authority to make such determinations. Only the district court

 has that power.

         Thus, at least as it applies to Movants’ district court action, the Order (at least as far as

 Debtor and Seery seem to interpret it), exceeds this Court’s power under 28 U.S.C. § 157(d). Any

 determination of “colorability” regarding Movants’ causes of action should take place in the

 district court, not here.




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 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                  Page 8
                                                                                           Appx.000545
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 9 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 552 of 783 PageID 6973



         Furthermore, a contrary conclusion would create unnecessary tension with the

 congressional aims of 28 U.S.C. § 959 (“Trustees, receivers or managers of any property, including

 debtors in possession, may be sued, without leave of the court appointing them, with respect to

 any of their acts or transactions in carrying on business connected with such property.”).

         The district court, of course, may refer Movants’ action to this Court under Miscellaneous

 Order No. 33, as authorized by § 104 of the Bankruptcy Amendments and Federal Judgeship Act

 of 1984, codified at 28 U.S.C. § 157(a). But withdrawal of that reference would still be mandatory

 for any determination of “colorability” as previously noted or for any other matter likewise within

 the scope of § 157(d).

         To the extent the Order requires otherwise11 —and on its face it would seem to—Movants

 respectfully submit that it is in error.

                                                    IV.

                                            CONCLUSION

         Movants ask this Court to modify the provisions of the Order that assert exclusive

 jurisdiction over any and all causes of action against Seery related to his role as an officer of the

 Debtor. This Court’s jurisdiction does not reach all such cases. More specifically, it does not reach

 Movants’ district court action or cancel out that court’s jurisdiction under 28 U.S.C. § 1334.

         As a result, the Order is overreaching and should be modified. And Movants respectfully

 submit that this Motion should be granted.




   11To the extent that Seery would seek to assert some kind of immunity, that is an affirmative
 defense that he may assert in the district court as well.
 ______________________________________________________________________________
 Notice of Motion for Modification of Order Authorizing Retention of
 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                Page 9
                                                                                         Appx.000546
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 10 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 553 of 783 PageID 6974



  Dated: April 23, 2021                                    Respectfully submitted,

                                                           SBAITI & COMPANY PLLC

                                                           /s/ Mazin A. Sbaiti
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                                                           Counsel for Plaintiffs




  ______________________________________________________________________________
  Notice of Motion for Modification of Order Authorizing Retention of
  James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                            Page 10
                                                                                       Appx.000547
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 11 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 554 of 783 PageID 6975




           EXHIBIT 1



                                                                       Appx.000548
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 12 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
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                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5551of
                                                                of783
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS

      CHARITABLE DAF FUND, L.P.          §
      and CLO HOLDCO, LTD.,              §
      directly and derivatively,         §
                                         §
                    Plaintiffs,          §
                                         §
                        v.               §                   Cause No. __________________________
                                         §
      HIGHLAND CAPITAL MANAGEMENT, §
      L.P. , HIGHLAND HCF ADVISOR, LTD., §
      and HIGHLAND CLO FUNDING, LTD., §
      nominally,                         §
                                         §
                   Defendants.           §



                                           ORIGINAL COMPLAINT


                                                        I.
                                                INTRODUCTION
             This action arises out of the acts and omissions of Defendant Highland Capital

  Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

  (“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

  1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

  (HCM and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions which

  have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

  Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

  among others, which have caused and/or likely will cause Plaintiffs damages.




  1
      https://adviserinfo.sec.gov/firm/summary/110126



                                                                                        Appx.000549
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 13 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
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                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5562of
                                                                of783
                                                                   26 PageID
                                                                      PageID26977



          At all relevant times, HCM was headed by CEO and potential party James P. Seery

  (“Seery”). Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98%

  of HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests

  in HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon

  a sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

  information and belief, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed

  to Harbourvest nor to Plaintiffs.

          Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

  includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

  which HCM and Seery had access to superior non-public information. Upon information and

  belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

  allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

  compliance rules preventing it, or the compliance protocols themselves were disabled or amended

  to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

  created an unacceptable perpetuation of exposure to liability.

          Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

  their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

  pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

  HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious

  interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

  current NAV, and (b) diverting the Harbourvest opportunity to themselves.



    2
     “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
  2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
  Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.

  Original Complaint                                                                                Page 2
                                                                                             Appx.000550
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 14 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5573of
                                                                of783
                                                                   26 PageID
                                                                      PageID36978



          For these reasons, judgment should be issued in Plaintiffs’ favor.

                                                    II.
                                                PARTIES
          1.      Plaintiff CLO Holdco, Ltd. is a limited company incorporated under the laws of

  the Cayman Islands.

          2.      Plaintiff Charitable DAF Fund, L.P., (“DAF”) is a limited partnership formed under

  the laws of the Cayman Islands.

          3.      Defendant Highland Capital Management, L.P. is a limited partnership with its

  principal place of business at 300 Crescent Court, Suite 700, Dallas, Texas 75201. It may be served

  at its principal place of business or through its principal officer, James P. Seery, Jr., or through the

  Texas Secretary of State, or through any other means authorized by federal or state law.

          4.      Defendant Highland HCF Advisor, Ltd. is a limited company incorporated under

  the laws of the Cayman Islands. Its principal place of business is 300 Crescent Court, Suite 700,

  Dallas, Texas 75201. It is a registered investment adviser (“RIA”) subject to the laws and

  regulations of the Investment Advisers Act of 1940 (the “Adviser’s Act”). It is a wholly-owned

  subsidiary of Highland Capital Management, L.P.

          5.      Nominal Defendant Highland CLO Funding, Ltd. is a limited company

  incorporated under the laws of the Island of Guernsey. Its registered office is at First Floor, Dorey

  Court, Admiral Park, St. Peter Port, Guernsey GY1 6HJ, Channel Islands. Its principal place of

  business is 300 Crescent Court, Suite 700, Dallas, Texas 75201.

          6.      Potential party James P. Seery, Jr. (“Seery”) is an officer and/or director and/or

  control person of Defendants Highland Capital Management, L.P., Highland CLO Funding, Ltd.,

  and Highland HCF Advisor, Ltd., and is a citizen of and domiciled in Floral Park, New York.




  Original Complaint                                                                                Page 3
                                                                                             Appx.000551
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 15 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5584of
                                                                of783
                                                                   26 PageID
                                                                      PageID46979



                                                     III.
                                    JURISDICTION AND VENUE
          7.      This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1331

  as one or more rights and/or causes of action arise under the laws of the United States. This Court

  has supplemental subject matter jurisdiction over all other claims under 28 U.S.C. § 1367.

          8.      Personal jurisdiction is proper over the Defendants because they reside and/or have

  continual contacts with the state of Texas, having regularly submitted to jurisdiction here.

  Jurisdiction is also proper under 18 U.S.C. § 1965(d).

          9.      Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because one or

  more Defendants reside in this district and/or a substantial part of the events or omissions giving

  rise to the claim occurred or a substantial part of property that is the subject of the action is situated

  in this district. Venue in this district is further provided under 18 U.S.C. § 1965(d).

                                                     IV.
                                     RELEVANT BACKGROUND
                                          HCLOF IS FORMED
          10.     Plaintiff DAF is a charitable fund that helps several causes throughout the country,

  including providing funding for humanitarian issues (such as veteran’s welfare associations and

  women’s shelters), public works (such as museums, parks and zoos), and education (such as

  specialty schools in underserved communities). Its mission is critical.

          11.     Since 2012, DAF was advised by its registered investment adviser, Highland

  Capital Management, L.P., and its various subsidiaries, about where to invest. This relationship

  was governed by an Investment advisory Agreement.




  Original Complaint                                                                                 Page 4
                                                                                               Appx.000552
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 16 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5595of
                                                                of783
                                                                   26 PageID
                                                                      PageID56980



          12.     At one point in 2017, HCM advised DAF to acquire 143,454,001 shares of HCLOF,

  with HCFA (a subsidiary of HCM) serving as the portfolio manager. DAF did so via a holding

  entity, Plaintiff CLO Holdco, Ltd.

          13.     On November 15, 2017, through a Subscription and Transfer Agreement, the DAF

  entered into an agreement with others to sell and transfer shares in HCLOF, wherein the DAF

  retained 49.02% in CLO Holdco.

          14.     Pursuant to that agreement, Harbourvest acquired the following interests in the

  following entities:

          Harbourvest Dover Street IX Investment, L.P., acquired 35.49%;

          Harbourvest 2017 Global AIF, L.P., acquired 2.42%;

          Harbourvest 2017 lobal Fund, L.P., acquired 4.85%;

          HV International VIII Secondary, L.P., acquired 6.5%; and

          Harbourvest Skew Base AIF, L.P., acquired 0.72%;

  for a total of 49.98% (altogether, the “Harbourvest interests”).

          15.     On or about October 16, 2019, Highland Capital Management filed for Chapter 11

  bankruptcy in Delaware Bankruptcy Court, which was later transferred to the Northern District of

  Texas Bankruptcy Court, in the case styled In Re: Highland Capital Management, L.P., Debtor,

  Cause No. 19-34054, (the “HCM Bankruptcy” and the Court is the “Bankruptcy Court”).

                                The Harbourvest Settlement with
                          Highland Capital Management in Bankruptcy

          16.     On April 8, 2020, Harbourvest submitted its proofs of claim in the HCM bankruptcy

  proceeding. Annexed to its proofs of claims was an explanation of the Proof of Claim and the basis

  therefor setting out various pre-petition allegations of wrongdoing by HCM. See, e.g., Case No.

  19-bk-34054, Doc. 1631-5.


  Original Complaint                                                                          Page 5
                                                                                        Appx.000553
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 17 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5606of
                                                                of783
                                                                   26 PageID
                                                                      PageID66981



          17.     The debtor, HCM, made an omnibus response to the proofs of claims, stating they

  were duplicative of each other, overstated, late, and otherwise meritless.

          18.     Harbourvest responded to the omnibus objections on September 11, 2020. See

  Cause No. 19-bk-34054, Doc. 1057.

          19.     Harbourvest represented that it had invested in HCLOF, purchasing 49.98% of

  HCLOF’s outstanding shares.

          20.     Plaintiff CLO Holdco was and is also a 49.02% holder of HCLOF’s member

  interests.

          21.     In its Omnibus Response, Harbourvest explained that its claims included

  unliquidated legal claims for fraud, fraud in the inducement, RICO violations under 18 U.S.C.

  1964, among others (the “Harbourvest Claims”). See Cause No. 19-bk-34054, Doc. 1057.

          22.     The Harbourvest Claims centered on allegations that when Harbourvest was

  intending to invest in a pool of Collateralized Loan Obligations, or CLOs, that were then-managed

  by Acis Capital Management (“Acis”), a subsidiary of HCM, HCM failed to disclose key facts

  about ongoing litigation with a former employee, Josh Terry.

          23.     Harbourvest contended that HCM never sufficiently disclosed the underlying facts

  about the litigation with Terry, and HCM’s then-intended strategy to fight Terry caused HCLOF

  to incur around $15 million in legal fees and costs. It contended that had it known the nature of the

  lawsuit and how it would eventually turn out, Harbourvest never would have invested in HCLOF.

  See Cause No. 19-bk-34054, Doc. 1057.

          24.     HCLOF’s portfolio manager is HCFA. HCM is the parent of HCFA and is managed

  by its General Partner, Strand Management, who employs Seery and acts on behalf of HCM.




  Original Complaint                                                                             Page 6
                                                                                          Appx.000554
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 18 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5617of
                                                                of783
                                                                   26 PageID
                                                                      PageID76982



          25.      Before acceding to the Harbourvest interests, HCM was a 0.6% holder of HCLOF

  interests.

          26.      While even assuming Harbourvest’s underlying claims were valid as far as the lost

  $15 million went, the true damage of the legal fees to Harbourvest would have been 49.98% of the

  HCLOF losses (i.e., less than $7.5 million). Harbourvest claimed that it had lost over $100 million

  in the HCLOF transaction due to fraud, which, after trebling under the racketeering statute, it

  claimed it was entitled to over $300 million in damages.

          27.      In truth, as of September 2020, Harbourvest had indeed lost some $52 million due

  to the alleged diminishing value of the HCLOF assets (largely due to the underperformance of the

  Acis entities3)—and the values were starting to recover.

          28.      HCM denied the allegations in the Bankruptcy Court. Other than the claim for

  waste of corporate assets of $15 million, HCM at all times viewed the Harbourvest legal claims as

  being worth near zero and having no merit.

          29.      On December 23, 2020, HCM moved the Court to approve a settlement between

  itself and Harbourvest. No discovery had taken place between the parties, and Plaintiff did not

  have any notice of the settlement terms or other factors prior to the motion’s filing (or even during

  its pendency) in order to investigate its rights.

          30.      HCM set the hearing right after the Christmas and New Year’s holidays, almost

  ensuring that no party would have the time to scrutinize the underpinnings of the deal.

          31.      On January 14, 2021, the Bankruptcy Court held an evidentiary hearing and

  approved the settlement in a bench ruling, overruling the objections to the settlement.




  3
    Acis was being managed by Joshua Terry. JP Morgan had listed the four ACIS entities under his management as
  the four worst performers of the 1200 CLOs it evaluated.

  Original Complaint                                                                                       Page 7
                                                                                                    Appx.000555
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 19 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5628of
                                                                of783
                                                                   26 PageID
                                                                      PageID86983



          32.     An integral part of the settlement was allowing $45 million in unsecured claims

  that, at the time of the agreement, were expected to net Harbourvest around 70 cents on the dollar.

  In other words, Harbourvest was expected to recover around $31,500,000 from the allowed claims.

          33.     As part of the consideration for the $45 million in allowed claims, Harbourvest

  agreed to transfer all of its interests in HCLOF to HCM or its designee.

          34.     HCM and Seery rationalized the settlement value by allocating $22.5 million of the

  net value of the $45 million in unsecured claims as consideration to purchase Harbourvest’s

  interests in HCLOF, meaning, if 70% of the unsecured claims—i.e., $31.5 million—was realized,

  because $22.5 million of that would be allocated to the purchase price of the Harbourvest interests

  in HCLOF, the true “settlement” for Harbourvest’s legal claims was closer to $9 million.

          35.     Plaintiffs here are taking no position at this time about the propriety of settling the

  Harbourvest legal claims for $9 million. That is for another day.

          36.     At the core of this lawsuit is the fact that HCM purchased the Harbourvest interests

  in HCLOF for $22.5 million knowing that they were worth far more than that.

          37.     It has recently come to light that, upon information and belief, the Harbourvest

  interests, as of December 31, 2020, were worth in excess of $41,750,000, and they have continued

  to go up in value.

          38.     On November 30, 2020, which was less than a month prior to the filing of the

  Motion to Approve the Settlement, the net asset value of those interests was over $34.5 million.

  Plaintiffs were never made aware of that.

          39.     The change is due to how the net asset value, or NAV, was calculated. The means

  and methods for calculating the “net asset value” of the assets of HCLOF are subject to and




  Original Complaint                                                                               Page 8
                                                                                            Appx.000556
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 20 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 Filed
                                       1 Filed
                                            10/01/21
                                               04/12/21Page
                                                         Page
                                                            5639of
                                                                of783
                                                                   26 PageID
                                                                      PageID96984



  governed by the regulations passed by the SEC pursuant to the Adviser’s Act, and by HCM’s

  internal policies and procedures.

            40.     Typically, the value of the securities reflected by a market price quote.

            41.     However, the underlying securities in HCLOF are not liquid and had not been

  traded in a long while.

            42.     There not having been any contemporaneous market quotations that could be used

  in good faith to set the marks4 meant that other prescribed methods of assessing the value of the

  interests, such as the NAV, would have been the proper substitutes.

            43.     Seery testified that the fair market value of the Harbourvest HCLOF interests was

  $22.5 million. Even allowing some leeway there, it was off the mark by a mile.

            44.     Given the artifice described herein, Seery and the entity Defendants had to know

  that the representation of the fair market value was false. But it does not appear that they disclosed

  it to Harbourvest to whom they owed fiduciary duties as the RIA in charge of HCLOF, and they

  certainly did not disclose the truth to the Plaintiff.

            45.     It is either the case that (i) Defendants conducted the proper analysis to obtain a

  current value of the assets but decided to use a far lower valuation in order to whitewash the

  settlement or enrich the bankruptcy estate; or (ii) Defendants never conducted the proper current

  valuation, and therefore baselessly represented what the current value of the assets was, despite

  knowingly having no reasonable basis for making such a claim.

            46.     For years HCM had such internal procedures and compliance protocols. HCM was

  not allowed by its own compliance officers to trade with an investor where HCM had superior

  knowledge about the value of the assets, for example. While Plaintiff has no reason to believe that



    4
        The term “mark” is shorthand for an estimated or calculated value for a non-publicly traded instrument.

  Original Complaint                                                                                    Page 9
                                                                                                  Appx.000557
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 21 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page564
                                                              10of
                                                                 of783
                                                                    26 PageID
                                                                       PageID10
                                                                              6985



  those procedures were scrapped in recent months, it can only assume that they were either

  overridden improperly or circumvented wholesale.

          47.     Upon finalizing the Harbourvest Settlement Agreement and making representations

  to the Bankruptcy Court to the Plaintiffs about the value of the Harbourvest Interests, Seery and

  HCM had a duty to use current values and not rely on old valuations of the assets or the HCLOF

  interests.

          48.     Given Defendants’ actual or constructive knowledge that they were purchasing

  Harbourvest’s Interests in HCLOF for a less than 50% of what those interests were worth—

  Defendants owed Plaintiff a fiduciary duty not to purchase them for themselves.

          49.     Defendants should have either had HCLOF repurchase the interests with cash, or

  offer those interests to Plaintiff and the other members pro rata, before HCM agreed to purchase

  them all lock, stock and barrel, for no up-front cash.

          50.     Indeed, had Plaintiff been offered those interests, it would have happily purchased

  them and therefore would have infused over $20 million in cash into the estate for the purpose of

  executing the Harbourvest Settlement.

          51.     That Defendants (and to perhaps a lesser extent, the Unsecured Creditors

  Committee (the “UCC”)) agreed to pay $22.5 million for the HCLOF assets, where they had

  previously not consented to any such expenditure by the estate on behalf of HCLOF, strongly

  indicates their awareness that they were purchasing assets for far below market value.

          52.     The above is the most reasonable and plausible explanation for why Defendants

  and the UCC forwent raising as much as $22.5 million in cash now in favor of hanging on to the

  HCLOF assets.




  Original Complaint                                                                           Page 10
                                                                                           Appx.000558
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 22 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page565
                                                              11of
                                                                 of783
                                                                    26 PageID
                                                                       PageID11
                                                                              6986



          53.      Indeed, in January 2021 Seery threatened Ethen Powell that “[Judge Jernigan] is

  laughing at you” and “we are coming after you” in response to the latter’s attempt to exercise his

  right as beneficial holder of the CLO, and pointing out a conflict of interest in Seery’s plan to

  liquidate the funds.

          54.      HCM’s threat, made by Seery, is tantamount to not only a declaration that he

  intends to liquidate the funds regardless of whether the investors want to do so, and whether it is

  in their best interests, but also that HCM intends to leverage what it views as the Bankruptcy

  Court’s sympathy to evade accountability.

                                                        V.

                                           CAUSES OF ACTION

                                          FIRST CAUSE OF ACTION
                                         Breaches of Fiduciary Duty

          55.      Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein and further alleges the following:

          56.      HCM is a registered investment advisor and acts on behalf of HCFA. Both are

  fiduciaries to Plaintiffs.

          57.      The Advisers Act establishes an unwaivable federal fiduciary duty for investment

  advisers.5




  5
    See e.g, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
  Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
  the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
  discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
  sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
  establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
  No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
  interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
  Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)).

  Original Complaint                                                                                     Page 11
                                                                                                   Appx.000559
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 23 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page566
                                                              12of
                                                                 of783
                                                                    26 PageID
                                                                       PageID12
                                                                              6987



          58.     HCM and the DAF entered into an Amended and Restated Investment Advisory

  Agreement, executed between them on July 1, 2014 (the “RIA Agreement”). It renews annually

  and continued until the end of January 2021.

          59.     In addition to being the RIA to the DAF, HCM was appointed the DAF’s attorney-

  in-fact for certain actions, such as “to purchase or otherwise trade in Financial Instruments that

  have been approved by the General Partner.” RIA Agreement ¶ 4.

          60.     The RIA Agreement further commits HCM to value financial assets “in accordance

  with the then current valuation policy of the Investment Advisor [HCM], a copy of which will

  provided to the General Partner upon request.” RIA Agreement ¶ 5.

          61.     While HCM contracted for the recognition that it would be acting on behalf of

  others and could be in conflict with advice given the DAF, (RIA Agreement ¶ 12), nowhere did it

  purport to waive the fiduciary duties owed to the DAF not to trade as a principal in a manner that

  harmed the DAF.

          62.     HCFA owed a fiduciary duty to Holdco as an investor in HCLOF and to which

  HCFA was the portfolio manager. HCM owed a fiduciary duty to the DAF (and to Holdco as its

  subsidiary) pursuant to a written Advisory Agreement HCM and the DAF had where HCM agreed

  to provide sound investment advice and management functions.

          63.     As a registered investment adviser, HCM’s fiduciary duty is broad and applies to

  the entire advisor-client relationship.

          64.     The core of the fiduciary duty is to act in the best interest of their investors—the

  advisor must put the ends of the client before its own ends or the ends of a third party.




  Original Complaint                                                                           Page 12
                                                                                          Appx.000560
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 24 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page567
                                                              13of
                                                                 of783
                                                                    26 PageID
                                                                       PageID13
                                                                              6988



          65.     This is manifested in a duty of loyalty and a duty of utmost care. It also means that

  the RIA has to follow the terms of the company agreements and the regulations that apply to the

  investment vehicle.

          66.     The fiduciary duty that HCM and Seery owed to Plaintiff is predicated on trust and

  confidence. Section 204A of the Advisers Act requires investment advisors (whether SEC-

  registered or not) to establish, maintain, and enforce written policies and procedures reasonably

  designed to prevent the RIA from trading on material, non-public information. See 17 C.F.R. §

  275.206(4)-7. That means that Plaintiff should be able to take Defendants at their word and not

  have to second guess or dig behind representations made by them.

          67.     The simple thesis of this claim is that Defendants HCFA and HCM breached their

  fiduciary duties by (i) insider trading with Harbourvest and concealing the rising NAV of the

  underlying assets—i.e., trading with Harbourvest on superior, non-public information that was

  neither revealed to Harbourvest nor to Plaintiff; (ii) concealing the value of the Harbourvest

  Interests; and (iii) diverting the investment opportunity in the Harbourvest entities to HCM (or its

  designee) without offering it to or making it available to Plaintiff or the DAF.

          68.     HCM, as part of its contractual advisory function with Plaintiffs, had expressly

  recommended the HCLOF investment to the DAF. Thus, diverting the opportunity for returns on

  its investment was an additional breach of fiduciary duty.

          69.     This violated a multitude of regulations under 27 C.F.R. part 275, in addition to

  Rules 10b-5 and 10b5-1. 17 CFR 240.10b5-1 (“Rule 10b5-1”) explains that one who trades while

  possessing non-public information is liable for insider trading, and they do not necessarily have to

  have used the specific inside information.

          70.     It also violated HCM’s own internal policies and procedures.



  Original Complaint                                                                            Page 13
                                                                                           Appx.000561
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 25 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page568
                                                              14of
                                                                 of783
                                                                    26 PageID
                                                                       PageID14
                                                                              6989



          71.      Also, the regulations impose obligations on Defendants to calculate a current

  valuation when communicating with an investor, such as what may or may not be taken into

  account, and what cannot pass muster as a current valuation. Upon information and belief, these

  regulations were not followed by the Defendants.

          72.      HCM’s internal policies and procedures, which it promised to abide by both in the

  RIA Agreement and in its Form ADV SEC filing, provided for the means of properly calculating

  the value of the assets.

          73.      HCM either did not follow these policies, changed them to be out of compliance

  both with the Adviser Act regulations and its Form ADV representations, and/or simply

  misrepresented or concealed their results.

          74.      In so doing, because the fiduciary duty owed to Plaintiff is a broad one, and because

  Defendants’ malfeasance directly implicates its relationship with Plaintiff, Defendants have

  breached the Advisers Act’s fiduciary duties owed to Plaintiff as part of their fiduciary

  relationship.6

          75.      At no time between agreeing with Harbourvest to the purchase of its interests and

  the court approval did Defendants disclose to either Harbourvest or to Plaintiff (and the

  Bankruptcy Court for that matter) that the purchase was at below 50% the current net asset value

  as well, and when they failed to offer Plaintiff (and the other members of HCLOF) their right to

  purchase the interests pro rata at such advantageous valuations. Plaintiff’s lost opportunity to



  6
    See Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“[O]nce an investment
  Advisory relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary
  relationship by defrauding his client in any investment transaction connected to the Advisory
  relationship.”); see also SEC v. Lauer, No. 03-80612-CIV, 2008 U.S. Dist. LEXIS 73026, at 90 (S.D. Fla.
  Sept. 24, 2008) (“Unlike the antifraud provisions of the Securities Act and the Exchange Act, Section 206
  of the Advisers Act does not require that the activity be ‘in the offer or sale of any’ security or ‘in connection
  with the purchase or sale of any security.’”).

  Original Complaint                                                                                        Page 14
                                                                                                      Appx.000562
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 26 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page569
                                                              15of
                                                                 of783
                                                                    26 PageID
                                                                       PageID15
                                                                              6990



  purchase has harmed Plaintiff. Plaintiff had been led to believe by the Defendants that the value

  of what was being purchased in the Harbourvest settlement by HCM (or its designee) was at fair

  market value. This representation, repeated again in the Bankruptcy Court during the Harbourvest

  confirmation, implicitly suggested that a proper current valuation had been performed.

          76.     Defendant’s principal, Seery, testified in January 2021 that the then-current fair

  market value of Habourvests’s 49.98% interest in HCLOF was worth around $22.5 million. But

  by then, it was worth almost double that amount and has continued to appreciate. Seery knew or

  should have known that fact because the value of some of the HCLOF assets had increased, and

  he had a duty to know the current value. His lack of actual knowledge, while potentially not overtly

  fraudulent, would nonetheless amount to a breach of fiduciary duty for acting without proper

  diligence and information that was plainly available.

          77.     Furthermore, HCLOF holds equity in MGM Studios and debt in CCS Medical via

  various CLO positions. But Seery, in his role as CEO of HCM, was made aware during an advisors

  meeting in December 2020 that Highland would have to restrict its trading in MGM because of its

  insider status due to activities that were likely to apply upward pressure on MGM’s share price.

          78.     Furthermore, Seery controlled the Board of CCS Medical. And in or around

  October 2020, Seery was advocating an equatization that would have increased the value of the

  CCS securities by 25%, which was not reflected in the HCM report of the NAV of HCLOF’s

  holdings.

          79.     Seery’s knowledge is imputed to HCM.

          80.     Moreover, it is a breach of fiduciary duty to commit corporate waste, which is

  effectively what disposing of the HCLOF assets would constitute in a rising market, where there




  Original Complaint                                                                           Page 15
                                                                                          Appx.000563
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 27 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page570
                                                              16of
                                                                 of783
                                                                    26 PageID
                                                                       PageID16
                                                                              6991



  is no demand for disposition by the investors (save for HCM, whose proper 0.6% interest could

  easily be sold to the DAF at fair value).

          81.     As holder of 0.6% of the HCLOF interests, and now assignee of the 49.98%

  Harbourvest Interests), HCM has essentially committed self-dealing by threatening to liquidate

  HCLOF now that it may be compelled to do so under its proposed liquidation plan, which perhaps

  inures to the short term goals of HCM but to the pecuniary detriment of the other holders of

  HCLOF whose upside will be prematurely truncated.

          82.     Seery and HCM should not be allowed to benefit from the breach of their fiduciary

  duties because doing so would also cause Plaintiffs irreparable harm. The means and methods of

  disposal would likely render the full scope of damages to the DAF not susceptible to specific

  calculation—particularly as they would relate to calculating the lost opportunity cost. Seery and

  HCM likely do not have the assets to pay a judgment to Plaintiffs that would be rendered, simply

  taking the lost appreciation of the HCLOF assets.

          83.     Defendants are thus liable for diverting a corporate opportunity or asset that would

  or should have been offered to Plaintiff and the other investors. Because federal law makes the

  duties invoked herein unwaivable, it is preposterous that HCM, as a 0.6% holder of HCLOF,

  deemed itself entitled to the all of the value and optionality of the below-market Harbourvest

  purchase.

          84.     Defendants cannot rely on any contractual provision that purports to waive this

  violation. Nothing in any agreement purports to permit, authorize or otherwise sanitize

  Defendants’ self-dealing. All such provisions are void.

          85.     In the fourth quarter of 2020, Seery and HCM notified staff that they would be

  terminated on December 31, 2020. That termination was postponed to February 28, 2021.



  Original Complaint                                                                           Page 16
                                                                                          Appx.000564
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 28 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page571
                                                              17of
                                                                 of783
                                                                    26 PageID
                                                                       PageID17
                                                                              6992



  Purchasing the Harbourvest assets without staffing necessary to be a functioning Registered

  Investment Advisor was a strategic reversal from prior filings that outlined canceling the CLO

  management contracts and allowing investors to replace Highland as manager.

          86.     Seery’s compensation agreement with the UCC incentivizes him to expedite

  recoveries and to prevent transparency regarding the Harbourvest settlement.

          87.     What is more, Seery had previously testified that the management contracts for the

  funds—HCLOF included—were unprofitable, and that he intended to transfer them. But he later

  rejected offers to purchase those management contracts for fair value and instead decided to

  continue to manage the funds—which is what apparently gave rise to the Harbourvest Settlement,

  among others. He simultaneously rejected an offer for the Harbourvest assets of $24 million,

  stating that they were worth much more than that.

          88.     Because of Defendants’ malfeasance, Plaintiffs have lost over $25 million in

  damages—a number that continues to rise—and the Defendants should not be able to obtain a

  windfall.

          89.     For the same reason, Defendants’ malfeasance has also exposed HCLOF to a

  massive liability from Harbourvest since the assignment of those interests is now one that is likely

  unenforceable under the Advisers Act, Section 47(b), if there was unequal information.

          90.     HCM and HCFA are liable as principals for breach of fiduciary duty, as are the

  principals and compliance staff of each entity.

          91.     Plaintiffs seek disgorgement, damages, exemplary damages, attorneys’ fees and

  costs. To the extent the Court determines that this claim had to have been brought derivatively on

  behalf of HCLOF, then Plaintiffs represent that any pre-suit demand would have been futile since

  asking HCM to bring suit against its principal, Seery, would have been futile.



  Original Complaint                                                                           Page 17
                                                                                          Appx.000565
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 29 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page572
                                                              18of
                                                                 of783
                                                                    26 PageID
                                                                       PageID18
                                                                              6993



                                    SECOND CAUSE OF ACTION
                               Breach of HCLOF Company Agreement
                           (By Holdco against HCLOF, HCM and HCFA)

             92.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

   forth herein and further alleges the following:

             93.   On November 15, 2017, the members of HCLOF, along with HCLOF and HCFA,

  executed the Members Agreement Relating to the Company (the “Company Agreement”).

             94.   The Company Agreement governs the rights and duties of the members of HCLOF.

             95.   Section 6.2 of HCLOF Company Agreement provides that when a member “other

  than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

  third party (i.e., not to an affiliate of the selling member), then the other members have the first

  right of refusal to purchase those interests pro rata for the same price that the member has agreed

  to sell.

             96.   Here, despite the fact that Harbourvest agreed to sell its interests in HCLOF for

  $22.5 million when they were worth more than double that, Defendants did not offer Plaintiff the

  chance to buy its pro rata share of those interests at the same agreed price of $22.5 million (adjusted

  pro rata).

             97.   The transfer and sale of the interests to HCM were accomplished as part of the

  Harbourvest Settlement which was approved by the Bankruptcy Court.

             98.   Plaintiff was not informed of the fact that Harbourvest had offered its shares to

  Defendant HCM for $22.5 million—which was under 50% of their true value.

             99.   Plaintiff was not offered the right to purchase its pro rata share of the Harbourvest

  interests prior to the agreement being struck or prior to court approval being sought.




  Original Complaint                                                                              Page 18
                                                                                            Appx.000566
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 30 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
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                                            10/01/21
                                              04/12/21 Page
                                                        Page573
                                                              19of
                                                                 of783
                                                                    26 PageID
                                                                       PageID19
                                                                              6994



          100.    Had Plaintiff been allowed to do so, it would have obtained the interests with a net

  equity value over their purchase price worth in excess of $20 million.

          101.    No discovery or opportunity to investigate was afforded Plaintiff prior to lodging

  an objection in the Bankruptcy Court.

          102.    Plaintiff is entitled to specific performance or, alternatively, disgorgement,

  constructive trust, damages, attorneys’ fees and costs.

                                     THIRD CAUSE OF ACTION
                                           Negligence
                       (By the DAF and CLO Holdco against HCM and HCFA)

          103.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein, and further alleges the following:

          104.    Plaintiffs incorporate the foregoing causes of action and note that all the foregoing

  violations were breaches of the common law duty of care imposed by law on each of Seery, HCFA

  and HCM.

          105.    Each of these Defendants should have known that their actions were violations of

  the Advisers Act, HCM’s internal policies and procedures, the Company Agreement, or all three.

          106.    Seery and HCM owed duties of care to Plaintiffs to follow HCM’s internal policies

  and procedures regarding both the propriety and means of trading with a customer [Harbourvest],

  the propriety and means of trading as a principal in an account but in a manner adverse to another

  customer [the DAF and Holdco], and the proper means of valuing the CLOs and other assets held

  by HCLOF.

          107.    It would be foreseeable that failing to disclose the current value of the assets in the

  HCLOF would impact Plaintiffs negatively in a variety of ways.




  Original Complaint                                                                             Page 19
                                                                                            Appx.000567
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 31 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page574
                                                              20of
                                                                 of783
                                                                    26 PageID
                                                                       PageID20
                                                                              6995



          108.    It would be reasonably foreseeable that failing to correctly and accurately calculate

  the current net asset value of the market value of the interests would cause Plaintiffs to value the

  Harbourvest Interests differently.

          109.    It would be reasonably foreseeable that referring to old and antiquated market

  quotations and/or valuations of the HCLOF assets or interests would result in a mis-valuation of

  HCLOF and, therefore, a mis-valuation of the Harbourvest Interests.

          110.    Likewise, it would have been foreseeable that Plaintiff’s failure to give Plaintiff the

  opportunity to purchase the Harbourvest shares at a $22.5 million valuation would cause Plaintiff

  damages. Defendants knew that the value of those assets was rising. They further knew or should

  have known that whereas those assets were sold to HCM for an allowance of claims to be funded

  in the future, selling them to Plaintiff would have provided the estate with cash funds.

          111.    Defendants’ negligence foreseeably and directly caused Plaintiff harm.

          112.    Plaintiff is thus entitled to damages.

                                       FOURTH CAUSE OF ACTION
                        Racketeering Influenced Corrupt Organizations Act
                                (CLO Holdco and DAF against HCM)

          113.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein, and further alleges the following:

          114.    Defendants are liable for violations of the Racketeer Influenced and Corrupt

  Organizations (“RICO”) Act, 18 U.S.C. § 1961 et seq., for the conduct of an enterprise through a

  pattern of racketeering activity.

          115.    HCLOF constitutes an enterprise under the RICO Act. Additionally, or in the

  alternative, HCM, HCLA, and HCLOF constituted an association-in-fact enterprise. The purpose

  of the association-in-fact was the perpetuation of Seery’s position at HCM and using the



  Original Complaint                                                                              Page 20
                                                                                             Appx.000568
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 32 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
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                                            10/01/21
                                              04/12/21 Page
                                                        Page575
                                                              21of
                                                                 of783
                                                                    26 PageID
                                                                       PageID21
                                                                              6996



  Harbourvest settlement as a vehicle to enrich persons other than the HCLOF investors, including

  Holdco and the DAF, and the perpetuation of HCM’s holdings in collateralized loan obligations

  owned by HCLOF, while attempting to deny Plaintiffs the benefit of its rights of ownership.

          116.    The association-in-fact was bound by informal and formal connections for years

  prior to the elicit purpose, and then changed when HCM joined it in order to achieve the

  association’s illicit purpose. For example, HCM is the parent and control person over HCFA,

  which is the portfolio manager of HCLOF pursuant to a contractual agreement—both are

  registered investment advisors and provide advisory and management services to HCLOF.

          117.    Defendants injured Plaintiffs through their continuous course of conduct of the

  HCM-HCLA-HCLOF association-in-fact enterprise. HCM’s actions (performed through Seery

  and others) constitute violations of the federal wire fraud, mail fraud, fraud in connection with a

  case under Title 11, and/or securities fraud laws, pursuant to 18 U.S.C. § 1961(1)(B) and (D).

          118.    HCM operated in such a way as to violate insider trading rules and regulations when

  it traded with Harbourvest while it had material, non-public information that it had not supplied to

  Harbourvest or to Plaintiffs.

          119.    In or about November 2020, HCM and Harbourvest entered into discussions about

  settling the Harbourvest Claims. Seery’s conduct of HCLOF and HCLA on behalf of HCM through

  the interstate mails and/or wires caused HCM to agree to the purchase of Harbourvest’s interests

  in HCLOF.

          120.    On or about each of September 30, 2020, through December 31, 2020, Seery,

  through his conduct of the enterprise, utilized the interstate wires and/or mails to obtain or arrive

  at valuations of the HCLOF interests. Seery’s conduct of the enterprise caused them to cease




  Original Complaint                                                                            Page 21
                                                                                          Appx.000569
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 33 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page576
                                                              22of
                                                                 of783
                                                                    26 PageID
                                                                       PageID22
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  sending the valuation reports to Plaintiffs, which eventually allowed Plaintiffs to be misled into

  believing that Seery had properly valued the interests.

          121.    On or about September 30, 2020, Seery transmitted or caused to be transmitted

  though the interstate wires information to HCLOF investors from HCM (via HCFA), including

  Harbourvest, regarding the value of HCLOF interests and underlying assets.

          122.    Additionally, Seery operated HCM in such a way that he concealed the true value

  of the HCLOF interests by utilizing the interstate wires and mails to transmit communications to

  the court in the form of written representations on or about December 23, 2020, and then further

  transmitted verbal representations of the current market value (the vastly understated one) on

  January 14, 2021, during live testimony.

          123.    However, Harbourvest was denied the full picture and the true value of the

  underlying portfolio. At the end of October and November of 2020, HCM had updated the net

  asset values of the HCLOF portfolio. According to sources at HCM at the time, the HCLOF assets

  were worth north of $72,969,492 as of November 30, 2020. Harbourvest’s share of that would

  have been $36,484,746.

          124.    The HCLOF net asset value had reached $86,440,024 as of December 31, 2021,

  which means that by the time Seery was testifying in the Bankruptcy Court on January 14, 2021,

  the fair market value of the Harbourvest Assets was $22.5 million, when it was actually closer to

  $43,202,724. Seery, speaking on behalf of HCM, knew of the distinction in value.

          125.    On January 14, 2021, Seery also testified that he (implying HCM, HCLA and

  HCLOF) had valued the Harbourvest Assets at their current valuation and at fair market value.

  This was not true because the valuation that was used and testified to was ancient. The ostensible

  purpose of this concealment was to induce Plaintiff and other interest holdings to take no action.



  Original Complaint                                                                          Page 22
                                                                                         Appx.000570
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 34 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page577
                                                              23of
                                                                 of783
                                                                    26 PageID
                                                                       PageID23
                                                                              6998



          126.    In supporting HCM’s motion to the Bankruptcy Court to approve the Harbourvest

  Settlement, Seery omitted the fact that HCM was purchasing the interests at a massive discount,

  which would violate the letter and spirit of the Adviser’s Act.

          127.    Seery was informed in late December 2020 at an in-person meeting in Dallas to

  which Seery had to fly that HCLOF and HCM had to suspend trading in MGM Studios’ securities

  because Seery had learned from James Dondero, who was on the Board of MGM, of a potential

  purchase of the company. The news of the MGM purchase should have caused Seery to revalue

  the HCLOF investment in MGM.

          128.    In or around October 2020, Seery (who controls the Board of CSS Medical) was

  pursuing “equatization” of CSS Medical’s debt, which would have increased the value of certain

  securities by 25%. In several communications through the U.S. interstate wires and/or mails, and

  with Plaintiffs, and the several communications with Harbourvest during the negotiations of the

  settlement, Seery failed to disclose these changes which were responsible in part for the ever-

  growing value of the HCLOF CLO portfolio.

          129.    Seery was at all relevant times operating as an agent of HCM.

          130.    This series of related violations of the wire fraud, mail fraud, and securities fraud

  laws, in connection with the HCM bankruptcy, constitute a continuing pattern and practice of

  racketeering for the purpose of winning a windfall for HCM and himself--a nearly $30,000,000

  payday under the confirmation agreement.

          131.    The federal RICO statute makes it actionable for one’s conduct of an enterprise to

  include “fraud in connection with a [bankruptcy case]”. The Advisers’ Act antifraud provisions

  require full transparency and accountability to an advisers’ investors and clients and does not

  require a showing of reliance or materiality. The wire fraud provision likewise is violated when,



  Original Complaint                                                                            Page 23
                                                                                           Appx.000571
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 35 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page578
                                                              24of
                                                                 of783
                                                                    26 PageID
                                                                       PageID24
                                                                              6999



  as here, the interstate wires are used as part of a “scheme or artifice … for obtaining money or

  property by means of false … pretenses, [or] representations[.]”

          132.    Accordingly, because Defendants’ conduct violated the wire fraud and mail fraud

  laws, and the Advisers’ Act antifraud provisions, and their acts and omissions were in connection

  with the HCM Bankruptcy proceedings under Title 11, they are sufficient to bring such conduct

  within the purview of the RICO civil action provisions, 18 U.S.C. § 1964.

          133.    Plaintiffs are thus entitled to damages, treble damages, attorneys’ fees and costs of

  suit, in addition to all other injunctive or equitable relief to which they are justly entitled.

                                        FIFTH CAUSE OF ACTION
                                          Tortious Interference
                                      (CLO Holdco against HCM)

          134.    Plaintiff respectfully incorporates the foregoing factual averments as if fully set

  forth herein and further alleges the following:

          135.    At all relevant times, HCM owned a 0.6% interest in HCLOF.

          136.    At all relevant times, Seery and HCM knew that Plaintiff had specific rights in

  HCLOF under the Company Agreement, § 6.2.

          137.    Section 6.2 of HCLOF Company agreement provides that when a member “other

  than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

  third party (i.e., not an affiliate of the member), then the other members have the first right of

  refusal to purchase those interests pro rata for the same price that the member has agreed to sell.

          138.    HCM, through Seery, tortiously interfered with Plaintiff’s contractual rights with

  HCLOF by, among other things, diverting the Harbourvest Interests in HCLOF to HCM without

  giving HCLOF or Plaintiff the option to purchase those assets at the same favorable price that

  HCM obtained them.



  Original Complaint                                                                                 Page 24
                                                                                              Appx.000572
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 36 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page579
                                                              25of
                                                                 of783
                                                                    26 PageID
                                                                       PageID25
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          139.     HCM and Seery tortiously interfered with Plaintiff’s contractual rights with

  HCLOF by, among other things, misrepresenting the fair market value as $22.5 million and

  concealing the current value of those interests.

          140.    But for HCM and Seery’s tortious interference, Plaintiff would have been able to

  acquire the Harbourvest Interests at a highly favorable price. HCM and Seery’s knowledge of the

  rights and intentional interference with these rights has caused damage to Plaintiff CLO Holdco.

          141.    Plaintiff is therefore entitled to damages from HCM and Seery, as well as

  exemplary damages.

                                                     VI.

                                            JURY DEMAND

          142.    Plaintiff demands trial by jury on all claims so triable.

                                                     VII.

                                       PRAYER FOR RELIEF

          143.    Wherefore, for the foregoing reasons, Plaintiffs respectfully pray that the Court

  enter judgment in its favor and against Defendants, jointly and severally, for:

              a. Actual damages;

              b. Disgorgement;

              c. Treble damages;

              d. Exemplary and punitive damages;

              e. Attorneys’ fees and costs as allowed by common law, statute or contract;

              f. A constructive trust to avoid dissipation of assets;

              g. All such other relief to which Plaintiff is justly entitled.




  Original Complaint                                                                        Page 25
                                                                                       Appx.000573
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 37 of 48
 Case
    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
                        Document
                          Document15 1Filed
                                        Filed
                                            10/01/21
                                              04/12/21 Page
                                                        Page580
                                                              26of
                                                                 of783
                                                                    26 PageID
                                                                       PageID26
                                                                              7001



  Dated: April 12, 2021                     Respectfully submitted,

                                            SBAITI & COMPANY PLLC

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                                            Counsel for Plaintiffs




  Original Complaint                                                         Page 26
                                                                        Appx.000574
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 38 of 48
 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 581 of 783 PageID 7002




           EXHIBIT 2



                                                                       Appx.000575
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 39 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
                           Document
                                  15 6Filed
                                         Filed
                                            10/01/21
                                               04/19/21Page
                                                         Page
                                                            582
                                                              1 of 783
                                                                   10 PageID
                                                                       PageID42
                                                                              7003



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS

   CHARITABLE DAF FUND, L.P.                              §
   and CLO HOLDCO, LTD.,                                  §
   directly and derivatively,                             §
                                                          §
                    Plaintiffs,                           §
                                                          §
                       v.                                 §   CAUSE NO. 3:21-cv-00842-B
                                                          §
   HIGHLAND CAPITAL MANAGEMENT,                           §
   L.P., HIGHLAND HCF ADVISOR, LTD.,                      §
   and HIGHLAND CLO FUNDING, LTD.,                        §
   nominally,                                             §
                                                          §
                   Defendants.                            §


     PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                                   I.
                                     NECESSITY OF MOTION
         Plaintiffs submit this Motion under Rule 15 of the Federal Rules of Civil Procedure for one

  purpose: to name as defendant one James P. Seery, Jr., the CEO of Defendant Highland Capital

  Management, L.P. (“HCM”), and the chief perpetrator of the wrongdoing that forms the basis of

  Plaintiffs’ causes of action.

         Seery is not named in the Original Complaint. But this is only out of an abundance of

  caution due to the bankruptcy court, in HCM’s pending Chapter 11 proceeding, having issued an

  order prohibiting the filing of any causes of action against Seery in any way related to his role at

  HCM, subject to certain prerequisites. In that order, the bankruptcy court also asserts “sole

  jurisdiction” over all such causes of action.

         Plaintiffs respectfully submit that, to the extent the bankruptcy court order prohibits the

  filing of an action in this Court, whose jurisdiction the bankruptcy court’s jurisdiction is wholly


  ______________________________________________________________________________
  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 1

                                                                                          Appx.000576
Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 40 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
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  derivative of, that order exceeds the bankruptcy court’s powers and is unenforceable.

  Alternatively, Plaintiffs submit that filing this Motion satisfies the prerequisites provided in the

  bankruptcy court’s order. Either of these reasons provides sufficient grounds to grant this Motion.

         The proposed First Amended Complaint is attached as Exhibit 1.

                                                  II.
                                          BACKGROUND
         On June 23, 2020, counsel for HCM filed a motion in HC’s bankruptcy proceedings asking

  the bankruptcy court to defer to the “business judgment” of the board’s compensation committee

  and approve the terms of its appointment of Seery as chief executive officer and chief restructuring

  officer at HCM, retroactive to March.1 Counsel also asked the bankruptcy court to declare that it

  had exclusive jurisdiction over any claims asserted against Seery in this role.

         On July 16, 2020, the bankruptcy court granted that motion and stated as follows:

             No entity may commence or pursue a claim or cause of action of any kind
             against Mr. Seery relating in any way to his role as the chief executive
             officer and chief restructuring officer of the Debtor without the Bankruptcy
             Court (i) first determining after notice that such claim or cause of action
             represents a colorable claim of willful misconduct or gross negligence
             against Mr. Seery, and (ii) specifically authorizing such entity to bring such
             claim. The Bankruptcy Court shall have sole jurisdiction to adjudicate
             any such claim for which approval of the Court to commence or pursue
             has been granted.2



   1
     Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
  Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign
  Representative Nunc Pro Tunc to March 15, 2020 [Doc. 774]. This motion is attached as Exhibit
  2.
   2
     Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b)
  Authorizing Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
  Officer, and Foreign Representative Nunc Pro Tunc to March 15, 2020 [Doc 854]. A related order
  dated January 9, 2020, contains a similar provision with regard to Seery’s role as an “Independent
  Director.” Order Approving Settlement with Official Committee of Unsecured Creditors
  Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course [Doc
  339]. These orders are attached, respectively, as Exhibits 3 and 4.
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  Plaintiffs’ Motion for Leave to File First Amended Complaint                                Page 2

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 41 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
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                                               04/19/21Page
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                                                                   10 PageID
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          On March 22, 2021, the bankruptcy court entered an order confirming HCM’s

  reorganization plan.3 That order purports to extend the prohibitions on suits against Seery, and it

  also prohibits certain actions against HCM and its affiliates. By its own terms, however, that order

  is not effective due to a pending appeal.

          On April 12, 2021, Plaintiffs filed their Original Complaint in this action, alleging that

  HCM and related entities are liable as a result of insider trading and other violations of the antifraud

  provisions of the Investment Company Act of 1940, among other causes of action. The Original

  Complaint does not name Seery as a defendant. But the action is based on Seery’s

  misrepresentations, omissions, and other breaches of duty committed in his role as HCM’s CEO,

  which are sufficient to demonstrate his willful misconduct or gross negligence, though Plaintiffs

  submit that mere negligence and breach of fiduciary duty also form sufficient bases for his personal

  liability.

                                                    III.

                                              ARGUMENT

          This Court should grant leave to amend because the liberal policies behind Rule 15 require

  it and because leave is not prohibited by the bankruptcy court’s order.

  A. Rule 15(a) Allows Plaintiffs’ Amendment As a Matter of Course

          Rule 15(a) instructs the Court to “freely give leave [to amend] when justice so requires.”

  FED. R. CIV. P. 15(a). The Fifth Circuit, in Martin’s Herend Imports, Inc. v. Diamond & Gem

  Trading United States Co., 195 F.3d 765 (5th Cir. 1999), interpreted the rule as “evinc[ing] a bias

  in favor of granting leave to amend.” Id. at 770. Thus the Court must possess a “substantial reason”



   3
    Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
  (As Modified) And (II) Granting Related Relief [Doc. 1943].
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  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 3

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 42 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
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                                                              4 of 783
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  to deny a request for leave to amend. Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282,

  286 (5th Cir. 2002); Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985); cf. Foman v. Davis,

  371 U.S. 178, 182 (1962) (explaining that leave should be granted “[i]n the absence of any apparent

  or declared reason—such as undue delay, bad faith or dilatory motive on the part of the movant,

  repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

  opposing party by virtue of allowance of the amendment, futility of amendment, etc.”).

         Moreover, one amendment, filed within 21 days of service of the pleading it seeks to amend

  or before a responsive pleading is filed, is allowed “as a matter of course.” Fed. R. Civ. P. 15(a)(1);

  Zaidi v. Ehrlich, 732 F.2d 1218, 1220 (5th Cir. 1984) (“When, as in this case, a plaintiff who has

  a right to amend nevertheless petitions the court for leave to amend, the court should grant the

  petition.”); Galustian v. Peter, 591 F.3d 724, 729-30 (4th Cir. 2010) (holding that district court

  abused its discretion in denying timely motion to amend adding defendant because “[t]he

  plaintiff’s right to amend once is absolute”); Rogers v. Girard Tr. Co., 159 F.2d 239, 241 (6th Cir.

  1947) (holding that complaint may be amended as matter of course where defendant has filed no

  responsive pleading, and leave of district court is not necessary, but it is error to deny leave when

  asked); Bancoult v. McNamara, 214 F.R.D. 5, 7-8 (D.D.C. 2003) (holding that plaintiff’s filing of

  a motion for leave to amend does not nullify plaintiff’s absolute right to amend once before

  responsive pleadings, even if the amendment would be futile).

         Here, Plaintiffs did not name Seery as a defendant in the Original Complaint out of an

  abundance of caution in light of the bankruptcy court’s order of July 16, 2020 [Doc. 854]. Instead,

  Plaintiffs are seeking leave in this Motion to do so. Because the proposed amendment is their first,

  and because it comes within 21 days of service of the Original Complaint, as well as before any




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  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 4

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 43 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
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                                               04/19/21Page
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                                                            586
                                                              5 of 783
                                                                   10 PageID
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  responsive pleadings, Plaintiffs respectfully submit that they are entitled to leave and their

  proposed First Amended Complaint should be allowed.

  B. The Bankruptcy Court’s Order Should Not Prohibit Plaintiffs’ Amendment

          Plaintiffs submit that the bankruptcy court order of July 16, 2020, does not prohibit the

  proposed amendment for two independent reasons.

          1. The Bankruptcy Court’s Order Exceeds Its Jurisdiction

                  a. The Bankruptcy Court Cannot Strip This Court of Jurisdiction

          Because the bankruptcy court’s jurisdiction derives from and is dependent upon the

  jurisdiction of this Court, its order declaring that it has “sole jurisdiction” is overreaching.

          Congress provided for and limited the jurisdiction of bankruptcy courts in 28 U.S.C. § 1334

  and 28 U.S.C. § 157. As a result, bankruptcy court jurisdiction derives from and is limited by

  statute. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995) (“The jurisdiction of the bankruptcy

  courts, like that of other federal courts, is grounded in, and limited by, statute.”); Williams v.

  SeaBreeze Fin., LLC (In re 7303 Holdings, Inc.), Nos. 08-36698, 10-03079, 2010 Bankr. LEXIS

  2938 at *7 (Bankr. S.D. Tex. Aug. 26, 2010) (“A bankruptcy court’s jurisdiction is derivative of

  the district court’s jurisdiction. The bankruptcy court does not have jurisdiction unless the district

  court could exercise authority over the matter . . . .”). The plain provisions of § 1334 grant to the

  district courts “original jurisdiction” over all bankruptcy cases and related civil proceedings. 28

  U.S.C. § 1334(a)-(b). What Congress giveth, the bankruptcy courts cannot taketh away.

                  b. The Barton Doctrine Does Not Apply

          The bankruptcy court’s overreach seems to stem from a misapplication of the Barton

  doctrine. That doctrine protects receivers and trustees who are appointed by the bankruptcy court.

  Randazzo v. Babin, No. 15-4943, 2016 U.S. Dist. LEXIS 110465, at *3 (E.D. La. Aug. 18, 2016)


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  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 5

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 44 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
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                                            10/01/21
                                               04/19/21Page
                                                         Page
                                                            587
                                                              6 of 783
                                                                   10 PageID
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  (“While the Barton case involved a receiver in state court, the United States Court of Appeals for

  the Fifth Circuit has extended this principle, now known as the Barton doctrine, to lawsuits against

  bankruptcy trustees for acts committed in their official capacities.”). The doctrine does not apply

  to executives of a debtor, like Seery, who are not receivers or trustees, and who are stretching the

  truth to claim that they were “appointed” by the bankruptcy court after asking it merely to approve

  their appointment in deference to their discretion under the business judgment rule.4

                  c. The Order Exceeds the Constitutional Limits of the Bankruptcy Court’s
                     Jurisdiction

          Plainly the bankruptcy court does not have “sole jurisdiction” over all causes of action that

  might be brought against Seery related to his role as HCM’s CEO. But more to the point, the

  bankruptcy court does not even have concurrent jurisdiction over all such claims. The separation

  of powers doctrine does not allow that. See Stern v. Marshall, 564 U.S. 462, 499 (2011) (holding

  that Congress cannot bypass Article III and create jurisdiction in bankruptcy courts “simply

  because a proceeding may have some bearing on a bankruptcy case”); id. at 488 (quoting Murray’s

  Lessee v. Hoboken Land & Improvement Co., 59 U.S. 272, 284 (1856), for the proposition that

  “Congress cannot ‘withdraw from judicial [read Article III] cognizance any matter which, from its

  nature, is the subject of a suit at the common law, or in equity, or admiralty’” with the limited

  exception of matters involving certain public rights); id. at 494 (quoting the dissent’s quote of

  Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 584 (1985), for the proposition

  that “Congress may not vest in a non-Article III court the power to adjudicate, render final

  judgment, and issue binding orders in a traditional contract action arising under state law,” and


   4
     Exhibit 2 at 14-15 (arguing that the bankruptcy court should not “interfere” with their “corporate
  decisions . . . as long as they are attributable to any rational business purpose”) (internal quotes omitted);
  id. at 5-7 (detailing the compensation committee’s “appointment” of Seery as CEO as well as chief
  restructuring officer).
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  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 6

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 45 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
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                                            10/01/21
                                               04/19/21Page
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                                                              7 of 783
                                                                   10 PageID
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  then adding “tort” to the rule for purposes of the matter before it); cf. In re Prescription Home

  Health Care, 316 F.3d 542, 548 (5th Cir. 2002) (holding that trustee’s tax liability was not within

  the bankruptcy court’s related-to jurisdiction and rejecting “the theory that a bankruptcy court has

  jurisdiction to enjoin any activity that threatens the debtor’s reorganization prospects [because

  that] would permit the bankruptcy court to intervene in a wide variety of third-party disputes [such

  as] any action (however personal) against key corporate employees, if they were willing to state

  that their morale, concentration, or personal credit would be adversely affected by that action”).

  The bankruptcy court’s order asserting “sole jurisdiction” here is hardly even relevant since that

  court lacks the power to expand its jurisdiction or manufacture jurisdiction where none exists.

         The proposed First Amended Complaint asserts common law and equitable contract and

  tort claims. For the reasons explained by the Supreme Court in Stern, such claims should not be

  deemed within the bankruptcy court’s jurisdiction.

                 d. The Order Exceeds the Bankruptcy Court’s Statutory Authorization

         Not only are there constitutional issues with the scope of the bankruptcy court’s order,

  there is also the limitation of 28 U.S.C. § 157(d). See TMT Procurement Corp. v. Vantage Drilling

  Co. (In re TMT Procurement Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy

  court’s “more limited jurisdiction” as a result of its “limited power” under 28 U.S.C. § 157). In §

  157(d), Congress prohibited the bankruptcy court, absent the parties’ consent, from presiding over

  cases or proceedings that require consideration of both Title 11 and other federal law regulating

  organizations or activities affecting interstate commerce.

         The First Amended Complaint’s allegations against Seery—accusing him of insider

  trading, violations of the RICO statute (18 U.S.C. § 1961 et seq.), and violations of the antifraud

  provisions of the Investment Advisers Act of 1940—require precisely that. Even determining the


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  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 7

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 46 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
                        Document
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                                            10/01/21
                                               04/19/21Page
                                                         Page
                                                            589
                                                              8 of 783
                                                                   10 PageID
                                                                       PageID49
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  “colorability” of such claims will require a close examination of both the proceedings that took

  place in the bankruptcy court under Title 11 and the Investment Advisers Act as well as the RICO

  statute. The bankruptcy court lacks the authority to make such determinations. This Court has that

  power.

           Thus, at least as it applies to the proposed First Amended Complaint, the bankruptcy

  court’s order exceeds its authority under 28 U.S.C. § 157(d), and any determination of

  “colorability” should take place in this Court, which Rule 12(b)(6) of the Federal Rules of Civil

  Procedure already provides for. To hold otherwise would create unnecessary tension with the

  congressional aims of 28 U.S.C. § 959 (“Trustees, receivers or managers of any property, including

  debtors in possession, may be sued, without leave of the court appointing them, with respect to

  any of their acts or transactions in carrying on business connected with such property.”).

           2. The Prerequisites in the Bankruptcy Court’s Order Are Satisfied by This Motion
              and the Detailed Allegations in the Proposed First Amended Complaint

           Alternatively, or in addition, should this Court read the bankruptcy court’s order as

  prohibiting the filing of actions against Seery even in this Court, Plaintiffs submit that this Motion

  seeking leave provides the mechanisms required by that order and therefore satisfies it.

           The bankruptcy court’s order requires only that any contemplated action must first be

  submitted to that court for a preliminary determination of colorability. Because that court only has

  derivative jurisdiction as a result of this Court’s jurisdiction—and only over matters referred to it

  by this Court—Plaintiffs submit that filing a motion for leave here is the correct procedure for

  complying with that order. This Court may refer this Motion to the bankruptcy court under

  Miscellaneous Order No. 33, as authorized by § 104 of the Bankruptcy Amendments and Federal

  Judgeship Act of 1984, codified at 28 U.S.C. § 157(a). Or it may instead decline to refer the Motion

  or withdraw the reference under 28 U.S.C. § 157(d), as Plaintiffs submit is appropriate for the
  ______________________________________________________________________________
  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 8

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 47 of 48
 CaseCase
       3:21-cv-01585-S
           3:21-cv-00842-B
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                                            10/01/21
                                               04/19/21Page
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                                                              9 of 783
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  reasons addressed above. Regardless, this Motion presents the issue in a manner that allows the

  bankruptcy court to address it, should this Court decide that the bankruptcy court is authorized to

  do so. Cf. Confirmation Order [Doc. 1943] at 77, ¶ AA (“The Bankruptcy Court will have sole and

  exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only to the

  extent legally permissible and as provided for in Article XI of the Plan, shall have jurisdiction to

  adjudicate the underlying colorable claim or cause of action.”) (emphasis added).

         Plaintiffs therefore submit that, by filing this Motion in this Court, they have complied with

  the bankruptcy court’s order.

                                                  IV.

                                           CONCLUSION

         Plaintiffs are entitled to amend as a matter of course. The bankruptcy court lacks

  jurisdiction to prohibit the proposed amendment. In these circumstances, Plaintiffs respectfully

  submit that the interests of justice support the granting of leave to amend, and Rule 15(a) requires

  that this Motion be granted.

  Dated: April 19, 2021                                 Respectfully submitted,

                                                        SBAITI & COMPANY PLLC

                                                        /s/ Jonathan Bridges
                                                        Mazin A. Sbaiti
                                                        Texas Bar No. 24058096
                                                        Jonathan Bridges
                                                        Texas Bar No. 24028835
                                                        JPMorgan Chase Tower
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                                                        Dallas, TX 75201
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                                                            jeb@sbaitilaw.com

                                                        Counsel for Plaintiffs
  ______________________________________________________________________________
  Plaintiffs’ Motion for Leave to File First Amended Complaint             Page 9

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Case 19-34054-sgj11 Doc 2248 Filed 04/27/21 Entered 04/27/21 11:13:29 Page 48 of 48
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    Case
       3:21-cv-01585-S
          3:21-cv-00842-B
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                                              04/19/21 Page
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                              CERTIFICATE OF CONFERENCE

         I hereby certify that, on April 19, 2021, I conferred with Defendant HCM’s counsel in the
  HCM bankruptcy proceedings regarding this Motion. I have not conferred with counsel for the
  other Defendants because they have not been served and I do not know who will represent them.
  HCM’s counsel indicated that they are opposed to the relief sought in this Motion.



                                                     /s/ Jonathan Bridges
                                                     Jonathan Bridges




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  Plaintiffs’ Motion for Leave to File First Amended Complaint            Page 10

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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 592 of 783 PageID 7013



                             EXHIBIT 26




                                                                   Appx.000586
    Case 19-34054-sgj11 Doc 2506 Filed 06/30/21 Entered 06/30/21 13:58:26 Page 1 of 2
     Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 593Docket   #2506 Date Filed: 06/30/2021
                                                                 of 783  PageID 7014




The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 29, 2021
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION
                                                                        §
         In re:
                                                                        § Chapter 11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                        § Case No. 19-34054-sgj11
                                                                        §
                                            Debtor.
                                                                        §

          ORDER DENYING MOTION FOR MODIFICATION OF ORDER AUTHORIZING
          RETENTION OF JAMES P. SEERY, JR. FILED BY CHARITABLE DAF FUND L.P.
                                AND CLO HOLDCO, LTD.


                  This matter having come before the Court on the Motion for Modification of Order

     Authorizing Retention of James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction [Docket

     No. 2248] (the “Motion”) 2 filed by Charitable DAF Fund, L.P. and CLO Holdco, Ltd. in the above-

     captioned chapter 11 case (the “Bankruptcy Case”); and this Court having considered (a) the

     Motion; (b) the Debtor’s Objection to Motion for Modification of Order Authorizing Retention of



     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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 Case 3:21-cv-01585-S Document 15 Filed 10/01/21 Page 594 of 783 PageID 7015



James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction [Docket No. 2311] (the

“Objection”) filed by Highland Capital Management, L.P., the above-captioned debtor and debtor-

in-possession (the “Debtor”); (c) the documents admitted into evidence during the hearing held on

June 25, 2021 with respect to the Motion (the “Hearing”); and (d) the arguments made during the

Hearing; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

this Court having found that venue of this proceeding and the Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and upon all of the proceedings had before this Court;

and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

        1.       The Motion is DENIED for the reasons stated on the record during the Hearing.

        2.       The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from the implementation of this Order.

                                       ###End of Order###




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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 595 of 783 PageID 7016



                             EXHIBIT 27




                                                                   Appx.000589
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 596 of 783 PageID 7017


                     IN THE UNITED STATES BANKRUPTCY COURT
  1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
  2
                                      )    Case No. 19-34054-sgj-11
  3   In Re:                          )    Chapter 11
                                      )
  4   HIGHLAND CAPITAL                )    Dallas, Texas
      MANAGEMENT, L.P.,               )    Friday, June 25, 2021
  5                                   )    9:30 a.m. Docket
                Debtor.               )
  6                                   )    EXCERPT: MOTION FOR
                                      )    MODIFICATION OF ORDER
  7                                   )    AUTHORIZING RETENTION OF JAMES
                                      )    P. SEERY, JR. DUE TO LACK OF
  8                                   )    SUBJECT MATTER JURISDICTION
                                      )    (2248)
  9                                   )
 10                        TRANSCRIPT OF PROCEEDINGS
                  BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
 11                     UNITED STATES BANKRUPTCY JUDGE.
 12   WEBEX APPEARANCES:
 13   For the Debtor:                 Jeffrey Nathan Pomerantz
                                      PACHULSKI STANG ZIEHL & JONES, LLP
 14                                   10100 Santa Monica Blvd.,
                                        13th Floor
 15                                   Los Angeles, CA 90067-4003
                                      (310) 277-6910
 16
      For the Debtor:                 John A. Morris
 17                                   PACHULSKI STANG ZIEHL & JONES, LLP
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 18                                   New York, NY 10017-2024
                                      (212) 561-7700
 19
      For CLO Holdco, Ltd. and        Jonathan E. Bridges
 20   The Charitable DAF Fund,        Mazin Ahmad Sbaiti
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 21                                   JP Morgan Chase Tower
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 22                                   Dallas, TX 75201
                                      (214) 432-2899
 23
      For Get Good Trust and          Douglas S. Draper
 24   Dugaboy Investment Trust:       HELLER, DRAPER & HORN, LLC
                                      650 Poydras Street, Suite 2500
 25                                   New Orleans, LA 70130
                                      (504) 299-3300


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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 597 of 783 PageID 7018
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  1   APPEARANCES, cont'd.:
  2   For the Official Committee      Matthew A. Clemente
      of Unsecured Creditors:         SIDLEY AUSTIN, LLP
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  4                                   (312) 853-7539
  5   Recorded by:                    Michael F. Edmond, Sr.
                                      UNITED STATES BANKRUPTCY COURT
  6                                   1100 Commerce Street, 12th Floor
                                      Dallas, TX 75242
  7                                   (214) 753-2062
  8   Transcribed by:                 Kathy Rehling
                                      311 Paradise Cove
  9                                   Shady Shores, TX 76208
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             Proceedings recorded by electronic sound recording;
 25             transcript produced by transcription service.




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  1                DALLAS, TEXAS - JUNE 25, 2021 - 9:36 A.M.

  2        (Transcript excerpt begins at 11:33 a.m.)

  3              THE CLERK:    All rise.

  4              THE COURT:    All right.    Please be seated.      We are

  5   back on the record, and our last motion this morning is the

  6   Motion to Reconsider filed by CLO Holdco and the DAF.           Do we

  7   have Mr. Bridges and Mr. Sbaiti back with us now?

  8              MR. BRIDGES:    Yes, Your Honor.      I have changed seats

  9   because of audio problems we're having here, but we're both

 10   here.

 11              THE COURT:    Okay.    Well, I think we heard an

 12   agreement that you all have agreed that you're going to have

 13   an hour and a half each, and I presume that means everything:

 14   opening statements, arguments, evidence.          So, we'll start the

 15   clock.   Nate, it's 11:35.       So, Mr. Bridges, your opening

 16   statement?

 17     OPENING STATEMENT ON BEHALF OF CLO HOLDCO AND THE CHARITABLE

 18                                    DAF, LP

 19              MR. BRIDGES:    Thank you, Your Honor.       We're here on a

 20   motion to modify an order that we'd submit has already been

 21   modified by the plan confirmation order, although that order

 22   has not yet become effective.

 23        The modification there was to add the phrase "to the

 24   extent legally permissible" to the Court's assertion of

 25   jurisdiction in what is essentially the same gatekeeper




                                                                   Appx.000592
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 599 of 783 PageID 7020
                                                                           4


  1   provision that's at issue here.       We submit that change is an

  2   admission or at least a strong indication that the unmodified

  3   order, at least as applied in some instances, contains

  4   legally-impermissible provisions.           The entire argument today

  5   from our side is about what's not legally permissible in that

  6   order.

  7        And that starts with our concerns regarding the

  8   application of 28 U.S.C. § 959(a).           As Your Honor knows well,

  9   959(a) is a provision of law that the Fifth Circuit and

 10   Collier on Bankruptcy call an exception to the Barton

 11   doctrine.    I know from the last time we were here that the

 12   Court is already aware of what 959(a) says.           It's the second

 13   sentence, I understand, which the Court pointed to in our

 14   previous hearing that creates general equity powers or

 15   authorizes the Court to use its general equity powers to

 16   exercise some jurisdiction, some control over actions that

 17   fall within the first sentence of 959(a).           But that second

 18   sentence also prohibits explicitly the Court's using general

 19   equity powers to deprive a litigant of his right to trial by

 20   jury.

 21        Here, we're not under Barton, the statutory exception to

 22   Barton applies, because Mr. Seery is a manager of hundreds of

 23   millions of third-party investor property.           Instead, we're

 24   here under the Court's general equity powers, as authorized by

 25   959(a).    And those equity powers cannot deprive the right to




                                                                    Appx.000593
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 600 of 783 PageID 7021
                                                                          5


  1   trial by jury.

  2        But the order does deprive trials by jury, first by

  3   asserting sole jurisdiction here, where jury trials are

  4   unavailable, and secondly, by abolishing any trial rights for

  5   claims that do not involve gross negligence or intentional

  6   misconduct.

  7        Movants' third cause of action in the District Court case

  8   is for ordinary negligence.       It comes with a Seventh Amendment

  9   jury right.    But it's barred by the order because the order

 10   only allows colorable claims involving gross negligence or

 11   intentional conduct, not ordinary negligence.

 12        Movants' second cause of action in the District Court case

 13   is for breach of contract.       That comes with a Seventh

 14   Amendment jury right, but it's barred by the order because the

 15   order only allows colorable claims of gross negligence or

 16   intentional misconduct, not negligent or faultless breaches of

 17   contractual obligations.

 18        Movants' first cause of action in the District Court case,

 19   breach of Advisers Act fiduciary duties, comes with a jury

 20   right.   It's also barred by the order because the order only

 21   allows colorable claims involving gross negligence or

 22   intentional misconduct.

 23        You see there what I mean.       Congress couldn't have been

 24   clearer.    Courts cannot deprive litigants of their day in

 25   court before a jury of their peers by invoking general equity




                                                                   Appx.000594
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 601 of 783 PageID 7022
                                                                          6


  1   powers.    Those powers don't trump the constitutional right to

  2   a jury trial.

  3        Yet this Court's order purports to do precisely that, not

  4   only for the Movants, but also for future potential litigants

  5   who may have claims that have not even accrued yet.           If those

  6   claims are for ordinary negligence or breach of contract or

  7   breach of fiduciary duties and don't rise to the level of

  8   gross negligence or intentional misconduct, this order says

  9   that those claims are barred, and it would deprive them of

 10   their day in court.

 11        The Court's general equity powers are simply not broad

 12   enough to uphold such an order.

 13        This issue is even more problematic when the causes of

 14   action at issue fall within the mandatory withdrawal of the

 15   reference provisions of 28 U.S.C. § 157(d).          As this Court

 16   knows, it lacks jurisdiction over proceedings that require

 17   consideration of non-bankruptcy federal law regulating

 18   interstate commerce.      Some such claims -- Movants' Advisers

 19   Act claim, for instance -- do not involve culpability rising

 20   to the level of gross negligence or intentional misconduct,

 21   but the order purports to bar them nonetheless, despite this

 22   Court's lacking jurisdiction over the subject matter of those

 23   claims.

 24        Even if there is gross negligence or intentional

 25   misconduct, the order states that this Court will have sole




                                                                   Appx.000595
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 602 of 783 PageID 7023
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  1   jurisdiction over such claims.       And that can't be right if

  2   withdrawal of the reference is mandatory.

  3        Opposing counsel will tell you that 157(d) is inapplicable

  4   here because they think our claims in the District Court won't

  5   require substantial consideration of the Advisers Act or any

  6   other federal laws regulating interstate commerce.           But their

  7   cases don't come anywhere close to making that showing, as the

  8   briefing demonstrates.

  9        And in any case, that argument is beside the point.            This

 10   order is contrary to 157(d) because it asserts jurisdiction

 11   over claims that 157(d) does not apply -- I'm sorry, does

 12   apply to.    And that's true regardless of whether Movants'

 13   claims are among those.

 14        The idea that there's no substantial consideration of

 15   federal law, however, in the District Court case is undermined

 16   by Mr. Seery's testimony in support of his appointment in

 17   which he confirmed that the Advisers Act applies to him and

 18   that he has fiduciary duties under that Act to the investors

 19   of the funds he manages.

 20        Your Honor, importantly, the Advisers Act isn't the

 21   typical federal statute with loads of case law under it.            It's

 22   actually an underdeveloped, less-relied-upon statute, and most

 23   -- most of the law under that Act is promulgated by regulation

 24   and supervised by the SEC.       As a registered investment

 25   advisor, Mr. Seery is bound by that Act, which he admits, he




                                                                   Appx.000596
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 603 of 783 PageID 7024
                                                                          8


  1   agrees to.    But to flesh out what his duties are requires a

  2   close exam of more than three dozen regulations under 17

  3   C.F.R. Part 275.

  4        The obligations include robust duties of transparency and

  5   disclosure, as well as duties against self-dealing and the

  6   necessity of obtaining informed consent, none of which are

  7   waivable, these duties.

  8        The proceedings here in this Court reflect an effort to

  9   have those unwaivable duties waived.         The allegations in the

 10   District Court are essentially insider trading allegations

 11   that the Debtor and Mr. Seery knew or should have known

 12   information that they had a duty under the Advisers Act to

 13   disclose to their advisees.       Both under the Act and

 14   contractually, they had those duties.         And, instead, they did

 15   not disclose and consummated a transaction that benefited

 16   themselves nonetheless.

 17        In considering those claims, the presiding court will have

 18   to consider and apply the Advisers Act and the many

 19   regulations promulgated under it, in addition to other federal

 20   laws regulating interstate commerce.         For that reason,

 21   withdrawal of the reference on the District Court action is

 22   mandatory.    That's the two major -- that's two major problems

 23   out of four with the order that we're here on today.

 24        First, it deprives litigants of their right to trial, to a

 25   jury trial, when Section 959(a) says that can't be done.            And,




                                                                   Appx.000597
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 604 of 783 PageID 7025
                                                                          9


  1   two, the order asserts jurisdiction -- sole jurisdiction, even

  2   -- over proceedings in which withdrawal of the reference is

  3   mandatory under 157(d).

  4        The fourth major problem is what the Court called

  5   specificity at the previous hearing.         The Fifth Circuit's

  6   Applewood Chair case holds that the rule from Shoaf does not

  7   apply without a "specific discharge or release," and that that

  8   release has to be enumerated and approved by the Bankruptcy

  9   Court.   Thus, the order here can't exculpate Mr. Seery of

 10   liability for ordinary negligence and the like in a blanket

 11   fashion.    The claims being released must be identified.

 12        That's what happened in Shoaf.         Shoaf's guaranty

 13   obligation was explicitly released.         That's also what happened

 14   in Espinosa.    Espinosa's plan listed his student loan as his

 15   only specific indebtedness.       But it's not what happened here.

 16   And it couldn't happen here, because the ordinary negligence

 17   and similar claims being discharged by the order had not yet

 18   accrued and thus were not even in existence at the time the

 19   order issued.

 20        Instead, what we have here is a nonconsensual, nondebtor

 21   injunction or release that's precisely what the Fifth Circuit

 22   refused to enforce in the Pacific Lumber case.

 23        So, lack of specificity is the third major problem with

 24   the order.    And that brings us to the fourth problem, which is

 25   the Barton doctrine.      Barton is the only possible basis for




                                                                   Appx.000598
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 605 of 783 PageID 7026
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  1   this Court to assert exclusive or sole jurisdiction over

  2   anything.    Outside of Barton, it's plain black letter law that

  3   the District Court's jurisdiction is equal to and includes

  4   anything that this Court's derivative jurisdiction would also

  5   reach.

  6        But the exception to the Barton doctrine in 959(a) plainly

  7   applies here, leaving no basis for exclusivity with regards to

  8   jurisdiction and the District Court.          That's because Mr. Seery

  9   is carrying on the business of a debtor and managing the

 10   property of others, rather than merely administering the

 11   bankruptcy estate.     The exclusive jurisdiction function of the

 12   Barton doctrine has no applicability because 959(a) creates

 13   that exception here.

 14        Under its general equity powers, yes, 959(a) still

 15   authorizes this Court to exercise some control over actions

 16   against Mr. Seery, but short of depriving litigants of their

 17   day in court.     And nothing in 959(a), that exception to

 18   Barton, says that the Court can nonetheless exercise

 19   exclusivity in that jurisdiction.           Those general equity powers

 20   do not create exclusive or sole jurisdiction.           They do not

 21   deprive the District Court of its Congressionally-granted

 22   original jurisdiction.

 23        Moreover, Mr. Seery is not an appointed trustee entitled

 24   to the protections of the Barton doctrine in any case.             His

 25   appointment was a corporate decision that the Court was asked




                                                                    Appx.000599
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 606 of 783 PageID 7027
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  1   not to interfere with.      The Court was asked to defer under the

  2   business judgment rule to the Debtor's appointment of Mr.

  3   Seery.   And the Court did so.

  4        As we asserted last time, no authority that we can find

  5   combines these two unrelated doctrines, the Barton doctrine

  6   and the business judgment rule.       And they don't go together.

  7   None of the testimony or the briefing or argument, in the July

  8   order, in the January order that preceded it, none of that

  9   indicated that Mr. Seery would be a trustee or the functional

 10   equivalent of a trustee.      The word "trustee" does not appear

 11   in any of those briefs or transcripts.

 12        Opposing -- and because of that, the District Court suit

 13   is not about -- well, not because of that.          The District Court

 14   suit simply is not about any trustee-like role that Mr. Seery

 15   may have played anyway.      Opposing counsel will try to convince

 16   you otherwise, will tell you that the District Court case is a

 17   collateral attack on the settlement, but it's not.           Wearing

 18   his estate administrator hat, Mr. Seery can settle claims in

 19   this court.    Wearing his advisor hat, he has to fulfill his

 20   Advisers Act duties and properly advise his clients.

 21        He doesn't have to wear both hats, and it seems highly

 22   unusual that he would choose to fill both of those roles

 23   simultaneously.     But he has chosen both roles.       And the

 24   District Court case is a hundred percent about his role as an

 25   advisor.    Did he comply with the Act?       Did he do the things




                                                                   Appx.000600
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 607 of 783 PageID 7028
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  1   that his advisor role obligated him to do as a manager of that

  2   property?

  3        The District Court suit really is only being used to

  4   illustrate the issues that we're raising here.          It's

  5   important, it's timely to address those issues now because of

  6   the District Court action, but that's an illustration of the

  7   problems with the order.      It is not exclusively that that

  8   action is what we're attempting to address.          Rather, the order

  9   exculpating Mr. Seery from ordinary negligence liability and

 10   similar liability is problematic, is contrary to the law.               On

 11   top of that, the Court is asserting jurisdiction over gross

 12   negligence and intentional misconduct claims.          To the extent

 13   that 157(d) applies, it is problematic and contrary to law as

 14   well.

 15               THE COURT:   Okay.   We're occasionally getting some

 16   breakup of your sound.      So please -- I don't know what you can

 17   do to adjust, but it was just now, and intermittently we get a

 18   little bit of garbly.      So if you could just say your last

 19   sentence one more time, and we'll see if it improves.

 20               MR. BRIDGES:   Your Honor, I'm not sure I can say this

 21   last sentence again.

 22               THE COURT:   Okay.

 23               MR. BRIDGES:   I was -- I was mentioning that the

 24   District Court case is an illustration of our argument.              Our

 25   argument is not merely that the District Court case should be




                                                                     Appx.000601
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 608 of 783 PageID 7029
                                                                          13


  1   exempted or excepted from the order.         Our argument is that the

  2   order is legally infirm and that the District Court case and

  3   the claims there illustrate some of those infirmities, but

  4   that the infirmities go beyond just what's at issue in the

  5   District Court case.

  6        In sum, there are four problems with the order that render

  7   parts of it legally infirm.       It deprives the right of a jury

  8   trial -- in fact, of any trial -- in contravention of 959(a)

  9   for some causes of action.

 10        It asserts jurisdiction -- two, it asserts jurisdiction

 11   over claims that are subject to the mandatory withdrawal of

 12   the reference provision (garbled) 157(d).

 13        And three, it lacks the specificity required to discharge

 14   future claims under Applewood.

 15        Finally, Your Honor, number four, the order relies on the

 16   Barton doctrine, which doesn't apply and which 959(a) creates

 17   an exception to.

 18        Movants respectfully submit the order should be modified

 19   for those reasons.

 20              MR. SBAITI:    Tell him Mark Patrick is here, for the

 21   record.

 22              THE COURT:    All right.    I have a couple of follow-up

 23   questions for you.      I want to drill down on the issue of your

 24   client not having appealed the July 2020 order.           Or the

 25   HarbourVest settlement order, for that matter.          Tell me as




                                                                   Appx.000602
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 609 of 783 PageID 7030
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  1   directly as possible why you don't view that as a big problem.

  2   Because it's high on my list of possible problems here.

  3               MR. BRIDGES:   I understand, Your Honor.       The

  4   Applewood Chair case is our -- our defense to that argument,

  5   that without providing specifics as to the claims being

  6   discharged in the July order, that Shoaf cannot apply to

  7   create a res judicata effect from the failure to appeal that

  8   order.

  9               THE COURT:   But is that really what we're talking

 10   about, a discharge of certain claims?         We're talking about a

 11   protocol that the Court established which wasn't appealed.

 12               MR. BRIDGES:   Your Honor, your order does many

 13   things.    We're talking about a few of them in one paragraph of

 14   the order.    And in that order -- in that paragraph, yes, it

 15   creates a protocol for determining the colorability of some

 16   claims, claims that rise to the level of gross negligence or

 17   intentional misconduct.      It does not create a protocol for

 18   claims that fall below that threshold, claims for ordinary

 19   negligence, as an example.

 20               THE COURT:   Okay.

 21               MR. BRIDGES:   For breach of contract that's not

 22   intentional, is not grossly negligent, it's just a breach of

 23   contract.    It can even be faultless.       There's still liability.

 24   There's still a jury right under the Seventh Amendment for

 25   faultless breach of contract.




                                                                   Appx.000603
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 610 of 783 PageID 7031
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  1        The protocols in the order do not address such claims

  2   other than to bar them.      To discharge them.      And thus, yes,

  3   it's a release, it's a discharge of those claims.           It can be

  4   viewed as a permanent injunction against bringing such claims.

  5   It's what's -- it's what's not allowed by the Applewood Chair

  6   case and by Pacific Lumber.

  7              THE COURT:    All right.    So you're arguing that was --

  8   the wording of the order was not specific enough to apprise

  9   affected parties of what they were releasing, they're

 10   releasing claims based on ordinary negligence against Mr.

 11   Seery?   That's not specific enough?

 12              MR. BRIDGES:    Correct.    Future unproved claims, the

 13   factual basis for which has not happened yet.          Those cannot be

 14   and were not disclosed with any specificity in this order.

 15        If we compare it to Shoaf and to Espinosa, in Shoaf what

 16   we had was a guaranty, Shoaf's guaranty on a transaction that

 17   was listed in the actual release, describing what the

 18   transaction was that was being -- that the guaranty was being

 19   released for.

 20        In Espinosa, what we had was a student loan --

 21              THE COURT:    Right.

 22              MR. BRIDGES:    -- that was listed in the plan

 23   specifically, as the only specific indebtedness.

 24        Here, we don't have any of that specificity.          What we have

 25   is a notice to the entire world, Your Honor, that for an




                                                                   Appx.000604
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 611 of 783 PageID 7032
                                                                          16


  1   unlimited period of time any claim for ordinary negligence,

  2   for ordinary breach of contract or fiduciary duty against Mr.

  3   Seery is barred if it relates to his CEO role.          And his CEO

  4   role means as a manager of property, exactly precisely what

  5   959(a) is talking about.

  6        Those jury rights (garbled) claims cannot be released,

  7   discharged, expunged, done away with, in an order that isn't

  8   explicit.

  9        On top of that, even in an explicit order, 959(a) tells

 10   the Court it cannot deprive a litigant of its jury trial

 11   right.

 12               THE COURT:   Well, as anyone knows who's been around a

 13   while in this case, my brain sometimes goes down an unexpected

 14   trail, and maybe this one is one of those situations.           Are

 15   there contracts that your clients would rely on in potential

 16   litigation?

 17               MR. BRIDGES:   Yes, Your Honor.

 18               THE COURT:   What are those contracts?

 19               MR. BRIDGES:   It is a management contract.        I don't

 20   think I can give you the specifics at this moment, but I

 21   probably can before we're done here today.          A management

 22   contract in which the Debtor provides advisory and management

 23   services to the DAF --

 24               THE COURT:   Well, you know, the shared services

 25   agreements that we heard so much about in this case?           A shared




                                                                   Appx.000605
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 612 of 783 PageID 7033
                                                                          17


  1   service agreement?      I can't remember, you know, which entities

  2   have them and which do not at times.         So, --

  3              MR. BRIDGES:    The shared services agreement is one of

  4   those contracts, Your Honor.

  5              THE COURT:    Okay.

  6              MR. BRIDGES:    It's not the only one.

  7              THE COURT:    And what are the others?

  8              MR. BRIDGES:    There's -- the other is the investment

  9   advisory agreement.

 10              THE COURT:    Those two?

 11              MR. BRIDGES:    (no response)

 12              THE COURT:    Those are the only two?

 13              MR. BRIDGES:    There may be one other, Your Honor.

 14   I'm not sure.

 15              THE COURT:    Are they in evidence?

 16              MR. BRIDGES:    I can find out shortly.

 17              THE COURT:    Are they in evidence?        We haven't talked

 18   about evidence yet, but are they going to be in evidence,

 19   potentially?

 20              MR. BRIDGES:    They are referenced in the District

 21   Court case, the complaint, which is in evidence.

 22              THE COURT:    I'm asking, are --

 23              MR. BRIDGES:    But those contracts I don't believe are

 24   listed as exhibits here in this motion, no.

 25              THE COURT:    They are not?      Okay.




                                                                   Appx.000606
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 613 of 783 PageID 7034
                                                                          18


  1        Well, what my brain is thinking about here is, of the

  2   umpteen agreements I've seen -- more than umpteen -- of the

  3   many, many agreements I've seen over time in this case, so

  4   often there's a waiver of jury trial rights, as I recall, as

  5   well as an arbitration clause.       I just was curious, hmm, you

  6   know, you talked a lot about your clients' jury trial rights:

  7   do we know that these agreements have not waived those?

  8              MR. BRIDGES:    Your Honor, I think I can answer that

  9   by the end of our hearing.       I don't have an answer off the top

 10   of my head.    What I can tell you is a jury right has been

 11   demanded in the federal court complaint, which is in evidence,

 12   and that opposing counsel has brought no evidence indicating

 13   that they have the defense of our having waived the right to a

 14   jury trial here.

 15              THE COURT:    Okay.   Well, I just --

 16              MR. BRIDGES:    Or arbitra...

 17              THE COURT:    -- would think that you would know that.

 18   Does anyone know that on the Debtor's side off the top of your

 19   head?

 20              MR. POMERANTZ:     I do not, Your Honor.

 21              THE COURT:    Uh-huh.

 22              MR. POMERANTZ:     And to Mr. Bridges' last point, we

 23   have filed a motion to dismiss.       We have not answered the

 24   complaint.    So any time to object to their jury trial right

 25   would be in the context of the answer.         So the implication




                                                                   Appx.000607
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 614 of 783 PageID 7035
                                                                          19


  1   that we have not raised the issue and therefore it doesn't

  2   exist is just not a correct implication and connection he's

  3   trying to draw.

  4              THE COURT:    Okay.    All right.

  5        Well, let me also ask you about this.         I'm obsessing a

  6   little over the Barton doctrine and your insistence that it

  7   does not provide authority or an analogy here.

  8        Well, for one thing, is there anything in the Fifth

  9   Circuit case Sherman v. Ondova that you think either helps you

 10   or hurts you on that point?       I'm intimately familiar with it,

 11   although I haven't read it in a while, because it was my

 12   opinion that the Fifth Circuit affirmed.          And I spent a lot of

 13   time thinking about that.        It was a trustee, a traditional --

 14   well, no, a Chapter 11 trustee and his counsel.           But anything

 15   from that case that you think is worthy of pointing out here?

 16              MR. BRIDGES:    No, Your Honor.      I'm not -- nothing

 17   comes to mind.     That case is not fresh on my mind.

 18        What I would tell you is that Barton doctrine and the

 19   business judgment rule are incompatible, and the appointment

 20   of a trustee never involves application of the business

 21   judgment rule or deference to the Debtor or another party in

 22   terms of making that appointment.

 23        The Barton doctrine, as it applies to trustees, is viewed

 24   as an extension, to some extent, of judicial immunity to the

 25   trustee, who is chosen by, selected by the Court and assigned




                                                                   Appx.000608
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 615 of 783 PageID 7036
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  1   by the Court to carry out certain functions.          That --

  2              THE COURT:    Well, let me --

  3              MR. BRIDGES:    -- quasi-immunity --

  4              THE COURT:    -- stop you there.      You say it's an

  5   extension of immunity.      But isn't it, by nature, really a

  6   gatekeeping provision?      It's a gatekeeping provision, right?

  7   Before you even get to immunity, maybe, in a lawsuit, it's a

  8   gatekeeping function that the Supreme Court has blessed, you

  9   know, obviously in the context of a receiver, but appellate

 10   courts have blessed it in the bankruptcy context.           The

 11   Bankruptcy Court can be the gatekeeper on whether the trustee

 12   or someone I think in a similar position can get sued or not.

 13        And then we had that Fifth Circuit case after Ondova.            It

 14   begins with a V, Villegas or something like that.           Didn't

 15   that, I don't know, further ratify, if you will, the whole

 16   Barton doctrine by saying, oh, just because they're noncore

 17   claims, state law or non-bankruptcy law claims, doesn't mean,

 18   after Stern, the Bankruptcy Court still cannot serve the

 19   gatekeeper function.

 20        Tell me what you disagree.       That's my kind of combined

 21   reading of all of that.

 22              MR. BRIDGES:    Your Honor, I have to parse it out.

 23   There's a lot to unpack there.       If I can make sure to get in

 24   the follow-ups, I can start with saying it's okay for the

 25   Court in many instances to act as a gatekeeper.




                                                                   Appx.000609
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 616 of 783 PageID 7037
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  1              THE COURT:    Okay.

  2              MR. BRIDGES:    Both under Barton -- under Barton, or

  3   when the Barton exception in 959(a) applies, under the Court's

  4   general equitable powers, that gatekeeping functions are not

  5   across-the-board prohibited, --

  6              THE COURT:    Okay.

  7              MR. BRIDGES:    -- and we aren't trying to argue that

  8   they're prohibited across the board.

  9              THE COURT:    Okay.

 10              MR. BRIDGES:    Now, to try to dig into that a little

 11   deeper, the order does two things:          gatekeeping as to some

 12   claims, and, frankly, discharging or barring other claims.

 13   Those are two separate functions.

 14        The first one, the gatekeeping, may be, in some

 15   circumstances, which we'll come to, many circumstances, may be

 16   allowable, may be even mandatory under Barton, not even

 17   requiring an order from this Court, for the gatekeeping of

 18   Barton to apply.     But nonetheless, allowable in many instances

 19   under the Court's general equity powers under 959(a).           That

 20   part is right about gatekeeping.

 21        It does not create jurisdiction in this Court where 157(d)

 22   deprives this Court of jurisdiction.         Just because it's

 23   related to bankruptcy isn't enough to say that the Court

 24   therefore has jurisdiction if, one, if mandatory withdrawal of

 25   the reference is required.




                                                                   Appx.000610
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 617 of 783 PageID 7038
                                                                          22


  1        Furthermore, Your Honor, that gatekeeping function, under

  2   the equity powers authorized by 959(a), will not allow a court

  3   to discharge or -- or deprive, is the word I'm looking for --

  4   deprive a litigant of their right to a trial -- a specific

  5   kind of trial, a jury trial -- but a trial.          And by crafting

  6   an order that says certain kinds of claims that do (garbled)

  7   jury rights are barred, rather than just providing a

  8   gatekeeper provision, flat-out bars them, that doesn't -- that

  9   doesn't comply with 959.

 10               THE COURT:   Okay.

 11               MR. BRIDGES:   Your Honor, if I could add one last

 12   thing.

 13               THE COURT:   Go ahead.

 14               MR. BRIDGES:   The Supreme Court's Stern case points

 15   out that -- that it's -- well, actually, it's the Villegas

 16   case from the Fifth Circuit --

 17               THE COURT:   The one I mentioned.

 18               MR. BRIDGES:   -- points out that Stern -- Stern --

 19   yes, you did.     Stern did not create an exception to the Barton

 20   doctrine.    And that gives -- that endorses a Barton court's

 21   ability to perform gatekeeping, even over claims that Stern

 22   says there would not be jurisdiction over.

 23        Contrast that with 959(a), which Collier on Bankruptcy and

 24   the Fifth Circuit have held is an exception to the Barton

 25   doctrine.    Because of that exception, Barton no longer




                                                                   Appx.000611
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 618 of 783 PageID 7039
                                                                           23


  1   applies, and what you're using in invoking a gatekeeper order

  2   is the Court's inherent equitable powers, its general powers

  3   in equity.    And those equity powers are cabined.         They're

  4   broad, but they're cabined by 959(a)'s prohibition of doing

  5   away with a litigant's right to a trial, a jury trial.

  6        Now, I also -- counsel is telling me I should note for the

  7   record that Mr. Mark Patrick is here as a representative of

  8   our clients.    But Your Honor, I'll -- I will quit now unless

  9   you have further questions for me.

 10              THE COURT:    All right.    I do not at this time.        Mr.

 11   Morris or Mr. Pomerantz, who's going to make the argument?

 12              MR. POMERANTZ:     It's me, Your Honor.

 13                OPENING STATEMENT ON BEHALF OF THE DEBTOR

 14              MR. POMERANTZ:     And I'll start with the jury trial

 15   right.    In the last few minutes, we have been able to

 16   determine that the Second Amended and Restated Investment

 17   Advisory Agreement between the DAF and the Debtor has a broad

 18   jury trial waiver under 14(f).        And in addition, as I will

 19   include in my discussion, there is no private right of action

 20   under the Investment Advisers Act.

 21        I think those two points are fatal to Movants' argument,

 22   and probably I can get away with not even responding to the

 23   others.    But since I prepared a lengthy presentation to

 24   address the issues that were raised today, and also the half

 25   hour that Mr. Bridges spent with Your Honor on June 8th in




                                                                   Appx.000612
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 619 of 783 PageID 7040
                                                                          24


  1   which was his first opening statement on the motion for

  2   reconsideration, I'll now proceed.

  3              THE COURT:    All right.

  4              MR. POMERANTZ:     The arguments that the Movants made

  5   in the original motion essentially boil down to one legal

  6   proposition, that the Court did not have jurisdiction to enter

  7   the July 16th order because those orders impermissibly

  8   stripped the District Court from jurisdiction, in violation of

  9   (inaudible) Supreme Court precedent and 28 U.S.C. Section

 10   157(d).

 11        As with all things Dondero, the arguments continue to

 12   morph, and you heard argument at the contempt hearing on June

 13   8th and further argument today that now the prospective

 14   exculpation for negligence in the order is also unenforceable

 15   and should be modified.

 16        Movants continue to try to distance themselves from the

 17   January 9th order and argue that it is not relevant because

 18   they seek to pursue claims against Mr. Seery as CEO and not as

 19   an independent director.      Movants ignore, however, that the

 20   January 9th order not only protects Mr. Seery in his role as

 21   the independent director, but also as an agent of the board.

 22   I will walk the Court through my arguments on that issue in a

 23   few moments.

 24        Of course, the Movants had no explanation, Your Honor, for

 25   the question of why it took them until May of 2021, 10 months




                                                                   Appx.000613
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 620 of 783 PageID 7041
                                                                          25


  1   after the entry of the July 16th order that appointed Mr.

  2   Seery as CEO and CRO, and 16 months after the Court appointed

  3   the independent board, with Mr. Dondero's blessing and

  4   consent, as a substitute for what would have surely been the

  5   imminent appointment of a Chapter 11 trustee.

  6        Movants try to distance themselves from the prior orders

  7   by essentially arguing that the DAF is a newcomer to the

  8   Chapter 11 and is not under Mr. Dondero's control but is

  9   rather managed separately and independently by Mr. Patrick,

 10   who recently replaced Mr. Scott.

 11        The Movants admit, as they must, that the DAF is the

 12   parent and the sole shareholder of CLO Holdco and conducts its

 13   business through CLO Holdco, and both entities conduct their

 14   business through one individual.        It was Grant Scott then;

 15   it's Mark Patrick now.      So even if Mr. Dondero does not

 16   control the DAF and CLO Holdco, which issue was the subject of

 17   lengthy testimony in connection with the DAF hearing, both the

 18   DAF and the CLO Holdco are bound by the Debtor's res judicata

 19   argument, which I will discuss shortly.

 20        In any event, I really doubt the Court is convinced that

 21   the DAF operates truly independently of Mr. Dondero any more

 22   than the Court has been convinced that the Advisors, the

 23   Funds, Dugaboy and Get Good, all operate independently from

 24   Mr. Dondero.    The only explanation for the delay is that Mr.

 25   Dondero has been and continues to be unhappy with the Court's




                                                                   Appx.000614
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 621 of 783 PageID 7042
                                                                          26


  1   rulings and has now hired a new set of lawyers in a desperate

  2   attempt to evade this Court's jurisdiction.          Having failed in

  3   their attempt to recuse Your Honor from the case, this is

  4   essentially their last hope.

  5        And these new lawyers, Your Honor, have not only filed

  6   this DAF lawsuit in the District Court which is the subject of

  7   the contempt motion and today's motion, but they also filed

  8   another lawsuit in the District Court on behalf of an entity

  9   called PCMG, another Dondero entity, challenging yet another

 10   of Mr. Seery's postpetition decisions.

 11        And there's no doubt that this is only the beginning.             Mr.

 12   Dondero recently told Your Honor at a hearing that there were

 13   many more sets of lawyers waiting in the wings.           And as the

 14   Court remarked at the hearing on the Trusts' motion to compel

 15   compliance with Rule 2015.3, the Trusts were trying through

 16   that motion to obtain information about the Debtor's control

 17   entities so that they could file more lawsuits against the

 18   Debtor, a concern that Mr. Draper unconvincingly denied.

 19        I would like to focus the Court preliminarily on exactly

 20   what the January 9th and July 16th orders do, because Movants

 21   try to confuse things by casting the entire order with a broad

 22   brush of their jurisdictional overreach arguments, and they

 23   misinterpret Supreme Court and Fifth Circuit precedent.

 24        I would like to put up on the screen the language of

 25   Paragraph 10 of the January 9th order and Paragraph 35




                                                                   Appx.000615
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 622 of 783 PageID 7043
                                                                          27


  1   (garbled) of the July 16th.

  2        Your Honor is very familiar with these orders, I'm sure,

  3   having dealt with them in connection with confirmation and in

  4   prior proceedings.     But to recap, the orders essentially do

  5   three things.

  6        First, they require the parties to first come to the

  7   Bankruptcy Court before commencing or pursuing a claim against

  8   certain parties.

  9        Second, they provided the Court with the sole jurisdiction

 10   to make a finding of whether the party has asserted a

 11   colorable claim of negligence -- of willful misconduct or

 12   gross negligence.

 13        And lastly, the orders provided the Court with exclusive

 14   jurisdiction over any claims that the Court determined were

 15   colorable.

 16        The protected parties under the January 9th order are the

 17   independent directors, their agents and advisors, which, as I

 18   mentioned earlier, includes Mr. Seery -- who, at least as of

 19   March 2020, was acting as the agent on the board's behalf as

 20   the CEO -- for any actions taken under their direction.

 21        The protected parties under the July 16th order are Mr.

 22   Seery, as the CEO and CRO, and his agents and advisors.

 23        Movants spend a lot of time in their moving papers and

 24   reply arguing that the Court may not assert exclusive

 25   jurisdiction over any claims that pass through the gate.            They




                                                                   Appx.000616
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 623 of 783 PageID 7044
                                                                          28


  1   also spend a lot of time arguing that the Bankruptcy Court

  2   does not even have jurisdiction at all to assert -- to

  3   adjudicate claims against Mr. Seery because such claims are

  4   subject to mandatory withdrawal under Section 157(d).

  5        The Debtor doesn't agree, and has briefed why mandatory

  6   withdrawal of the reference is inapplicable.          The Debtor has

  7   also filed in the District Court a motion to enforce the

  8   reference in effect in this district which refers cases in

  9   this district arising under, arising in, or related to Chapter

 10   11 to the Bankruptcy Court.

 11        The motion to enforce the reference, Your Honor, which

 12   extensively briefs this issue, is contained in Exhibit 3 of

 13   the Debtor's exhibits.

 14        We were somewhat surprised that the complaint filed in the

 15   District Court wasn't automatically referred to this Court

 16   under the standing order in effect in this district, given the

 17   related bankruptcy case, the Court's prior approval of the

 18   HarbourVest settlement, and the appeal in the District Court

 19   of the HarbourVest settlement.

 20        When we dug a little further, we found out that Movants

 21   filed a civil case cover sheet accompanying the complaint in

 22   the District Court.      They neglected in that initial filing to

 23   point out that there was any related case to the lawsuit they

 24   filed.

 25        Mr. Bridges fell on his sword at the contempt hearing on




                                                                   Appx.000617
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 624 of 783 PageID 7045
                                                                          29


  1   June 8th and took complete responsibility for the oversight.

  2   I commend him for not trying to argue that the bankruptcy

  3   case, the HarbourVest settlement, and the District Court

  4   appeal are not related cases that would require disclosure, an

  5   argument that surely would have been unsupportable.

  6        But as I said at the contempt hearing, I find it curious

  7   that such an important issue was overlooked, an issue which

  8   would have likely changed the entire trajectory of the

  9   proceedings and landed the DAF lawsuit in this Court rather

 10   than the District Court.

 11        And this Tuesday, Your Honor, Movants filed a revised

 12   civil cover sheet with the District Court.          Although they

 13   referenced the bankruptcy case as a related case, they didn't

 14   bother to mention the appeal already pending in the District

 15   Court regarding the HarbourVest settlement -- surely, a

 16   related case.

 17        Your Honor also asked Mr. Bridges at the June 8th hearing

 18   whether it was an oversight or intentional that he didn't

 19   mention 28 U.S.C. Section 1334 as a basis for jurisdiction in

 20   his complaint.     Mr. Bridges had no answer for Your Honor then,

 21   and has given no answer now.       His only comment at the hearing

 22   last time was that it must have been Ms. Sbaiti that wrote it

 23   because he had no recollection of it.

 24        So, Your Honor, it's no surprise that Movants conveniently

 25   found themselves in the District Court, which was their




                                                                   Appx.000618
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 625 of 783 PageID 7046
                                                                          30


  1   ultimate strategy from the get go.

  2          In any event, Your Honor, we have briefed the withdrawal

  3   of the reference issue.      A response by the Movants is due --

  4   CLO Holdco and DAF is due on June 29th.         And we hope the

  5   District Court will decide soon thereafter whether to enforce

  6   the reference.

  7          While I'm happy to argue why Movants' mandatory withdrawal

  8   of the reference argument is [not] persuasive, I don't think

  9   it's necessary, but I do, again, want to highlight that there

 10   is no private right of action under the Investment Advisers

 11   Act.

 12          Your Honor, it's not really relevant to today's hearing,

 13   since we have argued in opposition to the motion before Your

 14   Honor that resolving the issue of the Bankruptcy Court's

 15   jurisdiction to adjudicate claims contained in the complaint

 16   as they relate to Mr. Seery is premature at this point.            The

 17   January 9th and July 16th orders first require the Court to

 18   determine whether a claim is colorable.         It's not until this

 19   Court determines if a claim is colorable that the decision on

 20   where the lawsuit should be tried is relevant.

 21          Having said that, Your Honor, we read the Movants' reply

 22   brief very carefully and noticed in Footnote 6 that the

 23   Movants state that modifying the exclusive grant of

 24   jurisdiction to adjudicate any claims that pass through the

 25   gate to include the language "to the extent permissible by




                                                                   Appx.000619
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 626 of 783 PageID 7047
                                                                          31


  1   law," in the same way the Debtor modified the plan, would

  2   resolve the motion.      So let's look at the provision as it

  3   exists in the plans.

  4        Ms. Canty, if you can put up the next demonstrative,

  5   please.

  6        This provision provides that the Bankruptcy Court will

  7   have sole and exclusive jurisdiction to determine whether a

  8   claim or cause of action is colorable, and, only to the extent

  9   legally permissible and provided in Article XI, shall have

 10   jurisdiction to determine -- to adjudicate the underlying

 11   colorable claim or cause of action.

 12        The Movants request in their reply brief in Footnote 6

 13   that the July 16th order be given the plan treatment.           That

 14   treatment:    sole authority to determine colorability and

 15   jurisdiction, and, to the extent legally permissible, to

 16   adjudicate underlying claim, only if jurisdiction existed.

 17        After reviewing the reply brief and prior to the June 8th

 18   hearing, we decided that we would agree to modify both the

 19   January 9th and the July 16th orders to provide that the

 20   Bankruptcy Court would only have jurisdiction to adjudicate

 21   claims that pass through the colorability gate to the extent

 22   permissible by law.

 23        Prior to the June 8th hearing, Mr. Morris and I had a

 24   conversation with Mr. Bridges.       We conferred about a potential

 25   resolution and a proposed modification.         Mr. Bridges indicated




                                                                   Appx.000620
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 627 of 783 PageID 7048
                                                                          32


  1   they were interested in exploring a resolution and wanted to

  2   --

  3               MR. BRIDGES:   Objection, Your Honor.

  4               THE COURT:   There's an objection?

  5               MR. BRIDGES:   Objection, Your Honor.       There's a Rule

  6   408 settlement discussion.       He's welcome to talk about the

  7   results, but he shouldn't be talking about what was -- what

  8   was proposed by opposing counsel in a settlement conversation.

  9               THE COURT:   Okay.   I overrule.

 10               MR. POMERANTZ:    Your Honor, this was not --

 11               THE COURT:   I don't think this is a 408 issue.

 12   Continue.

 13               MR. BRIDGES:   Thank you.

 14               MR. POMERANTZ:    The stipulation and order which we

 15   provided to counsel is attached to my declaration, which is

 16   found at Document 2418, and it was filed in connection with a

 17   Notice of Revised Proposed Orders that we filed at Docket

 18   2417.   And I would like to put up on the screen the relevant

 19   paragraphs of the order that we provided to the Movants.

 20        So, you see, we agreed to modify each of the orders at the

 21   end to do what the plan says.       The Court would only have

 22   jurisdiction for claims passing through the gate if the Court

 23   had jurisdiction and it was legally permissible.

 24        Movants' counsel, however, responded with a mark-up that

 25   went beyond -- went beyond what Movants proposed in Footnote 6




                                                                   Appx.000621
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 628 of 783 PageID 7049
                                                                          33


  1   and sought to fundamentally change the January 9th and July

  2   16th orders in ways that were not acceptable to the Debtor and

  3   not even contemplated by the original motion.

  4        Ms. Canty, can you put up on the screen the relevant

  5   paragraphs of the response we received?

  6        Specifically, Your Honor, you see at the first part they

  7   wanted to provide that the only -- the order only applied to

  8   claims involving injury to the Debtor, presumably as opposed

  9   to alleged injuries to affiliated funds or third parties.

 10   They also provided that the Court's ability to make the

 11   initial colorability determination was also qualified by "to

 12   the extent permissible by law" in the way that the Court --

 13   that the Debtor agreed to modify the ultimate adjudication

 14   jurisdiction provision.

 15        Your Honor, Movants haven't even talked about this back

 16   and forth.    They haven't talked about their about-face.          And

 17   I'll leave it for Your Honor to read their Footnote 6 that

 18   said it would resolve their motion, the back and forth, our

 19   proposal, and now Mr. Bridges' modified, morphed arguments

 20   that now point out other issues.

 21        In any event, Your Honor, we made the change, and we think

 22   it should resolve the motion, or at least it resolves part of

 23   the motion.    There can't be any argument that the Court is

 24   trying to exert exclusive jurisdiction on claims that pass

 25   through the gate.




                                                                   Appx.000622
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 629 of 783 PageID 7050
                                                                          34


  1        What apparently remains from the arguments raised by the

  2   Movants is the argument that the Court does not even have

  3   jurisdiction to act as a gatekeeper in the first place because

  4   it doesn't have jurisdiction of the underlying lawsuit.            And

  5   on June 8th and today, they've added a new argument, that the

  6   orders impermissibly exculpate Mr. Seery and others, violate

  7   their jury trial rights, and are contrary to the Fifth Circuit

  8   precedent.

  9        Movants claims that the orders are a jurisdictional

 10   overreach, a violation of constitutional proportions, a

 11   violation of due process, and inconsistent with several U.S.

 12   Supreme Court cases.      But, of course, they cite no cases whose

 13   facts are even remotely similar to this one.          Instead, they

 14   are content to rely on general statements regarding bankruptcy

 15   jurisdiction, how it is derived from district court

 16   jurisdiction and is constitutionally limited, legal

 17   propositions which are not terribly controversial or even

 18   applicable to these facts.

 19        There are several arguments -- I mean, there are several

 20   reasons, Your Honor, why Movants' arguments fail.           Initially,

 21   Movants have not cited any authority, any statute, or any rule

 22   which would allow this Court to revisit the January 9th and

 23   July 16th orders.     As I will discuss in a moment, Your Honor,

 24   Republic v. Shoaf, a case the Court is very familiar in and

 25   relied on in connection with plan confirmation, bars a




                                                                   Appx.000623
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 630 of 783 PageID 7051
                                                                          35


  1   collateral attack on these orders under the doctrine of res

  2   judicata.

  3        Similarly, as the Court remarked on June 8th, the Supreme

  4   Court's Espinosa decision, which rejected an attack based upon

  5   Federal Rule of Civil Procedure 60(b)(4) to a prior order that

  6   may have been unlawful, prohibits the Court from now

  7   reconsidering the January 9th and July 16th orders.

  8        But even if Your Honor rules that res judicata does not

  9   apply, there are two independent reasons why the orders were

 10   not an unlawful extension of the Court's jurisdiction.            The

 11   first is because the Court had jurisdiction to enter both of

 12   those orders as the ability to determine the colorability of

 13   claims is within the jurisdiction of the Court.           The second is

 14   because the orders are justified by the Barton doctrine.

 15        Lastly, Your Honor, Movants' argument that the Court may

 16   not act as a gatekeeper to determine the colorability of a

 17   claim for which it may not have jurisdiction is incorrect, and

 18   as Your Honor has mentioned and as Mr. Bridges unconvincingly

 19   tried to distinguish, the Fifth Circuit Villegas v. Schmidt

 20   case is a case on point and resolves that issue.

 21        Turning to res judicata, Your Honor, it prevents the Court

 22   from revisiting these governance orders.          CLO Holdco had

 23   formal notice of the Seery CEO motion and the opportunity to

 24   respond.    It failed to do so.     It is clearly bound.

 25        As reflected on Debtor's Exhibit 4, CLO Holdco is a




                                                                   Appx.000624
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 631 of 783 PageID 7052
                                                                          36


  1   wholly-owned subsidiary of the DAF.         The DAF is its sole

  2   shareholder.    There is no dispute about that.        Importantly, at

  3   the time of both the January and July orders, Grant Scott was

  4   the only human being authorized to act on behalf of CLO Holdco

  5   and the DAF.    The DAF did not respond to the Seery CEO motion,

  6   either.

  7        And why is that important, Your Honor?         It's because

  8   Movants argue in their reply that the DAF cannot be bound by

  9   res judicata because they did not receive notice of the July

 10   16th order.    However, Your Honor, that is not the law.          Res

 11   judicata binds parties to the dispute and their privies, and

 12   the DAF is bound to the prior orders even though it did not

 13   receive notice.

 14        There are several cases, Your Honor, that stand for this

 15   unremarkable proposition.      First I would point Your Honor to

 16   the Fifth Circuit's opinion of Astron Industrial Associates v.

 17   Chrysler, found at 405 F.2d 958, a Fifth Circuit case from

 18   1968.   In that case, Your Honor, the Fifth Circuit held that

 19   the appellant was barred by the doctrine of res judicata from

 20   bringing a claim because its parent, which was its sole

 21   shareholder, would have been bound by res judicata.

 22        Astron is consistent with the 1978 Fifth Circuit case of

 23   Pollard v. Cockrell, 578 F.2d 1002 (1978).          And the Northern

 24   District of Texas in 2000 case of Bank One v. Capital

 25   Associates, 2000 U.S. Dist. LEXIS 11652, found that a parent




                                                                   Appx.000625
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 632 of 783 PageID 7053
                                                                          37


  1   and a sole shareholder of an entity couldn't assert res

  2   judicata as a defense when those claims could have been

  3   brought against its wholly-owned subsidiary.

  4        And lastly, Your Honor, the 2011 Southern District of

  5   Texas case, West v. WRH Energy Partners, 2011 LEXIS 5183, held

  6   that res judicata applied with respect to a partnership's

  7   general partner because the general partner was in privity

  8   with the partnership.

  9        These cases are spot on and make sense.          DAF is CLO

 10   Holdco's parent.     Grant Scott was the only live person to

 11   represent these entities in any capacity at the relevant

 12   times.   Accordingly, just as CLO Holdco is bound, DAF is

 13   bound.

 14        Allowing DAF to assert a claim when its wholly-owned and

 15   controlled subsidiary is barred would allow entities to

 16   transfer claims amongst their related entities in order to

 17   relitigate them and they would never be finality.           And, of

 18   course, Jim Dondero, as we know, consented to the January 9th

 19   order, which provided Mr. Seery protection in a variety of

 20   capacities.

 21        And as Your Honor has pointed out, and as Mr. Bridges

 22   didn't have an answer for, neither CLO Holdco nor the DAF or

 23   any other party appealed any of the governance orders.             And

 24   nobody challenged the validity of these orders at the

 25   confirmation hearing, where the terms of these orders were




                                                                   Appx.000626
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 633 of 783 PageID 7054
                                                                          38


  1   front and center.

  2        And importantly, Your Honor, the orders are clear and

  3   unambiguous.    They require a Bankruptcy Court [sic] to seek

  4   Bankruptcy Court approval before they commence or pursue an

  5   action against the independent board, the CEO, CRO, or their

  6   agents.    And they clearly and unambiguously set the standard

  7   of care for actions prospectively:          gross negligence or

  8   willful misconduct.

  9        The Bankruptcy Court had jurisdiction to enter the

 10   governance orders, which, as expressly indicated in the

 11   orders, were core proceedings dealing with the administration

 12   of the estate.     No one challenged this finding of core

 13   jurisdiction.     And as I will discuss later, the failure to

 14   challenge core jurisdiction is waived under applicable Supreme

 15   Court and Fifth Circuit precedent.

 16        Your Honor, the Court [sic] does not argue that Movants

 17   have waived their right to seek adjudication of a lawsuit that

 18   passes through the colorability gate by an Article III Court.

 19   The issue is not before the Court, but the changes to the

 20   order that the Debtor agreed to make clearly -- clearly will

 21   provide Mr. Bridges' clients the ability to make that

 22   determination.

 23        The Debtor is, however, arguing that the Movants have

 24   waived their right to contest the core jurisdiction of the

 25   Bankruptcy Court to make the determination that the claims are




                                                                   Appx.000627
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 634 of 783 PageID 7055
                                                                             39


  1   colorable in the first place, and to challenge the exculpation

  2   provisions provided to the beneficiaries of those orders.

  3        Accordingly, Your Honor, the elements of res judicata are

  4   satisfied.    Both proceedings involve the same parties.             The

  5   prior judgment was entered by a court of competent

  6   jurisdiction.       The prior order was a final judgment on its

  7   merits.    And they involved the same causes of action.

  8        Importantly, the members of the independent board,

  9   including Jim Seery, relied on the protections contained in

 10   the January 9th and July 16th orders and would not have

 11   accepted these appointments if the protections weren't

 12   included.    And how do we know this?        Because each of them,

 13   both Mr. Seery and Mr. Dubel, both testified at the

 14   confirmation hearing on this very topic.

 15        And I would like to put up on the screen an excerpt from

 16   Mr. Seery's testimony at confirmation, which is testimony

 17   included in the February 2nd, 2021 transcript, which is

 18   Exhibit 2 of the Debtor's exhibits.

 19               THE COURT:       Okay.

 20               MR. POMERANTZ:      And I would like to just read this,

 21   Your Honor.

 22        "Q     Okay.      You    mentioned   that   there   were   certain

 23        provisions of the January 9th order that were important

 24        to you and the other independent directors.            Do I have

 25        that right?"




                                                                      Appx.000628
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 635 of 783 PageID 7056
                                                                                      40


  1              MR. POMERANTZ:        A little bit later on, Mr. Seery

  2   testifies:

  3        "A    And then ultimately there'll be another provision

  4        in the agreement here, I don't see it off the top of my

  5        head, but a gatekeeper provision.                   And that provision"

  6        --

  7        "Q    Hold on one second, Mr. Seery."

  8              MR. POMERANTZ:        Please scroll.

  9        "Q    So, Paragraph 4 and 5, were those -- were those --

 10        were those provisions put in there at the insistence of

 11        the prospective independent directors?

 12        "A    Yes.

 13        "Q    Okay.       Can we go to Paragraph 10, please?                    There

 14        you go."

 15        Mr. Morris:        Is this the other provision that you were

 16   referring to?

 17        "A    This    is     --   it's      become    to     be    known   as    the

 18        gatekeeper        provision,     but   it's     a    provision     that    I

 19        actually got from other cases -- again, another very

 20        litigious case -- that I thought it was appropriate to

 21        bring it into this case.             And the concept here is that

 22        when you are dealing with parties that seem to be

 23        willing      to    engage      in    decade-long          litigation     and

 24        multiple      forums,     not       only     domestically      but      even

 25        throughout the world, it seemed important and prudent




                                                                              Appx.000629
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 636 of 783 PageID 7057
                                                                                     41


  1        to me and a requirement that I set out that somebody

  2        would    have    to    come    to   this    Court,     the    Court     with

  3        jurisdiction over these matters, and determine whether

  4        there was a colorable claim.               And that colorable claim

  5        would     have    to    show      gross    negligence        and   willful

  6        misconduct -- i.e., something that would not otherwise

  7        be indemnifiable" --

  8                MR. POMERANTZ:        Hold on one second.

  9        "A      So, basically, it set an exculpation standard for

 10        negligence.            It     exculpates      the      directors       from

 11        negligence, and if somebody wants to bring a cause

 12        against the directors, they have to come to this Court

 13        first to get a finding that there's a colorable claim

 14        for gross negligence or willful misconduct."

 15        "Q      Would    you   have    accepted      the     engagement     as    an

 16        independent director without the Paragraphs 4, 5, and

 17        10 that we just looked at?

 18        "A      No,   these    were       very    specific    requests.          The

 19        language here has been smithed, to be sure, but I

 20        provided the original language for Paragraph 10 and

 21        insisted on the guaranty provisions above to ensure

 22        that the indemnity would have some support.

 23        "Q      And ultimately did the Committee and the Debtor

 24        agree    to     provide     all     the    protections       afforded     by

 25        Paragraphs 4, 5, and 10?




                                                                              Appx.000630
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 637 of 783 PageID 7058
                                                                          42


  1        "A    Yes."

  2              MR. POMERANTZ:     So, Your Honor, these -- this

  3   testimony also applied to as well as the CEO.

  4        The testimony was echoed by Mr. Dubel, another member of

  5   the board.    And I'm not going to put his testimony on the

  6   screen, but it can be found at Pages 272 to 281 of Exhibit 2,

  7   which is the February 2nd transcript.

  8        Movants argue, however, that res judicata doesn't apply

  9   because the Court didn't have jurisdiction to enter these

 10   orders.    And they argue that the order stripped the District

 11   Court of this jurisdiction.       As I previously described, the

 12   Debtor is prepared to modify the governance orders to provide

 13   that the Court shall retain jurisdiction to -- on claims that

 14   pass through the gate only to the extent legally permissible.

 15   The modification does not appear to be good enough for the

 16   Movants.    They continue to argue that the Bankruptcy Court

 17   can't even act as the exclusive gatekeeper to determine

 18   whether such actions are colorable as a prerequisite for

 19   commencing or pursuing an action.

 20        The problem Movants run into is the Fifth Circuit's

 21   opinion of Republic v. Shoaf and various Supreme Court

 22   decisions, including Espinosa.

 23        In Shoaf, the Fifth Circuit held that a party cannot

 24   subsequently challenge a confirmed plan that clearly and

 25   unambiguously released a third party, even if the Bankruptcy




                                                                   Appx.000631
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 638 of 783 PageID 7059
                                                                          43


  1   Court lacked jurisdiction to approve the release in the first

  2   place.   Movants' proper recourse was to appeal the governance

  3   orders, not to seek to collaterally attack them.

  4        In Shoaf, the Fifth Circuit held that the confirmed plan

  5   was res judicata with respect to a suit by the creditor

  6   against the guarantor.      And in so ruling, the Fifth Circuit

  7   says that the prong of res judicata standard that requires an

  8   order, prior order to be made by a court of competent

  9   jurisdiction is satisfied regardless of whether the issue was

 10   actually litigated.      This is because whenever a court enters

 11   an order, it does so by implicitly making a finding of its

 12   jurisdiction, a determination that can't be attacked.           And in

 13   fact, in the January 9th and the July 16th orders, it wasn't

 14   implicit, the Court's jurisdiction; it was set out that the

 15   Court had core jurisdiction.

 16        Movants try to brush Shoaf aside, arguing that is the only

 17   case the Debtor cites to support res judicata argument and is

 18   a narrow opinion that has been questioned and distinguished.

 19   That's just not correct, Your Honor.         Movants ignore that we

 20   have cited two United States Supreme Court cases, Stoll v.

 21   Gottleib and Chicot County Drainage District, upon which the

 22   Fifth Circuit based its Shoaf decision.         In each case, the

 23   U.S. Supreme Court gave res judicata effect to a Bankruptcy

 24   Court order that made a ruling party -- that a ruling party

 25   later claimed was beyond the Court's jurisdiction to do so.




                                                                   Appx.000632
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 639 of 783 PageID 7060
                                                                          44


  1   In Stoll, it was a release of guaranty without jurisdiction,

  2   like Shoaf.    In Chicot, it was an extinguishment of a bond

  3   claim without jurisdiction.

  4        Similarly, Your Honor, the U.S. Supreme Court held in

  5   Espinosa that a party was not entitled to reconsideration of a

  6   Bankruptcy Court order under Federal Rule of Civil Procedure

  7   60(b)(4) discharging a student loan without making the

  8   required statutory finding of undue hardship in an adversary

  9   proceeding.    And the Supreme Court reasoned in that opinion as

 10   follows:    A judgment is not void, for example, simply because

 11   it may have been erroneous.       Similarly, a motion under

 12   60(b)(4) is not a substitute for a timely appeal.           Instead,

 13   60(b)(4) applies only in the rare instance where a judgment is

 14   premised either on a certain type of jurisdictional error or a

 15   violation of due process that deprives a party of notice or

 16   the opportunity to be heard.

 17        Federal courts considering Rule 60(b)(4) motions that

 18   assert a judgment is void because of a jurisdictional defect

 19   generally have reserved it only for the exceptional case in

 20   which the court that rendered the judgment lacked even an

 21   arguable basis for jurisdiction.        This case is not the

 22   exceptional -- exceptional circumstance that was referred to

 23   by Espinosa.

 24        In addition, we argue in our brief, and I'll get to in a

 25   few moments, that both of the orders are justified under the




                                                                   Appx.000633
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 640 of 783 PageID 7061
                                                                          45


  1   Barton doctrine.

  2        Actually, before I go to that, Your Honor, I think Movants

  3   are really trying to distinguish Espinosa by arguing that the

  4   Court's order exculpating Mr. Seery for negligence liability

  5   did not provide people, mom-and-pop investors, with the due

  6   process informing them that they would not be able to assert

  7   duty claims based upon mere negligence.         I think that's the

  8   core of Mr. Bridges' argument, that, hey, you entered an

  9   order, you gave this exculpation, it was inappropriate, and it

 10   couldn't be done.

 11        There are several problems with Movants' argument.           First,

 12   Movants mischaracterize both the facts and the law in

 13   connection with the Debtor's relationship with its investors.

 14   The Debtor is the registered investment advisor for HCLOF as

 15   well as approximately 15 to 18 CLOs.         The only investor in

 16   HCLOF other than the Debtor is CLO Holdco.          The investors in

 17   the CLOs are the retail funds advised by the Dondero advisors

 18   and the other -- and other institutional investors.

 19   Accordingly, the thousands of investors, the mom-and-pop

 20   investors whose due process rights have allegedly been

 21   trampled by the January 9th and July 16th orders, are not

 22   investors in any funds managed by the Debtor.

 23        And, of course, I have mentioned, as I've mentioned

 24   before, no non -- non-Dondero investor, be it a mom-and-pop

 25   investor, another institutional investor, anyone unrelated to




                                                                   Appx.000634
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 641 of 783 PageID 7062
                                                                          46


  1   Mr. Dondero, has ever appeared in this Court to challenge the

  2   Debtor's activities.

  3        But more fundamentally, Your Honor, the Debtor does not

  4   owe fiduciary duties to investors in any of the funds that the

  5   Debtor advises.     The fiduciary duty that the Debtor owes is to

  6   the funds themselves, not the investors in the funds.

  7        And while Movants point to Mr. Seery's prior testimony to

  8   support the argument that the Debtor owes a duty to investors,

  9   Mr. Seery was not testifying as a lawyer and his testimony

 10   just cannot change the law.

 11        As to each of the funds that the Debtor manages, HCLOF and

 12   the CLOs, they were each provided with actual notice of the

 13   January 16th -- the July 16th order and didn't object.            And as

 14   Your Honor will recall, the Trustees for the CLOs, the party

 15   that could potentially have claims for breach of fiduciary

 16   duty, they participated in the January 9th hearing.           They came

 17   to the Court and were concerned about the protocols that the

 18   Debtor was agreeing to with the Committee.          We revised them.

 19   The Trustees didn't object.       They didn't object then; they

 20   didn't object now.     And, in fact, they consented to the

 21   assumption of the contracts between the Debtor and the CLOs.

 22        So the argument that the orders, by having this

 23   exculpation for future conduct, violated due process rights of

 24   anyone and is the type -- essentially, the type of order that

 25   Espinosa would have contemplated could be attacked, is --




                                                                   Appx.000635
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 642 of 783 PageID 7063
                                                                          47


  1   relies on faulty legal and factual premises.          No duty to

  2   investors.    No private right of action.       And both -- and all

  3   the funds received due process.

  4        In addition, Your Honor, as we argue in our brief and I'll

  5   get to in a few moments, both of the orders are justified

  6   under the Barton doctrine, as Mr. Seery is entitled to

  7   protection based upon how courts around the country have

  8   interpreted the Barton doctrine.        As such, Mr. Seery is

  9   performing his role both as an agent of the independent board

 10   under the January 9th order, as a CEO under the July 16th

 11   order, as a quasi-judicial officer.         And as Your Honor

 12   examined in the Ondova opinion which you mentioned, trustees

 13   are entitled to qualified immunity for damage to third parties

 14   resulting from simple negligence, provided that the trustee is

 15   operating within the scope of his duties and is not acting in

 16   an ultra vires manner.

 17        So, exculpating the independent directors, their agents,

 18   and the CEO in the January 9th and July 16th orders was a

 19   recognition by this Court that they would be entitled to

 20   qualified immunity, much in the same way trustees are.

 21        No doubt that Movants contend that this was error and that

 22   the Court overreached.      However, the remedy for that overreach

 23   was an appeal, not a reconsideration 16 months later.           The

 24   Court's orders based upon the determination that in this

 25   highly contentious case that these court officers needed to be




                                                                   Appx.000636
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 643 of 783 PageID 7064
                                                                          48


  1   protected from negligence suits is not the exceptional case

  2   where the Court lacked any arguable basis for jurisdiction.

  3   Accordingly, this Court must follow Espinosa, Shoaf, Stoll,

  4   and Chicot and reject the attack on the prior court orders.

  5        The only case Movants cite to challenge the Supreme

  6   Court's decision -- to challenge the Supreme Court precedent I

  7   mentioned and the Fifth Circuit's Shoaf decision is the

  8   Applewood case.     Applewood is totally consistent with Shoaf.

  9   Applewood also involved a plan that purported to release a

 10   guaranty claim that the guarantor argued was res judicata in

 11   subsequent litigation regarding the guaranty.          The Fifth

 12   Circuit held in that case that the plan was not res judicata.

 13   It made that ruling because the plan did not contain clear and

 14   unambiguous language releasing the guaranty.          In that way, the

 15   Fifth Circuit distinguished Shoaf.

 16        Applewood and Shoaf are consistent.         A Bankruptcy Court

 17   order will be given res judicata effect, even if the Court

 18   didn't have jurisdiction to enter it, if the order was clear

 19   and unambiguous.     In Shoaf, the release was.       In Applewood, it

 20   wasn't.

 21        Movants argued on June 8th and argue now that the

 22   Applewood case really argues -- really deals with prospective

 23   exculpation of claims.      I went back and read Mr. Bridges'

 24   comments carefully of June 8th.       He said Applewood,

 25   exculpation.    Well, that's just not correct.        Applewood is all




                                                                   Appx.000637
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 644 of 783 PageID 7065
                                                                          49


  1   about requiring specificity of a (garbled) to give it res

  2   judicata effect.     Claims that existed at that time, were they

  3   described clearly and unambiguously?         Yes?   Shoaf applies.

  4   No?   Applewood does -- applies.

  5         So how should the Court apply these principles here?           The

  6   Court approved a procedure for certain claims in the

  7   governance orders.       The procedure:     come to Bankruptcy Court

  8   before pursuing a claim against the independent directors and

  9   Seery or their agents so that the Court can make a

 10   colorability determination.       Clear and unambiguous.      The

 11   governance orders each provide that the Bankruptcy Court had

 12   jurisdiction to enter the orders, and the orders were not

 13   appealed.

 14         Movants attempt to confuse the Court and argue Applewood

 15   is on point because the January 9th and July 16th orders do

 16   not clearly identify specific claims that Movants now have

 17   that are being released.      And because they're not specific,

 18   then basically it's an ambiguous release and Applewood

 19   applies.

 20         The problem with the Movants' argument is that neither the

 21   January 9th or July 16th orders released claims that existed

 22   at that time.     If they did, and if there wasn't an adequate

 23   description, I might agree with Mr. Bridges that Applewood

 24   applied.    But there were no claims.       It was prospective.     It

 25   was a standard of care.      The Court clearly and unambiguously




                                                                   Appx.000638
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 645 of 783 PageID 7066
                                                                          50


  1   said what the standard of care would be going forward.

  2   Clearly, under Shoaf and Supreme Court precedent, they are

  3   entitled to res judicata because it's a clear and unambiguous

  4   provision.    Applewood just simply doesn't apply.

  5        Mr. Phillips at the last hearing made an impassioned plea

  6   to the Court for a narrow interpretation of the exculpation

  7   provisions in the January 9th and July 16th orders, and he

  8   argued that the Court could not possibly have intended for the

  9   exculpation for negligence to apply on a go forward basis.               He

 10   thus argued to the Court that the Court should construe the

 11   exculpation narrowly and only apply it to potential claims of

 12   harm caused to the Debtor, as opposed to harm caused to third

 13   parties, which he said included thousands of innocent

 14   investors.

 15        Of course, Mr. Phillips made those arguments unburdened by

 16   the actual facts and the prior proceedings which led to the

 17   entry of these orders, because, as he was the first to admit,

 18   he only became involved in the case a month ago.

 19        As the Court recalls, and as reinforced by Mr. Seery's and

 20   Mr. Dubel's testimony I just mentioned, the exculpation

 21   provisions were included precisely to prevent Mr. Dondero,

 22   through any one of the entities he's owned and controlled, the

 23   Movants being two of those, from asserting baseless claims

 24   against the beneficiaries of those orders, exactly the

 25   situation Mr. Seery now finds himself in.




                                                                   Appx.000639
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 646 of 783 PageID 7067
                                                                          51


  1        And, again, it bears emphasizing:         throughout this case,

  2   not one of the purported public investors Mr. Phillips

  3   lamented would be prevented from holding Mr. Seery responsible

  4   for his conduct has ever appeared in this case to object about

  5   anything.    And none of the directors of the funds, the funds

  6   where the Debtor acts as an investment adviser, have ever

  7   stepped foot in this court, either.

  8        Even if the Court declines to apply res judicata, Your

  9   Honor, to prevent challenges to the governance orders, the

 10   Court has the jurisdiction, had the jurisdiction to include

 11   the gatekeeping provisions in those orders.          The Bankruptcy

 12   Court derives its jurisdiction from 28 U.S.C. Section 157, and

 13   bankruptcy jurisdiction is divided into two parts:           core

 14   matters, which are those arising in or arising under Title 11,

 15   and noncore matters, those matters which are related to a

 16   Chapter 11 case.

 17        Bankruptcy Courts may enter final orders in core

 18   proceedings, and with the consent of parties, noncore

 19   proceedings.    If a party does not consent to a final judgment

 20   in the noncore matters or waives its right to consent, then

 21   the Bankruptcy Court -- or does not waive its right to

 22   consent, then the Bankruptcy Court issues a report and

 23   recommendation to the District Court.

 24        The seminal Fifth Circuit case on bankruptcy court

 25   jurisdiction is the 1987 case of Wood v. Wood, 825 F.2d 90.




                                                                   Appx.000640
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 647 of 783 PageID 7068
                                                                          52


  1   There, the Fifth Circuit held that the Bankruptcy Court has

  2   related to jurisdiction over matters if the outcome of that

  3   proceeding could conceivably have any effect on the estate

  4   being administered in the bankruptcy.

  5        More recently, the Fifth Circuit, in the 2005 case, in

  6   Stonebridge Tech's, elaborated on when a matter has a

  7   conceivable effect on the estate such as to confer Bankruptcy

  8   Court jurisdiction.      There, the Fifth Circuit held that an

  9   action is related to bankruptcy if the outcome could alter the

 10   debtor's rights, liabilities, options, or freedom of action,

 11   either positively or negatively, and which in any way impacts

 12   upon the handling and the administration of the bankruptcy

 13   estate.    It is against this backdrop, Your Honor, that the

 14   Court should evaluate its jurisdiction to have entered the

 15   orders.

 16        So, again, what did the orders do?         They established

 17   governance over the Chapter 11 debtor with new independent

 18   directors being approved.      They established the procedures and

 19   protocols of how transactions were going to be presented to

 20   and approved by the Committee.       They vested in the Committee

 21   certain related-party claims, and they provided for the

 22   procedures parties would have to follow to assert any claims

 23   against the independent directors and the CRO and the agents

 24   and advisors.

 25        Your Honor, it's hard to imagine that there is a more core




                                                                   Appx.000641
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 648 of 783 PageID 7069
                                                                          53


  1   order than the entry of these orders.         At the time the orders

  2   were entered, the Court was well aware of the potential for

  3   acrimony from Mr. Dondero and his related entities, and

  4   included the gatekeeper provisions to prevent the Debtor's

  5   estate from being embroiled in frivolous litigation against

  6   the board and the CEO.

  7        Such protections were clearly within the Court's

  8   jurisdiction, both to protect the administration of the estate

  9   but also under applicable Fifth Circuit law dealing with

 10   vexatious litigants, as set forth in the Baum and Carroll

 11   cases that the Court cited in its confirmation order.

 12        Not that it was hard to predict, but the last several

 13   months have reinforced how important the gatekeeping

 14   provisions in the order are and how important similar

 15   provisions in the plan are.

 16        The Court heard extensive testimony at the confirmation

 17   hearing regarding the havoc continued litigation by Mr.

 18   Dondero and his related entities would cause, which

 19   predictions have unfortunately been borne out by the

 20   unprecedented blizzard of litigation involving Mr. Dondero and

 21   his related entities that has consumed the Court over the last

 22   several months and caused the estate to incur millions of

 23   dollars in fees that could have been used to pay its

 24   creditors.

 25        And these attacks are continuing.         As I mentioned before,




                                                                   Appx.000642
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 649 of 783 PageID 7070
                                                                          54


  1   in addition to the DAF lawsuit, Sbaiti & Co. filed an action

  2   against the Debtor on behalf of PCMG, another related entity,

  3   alleging postpetition mismanagement of the Select Fund.

  4        And to complete the hat trick, they are the lawyers

  5   seeking to sue Acis in the Southern District of New York for

  6   allegedly post-confirmation matters.

  7        The Court knew then and certainly knows now that the

  8   potential for sizable indemnification claims could consume the

  9   estate.    The Court used that as the potential basis for

 10   determining that the orders were within its jurisdiction, just

 11   as it used that potential to justify the exculpation

 12   provisions in the plan as being consistent with Pacific

 13   Lumber.

 14        Movants also ignore the cases -- and we cited in our

 15   opposition -- where courts in this district, including Judge

 16   Lynn in Pilgrim's Pride in 2010 and Judge Houser in the CHC

 17   Group in 2016, approved gatekeeper provisions that provided

 18   the Bankruptcy Court with exclusive jurisdiction to adjudicate

 19   claims against postpetition fiduciaries.

 20        Movants also ignore cases outside this district, including

 21   General Motors and Madoff, which we cited in our brief as

 22   examples of cases where Bankruptcy Courts have been used as

 23   gatekeepers to determine if claims are colorable or being

 24   asserted against the correct entity.

 25        And there's another reason, Your Honor, why Movants may




                                                                   Appx.000643
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 650 of 783 PageID 7071
                                                                          55


  1   now not contest the Court's jurisdiction to have entered those

  2   orders.    Each of those orders, as I said before, include a

  3   finding that the Court had core jurisdiction to enter the

  4   orders.    No party contested that finding or refused to consent

  5   to the core jurisdiction.

  6        Under well-established Supreme Court precedent, parties

  7   can waive their right to challenge the Bankruptcy Court's

  8   jurisdiction, core jurisdiction, by failing to object.            In

  9   Wellness v. Sharif in 2015, the Supreme Court expressly held

 10   that Article III was not violated if parties knowingly and

 11   voluntarily consented to adjudication of Stern v. Marshall-

 12   type alter ego claims, and that the consent need not be

 13   express, so long as it was knowing and voluntary.

 14        And Wellness confirmed the pre-Stern opinion of the Fifth

 15   Circuit in the 1995 McFarland case, which held that a person

 16   who fails to object to the Bankruptcy Court's assumption of

 17   core jurisdiction is deemed to have consented to the entry of

 18   a final order by the Bankruptcy Court.

 19        Your Honor, I'd now like to turn to the Barton doctrine.

 20   The Court also has jurisdiction to have entered the orders

 21   based upon the Barton doctrine.       The Barton doctrine dates

 22   back to an old United States Supreme Court case and provides

 23   as a general rule that, before a suit may be brought against a

 24   trustee, consent from the appointing court must be obtained.

 25        Movants essentially make two arguments why the Barton




                                                                   Appx.000644
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 651 of 783 PageID 7072
                                                                          56


  1   doctrine doesn't apply.

  2        First, Movants, without citing any authority, argue that

  3   it does not apply to Mr. Seery because he is not a trustee or

  4   receiver and was not appointed by the Court.          Although the

  5   doctrine was originally applied to receivers, it has been

  6   extended over time to cover various court-appointed

  7   fiduciaries and their agents in bankruptcy cases, including

  8   debtors in possession, officers and directors of the debtor,

  9   and the general partner of the debtor.         And although Mr.

 10   Bridges says he couldn't find one case that applied the Barton

 11   doctrine to a court-retained professional, I will now talk

 12   about several such cases.

 13        In Helmer v. Pogue, a 2012 case cited in our brief, the

 14   District Court for the Northern District of Alabama

 15   extensively analyzed the Barton doctrine jurisprudence from

 16   the Eleventh Circuit and beyond and concluded that it applied

 17   to debtors in possession.       The Helmer Court relied in part on

 18   a prior 2000 decision of the Eleventh Circuit in Carter v.

 19   Rodgers, which held that the doctrine applies to both court-

 20   appointed and court-approved officers of the debtor, which is

 21   consistent with the law in other circuits.

 22        And subsequently, the Eleventh Circuit again considered --

 23   and in that case, the distinction of a court-appointed as a

 24   court-retained professional was -- was not persuasive to the

 25   Court, and the Court held that a court-retained professional




                                                                   Appx.000645
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 652 of 783 PageID 7073
                                                                          57


  1   can still have Barton protection, notwithstanding that he

  2   wasn't appointed, the argument that Mr. Bridges tries to make.

  3        And subsequently, --

  4              THE COURT:    I wonder, was that -- was that Judge

  5   Clifton Jessup, by chance?       Or maybe Bennett?

  6              MR. POMERANTZ:     Your Honor, this was -- this was the

  7   Eleventh Circuit Carter v. Rodgers, so I think Judge Jessup

  8   was --

  9              THE COURT:    Oh, I thought you were still talking

 10   about the Alabama case.      No?

 11              MR. POMERANTZ:     Yeah, the Alabama -- well, the

 12   Alabama case referred to the Eleventh Circuit case, Carter v.

 13   Rodgers, --

 14              THE COURT:    Okay.

 15              MR. POMERANTZ:     -- and the appointment and -- or

 16   retention issue was discussed in the Carter v. Rodgers case.

 17              THE COURT:    Okay.

 18              MR. POMERANTZ:     And subsequently, the Eleventh

 19   Circuit again considered the contours of the Barton doctrine

 20   in CDC Corp., a 2015 case, 2015 U.S. App. LEXIS 9718.           In that

 21   case, which Your Honor referenced in your Ondova opinion,

 22   which I will discuss in a few moments, the Eleventh Circuit

 23   held that a debtor's general counsel who had been approved by

 24   the Court, who was appointed by a chief restructuring officer

 25   who was also approved by the Court, was covered by the Barton




                                                                   Appx.000646
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 653 of 783 PageID 7074
                                                                          58


  1   doctrine for acts taken in furtherance of the administration

  2   of the estate and the liquidation of the assets.

  3        And the Eleventh Circuit last year, in Tufts v. Hay, 977

  4   F.3d 204, reaffirmed that court-approved counsel who function

  5   as the equivalent of court-appointed officers are entitled to

  6   protection under Barton.      While the Court in that case

  7   ultimately ruled that counsel could be sued without first

  8   going to the Bankruptcy Court, it did so because it determined

  9   that the suit between two sets of lawyers would not have any

 10   effect on the administration of the estate.

 11        So, Your Honor, not only is there authority, there is

 12   overwhelming authority that Mr. Seery is entitled to the

 13   protections.

 14        In Gordon v. Nick, a District -- a case from 1998 from the

 15   Fourth Circuit, the Court that the Barton doctrine applied to

 16   a lawsuit against a general partner who was responsible for

 17   administering the bankruptcy estate.

 18        And as I mentioned, Your Honor, and as Your Honor

 19   mentioned, Your Honor had reason to look at the Barton

 20   doctrine in length and in depth in the 2017 Ondova opinion.

 21   And in the course of the opinion, Your Honor discussed one of

 22   the policy rationales for the doctrine, which you took from

 23   the Seventh Circuit's Linton opinion, and you said as follows:

 24   "Finally, another policy concern underlying the doctrine is a

 25   concern for the overall integrity of the bankruptcy process




                                                                   Appx.000647
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 654 of 783 PageID 7075
                                                                          59


  1   and the threat of trustees being distracted from or

  2   intimidated from doing their jobs.          For example, losers in the

  3   bankruptcy process might turn to other courts to try to become

  4   winners there by alleging the trustee did a negligent job."

  5        Here, the independent board was approved by the Court as

  6   an alternative to the appointment of a Chapter 11 trustee.

  7   And it and its agent, including Mr. Seery as the CEO, even

  8   before the July 16th order, were provided protections in the

  9   form of the gatekeeper order and exculpation.

 10        I'm sure the Court has a good recollection of the January

 11   9th hearing -- we've talked about it a lot in the proceedings

 12   before Your Honor -- where the Debtor and the Committee

 13   presented the governance resolution to Your Honor.           And as

 14   Your Honor will recall, the appointment of the board was a

 15   hotly-contested issue among the Debtor and the Committee and

 16   was heavily negotiated.      And the appointment of the

 17   independent board was even contested by the United States

 18   Trustee at a hearing on January 20th, 2020.

 19        I refer the Court to the transcripts of the hearings on

 20   January 9th and January 20th of 2020, which clearly

 21   demonstrate that appointing this board and giving it the

 22   rights and protections and its agents the rights and

 23   protections was not your typical corporate governance issue,

 24   but it was essentially the Court's alternative to appointing a

 25   trustee.    And recognizing that the members of the independent




                                                                   Appx.000648
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 655 of 783 PageID 7076
                                                                          60


  1   board were essentially officers of the Court, the Court

  2   approved the gatekeeper provision, requiring parties first to

  3   come and seek the Court's permission before suing them, in

  4   order to prevent them from being harassed by frivolous

  5   litigation.

  6        And the independent board was given the responsibility in

  7   the January 9th order to retain a CEO it deemed appropriate,

  8   and it did so by retaining Mr. Seery.

  9        Recognizing the Barton doctrine as it applies to Mr. Seery

 10   is consistent with a legion of cases throughout the United

 11   States, and Movants' argument that Mr. Seery is not court-

 12   appointed is just wrong.

 13        Second, Your Honor, Movants cite without any authority,

 14   argue that even if the Barton doctrine applied there is an

 15   exception which would allow it to pursue a claim against Mr.

 16   Seery without leave of the Court.

 17        The Debtor agrees the 28 U.S.C. § 959 is an exception to

 18   the Barton doctrine.      Section 959(a) provides that trustees,

 19   receivers, or managers of any property, including debtors in

 20   possession, may be sued without leave of the court appointing

 21   them with respect to any of their acts or transactions in

 22   carrying on business connected with such property.

 23        As the Court also pointed out at the June 8th hearing, and

 24   Mr. Bridges alluded to in his argument, the last sentence of

 25   959(a) provides that such actions -- clearly referring to




                                                                   Appx.000649
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 656 of 783 PageID 7077
                                                                          61


  1   actions that may be pursued without leave of the appointing

  2   court -- shall be subject to the general equity power of such

  3   court, so far as the same may be necessary to the ends of

  4   justice.

  5        And Mr. Bridges made a plea, saying you can't take away my

  6   jury trial right there.      You just cannot do that.       Well, I

  7   have two answers to that, Your Honor.         One, they relinquished

  8   their jury trial right.      We've established that.       Okay?

  9        The second is allowing Your Honor to act as a gatekeeper

 10   has nothing to do with their jury trial right.          Allowing Your

 11   Honor to act as a gatekeeper allows you to determine whether

 12   the action could go forward, and it'll either go forward in

 13   Your Honor's court or some other court.

 14        And the argument that the exculpation was essentially a

 15   violation of 959 is just -- is just -- it just is twisting

 16   what happened.     You have an exculpation provision.        We already

 17   went through the authority the Court had to give an

 18   exculpation.    With respect to these litigants who are before

 19   Your Honor -- we're not talking about anyone else who's coming

 20   in to try to get relief from the order; we're talking about

 21   these litigants -- we've already established that they were

 22   here, they're bound by res judicata.         So their 959 argument

 23   goes away.

 24        And as the Court -- and separate and apart from that, the

 25   issue at issue in the District Court litigation is -- is not




                                                                   Appx.000650
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 657 of 783 PageID 7078
                                                                          62


  1   even subject to 959.

  2        Mr. Bridges says, well, of course it is because it deals

  3   with the administration of the estate.         I'd like to refer to

  4   what the Court said -- this Court said in its Ondova opinion:

  5   The exception generally applies to situations in which the

  6   trustee is operating a business and some stranger to the

  7   bankruptcy process might be harmed, such as a negligence claim

  8   in a slip-and-fall case, and is inapplicable to suits based

  9   upon actions taken to further the administering or liquidating

 10   the bankruptcy estate.

 11        And your Ondova opinion is consistent with the Third and

 12   Eleventh Circuit opinions Your Honor cited in your opinion, as

 13   well as numerous other --

 14        (Interruption.)

 15              MR. POMERANTZ:     -- from the -- from around the

 16   country, including cases from the First, Second, Sixth,

 17   Seventh, and Ninth Circuits.       And I'm not going to give all

 18   the cites to those cases, but it's not a -- it's not a

 19   remarkable proposition that Your Honor relied on in Ondova.

 20        In addition, several of these cases, including the

 21   Eleventh Circuit's Carter opinion, have been cited with

 22   approval by the Fifth Circuit in National Business Association

 23   v. Lightfoot, a 2008 unpublished opinion for this very point.

 24   The Barton exception of 959 does not apply to actions taken in

 25   the administration of the case and the liquidation of assets




                                                                   Appx.000651
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 658 of 783 PageID 7079
                                                                          63


  1   in the estate.

  2        Suffice it to say that it's clear that the Section 959

  3   exception to Barton has no applicability in this case.

  4   Movants, hardly strangers to the bankruptcy case, want to sue

  5   Mr. Seery for acts taken relating to a settlement of very

  6   complex and significant claims against the estate.           They want

  7   to sue a court-appointed fiduciary for doing his job,

  8   resolving claims against the estate and his management of the

  9   bankruptcy estate.     And they want to do this outside of the

 10   Bankruptcy Court.

 11        Settlement of the HarbourVest claim, which is where this

 12   claim arises under -- whether it's a collateral attack now or

 13   not, and we say it is, is for another issue -- but it clearly

 14   arises in the context of settlement of the HarbourVest claim,

 15   is the quintessential act to further the administration and

 16   liquidation of the bankruptcy estate, and certainly doesn't

 17   fall within the 959 exception.

 18        Movants seem to be arguing that 959(a) makes a distinction

 19   between claims against Mr. Seery that damaged the Debtor and

 20   claims against Mr. Seery that damaged third parties.           However,

 21   the Movants make up that distinction, and it's not in the

 22   statute, it's not in the case law.          The focus is not on who

 23   the conduct damages, but it's rather on whether the conduct

 24   was taken in connection with the administration or the

 25   liquidation of the estate.




                                                                   Appx.000652
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 659 of 783 PageID 7080
                                                                          64


  1        And even if the Debtor is wrong, Your Honor, which it's

  2   not, the savings clause allows the Court to determine whether

  3   leave to be -- sue will be granted.         Given that these claims

  4   are asserted by Dondero-related entities, if not controlled

  5   entities, no serious argument exists that the equities do not

  6   permit this Court to determine if leave to sue is appropriate.

  7        Accordingly, Movants' argument that the orders create this

  8   tension with 959 is simply an over-dramatization.           And in any

  9   event, Your Honor, there's a basis independent of Barton that

 10   supports the jurisdiction to enter the orders, as I mentioned.

 11        But even if the orders only relied on Barton, there is an

 12   easy fix to Movants' concerns:       let them come to court and

 13   argue that the type of suit they are bringing allegedly falls

 14   within the exception of 959.

 15        Your Honor, Movants argue that the Bankruptcy Court may

 16   not act as a gatekeeper if it would not have jurisdiction to

 17   deal with the underlying action.        They essentially argue that

 18   an Article I judge may not pass on the colorability of a

 19   claim, that it should be decided by an Article III judge.

 20   This is the same argument, Your Honor, that Your Honor

 21   rejected in connection with plan confirmation and which I

 22   touched on earlier.

 23        And the reason why Your Honor rejected it is because

 24   there's no law to support it.       In fact, there is Fifth Circuit

 25   law that holds to the contrary.       And we talked about a little




                                                                   Appx.000653
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 660 of 783 PageID 7081
                                                                          65


  1   bit the Fifth Circuit case decided is Villegas v. Schmidt in

  2   2015.   And Villegas is a simple case.        Schmidt was appointed

  3   trustee over a debtor and liquidated its estate and the

  4   Bankruptcy Court approved his final fees.          Four years later,

  5   Villegas and the prior debtor sued Schmidt in District Court,

  6   the district in which the Bankruptcy Court was pending,

  7   arguing that he was negligent in the performance of his

  8   duties.    The District Court dismissed the case because

  9   Villegas failed to obtain Bankruptcy Court approval to bring

 10   the suit under the Barton doctrine.

 11        On appeal, Villegas argued Barton didn't apply for two

 12   reasons.    First, that Stern v. Marshall created an exception

 13   to the Barton doctrine for claims that the Bankruptcy Court

 14   would not have the jurisdiction to adjudicate.           And second,

 15   that Barton did not apply if the suit is brought in the

 16   District Court, which exercises supervisory authority over the

 17   Bankruptcy Court that appointed the trustee.          Pretty much the

 18   argument that was made by Movants at the contempt hearing.

 19        The Fifth Circuit rejected both arguments.          It held that

 20   the existence of a Stern claim does not impact the Bankruptcy

 21   Court's authority because Stern did not overrule Barton and

 22   the Supreme Court had cautioned circuit courts against

 23   interpreting later cases as impliedly overruling prior cases.

 24        More importantly, the Fifth Circuit pointed to a post-

 25   Stern 2014 case, Executive Benefits v. Arkison, 573 U.S. 25




                                                                   Appx.000654
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 661 of 783 PageID 7082
                                                                          66


  1   (2014), which held that Stern does not decide how a Bankruptcy

  2   Court or District Courts should proceed when a Stern creditor

  3   is identified, as support for the argument that Barton is

  4   still good law, even dealing with a Stern claim.

  5        Second, the Fifth Circuit, joining every circuit to have

  6   addressed the issue, ruled that the District Court and the

  7   Bankruptcy Court are distinct from one another and the

  8   Bankruptcy Court has the exclusive authority to determine the

  9   colorability of Barton claims and that the supervisory

 10   District Court does not.

 11        Movants didn't address Villegas in their reply.           Briefly

 12   tried to distinguish it, unconvincingly, today.           The bottom

 13   line is Villegas is directly applicable.          Your Honor cited it

 14   in the Ondova opinion for precisely the proposition that

 15   Barton applies whether or not the Court has authority to

 16   adjudicate the claim.

 17        Accordingly, Your Honor, it was within the Court's

 18   jurisdiction to require a party to seek approval of Your Honor

 19   on the colorability of a claim before an action may be

 20   commenced or pursued against the protected parties, even if

 21   Your Honor wouldn't have authority to adjudicate the claim at

 22   the end of the day.

 23        In fact, some courts have even addressed the proper

 24   procedure for doing so, requiring the putative plaintiff to

 25   not only seek leave of Bankruptcy Court but also to provide a




                                                                   Appx.000655
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 662 of 783 PageID 7083
                                                                            67


  1   draft complaint and a basis for the Court to determine if the

  2   claim is colorable.

  3        Movants have done neither, and they should not be

  4   permitted to modify the final orders of the Court as a

  5   workaround.

  6        Your Honor, that concludes my presentation.          I'm happy to

  7   answer any questions Your Honor may have.

  8              THE COURT:    All right.    Not at this time.      All right.

  9   I'm going to figure out, do we need a break or not, depending

 10   on what Mr. Bridges tells me.        I assume we're just doing this

 11   on argument today.      I think that's what I heard.       No witnesses

 12   or exhibits.

 13              MR. BRIDGES:    That is correct, Your Honor.

 14              THE COURT:    Okay.   Mr. Bridges, how long do you

 15   expect your rebuttal to take so I can figure out does the

 16   Court need a break?

 17              MR. BRIDGES:    Fifteen minutes plus whatever it takes

 18   to submit agreed-to exhibits.

 19              THE COURT:    Okay.   Let's take a five-minute bathroom

 20   break.   We'll come back.     It's -- what time is it?       It's 1:11

 21   Central time.     We'll come back in five minutes.

 22              THE CLERK:    All rise.

 23        (A recess ensued from 1:11 p.m. until 1:17 p.m.)

 24              THE CLERK:    All rise.

 25              THE COURT:    All right.    Please be seated.      We're




                                                                   Appx.000656
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 663 of 783 PageID 7084
                                                                          68


  1   going back on the record in the Highland matters.

  2        Mr. Bridges, time for your rebuttal.         I want to ask you a

  3   question right off the bat.       Mr. Pomerantz pointed out

  4   something that was on my list that I forgot to ask you when

  5   you made your initial presentation.         What is the authority

  6   you're relying on?      You did not cite a statute or a rule per

  7   se, but I guess we can probably all agree that Bankruptcy Rule

  8   9024 and Federal Rule 60 is the authority that would govern

  9   your motion, correct?

 10              MR. BRIDGES:    I don't agree, Your Honor.        I don't

 11   believe this is a final order that we're contesting here.              And

 12   I think that's demonstrated by the Court's final confirmation

 13   -- plan -- plan confirmation order that seeks to modify this

 14   order or will modify this order upon being -- being effective.

 15   So I don't think so.

 16        In the alternative, if we are challenging a final order,

 17   then I think you're right as to the rules that would be

 18   controlling.

 19              THE COURT:    All right.    Well, let me back up.      Why

 20   exactly do you say this would be an interlocutory order as

 21   opposed to a final order?

 22              MR. BRIDGES:    Because of its nature, Your Honor.

 23   While the appointment in the order or the approval of the

 24   appointment in the order might, as a separate component of the

 25   order, have -- have finality, the provisions -- the provisions




                                                                   Appx.000657
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 664 of 783 PageID 7085
                                                                          69


  1   in it relating to gatekeeping and exculpation are, we think,

  2   by their very nature, quite obviously interlocutory and not

  3   permanent.    They don't seem to indicate an intention by any of

  4   the parties that, 30 years from now, if Mr. Seery is still CEO

  5   at Highland, long after the bankruptcy case has ended, that

  6   nonetheless parties would be prohibited from bringing claims,

  7   strangers to this action would be prohibited from bringing

  8   claims related to his CEO role.

  9        I think the nature of it demonstrates that, the

 10   modifications to it, and even the inclusion of it in the final

 11   plan confirmation, as well as -- can't read that.

 12              THE COURT:    Can you give me some authority?        Because

 13   as we know, there's a lot of authority out there in the

 14   bankruptcy universe on what discrete orders are interlocutory

 15   in nature that a bankruptcy judge might routinely enter and

 16   which ones are final.      You know, it would just probably, if I

 17   flipped open Collier's, I could -- you know, it would be mind-

 18   numbing.

 19        So what authority can you rely on?         I mean, is there any

 20   authority that says an employment order is not a final order?

 21   That would be shocking to me if you have cases to that effect,

 22   but, I mean, of course, sometimes we do interim on short

 23   notice and then final.      But this would be shocking to me if

 24   there is case authority to support the argument this is not a

 25   final order.    But I learn something new every day, so maybe I




                                                                   Appx.000658
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 665 of 783 PageID 7086
                                                                           70


  1   would be shocked and there is.

  2              MR. BRIDGES:    Your Honor, I'd point you to In re

  3   Smyth, 207 F.3d 758, and In re Royal Manor, 525 B.K. 338

  4   [sic], for the proposition that retaining a bankruptcy

  5   professional is an interlocutory order.

  6              THE COURT:    Okay.   Stop for a moment.      The Smyth

  7   case.   Which court is that?

  8              MR. BRIDGES:    Fifth Circuit.

  9              THE COURT:    Okay.   So tell me the facts.       I'm

 10   surprised I don't know about this case.         But, again, I don't

 11   know every case.     So, it held that an employment order is an

 12   interlocutory order?

 13              MR. BRIDGES:    Appointing counsel.       A professional in

 14   the bankruptcy context, Your Honor.

 15              THE COURT:    Counsel for a debtor-in-possession?          An

 16   order approving counsel was an interlocutory order?

 17              MR. BRIDGES:    Yes, or the Trustee's counsel.

 18              THE COURT:    Or the Trustee's counsel?       Okay.     What

 19   were the circumstances?      Was this on an expedited basis and

 20   there wasn't a follow-up final order, or what?

 21              MR. BRIDGES:    Your Honor, I don't have -- I don't

 22   have that at the tip of my memory.          I'm sorry.

 23              THE COURT:    Okay.   And the other one, 525 B.R. 338,

 24   what court was that?

 25              MR. BRIDGES:    It's a Bankruptcy Court within the




                                                                   Appx.000659
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 666 of 783 PageID 7087
                                                                          71


  1   Sixth Circuit.     I'm not certain which district.

  2                THE COURT:   All right.   Well, maybe one of you two

  3   over there can look them up and give me the context, because

  4   that is surprising authority.       Or other lawyers on the WebEx

  5   maybe can do some quickie research.

  6        Okay.    We'll come back to that.      But assuming that this

  7   was a final order, which I have just been presuming it was,

  8   Rule 60 is the authority you're going under?          9024 and Rule

  9   60, correct?

 10                MR. BRIDGES:   Your Honor, we have not invoked those

 11   rules.   Alternatively, I think you're right that they would

 12   control if we are wrong about the interlocutory nature of the

 13   order.

 14                THE COURT:   Well, you have to be going under certain

 15   -- some kind of authority when you file a motion.           So I'm --

 16                MR. BRIDGES:   As an alternative --

 17                THE COURT:   I'm approaching this exactly, I assure

 18   you, as the District Court or a Court of Appeals would.            You

 19   know, you start out, what is the legal authority that is being

 20   invoked here?

 21                MR. BRIDGES:   Well, --

 22                THE COURT:   So I just assume Rule 60.      I can't, you

 23   know, come up with anything else that would be the authority.

 24                MR. BRIDGES:   Yes, Your Honor.     You also have

 25   inherent power to modify orders that are in violation of the




                                                                   Appx.000660
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 667 of 783 PageID 7088
                                                                          72


  1   law.   And we pointed you to --

  2              THE COURT:    Now, is that right?      Is that really

  3   right?   Why do we have Rule 60 if I can just willy-nilly, oh,

  4   I feel like I got that wrong two years ago?          I can't do that,

  5   can I?   Rule 60 is the template for when a court can do that.

  6   Parties are entitled to rely on orders of courts.           And that's

  7   why we have Rule 60, right?       So, --

  8              MR. BRIDGES:    Your Honor, I think -- I think that

  9   we're miscommunicating.      I'm trying not to rely on Rule 60 in

 10   the first instance because in the first instance we view this

 11   as not a final order.      So, in the first instance, --

 12              THE COURT:    I got that.    And I've got my law clerks

 13   looking up your cases to see if they convince me.           But I'm

 14   asking you to go to layer two.        Assuming I don't agree with

 15   you these are final orders, what is your authority for the

 16   relief you're seeking?

 17              MR. BRIDGES:    Yes, Your Honor.      Rule 60 would apply

 18   in the alternative.

 19              THE COURT:    All right.

 20              MR. BRIDGES:    That's correct.

 21              THE COURT:    So, which provision?      Which provision of

 22   Rule 60?    (b) what?

 23              MR. BRIDGES:    Your Honor, I'm not prepared to concede

 24   any of them.    I don't have the rule in front of me.

 25              THE COURT:    You're not prepared to concede what?




                                                                   Appx.000661
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 668 of 783 PageID 7089
                                                                          73


  1              MR. BRIDGES:    Any of the provisions of Rule 60.         Just

  2   (b)(1), (b)(2), especially, but I'm -- I'm -- Rule 60 is our

  3   basis, as is the particulars (b)(1), (2), (6) --

  4        (Garbled audio.)

  5              THE COURT:    Okay.    You're breaking up.     Can you

  6   restate?

  7              MR. BRIDGES:    (b)(1), (2), and (6), as -- as well as

  8   any other provision, Your Honor, of Rule 60.

  9              THE COURT:    Okay.    Well, so (1), mistake,

 10   inadvertence, surprise, excusable neglect.          Which one of

 11   those?

 12              MR. BRIDGES:    All of the above, Your Honor.

 13              THE COURT:    Surprise?    Who's surprised?

 14              MR. BRIDGES:    Your Honor, I think every potential

 15   litigant who discovers that your order purports to bar

 16   prospective unaccrued claims at the time the order issued

 17   would be surprised.

 18        Frankly, I think Mr. Seery would be surprised, given his

 19   testimony that he owes fiduciary duty -- duties that he must

 20   abide by and that he appears to have, as I continue to

 21   represent to clients, to advisees, and to the SEC, that those

 22   duties are owing.

 23              THE COURT:    Okay.    I'm giving you one more chance

 24   here to make clear on the record what provision of Rule 60(b)

 25   are you relying on, okay?        I need to know.    It's not in your




                                                                   Appx.000662
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 669 of 783 PageID 7090
                                                                          74


  1   pleading.

  2               MR. BRIDGES:   Your Honor, --

  3               THE COURT:   So tell me specifically.       I can only --

  4               MR. BRIDGES:   -- (b)(1) --

  5               THE COURT:   -- come up with a result here if I know

  6   exactly what's being presented.

  7               MR. BRIDGES:   Your Honor, (b)(1), (b)(2), and (b)(6)

  8   --

  9               THE COURT:   Which, okay, there are multiple parts to

 10   (1).   You're saying somebody's surprised by the ruling.           I

 11   don't know who.     Really, all that matters is your client, the

 12   Movants.    You're saying, even though they participated, --

 13               MR. BRIDGES:   Yes, Your Honor.

 14               THE COURT:   -- got notice, they're somehow surprised?

 15   Why are they surprised?

 16               MR. BRIDGES:   Yes, Your Honor.

 17               THE COURT:   Do you have evidence of their surprise?

 18               MR. BRIDGES:   Your Honor, our brief shows the

 19   intentions of all involved were not the interpretation of that

 20   order being advanced at this -- at this point in time.            And

 21   so, yes, I believe that is evidence.         The transcripts of the

 22   hearings I believe evidence that as well, that the

 23   understanding of everyone involved was not that future --

 24   unspecified future claims that had not accrued yet would be

 25   released under (b)(1).      Yes, Your Honor.




                                                                   Appx.000663
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 670 of 783 PageID 7091
                                                                            75


  1              THE COURT:    Okay.

  2              MR. BRIDGES:    Under (b)(2), --

  3              THE COURT:    I don't have any evidence of that.           All I

  4   have is the clear wording of the order.           Okay.    Let me just --

  5   just let me go through this.

  6        Assuming Rule 60 (1) through (6) are what you're arguing

  7   here, what about Rule 60(c):       a motion under Rule 60(b) must

  8   be made within a reasonable time?           We're now 11 months --

  9              MR. BRIDGES:    Your Honor, --

 10              THE COURT:    We're now 11 months past the July 2020

 11   order.   What is your authority for this being a reasonable

 12   time?

 13              MR. BRIDGES:    Yes, Your Honor.       If I may back up one

 14   step before answering your question.          Under (b)(2), we're

 15   relying on newly-discovered evidence that was discovered in

 16   late March and caused both the filing of this motion and the

 17   filing of the District Court action.

 18        Under (b)(4), we believe that the order is --

 19              THE COURT:    Let me stop.       Let me stop.    What is my

 20   evidence that you're putting in the record that's newly

 21   discovered?

 22              MR. BRIDGES:    The evidence is detailed in the

 23   complaint that is in the record.        You know, --

 24              THE COURT:    That's not evidence.

 25              MR. BRIDGES:    -- honestly, Your Honor, --




                                                                     Appx.000664
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 671 of 783 PageID 7092
                                                                            76


  1              THE COURT:    That is not evidence.       Okay?    A lawyer-

  2   drafted complaint in another court is not evidence.             Okay?

  3              MR. BRIDGES:    Your Honor, I think, to be technical,

  4   that there is not a record yet, that we have evidence yet to

  5   be admitted on our exhibit list.        I believe in this

  6   circumstance -- I understand that, in general, allegations in

  7   a pleading are not evidence.       In this instance, when we're

  8   talking about whether or not new facts led to the filing of a

  9   lawsuit, I do believe that the allegations in the lawsuit are

 10   evidence of those new facts.

 11              THE COURT:    All right.    Go on.

 12              MR. BRIDGES:    Under (b)(4), we believe the order is,

 13   in part, void.     It is void because of the jurisdictional and

 14   other defects noted in our argument.

 15        And also, under (b)(6) (garbled) ground for relief that

 16   we're appealing to the equitable powers of this Court to

 17   correct errors and manifest injustice towards not just the

 18   litigants here but to correct the order of the Court to make

 19   it comply with -- with the law, with the statutes promulgated

 20   by Congress and to respect the jurisdiction of the District

 21   Court.

 22              THE COURT:    All right.    Do you agree with Mr.

 23   Pomerantz that the case law standard for Rule 60(b)(4) is

 24   exceptional circumstances?       It's only applied so that a

 25   judgment is voided in exceptional circumstances.             Do you




                                                                     Appx.000665
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 672 of 783 PageID 7093
                                                                          77


  1   disagree with that case authority?

  2              MR. BRIDGES:    I would -- I would agree, in part, that

  3   unusual circumstances is not the ordinary case.           I'm not

  4   entirely sure what you mean by exceptional, but I think we're

  5   on the same page.

  6              THE COURT:    Okay.   It's not what I mean.       That's just

  7   the case law standard.      And I'm asking, do you agree with Mr.

  8   Pomerantz that that is the standard set forth in case law when

  9   applying 60(b)(4)?      There have to be some sort of exceptional

 10   circumstances where there's just basically no chance the Court

 11   had authority to do what it did.

 12              MR. BRIDGES:    Out of the ordinary would be the phrase

 13   I would use, Your Honor.

 14              THE COURT:    Okay.   So I guess then I'll go from

 15   there.   Is it your argument that gatekeeping provisions in the

 16   bankruptcy world are out of the ordinary?

 17              MR. BRIDGES:    The exculpation of Mr. Seery for

 18   liability falling short of gross negligence or intentional

 19   wrongdoing in connection with his continuing to conduct the

 20   business of the Debtor as an investment advisor subject to the

 21   Advisers Act, yes, I would say that is out of the ordinary,

 22   that it is extraordinary, that it is --

 23              THE COURT:    Okay.   What is your authority or evidence

 24   on that?    Because this Court approves exculpation provisions

 25   regularly in connection with employment orders, and pretty




                                                                   Appx.000666
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 673 of 783 PageID 7094
                                                                          78


  1   much every judge I know does.       In fact, I'm wondering why this

  2   isn't just a term of compensation.          You know, he's going to do

  3   x, y, z in the case.      His compensation is going to be a, b, c,

  4   d, e.   And by the way, we're going to set a standard of

  5   liability for his performance as CEO or investment banker,

  6   financial advisor, whatever, so that no one can sue him

  7   regarding his performance of his job duties unless it rises to

  8   the level of gross negligence, willful misconduct.

  9        It's a term of employment that, from my vantage point,

 10   seems to be employed all the time.          So it would be anything

 11   but exceptional circumstances.       Do you have authority or

 12   evidence --

 13              MR. BRIDGES:    Your Honor, frankly, --

 14              THE COURT:    -- to the contrary?

 15              MR. BRIDGES:    Your Honor, frankly, I'm astonished at

 16   your view of that situation, that it would merely be a term of

 17   his employment, that vitiates the entire fiduciary duty

 18   standard created by the Advisers Act that tells him, with

 19   hundreds of millions of dollars of assets under management for

 20   people he's advising as a registered investment advisor,

 21   people he's advising who believe that he has a fiduciary duty

 22   to them and that it's enforceable, that the SEC, who monitors,

 23   believes he has an enforceable fiduciary duty to those people,

 24   and that he's testified that he has fiduciary duties to those

 25   people, and that Your Honor is saying no, just as a regular




                                                                   Appx.000667
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 674 of 783 PageID 7095
                                                                          79


  1   term of employment we have undone the Advisers Act's

  2   imposition of an unwaivable fiduciary duty.

  3          Your Honor, the order is void to the extent that it

  4   attempts to do so.

  5          This is not an ordinary employment agreement, Your Honor.

  6   This is an attempt to exculpate someone from the key thing

  7   that our entire investment system depends upon, regulation by

  8   the SEC and the requirement in investment advisors to act as

  9   fiduciaries when they manage the money of another.

 10          It would be the equivalent of telling lawyers who are

 11   appointed in a bankruptcy proceeding that they don't have any

 12   duties to their client, or at least not fiduciary duties.

 13   That the lawyers merely owe a duty not to be grossly negligent

 14   to their clients.     That's not an ordinary term of employment,

 15   Your Honor.

 16               THE COURT:   All right.    So I guess we're back to my

 17   question, was this brought within a reasonable time under Rule

 18   60(c)?

 19               MR. BRIDGES:   It was brought very quickly after the

 20   new evidence was discovered at the end of March, Your Honor,

 21   yes.

 22               THE COURT:   Okay.   Well, I guess I'll just ask you

 23   one more question before you continue on with your rebuttal

 24   argument.    I mean, again, I want your best argument of why

 25   Villegas doesn't absolutely permit the gatekeeping provisions




                                                                   Appx.000668
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 675 of 783 PageID 7096
                                                                          80


  1   that you're challenging.      And many cases were cited by Mr.

  2   Pomerantz in his brief where courts have extended the Barton

  3   doctrine to persons other than trustees.          And so what is your

  4   best rebuttal to that?

  5               MR. BRIDGES:   Your Honor, we've already given it.

  6   I'm afraid --

  7               THE COURT:   Okay.    If you don't want to say more, --

  8               MR. BRIDGES:   -- what I have is not --

  9               THE COURT:   -- I'm not going to make you say more.

 10               MR. BRIDGES:   I --

 11               THE COURT:   I'm just telling you what's on my brain.

 12               MR. BRIDGES:   I do.    I want to -- I am apologizing in

 13   advance for repeating, but yes, Villegas, Villegas, however

 14   that case is pronounced, says that Stern is not an exception

 15   to the Barton doctrine.

 16               THE COURT:   Uh-huh.

 17               MR. BRIDGES:   959(a) is an exception to the Barton

 18   doctrine.    You are not operating under the Barton doctrine

 19   here.   Even counsel's brief, the Debtor's brief, doesn't say

 20   Barton applies.     It says it's consistent with Barton.

 21        Your Honor, in our previous hearing, you directed me to

 22   the second sentence of 959(a) because you believe it's what

 23   empowers you to do the gatekeeping.         It limits the gatekeeping

 24   that you can do by protecting jury rights, the right to trial,

 25   says you cannot discharge, undo, deprive a litigant of their




                                                                   Appx.000669
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 676 of 783 PageID 7097
                                                                          81


  1   right to a trial, a jury trial.

  2              THE COURT:    Well, you mentioned it again, jury trial

  3   rights.    Do you have any argument --

  4              MR. BRIDGES:    Yes, Your Honor.

  5              THE COURT:    -- of why that hasn't flown out the

  6   window?

  7              MR. BRIDGES:    Yes, Your Honor.      I am told that

  8   Section 14(f) that counsel for the Debtor referred to is not a

  9   waiver of jury rights at all.       It is an arbitration agreement.

 10   Your Honor is probably familiar how arbitration agreements

 11   work, is that they need not be elected.          They need not be

 12   invoked by the parties.      When they are, they create a

 13   situation where arbitration may be required.          But a waiver of

 14   a jury right outside of arbitration is not part of this

 15   arbitration clause, or of any.       The issue is not briefed or in

 16   evidence before the Court.       We're relying on representations

 17   of counsel as to what that provision contains.           That Mr. Seery

 18   wasn't even a party to that agreement, the advisory agreement,

 19   with the Charitable DAF.      The arbitration agreement is subject

 20   to defenses that are not at issue here before the Court.            That

 21   Movants' rights, their contractual rights to invoke the

 22   arbitration clause, also appear to be terminated by the

 23   orders' assertion of sole jurisdiction in this matter.

 24        Your Honor, yes, our jury rights survive Section 14(f) in

 25   the advisory agreement with the DAF for all of those potential




                                                                   Appx.000670
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 677 of 783 PageID 7098
                                                                          82


  1   reasons.

  2        On top of that, it doesn't go to all of our causes of

  3   action.    It goes to the contract cause of action.         And to the

  4   extent they can argue that the other claims are subject to

  5   arbitration, that also is a defense and -- defensible and

  6   complex issue requiring the application of the Federal

  7   Arbitration Act, requiring consideration of the Federal

  8   Arbitration Act, which this Court doesn't have jurisdiction to

  9   do under 157(d).

 10              THE COURT:    What?    Repeat that.

 11              MR. BRIDGES:    Yes.   This Court does not have

 12   jurisdiction to determine whether or not arbitration --

 13   arbitration is enforceable due to the mandatory withdrawal of

 14   the reference provisions of 157(d).

 15              THE COURT:    That's just not consistent with Fifth

 16   Circuit authority.      National Gypsum.     What are some of these

 17   other arbitration cases?      I've written an article on it.        I

 18   can't remember them.      That's just not right.      Bankruptcy

 19   courts look at arbitration clauses all the time.           Motions to

 20   compel arbitration.

 21              MR. BRIDGES:    Your Honor, under 157(d), in the

 22   circumstances of this case, if the Court is going to take into

 23   consideration an arbitration clause under the Federal

 24   Arbitration Act, when that clause is not in evidence and is

 25   not before the Court, then Movants respectfully move to




                                                                   Appx.000671
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 678 of 783 PageID 7099
                                                                          83


  1   withdraw the reference of your consideration of that issue and

  2   of any proceeding and ask that you would issue only a report

  3   and recommendation rather than an order on that issue.

  4              THE COURT:    Okay.   I regret that we even got off on

  5   this trail.    I'm sorry.    So just proceed with your rebuttal

  6   argument as you had envisioned it, Mr. Bridges.

  7              MR. BRIDGES:     Thank you, Your Honor.

  8        Debtor's counsel says there's no private right of action

  9   under the Advisers Act.      That is both inaccurate and

 10   misleading.    The Advisory Act creates, imposes fiduciary

 11   duties that state law provides the cause of action for.            It is

 12   a state law breach of fiduciary duty claim regarding --

 13   regarding fiduciary duties imposed as a matter of law by the

 14   Investment Advisers Act that is Count One in the District

 15   Court action.

 16        Furthermore, that Act does create a private right of

 17   action for rescission.      That would be rescission of the

 18   advisory agreement with the Charitable DAF, not rescission of

 19   the HarbourVest settlement.

 20        Second, Your Honor, the notion that this Court has related

 21   to jurisdiction is irrelevant and beside the point.           I would

 22   like to note for the record that the District Court civil

 23   cover sheet that omitted to state that this was a related

 24   action has been corrected, has been amended, and that that has

 25   taken place.




                                                                   Appx.000672
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 679 of 783 PageID 7100
                                                                          84


  1        Counsel for the Debtor also appears to agree with us that

  2   the order ought to be modified for having asserted exclusive

  3   jurisdiction over colorable claims to the extent it's not

  4   legally permissible to do.       And in trying to invoke the

  5   discussions between us as to how the orders might be fixed,

  6   what counsel does is tries to cabin the legally-permissible

  7   caveat to just the second half of the paragraph at issue.             It

  8   is both -- both portions, the gatekeeping and the subsequent

  9   hearing of the claims, that should be limited to the extent it

 10   would be impermissible legally for this Court to make those

 11   decisions.

 12        On top of that, Your Honor, merely stating "to the extent

 13   legally permissible" would result in a considerable amount of

 14   ambiguity in the order that would lead it, I fear, to be

 15   unenforceable as a matter of law.

 16        Next, Your Honor, when Debtor's counsel talks about the

 17   authority in this case, it feels like we're ships passing in

 18   the night.    He says that we're wrong in asserting that no case

 19   we can find involves both the Barton doctrine and the

 20   application of the business judgment rule where the Court is

 21   asked to defer, and he mentions cases that apply the Barton

 22   doctrine to an approval rather than an appointment.           The Court

 23   is asked to --

 24        (Garbled audio.)

 25              THE COURT:    I lost you for a moment.       Could you




                                                                   Appx.000673
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 680 of 783 PageID 7101
                                                                            85


  1   repeat the last 30 seconds?

  2              MR. BRIDGES:    Thank you, Your Honor.       Yes.    He points

  3   -- opposing counsel points us to case law where the Barton

  4   doctrine has been applied despite the Bankruptcy Court having

  5   merely approved rather than appointed the trustee or the, I'm

  6   sorry, the professional.      But in doing so, he doesn't

  7   reference any case that has done so in the context of business

  8   judgment rule deference.      It's like we're ships passing in the

  9   night.

 10        What we're saying isn't that a mere approval can never

 11   rise to the level of the Barton doctrine.          What we're saying

 12   is that, in combination with the business judgment rule

 13   deference, the two cannot go together.         There's no authority

 14   for saying that they do.

 15        We -- I further feel like we're ships passing in the night

 16   when he talks about Shoaf.       Counsel says that in Shoaf there

 17   was a confirmed final plan and it specifically identified the

 18   released guaranty.     And yeah, that distinguishes it from this

 19   case, just as it distinguished -- just as the Applewood Chair

 20   case distinguished it when there's not that specific

 21   identification.     And here, we don't even have a final plan

 22   confirmation at the time these orders are being issued.

 23   Without that express -- express notion of what the claims are

 24   being discharged, Shoaf doesn't apply.

 25        There, there was a guaranty to a party on a specific




                                                                     Appx.000674
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 681 of 783 PageID 7102
                                                                          86


  1   indebtedness that was listed, identified with specificity, and

  2   disappeared as a result of the judgment, as a result of the

  3   judgment in the underlying case.        Here, we're talking about

  4   any potential claim that might arise in the future.           As of the

  5   July order's issuance, it didn't apply on its -- either it

  6   didn't apply to future claims that had not yet accrued or else

  7   in violation of Applewood Chair, it was releasing claims

  8   without identifying them.

  9        Who does Seery owe a fiduciary duty to?          Is it, as

 10   Debtor's counsel says, only to the funds and not to the

 11   investors, or does he also owe those duties to the investors

 12   as well?    Your Honor, that is going to be a hotly-contested

 13   issue in this litigation, and it involves -- it requires

 14   consideration of the Advisers Act and the multitude of

 15   accompanying regulations.       To just state that his fiduciary

 16   duties are limited in a way that couldn't affect anyone that

 17   is -- whose claims are precluded by the July order is both

 18   wrong on the law and is invoking something that will be a

 19   hotly-contested issue that falls under 157(d), where, again,

 20   this Court doesn't have the jurisdiction to decide that, other

 21   than in a report and recommendation.

 22        The order is legally infirm because it's issued without

 23   jurisdiction for doing that as well.

 24        Finally, Your Honor, I think (garbled) wrong direction

 25   with a statement that suggests that Mr. Seery is an agent of




                                                                   Appx.000675
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 682 of 783 PageID 7103
                                                                           87


  1   the independent directors under the January order.           He is, in

  2   fact, not an independent agent -- not an agent of any of the

  3   independent directors, but, at most, of the company that is

  4   controlled by the board, not -- not of individual directors

  5   who could confer on him -- who could confer on him any

  6   immunity that they have obtained from the January order just

  7   by having appointed him.

  8        The proposed order from the other side failed to address

  9   either the ambiguity in the order or its attempt to exculpate

 10   Mr. Seery from the liability, including liability for which

 11   there is a jury trial right, and it is not a fix to the

 12   problem for that reason.

 13        In order to make the order enforceable and to fix its

 14   infirmities, the Court would have to do significantly more.

 15   It would have to both apply the caveat from the final

 16   confirmation plan order, rope that caveat to the first part of

 17   the relevant paragraph, as well as the second part, and it

 18   would have to provide directive clarity to be enforceable

 19   rather than too vague.

 20        Your Honor, I think that's all I have.

 21              THE COURT:    Okay.   Just FYI, my law clerk pulled the

 22   Smyth case from 21 years ago from the Fifth Circuit.           And

 23   while it more prominently deals with the issue of whether

 24   trustees -- in this case, it was a Chapter 11 trustee -- could

 25   be subjected to personal liability for damages to the




                                                                   Appx.000676
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 683 of 783 PageID 7104
                                                                          88


  1   bankruptcy estate --

  2        (Echoing.)

  3               THE COURT:   Someone, put your phone on mute.        I don't

  4   know who that is.

  5        It dealt with, you know, the standard of liability, that

  6   the trustee could not be sued for matters not to the level of

  7   gross negligence.

  8        But it does say, in the very last paragraph, to my shock

  9   and amazement, that -- it's just one sentence in a 10-page

 10   opinion -- orders appointing counsel -- and it was talking

 11   about the trustee's lawyer he hired to handle appeals to the

 12   Fifth Circuit -- orders appointing counsel under the

 13   Bankruptcy Code are interlocutory and are not generally

 14   considered final and appealable.        And it cites one case from

 15   1993, the Middle District of Florida.         Live and learn.     There

 16   is one sentence in that opinion that says that.           But I don't

 17   know that it's hugely impactful here, but I did not know about

 18   that opinion and I'm rather surprised.

 19        All right.    You were going to walk me through evidence,

 20   you said?

 21               MR. BRIDGES:   Well, do I -- Your Honor, do you want

 22   to do that first before I submit --

 23               THE COURT:   Yes, please.

 24               MR. BRIDGES:   -- my rebuttal argument?

 25               THE COURT:   Please.




                                                                   Appx.000677
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 684 of 783 PageID 7105
                                                                           89


  1               MR. BRIDGES:    Okay.

  2               THE COURT:   Uh-huh.

  3               MR. BRIDGES:    Your Honor, we would submit and offer

  4   Exhibits 1 through 44, with the exception of those that have

  5   been withdrawn, that are 2, 13 --

  6               THE COURT:   Okay.   Slow down.      Slow down.    I need to

  7   get to the docket entry number we're talking about.             Are we

  8   talking -- are your -- the Debtor's exhibits are at 2412.                But

  9   Nate, I misplaced my notes.         Where are Charitable DAF and

 10   Holdco's?

 11               THE CLERK:   I have 2411.

 12               THE COURT:   2411?   Is that it?

 13               MR. BRIDGES:    2420, Your Honor.

 14               THE COURT:   2420?   Okay.      Give me a minute.    (Pause.)

 15   2420?

 16               MR. BRIDGES:    Yes, Your Honor.

 17               THE COURT:     Okay, I'm there.     And it's which

 18   exhibits?

 19               MR. BRIDGES:    It's Exhibits 1 through 44, Your

 20   Honor, with four exceptions.         We have agreed to withdraw

 21   Exhibit 2, 13, 14, and 29.

 22               THE COURT:     All right.

 23               MR. BRIDGES:    Also, Your Honor, we'd like to submit

 24   Debtor's Exhibit 1, which is under Exhibit 49 on our list,

 25   would be anything offered by the other side.            But we'd like




                                                                    Appx.000678
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 685 of 783 PageID 7106
                                                                           90


  1   to make sure that Debtor's Exhibit 1 gets in the record as

  2   well.

  3              THE COURT:     Let me back up.     When I pull up the

  4   docket entry you just told me, I have Exhibits 44, 45, and 46

  5   only.   Am I misreading this?

  6              MR. BRIDGES:    I have a chart showing Exhibits 1

  7   through 49 titled Docket 2420 filed 6/7/21.

  8              THE COURT:     Okay.   The docket entry number you told

  9   me, 2420, it only has three exhibits:          44, 45, and 46.      So,

 10   first off, I understand -- are you offering 45 and 46 or not?

 11              MR. BRIDGES:    No, Your Honor.

 12              THE COURT:     Okay.   So you said you were offering 1

 13   through 44 minus certain ones.        44 is here.

 14              MR. BRIDGES:    Yes.

 15              THE COURT:     But I've got to go back to a different

 16   docket number.

 17              THE CLERK:     It's actually 2411.

 18              THE COURT:     It's at 2411.     That has all the others?

 19              THE CLERK:     Yes.

 20              THE COURT:     Okay.

 21        So, Mr. Pomerantz, do you have any objection to Exhibits

 22   1 through 44, which he's excepted out 2, 13, 14, and 29, and

 23   then he's added Debtor's Exhibit 1?          Any objection?

 24              MR. POMERANTZ:     I don't believe so.      I just would

 25   confirm with John Morris, who has been focused on the




                                                                    Appx.000679
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 686 of 783 PageID 7107
                                                                          91


  1   exhibits, just to confirm.

  2              THE COURT:     Mr. Morris?

  3              MR. MORRIS:    No objection, Your Honor.        It's fine.

  4              THE COURT:     Okay.   They're admitted.

  5        (Movants' Exhibits 1, 3 through 12, 15 through 28, and 30

  6   through 44 are received into evidence.          Debtor's Exhibit 1 is

  7   received into evidence.)

  8              THE COURT:     So, any --

  9              MR. BRIDGES:    Thank you, Your Honor.

 10              THE COURT:     Anything you wanted to call to my

 11   attention about these?

 12              MR. BRIDGES:    Your Honor, the things that we

 13   mentioned in the argument, for sure, but especially that the

 14   word "trustee" is not used in the January hearing's

 15   transcript, nor is it under discussion in that transcript

 16   that it would be a trustee-like role being played by the

 17   Strand directors, as well as the transcript of the July

 18   hearing on the order at issue here, Your Honor, where you are

 19   asked to defer both in that transcript and in the motion, the

 20   motion that was at issue in that hearing, you are asked to

 21   defer to the business judgment of the company.

 22        And finally, Your Honor, I'd ask you to look at the

 23   allegations in the District Court complaint.

 24              THE COURT:     All right.

 25        Mr. Pomerantz or Morris, let's see what exhibits you're




                                                                   Appx.000680
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 687 of 783 PageID 7108
                                                                          92


  1   wanting the Court to consider.         Your exhibits, it looks like,

  2   are at Docket Entry 2412.

  3               MR. MORRIS:   As subsequently amended at 2423.

  4               THE COURT:    Oh.     All right.   So which ones are you

  5   offering?

  6               MR. MORRIS:   We're offering all of the exhibits on

  7   2423, which is 1 through 17.

  8        (Echoing.)

  9               THE COURT:    Whoops.     We got some distortion there.

 10   Say again?

 11               MR. MORRIS:   Yeah.     All of the exhibits that are on

 12   2423, which are Exhibits 1 through 17.          But I want to make

 13   sure that, as I did earlier, that that has the exhibits that

 14   we're relying on.      Does that --

 15        (Pause.)

 16               THE COURT:    Okay.    Let me make sure I know what's

 17   going on here.     You're double-checking your exhibits, Mr.

 18   Morris?

 19               MR. MORRIS:   Yes, Your Honor.

 20               THE COURT:    Okay.

 21        (Pause.)

 22               MR. MORRIS:   Your Honor, we start with Docket No.

 23   2419, --

 24               THE COURT:    Okay.

 25               MR. MORRIS:   -- which was the amended exhibit list.




                                                                   Appx.000681
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 688 of 783 PageID 7109
                                                                           93


  1   And that actually had Exhibits 1 through 17.            And then that

  2   was amended at Docket 2423.       So, the exhibits on both of

  3   those lists.

  4              THE COURT:     Well, they're one and the same, it looks

  5   like, right?

  6              MR. MORRIS:    Yes.

  7              THE COURT:     Okay.   So you're offering those?

  8              MR. MORRIS:    I think -- yeah.

  9              THE COURT:     Any objection?

 10              MR. BRIDGES:    No objection.

 11              THE COURT:     All right.   They're admitted.

 12        (Debtor's Exhibits 1 through 17 are received into

 13   evidence.)

 14              MR. POMERANTZ:     Your Honor, if I may take a few

 15   moments to respond to Mr. Bridges' reply?

 16              THE COURT:     All right.        Is he still within his hour

 17   and a half?

 18              THE CLERK:     At an hour and one minute.

 19              THE COURT:     Okay.   All right.     You have a little

 20   time left, so go ahead.

 21              MR. POMERANTZ:     Thank you, Your Honor.

 22        So look, I -- it sort of was really not fair to us.              Mr.

 23   Bridges was really making things up on the fly.            He was

 24   changing the theories of his case and responding to Your

 25   Honor.    But I'm going to do my best to respond to the




                                                                    Appx.000682
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 689 of 783 PageID 7110
                                                                            94


  1   arguments made, many of which I sort of anticipated.

  2        I'll first start with the issue that Your Honor raised,

  3   which was whether this is under Rule 60 or not.             Mr. Bridges

  4   identified a couple of cases, said that the order was

  5   interlocutory, said that somehow the orders have anything to

  6   do with a plan confirmation order.           They do not.    Your Honor

  7   didn't hear that argument at the plan confirmation.             The

  8   January 9th and July 16th orders are old and cold.             There's

  9   an exculpation provision in the plan.           There's a gatekeeper

 10   in the plan.     The provisions do not overlap entirely.          The

 11   gatekeeper applies prospectively.           The exculpation provision

 12   includes additional parties.

 13        So the arguments that basically the plan had anything to

 14   do -- and the fact that the plan is not a final order -- has

 15   anything to do with the January 9th and July 16th orders is

 16   just wrong.     It's just wrong.

 17        More fundamentally, Your Honor, as Your Honor pointed

 18   out, the Smyth case is a professional employment order.               And

 19   ironically, if you abide by the Smyth case, that order is

 20   never appealable because it's interlocutory.

 21        But more fundamentally, Your Honor, that's dealing with

 22   327 professionals.      And again, there's not much analysis in

 23   the Smyth case, but we're not dealing with a 327

 24   professional.     We're dealing with orders that were approved

 25   under 363.




                                                                    Appx.000683
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 690 of 783 PageID 7111
                                                                           95


  1        So the premise of the argument that Rule 60(b) -- 60

  2   doesn't apply and they have other arguments just doesn't make

  3   any sense.

  4        Okay.    So now that gets us to Rule 60.         And Your Honor,

  5   Your Honor hit the nail on the head.           They haven't presented

  6   any evidence.     Allegations in a complaint aren't evidence.

  7   They can't stand up there and say surprise evidence.             They

  8   had the opportunity -- and this hearing's been continued a

  9   few weeks -- they had the opportunity to bring it up, and

 10   it's -- they had the opportunity to claim that there was

 11   surprise, but they just didn't.        Okay?

 12        So to go on to the Rule 60 arguments.           Surprise.

 13   Surprise and reasonable delay are really -- go hand in hand

 14   with Mr. Bridges' argument.       He says, well, we didn't find

 15   out that -- months after the order was entered that he

 16   violated a duty to us, so we are surprised by that, and it's

 17   a reasonable time.      Well, Your Honor, the order provided for

 18   an exculpation.     CLO Holdco and DAF knew that it applied to

 19   an exculpation.     They were bound.        They knew based upon that

 20   order that they would not be able to bring claims for normal

 21   negligence.    There is no surprise.

 22        If you take Mr. Bridges' argument to its conclusion, he

 23   could wait until the end of the statute of limitations after

 24   an order and have come in four years from now and say, Your

 25   Honor, we just found out facts so we should go back four




                                                                    Appx.000684
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 691 of 783 PageID 7112
                                                                          96


  1   years before.     That, Your Honor, that's not how the surprise

  2   works.    That's not how the reasonable time works.

  3        Mr. Bridges did not contest that they're bound by res

  4   judicata.    He did not contest that the exculpation itself was

  5   clear and unambiguous.      Of course he argued Your Honor

  6   couldn't enter an order saying there was exculpation, again,

  7   with no authority.      And he seemed surprised, as I suspect he

  8   should, since he's not a bankruptcy lawyer, that retention

  9   orders, whether it's investment bankers, financial advisors,

 10   include exculpations all the time.          So there's no grounds

 11   under surprise.

 12        There's no grounds -- the motions are late under 60(c).

 13        And they're not void.      I went through a painstaking

 14   analysis, Your Honor, and I described in detail what the

 15   Espinosa case held, and the exceptional circumstances which

 16   Mr. Bridges tried to get away from as much as he could.

 17   Maybe he can try to get away from language in a district

 18   Court opinion, in a Bankruptcy Court opinion, in a Circuit

 19   Court opinion.     You can't get away from language in a Supreme

 20   Court opinion.     The Supreme Court opinion said exceptional

 21   circumstances, where there was arguably no basis for

 22   jurisdiction for what the Court did.          They have not even come

 23   close to convincing Your Honor that there was absolutely no

 24   basis.

 25        Now, they disagree.      We granted, we think it's a good-




                                                                   Appx.000685
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 692 of 783 PageID 7113
                                                                          97


  1   faith disagreement, but they haven't come close to

  2   establishing the Espinosa standard, so their motion under 60

  3   does not -- it fails.

  4        And I don't think -- look, these are good lawyers.            Mr.

  5   Bridges and Mr. Sbaiti are good lawyers.          They didn't just

  6   inadvertently not mention Rule 60.          They never mentioned it

  7   because they knew they had no claim under Rule 60.

  8        Your Honor, Mr. Bridges has made comments about the

  9   fiduciary duty of Mr. Seery, about what the Investor's Act

 10   provides.    He's just wrong on the law.       Now, Your Honor

 11   doesn't have to decide that.       Whichever court adjudicates the

 12   DAF lawsuit will have to decide it.         But there is no private

 13   cause of action for damages.       There are no fiduciary duties to

 14   the investors.

 15        And what Mr. Bridges doesn't even mention, in that the

 16   investment agreement that's so prominent in his complaint,

 17   they waived claims other than willful misconduct and gross

 18   negligence against Highland.       They waived those claims.       So

 19   for Mr. Bridges to come in here and argue that there's some

 20   surprise, when he hasn't even bothered to look at the document

 21   that's underlying the contractual relationship between the DAF

 22   and the Debtor, is -- you know, I'll just say it's

 23   inadvertence.

 24        Your Honor, Mr. Bridges tried to argue that Mr. Seery is

 25   not a beneficiary of the January 9th order.          He's not an




                                                                   Appx.000686
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 693 of 783 PageID 7114
                                                                          98


  1   agent.    Well, again, Your Honor, Mr. Bridges wasn't there.

  2   Your Honor and we were.      On January 9th, an independent board

  3   was picked, and at the time Mr. Dondero ceased to become the

  4   CEO.    So you have three gentlemen coming in -- Mr. Seery, Mr.

  5   Dubel, and Mr. Nelms -- coming in to run Highland, in a very

  6   chaotic time.     They had to act through their agents.        There

  7   was no expectation that this board was going to actually run

  8   the day-to-day operations of the Debtor.          Of course not.    They

  9   needed someone to run.      And they picked Mr. Seery.       And the

 10   argument that well, he's an agent of the company, he's not an

 11   agent of the board, that just doesn't make sense.           The

 12   independent board had to act.       The directors had to act.       And

 13   the directors, how do they deal with that?          They acted through

 14   Mr. Seery.    So he is most certainly governed by the January

 15   9th order.

 16          Your Honor, I want to talk about the jury trial right.

 17   Mr. Bridges said that Paragraph 14 is an arbitration clause

 18   and not a jury trial waiver.       Now, again, I will forgive Mr.

 19   Bridges because I assume he didn't read the provision, okay,

 20   and he -- somebody told him that, and that person just got it

 21   wrong.    But what I would like to do is read for Your Honor

 22   Paragraph 14(f).     It doesn't have to do with arbitration.

 23   It's a waiver of jury trial.       14(f), Jurisdiction Venue,

 24   Waiver of Jury Trial.      The parties hereby agree that any

 25   action, claim, litigation, or proceeding of any kind




                                                                   Appx.000687
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 694 of 783 PageID 7115
                                                                          99


  1   whatsoever against any other party in any way arising from or

  2   relating to this agreement and all contemplated transactions,

  3   including claims sounding in contract, equity, tort, fraud,

  4   statute defined as a dispute shall be submitted exclusively to

  5   the U.S. District Court for the Northern District of Texas, or

  6   if such court does not have subject matter jurisdiction, the

  7   courts of the State of Texas, City of Dallas County, and any

  8   appellate court thereof, defined as the enforcement court.

  9   Each party ethically and unconditionally submits to the

 10   exclusive personal and subject matter jurisdiction of the

 11   enforcement court for any dispute and agrees to bring any

 12   dispute only in the enforcement court.         Each party further

 13   agrees it shall not commence any dispute in any forum,

 14   including administrative, arbitration, or litigation, other

 15   than the enforcement court.       Each party agrees that a final

 16   judgment in any such action, litigation, or proceeding is

 17   conclusive and may be enforced through other jurisdictions by

 18   suit on the judgment or in any manner provided by law.

 19        And then the kick, Your Honor, all caps, as jury trial

 20   waiver always are:     Each party irrevocably and unconditionally

 21   waives to the fullest extent permitted by law any right it may

 22   have to a trial by jury in any legal action, proceeding, cause

 23   of action, or counterclaim arising out of or relating to this

 24   agreement, including any exhibits, schedules, and appendices

 25   attached to this agreement or the transactions contemplated




                                                                   Appx.000688
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 695 of 783 PageID 7116
                                                                          100


  1   hereby.    Each party certifies and acknowledges that no

  2   representative of the owner of the other party has represented

  3   expressly or otherwise that the other party won't seek to

  4   enforce the foregoing waiver in the event of a legal action.

  5   It has considered the implications of this waiver, it makes

  6   this waiver knowingly and voluntarily, and it has been induced

  7   to enter into this agreement by, among other things, the

  8   mutual waivers and certifications in this section.

  9        Your Honor, I will forgive Mr. Bridges.          I assume he just

 10   did not read that.      But to represent to the Court that that

 11   language does not contain a jury trial waiver is -- is just

 12   wrong.

 13              THE COURT:    All right.    I'm going to stop right

 14   there.    And you were reading from the Second Amended and

 15   Restated Shared Services Agreement between Highland --

 16              MR. POMERANTZ:     Not shared services.      I'm reading

 17   from the Second Amended and Restated Investment Advisory

 18   Agreement --

 19              THE COURT:    Investment --

 20              MR. POMERANTZ:     -- between the Charitable DAF, the

 21   Charitable DAF GP, and Highland Capital Management.           The

 22   agreement whereby the Debtor was the investment advisor to the

 23   Charitable DAF Fund and the Charitable DAF GP.

 24              THE COURT:    All right.    Well, Mr. Bridges, I'm going

 25   to bounce quickly back to you.        This is your chance to defend




                                                                   Appx.000689
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 696 of 783 PageID 7117
                                                                          101


  1   your honor.

  2               MR. BRIDGES:   Yeah, we're -- we're looking at a

  3   different agreement, where -- where literally the words that

  4   were read to you are not in the agreement in front of us and

  5   it is news to me.     So, Your Honor, this is a problem --

  6               THE COURT:   What is the agreement you're looking at?

  7               MR. BRIDGES:   It is the Amended -- I assume that

  8   means First Amended -- Restated Advisory Agreement.

  9               MR. POMERANTZ:    Your Honor, we are happy to file this

 10   agreement with the Court so the Court has the benefit of it in

 11   connection with Your Honor's ruling.

 12               THE COURT:   Okay.   I would like you to do that.        Uh-

 13   huh.

 14               MR. BRIDGES:   I'd like -- I'd like to request -- I'll

 15   withdraw that.

 16               THE COURT:   Okay.   Go on, Mr. Pomerantz.

 17               MR. POMERANTZ:    Mr. Bridges, if you could put us on

 18   mute.    If you could put us on mute, Mr. Bridges, so I don't

 19   hear your feedback.      Thank you.

 20          Mr. Bridges also complains about the language "to the

 21   extent permissible by law."       As Your Honor knows and as has

 22   been my practice over 30 years, that language is probably in

 23   every plan where there's a retention of jurisdiction:            to the

 24   extent permissible by law.       And Mr. Bridges says that this

 25   will create ambiguity in the order that couldn't be enforced.




                                                                   Appx.000690
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 697 of 783 PageID 7118
                                                                          102


  1   There's no basis for that.       Our including the language "to the

  2   extent permissible by law" in the orders, as we are prepared

  3   to do, is consistent with the plan confirmation order where we

  4   addressed that issue.      And we addressed that issue because we

  5   didn't want to put Your Honor in a position where thereby Your

  6   Honor may have an action before Your Honor that passes the

  7   colorability gate that Your Honor may not be able to assert

  8   jurisdiction.     And since jurisdiction can't be waived in that

  9   regard, we will agree to amend that.

 10        There's nothing ambiguous about that, and there's no

 11   reason, though, that clause has to modify the Court's ability

 12   to act as a gatekeeper, because, as we've argued ad nauseam,

 13   gatekeeper provisions where the Court has that ability is not

 14   only part of general bankruptcy jurisprudence but also part of

 15   the Bankruptcy Code.

 16        Counsel says that Barton doesn't apply because the

 17   business judgment of Your Honor was used in retaining Mr.

 18   Seery as opposed to in some other capacity.          There's no basis

 19   for that, Your Honor.      A court-appointed -- a court-approved

 20   CEO, CRO, professional, they are all entitled to protection

 21   under the Barton act.      And the argument -- and again, this is

 22   separate and apart from whether he's entitled to protection

 23   under the January 9th order. But the argument that because it

 24   was the business judgment -- again, business judgment in doing

 25   something that Your Honor expressly contemplated under the




                                                                   Appx.000691
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 698 of 783 PageID 7119
                                                                          103


  1   January 9th corporate governance order -- there's just no law

  2   to support that.     And I guess he's trying to get around the

  3   plethora of cases that deal with the situation where Barton

  4   has been extended.

  5         Your Honor, Mr. Bridges, again, in arguing that we're

  6   ships passing in the night on Shoaf and Applewood and

  7   Espinosa, no, we're not ships passing in the night.           We have a

  8   difference in agreement on what these cases stand for.            These

  9   cases stand for the proposition that a clear and unambiguous

 10   provision, plain and simple, if it's clear and unambiguous, it

 11   will be given res judicata effect.          The release in Shoaf,

 12   clear and unambiguous.      The release in Applewood, not.        The

 13   issue here is the exculpation language.          That was clear and

 14   unambiguous.    It applied prospectively.        The argument makes no

 15   sense that we didn't identify -- we didn't identify claims

 16   that might arise in the future, so therefore an exculpation

 17   clause doesn't apply?      That doesn't make any sense.

 18         Your Honor clearly exculpated parties.        Mr. Dondero knew

 19   it.   CLO Holdco knew it.     The DAF knew it.      So the issue Your

 20   Honor has to decide is whether that exculpation was a clear

 21   and unambiguous provision such that it should be entitled to

 22   res judicata effect.      And we submit that the answer is

 23   unequivocally yes.

 24         That's all I have, Your Honor.

 25              THE COURT:    All right.    Well, --




                                                                   Appx.000692
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 699 of 783 PageID 7120
                                                                           104


  1              MR. MORRIS:    Your Honor?       I apologize.

  2              THE COURT:    Okay.

  3              MR. MORRIS:    This is John Morris.

  4              THE COURT:    Yes?

  5              MR. MORRIS:    I just want to, with respect to the

  6   exhibits, I know there was no objection, but I had cited to

  7   Docket Nos. 2419 and 2423.       The original exhibit list is at

  8   Docket No. 2412.     So it's the three of those lists together.

  9   2412, as amended by 2419, as amended by 2423.           Thank you very

 10   much.

 11              THE COURT:    All right.    Thank you.      All right.

 12              MR. BRIDGES:    Your Honor, I still have no objection

 13   to that, but may I have the last word on my motion?

 14              THE COURT:    Is there time left?

 15              THE CLERK:    Yes.

 16              THE COURT:    Okay.   Go ahead.

 17              MR. BRIDGES:    I just need a minute, Your Honor.           They

 18   agreed to change the order.       They proposed it to us.       They

 19   proposed it in a proposed order to you.           They can't also say

 20   that it cannot be changed.

 21        Secondly, Your Honor, in Milic v. McCarthy, 469 F.Supp.3d

 22   580, the Eastern District of Virginia points out that the

 23   Fourth Circuit treats appointment of estate professionals as

 24   interlocutory orders as well.

 25        That's all.    Thank you, Your Honor.




                                                                    Appx.000693
Case 3:21-cv-01585-S Document 15 Filed 10/01/21     Page 700 of 783 PageID 7121
                                                                            105


  1                  THE COURT:    All right.    Here's what we're going to

  2   do.    We've been going a very long time.          I'm going to take a

  3   break to look through these exhibits, see if there's anything

  4   in there that I haven't looked at before and that might affect

  5   the decision here.          So we will come back at 3:00 o'clock

  6   Central Time -- it's 2:22 right now -- and I will give you my

  7   bench ruling on this.         All right.

  8          So, Mike, they can all stay on the line, right?

  9          Okay.    You can stay on, and we'll be back at 3:00 o'clock.

 10                  THE CLERK:    All rise.

 11          (A recess ensued from 2:22 p.m. to 3:04 p.m.)

 12                  THE CLERK:    All rise.

 13                  THE COURT:    All right.    Please be seated.    All right.

 14   Everyone presented and accounted for.           We're going back on the

 15   record.

 16                  MR. POMERANTZ:    Your Honor, before you start, this is

 17   Jeff Pomerantz.       We had sent to your clerk, and hopefully it

 18   got to you, a copy of the Second Amended and Restated

 19   Investment Advisory Agreement.            We also copied Mr. Sbaiti with

 20   it as well.       And we would also like to move that into

 21   evidence, just so that it's part of the Court's record.

 22                  THE COURT:    All right.

 23                  MR. BRIDGES:    We would object to that, Your Honor.

 24   We haven't had an opportunity to even verify its authenticity

 25   yet.




                                                                     Appx.000694
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 701 of 783 PageID 7122
                                                                          106


  1              THE COURT:    All right.    Well, I'll tell you what.

  2   I'm going to address this in my ruling.          So it's not going to

  3   be part of the record for this decision, and yet -- well, I'll

  4   get to it.

  5        All right.    So we're back on the record in Case Number 19-

  6   34054, Highland Capital.      The Court has deliberated, after

  7   hearing a lot of argument and allowing in a lot of documentary

  8   evidence, and the Court concludes that the motion of CLO

  9   Holdco, Ltd. and The Charitable DAF to modify the retention

 10   order of James Seery, which was entered almost a year ago, on

 11   July 16th, 2020, should be denied.

 12        This is the Court's oral bench ruling, but the Court

 13   reserves discretion to supplement or amend in a more fulsome

 14   written order what I'm going to announce right now, pursuant

 15   to Rule 7052.

 16        First, what is the Movants' authority to request the

 17   modification of a bankruptcy court order that has been in

 18   place for so many months, which was issued after reasonable

 19   notice to the Movants, and after a hearing, which was not

 20   objected to by the Movants, or appealed, when the Movants were

 21   represented by sophisticated counsel, I might add, and which

 22   order was relied upon by parties in this case, most notably

 23   Mr. Seery and the Debtor, and in fact was entered after

 24   significant negotiations involving a sophisticated court-

 25   appointed Unsecured Creditors' Committee with sophisticated




                                                                   Appx.000695
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 702 of 783 PageID 7123
                                                                          107


  1   professionals and sophisticated members, and after negotiation

  2   with an independent board of directors, court-appointed, one

  3   of whose members is a retired bankruptcy judge?           What is the

  4   Movants' authority?

  5        Movants fumbled a little on that question, in that the

  6   exact authority wasn't set forth in the motion.           But Movants'

  7   primary argument is that Movants think the Seery retention

  8   order was an interlocutory order and that the Court simply has

  9   the inherent authority to modify it as an interlocutory order.

 10        The Court disagrees with this analysis.          I do not think

 11   the Fifth Circuit's Smyth case dictates that the Seery

 12   retention order is still interlocutory.          The Seery retention

 13   order was an order entered pursuant to Section 363 of the

 14   Bankruptcy Code, not a Section 327 professionals to a debtor-

 15   in-possession, professionals to a trustee employment order

 16   such as the one involved in the Smyth case.

 17        But even if the Seery retention order is interlocutory --

 18   the Court feels strongly that it's not, but even if it is --

 19   the Court believes it would be an abuse of this Court's

 20   inherent discretion or authority to modify that order almost a

 21   year after the fact and under the circumstances of this case.

 22        Now, assuming Rule 60(b) applies to the Movants' request,

 23   the Court determines that the Movants have not made their

 24   motion anywhere close to within a reasonable time, as Rule

 25   60(c) requires, nor do I think the Movants have demonstrated




                                                                   Appx.000696
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 703 of 783 PageID 7124
                                                                          108


  1   any exceptional circumstances to declare the order or any of

  2   its provisions void.      The Movants have put on no evidence that

  3   constitutes surprise or constitutes newly-disputed evidence.

  4   So why are there no exceptional circumstances here such that

  5   the Court might find, you know, a void order or void

  6   provisions of an order?

  7        First, this Court concludes that there's no credible

  8   argument that the Court overreached its jurisdiction with the

  9   gatekeeping provisions in the order.         Gatekeeping provisions

 10   are not only very common in the bankruptcy world -- in

 11   retention orders and in plan confirmation orders, for example

 12   -- but they are wholly consistent with the Barton case, the

 13   U.S. Supreme Court's Barton's case, and its progeny that has

 14   become known collectively as the Barton doctrine.           Gatekeeping

 15   provisions are wholly consistent with 28 U.S.C. Section

 16   959(a)'s complete language.

 17        The Fifth Circuit has blessed gatekeeping provisions in

 18   all sorts of contexts.      It has blessed them in the situation

 19   of when Stern claims are involved in the Villegas case.            It

 20   even blessed Bankruptcy Courts' gatekeeping functions a long

 21   time ago, in 1988, in a case that I don't think anyone

 22   mentioned in the briefing, but as I've said, my brain

 23   sometimes goes down trails, and I'm thinking of the Louisiana

 24   World Exposition case in 1988, when the Fifth Circuit blessed

 25   there a procedure where an unsecured creditors' committee can




                                                                   Appx.000697
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 704 of 783 PageID 7125
                                                                          109


  1   bring causes of action against persons, such as officers and

  2   directors or other third parties, if they first come to the

  3   Bankruptcy Court and show a colorable claim.          They have to

  4   come to the Bankruptcy Court, show they have a colorable claim

  5   and they're the ones that should be able to pursue them.             Not

  6   exactly on point, but it's just one of many cases that one

  7   could cite that certainly approve gatekeeper functions of

  8   various sorts of Bankruptcy Courts.

  9        It doesn't matter which court might ultimately adjudicate

 10   the claims; the Bankruptcy Court can be the gatekeeper.

 11        And the Court agrees with the many cases cited from

 12   outside this circuit, such as the case in Alabama, in the

 13   Eleventh Circuit, and there was another circuit-level case, at

 14   least one other, that have held that the Barton doctrine

 15   should be extended to other types of case fiduciaries, such as

 16   debtor-in-possession management, among others.

 17        Finally, as I pointed out in my confirmation ruling in

 18   this case, gatekeeping provisions are commonplace for all

 19   types of courts, not just Bankruptcy Courts, when vexatious

 20   litigants are involved.      I have commented before that we seem

 21   to have vexatious litigation behavior with regard to Mr.

 22   Dondero and his many controlled entities.

 23        Now, as far as the Movants' argument that there was not

 24   just improper gatekeeping provisions but actually an improper

 25   discharge in the Seery retention order of negligence claims or




                                                                   Appx.000698
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 705 of 783 PageID 7126
                                                                           110


  1   other claims that don't rise to the level of gross negligence

  2   or willful misconduct, again, I reiterate there's nothing

  3   exceptional in the bankruptcy world about exculpation

  4   provisions like this.      They absolutely are a term of

  5   employment very often.      Just like compensation, they're

  6   frequently requested, negotiated, and approved.           They are

  7   normal in the corporate governance world, generally.           They are

  8   normal in corporate contracts between sophisticated parties.

  9   And most importantly of all, even if this Court overreached

 10   with the exculpation provisions in the Seery retention order,

 11   even if it did, res judicata bars the attack of these

 12   provisions at this late stage, under cases such as Shoaf,

 13   Republic Supply v. Shoaf from the Fifth Circuit, the Espinosa

 14   case from the U.S. Supreme Court, and even Applewood, since

 15   the Court finds the language in this order was clear,

 16   specific, and unambiguous with regard to the gatekeeping

 17   provisions and the exculpation provisions.

 18        Last, and this is the part where I said I'm going to get

 19   to this agreement that has been submitted, the Second Amended

 20   and Restated Investment Advisor Agreement or whatever the

 21   title is.    I am more than a little disturbed that so much of

 22   the theme of the Movants' pleadings and arguments, and I think

 23   even representations to the District Court, have been they

 24   have these sacred jury trial rights, these inviolate jury

 25   trial rights, and an Article I Court like this Court should




                                                                   Appx.000699
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 706 of 783 PageID 7127
                                                                          111


  1   have no business through a gatekeeping provision impinging on

  2   the possible pursuit of an action where there's a jury trial

  3   right.

  4        I was surprised initially when I thought about this.            I

  5   thought, wow, I've seen so many agreements over the months.                I

  6   can't say every one of them waived the jury trial right, but I

  7   just remembered seeing that a lot, and seeing arbitration

  8   provisions, and so that's why I asked.         It just was lingering

  9   in my brain.    So I'm going to look at what is submitted.          I'm

 10   not relying on that as part of my ruling.          As you just heard,

 11   I had a multi-part ruling, and whether there's a jury trial

 12   right or not is irrelevant to how I'm choosing to rule on this

 13   motion.    But I do want to see the agreement, and then I want

 14   Movants within 10 days to respond with a post-hearing trial

 15   brief either saying you agree that this is the controlling

 16   document or you don't agree and explain the oversight, okay?

 17   Because it feels like a gross omission here to have such a

 18   strong theme in your argument -- we have a jury trial right,

 19   we have a jury trial right, by God, the gatekeeping

 20   provisions, among other things, impinge on our sacred pursuit

 21   of our jury trial right -- and then maybe it was very

 22   conspicuous in the controlling agreement that you'd waived

 23   that, the Movants had waived that.

 24        So, anyway, I'm requiring some post-hearing briefing, if

 25   you will, on whether omissions, misrepresentations were made




                                                                   Appx.000700
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 707 of 783 PageID 7128
                                                                          112


  1   to the Court.

  2        Anyway, so I reserve the right to supplement or amend this

  3   ruling with a more fulsome written order.          I am asking Mr.

  4   Pomerantz to upload a form of order that is consistent with

  5   this ruling, and --

  6              MR. POMERANTZ:     Your Honor, we will do so.       I do have

  7   one thing to bring to the Court's attention, unrelated to the

  8   motion, before Your Honor leaves the bench.

  9              THE COURT:    All right.    So just a couple of follow-up

 10   things.    Have you -- I'm not clear I heard what you said about

 11   this agreement.     Did you email it to my courtroom deputy or

 12   did you file it on the docket?

 13              MR. POMERANTZ:     We emailed it to your courtroom

 14   deputy.    We're happy to file it on the docket.         And we also

 15   provided a copy to Mr. Sbaiti.

 16        I would note for the Court that it's signed both by The

 17   Charitable DAFs by Grant Scott, just for what it's worth.

 18              THE COURT:    Okay.   All right.     Well, I'm trying to

 19   think what I want -- I do want you to file it on the docket,

 20   and I'm trying to think of what you label it.          Just call it

 21   Post-Hearing Submission or something and link it to the motion

 22   that we adjudicated here today.        And then, again, you've got

 23   10 days, Mr. Bridges, to say whatever you want to say about

 24   that agreement.

 25        I guess the last thing I wanted to say is we sure devoted




                                                                   Appx.000701
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 708 of 783 PageID 7129
                                                                           113


  1   a lot of time to this motion today.         We have -- this is a

  2   recurring pattern, I guess you can say.          We have a lot of

  3   things that we devote a lot of time to in this case that I get

  4   surprised, but it is what it is.        You file a motion.     I'm

  5   going to give it all the attention Movants and Respondents

  6   think it warrants.      I'm going to develop a full record,

  7   because, you know, there's a recurring pattern of appeals

  8   right now, 11 or 12 appeals, I think, not to mention motions

  9   to withdraw the reference.       If we're going to have higher

 10   courts involved in the administration of this case, I'm going

 11   to make a very thorough record so nobody is confused about

 12   what we did, what I considered, what my reasoning was.

 13        So I kind of think it's unfortunate for us to have to

 14   spend case resources and so much time and fees on things like

 15   this, but I'm going to make sure a Court of Appeals is not

 16   ever confused about what happened and what we did.           So that's

 17   just the way it's going to be.       And I feel like we have no

 18   choice, given, again, the pattern of appeals.

 19        All right.    So, with that, Mr. Pomerantz, you had one

 20   other case matter, you said?

 21              MR. POMERANTZ:     Yes.   But before I get to that, Your

 22   Honor, I assume that, in response to the Movants' submission

 23   on the agreement, that we would have right at four or seven

 24   days to respond if we deem it's appropriate?

 25              THE COURT:    I think that's reasonable.       That's




                                                                   Appx.000702
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 709 of 783 PageID 7130
                                                                          114


  1   reasonable.

  2              MR. POMERANTZ:     Okay.   Thank you, Your Honor.

  3              THE COURT:    So let me think of how I want to do this.

  4   I'll just do a short scheduling order of sorts that just, it

  5   says in one or two paragraphs, at the hearing on this motion,

  6   the Court raised questions about the jury trial rights and the

  7   Debtor has now submitted the controlling agreements, I'm

  8   giving the Movants 10 days to respond to whether this is

  9   indeed a controlling agreement, and why, if it is, the Movants

 10   have heretofore taken the position they have jury trial

 11   rights.    And then I will give you seven days thereafter to

 12   reply, and then the Court will set a further status conference

 13   if it determines it's necessary.        Okay?

 14        So, Nate, we'll do a short little order to that effect.

 15   Okay?

 16              MR. POMERANTZ:     Thank you, Your Honor.

 17        I -- again, before I raise the other issue, I want to pick

 18   up on a comment Your Honor just made towards the end.           I know

 19   the Court has been frustrated with the time and effort we've

 20   been spending.     The Debtor and the creditors have been

 21   extremely frustrated, because in addition to the time and

 22   effort everyone's spending, we're spending millions of

 23   dollars, millions of dollars on litigation that --

 24              THE COURT:    It's one of the reasons you needed an

 25   exit loan, right?




                                                                   Appx.000703
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 710 of 783 PageID 7131
                                                                          115


  1              MR. POMERANTZ:     Right.   No, exactly.     That's

  2   frivolous, that we think is made in bad faith.

  3        And Your Honor, and everyone else who's hearing this on

  4   behalf of Mr. Dondero, should understand we're looking into

  5   what appropriate authority Your Honor would have to shift some

  6   of the costs.     Your Honor did that in the contempt motion.

  7   Your Honor can surely do that in connection with the notes

  8   litigation.    But all this other stuff that is requiring us to

  9   spend hundreds and hundreds of hours and spend millions of

 10   dollars, we are clearly looking into whether it would be

 11   appropriate and what authority there is.          I just wanted to let

 12   Your Honor know that.

 13        And in connection with that, the last point, Your Honor, I

 14   can't actually even believe I'm saying this, but there was

 15   another lawsuit filed -- we just found out in the break -- on

 16   Wednesday night by the Sbaiti firm on behalf of Dugaboy in the

 17   District Court.

 18        Now, to make matters worse, Your Honor, the litigation

 19   relates to alleged improper management by the Debtor of Multi-

 20   Strat.   If Your Honor will recall, at many times I've told

 21   this Court what Dugaboy's claims they filed in this case.

 22   Dugaboy has a claim that is filed in this case for

 23   mismanagement postpetition of Multi-Strat.          Now the Sbaiti

 24   firm, in addition to representing CLO Holdco, in addition to

 25   representing the DAF, and whatever the Plaintiffs' lawyers are




                                                                   Appx.000704
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 711 of 783 PageID 7132
                                                                          116


  1   in that other District Court, PCMG, and in connection with the

  2   Acis matter, they've decided they haven't had enough.           They've

  3   now filed another motion that -- you know, why they filed it

  4   in District Court and there's a proof of claim on the same

  5   issues, I don't know.      But I thought Your Honor should know.

  6   I'm not asking Your Honor to do anything about it.           But we

  7   will act aggressively, strongly, and promptly.

  8        Thank you, Your Honor.

  9               THE COURT:    All right.   Well, you've reminded me of

 10   what came out earlier today about the entity -- I left my

 11   notepad in my chambers -- PMC or PMG or something.

 12        Mr. Bridges, we're not going to have a hearing right now

 13   on me doing anything, but what are you thinking?           What are you

 14   doing?

 15               MR. BRIDGES:    Your Honor, I'm not trying to duck your

 16   question.    I literally have no involvement with any other

 17   claim, and we would have to ask Mr. Sbaiti to answer your

 18   questions.

 19               THE COURT:    All right.   Is he there?

 20               MR. BRIDGES:    He is.

 21               THE COURT:    I'll listen.

 22               MR. BRIDGES:    I'll switch seats and give him this

 23   chair.

 24               MR. SBAITI:    Sorry, Your Honor.     We had two computers

 25   going and weren't able to use the sound on one, so we ended up




                                                                   Appx.000705
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 712 of 783 PageID 7133
                                                                          117


  1   turning that off.

  2        Your Honor, I'm not sure what the question is about when

  3   you say what are we thinking.       We have a client that's asked

  4   us to file something, and when we're advised by bankruptcy

  5   counsel that it's not prohibited for us to do so, and don't

  6   know why we're precluded from doing so, and when the time

  7   comes I'm sure we'll be able to explain to Your Honor --

  8   someone will be able to explain to Your Honor why what we're

  9   doing, despite Mr. Pomerantz's exacerbation, or excuse me,

 10   exasperation, why that wasn't improper.          It's our belief that

 11   it wasn't improper or a violation of the Court's rule.

 12              THE COURT:    Just give me a quick shorthand Readers'

 13   Digest of why you don't think it's improper.

 14              MR. SBAITI:    Sure.   My understanding is, Your Honor,

 15   there's not a rule that says we can't file it against the

 16   Debtor for postpetition actions.        So that, that's as -- that's

 17   as much as I understand.      And I'm going to -- I'm not trying

 18   to duck it, either.      And if I'm wrong about that and someone

 19   wants to correct me on our side offline and if we have to

 20   explain to the Court why that's so or what rule has been

 21   violated, I'm sure we'll be able to put together something for

 22   that.   But that's what I've been advised.

 23              THE COURT:    Have you done thorough --

 24              MR. POMERANTZ:     Your Honor, I think what --

 25              MR. SBAITI:    (garbled), Your Honor.




                                                                   Appx.000706
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 713 of 783 PageID 7134
                                                                          118


  1              THE COURT:    Have you done thorough research yourself?

  2   Your Rule 11 signature is on the line, not some bankruptcy

  3   counsel you talked to.      Have you done the research yourself?

  4              MR. SBAITI:    Well, Your Honor, I've relied on the

  5   research and advice of people who are experts, and I believe

  6   my Rule 11 obligations also allow me to do that, so yes.

  7              MR. POMERANTZ:     Your Honor, I think we're entitled to

  8   know if it's Mr. Draper's firm who has been representing

  9   Dugaboy.    He's the bankruptcy counsel.       I don't think it's an

 10   attorney-client privilege issue.        If Mr. Sbaiti is going to be

 11   here and sort of say, hey, bankruptcy counsel said it was

 12   okay, I think we would like to know and I'm sure Your Honor

 13   would like to know who is that bankruptcy counsel.

 14              THE COURT:    Yes.   Fair enough.     Mr. Sbaiti?

 15              MR. SBAITI:    Your Honor, in consultation with Mr.

 16   Draper and with consultation with other counsel that we've

 17   spoken to, that has been our understanding.

 18              THE COURT:    Who's the other counsel?

 19              MR. SBAITI:    Well, we've talked to Mr. Rukavina about

 20   some of these things for the PCMG and the Acis case.           We've

 21   talked to the people who, when they tell us you can't do this

 22   because they're bankruptcy counsel for our client, then we

 23   don't do something.      So, and I'm not trying to throw anybody

 24   under the bus, but my understanding of what goes on in

 25   Bankruptcy Court is incredibly limited, so, you know, and if




                                                                   Appx.000707
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 714 of 783 PageID 7135
                                                                          119


  1   it's a mistake then I'll own it, if I have a mistaken

  2   understanding, but I also wasn't anticipating having to make a

  3   presentation about this right here right now, so --

  4              THE COURT:    Well, you're filing lawsuits that involve

  5   this bankruptcy case during the hearing, so --

  6              MR. SBAITI:    Oh, we didn't file it during the

  7   hearing, Your Honor.      It was filed last night, I believe.

  8              THE COURT:    Okay.   Well, I assume that you're going

  9   to go back and hit the books, hit the computer, and be

 10   prepared to defend your actions, because your bankruptcy

 11   experts, they may think they know a lot, but the judge is not

 12   very happy about what she's hearing.

 13              MR. POMERANTZ:     Your Honor, if I may ask when Your

 14   Honor intends to issue the contempt ruling in connection with

 15   the June 8th hearing?      I strongly believe -- and, obviously,

 16   this has nothing to do with the contempt hearing; this

 17   happened after -- but I strongly believe that sending a

 18   message that Your Honor is inclined to hold counsel in

 19   contempt, which obviously is one of the violators we said

 20   should be held in contempt, it may be important to do that

 21   sooner rather than later so that people know that Your Honor

 22   is serious.

 23              THE COURT:    All right.    Well, I understand and

 24   respect that request.      And let me tell you all, I had a seven-

 25   day -- okay.    You all were here on that motion June 8th.          I




                                                                   Appx.000708
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 715 of 783 PageID 7136
                                                                          120


  1   had a seven-day, all-day, every-day, 9:00 to 5:00, 45-minute

  2   lunch break, in-person hearing with a dozen or so live

  3   witnesses that I just finished Tuesday at 5:00 o'clock.            So

  4   you all were here on the 8th, and then -- what day was that --

  5   what was -- Tuesday, I finished.        Tuesday was the 22nd.      So I

  6   started on the 14th, okay?       So you all were here on the 8th

  7   and I had a live jury trial -- I mean, not jury trial, a live

  8   bench trial -- live human beings in the courtroom, beginning

  9   June 14th.    So you're here the 8th.       June 14th through 22nd, I

 10   did my trial.     And here we are on the 25th.       And guess what, I

 11   have another live human-being bench trial next week, Monday

 12   through Friday.

 13        So we've been working in other things like this in between

 14   those two.    So I'm telling you that not to whine, I'm just

 15   telling you that, that's the only reason I didn't get out a

 16   quick ruling on this, okay?

 17              MR. POMERANTZ:     And Your Honor, I was not at all

 18   making that comment to imply anything about the Court.

 19              THE COURT:    Well, --

 20              MR. POMERANTZ:     The time and effort that you have

 21   given to this case is extraordinary, --

 22              THE COURT:    Okay.

 23              MR. POMERANTZ:     -- so please don't misunderstand my

 24   comment.

 25              THE COURT:    Okay.   And I didn't mean to express




                                                                   Appx.000709
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 716 of 783 PageID 7137
                                                                          121


  1   annoyance or anything like that.        I guess what I'm trying to

  2   do is I don't want anyone to mistake the delay in ruling on

  3   the contempt motion to mean I'm just not that -- you know, I'm

  4   not prioritizing it, other things are more serious to me or

  5   important to me, or I'm going to take two months to get to it.

  6   It's literally been I've been in trial almost all day long

  7   every day since you were here.       But trust me, I'm about as

  8   upset as upset can be about what I heard on June 8th, and I'm

  9   going to get to that ruling, and I know what I'm going to do.

 10   And, well, like I said, it's just a matter of figuring out

 11   dollars and whom, okay?      There's going to be contempt.        I just

 12   haven't put it on paper because I've been in court all day and

 13   I haven't come up with a dollar figure.          Okay?

 14        So I hope -- I don't know if that matters very much, but

 15   it should.

 16        All right.    We stand adjourned.

 17        (Proceedings concluded at 3:35 p.m.)

 18                                    --oOo--

 19

 20                                 CERTIFICATE

 21        I certify that the foregoing is a correct transcript from
      the electronic sound recording of the proceedings in the
 22   above-entitled matter.
 23      /s/ Kathy Rehling                                     06/29/2021

 24   ______________________________________                ________________
      Kathy Rehling, CETD-444                                   Date
 25   Certified Electronic Court Transcriber




                                                                   Appx.000710
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 717 of 783 PageID 7138
                                                                          122

                                      INDEX
  1                                  Excerpt
                             11:33 a.m. to 3:35 p.m.
  2
      PROCEEDINGS                                                                3
  3
      OPENING STATEMENTS
  4
      - By Mr. Bridges                                                        3
  5
      - By Mr. Pomerantz                                                     23
  6
      WITNESSES
  7
      -none-
  8
      EXHIBITS
  9
      Movants' Exhibits 1, 3 through 12, 15 through               Received 91
 10   28, and 30 through 44
 11   Debtor's Exhibit 1                                          Received 91
      Debtor's Exhibits 1 through 17                              Received 93
 12

 13   RULINGS                                                               106

 14   END OF PROCEEDINGS                                                    121

 15   INDEX                                                                 122

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




                                                                   Appx.000711
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 718 of 783 PageID 7139



                             EXHIBIT 28




                                                                   Appx.000712
                      Case 3:21-cv-01585-S Document 15 Filed 10/01/21                             Page 719 of 783 PageID 7140
SUMMARY OF DONDERO AND RELATED ENTITIES MOTIONS TO CONTINUE, STAY, OR ABATE

    ADVERSARY PROCEEDING TO ENJOIN DONDERO FROM INTERFERING WITH HIGHLAND’S
    BANKRUPTCY ESTATE AND RELATED CONTEMPT PROCEEDING1
                                                   Motion                                                         Court                       Movant
       Motion to Continue Contempt Hearing, Adv. Proc. No. 21-3190-sgj-11, D.I. 102                            Bankruptcy                    Dondero
       (Bankr. N.D. Tex. Feb. 17, 2021)                                                                          Court
       Motion to Continue Further Contempt Hearing, Adv. Proc. No. 21-3190-sgj-11,                             Bankruptcy                    Dondero
       D.I. 119 (Bankr. N.D. Tex. Mar. 2, 2021)                                                                  Court
       Motion for Continuance of Contempt Hearing, Adv. Proc. No. 21-3190-sgj-11                               Bankruptcy                    Dondero
       (Bankr. N.D. Tex. Mar. 10, 2021)                                                                          Court
       Defendant’s Emergency Motion to Stay Proceedings Pending Resolution of                                  Bankruptcy                    Dondero
       Defendant’s Petition for Writ of Mandamus or, Alternatively, Motion to Continue                           Court
       Trial Setting, Adv. Proc. No. 21-3190-sgj-11, D.I. 154 (Bankr. N.D. Tex. Apr. 30,
       2021)
       Motion to Stay Permanent Injunction Proceedings Pending Resolution of                                   Fifth Circuit                 Dondero
       Mandamus, Case No. 21-10219 (5th Cir. May 6, 2021)
       Defendant’s Emergency Motion for Stay Pending Appeal and for Approval of                                Bankruptcy                    Dondero
       Supersedeas Bond or Other Security, Adv. Proc. No. 21-3190-sgj-11, D.I. 196                               Court
       (Bankr. N.D. Tex. June 15, 2021)
    ADVERSARY PROCEEDING TO COLLECT ON CERTAIN DEMAND AND TERM NOTES ISSUED TO
    DONDERO AND HIS RELATED ENTITIES
                                                   Motion                                                         Court                       Movant
       Defendant James Dondero’s Emergency Motion to Continue Docket Call and                                  Bankruptcy                    Dondero
       Trial and/or Amend Scheduling Order, Adv. Proc. No. 21-03003-sgj-11, D.I.8                                Court
       (Bankr. N.D. Tex. Mar. 26, 2021)


1
 This chart excludes the seven motions filed in the Bankruptcy Court, the District Court, and the Fifth Circuit Court of Appeals by the Dondero Entities to stay the
effective date of the Confirmation Order pending appeal.



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                                                                                                                                                     Appx.000713
                      Case 3:21-cv-01585-S Document 15 Filed 10/01/21                          Page 720 of 783 PageID 7141
SUMMARY OF DONDERO AND RELATED ENTITIES MOTIONS TO CONTINUE, STAY, OR ABATE

      James Dondero’s Motion to Stay Pending the Motion to Withdraw the Reference                           Bankruptcy                   Dondero
      of Plaintiff’s Complaint, Adv. Proc. No. 21-03003-sgj-11, D.I. 22 (Bankr. N.D.                          Court
      Tex. Apr. 15, 2021)
      Defendant’s Expedited Motion to Stay Pending Resolution of Motion to Withdraw                         Bankruptcy             Highland Capital
      the Reference of Adversary Proceeding, Adv. Proc. No. 21-03006-sgj-11, D.I. 23                          Court              Management Services,
      (Bankr. N.D. Tex. June 3, 2021)                                                                                                    Inc.
      Defendant’s Expedited Motion to Stay Pending Resolution of Motion to Withdraw                         Bankruptcy             Highland Capital
      the Reference of Adversary Proceeding, Adv. Proc. No. 21-03006-sgj-11, D.I. 26                          Court              Management Services,
      (Bankr. N.D. Tex. June 4, 2021)                                                                                                    Inc.
      Defendant’s Motion to Stay Pending Resolution of Motion to Withdraw the                               Bankruptcy           HCRE Partners, LLC
      Reference of Adversary Proceeding, Adv. Proc. No. 21-03007-sgj-11, D.I. 24                              Court              (n/k/a NexPoint Real
      (Bankr. N.D. Tex. June 3, 2021)                                                                                            Estate Partners, LLC)
      Defendant’s Motion to Stay Pending Resolution of Motion to Withdraw the                               Bankruptcy           HCRE Partners, LLC
      Reference of Adversary Proceeding, Adv. Proc. No. 21-03007-sgj-11, D.I. 27                              Court              (n/k/a NexPoint Real
      (Bankr. N.D. Tex. June 3, 2021)                                                                                            Estate Partners, LLC)
    CHAPTER 11 BANKRUPTCY PROCEEDING OF HIGHLAND CAPITAL MANAGEMENT, L.P.
                                                  Motion                                                       Court                     Movant
      Motion to Continue Hearing on Debtor’s Third Omnibus Objection to Certain No                          Bankruptcy                CPCM, LLC2
      Liability Claims, Case No. 19-34054-sgj-11, D.I. 2226 (Bankr. N.D. Tex. Apr. 20,                        Court
      2021)




2
  CPCM, LLC, is an entity created, on information and belief, by Scott Ellington and James Dondero to purchase the claims of former Highland employees in order
to litigate those claims against Highland.



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                                                                                                                                                 Appx.000714
                      Case 3:21-cv-01585-S Document 15 Filed 10/01/21                      Page 721 of 783 PageID 7142
SUMMARY OF DONDERO AND RELATED ENTITIES MOTIONS TO CONTINUE, STAY, OR ABATE

    DISTRICT COURT PROCEEDINGS FILED BY APPELLANTS AND OTHER DONDERO RELATED
    ENTITIES TO SUE HIGHLAND FOR ALLEGED MISMANAGEMENT OF ITS ESTATE DURING ITS
    BANKRUPTCY
                                               Motion                                                     Court                    Movant
      Plaintiff’s Motion to Stay All Proceedings, Case No. 3:21-cv-01710-N, D.I. 6                    District Court                 DAF
      (N.D. Tex. Aug. 26, 2021)
      Plaintiff’s Motion to Stay All Proceedings, Case No. 3:21-cv-00842-B, D.I. 55                   District Court              Appellants
      (N.D. Tex. Aug. 26, 2021)
      Plaintiff’s Motion to Stay All Proceedings, Case No. 3:21-cv-01169-N, D.I. 6                    District Court      PCMG Trading Partners
      (N.D. Tex. Aug. 26, 2021)                                                                                              XXIII, L.P.3
      Appellants’ Opposed Motion to Stay or Abate Appeal, Case No. 3:21-cv-01585-                     District Court              Appellants
      S, D.I. 10 (N.D. Tex. Sept. 22, 2021)
      Partially Opposed Motion for Extension of Time to File Appellants’ Opening                      District Court              Appellants
      Brief, Case No. 3:21-cv-01585-S, D.I. 13 (N.D. Tex. Sept. 29, 2021)




3
 PCMG Trading Partners XXIII, L.P., is an entity majority owned indirectly by Dondero which was used to invest in certain investment vehicles managed by
Highland.



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Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 722 of 783 PageID 7143



                             EXHIBIT 29




                                                                   Appx.000716
Case
  Case
     3:21-cv-01585-S
        3:21-cv-01585-SDocument
                         Document
                                1513Filed
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                                          10/01/21
                                             09/29/21Page
                                                       Page
                                                          723
                                                            1 of 783
                                                                 6 PageID
                                                                     PageID
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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION
                            ____________

                             No. 3:21-CV-01585-S
                                ____________

           IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                            Debtors.

         THE CHARITABLE DAF FUND, L.P. AND CLO HOLDCO, LTD.,
                                                       Appellants,

                                       v.

                   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                 Appellee.
                                ____________

     PARTIALLY OPPOSED MOTION FOR EXTENSION OF TIME
            TO FILE APPELLANTS’ OPENING BRIEF
                        ____________

  APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE
      NORTHERN DISTRICT OF TEXAS, CASE NO. 19-34054-sgj11

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  Case
     3:21-cv-01585-S
        3:21-cv-01585-SDocument
                         Document
                                1513Filed
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                                          10/01/21
                                             09/29/21Page
                                                       Page
                                                          724
                                                            2 of 783
                                                                 6 PageID
                                                                     PageID
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                                                                            7145



      CLO Holdco, Ltd. and The Charitable DAF Fund, L.P. (collectively,

“Appellants”) move this Court for an extension of time in which to file their

Appellants’ Opening Brief on the Merits in this appeal of the bankruptcy court’s

refusal to modify an order approving Appellee/Debtor Highland Capital

Management, L.P.’s (“Appellee”) retention of its Chief Restructuring Officer and

Chief Executive Officer James P. Seery, Jr. Appellants request thirty (30) days, until

and including November 8, 2021, in which to file their opening brief in this appeal.

                                 BACKGROUND

      This appeal arises out of a long and complicated Chapter 11 bankruptcy

involving Appellee, a global investment adviser registered with the SEC pursuant to

the Investment Advisers Act of 1940 and which managed billions of dollars of third-

party assets. See generally ROA.672, 831. Charitable DAF Fund, L.P. (“DAF”) and

CLO Holdco, Ltd. (“CLO Holdco”) are two investors for whom Appellee performed

services. Id.

      In January 2020, as part of the ongoing Chapter 11 proceedings, the

bankruptcy court entered an order that approved the appointment of three new

independent directors to govern Highland Capital’s general partner, Strand

Advisors, Inc. ROA.505-10. One of those new independent board members was Mr.

James Seery. Id. Key to this appeal, in July 2020, the bankruptcy court approved

Highland Capital’s request to appoint Mr. Seery as its new Chief Executive Officer

                                          2
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Case
  Case
     3:21-cv-01585-S
        3:21-cv-01585-SDocument
                         Document
                                1513Filed
                                       Filed
                                          10/01/21
                                             09/29/21Page
                                                       Page
                                                          725
                                                            3 of 783
                                                                 6 PageID
                                                                     PageID
                                                                          6402
                                                                            7146



and Chief Restructuring Officer (the “Approval Order”). ROA.510-42; ROA.543-

54. The Approval Order, like the January predecessor, contained gate-keeper and

injunctive provisions that required parties seeking to sue Mr. Seery to first seek the

bankruptcy court’s determination that the suing party had a viable claim for willful

misconduct or gross negligence only. ROA.544-45. And if such a viable claim were

determined to exist, the bankruptcy court would have “sole jurisdiction to adjudicate

any such claim[.]” See id.

      This appeal involves a challenge to the bankruptcy court’s refusal to modify

its Approval Order and more specifically, the gate-keeping, exculpatory, and sole

jurisdiction clauses in that order. Appellants timely filed this appeal and the record

was filed (albeit with some deficiencies related to Appellee’s designations) on

September 8, 2021. Appellants’ opening brief is currently due on October 8, 2021.

                          REASONS FOR EXTENSION

      Appellants respectfully request a 60-day extension, up to and including

December 7, 2021, by which to file their merits brief in this appeal, for the following

reasons:

      First, Appellants have filed a motion to stay or abate this appeal pending the

resolution of a direct appeal to the Fifth Circuit arising out of the same bankruptcy

proceeding. See NexPoint Advisors, L.P. et al. v. Highland Capital Management,

L.P., No. 21-10449 (5th Cir. 2021) [hereafter “NexPoint Advisors appeal”]. In that

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  Case
     3:21-cv-01585-S
        3:21-cv-01585-SDocument
                         Document
                                1513Filed
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                                          10/01/21
                                             09/29/21Page
                                                       Page
                                                          726
                                                            4 of 783
                                                                 6 PageID
                                                                     PageID
                                                                          6403
                                                                            7147



appeal, several parties have challenged the Plan Confirmation Order, which also

contains exculpatory and injunctive provisions similar to those contained in the

Approval Order at issue in this appeal. The Fifth Circuit’s resolution of that direct

appeal may therefore narrow or even eliminate certain issues that would otherwise

be raised here. This Court has issued a briefing schedule. Thus, Appellants request

an extension of time given the pending motion for stay before this Court to avoid

unnecessary briefing.

      Second, there are very complex issues implicating application of 100-year-old

doctrines with bankruptcy jurisdiction and federal securities law.

      Third, Appellants’ counsel are engaged in other matters with pressing

deadlines, commitments, and ongoing work, including the following:

      1.     Trial in JRJR, Inc. and Agel Enterprises, Inc. v. Michael A. Bishop, et

             al, Cause No. DC-17-15206, 116th Judicial District Court, Dallas,

             County, Texas, on October 11-15, 2021;

      2.     Appellants’ opening brief deadline in The Charitable DAF Fund, L.P.,

             CLO Holdco, Ltd., Mark Patrick, Sbaiti & Company PLLC, Mazin A.

             Sbaiti, and Jonathan Bridges v. Highland Capital Management, L.P.¸

             Case No. 3:22-cv-01974-X, United States District Court, Northern

             District of Texas, on October 27, 2021;




                                         4
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Case
  Case
     3:21-cv-01585-S
        3:21-cv-01585-SDocument
                         Document
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                                          10/01/21
                                             09/29/21Page
                                                       Page
                                                          727
                                                            5 of 783
                                                                 6 PageID
                                                                     PageID
                                                                          6404
                                                                            7148



      3.     Trial/arbitration in In the Matter of the Arbitration Between: SBV-

             Atlanta-Concord Chase, LLC, et al and FPA Multifamily, LLC, et al,

             JAMS Reference No. 1410008753, in Atlanta, Georgia, on November

             30 – December 3, 2021.

      Finally, counsel for Appellee has stated that Appellee is only agreeable to a

ten-day extension of Appellants’ brief deadline to October 18.

                CONCLUSION AND REQUEST FOR RELIEF

      For the above reasons, Appellants respectfully request that this motion for

extension of time be granted and that the time for filing their opening merits brief in

this appeal be extended by 30 days until and including November 8, 2021.

Appellants request any and all further relief to which they may be entitled.



Dated: September 29, 2021               Respectfully submitted,

                                        SBAITI & COMPANY PLLC

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                                          5
                                                                            Appx.000721
Case
  Case
     3:21-cv-01585-S
        3:21-cv-01585-SDocument
                         Document
                                1513Filed
                                       Filed
                                          10/01/21
                                             09/29/21Page
                                                       Page
                                                          728
                                                            6 of 783
                                                                 6 PageID
                                                                     PageID
                                                                          6405
                                                                            7149



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                                       Counsel for Appellants The Charitable
                                       DAF Fund, L.P. and CLO Holdco, Ltd.



                      CERTIFICATE OF CONFERENCE
      I hereby certify that on September 28 and 29, 2021, counsel for Appellants

conferred with counsel for Appellee, who stated that Appellee is agreeable to only a

ten-day extension of Appellants’ brief deadline to October 18, 2021.



                                                     /s/ Mazin A. Sbaiti
                                                     Mazin A. Sbaiti



                         CERTIFICATE OF SERVICE
      I certify that on September 29, 2021, I caused a copy of the foregoing

document to be served by Electronic Case Filing System for the United States

District Court for the Northern District of Texas.



                                                     /s/ Mazin A. Sbaiti
                                                     Mazin A. Sbaiti




                                          6
                                                                           Appx.000722
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 729 of 783 PageID 7150



                             EXHIBIT 30




                                                                   Appx.000723
Case 3:21-cv-01585-S Document 15 Filed 10/01/21     Page 730 of 783 PageID 7151



                               Case No. 21-10449

              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

In the Matter of: Highland Capital Management, L.P.,
            Debtor.

NexPoint Advisors, L.P.; Highland Capital Management Fund Advisors, L.P.;
Highland Income Fund; NexPoint Strategic Opportunities Fund; Highland Global
Allocation Fund; NexPoint Capital, Incorporated; James Dondero; The Dugaboy
Investment Trust; Get Good Trust,
            Appellants,
v.
Highland Capital Management, L.P.,
            Appellee.

      OPENING BRIEF OF APPELLANTS NEXPOINT ADVISORS, L.P.
     AND HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

            Direct Appeal from the United States Bankruptcy Court for
        the Northern District of Texas, the Honorable Stacey G.C. Jernigan
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                           Julian P. Vasek, Esq.
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               ATTORNEYS FOR APPELLANTS NEXPOINT
                ADVISORS, L.P. AND HIGHLAND CAPITAL
                 MANAGEMENT FUND ADVISORS, L.P.




                                                                        Appx.000724
Case 3:21-cv-01585-S Document 15 Filed 10/01/21       Page 731 of 783 PageID 7152



                                Case No. 21-10449

              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

In the Matter of: Highland Capital Management, L.P.,
             Debtor.

NexPoint Advisors, L.P.; Highland Capital Management Fund Advisors, L.P.;
Highland Income Fund; NexPoint Strategic Opportunities Fund; Highland Global
Allocation Fund; NexPoint Capital, Incorporated; James Dondero; The Dugaboy
Investment Trust; Get Good Trust,
             Appellants,
v.
Highland Capital Management, L.P.,

             Appellee.

                CERTIFICATE OF INTERESTED PERSONS


      The undersigned counsel of record certifies that the following listed persons
and entities, as described in the fourth sentence of Rule 28.2.1, have an interest in
the outcome of this case. These representations are made in order that the judges of
this Court may evaluate possible disqualification or recusal:

      1.     Appellants filing this brief:

             NexPoint Advisors, L.P.
                  Owned by:
                       The Dugaboy Investment Trust
                       NexPoint Advisors GP, LLC
                             Owned by:
                                     James Dondero




                                          i
                                                                          Appx.000725
Case 3:21-cv-01585-S Document 15 Filed 10/01/21   Page 732 of 783 PageID 7153



           Highland Capital Management Fund Advisors, L.P.
                Owned by:
                     Highland Capital Management Services, Inc.
                     Strand Advisors XVI, Inc.
                     Okada Family Revocable Trust

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     2.    Other Appellants:

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           Highland Global Allocation Fund, and NexPoint Capital,
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                 Harrisburg, PA 17101

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           James Dondero

                 Counsel:
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                 Bryan Christopher Assink, Esq.
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                                      ii
                                                                   Appx.000726
Case 3:21-cv-01585-S Document 15 Filed 10/01/21    Page 733 of 783 PageID 7154



           The Dugaboy Investment Trust and Get Good Trust

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                 New Orleans, LA 70130

     3.    Appellee:

           Highland Capital Management, L.P.

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                 Zachery Z. Annable, Esq.
                 Hayward P.L.L.C.
                 10501 N. Central Expy. Ste. 106
                 Dallas, TX 75231

                 Jeffrey N. Pomerantz
                 Pachulski Stang Ziehl & Jones, LLP
                 10100 Santa Monica Boulevard, 13th Floor
                 Los Angeles, CA 90067

     4.    Other Interested Parties:

           Official Committee of Unsecured Creditors
                 Members:
                       Redeemer Committee of Highland Crusader Fund
                       Meta-e Discovery
                       UBS Securities LLC
                       UBS AG London Branch
                       Acis Capital Management, L.P.
                       Acis Capital Management GP, LLC
                       Josh Terry

           All creditors in Highland Capital Management, L.P. bankruptcy

                                   By: /s/ Davor Rukavina
                                     Davor Rukavina, Esq.

                                       iii
                                                                    Appx.000727
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 734 of 783 PageID 7155



              STATEMENT REGARDING ORAL ARGUMENT

      The Appellants believe that oral argument would benefit the Court. The issues

this appeal will resolve are particularly important to bankruptcy jurisprudence. For

example, this brief will focus on the proper application of the Absolute Priority Rule,

which, despite the rule’s historic origins and critical importance, continues to evade

definitive delimitation. Likewise, the Bankruptcy Court went to great lengths to

work around applicable precedent in an manner that warrants discussion.

Accordingly, the Appellants respectfully request oral argument.




                                          iv
                                                                            Appx.000728
Case 3:21-cv-01585-S Document 15 Filed 10/01/21                               Page 735 of 783 PageID 7156



                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES ....................................................................................vi

I.      STATEMENT OF JURISDICTION ............................................................... 1

II.     STATEMENT OF THE ISSUES .................................................................... 2

III.    STATEMENT OF THE CASE ....................................................................... 3

        A.       THE PARTIES .......................................................................................... 3
        B.       THE PLAN ............................................................................................... 5

                 1.       The Absolute Priority Rule Violation ......................................... 5
                 2.       The Plan’s Assumption of the PMAs ......................................... 8
                 3.       The Plan’s Impermissible Exculpations and Injunctions.......... 10
                 4.       The Debtor’s Violation of a Mandatory Bankruptcy Rule ....... 15

IV.     SUMMARY OF THE ARGUMENT ............................................................ 16

V.      ARGUMENT ................................................................................................. 18

        A.       STANDARD OF APPELLATE REVIEW ...................................................... 18
        B.       THE PLAN VIOLATES THE ABSOLUTE PRIORITY RULE ......................... 18
        C.       THIS COURT’S PRECEDENT PROHIBITS PLAN’S
                 NON-CONSENSUAL RELEASES AND INJUNCTIONS ................................ 25

                 1.       The Plan’s Broad Exculpation is Impermissible ...................... 27
                 2.       The Plan’s Broad Permanent Injunction is Impermissible ....... 32
                 3.       The Plan’s Gatekeeper Injunction is Impermissible ................. 33
                 4.       The Bankruptcy Court’s Attempt to Distinguish
                          Pacific Lumber Actually Eviscerated its Holding .................... 38

        D.       THE DEBTOR ADMITTED IT DID NOT COMPLY
                 WITH THE BANKRUPTCY CODE, BUT THE COURT
                 CONFIRMED THE PLAN ANYWAY ......................................................... 40

VI.     CONCLUSION.............................................................................................. 42




                                                           v
                                                                                                            Appx.000729
Case 3:21-cv-01585-S Document 15 Filed 10/01/21                               Page 736 of 783 PageID 7157



                                      TABLE OF AUTHORITIES

Cases

Adler v. Lehman Bros. Holdings (In re Lehman Bros. Holdings),
   855 F.3d 459 (2d Cir. 2017) ............................................................................... 19

Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. Lasalle St. P’ship,
  526 U.S. 434 (1999) ................................................................................18, 21, 24

Bank of. La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores
  of Tex., Inc.), 266 F.3d 388 (5th Cir. 2001) ............................................17, 28, 36

Bank of New York Trust Co., N.A. v. Official Unsecured Creditors’
Comm. (In re Pacific Lumber Co.), 584 F.3d 229 (5th Cir. 2009) ...................passim

Boudreaux v. U.S., 280 F.3d 461 (5th Cir. 2002) .................................................... 18

Century Indem. Co. v. NGC Settlement Trust (In re Nat’l
  Gypsum Co.), 208 F.3d 498 (5th Cir. 2000) .................................................29, 32

DeBold v. Case (In re Tri-River Trading, LLC), 329 B.R. 252
  (B.A.P. 8th Cir. 2005) ......................................................................................... 22

Electric Reliability Council of Tex. Inc. v. May (In the Matter of Texas
   Comm. Energy), 607 F.3d 153 (5th Cir. 2010) ................................................... 18

Feld v. Zale Corp. (In re Zale Corp.),
    62 F.3d 746 (5th Cir. 1995) .......................................................25, 26, 31, 33, 34

First Inv. Corp. v. Fujian Mawei Shipbuilding Ltd., 703 F.3d 742
   (5th Cir. 2012)..................................................................................................... 37

In re Edmonds, 273 B.R. 527 (Bankr. E.D. Mich. 2000) ........................................ 21

In re Greystone III Joint Venture, 995 F.2d 1274 (5th Cir. 1991) .......................... 19

In re Insilco Techs., Inc., 480 B.R. 212 (3d Cir. 2007) ........................................... 22

In re Introgen Therapeutics, 429 B.R. 570 (Bankr. W.D. Tex. 2010) .................... 23

                                                           vi
                                                                                                           Appx.000730
Case 3:21-cv-01585-S Document 15 Filed 10/01/21                               Page 737 of 783 PageID 7158



In re Landing Assocs., Ltd., 157 B.R. 791 (Bankr. W.D. Tex. 1993) ..................... 40

In re Mangia Pizza Invs., LP, 480 B.R. 669 (Bankr. W.D. Tex. 2012) .................. 21

In re Mcorp Fin., Inc., 137 B.R. 219 (Bankr. S.D. Tex. 1992) ............................... 23

In re Seatco, Inc., 257 B.R. 469 (Bankr. N.D. Tex. 2001) ...................................... 40

In re Tex. Star Refreshments, LLC, 494 B.R. 684 (Bankr. N.D. Tex. 2013)........... 19

In re Vaughan, 429 B.R. 14 (Bankr. D.N.M. 2010) ................................................ 41

In re W. Real Fund, 922 F.2d 592 (10th Cir. 1990) ..........................................26, 31

In re Waterways Barge P’ship, 104 B.R. 776 (Bankr. N.D. Miss. 1989) ............... 22

Mandel v. Thrasher (In re Mandel), No. 20-40026, 2021 U.S. App.
  LEXIS 24489 (5th Cir. Aug. 17, 2021) .............................................................. 42

Norwest Bank Worthington v. Ahlers, 485 U.S. 197 (1988)..............................21, 24

Republic Supply Co. v. Shoaf, 815 F.2d 1046, 1051 (5th Cir. 1987) ...................... 31

Scott v. Schedler, 826 F.3d 207 (5th Cir. 2016)....................................................... 33

Segal v. Rochelle, 382 U.S. 375 (1966) ................................................................... 21

United States v. Dison, 573 F.3d 204 (5th Cir. 2009) ............................................. 24

Villegas v. Schmidt, 788 F.3d 156, 158 (5th Cir. 2015) .......................................... 35

Statutes and Rules

11 U.S.C. § 524 ..............................................................................................2, 25, 26

11 U.S.C. § 704 ........................................................................................................ 41

11 U.S.C. § 1106 ...................................................................................................... 41

11 U.S.C. § 1107 ...................................................................................................... 41

                                                           vii
                                                                                                            Appx.000731
Case 3:21-cv-01585-S Document 15 Filed 10/01/21                                Page 738 of 783 PageID 7159




11 U.S.C. § 1129 ......................................................................................8, 19, 25, 40

28 U.S.C. § 158 .......................................................................................................... 1

28 U.S.C. § 959 ........................................................................................................ 34

28 U.S.C. § 1927 ...................................................................................................... 39

FED. R. BANKR. P. 2015.3 ........................................................................................ 41

Other Sources

7 Collier on Bankruptcy ¶ 1129.02[2] (16th ed. 2021)............................................ 40

7 Collier on Bankruptcy ¶ 129.03[2] (15th ed. 2000).............................................. 40




                                                           viii
                                                                                                             Appx.000732
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 739 of 783 PageID 7160



     OPENING BRIEF OF APPELLANTS NEXPOINT ADVISORS, L.P.
    AND HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

      NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P., two of the appellants in this bankruptcy appeal (collectively, the “Appellants”),

hereby submit this Opening Brief of Appellants NexPoint Advisors, L.P. and

Highland Capital Management Fund Advisors, L.P., in support of which they would

respectfully state as follows:

                    I.     STATEMENT OF JURISDICTION

      On February 22, 2021, the United States Bankruptcy Court for the Northern

District of Texas, Dallas Division (the “Bankruptcy Court”) entered its Order (i)

Confirming the Fifth Amended Plan of Reorganization of Highland Capital

Management, L.P. (as Modified) and (ii) Granting Related Relief (the “Confirmation

Order”),1 by which the Bankruptcy Court confirmed the Debtor’s Fifth Amended

Plan of Reorganization of Highland Capital Management, L.P. (as Modified), (as

further modified the “Plan”),2 submitted by Highland Capital Management, L.P. (the

“Debtor” or “Appellee”). On June 7, 2021, this Court authorized a direct appeal of

the Confirmation Order. The Court therefore has jurisdiction to hear this direct

appeal under 28 U.S.C. § 158(d)(2).




1
      ROA.14.
2
      ROA.105.

                                          1
                                                                            Appx.000733
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 740 of 783 PageID 7161



                     II.    STATEMENT OF THE ISSUES

      1.     Did the Bankruptcy Court err as a matter of law in confirming the Plan

under the Absolute Priority Rule codified by 11 U.S.C. § 1129(b)(2)(B) because the

Plan provides that the holders of equity interests, in the form of limited partnership

interests in the Debtor, retain or receive property under the Plan even though Class

8 under the Plan, a class of unsecured creditors, will not be paid in full on the

effective date and rejected the Plan?

      2.     Did the Bankruptcy Court err as a matter of law in confirming the Plan

because the exculpation provisions of the Plan effectuated non-consensual third-

party releases in violation of this Court’s Pacific Lumber precedent and section

524(e) of the Bankruptcy Code?

      3.     Did the Bankruptcy Court err as a matter of law in confirming the Plan

because the permanent injunctions contained in the Plan are legally improper,

effectuate non-consensual third-party releases, violate due process rights, were

entered without jurisdiction, and are overly broad and impermissibly vague?

      4.     Did the Bankruptcy Court err as a matter of law in confirming the Plan

because the Debtor failed to satisfy the 11 U.S.C. § 1129(a)(2) element for

confirmation requiring the Debtor to have complied with all applicable provisions

of the Bankruptcy Code, which the Debtor admittedly failed to do because it utterly

failed to comply with Bankruptcy Rule 2015.3?



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                                                                           Appx.000734
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 741 of 783 PageID 7162



                       III.     STATEMENT OF THE CASE

A.    THE PARTIES

      The Debtor was a global investment adviser registered with the SEC pursuant

to the Investment Advisers Act of 1940, and managed billions of dollars of third-

party assets.3 Under that Act, the Debtor owes strict fiduciary duties to the funds

that it manages and to the investors whose investments it manages.4 Among other

things, the Debtor manages more than $1 billion in investments in various

collateralized loan obligations (“CLOs”) pursuant to portfolio management

agreements (the “PMAs”) in exchange for various fees paid by the CLOs.5

      The Appellants are also registered investment advisors and owe fiduciary

duties to the funds and other investment vehicles they advise and manage.6 The

Appellants manage and advise various publicly traded funds, including the following

three: Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint

Capital, Inc.,7 which collectively have invested approximately $140 million in the

CLOs the Debtor manages.8 These funds are co-appellants in this Appeal. Under at


3
      ROA.19.
4
      ROA.747 (Tr. 179:8-15).
5
      ROA.758 (Tr. 190:7-12).
6
      ROA.686 (beginning on line 10).
7
      See Id. (beginning on line 20). Although the Appellants manage and advise these funds on
      a daily basis, these funds are ultimately controlled by independent boards. ROA.918 (Tr.
      55:6-13).
8
      ROA.918 (beginning on line 1).

                                             3
                                                                                  Appx.000735
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 742 of 783 PageID 7163



least three PMAs, the funds may remove the Debtor as CLO manager “for cause”

because the funds hold the requisite percentage of shares.9 There are various other

CLOs where the funds do not hold enough shares but are still able to vote their shares

along with other shareholders.10         Thus, should the Debtor, as manager, act

inappropriately, the funds, and the Appellants acting on their behalf, have the ability

to protect themselves and their investors by removing the Debtor, but for the Plan.

      The Appellants are also unsecured and administrative creditors of the Debtor,

holding tens of millions of dollars in unliquidated claims.11 The Debtor has also

sued the Appellants in various proceedings claiming, among other things, tens of

millions of dollars in liabilities under various alleged promissory notes from the

Appellants to the Debtor.12

      The Appellants are managed and controlled by James Dondero (“Dondero”),

and directly or indirectly owned by Dondero to various degrees (together with third




9
      Compare ROA.1466 (showing cumulative majority interest in Grayson, Greenbriar, and
      Stratford) with, e.g., ROA.1462 (Grayson PMA permitting appointment of successor
      services at the written direction of a majority of the preference shares).
10
      ROA.1466 (listing interests in various CLOs).
11
      ROA.1352-62 (unsecured claims); ROA.32 (Confirmation Order recognizing existence of
      administrative expense claims).
12
      ROA.16861 (Dkt. No. 1692, adversary proceeding commenced against Appellants and
      various other entities); ROA.16878 (Dkt. Nos. 1801, 1802, and 1803, three adversary
      proceedings commenced against the Appellants and others).

                                             4
                                                                              Appx.000736
Case 3:21-cv-01585-S Document 15 Filed 10/01/21       Page 743 of 783 PageID 7164



parties).13 Prior to his resignation from the Debtor, Dondero also managed and

controlled the Debtor, having founded the Debtor in 1993.14

B.    THE PLAN

      The Debtor filed the Plan (as an amendment of prior versions) on January 22,

2021.15 The Appellants, along with numerous other creditors and parties, filed

objections to the Plan. The Bankruptcy Court held a hearing on the Plan on February

2 and 3, 2021, whereafter the Bankruptcy Court issued an oral ruling confirming the

Plan on February 8, 2021,16 and ultimately entered its Confirmation Order on

February 22, 2021.17

      1.     The Absolute Priority Rule Violation

      The Plan divides creditors and equity security holders into eleven classes.

One of the classes entitled to vote was Class 8, consisting of general unsecured

creditors.18 The Plan proposed to satisfy claims in Class 8 by creating a “Claimant

Trust.”19 Each creditor in Class 8 receives its pro rata share of the “Claimant Trust




13
      ROA.29-30.
14
      ROA.19-20.
15
      ROA.3287 (Dkt. No. 1808).
16
      ROA.1121-71.
17
      ROA.14-174.
18
      Id.
19
      ROA.115 (definition of “Claimant Trust”).

                                            5
                                                                          Appx.000737
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 744 of 783 PageID 7165



Interests”20 in full satisfaction of its claim. The “Claimant Trustee”21 will then

monetize the “Claimant Trust Assets”22 for the benefit of these creditors and make

distributions to them as appropriate.23

      Of importance for this Appeal, the Plan does not propose to pay Class 8

unsecured creditors in full. Rather, the Debtor estimates that it will pay Class 8 from

distributions from the Claimant Trust worth up to 71.32 percent of their claims under

the Plan.24 Nor was there ever a time when the Debtor projected paying Class 8

creditors in full.25 In fact, the projected return to Class 8 actually diminished over

time from 87.44 percent in November 2020 to 71.32 percent in February 2021.26 No

one ever expected the Debtor to pay Class 8 Creditors in full under its nonconsensual

Plan, and the Plan does not require it.27 In fact, the Bankruptcy Court expressly

found that Class 8 would be paid at least approximately 71% under the Plan.28




20
      ROA.115-16 (definition of “Claimant Trust Interests”).
21
      ROA.115 (definition of “Claimant Trustee”).
22
      Id. (definition of “Claimant Trust Assets”).
23
      ROA.137.
24
      ROA.4158.
25
      ROA.4428-4432 (Testimony by the Debtor’s Chief Executive Officer regarding the
      projections changing over time).
26
      See id.
27
      ROA.132 (treatment of Class 8 devoid of any reference to payment in full, acknowledging
      that Class 8 is impaired).
28
      ROA.54.

                                               6
                                                                                 Appx.000738
Case 3:21-cv-01585-S Document 15 Filed 10/01/21           Page 745 of 783 PageID 7166



      The Plan also contains two classes of equity interests: Classes 10 and 11,

which consisted of the limited partnership interests held in the Debtor.29 With

respect to these classes of equity interests, the Plan grants the holders of these

interests “Contingent Claimant Trust Interests,” meaning interests in the Claimant

Trust that would be entitled to distributions from the Claimant Trust only if and when

unsecured creditors, including Class 8, would be paid in full.30 The Debtor’s CEO

admitted that these contingent trust interests are “property” interests, which may

have some value in the future.31 The Debtor’s counsel also confirmed that these

contingent trust interests are property: “They are property. No doubt they are

property.”32 In subsequent briefing, the Debtor once again acknowledged that the

contingent trust interests are “property.”33

      Unsurprisingly, Class 8 rejected the Plan.34 A majority of creditors voted

against confirmation, with twenty-seven rejecting the Plan and only seventeen

accepting it.35 Thus, the Bankruptcy Court proceeded to consider confirmation of



29
      ROA.128 (describing various classes and entitlement to vote); ROA.116 (definitions of
      “Class A Limited Partnership Interest” and “Class B/C Limited Partnership Interest”).
30
      ROA.133-34 (describing treatment of Classes 10 and 11).
31
      ROA.4393-94 (Tr. 177:10 – 178:25).
32
      ROA.4758 (Tr. 242:20-21).
33
      ROA.1622 (the Debtor admitted it was “not arguing that the Contingent Claimant Trust
      Interests are not a property right or might not, at some point, have value.”).
34
      ROA.4202.
35
      Id.

                                            7
                                                                                Appx.000739
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 746 of 783 PageID 7167



the Plan under the “cramdown” provisions of 11 U.S.C. § 1129(b), including the

“Absolute Priority Rule.”36 As discussed at length below, the Absolute Priority Rule

provides that, where a class of unsecured creditors has rejected the Plan and is not

paid in full under the Plan on the effective date, as is the case here, no junior class

(in this case equity interests) can receive or retain any “property” under the Plan.

The Appellants argued that, because Classes 10 and 11 were being provided with the

contingent trust interests under the Plan, which the Debtor admitted to be “property”

with potential future value, the Plan violated the Absolute Priority Rule on its face.

      The Bankruptcy Court rejected this argument, concluding that, because the

contingent trust interests would not be paid unless and until unsecured creditors were

first paid in full, the Absolute Priority Rule was satisfied.

2.    The Plan’s Assumption of the PMAs

      Under the Plan, the Debtor assumed the PMAs, such that the Debtor will

continue to manage and control the CLOs, under which the Debtor manages more

than $1 billion of third-party assets,37 including the various CLOs in which the

Appellants and the funds they advise have invested approximately $140 million.38

      As the Appellants and others informed the Bankruptcy Court, the Appellants

believed that the Debtor would be incapable of faithfully exercising its fiduciary


36
      ROA.57 (¶ 60).
37
      ROA.758 (Tr. 190:7-12).
38
      ROA.918 (beginning on line 1).

                                           8
                                                                            Appx.000740
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 747 of 783 PageID 7168



duties under the PMAs owed to the CLOs, because the Debtor has been liquidating

the CLOs even though they do not need liquidity, and will liquidate the CLOs in

approximately 18 to 24 months.39 This goes against the wishes of the beneficial

interest holders in the CLOs and, at a minimum, subjects the Debtor to potential

future claims and causes of action for how it manages or mismanages $1 billion of

other peoples’ investments. Simply put, how the Debtor manages the CLOs post-

confirmation is of significant concern to many investors, including the Appellants

and the funds that they manage, and, if the Debtor breaches its fiduciary duties,

mismanages, or engages in other actionable conduct regarding its management of

the CLOs, it faces potentially serious non-bankruptcy liabilities.

      This is important for this Appeal because, upon the Debtor’s assumption of

the PMAs, the Debtor became obligated to comply with the PMAs in all respects,

and all rights of parties under the PMAs, and the related CLO indentures, are

reinstated and preserved with respect to all post-confirmation matters and liabilities.

In other words, post-confirmation, the Appellants and the funds would normally

have rights to remove the Debtor as manager of the CLOs, in some instances alone

while in other instances with others, and in some instances for “cause” while in

others for no “cause.”40 This is of further importance to the discussion below



39
      ROA.3530-31; ROA.3542-43.
40
      E.g. ROA.8048 (¶ 12(c), providing for removal without cause).

                                             9
                                                                            Appx.000741
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 748 of 783 PageID 7169



because, among other things, and notwithstanding the law that preserves all

counterparty rights under an assumed contract, the Bankruptcy Court enjoined the

Appellants, the funds, and others from exercising those rights post-confirmation.

       3.     The Plan’s Impermissible Exculpations and Injunctions

       The Plan contains broad and sweeping exculpation and injunction provisions

barring and limiting claims and causes of action against the Debtor and numerous

non-debtor persons and parties not only for actions or inactions taken during the

bankruptcy case and prior to confirmation, but for post-confirmation actions,

inactions, and potential liabilities.

       Article IX of the Plan contains the following exculpation provision (the

“Exculpation Provision”):

       Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
       extent permitted by applicable law, no Exculpated Party will have or
       incur, and each Exculpated Party is hereby exculpated from, any claim,
       obligation, suit, judgment, damage, demand, debt, right, Cause of
       Action, remedy, loss, and liability for conduct occurring on or after the
       Petition Date in connection with or arising out of (i) the filing and
       administration of the Chapter 11 Case; (ii) the negotiation and pursuit
       of the Disclosure Statement, the Plan, or the solicitation of votes for, or
       confirmation of, the Plan; (iii) the funding or consummation of the Plan
       (including the Plan Supplement) or any related agreements,
       instruments, or other documents, the solicitation of votes on the Plan,
       the offer, issuance, and Plan Distribution of any securities issued or to
       be issued pursuant to the Plan, including the Claimant Trust Interests,
       whether or not such Plan Distributions occur following the Effective
       Date; (iv) the implementation of the Plan; and (v) any negotiations,
       transactions, and documentation in connection with the foregoing
       clauses (i)-(iv); provided, however, the foregoing will not apply to (a)
       any acts or omissions of an Exculpated Party arising out of or related to

                                           10
                                                                              Appx.000742
Case 3:21-cv-01585-S Document 15 Filed 10/01/21       Page 749 of 783 PageID 7170



      acts or omissions that constitute bad faith, fraud, gross negligence,
      criminal misconduct, or willful misconduct or (b) Strand or any
      Employee other than with respect to actions taken by such Entities from
      the date of appointment of the Independent Directors through the
      Effective Date. This exculpation shall be in addition to, and not in
      limitation of, all other releases, indemnities, exculpations, any other
      applicable law or rules, or any other provisions of this Plan, including
      ARTICLE IV.C.2, protecting such Exculpated Parties from liability.41

“Exculpated Parties,” in turn, means, collectively:

      (i) the Debtor and its successors and assigns, direct and indirect
      majority-owned subsidiaries, and the Managed Funds, (ii) the
      Employees, (iii) Strand, (iv) the Independent Directors, (v) the
      Committee, (vi) the members of the Committee (in their official
      capacities), (vii) the Professionals retained by the Debtor and the
      Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the
      Related Persons of each of the parties listed in (iv) through (viii);
      provided, however, that, for the avoidance of doubt, none of James
      Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
      subsidiaries and managed entities), the Charitable Donor Advised
      Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd.,
      and managed entities), Highland CLO Funding, Ltd. (and any of its
      subsidiaries, members, and managed entities), Highland Capital
      Management Fund Advisors, L.P. (and any of its subsidiaries and
      managed entities), NexBank, SSB (and any of its subsidiaries), the
      Hunter Mountain Investment Trust (or any trustee acting for the trust),
      the Dugaboy Investment Trust (or any trustee acting for the trust), or
      Grant Scott is included in the term “Exculpated Party.”42

      Article IX of the Plan also contains an injunction provision (the “Injunction”),

which provides, in pertinent part, as follows:

            Upon entry of the Confirmation Order, all Enjoined Parties are
      and shall be permanently enjoined, on and after the Effective Date, from


41
      ROA.157.
42
      ROA.119.

                                         11
                                                                           Appx.000743
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 750 of 783 PageID 7171



      taking any actions to interfere with the implementation or
      consummation of the Plan.

                                     ***
             Subject in all respects to ARTICLE XII.D, no Enjoined Party
      may commence or pursue a claim or cause of action of any kind against
      any Protected Party that arose or arises from or is related to the Chapter
      11 Case, the negotiation of the Plan, the administration of the Plan or
      property to be distributed under the Plan, the wind down of the business
      of the Debtor or Reorganized Debtor, the administration of the
      Claimant Trust or the Litigation Sub-Trust, or the transactions in
      furtherance of the foregoing without the Bankruptcy Court (i) first
      determining, after notice and a hearing, that such claim or cause of
      action represents a colorable claim of any kind, including, but not
      limited to, negligence, bad faith, criminal misconduct, willful
      misconduct, fraud, or gross negligence against a Protected Party and
      (ii) specifically authorizing such Enjoined Party to bring such claim or
      cause of action against any such Protected Party; provided, however,
      the foregoing will not apply to a claim or cause of action against Strand
      or against any Employee other than with respect to actions taken,
      respectively, by Strand or by such Employee from the date of
      appointment of the Independent Directors through the Effective Date.
      The Bankruptcy Court will have sole and exclusive jurisdiction to
      determine whether a claim or cause of action is colorable and, only to
      the extent legally permissible and as provided for in ARTICLE XI, shall
      have jurisdiction to adjudicate the underlying colorable claim or cause
      of action.43

“Enjoined Parties,” in turn, is defined to mean:

      (i) all Entities who have held, hold, or may hold Claims against or
      Equity Interests in the Debtor (whether or not proof of such Claims or
      Equity Interests has been filed and whether or not such Entities vote in
      favor of, against or abstain from voting on the Plan or are presumed to
      have accepted or deemed to have rejected the Plan), (ii) James Dondero
      (“Dondero”), (iii) any Entity that has appeared and/or filed any motion,
      objection, or other pleading in this Chapter 11 Case regardless of the
      capacity in which such Entity appeared and any other party in interest,
43
      ROA.160.

                                         12
                                                                            Appx.000744
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 751 of 783 PageID 7172



      (iv) any Related Entity, and (v) the Related Persons of each of the
      foregoing.44

And “Protected Parties” means, collectively:

      (i) the Debtor and its successors and assigns, direct and indirect
      majority-owned subsidiaries, and the Managed Funds, (ii) the
      Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the
      Independent Directors, (vi) the Committee, (vii) the members of the
      Committee (in their official capacities), (viii) the Claimant Trust, (ix)
      the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation
      Trustee, (xii) the members of the Claimant Trust Oversight Committee
      (in their official capacities), (xiii) New GP LLC, (xiv) the Professionals
      retained by the Debtor and the Committee in the Chapter 11 Case, (xv)
      the CEO/CRO; and (xvi) the Related Persons of each of the parties
      listed in (iv) through (xv); provided, however, that, for the avoidance of
      doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P.
      (and any of its subsidiaries and managed entities), the Charitable Donor
      Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco,
      Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of
      its subsidiaries, members, and managed entities), NexBank, SSB (and
      any of its subsidiaries), Highland Capital Management Fund Advisors,
      L.P. (and any of its subsidiaries and managed entities), the Hunter
      Mountain Investment Trust (or any trustee acting for the trust), the
      Dugaboy Investment Trust (or any trustee acting for the trust), or Grant
      Scott is included in the term “Protected Party.”45

      The Appellants are therefore expressly subject to the Injunction.            The

Injunction prohibits the Appellants from taking any action to “interfere with the

implementation or consummation of the Plan,” whatever that means.              As the

evidence at the confirmation hearing made clear, the Debtor considers this injunction

to prohibit the Appellants from advising the funds or others to cause them to remove


44
      ROA.118.
45
      ROA.123.

                                         13
                                                                            Appx.000745
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 752 of 783 PageID 7173



the Debtor as CLO manager.46 As also made clear at the confirmation hearing, the

Injunction applies to the Debtor’s post-confirmation operations, including its

management of the CLOs.47 Thus, the Plan prohibits the Appellants from fully

exercising their fiduciary duties to the funds and it prevents the Appellants and the

funds from exercising their contractual rights under the assumed PMAs or from

asserting claims and causes of action against the Debtor and many others related to

how they manage the CLOs or other assets.

      These concerns regarding potential mismanagement, potential liabilities, and

exculpation are not academic. As of the confirmation hearing, the Debtor testified

that, during its bankruptcy case, it had already lost approximately $200 million in

value, at least $100 million of which the Debtor blamed on the Debtor’s prior (yet

post-bankruptcy) manager.48

      Simply put, it is remarkable and unprecedented that the Bankruptcy Court

would exculpate, and protect by permanent injunction, a registered investment

advisor, managing billions in other peoples’ investments and subject to strict federal

statutory and contractual obligations and fiduciary duties, from past and future

claims and liabilities, especially when the Debtor already admitted that it lost $200

million just during the course of its bankruptcy case. If the Debtor did not wish to


46
      ROA.766 (Tr. 198:12-25).
47
      Id.
48
      ROA.663-66 (Tr. 95:17-98:6); ROA.768 (Tr. 200:16-19).

                                          14
                                                                           Appx.000746
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 753 of 783 PageID 7174



face such potential claims and liabilities, it could have simply rejected the PSAs.

But once the Debtor assumed the PSAs, the Debtor became subject to all provisions

thereof, and obligations and liabilities thereunder.

      4.     The Debtor’s Violation of a Mandatory Bankruptcy Rule

       Bankruptcy Rule 2015.3 requires a debtor to file periodic financial reporting

for each entity “in which the estate holds a substantial or controlling interest.”49 In

this case, the Debtor holds about 40 percent of its assets through subsidiaries.50

During his testimony, the Debtor’s Chief Executive Officer acknowledged he is

familiar with Bankruptcy Rule 2015.3.51 The Debtor’s CEO also admitted the

Debtor never filed any such reports.52 His excuse for noncompliance was that

complying with the rule would be “difficult,” and “it fell through the cracks.”53

      Given that nearly half of the Debtor’s assets are held in only nine

subsidiaries,54 the Appellants argued that the Debtor’s failure to disclose their

finances precluded plan confirmation because the Debtor had failed to comply with




49
      FED. R. BANKR. P. 2015.3(a).
50
      Compare ROA.17401, 17408 (showing equity method investments of $167,226,227.63)
      with ROA.17398 (showing total assets of $410,104,783.30).
51
      ROA.4564 (Tr. 48:12-14).
52
      Id. (Tr. 48:15-17).
53
      ROA.1564 (Tr. 49:5-21).
54
      Compare ROA.17401, 17408 (showing equity method investments of $167,226,227.63)
      with ROA.17398 (showing total assets of $410,104,783.30).

                                          15
                                                                            Appx.000747
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 754 of 783 PageID 7175



all requirements of the Bankruptcy Code—a necessary element of confirmation.55

The Bankruptcy Court wholly ignored this argument and did not address it in either

its oral ruling or Confirmation Order.56

                   IV.     SUMMARY OF THE ARGUMENT

      The Bankruptcy Court erred as a matter of law in at least three important

respects.   First, the Plan plainly violates the Absolute Priority Rule because

unsecured creditors rejected the Plan and the Plan does not pay them in full on the

effective date, yet the Plan provides junior equity interest holders with property in

the nature of contingent trust interests. The Bankruptcy Court’s “workaround” is

incompatible with the statute and violates clear Supreme Court precedent. Second,

the Exculpation Provision and the Injunction clearly violate this Court’s Pacific

Lumber precedent. The Bankruptcy Court’s belief that this Court would revisit

Pacific Lumber is not proper grounds for the Bankruptcy Court not to apply that

precedent. Third, the Debtor’s inexcusable, inexplicable, yet nonchalant failure to

comply with Bankruptcy Rule 2015.3—a critically important rule of transparency—

prevented confirmation as a matter of law.

      Taking a step back, though, why have the Plan at all? The Debtor can

liquidate just fine through Chapter 11 or Chapter 7, the Bankruptcy Code provides



55
      ROA.4704-05 (Tr. 188:7 – 189:1).
56
      ROA.14 (beginning of Confirmation Order); ROA.1121 (beginning of oral ruling).

                                           16
                                                                               Appx.000748
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 755 of 783 PageID 7176



it with all the tools that it needs, and the Debtor admitted that the Plan does not give

it anything that it lacks in order to liquidate its assets and pay its creditors. But the

Debtor, its management, and its professionals are accountable for their management

or mismanagement during a case. Not so under the Plan. That, then, is the answer

to the question of why: the Plan, through its Exculpation Provision and Injunction,

is little more than a “get out of jail free” card, relieving the Debtor, its management,

and its professionals of their obligations and liabilities under assumed contracts and

federal securities laws, including for all future claims.

      But that is not the point of Chapter 11. This Court has previously articulated

the point of confirming a plan:

      [o]nce the bankruptcy court confirms a plan of reorganization, the
      debtor may go about its business without further supervision or
      approval. The firm also is without the protection of the bankruptcy
      court. It may not come running to the bankruptcy judge every time
      something unpleasant happens.

Bank of. La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.), 266

F.3d 388, 390 (5th Cir. 2001).

      Yet the Bankruptcy Court has ordered precisely the opposite of this, in

violation of the Bankruptcy Code, in violation of Bank of New York Trust Co., N.A.

v. Official Unsecured Creditors’ Comm. (In re Pacific Lumber Co.), 584 F.3d 229

(5th Cir. 2009), and in violation of fundamental due process rights.




                                           17
                                                                              Appx.000749
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 756 of 783 PageID 7177



      Expediency is not the rule of Chapter 11 plan confirmation. Strict statutory

requirements must be met.       The Supreme Court’s precedent and this Court’s

precedent must be followed. A debtor must earn its plan and its discharge by

complying with its duties and with the law—not use the same as a cloak for its

management and professionals to avoid present and future obligations. Whatever

ills the Debtor imagined to justify the Plan, violating clear and well-established law

was not the correct response.

                                V.    ARGUMENT

A.    STANDARDS OF APPELLATE REVIEW

      This Court reviews the Bankruptcy Court’s findings of fact for “clear error,”

while conclusions of law are reviewed de novo. See Electric Reliability Council of

Tex. Inc. v. May (In the Matter of Texas Comm. Energy), 607 F.3d 153, 158 (5th Cir.

2010). “A finding is clearly erroneous if a review of the record leaves a definite and

firm conviction that a mistake has been committed.” Boudreaux v. U.S., 280 F.3d

461, 466 (5th Cir. 2002) (internal quotation omitted).

B.    THE PLAN VIOLATES THE ABSOLUTE PRIORITY RULE

      The Absolute Priority Rule is straightforward and grounded in equity: if

unsecured creditors reject a plan, then they must either be paid in full on the plan

effective date or no one junior to them can retain anything. See Bank of Am. Nat’l

Trust & Sav. Ass’n v. 203 N. Lasalle St. P’ship, 526 U.S. 434, 441-42 (1999).



                                         18
                                                                           Appx.000750
Case 3:21-cv-01585-S Document 15 Filed 10/01/21           Page 757 of 783 PageID 7178



       “As every bankruptcy practitioner knows, the absolute priority rule is a

bedrock principle of chapter 11 practice.” In re Tex. Star Refreshments, LLC, 494

B.R. 684, 703 (Bankr. N.D. Tex. 2013); accord Adler v. Lehman Bros. Holdings (In

re Lehman Bros. Holdings), 855 F.3d 459, 470 (2d Cir. 2017). This Court previously

observed that the Absolute Priority Rule is strict by Congress’s design, and courts

must take it seriously. See In re Greystone III Joint Venture, 995 F.2d 1274, 1283

(5th Cir. 1991) (“Congress acted knowledgeably in codifying a strict absolute

priority rule”).

       Because Class 8 rejected the Plan, the Plan could only be confirmed on

“cramdown.” 11 U.S.C. § 1129(a)(8) & 1129(b)(1). This requires that the Plan be

“fair and equitable” to the rejecting class. 11 U.S.C. § 1129(b)(1). When the

rejecting class is a class of unsecured creditors, as is the case here, this triggers the

Absolute Priority Rule. Either:

       (i) the plan provides that each holder of a claim of such class receive or
       retain on account of such claim property of a value, as of the effective
       date of the plan, equal to the allowed amount of such claim; or

       (ii) the holder of any claim or interest that is junior to the claims of such
       class will not receive or retain under the plan on account of such junior
       claim or interest any property ….

11 U.S.C. § 1129(b)(2)(B).




                                            19
                                                                                Appx.000751
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 758 of 783 PageID 7179



      Here, the Plan will pay unsecured creditors only 71%, over time.57 It does not

give them property worth 100% of their claims on the effective date. Therefore, the

only way to confirm the Plan over Class 8’s rejection was for the Plan to provide

that Classes 10 and 11 “will not receive or retain under the plan on account of such

junior claim or interest any property.” Yet the Plan does not provide so. On the

contrary, these classes receive contingent trust interests which, if and when

unsecured creditors are paid in full, will share in distributions and recoveries.58

      There can be no question that these contingent trust interests are provided to

Classes 10 and 11 “on account of” their existing equity interests (i.e., limited

partnership interests):

      On or as soon as reasonably practicable after the Effective Date, each
      Holder of an Allowed Class 10[/11] Claim, in full satisfaction,
      settlement, discharge and release of, and in exchange for, such Claim
      shall receive (i) its Pro Rata share of the Contingent Claimant Trust
      Interests ….59

      There can also be no question that the contingent trust interests provided to

Classes 10 and 11 are “property.” The Debtor admitted that these interests were

property both through testimony and during closing arguments.60 As a matter of law,

an interest in a trust, even one subject to a contingency that may never happen, is


57
      ROA.4158.
58
      ROA.117 (definition of Contingent Claimant Trust Interests); ROA.15615 (¶ 5.1(c)).
59
      ROA.133-34 (emphasis added).
60
      ROA.4393-94 (Tr. 177:10 – 178:25); ROA.4758 (Tr. 242:20-21) (“They are property. No
      doubt they are property.”).

                                            20
                                                                                 Appx.000752
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 759 of 783 PageID 7180



“property.” See In re Edmonds, 273 B.R. 527, 529 (Bankr. E.D. Mich. 2000). The

Debtor even admitted that these property interests may have value in the future.61

      Regardless, it does not matter that these property interests have little or no

present value, nor that they may never have value:

      Respondents further argue that the absolute priority rule has no
      application in this case, where the property which the junior interest
      holders wish to retain has no value to the senior unsecured creditors. . .
      We join with the overwhelming consensus of authority which has
      rejected this ‘no value’ theory. . . Whether the value is present or
      prospective, for dividends or only for purposes of control a retained
      equity interest is a property interest. . . And while the Code itself does
      not define what ‘property’ means as the term is used in § 1129(b), the
      relevant legislative history suggests that Congress’ meaning was quite
      broad. Property includes both tangible and intangible property.

Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 207-08 (1988) (internal

quotations and citations omitted); accord Segal v. Rochelle, 382 U.S. 375, 379

(1966) (holding that contingent loss-carryback refund was “property” under former

Bankruptcy Act”). Indeed, even something as amorphous as merely retaining

control of a debtor—which the Debtor’s CEO does here post-confirmation—

constitutes “property” under the Absolute Priority Rule. See 203 N. Lasalle, 526

U.S. 434; In re Mangia Pizza Invs., LP, 480 B.R. 669, 699-700 (Bankr. W.D. Tex.

2012).




61
      ROA.1622.

                                         21
                                                                            Appx.000753
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 760 of 783 PageID 7181



      Various courts have gone so far as to say that, in order to satisfy the Absolute

Priority Rule, junior classes must receive “nothing.” See In re Insilco Techs., Inc.,

480 B.R. 212, 218 n.10 (3d Cir. 2007) (“Even in the flexible world of Chapter 11

reorganizations, the absolute priority rule, 11 U.S.C. § 1129(b)(2)(B), requires that

equity holders receive nothing unless all creditors are paid in full.”); DeBold v. Case

(In re Tri-River Trading, LLC), 329 B.R. 252, 266 (B.A.P. 8th Cir. 2005) (“The rule

provides that in a Chapter 11 reorganization equity should receive nothing unless

senior classes are paid in full.”); In re Waterways Barge P’ship, 104 B.R. 776, 786

(Bankr. N.D. Miss. 1989) (“The absolute priority rule is clear. If the dissenting

unsecured creditor class is not being paid in full . . . then a junior class may retain or

receive nothing.”).

      The Plan therefore violates the Absolute Priority Rule on its face: Class 8

unsecured creditors rejected the Plan, and Class 8 is not paid in full under the Plan

on the effective date, while junior classes of equity interest holders in Classes 10 and

11 receive property under the Plan in the nature of contingent trust interests.

      The Bankruptcy Court disagreed, concluding that, because Classes 10 and 11

would not be paid on account of the contingent trust interests unless unsecured

creditors were first paid in full, the Absolute Priority Rule was preserved. This is a

fundamental misreading of the Absolute Priority Rule. The rule does not provide

that equity interests cannot be paid unless unsecured creditors are first paid in full;



                                           22
                                                                               Appx.000754
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 761 of 783 PageID 7182



it provides that equity interests cannot receive any property at all unless unsecured

creditors are paid in full on the effective date. There is no dispute that the Plan does

not propose to pay Class 8 in full on the effective date. The analysis begins and ends

with whether the contingent trust interests provided to Classes 10 and 11 are

property. If they are property, as the Debtor admitted they are, then the Plan violates

the Absolute Priority Rule and the Plan could not have been confirmed.

      The Bankruptcy Court relied on In re Introgen Therapeutics, 429 B.R. 570

(Bankr. W.D. Tex. 2010) for its conclusion, which opinion permitted the same type

of contingent trust interest as in the Plan. Before discussing the merits of this

opinion, however, Introgen is easily distinguishable because, unlike here, in that

case the debtor anticipated paying unsecured creditors in full over time. See id. at

576 and 585. Notwithstanding this fact, the bankruptcy court inexplicably embarked

on a lengthy analysis of the Absolute Priority Rule anyway. Id. at 585. Thus, its

opinion is dicta, at best.

      Either way, Introgen is deeply flawed and this Court should soundly reject it.

First, it directly contradicts the statute, which looks only to whether the class of

equity interest holders receive property. Second, Congress considered, but excluded

from the Bankruptcy Code, a similar mechanism that would have provided for a

waterfall to all stakeholders when a junior one would not be paid until a senior one

was paid in full. See In re Mcorp Fin., Inc., 137 B.R. 219, 235 (Bankr. S.D. Tex.



                                          23
                                                                             Appx.000755
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 762 of 783 PageID 7183



1992). Third, the opinion looked to the present value of what was being retained,

something directly foreclosed by the Supreme Court’s opinion in Ahlers, 485 U.S.

at 207-08. Fourth, the opinion fails to take into account the Supreme Court’s opinion

in 203 N. Lasalle, 526 U.S. 434, in which the Supreme Court equated the exclusive

opportunity to bid on new equity under a plan as itself “property” that was being

granted or retained in violation of the Rule: “[t]his opportunity should, first of all,

be treated as an item of property in its own right.” Id. at 455. If an exclusive

opportunity is “property” for purposes of the Absolute Priority Rule, then so is an

“opportunity” to share in a future recovery.

      The Plan gives equity interest holders in Classes 10 and 11 “property” even

though unsecured creditors in Class 8 rejected the Plan and are not paid in full under

the Plan on the effective date. That is all that matters for the Absolute Priority Rule.

It is not for the Debtor or the Bankruptcy Court to rewrite the statute in order to

obtain confirmation: as the Supreme Court cautioned, when others attempted such

work-arounds, “an absolute priority rule so variable would not be much of an

absolute.” 203 N. Lasalle, 526 U.S. at 450. Instead the Court must apply the

statute’s plain language unless doing so leads to an absurd result. See, e.g., United

States v. Dison, 573 F.3d 204, 207 (5th Cir. 2009). Leaving nothing for equity when

unsecured creditors are not paid in full is hardly an absurd result; indeed, that is the

whole purpose of the Absolute Priority Rule.



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                                                                             Appx.000756
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 763 of 783 PageID 7184



      The Court should therefore reverse the Confirmation Order and render

judgment that, as a matter of law, the Plan violates the Absolute Priority Rule and

could not therefore have been confirmed under 11 U.S.C. §§ 1129(a)(8) and

1129(b)(2)(B)(ii).

C.    THIS COURT’S PRECEDENT PROHIBITS PLAN’S NON-CONSENSUAL
      RELEASES AND INJUNCTIONS

      In Pacific Lumber, 584 F.3d at 253, this Court broadly foreclosed

nonconsensual releases and exculpations of third-party claims; i.e. a claim held by a

non-debtor against a non-debtor. The Pacific Lumber plan proposed to exculpate

the debtor’s management and professionals for actions (or omissions) they took

during the Chapter 11 case. See id. at 251. The Court found this exculpation

impermissible:

      this court has held Section 524(e) only releases the debtor, not co-liable
      third parties. These cases seem broadly to foreclose non-consensual
      non-debtor releases and permanent injunctions. . . the essential function
      of the exculpation clause proposed here is to absolve the released
      parties from any negligent conduct that occurred during the course of
      the bankruptcy. The fresh start § 524(e) provides to debtors is not
      intended to serve this purpose.

Id. at 252 (internal citations omitted).

      Nor can a crafty debtor effectuate a release of third-party claims through an

injunction, because “[s]ection 524 prohibits the discharge of debts of nondebtors.”

Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 760 (5th Cir. 1995).

“Accordingly, [the Court] must overturn a § 105 injunction if it effectively


                                           25
                                                                            Appx.000757
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 764 of 783 PageID 7185



discharges a nondebtor.” Id. A plan may impose no such injunction on a permanent

basis:

         the stay may not be extended post-confirmation in the form of a
         permanent injunction that effectively relieves the nondebtor from its
         own liability to the creditor. Not only does such a permanent injunction
         improperly insulate nondebtors in violation of section 524(e), it does so
         without any countervailing justification of debtor protection.

Id. at 760 (quoting In re W. Real Fund, 922 F.2d 592, 601-02 (10th Cir. 1990)).

         Here, the Plan violates these dictates in three substantial ways: (i) it exculpates

claims for negligence that may be held by the Appellants and others against

numerous non-debtor parties;62 (ii) it enjoins the Appellants and others from

exercising their contractual rights after confirmation under contracts that are

assumed;63 and (iii) it subjects any non-exculpated claim that the Appellants and

others may have against the foregoing to a “gatekeeper injunction” where the

Bankruptcy Court, reserving “exclusive jurisdiction,” must first determine that a

“colorable claim” exists.64 And, what is most problematic and utterly unsupportable

under any theory is that the Exculpation Provision and Injunction both apply to

future, post-confirmation liabilities—a perpetual “get out of jail free” card.




62
         ROA.157 (C. Exculpation).
63
         ROA.160 (F. Injunction).
64
         Id.

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                                                                                 Appx.000758
Case 3:21-cv-01585-S Document 15 Filed 10/01/21       Page 765 of 783 PageID 7186



      1.      The Plan’s Broad Exculpation is Impermissible

      With respect to the Plan’s exculpation provisions, “Exculpated Parties”

include non-debtor managed funds, employees, the Debtor’s general partner, the

Debtor’s management and professionals, and the affiliates of the foregoing; i.e.,

numerous non-debtor parties.65 Subject to various limitations, the Plan exculpates

against negligence liabilities and provides that:

      no Exculpated Party will have or incur, and each Exculpated Party is
      hereby exculpated from, any claim, obligation, suit, judgment, damage,
      demand, debt, right, Cause of Action, remedy, loss, and liability for
      conduct occurring on or after the Petition Date in connection with or
      arising out of [a laundry list of circumstances] ….66

      On its face, these provisions directly and unmistakably violate Pacific

Lumber. But these provisions are particularly egregious because they also apply to,

and exculpate, potential prospective liability incurred after the confirmation of the

Plan, because these provisions also apply to “the implementation of the Plan.”67 The

“implementation of the Plan” will take between two to three years68 and involves the

Debtor managing more than $1 billion of other peoples’ investments.69 This is

unprecedented, a federal court immunizing fiduciaries against future claims.



65
      ROA.119.
66
      ROA.87.
67
      Id. (sub. iv).
68
      ROA.757 (Tr. 189:3-9).
69
      ROA.758 (Tr. 190:7-9).

                                          27
                                                                          Appx.000759
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 766 of 783 PageID 7187



      This also violates the fundamental premise of what it means to exit

bankruptcy:

      Once the bankruptcy court confirms a plan of reorganization, the debtor
      may go about its business without further supervision or approval. The
      firm also is without the protection of the bankruptcy court. It may not
      come running to the bankruptcy judge every time something unpleasant
      happens.

Craig’s Stores, 266 F.3d at 390.

      It is the equivalent of a bankruptcy court prospectively releasing General

Motors from liability for cars it manufactures after exiting bankruptcy. And this

concern is not merely academic. As the Debtor’s CEO testified at the confirmation

hearing, the Debtor lost approximately $200 million in value during its bankruptcy

case, at least $100 million of which the CEO blamed on the Debtor’s prior (yet post-

bankruptcy) manager.70

      Not only does the Exculpation Provision violate Pacific Lumber, but it also

violates fundamental bankruptcy laws regarding the assumption of executory

contracts. The PMAs, pursuant to which the Debtor manages more than $1 billion

in other peoples’ investments, are executory contracts assumed under the Plan.71

The effect of assumption is that “the debtor must continue to perform . . . the debtor

accepts both the obligations and the benefits of the executory contract.” Century


70
      ROA.663-66 (Tr. 95:17-98:6); ROA.768 (Tr. 200:16-19).
71
      ROA.171 (Schedule of CLO Management Agreements and Related Contracts to Be
      Assumed).

                                          28
                                                                           Appx.000760
Case 3:21-cv-01585-S Document 15 Filed 10/01/21               Page 767 of 783 PageID 7188



Indem. Co. v. NGC Settlement Trust (In re Nat’l Gypsum Co.), 208 F.3d 498, 505-

06 (5th Cir. 2000). The Exculpation Provision violates this fundamental rule.

      The Bankruptcy Court justified the Exculpation Provision, in part, based on

res judicata and the “law of the case” doctrines, because the Bankruptcy Court had

previously entered two orders allegedly exculpating the Debtor and its management

(the January 9, 2020 order and July 16, 2020 order). The Bankruptcy Court erred in

applying either doctrine substantially for the reasons briefed by appellants Highland

Income Fund, NexPoint Strategic Opportunities Fund, Highland Global Allocation

Fund, and NexPoint Capital, Inc. in their opening brief (pp. 25-29), which the

Appellants hereby incorporate. Like these co-appellants, the Appellants are not

parties to the January 9 or July 16 orders and there is no evidence or argument that

the Bankruptcy Court had either personal jurisdiction or subject matter jurisdiction

to make these orders applicable to the Appellants.                 The Appellants add two

additional reasons why the Bankruptcy Court erred as a matter of law.72




72
      It is arguable whether either order provides for any exculpation of negligence claims at all.
      Neither order mentions exculpation or negligence. Rather, each order provides that no
      claim may be filed, unless the Bankruptcy Court first determines that the claim is a
      colorable claim for gross negligence or willful misconduct, which the Debtor reads as a de
      facto exculpation against negligence claims, which view the Bankruptcy Court apparently
      agreed with. The Appellants do not believe that the orders provide for exculpation and
      they suggest that, had something as important as exculpation against negligence been
      contemplated or ordered, it would have been express, specific, and explicit, consistent with
      notions of fundamental due process.

                                               29
                                                                                      Appx.000761
Case 3:21-cv-01585-S Document 15 Filed 10/01/21          Page 768 of 783 PageID 7189



      First, each order is far more limited with respect to the persons exculpated

than the Exculpation Provision in the Plan. Any exculpation in the January 9 order

applies only to the Debtor’s independent directors and the agents or advisors of the

independent directors.73 The July 16 order, if it exculpates anyone, exculpates only

James Seery, the Debtor’s chief executive officer and chief financial officer.74

Second, neither order can be read to apply post-confirmation. Any fair reading of

either order makes it clear that the orders are to apply only to the bankruptcy case

itself, and not to any actions or liabilities arising after the bankruptcy case. The July

16 order expressly notes that the “agreement” it approves with respect to Mr. Seery

terminates upon the confirmation of a plan.

      Second, more than anything, it is inconceivable that the Bankruptcy Court, a

court of limited jurisdiction, would have intended for a simple order entered on a

simple motion to provide for exclusive future jurisdiction, ad infinitum and as

against the world, over post-confirmation claims. As this Court has made it clear,

whatever jurisdiction the Bankruptcy Court has to protect non-debtor entities is

temporary only during the bankruptcy case: “While a temporary stay prohibiting a

creditor’s suit against a nondebtor during the bankruptcy proceeding may be

permissible to facilitate the reorganization process . . . the stay may not be extended



73
      ROA.12409.
74
      ROA.12621.

                                           30
                                                                              Appx.000762
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 769 of 783 PageID 7190



post-confirmation.” Zale Corp., 62 F.3d at 760 (quoting In re W. Real Estate Fund,

922 F.2d 592, 601-02 (10th Cir. 1990)).

      Here, the Plan applies to exculpate negligence, including of many additional

persons and entities not mentioned in the January 9 or July 16 orders, and the

exculpation extends to post-confirmation matters. Thus, the Plan differs in scope,

protected persons, and timing. None of these issues were addressed or decided in

connection with the January 9 or July 16 orders, and the parties to those orders and

the present dispute are not identical, meaning that res judicata cannot apply as a

matter of law. See Republic Supply Co. v. Shoaf, 815 F.2d 1046, 1051 (5th Cir.

1987).   The Debtor’s resort to res judicata is just a transparent after-the-fact

justification for what was never possible to begin with. Indeed, the Appellants

submit that, had the Debtor on January 9, 2020 told the Bankruptcy Court that it

intended for the order to apply for all time, after confirmation, to many other people,

to many other claims, and to limit the rights of those who own the billions of dollars

in investments the Debtor manages, the Bankruptcy Court would have been

incredulous.

      The Court should therefore reverse the Confirmation Order and render

judgment that the Plan cannot be confirmed or, alternatively, strike the Exculpation

Provision from the Plan.




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                                                                            Appx.000763
Case 3:21-cv-01585-S Document 15 Filed 10/01/21             Page 770 of 783 PageID 7191



      2.     The Plan’s Broad Permanent Injunction is Impermissible

      Next, the Plan contains a sweeping, permanent injunction: “all Enjoined

Parties75 are and shall be permanently enjoined, on and after the Effective Date, from

taking any actions to interfere with the implementation or consummation of the

Plan.”76 Of immediate relevance to and effect on the Appellants, this means that the

Appellants are enjoined from advising or causing their clients, including the funds,

to remove the Debtor as the manager of the CLOs, even though the Debtor assumed

the PMAs and even if the Debtor mismanages the CLOs.77

      As with exculpations, Pacific Lumber broadly forecloses non-consensual

“permanent injunctions.” Pacific Lumber, 584 F.3d at 252-53. More technically,

the assumption of the PMAs means that the Debtor is obligated to perform under

them, and all rights of the counterparty are preserved and may be enforced. See

Nat’l Gypsum, 208 F.3d at 505-06 (“[w]here the debtor assumes an executory

contract, it must assume the entire contract, cum onere – the debtor accepts both the

obligations and the benefits of the executory contract”). The Debtor here found a

clever way around this fundamental rule by simply obtaining an injunction that

permanently enjoins and alters contract rights and obligations, in direct violation of

the Bankruptcy Code. It goes without saying, however, that the Bankruptcy Court’s


75
      The Appellants are “Enjoined Parties.” See ROA.118.
76
      ROA.160 (F. Injunction).
77
      See ROA.766 (Tr. 198:12-25).

                                           32
                                                                             Appx.000764
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 771 of 783 PageID 7192



broad equitable powers, including under section 105(a) of the Bankruptcy Code—

the justification for the Injunction—cannot be used to actually contradict or subvert

an express provision of the Bankruptcy Code. See Zale Corp., 62 F.3d at 760.

       This injunction, prohibiting “any actions to interfere with the implementation

or consummation of the Plan,” is also both overbroad and vague. See Scott v.

Schedler, 826 F.3d 207, 211-12 (5th Cir. 2016) (“an injunction is overly vague if it

fails to satisfy the specificity requirements . . . and it is overbroad if it is not narrowly

tailored to remedy the specific action”). The Appellants should not be subjected to

potential contempt actions when the Plan fails to define with any reasonable

specificity what it means to “interfere” with the “implementation or consummation”

of the Plan, a process that could take years.

       Thus, the Court should strike the Injunction against any act “to interfere with

the implementation or consummation of the Plan” or, at a minimum, strike this

provision to the extent that it could be read to prevent anyone from exercising any

contract, statutory, or other legal right under any contract assumed under the Plan,

including the PMAs.

       3.     The Plan’s Gatekeeper Injunction is Impermissible

       With respect to the “gatekeeper injunction,” the Appellants are included

within the “Enjoined Parties” subject to that injunction, which prohibits the

Appellants from taking various actions, including to sue any of the “Protected



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                                                                                 Appx.000765
Case 3:21-cv-01585-S Document 15 Filed 10/01/21            Page 772 of 783 PageID 7193



Parties.”78 The “Protected Parties” include the same entities that are exculpated as

discussed above.79 Like the exculpation provision, this injunction effectuates a non-

consensual, non-debtor release prohibited by Pacific Lumber because the Appellants

are enjoined from suing the Protected Parties even for claims based on “bad faith,

criminal misconduct, willful misconduct, fraud, or gross negligence.”80 See Pacific

Lumber, 584 F.3d at 252-53.

      First, this portion of the Injunction directly contradicts 28 U.S.C. § 959(a),

which provides that “debtors in possession, may be sued, without leave of the court

appointing them, with respect to any of their acts or transactions in carrying on

business connected with such property.” The general rule is therefore that no leave

from the Bankruptcy Court is necessary, meaning that the imposition of any such

requirement through section 105(a) of the Bankruptcy Code is improper as that

section cannot be used to contradict a statute. See In re Zale Corp., 62 F.3d at 760.

That said, section 959(a) does provide that “[s]uch actions shall be subject to the

general equity power of such court so far as the same may be necessary to the ends

of justice, but this shall not deprive a litigant of his right to trial by jury.” 28 U.S.C.

§ 959(a). While this may be read to grant the Bankruptcy Court some authority over

actions against a debtor-in-possession, this cannot possibly extend to any post-


78
       ROA.118 (“Enjoined Parties”); ROA.123 (“Protected Parties”); ROA.160 (F. Injunction).
79
       ROA.123.
80
       ROA.160-61.

                                            34
                                                                                 Appx.000766
Case 3:21-cv-01585-S Document 15 Filed 10/01/21           Page 773 of 783 PageID 7194



confirmation action because, after confirmation, there is no more debtor-in-

possession. And, after confirmation, all jury rights against a debtor or others are

fully reinstated; a right that the Injunction violates.

      Second, the Bankruptcy Court’s reliance on the Barton doctrine to justify the

gatekeeper injunction also fails as a matter of law. That doctrine requires leave of

the appointing court before a receiver or trustee can be sued. See, e.g., Villegas v.

Schmidt, 788 F.3d 156, 158 (5th Cir. 2015). The Debtor, however, is neither a

receiver or trustee. Nor are any of the other parties protected by the injunction

(including the Debtor’s general partner, that general partner’s directors, the Debtor’s

affiliates, and the Debtor’s professionals).       Nor is there any support for the

application of this doctrine prospectively, to apply after confirmation when there is

no longer an estate being administered subject to the jurisdiction of the Bankruptcy

Court where the receiver or trustee can be deemed an agent of the appointing court.

The Barton Doctrine simply has no application.

      There is no redemption in the fact that the Bankruptcy Court may grant relief

from the injunction if it first determines that an Enjoined Party has a “colorable

claim” against a “Protected Party.” Nothing in the Bankruptcy Code possibly

permits the Bankruptcy Court to require a non-debtor to come forth and prove that

it has a viable claim against another non-debtor before it can assert that claim, or

else be in contempt of court. And this, too, applies prospectively to actions the



                                            35
                                                                            Appx.000767
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 774 of 783 PageID 7195



Debtor will take in the next two to three years during the “wind down of the business

of the Debtor or Reorganized Debtor” and the “the administration of the Claimant

Trust.”81 This is unprecedented, it violates due process, it is a taking, and it is

prohibited by Pacific Lumber.

      The Bankruptcy Court also impermissibly reserved to itself the “sole and

exclusive jurisdiction to determine whether a claim or cause of action is colorable.”82

It is black-letter law that the Bankruptcy Court has no such jurisdiction between non-

debtors today and will certainly have no such jurisdiction in the future as the Plan is

implemented. See Craig’s Stores, 266 F.3d at 390 (“After a debtor’s reorganization

plan has been confirmed, the debtor’s estate, and thus bankruptcy jurisdiction, ceases

to exist, other than for matters pertaining to the implementation or execution of the

plan.”). And it is certainly black-letter law that the Bankruptcy Court cannot confer

onto itself jurisdiction that it does not have.

      The problem is a simple one. Post-confirmation, if the Appellants wish to file

a lawsuit against any of the protected parties, they will have to come to the

Bankruptcy Court and prove that the claim is “colorable,” presumably meaning that

the claim has a valid basis in law, i.e. a Rule 12(b)(6) analysis, and is supported by

prima facie evidence. The Bankruptcy Court will decide this question, even though



81
      Id.
82
      Id.

                                            36
                                                                            Appx.000768
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 775 of 783 PageID 7196



it will have no jurisdiction at all to do so. If the Bankruptcy Court finds the claim to

be colorable, then presumably all is well and the Bankruptcy Court’s finding will be

entitled to collateral estoppel, even though the Bankruptcy Court had no jurisdiction.

But if the Bankruptcy Court determines that the claim is not colorable, then the

Appellants will not be able to proceed and a court with no jurisdiction will have

made a dispositive finding. And the right to have a jury determine any contested

issue of fact will have been violated.

      That is the fundamental problem: a court with no jurisdiction to consider the

merits of the underlying claim cannot possibly determine whether any subset of that

claim is met, such as whether the claim is at least colorable. This is also a

fundamental problem of due process. The Appellants have a due process right of

access to a court with jurisdiction over them and their claims. See, e.g., First Inv.

Corp. v. Fujian Mawei Shipbuilding Ltd., 703 F.3d 742, 749 (5th Cir. 2012).

      The end result is that the Appellants, and many others, are enjoined

permanently from exercising their legal and contractual rights; that potential present

and prospective claims they have against non-debtors are released and exculpated;

and that they are required to prove a “colorable” claim for any present or prospective

claim they may have against non-debtors before they may assert that claim, while

the Debtor and its management, officers, and others are free to manage billions of

dollars of innocent investors’ funds, taking exorbitant fees for themselves,



                                          37
                                                                             Appx.000769
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 776 of 783 PageID 7197



effectively free from the fiduciary duties imposed on them by the federal securities

laws. This is precisely what Pacific Lumber prohibits, and this case aptly proves the

wisdom of Pacific Lumber’s prohibition.

      4.      The Bankruptcy Court’s Attempt to Distinguish Pacific Lumber
              Actually Eviscerated its Holding

      Cognizant of Pacific Lumber’s holding, the Bankruptcy Court attempted to

distinguish it.83 In doing so, the Bankruptcy Court went as far as to state its belief

that this Court would “extend the holding of Pacific Lumber” with respect to the

proper scope of an exculpation provision.84 But if the Court must extend Pacific

Lumber’s holding, then it cannot be merely distinguishable. Indeed, the pertinent

facts are overwhelming similar, and the Bankruptcy Court struggled to find a

workaround.

      Unfortunately (but inevitably), the Bankruptcy Court eviscerated Pacific

Lumber by creating an exception “where there’s a real risk … of burdensome and

vexatious litigation going forward ….”85 This exception fails for obvious reasons.

There is always a risk of litigation when a debtor reenters the world after bankruptcy,

especially in the Debtor’s business where it manages billions of dollars of other

peoples’ investments as a fiduciary. Otherwise, there would never be a desire for



83
      ROA.65-66.
84
      ROA.1432 (Tr. 70:10-24).
85
      Id. (Tr. 70:10-24).

                                          38
                                                                            Appx.000770
Case 3:21-cv-01585-S Document 15 Filed 10/01/21           Page 777 of 783 PageID 7198



injunctions and exculpations. Litigation is always burdensome. That is undoubtedly

why the Plan’s effectiveness was contingent on obtaining satisfactory directors’ and

officers’ insurance.86 And, the law already punishes vexatious litigation. 28 U.S.C.

§ 1927. Thus, there are already sufficient safeguards in the law to protect the

reorganized Debtor against frivolous litigation without the need for an extraordinary,

permanent, anti-filing injunction while, if the litigation is not frivolous, the Debtor

must cope with it the same as any other business.

      If the desire to avoid burdensome and expensive litigation—something that

every reorganized debtor would want—sufficed, then every Chapter 11 plan may as

well have gatekeeper injunctions in order to “facilitate” a confirmed plan. Or,

perhaps a debtor that does not want to face such potential actions and liabilities

should simply exit the business, as indeed this Debtor could have done by rejecting

the PMAs. Either way, Pacific Lumber controls and the Bankruptcy Court erred by

declining to follow it. The alternative is that any company might as well file Chapter

11, obtain confirmation, and then, in order to avoid burdensome and expensive

litigation, obtain a permanent federal gatekeeper injunction that would make the

federal bankruptcy courts the arbiters of whether anyone in the world held a

colorable claim against the reorganized entity or anyone associated with it. This




86
      ROA.155-56 (A. Conditions Precedent to the Effective Date).

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                                                                            Appx.000771
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 778 of 783 PageID 7199



result is so obviously absurd that it does not require elaboration, but that is the

inevitable result if the bankruptcy courts are permitted to eviscerate Pacific Lumber.

      The Court should therefore reverse the Confirmation Order and render

judgment that the Plan cannot be confirmed or, alternatively, strike the Exculpation

and the Injunction.

D.    THE DEBTOR ADMITTED IT DID NOT COMPLY WITH THE BANKRUPTCY
      CODE, BUT THE COURT CONFIRMED THE PLAN ANYWAY

      One of the many things the Bankruptcy Code required the Debtor to prove in

connection with confirming the Plan was, “The proponent of the plan [i.e., the

Debtor] complies with the applicable provisions of this title [i.e., the Bankruptcy

Code].” 11 U.S.C. § 1129(a)(2). “Applicable” provisions of the Bankruptcy Code

certainly include the disclosure requirements in section 1125.           7 Collier on

Bankruptcy ¶ 1129.02[2] (16th ed. 2021) (collecting cases). “Courts have split

somewhat, however, on the range of other ‘applicable’ provisions.” Id.

      “More sensible are those interpretations that read ‘complies with the

applicable provisions of this title’ to mean ‘complies with the provisions of this title

applicable to reorganization.’” In re Seatco, Inc., 257 B.R. 469, 479 (Bankr. N.D.

Tex. 2001) (quoting 7 Collier on Bankruptcy ¶ 129.03[2] (15th ed. 2000)).

“Certainly, serious violations of the Bankruptcy Code by a Debtor can and should

result in a denial of confirmation of a plan under § 1129(a)(2).” In re Landing

Assocs., Ltd., 157 B.R. 791, 810 (Bankr. W.D. Tex. 1993).


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                                                                             Appx.000772
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 779 of 783 PageID 7200



      Here, the Debtor’s statutory duties include that the Debtor “shall … if the

business of the debtor is authorized to be operated, file with the court … periodic

reports and summaries of the operation of such business, including a statement of

receipts and disbursements, and such other information as the United States trustee

or the court requires ….” 11 U.S.C. §§ 704(a)(8); 1106(a)(1); 1107(a). The

Bankruptcy Rules, in turn, require that the “debtor in possession shall file periodic

financial reports of the value, operations, and profitability of each entity that is not

a publicly traded corporation or a debtor in a case under title 11, and in which the

estate holds a substantial or controlling interest.” FED. R. BANKR. P. 2015.3(a).

      During his testimony, the Debtor’s Chief Executive Officer acknowledged he

is familiar with Bankruptcy Rule 2015.3.87 He also admitted the Debtor never filed

any required reports.88 His excuse for noncompliance was that complying with the

rule would be “difficult,” and “it fell through the cracks.”89 Yet Rule 2015.3 was

particularly important in a case such as this, where the Debtor held $167 million in

assets through subsidiary corporations,90 over which the creditors were consequently

provided no transparency. See, e.g., In re Vaughan, 429 B.R. 14, 29 (Bankr. D.N.M.

2010) (“for a chapter 11 debtor-in-possession, absolute transparency is required”).



87
      ROA.4564 (Tr. 48:12-14).
88
      Id. (Tr. 48:15-17).
89
      ROA.1564 (Tr. 49:5-21).
90
      ROA.17401, 17408 (showing equity method investments of $167,226,227.63).

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                                                                             Appx.000773
Case 3:21-cv-01585-S Document 15 Filed 10/01/21         Page 780 of 783 PageID 7201



The Appellants argued that the Debtor’s failure to disclose its subsidiaries’ finances

precluded Plan confirmation.91 The Bankruptcy Court overruled this objection

without discussion or analysis, thereby sweeping the Debtor’ inexplicable failure to

comply with its own duties aside, not to mention ratifying the Debtor’s cavalier and

nonchalant disregard of those duties.

      The Court should not permit a Debtor to conceal its assets in bankruptcy but

still confirm a plan. After all, material noncompliance with rule 2015.3 is serious

enough to justify denying an individual a discharge. See Mandel v. Thrasher (In re

Mandel), No. 20-40026, 2021 U.S. App. LEXIS 24489 (5th Cir. Aug. 17, 2021)

(debtor persisted in material nondisclosure after being ordered to comply with rule

2015.3). There is no reason the Court should apply a lesser standard to a more

sophisticated debtor where $167 million dollars of assets were parked in non-debtor

subsidiaries, and the explanation for the failure to comply with the rule was that it

would have been difficult.

                               VI.       CONCLUSION

      The Plan violates the Absolute Priority Rule; the Plan contains impermissible

exculpations, releases, and injunctions; and the Debtor failed to fulfill mandatory

statutory duties.   Expediency and convenience do not justify violating these

important, bedrock legal requirements.          Any one of these alone should have


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      ROA.4704-05 (Tr. 188:7 – 189:1).

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                                                                           Appx.000774
Case 3:21-cv-01585-S Document 15 Filed 10/01/21     Page 781 of 783 PageID 7202



prevented confirmation of the Plan. This Court should therefore reverse the

Confirmation Order and render a decision denying confirmation of the Plan.

      RESPECTFULLY SUBMITTED this 23rd day of August, 2021.

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                                       43
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Case 3:21-cv-01585-S Document 15 Filed 10/01/21      Page 782 of 783 PageID 7203



                         CERTIFICATE OF SERVICE
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                                        44
                                                                         Appx.000776
Case 3:21-cv-01585-S Document 15 Filed 10/01/21        Page 783 of 783 PageID 7204



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